PILF Billing Records
     EXHIBIT 2
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
             Bostrom, Barry
  05/13/2013 A.                  0:12       0.20        0.20   $   753.00 $       150.60   $         150.60 BAB- 7428: PC ZSK
             Joseph
  05/13/2013 Vanderhulst         0:30       0.50        0.50 $     384.00 $       192.00   $         192.00 JAV- C's re new TruetheVote claims
  05/13/2013 Kaylan Phillips     0:06       0.10        0.00 $     384.00 $        38.40   $            -    KLP- R BAB's RS re 28 U.S.C. 7431 claims
                                                                                                            KLP- Email with CM re whether she'll be on the
  05/13/2013 Kaylan Phillips     0:06       0.10        0.10   $   384.00 $        38.40   $          38.40 pleadings
                                                                                                            KLP- C NHJ re unauthorized disclosure/inspection
  05/13/2013 Kaylan Phillips     0:12       0.20        0.00 $     384.00 $        76.80   $            -   claim.
  05/13/2013 Kaylan Phillips     0:12       0.20        0.10 $     384.00 $        76.80   $          38.40 KLP- RS for complaint. R sample complaints.
  05/13/2013 Kaylan Phillips     0:12       0.20        0.20 $     384.00 $        76.80   $          76.80 KLP- R portion of TIGTA report
                                                                                                            KLP- R draft of complaint. D email to co-counsel re
  05/13/2013 Kaylan Phillips     0:24       0.40        0.30   $   384.00 $       153.60   $         115.20 same. Email responses.
                                                                                                            KLP- Email with BAB re RS needed. Draft to do list.
  05/13/2013 Kaylan Phillips     0:30       0.50        0.50   $   384.00 $       192.00   $         192.00 Email from NHJ re same.
                                                                                                            KLP- R news articles re IRS's apology, R transcript. R
  05/13/2013 Kaylan Phillips     1:12       1.20        1.20   $   384.00 $       460.80   $         460.80 responses from advocacy groups.

                                                                                                            KLP- C NHJ re whether should be a petition or
  05/13/2013 Kaylan Phillips     1:30       1.50        1.50   $   384.00 $       576.00   $         576.00 complaint. R and save court filings in other 7428 cas
                                                                                                            KLP- Work on Count One: 7428 and Count Two (1st
  05/13/2013 Kaylan Phillips     2:00       2.00        2.00   $   384.00 $       768.00   $         768.00 Amendment)
                                                                                                            KLP- C with colleagues/interns re RS needed, next
  05/13/2013 Kaylan Phillips     2:36       2.60        2.60 $     384.00 $       998.40   $         998.40 steps (throughout day).
  05/13/2013 Kevin LeRoy         0:30       0.50        0.50 $     171.00 $        85.50   $          85.50 KL- RS Federal Torts Claim Act
  05/13/2013 Kevin LeRoy         1:00       1.00        0.00 $     171.00 $       171.00   $            -    KL- RS "Unauthorized Disclosure"

  05/13/2013 Kevin LeRoy         1:00       1.00        1.00 $     171.00 $       171.00   $         171.00 KL- RS news articles for background on IRS incident
  05/13/2013 Kevin LeRoy         3:00       3.00        2.40 $     171.00 $       513.00   $         410.40 KL- RS Sec. 7428, 6501, 6103, 6104, 7431, 7213
                                                                                                            NHJ- C with legal team to discuss unauthorized
  05/13/2013 Noel Johnson        0:12       0.20        0.10   $   312.00 $        62.40   $          31.20 disclosure claim/inspection to 7428 claim
                                                                                                            NHJ- C with email to discuss needed questions for
  05/13/2013 Noel Johnson        0:12       0.20        0.20   $   312.00 $        62.40   $          62.40 complaint and facts from client
                                                                                                            NHJ- R "unauthorized disclosure" provisions and briefly
  05/13/2013 Noel Johnson        0:18       0.30        0.00   $   312.00 $        93.60   $            -   review caselaw, results for same

  05/13/2013 Noel Johnson        0:18       0.30        0.30   $   312.00 $        93.60   $          93.60 NHJ- R latest news re IRS target of conservative groups




* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 1 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                               NHJ- LR re Sec. 7431/unauthorized inspection case
  05/13/2013 Noel Johnson        0:36       0.60        0.00   $   312.00 $         187.20   $            -    law, c KLP re: whether petition or complaint.
                                                                                                              NHJ- C KLP and ZSK to discuss RS and strategy,
  05/13/2013 Noel Johnson        0:48       0.80        0.60   $   312.00 $         249.60   $         187.20 needs for compliant
                                                                                                              NHJ- Continue RS re Sec. 7431/unauthorized
  05/13/2013 Noel Johnson        1:00       1.00        0.00   $   312.00 $         312.00   $            -   inspection case law

                                                                                                              NHJ- Begin drafting Complaint; conferences throughout
  05/13/2013 Noel Johnson        8:00       8.00        6.40   $   312.00 $       2,496.00   $       1,996.80 day with KLP and ZSK to discuss same

  05/13/2013 Zachary Kester      0:18       0.30        0.00   $   384.00 $         115.20   $            -    ZSK- Email Catherine legal services agreement (n/c)
                                                                                                              ZSK- C KLP and NHJ to discuss RS and strategy,
  05/13/2013 Zachary Kester      0:48       0.80        0.60   $   384.00 $         307.20   $         230.40 needs for complaint
                                                                                                              ZSK- RS in 7431 damages; email Cleta and team re
  05/13/2013 Zachary Kester      1:06       1.10        0.00   $   384.00 $         422.40   $            -   same
             Bostrom, Barry
  05/14/2013 A.                  0:06       0.10        0.10   $   753.00 $          75.30   $          75.30 BAB- 7428: R email from KLP and P reply re parties

             Bostrom, Barry                                                                                   BAB- 7428: LR standard for granting motion to seal
  05/14/2013 A.                  0:42       0.70        0.70   $   753.00 $         527.10   $         527.10 confidential documents in DC, email KLP and NHJ
             Bostrom, Barry                                                                                   BAB- 7428: R emails re draft compliant, R draft
  05/14/2013 A.                  1:24       1.40        1.10   $   753.00 $       1,054.20   $         828.30 complaint, and P replies
                                                                                                               KLP- C NHJ re 7431 claim and whether to attach
  05/14/2013 Kaylan Phillips     0:18       0.30        0.00 $     384.00   $       115.20   $            -    documents
  05/14/2013 Kaylan Phillips     0:18       0.30        0.30 $     384.00   $       115.20   $         115.20 KLP- R news articles re IRS release, updates
  05/14/2013 Kaylan Phillips     0:24       0.40        0.40 $     384.00   $       153.60   $         153.60 KLP- EMail with client re facts needed
  05/14/2013 Kaylan Phillips     0:30       0.50        0.00 $     384.00   $       192.00   $            -    KLP- C NHJ re Bivens actions, money damages
  05/14/2013 Kaylan Phillips     0:30       0.50        0.50 $     384.00   $       192.00   $         192.00 KLP- C NHJ re viewpoint discrimination
                                                                                                              KLP- Briefly review latest draft of complaint. Emails re
  05/14/2013 Kaylan Phillips     0:36       0.60        0.60   $   384.00 $         230.40   $         230.40 complaint, filing, attachments.

                                                                                                              KLP- Receive and review outline of D.C. d.ct. court
  05/14/2013 Kaylan Phillips     0:36       0.60        0.60   $   384.00 $         230.40   $         230.40 rules. C with Jackie Flint re: pro hac. Review
                                                                                                              KLP- RS Bivens actions. Find and review sample
  05/14/2013 Kaylan Phillips     1:00       1.00        0.00   $   384.00 $         384.00   $            -   complaint.

                                                                                                              KLP- Email with colleagues and co-counsel re: strategy,
  05/14/2013 Kaylan Phillips     2:30       2.50        2.50   $   384.00 $         960.00   $         960.00 complaint structure, contact information, r


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.               Page 2 of 156
                                                    PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date           Name        Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                         Description
                                       Hours       Hours*       Rate         Amount           Adjusted
                                                                                               Amount
                                                                                                           KL- Searched for a TIGTA Report related to IRS
  05/14/2013 Kevin LeRoy        0:30       0.50        0.50 $     171.00 $        85.50   $          85.50 scandel
  05/14/2013 Kevin LeRoy        3:24       3.40        3.40 $     171.00 $       581.40   $         581.40 KL- RS viewpoint discrimination for NHJ
                                                                                                           NHJ- Discuss needs for complaint with KLP; discuss
  05/14/2013 Noel Johnson       0:12       0.20        0.20   $   312.00 $        62.40   $          62.40 claim preclussion with KLP

                                                                                                            NHJ- Discuss "unauthorized inspection" remedies with
  05/14/2013 Noel Johnson       0:30       0.50        0.00 $     312.00 $       156.00   $            -    KLP; discuss Bivens action remedies with KLP
  05/14/2013 Noel Johnson       1:12       1.20        1.00 $     312.00 $       374.40   $         312.00 NHJ- Complaint, RS, discussion with KLP

                                                                                                           NHJ- Continue researching for and drafting Complaint,
  05/14/2013 Noel Johnson       1:12       1.20        1.00   $   312.00 $       374.40   $         312.00 conferences to discuss same with KLP and ZSK

                                                                                                           NHJ- Continue researching for and drafting Complaint,
  05/14/2013 Noel Johnson       1:42       1.70        1.40   $   312.00 $       530.40   $         436.80 conferences to discuss same with KLP and ZSK

                                                                                                           NHJ- Continue researching for and drafting Complaint,
  05/14/2013 Noel Johnson       1:48       1.80        1.40   $   312.00 $       561.60   $         436.80 conferences to discuss same with KLP and ZSK
                                                                                                           NHJ- Continue RS for and drafting Complaint, C's to
  05/14/2013 Noel Johnson       1:54       1.90        1.50   $   312.00 $       592.80   $         468.00 discuss same with KLP and ZSK
                                                                                                           NHJ- R TIGTA Report, make edits to complaint,
  05/14/2013 Noel Johnson       2:00       2.00        1.60   $   312.00 $       624.00   $         499.20 circulate to legal team for review
                                                                                                           ZSK- Mine articles for facts to put in out complaint that
  05/14/2013 Zachary Kester     1:36       1.60        1.60   $   384.00 $       614.40   $         614.40 bolster our claims

                                                                                                           ZSK- Review complaint; make suggested revisions; C
  05/14/2013 Zachary Kester     3:36       3.60        2.90   $   384.00 $     1,382.40   $       1,113.60 Noel re same and re 509(a)(2) status; review art
             Bostrom, Barry                                                                                BAB- R email from KLP, P reply re Bivens claim and
  05/15/2013 A.                 0:12       0.20        0.00   $   753.00 $       150.60   $            -   exhibits to complaint
             Bostrom, Barry
  05/15/2013 A.                 0:12       0.20        0.20   $   753.00 $       150.60   $         150.60 BAB- R emails re to do items, P replies
             Bostrom, Barry                                                                                BAB- LR personal jurisdiction over Cincinnati IRS
  05/15/2013 A.                 0:18       0.30        0.00   $   753.00 $       225.90   $            -   agents and P email to staff
             Bostrom, Barry                                                                                 BAB- R email from ZSK and prepare replies re personal
  05/15/2013 A.                 0:18       0.30        0.00   $   753.00 $       225.90   $            -    jurisdiction issue
             Bostrom, Barry                                                                                BAB- R emails from ZSK, R draft sound bites, P replies
  05/15/2013 A.                 0:18       0.30        0.30   $   753.00 $       225.90   $         225.90 re Press releases
             Bostrom, Barry
  05/15/2013 A.                 0:30       0.50        0.40   $   753.00 $       376.50   $         301.20 BAB- R and RV draft complaint



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Expenses adjusted for reimbursable and non-reimbursable.             Page 3 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
             Bostrom, Barry                                                                                   BAB- R TIGTA Report on IRS using inappropriate
  05/15/2013 A.                  0:42       0.70        0.70 $     753.00   $       527.10   $         527.10 criteria for review of tax-exempt applications
  05/15/2013 Jackie Flint        0:30       0.50        0.50 $     171.00   $        85.50   $          85.50 JF- P declarations for pro hac vice motions
  05/15/2013 Jackie Flint        0:30       0.50        0.50 $     171.00   $        85.50   $          85.50 JF- RS TIGTA report
  05/15/2013 Jackie Flint        0:36       0.60        0.60 $     171.00   $       102.60   $         102.60 JF- Create motions for pro hac vice admissions

  05/15/2013 Jackie Flint        0:36       0.60        0.60   $   171.00 $         102.60   $         102.60 JF- RS special rules for declaratory judgment relief
                                                                                                              JF- RS motions to seal and motions for pro hac vice
  05/15/2013 Jackie Flint        2:00       2.00        2.00   $   171.00 $         342.00   $         342.00 admissions in the DC District Court
             Joseph                                                                                           JAV- Cons re service, Bivens arguments, RS service
  05/15/2013 Vanderhulst         5:00       5.00        4.00   $   384.00 $       1,920.00   $       1,536.00 issues, r complaint.
                                                                                                              KLP- Email from JF re motion to seal. Respond with
  05/15/2013 Kaylan Phillips     0:12       0.20        0.20   $   384.00 $          76.80   $          76.80 question.

  05/15/2013 Kaylan Phillips     0:18       0.30        0.00   $   384.00 $         115.20   $            -    KLP- R KL's RS on Bivens actions. Save complaints.
                                                                                                              KLP- Email from D.C. D.Ct re pro hac vice. R info from
  05/15/2013 Kaylan Phillips     0:18       0.30        0.30   $   384.00 $         115.20   $         115.20 Jackie re same.
                                                                                                              KLP- Email with Cath Kidwell re filing needs and
  05/15/2013 Kaylan Phillips     0:24       0.40        0.40   $   384.00 $         153.60   $         153.60 priorities

  05/15/2013 Kaylan Phillips     0:30       0.50        0.50 $     384.00 $         192.00   $         192.00 KLP- C ZSK re press/sound bites. Emails re same.
  05/15/2013 Kaylan Phillips     1:12       1.20        1.20 $     384.00 $         460.80   $         460.80 KLP- C NHJ re priorities for filing, RS needs
                                                                                                              KLP- RS personal jurisdiction. R case law. C NHJ re
  05/15/2013 Kaylan Phillips     1:18       1.30        0.00   $   384.00 $         499.20   $            -   same.

                                                                                                              KLP- Email with colleagues and co-counsel re: updated
  05/15/2013 Kaylan Phillips     2:12       2.20        2.20 $     384.00   $       844.80   $         844.80 complaint, research needs, and next steps. Im
  05/15/2013 Kevin LeRoy         1:12       1.20        0.00 $     171.00   $       205.20   $            -    KL- RS Bivens actions for KLP
  05/15/2013 Kevin LeRoy         4:18       4.30        4.30 $     171.00   $       735.30   $         735.30 KL- RS IRS Organizational Chart
  05/15/2013 Noel Johnson        0:06       0.10        0.10 $     312.00   $        31.20   $          31.20 NHJ- R DC rules for Pro Hac Vice motions
  05/15/2013 Noel Johnson        0:06       0.10        0.10 $     312.00   $        31.20   $          31.20 NHJ- R email chain re strategy for filing complaint
                                                                                                              NHJ- C ZSK to discuss complaint and jurisdictional
  05/15/2013 Noel Johnson        0:24       0.40        0.40   $   312.00 $         124.80   $         124.80 issues
  05/15/2013 Noel Johnson        0:30       0.50        0.40   $   312.00 $         156.00   $         124.80 NHJ- Make edits to Complaint

  05/15/2013 Noel Johnson        0:30       0.50        0.50   $   312.00 $         156.00   $         156.00 NHJ- C KLP to discuss needs for exhibits and service
                                                                                                              NHJ- RS personal jurisdiction and circulate findings to
  05/15/2013 Noel Johnson        0:42       0.70        0.00   $   312.00 $         218.40   $            -   legal team


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Expenses adjusted for reimbursable and non-reimbursable.               Page 4 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                   1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            NHJ- Make edits to Complaint, RS voluntary waiver of
  05/15/2013 Noel Johnson        1:00       1.00        0.80   $   312.00 $       312.00   $         249.60 constitutional rights; discuss same with KLP

                                                                                                            NHJ- C KLP and JAV to discuss first amendment
  05/15/2013 Noel Johnson        1:00       1.00        1.00   $   312.00 $       312.00   $         312.00 arguments for complaint and draft email to legal team
                                                                                                            NHJ- Review TIGTA Report and Timeline re
  05/15/2013 Noel Johnson        1:00       1.00        1.00   $   312.00 $       312.00   $         312.00 involvement of each office/department of IRS

                                                                                                             NHJ- C JAV to discuss service; C with ZSK and KLP to
  05/15/2013 Noel Johnson        1:24       1.40        0.00   $   312.00 $       436.80   $            -    discuss Bivens claims and personal jurisdictio

                                                                                                             NHJ- Discuss Bivens claims with ZSK and review
  05/15/2013 Noel Johnson        2:00       2.00        0.00   $   312.00 $       624.00   $            -    Bivens caselaw sent for ACLJ; C's with KLP and JAV t

  05/15/2013 Zachary Kester      0:06       0.10        0.10   $   384.00 $        38.40   $          38.40 ZSK- Respond to JF re pro hac vice applications

  05/15/2013 Zachary Kester      0:18       0.30        0.00   $   384.00 $       115.20   $            -    ZSK- Email Catherine the executed agreement
                                                                                                            ZSK- C NHJ re EO Journal transcript of Lois Lerner
  05/15/2013 Zachary Kester      0:24       0.40        0.40   $   384.00 $       153.60   $         153.60 comments
                                                                                                            ZSK- Email group re sealing and re the complaint; re
  05/15/2013 Zachary Kester      0:48       0.80        0.80   $   384.00 $       307.20   $         307.20 509 status, etc

                                                                                                             ZSK- R personal jurisdiction case; C NHJ re same; C
  05/15/2013 Zachary Kester      3:06       3.10        0.00   $   384.00 $     1,190.40   $            -    KLP re same; PC ACLJ re Bivens and APA; C NHJ r
             Bostrom, Barry
  05/16/2013 A.                  0:06       0.10        0.10   $   753.00 $        75.30   $          75.30 BAB- R email from KLP and P reply re conference call
             Bostrom, Barry                                                                                 BAB- C call with Kathryn, CM, KLP, and NHJ re Issues
  05/16/2013 A.                  1:12       1.20        1.20   $   753.00 $       903.60   $         903.60 affecting filing the complaint
                                                                                                            JF- Create declarations to go with motions for pro hac
  05/16/2013 Jackie Flint        1:00       1.00        1.00 $     171.00 $       171.00   $         171.00 vice
  05/16/2013 Jackie Flint        2:00       2.00        2.00 $     171.00 $       342.00   $         342.00 JF- RS IRS employee information
             Joseph
  05/16/2013 Vanderhulst         1:00       1.00        1.00 $     384.00 $       384.00   $         384.00 JAV- Help with service qs, RS
  05/16/2013 Kaylan Phillips     0:12       0.20        0.20 $     384.00 $        76.80   $          76.80 KLP- Emails re PHV's
  05/16/2013 Kaylan Phillips     0:12       0.20        0.20 $     384.00 $        76.80   $          76.80 KLP- R news articles re scandal.
                                                                                                            KLP- C with colleagues re Bivens claim. Emails re
  05/16/2013 Kaylan Phillips     0:24       0.40        0.00   $   384.00 $       153.60   $            -   same.
                                                                                                            KLP- C NHJ and interns re IRS agents' addresses,
  05/16/2013 Kaylan Phillips     0:24       0.40        0.40   $   384.00 $       153.60   $         153.60 emails re same.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 5 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              KLP- C NHJ to discuss conspiracy language in
  05/16/2013 Kaylan Phillips     0:24       0.40        0.40   $   384.00 $         153.60   $         153.60 complaint.
                                                                                                              KLP- R TIGTA chart re unnecessary questions. R
  05/16/2013 Kaylan Phillips     0:24       0.40        0.40   $   384.00 $         153.60   $         153.60 questions asked for TtV. Draft email to client, coll
  05/16/2013 Kaylan Phillips     0:30       0.50        0.50   $   384.00 $         192.00   $         192.00 KLP- R news articles re IRS scandal

                                                                                                              KLP- Email with colleagues and co-counsel re: updated
  05/16/2013 Kaylan Phillips     1:24       1.40        1.40   $   384.00 $         537.60   $         537.60 complaint, research needs, conference call to
                                                                                                              KLP- C call with client, CM, BAB, and NHJ re filing.
  05/16/2013 Kaylan Phillips     1:30       1.50        1.50 $     384.00   $       576.00   $         576.00 Follow up email re check list.
  05/16/2013 Kevin LeRoy         0:24       0.40        0.40 $     171.00   $        68.40   $          68.40 KL- Listened to conference call with TTV
  05/16/2013 Kevin LeRoy         1:24       1.40        1.40 $     171.00   $       239.40   $         239.40 KL- RS civil conspiracy for NHJ
  05/16/2013 Kevin LeRoy         1:30       1.50        0.00 $     171.00   $       256.50   $            -    KL- RS more Bivens cases for KLP
  05/16/2013 Kevin LeRoy         3:30       3.50        3.20 $     171.00   $       598.50   $         547.20 KL- RS addresses for EO agents
  05/16/2013 Noel Johnson        0:12       0.20        0.00 $     312.00   $        62.40   $            -    NHJ- P email to legal team re Bivens Rs

                                                                                                              NHJ- Discuss needs for home addresses of defendants
  05/16/2013 Noel Johnson        0:12       0.20        0.20   $   312.00 $          62.40   $          62.40 with KLP; P email to Kevin re finding home addr

                                                                                                              NHJ- P email to legal team re TIGTA report
  05/16/2013 Noel Johnson        0:12       0.20        0.20   $   312.00 $          62.40   $          62.40 acknowledgment of potential for loss of donations
                                                                                                              NHJ- R after-hours emails re claims to include in
  05/16/2013 Noel Johnson        0:12       0.20        0.20   $   312.00 $          62.40   $          62.40 complaint and discuss same with KLP

  05/16/2013 Noel Johnson        0:12       0.20        0.20   $   312.00 $          62.40   $          62.40 NHJ- R motion for pro hac and make edits to same
                                                                                                              NHJ- C KLP to discuss conspiracy liability and
  05/16/2013 Noel Johnson        0:18       0.30        0.30   $   312.00 $          93.60   $          93.60 defendant's service addresses
                                                                                                              NHJ- Work with Kevin on search for address for
  05/16/2013 Noel Johnson        0:18       0.30        0.30   $   312.00 $          93.60   $          93.60 defendants
                                                                                                              NHJ- C KLP to discuss conspiracy language in
  05/16/2013 Noel Johnson        0:24       0.40        0.40   $   312.00 $         124.80   $         124.80 complaint
                                                                                                              NHJ- P email to Kevin re RS concerning standard for
  05/16/2013 Noel Johnson        0:36       0.60        0.60   $   312.00 $         187.20   $         187.20 civil conspiracy liability; c with him to discu
                                                                                                              NHJ- Biven RS and edits to complain; discuss Bivens
  05/16/2013 Noel Johnson        0:48       0.80        0.00 $     312.00 $         249.60   $            -   claims with KLP
  05/16/2013 Noel Johnson        0:54       0.90        0.07 $     312.00 $         280.80   $          21.84 NHJ- Continue working on complaint

                                                                                                              NHJ- Compare questions identified in TIGTA report as
  05/16/2013 Noel Johnson        1:00       1.00        1.00   $   312.00 $         312.00   $         312.00 unnecessary to questions asked of TTV; discuss

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Expenses adjusted for reimbursable and non-reimbursable.               Page 6 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              NHJ- PC with legal team and client re needs for
  05/16/2013 Noel Johnson        1:12       1.20        1.00 $     312.00 $         374.40   $         312.00 complaint and strategy
  05/17/2013 Jackie Flint        0:42       0.70        0.70 $     171.00 $         119.70   $         119.70 JF- RS potential defendant addresses

  05/17/2013 Jackie Flint        1:00       1.00        1.00   $   171.00 $         171.00   $         171.00 JF- Compile all IRS requests and catalog all responses
             Joseph
  05/17/2013 Vanderhulst         0:42       0.70        0.70 $     384.00   $       268.80   $         268.80 JAV- Final RS on services and addresses, call to clerk.
  05/17/2013 Kaylan Phillips     0:06       0.10        0.10 $     384.00   $        38.40   $          38.40 KLP- Email with C. Kidwell re filing timeline
  05/17/2013 Kaylan Phillips     0:30       0.50        0.50 $     384.00   $       192.00   $         192.00 KLP- R and edit press release. Emails re same.
  05/17/2013 Kaylan Phillips     0:30       0.50        0.50 $     384.00   $       192.00   $         192.00 KLP- R news articles re scandal
  05/17/2013 Kaylan Phillips     0:42       0.70        0.70 $     384.00   $       268.80   $         268.80 KLP- Emails re press needs. C JF re same
                                                                                                              KLP- Work on attachments to the complaint. Update
  05/17/2013 Kaylan Phillips     0:48       0.80        0.60   $   384.00 $         307.20   $         230.40 chart.
                                                                                                              KLP- C NHJ re parties, final complaint needs,
  05/17/2013 Kaylan Phillips     0:48       0.80        0.80   $   384.00 $         307.20   $         307.20 conspiracy.
                                                                                                              KLP- C with colleagues re attachments. R files. Email to
  05/17/2013 Kaylan Phillips     0:54       0.90        0.90   $   384.00 $         345.60   $         345.60 client re additional documents needed.
                                                                                                              KLP- Watch portion of congressional hearing, c NHJ re
  05/17/2013 Kaylan Phillips     1:00       1.00        1.00   $   384.00 $         384.00   $         384.00 same
                                                                                                              KLP- R and edit complaint. C NHJ re changes needed.
  05/17/2013 Kaylan Phillips     1:36       1.60        1.30 $     384.00 $         614.40   $         499.20 C with colleagues re RS findings
  05/17/2013 Kevin LeRoy         1:30       1.50        1.50 $     171.00 $         256.50   $         256.50 KL- RS Civil Conspiracy in the DC Circuit
  05/17/2013 Kevin LeRoy         2:18       2.30        2.30 $     171.00 $         393.30   $         393.30 KL- Assemble the TTV Appendices

  05/17/2013 Noel Johnson        0:06       0.10        0.10   $   312.00 $          31.20   $          31.20 NHJ- C JF to discuss defendant's residence addresses

  05/17/2013 Noel Johnson        0:18       0.30        0.30 $     312.00 $          93.60   $          93.60 NHJ- C KLP and KL to discuss conspiracy theory RS
  05/17/2013 Noel Johnson        0:30       0.50        0.40 $     312.00 $         156.00   $         124.80 NHJ- Continue drafting and editing complaint
  05/17/2013 Noel Johnson        0:36       0.60        0.50 $     312.00 $         187.20   $         156.00 NHJ- Continue drafting and editing complaint
                                                                                                              NHJ- R and incorporate KLP's edits for complaint; make
  05/17/2013 Noel Johnson        0:36       0.60        0.50   $   312.00 $         187.20   $         156.00 other edits to complaint

                                                                                                              NHJ- Make edits to Exhibits to complaint and insert
  05/17/2013 Noel Johnson        1:06       1.10        0.90   $   312.00 $         343.20   $         280.80 citations to same in complaint; P detailed emai
                                                                                                              NHJ- Watching committee hearings on IRS scandal;
  05/17/2013 Noel Johnson        1:30       1.50        1.50   $   312.00 $         468.00   $         468.00 discuss same with KLP.
                                                                                                              NHJ- Continue drafting and editing complaint; C with
  05/17/2013 Noel Johnson        3:00       3.00        2.40   $   312.00 $         936.00   $         748.80 KLP re parties, final complaint needs.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.               Page 7 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              KLP- Email with colleagues re case/RS needs and filing
  05/19/2013 Kaylan Phillips     0:36       0.60        0.60   $   384.00 $         230.40   $         230.40 timeline.

  05/19/2013 Zachary Kester      0:06       0.10        0.10   $   384.00 $          38.40   $          38.40 ZSK- Review filing fees and ask SLP to P pmt for same
                                                                                                              ZSK- R complaint and make comments/revisions to
  05/19/2013 Zachary Kester      0:42       0.70        0.60   $   384.00 $         268.80   $         230.40 same
             Bostrom, Barry                                                                                   BAB- R email from NHJ and P reply re Civil Cover
  05/20/2013 A.                  0:06       0.10        0.10   $   753.00 $          75.30   $          75.30 Sheet question
             Bostrom, Barry
  05/20/2013 A.                  1:06       1.10        0.90 $     753.00 $         828.30   $         677.70 BAB- R final complaint, P email to NHJ, R reply, etc
  05/20/2013 Jackie Flint        0:30       0.50        0.40 $     171.00 $          85.50   $          68.40 JF- Proofread complaint
                                                                                                              JF- Create pro hac vice admission motion and
  05/20/2013 Jackie Flint        0:30       0.50        0.50   $   171.00 $          85.50   $          85.50 declaration for JE
  05/20/2013 Jackie Flint        0:30       0.50        0.50   $   171.00 $          85.50   $          85.50 JF- Search for addresses of defendants
                                                                                                              JF- P motions and declarations for pro hac vice
  05/20/2013 Jackie Flint        1:42       1.70        1.70 $     171.00   $       290.70   $         290.70 admission
  05/20/2013 Kaylan Phillips     0:06       0.10        0.10 $     384.00   $        38.40   $          38.40 KLP- Draft email re filing needs for tomorrow
  05/20/2013 Kaylan Phillips     0:06       0.10        0.10 $     384.00   $        38.40   $          38.40 KLP- Email to CM's assistant re filing tomorrow
  05/20/2013 Kaylan Phillips     0:06       0.10        0.10 $     384.00   $        38.40   $          38.40 KLP- Email with JCe and JF re pro hac vice
  05/20/2013 Kaylan Phillips     0:12       0.20        0.20 $     384.00   $        76.80   $          76.80 KLP- Emails re media tomorrow
                                                                                                              KLP- Proofread PHV declaration. Respond with
  05/20/2013 Kaylan Phillips     0:12       0.20        0.20 $     384.00 $          76.80   $          76.80 changes.
  05/20/2013 Kaylan Phillips     0:12       0.20        0.20 $     384.00 $          76.80   $          76.80 KLP- Work on civil cover sheet
  05/20/2013 Kaylan Phillips     0:18       0.30        0.00 $     384.00 $         115.20   $            -    KLP- Email with client re verification, press
                                                                                                              KLP- Print and sign PHV declaration; email with JCE re:
  05/20/2013 Kaylan Phillips     0:18       0.30        0.30   $   384.00 $         115.20   $         115.20 same. Finalize NHJ and my declaration.
                                                                                                              KLP- C NHJ and Kevin LeRoy re service needs. Emails
  05/20/2013 Kaylan Phillips     0:24       0.40        0.40   $   384.00 $         153.60   $         153.60 re same.
                                                                                                              KLP- PC with client re filing. Email with client's media
  05/20/2013 Kaylan Phillips     0:24       0.40        0.40 $     384.00 $         153.60   $         153.60 consultant re same.
  05/20/2013 Kaylan Phillips     0:24       0.40        0.40 $     384.00 $         153.60   $         153.60 KLP- R additional addresses needed.

  05/20/2013 Kaylan Phillips     0:30       0.50        0.00   $   384.00 $         192.00   $            -    KLP- Email with Cm and colleagues re filing and press

  05/20/2013 Kaylan Phillips     0:30       0.50        0.50 $     384.00 $         192.00   $         192.00 KLP- Email with colleagues re case needs/check list
  05/20/2013 Kaylan Phillips     0:36       0.60        0.60 $     384.00 $         230.40   $         230.40 KLP- Work on updating exhibits. Finalize.
  05/20/2013 Kaylan Phillips     1:00       1.00        0.80 $     384.00 $         384.00   $         307.20 KLP- R complaint. Help finalize and circulate


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.               Page 8 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                    1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                             KLP- Email with colleagues re press release. RV and
  05/20/2013 Kaylan Phillips     1:12       1.20        0.00   $   384.00 $       460.80   $            -    resend. R news articles re True the Vote.
                                                                                                            KLP- C NHJ re case needs, civil cover sheet, exhibits,
  05/20/2013 Kaylan Phillips     1:30       1.50        1.50 $     384.00 $       576.00   $         576.00 etc.
  05/20/2013 Kevin LeRoy         0:30       0.50        0.50 $     171.00 $        85.50   $          85.50 KL- C NHJ and KLP about next steps in lawsuit
  05/20/2013 Kevin LeRoy         1:00       1.00        0.80 $     171.00 $       171.00   $         136.80 KL- Proofread complaint

                                                                                                            KL- Work on obtaining service information for TTV
  05/20/2013 Kevin LeRoy         4:30       4.50        4.50   $   171.00 $       769.50   $         769.50 Case; work on obtaining addresses for defendants
                                                                                                            NHJ- RS re Sec. 6103 and sharing of return information
  05/20/2013 Noel Johnson        0:18       0.30        0.00   $   312.00 $        93.60   $            -   with other federal agencies
                                                                                                            NHJ- R emails from weekend; make changes to
  05/20/2013 Noel Johnson        0:18       0.30        0.20   $   312.00 $        93.60   $          62.40 complaint

  05/20/2013 Noel Johnson        0:24       0.40        0.40   $   312.00 $       124.80   $         124.80 NHJ- C KLP and KL re: service needs. Emails re same.
                                                                                                            NHJ- C KLP to discuss needs for exhibits; recreate
  05/20/2013 Noel Johnson        1:00       1.00        1.00   $   312.00 $       312.00   $         312.00 exhibits to complaint and proof same

                                                                                                            NHJ- Conferences throughout day with KLP to discuss
  05/20/2013 Noel Johnson        2:12       2.20        2.20   $   312.00 $       686.40   $         686.40 needs and strategy for complaint, service and f

                                                                                                            NHJ- Continue discussing needs for complaint with
  05/20/2013 Noel Johnson        2:18       2.30        1.80   $   312.00 $       717.60   $         561.60 legal team; continue incorporating comments and s
                                                                                                            NHJ- Proofread complaint; continue making edits to
  05/20/2013 Noel Johnson        2:30       2.50        2.00   $   312.00 $       780.00   $         624.00 complaint; civil cover sheet

  05/20/2013 Zachary Kester      0:18       0.30        0.20   $   384.00 $       115.20   $          76.80 ZSK- R complaint, comment
                                                                                                            ZSK- Trip to office from home to sign PHV; C KLP re
  05/20/2013 Zachary Kester      0:36       0.60        0.60   $   384.00 $       230.40   $         230.40 complaint and filing
                                                                                                             ZSK- R press release and website news fee; email to
  05/20/2013 Zachary Kester      0:54       0.90        0.00   $   384.00 $       345.60   $            -    Cleta, JF, etc re same
             Bostrom, Barry                                                                                 BAB- R Washington Post article on True the Vote suit
  05/21/2013 A.                  0:12       0.20        0.20 $     753.00 $       150.60   $         150.60 against IRS
  05/21/2013 Jackie Flint        0:36       0.60        0.60 $     171.00 $       102.60   $         102.60 JF- Create summons
                                                                                                            KLP- Check docket and download issued summonses.
  05/21/2013 Kaylan Phillips     0:30       0.50        0.50   $   384.00 $       192.00   $         192.00 Calls/emails to Cath re service.
                                                                                                            KLP- Emails from co-counsel and client re filing today,
  05/21/2013 Kaylan Phillips     0:30       0.50        0.50   $   384.00 $       192.00   $         192.00 media.




* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 9 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                    1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            KLP- Finalize pro hac motions. Email with Cath Kidwell
  05/21/2013 Kaylan Phillips     0:30       0.50        0.50   $   384.00 $       192.00   $         192.00 re same. Check docket and download docs.

                                                                                                            KLP- Work on corprorate disclosure statement. Email
  05/21/2013 Kaylan Phillips     0:36       0.60        0.60   $   384.00 $       230.40   $         230.40 with client and co-counsel re same. Check docke
                                                                                                            KLP- R news articles re lawsuit and other suits, C with
  05/21/2013 Kaylan Phillips     1:00       1.00        1.00   $   384.00 $       384.00   $         384.00 NHJ.

                                                                                                            KLP- Finalize documents for filing. Review summonses,
  05/21/2013 Kaylan Phillips     2:24       2.40        2.40   $   384.00 $       921.60   $         921.60 civil cover sheet, and motions. Calls and ema
                                                                                                            KLP- Draft cover letters for certified mail. P mailings.
  05/21/2013 Kaylan Phillips     2:30       2.50        2.50   $   384.00 $       960.00   $         960.00 Take to post office and mail.
  05/21/2013 Kevin LeRoy         1:36       1.60        1.60   $   171.00 $       273.60   $         273.60 KL- Searched for addresses of defendants

  05/21/2013 Kevin LeRoy         2:00       2.00        2.00 $     171.00 $       342.00   $         342.00 KL- Assembled complaints to be mailed to defendants
  05/21/2013 Noel Johnson        0:12       0.20        0.20 $     312.00 $        62.40   $          62.40 NHJ- Finalize civil cover sheet
                                                                                                            NHJ- R complaint filed against IRS by Cincinnati tea
  05/21/2013 Noel Johnson        0:24       0.40        0.40   $   312.00 $       124.80   $         124.80 party group; discuss same with KLP
                                                                                                            NHJ- Work with KLP to create cover letters for service
  05/21/2013 Noel Johnson        0:24       0.40        0.40   $   312.00 $       124.80   $         124.80 mailings
                                                                                                            NHJ- P affidavits for service of complaint and filed
  05/21/2013 Noel Johnson        0:30       0.50        0.50   $   312.00 $       156.00   $         156.00 documents so far
                                                                                                            NHJ- Continue searching for home residences for
  05/21/2013 Noel Johnson        1:00       1.00        1.00   $   312.00 $       312.00   $         312.00 defendants

                                                                                                            NHJ- Conferences throughout morning with KLP re
  05/21/2013 Noel Johnson        1:30       1.50        1.50   $   312.00 $       468.00   $         468.00 needs for filing initiating documents; needs for se

                                                                                                            NHJ- Print all filed documents and P certified mailings
  05/21/2013 Noel Johnson        4:12       4.20        4.20   $   312.00 $     1,310.40   $       1,310.40 for service of three defendants; drive to/f

                                                                                                            ZSK- Email JF; Cleta; many others with copies of the
  05/21/2013 Zachary Kester      2:06       2.10        2.10   $   384.00 $       806.40   $         806.40 complaint; work with staff on service of proce
             Bostrom, Barry
  05/22/2013 A.                  0:24       0.40        0.40   $   753.00 $       301.20   $         301.20 BAB- R attachments to the complaint
                                                                                                            KLP- Emails from client and co-counsel re press, etc.
  05/22/2013 Kaylan Phillips     0:30       0.50        0.00   $   384.00 $       192.00   $            -   Review articles.
                                                                                                            KLP- Calls and emails with Cath Kidwell re service.
  05/22/2013 Kaylan Phillips     0:54       0.90        0.90   $   384.00 $       345.60   $         345.60 Check docket. P summons as needed.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 10 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
  05/22/2013 Noel Johnson        0:06       0.10        0.10   $   312.00 $        31.20   $          31.20 NHJ- R overnight emails re service and media inquiries

                                                                                                            NHJ- R emails re needed RS; P replies to same; R
  05/22/2013 Noel Johnson        0:18       0.30        0.30   $   312.00 $        93.60   $          93.60 emails forwarded by ZSK re thoughts on our claims

  05/22/2013 Noel Johnson        0:42       0.70        0.70   $   312.00 $       218.40   $         218.40 NHJ- Continue watching House hearing re IRS targeting
                                                                                                            NHJ- Watch and take notes on House Committee
  05/22/2013 Noel Johnson        2:24       2.40        2.40   $   312.00 $       748.80   $         748.80 hearings re IRS targeting

  05/22/2013 Zachary Kester      0:06       0.10        0.10   $   384.00 $        38.40   $          38.40 ZSK- Submit PHV form

                                                                                                            ZSK- Email Pete Lepiscopo and the ADF list serve the
  05/22/2013 Zachary Kester      0:48       0.80        0.80 $     384.00 $       307.20   $         307.20 complaint and various documents; field questio
  05/23/2013 Jackie Flint        1:00       1.00        1.00 $     171.00 $       171.00   $         171.00 JF- RS on Judge Reggie B. Walton

  05/23/2013 Kaylan Phillips     0:06       0.10        0.10 $     384.00 $        38.40   $          38.40 KLP- Check docket, receive and save ECF information
  05/23/2013 Kaylan Phillips     0:06       0.10        0.10 $     384.00 $        38.40   $          38.40 KLP- Email from CM re service
  05/23/2013 Kaylan Phillips     0:12       0.20        0.20 $     384.00 $        76.80   $          76.80 KLP- Emails re RS areas, ideas

                                                                                                            KLP- C with Cath Kidwell re summonses and service.
  05/23/2013 Kaylan Phillips     0:18       0.30        0.30   $   384.00 $       115.20   $         115.20 Email re same. Fill out and send R. Bell's summo

                                                                                                            KLP- Email from CM re preparing for motion to dismiss,
  05/23/2013 Kaylan Phillips     0:18       0.30        0.30   $   384.00 $       115.20   $         115.20 respond. Send out RS requests to the interns
                                                                                                            KLP- ECF notice re issued summonses. Download and
  05/23/2013 Kaylan Phillips     0:30       0.50        0.50   $   384.00 $       192.00   $         192.00 send to Cath with explanation.
                                                                                                            NHJ- Complete ECF registration form and email to
  05/23/2013 Noel Johnson        0:06       0.10        0.10   $   312.00 $        31.20   $          31.20 court

  05/23/2013 Zachary Kester      0:06       0.10        0.10   $   384.00 $        38.40   $          38.40 ZSK- Email ECF from to Court
                                                                                                            ZSK- Review articles and press; email KLP and NHJ re
  05/23/2013 Zachary Kester      0:18       0.30        0.00 $     384.00 $       115.20   $            -   same
  05/24/2013 Kaylan Phillips     0:12       0.20        0.00 $     384.00 $        76.80   $            -    KLP- Emails re press. IM with NHJ re same.
                                                                                                            KLP- Emails re service of Lois Lerner. Review news
  05/24/2013 Kaylan Phillips     0:24       0.40        0.40 $     384.00 $       153.60   $         153.60 articles re same.
  05/24/2013 Kevin LeRoy         4:54       4.90        0.00 $     171.00 $       837.90   $            -    KL- RS Bivens actions
                                                                                                            JF- Find transcript of May 17th House Ways and Means
  05/28/2013 Jackie Flint        0:42       0.70        0.70   $   171.00 $       119.70   $         119.70 Committee hearing


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 11 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                               JF- RS discovery usage to establish personal
  05/28/2013 Jackie Flint        1:12       1.20        0.00 $     171.00 $         205.20   $            -    jurisdiction
  05/28/2013 Jackie Flint        4:06       4.10        4.10 $     171.00 $         701.10   $         701.10 JF- RS IRS Manual for Examination process
  05/28/2013 Kevin LeRoy         0:12       0.20        0.00 $     171.00 $          34.20   $            -    KL- RS Bivens actions
                                                                                                              NHJ- C JF to discuss her RS re IRS manual written
  05/28/2013 Noel Johnson        0:12       0.20        0.20   $   312.00 $          62.40   $          62.40 examination procedures
                                                                                                              NHJ- PC with ACLJ re defendant's addresses; search
  05/28/2013 Noel Johnson        0:18       0.30        0.30   $   312.00 $          93.60   $          93.60 email for same
  05/29/2013 Jackie Flint        1:18       1.30        1.30   $   171.00 $         222.30   $         222.30 JF- RS on DC jurisdictional discovery
                                                                                                              JF- Read Cincinnati complaint for Privacy Act analysis
  05/29/2013 Jackie Flint        3:12       3.20        3.20   $   171.00 $         547.20   $         547.20 in comparison with TTV
                                                                                                              KLP- Watch O'Reilly Factor segment. Email with client
  05/29/2013 Kaylan Phillips     0:18       0.30        0.30 $     384.00 $         115.20   $         115.20 and co-counsel re same.
  05/29/2013 Kevin LeRoy         1:30       1.50        1.50 $     171.00 $         256.50   $         256.50 KL- RS privacy act
                                                                                                              NHJ- Discuss TTV fee agreement with ZSK; P reply
  05/29/2013 Noel Johnson        0:06       0.10        0.00   $   312.00 $          31.20   $            -   email to Cath Kidwell re same

  05/29/2013 Noel Johnson        0:06       0.10        0.10 $     312.00 $          31.20   $          31.20 NHJ- Briefly review complaint filed by ACLJ against IRS
  05/29/2013 Noel Johnson        0:12       0.20        0.20 $     312.00 $          62.40   $          62.40 NHJ- Test and change ECF login info
                                                                                                              NHJ- Discuss Privacy Act RS and claim with interns
  05/29/2013 Noel Johnson        0:30       0.50        0.00   $   312.00 $         156.00   $            -   and ZSK (in part)
                                                                                                              ZSK- C interns and NHJ re arguments and re
  05/29/2013 Zachary Kester      0:12       0.20        0.20 $     384.00 $          76.80   $          76.80 assignments
  05/30/2013 Kaylan Phillips     0:06       0.10        0.10 $     384.00 $          38.40   $          38.40 KLP- Email with NHJ re verification form

                                                                                                               KL- RS privacy act; look through appendices for
  05/30/2013 Kevin LeRoy         3:36       3.60        0.00   $   171.00 $         615.60   $            -    requests for donor information; meeting with NHJ ab
                                                                                                              NHJ- RS judge assignment for ACLJ case; P email to
  05/30/2013 Noel Johnson        0:06       0.10        0.10   $   312.00 $          31.20   $          31.20 legal team re same

                                                                                                              NHJ- Email correspondence with client re IRS inquires
  05/30/2013 Noel Johnson        0:18       0.30        0.30 $     312.00   $        93.60   $          93.60 and verification page for complaint; assign R
  05/30/2013 Noel Johnson        0:18       0.30        0.30 $     312.00   $        93.60   $          93.60 NHJ- R latest news re client and case
  05/30/2013 Noel Johnson        0:30       0.50        0.00 $     312.00   $       156.00   $            -    NHJ- C KL to discuss Privacy Act RS
  05/30/2013 Noel Johnson        0:36       0.60        0.00 $     312.00   $       187.20   $            -    NHJ- C KL to continue discussing Privacy Act RS
  05/31/2013 Kaylan Phillips     0:06       0.10        0.10 $     384.00   $        38.40   $          38.40 KLP- Email to Cath Kidwell re service updates
                                                                                                              KLP- C NHJ to catch up on completed RS and
  05/31/2013 Kaylan Phillips     0:18       0.30        0.20   $   384.00 $         115.20   $          76.80 amendments to complaint.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 12 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
  05/31/2013 Kevin LeRoy         1:18       1.30        1.30 $     175.00 $         227.50   $         227.50 KL- RS privacy act, email NHJ about RS
  05/31/2013 Noel Johnson        0:12       0.20        0.00 $     312.00 $          62.40   $            -    NHJ- P emails to KL re Privacy Act RS
                                                                                                              NHJ- C KLP to catch her up on completed RS and
  05/31/2013 Noel Johnson        0:18       0.30        0.20   $   312.00 $          93.60   $          62.40 amendments to complaint

  05/31/2013 Zachary Kester      0:06       0.10        0.10   $   384.00 $          38.40   $          38.40 ZSK- Email Carly Gamill re process server
                                                                                                              JF- Create matrix of date of service and expected dates
  06/03/2013 Jackie Flint        0:18       0.30        0.30 $     175.00   $        52.50   $          52.50 of answers
  06/03/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- Email with NHJ re service.
  06/03/2013 Kevin LeRoy         0:36       0.60        0.60 $     175.00   $       105.00   $         105.00 KL- RS privacy act
  06/03/2013 Kevin LeRoy         0:54       0.90        0.90 $     175.00   $       157.50   $         157.50 KL- C ZSK and NHJ re TTV-7428
  06/03/2013 Kevin LeRoy         3:54       3.90        3.90 $     175.00   $       682.50   $         682.50 KL- RS Anti-injunction act
  06/03/2013 Kevin LeRoy         4:12       4.20        4.20 $     175.00   $       735.00   $         735.00 KL- RS Anti-injunction act
                                                                                                              NHJ- Search for certificates of service; email to KLP re
  06/03/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $          31.90   $          31.90 same

  06/03/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 NHJ- C KL to narrow scope of Anti-Injunction Act RS
                                                                                                              NHJ- Emails re service of defendants to KLP and Cathy
  06/03/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 Kidwell

                                                                                                              NHJ- R invoices and certificates of service; review
  06/03/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $         127.60   $         127.60 FRCP re service of US employees; assign project

  06/03/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $         127.60   $         127.60 NHJ- R IRS Manual re compliance with Privacy Act

                                                                                                              NHJ- R partial transcript of House Overnight Committee
  06/03/2013 Noel Johnson        0:24       0.40        0.40 $     319.00 $         127.60   $         127.60 interviews in Cinci. IRS agents; review news
  06/03/2013 Noel Johnson        0:30       0.50        0.50 $     319.00 $         159.50   $         159.50 NHJ- C KL to discuss Anti-Injunction Act RS
                                                                                                              NHJ-R KL's Privacy Act rs; discuss with him; assign
  06/03/2013 Noel Johnson        0:36       0.60        0.60   $   319.00 $         191.40   $         191.40 follow up RS re same
                                                                                                              NHJ- R complaint in Linchpins for Liberty v. IRS, make
  06/03/2013 Noel Johnson        0:42       0.70        0.70   $   319.00 $         223.30   $         223.30 notes re same
                                                                                                              NHJ- C ZSK and interns to discuss issues re Anti-
  06/03/2013 Noel Johnson        0:48       0.80        0.70   $   319.00 $         255.20   $         223.30 Injunction Act and amendments to complaint
                                                                                                              NHJ- View stream of hearing of house oversight
  06/03/2013 Noel Johnson        0:54       0.90        0.90   $   319.00 $         287.10   $         287.10 committee with new IRS commissioner
                                                                                                              NHJ- R DC circuit case law on anti-injunction act and
  06/03/2013 Noel Johnson        1:06       1.10        1.10   $   319.00 $         350.90   $         350.90 administrative procedures act


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Expenses adjusted for reimbursable and non-reimbursable.              Page 13 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              ZSK- R media coverage, tax blog, and legal periodicals
  06/03/2013 Zachary Kester      1:00       1.00        0.90   $   393.00 $         393.00   $         353.70 for legal theories; conduct RS into APA and

  06/04/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 KLP- Receive and briefly review returns of service
  06/04/2013 Kaylan Phillips     0:24       0.40        0.40 $     393.00 $         157.20   $         157.20 KLP- R news articles re IRS lavish spending
  06/04/2013 Kaylan Phillips     0:30       0.50        0.40 $     393.00 $         196.50   $         157.20 KLP- C NHJ and ZSK re amending the complaint

  06/04/2013 Kaylan Phillips     0:30       0.50        0.40   $   393.00 $         196.50   $         157.20 KLP- C NHJ re needs for complaint and ongoing RS.
                                                                                                              NHJ- Email correspondence with KL re anti-injunction
  06/04/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 action RS
                                                                                                              NHJ- R IRS Manual re additional questioning of tax-
  06/04/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 exempt applicants; R caw law interpreting force
                                                                                                              NHJ- Continue reviewing case law interpreting anti-
  06/04/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $         127.60   $         127.60 injunction act

  06/04/2013 Noel Johnson        0:30       0.50        0.40   $   319.00 $         159.50   $         127.60 NHJ- C KLP re needs for complaint and ongoing RS

                                                                                                               NHJ- Continue reviewing case law interpreting Anti-
  06/04/2013 Noel Johnson        0:36       0.60        0.00   $   319.00 $         191.40   $            -    injunction Act and Administrative Procedures Act
                                                                                                              NHJ- C KLP and ZSK to discuss same and arguments
  06/04/2013 Noel Johnson        0:48       0.80        0.80   $   319.00 $         255.20   $         255.20 for case
                                                                                                              NHJ- View testimony before ways and means
  06/04/2013 Noel Johnson        0:54       0.90        0.90   $   319.00 $         287.10   $         287.10 committee from groups targeted by IRS
                                                                                                              NHJ- R KL's Anti-Injunction Act RS; R caw law cited
  06/04/2013 Noel Johnson        1:54       1.90        1.90   $   319.00 $         606.10   $         606.10 therein

  06/04/2013 Zachary Kester      0:30       0.50        0.40   $   393.00 $         196.50   $         157.20 ZSK- C NHJ and KLP re amending complaint.

  06/05/2013 Eric C. Bohnet      0:30       0.50        0.50 $     772.00   $       386.00   $         386.00 ECB- PC KP and NHJ re discovery and jurisdiction RS
  06/05/2013 Eric C. Bohnet      1:36       1.60        1.60 $     772.00   $     1,235.20   $       1,235.20 ECB- RS and report on discovery timing rules
  06/05/2013 Eric C. Bohnet      2:06       2.10        2.10 $     772.00   $     1,621.20   $       1,621.20 ECB- RS and report on jurisdictional discovery
  06/05/2013 Jackie Flint        0:30       0.50        0.50 $     175.00   $        87.50   $          87.50 JF- 5th Amendment Equal Protection RS
  06/05/2013 Jackie Flint        0:30       0.50        0.50 $     175.00   $        87.50   $          87.50 JF- Create list of Judge Walton General Orders
  06/05/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- C NHJ re equal protection claim.
  06/05/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- R district judge's standing orders
                                                                                                              KLP- Emails re phone call tomorrow, discovery, and
  06/05/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $         117.90   $         117.90 next steps


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Expenses adjusted for reimbursable and non-reimbursable.              Page 14 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
  06/05/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00 $         117.90   $         117.90 KLP- R news articles re scandal
  06/05/2013 Kaylan Phillips     0:30       0.50        0.50 $     393.00 $         196.50   $         196.50 KLP- Emails re returns of service
  06/05/2013 Kaylan Phillips     0:30       0.50        0.50 $     393.00 $         196.50   $         196.50 KLP- PC with NHJ and ECB re case needs
                                                                                                              NHJ- Email correspondence with Cath Kidwell we:
  06/05/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $          31.90   $          31.90 affidavits for service

  06/05/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $          31.90   $          31.90 NHJ- Email correspondence with ECB re discovery
                                                                                                              NHJ- C KLP to discuss equal protection claim; assign
  06/05/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 needed RS re same to JF
                                                                                                              NHJ- Continue reviewing case law interpreting anti-
  06/05/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 injunction act- Bob Jones vs. Simon
                                                                                                              NHJ- R emails from Cleta; discuss same with KLP; P
  06/05/2013 Noel Johnson        0:24       0.40        0.40 $     319.00 $         127.60   $         127.60 reply to same
  06/05/2013 Noel Johnson        0:36       0.60        0.60 $     319.00 $         191.40   $         191.40 NHJ- PC with KLP and Eric re discovery
                                                                                                              NHJ- RS IRS and Treasury regulations re permissible
  06/05/2013 Noel Johnson        0:42       0.70        0.70   $   319.00 $         223.30   $         223.30 scope of determinations process
  06/05/2013 Noel Johnson        0:48       0.80        0.80   $   319.00 $         255.20   $         255.20 NHJ- C KLP to discuss RS needs and discovery
                                                                                                              NHJ- Continue reviewing case law re Privacy Act
  06/05/2013 Noel Johnson        0:48       0.80        0.80   $   319.00 $         255.20   $         255.20 standing requirements and pleading requirements

                                                                                                              NHJ- Continue reviewing case law re: privacy act and
  06/05/2013 Noel Johnson        2:00       2.00        1.80   $   319.00 $         638.00   $         574.20 administrative procedures act claims; prepare
                                                                                                              ECB- Exchanged email with NHJ re minimum contacts
  06/06/2013 Eric C. Bohnet      0:30       0.50        0.50 $     772.00 $         386.00   $         386.00 pleading requirements
  06/06/2013 Jackie Flint        0:12       0.20        0.20 $     175.00 $          35.00   $          35.00 JF- C NHJ on Due Process RS
  06/06/2013 Jackie Flint        4:24       4.40        4.40 $     175.00 $         770.00   $         770.00 JF- RS First Amendment Equal Protection

  06/06/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 KLP- Emails re phone conference with co-counsel
  06/06/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00 $         117.90   $         117.90 KLP- Emails from ECB re discovery
  06/06/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00 $         117.90   $         117.90 KLP- Emails re RS findings for potential claims
                                                                                                              KLP- Call to potential consulting attorney, leave
  06/06/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $         196.50   $         196.50 message. Return call.

  06/06/2013 Kaylan Phillips     0:36       0.60        0.60 $     393.00   $       235.80   $         235.80 KLP- C ZSK re consulting attorney. C NHJ re same.
  06/06/2013 Kaylan Phillips     0:48       0.80        0.70 $     393.00   $       314.40   $         275.10 KLP- C NHJ re amended complaint
  06/06/2013 Kaylan Phillips     1:00       1.00        1.00 $     393.00   $       393.00   $         393.00 KLP- Watch Oversight Committee meeting
  06/06/2013 Noel Johnson        0:18       0.30        0.00 $     319.00   $        95.70   $            -    NHJ- P detailed email to KL: APA Rs assignment


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Expenses adjusted for reimbursable and non-reimbursable.              Page 15 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                          Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
  06/06/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 NHJ- C KLP to discuss contract attorney work on case

                                                                                                              NHJ- R news on recent congressional investigation
  06/06/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 interviews of IRS employees; circulate to legal t
                                                                                                              NHJ- Watching House Committee hearing on IRS
  06/06/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 spending and waste
                                                                                                              NHJ- Review Jackie’s research re: discovery to
  06/06/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $         127.60   $         127.60 establish jurisdiction; prepare reply email to Eric
                                                                                                              NHJ- Continue reviewing case law re Equal
  06/06/2013 Noel Johnson        0:30       0.50        0.50   $   319.00 $         159.50   $         159.50 Protection/First Amendment
                                                                                                              NHJ- RS re availability of attorney fees under Equal
  06/06/2013 Noel Johnson        0:48       0.80        0.80 $     319.00 $         255.20   $         255.20 Access to Justice Act
  06/06/2013 Noel Johnson        0:54       0.90        0.90 $     319.00 $         287.10   $         287.10 NHJ- LR re First Amendment retaliation
                                                                                                              NHJ- Review Jackie’s research re: Equal
                                                                                                              Protection/First Amendment claim; research and review
  06/06/2013 Noel Johnson        2:42       2.70        2.70 $     319.00 $         861.30   $         861.30 case
  06/07/2013 Jackie Flint        1:06       1.10        1.10 $     175.00 $         192.50   $         192.50 JF- RS on First Amendment/equal protection

  06/07/2013 Kaylan Phillips     0:30       0.50        0.50 $     393.00 $         196.50   $         196.50 KLP- Call with CM, JCE, NHJ, and ZSK re case needs
  06/07/2013 Noel Johnson        0:12       0.20        0.20 $     319.00 $          63.80   $          63.80 NHJ- R exemplars of requests for production
  06/07/2013 Noel Johnson        0:30       0.50        0.50 $     319.00 $         159.50   $         159.50 NHJ- PC with Cleta and John re discovery
                                                                                                              NHJ- R FRCP concerning time to respond; update
  06/07/2013 Noel Johnson        0:30       0.50        0.50   $   319.00 $         159.50   $         159.50 service matrix and circulate for review

                                                                                                              NHJ- Continue reviewing first amendment/equal
  06/07/2013 Noel Johnson        0:42       0.70        0.70   $   319.00 $         223.30   $         223.30 protection case law- Taxation with Representation v.
                                                                                                              ZSK- PC Cleta, John, NHJ, and KLP re discovery
  06/07/2013 Zachary Kester      0:30       0.50        0.50   $   393.00 $         196.50   $         196.50 questions.

                                                                                                              ZSK- Review discovery examplars; email Mike Wilkins
  06/07/2013 Zachary Kester      0:30       0.50        0.50 $     393.00   $       196.50   $         196.50 re same; email KP & NJ exemplars; review Cleta’
  06/10/2013 Jackie Flint        0:12       0.20        0.20 $     175.00   $        35.00   $          35.00 JF- Look for Motion to Compel sample
  06/10/2013 Jackie Flint        3:30       3.50        3.50 $     175.00   $       612.50   $         612.50 JF- IRS handbook RS for discovery rules
  06/10/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- C ZSK re Judge assignment. Send link.
                                                                                                              KLP- Email re help for cases. Make game plan. C with
  06/10/2013 Kaylan Phillips     0:42       0.70        0.70   $   393.00 $         275.10   $         275.10 colleagues re same.

  06/10/2013 Kevin LeRoy         3:12       3.20        3.20   $   175.00 $         560.00   $         560.00 KL- RS discovery; look for Congressional transcript

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Expenses adjusted for reimbursable and non-reimbursable.              Page 16 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              NHJ- C KL to discuss his RS re motions to compel
  06/10/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $          31.90   $          31.90 discovery
                                                                                                              NHJ- C KL adn KLP to update him on needs for case
  06/10/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 and assign research going forward
  06/10/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 NHJ- C KLP to discuss RS needs for discovery
                                                                                                              NHJ- RS and R case law re motions to compel
  06/10/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 discovery involving IRS as party
                                                                                                              NHJ- C KL and JF to assign RS projects for next few
  06/10/2013 Noel Johnson        0:18       0.30        0.30 $     319.00 $          95.70   $          95.70 days
  06/10/2013 Noel Johnson        0:18       0.30        0.30 $     319.00 $          95.70   $          95.70 NHJ- C KLP and interns to assign RS projects
                                                                                                              NHJ- C KLP to work plan for assisting attorneys at
  06/10/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 Foley

                                                                                                              NHJ- R email from Cleta re discovery; RS and save
  06/10/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 samples/examples of requests for production of do

                                                                                                              ZSK- Review articles describing IRS agents’ names and
  06/10/2013 Zachary Kester      0:42       0.70        0.70   $   393.00 $         275.10   $         275.10 roles in leaks; research names and contact in

  06/10/2013 Zachary Kester      1:30       1.50        1.50 $     393.00 $         589.50   $         589.50 ZSK- RV budget for Cleta; send email re same
  06/11/2013 Jackie Flint        3:36       3.60        3.60 $     175.00 $         630.00   $         630.00 JF- First Amendment Equal Protection RS
                                                                                                              KLP- C NHJ re memo of legal claims and perceived
  06/11/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $          78.60   $          78.60 weaknesses.
                                                                                                              KLP- R news articles re IRS scandals and additional
  06/11/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $          78.60   $          78.60 information. Save.
                                                                                                              KLP- Emails with co-counsel re conference call and
  06/11/2013 Kaylan Phillips     0:15       0.30        0.30 $     393.00   $       117.90   $         117.90 next steps
  06/11/2013 Kaylan Phillips     0:30       0.50        0.00 $     393.00   $       196.50   $            -    KLP- C NHJ re APA claim. R books.
  06/11/2013 Kaylan Phillips     0:30       0.50        0.50 $     393.00   $       196.50   $         196.50 KLP- Work on summary of claims
  06/11/2013 Kevin LeRoy         4:06       4.10        3.70 $     175.00   $       717.50   $         647.50 KL- RS discovery; RS APA, AIA, PA

  06/11/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $          31.90   $          31.90 NHJ- C JF to discuss scope of 5th Amendment RS
                                                                                                              NHJ- C KLP to divide work for legal memo on current
  06/11/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 and new claims
                                                                                                              NHJ- C KLP and ZSK to discuss legal memo for current
  06/11/2013 Noel Johnson        0:18       0.30        0.20   $   319.00 $          95.70   $          63.80 and new claims
                                                                                                              NHJ- RS re injunctive relief under Declaratory
  06/11/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 Judgment Act



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                                                     PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
  06/11/2013 Noel Johnson        0:24       0.40        0.30   $   319.00 $         127.60   $          95.70 NHJ- Continue working on legal memo for new claims

                                                                                                              NHJ- C KLP re IRS authority to promulgate rules
  06/11/2013 Noel Johnson        0:48       0.80        0.80   $   319.00 $         255.20   $         255.20 governing exemption determinations; conduct legal R
                                                                                                              NHJ- Begin drafting legal memo on potential new
  06/11/2013 Noel Johnson        1:00       1.00        0.90   $   319.00 $         319.00   $         287.10 claims
                                                                                                              NHJ- Continue working on legal memo for new claims;
  06/11/2013 Noel Johnson        1:42       1.70        1.50   $   319.00 $         542.30   $         478.50 C KLP to discuss same

  06/11/2013 Zachary Kester      1:00       1.00        1.00   $   393.00 $         393.00   $         393.00 ZSK- RV buget per Cleta's comments; resend same
                                                                                                              KLP- C NHJ re content of house of committee interview
  06/12/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 transcripts.
  06/12/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- R email re service matrix
  06/12/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- R and save articles re IRS scandal
  06/12/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00   $       117.90   $         117.90 KLP- Work on summary of claims

  06/12/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $         157.20   $         157.20 KLP- Email with ACLJ re arguments. R their docket.

                                                                                                              KLP- R news articles re transcripts of House
  06/12/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $         157.20   $         157.20 investigation. C with KL re tracking transcripts down.
                                                                                                              KLP- Watch broadcast on voter integrity, email
  06/12/2013 Kaylan Phillips     0:30       0.50        0.50 $     393.00   $       196.50   $         196.50 colleagues and co-counsel re same
  06/12/2013 Kaylan Phillips     1:00       1.00        1.00 $     393.00   $       393.00   $         393.00 KLP- R text books re claims. C NHJ re same.
  06/12/2013 Kevin LeRoy         3:18       3.30        0.00 $     175.00   $       577.50   $            -    KL- RS APA for NHJ
  06/12/2013 Noel Johnson        0:06       0.10        0.00 $     319.00   $        31.90   $            -    NHJ- R KL's RS re APA claims
                                                                                                              NHJ- Continue reviewing tax law treatise and tax
  06/12/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $          31.90   $          31.90 regulations re IRS authority and procedure to issu

  06/12/2013 Noel Johnson        0:12       0.20        0.00   $   319.00 $          63.80   $            -    NHJ- P email to KL re needed RS on qualified immunity

                                                                                                              NHJ- R latest news re content of house committee
  06/12/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 interview transcripts; discuss same with KLP
                                                                                                              NHJ- Continue working on legal memo re potential new
  06/12/2013 Noel Johnson        0:30       0.50        0.40   $   319.00 $         159.50   $         127.60 claims
                                                                                                              NHJ- Continue working on legal memo re potential new
  06/12/2013 Noel Johnson        0:42       0.70        0.60   $   319.00 $         223.30   $         191.40 claims
                                                                                                              NHJ- Continue legal RS re qualified immunity and
  06/12/2013 Noel Johnson        0:48       0.80        0.00   $   319.00 $         255.20   $            -   Bivens actions against IRS agents


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 18 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                               NHJ- Research re: necessary parties under
                                                                                                               administrative procedures; research and review case
  06/12/2013 Noel Johnson        1:06       1.10        0.00   $   319.00 $         350.90   $            -    law a
                                                                                                              ZSK- R articles and current news; email KLP and NHJ
  06/12/2013 Zachary Kester      0:12       0.20        0.20   $   393.00 $          78.60   $          78.60 re same
                                                                                                              KLP- Email with co-counsel re possibility of writ of
  06/13/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 mandamus.
  06/13/2013 Kaylan Phillips     0:18       0.30        0.00 $     393.00 $         117.90   $            -    KLP- C NHJ re APA claim
                                                                                                              KLP- R NHJ's summary of claims. Edit and return.
  06/13/2013 Kaylan Phillips     0:36       0.60        0.50 $     393.00   $       235.80   $         196.50 Emails re same.
  06/13/2013 Kaylan Phillips     1:18       1.30        1.20 $     393.00   $       510.90   $         471.60 KLP- Work on summary of claims
  06/13/2013 Kevin LeRoy         0:18       0.30        0.00 $     175.00   $        52.50   $            -    KL- RS APA
  06/13/2013 Kevin LeRoy         1:30       1.50        0.00 $     175.00   $       262.50   $            -    KL- RS qualified immunity
  06/13/2013 Kevin LeRoy         2:36       2.60        2.60 $     175.00   $       455.00   $         455.00 KL- RS IRS's statutory authority
                                                                                                              NHJ- Finalize legal memo on new and current claims;
  06/13/2013 Noel Johnson        0:06       0.10        0.00 $     319.00 $          31.90   $            -   circulate to legal team for review
  06/13/2013 Noel Johnson        0:06       0.10        0.10 $     319.00 $          31.90   $          31.90 NHJ- C KL to discuss RS needs for tomorrow
  06/13/2013 Noel Johnson        0:18       0.30        0.00 $     319.00 $          95.70   $            -    NHJ- C KLP to discuss APA RS needs
                                                                                                              NHJ- Continue RS re source of IRS authority to
  06/13/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 recognize exempt status
                                                                                                              NHJ- Finish legal memo on potential new claims;
  06/13/2013 Noel Johnson        0:24       0.40        0.30   $   319.00 $         127.60   $          95.70 proofread same and circulate to KLP
                                                                                                              NHJ- C KL to discuss RS no source of IRS authority to
  06/13/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $         127.60   $         127.60 recognize exempt status

                                                                                                              NHJ- Proof and make edits to memo on current claims;
  06/13/2013 Noel Johnson        0:30       0.50        0.40   $   319.00 $         159.50   $         127.60 incorporate KLP’s suggestions to memo on new c
                                                                                                              NHJ- C KL to discuss his APA RS adn to assign
  06/13/2013 Noel Johnson        0:42       0.70        0.00   $   319.00 $         223.30   $            -   additional RS re same.
                                                                                                              NHJ- Continue RS re source of IRS authority to
  06/13/2013 Noel Johnson        1:06       1.10        1.10   $   319.00 $         350.90   $         350.90 recognize exempt status
                                                                                                              NHJ- Continue RS re source of IRS authority to
  06/13/2013 Noel Johnson        1:12       1.20        1.20 $     319.00   $       382.80   $         382.80 recognize exempt status
  06/14/2013 Eric C. Bohnet      0:24       0.40        0.40 $     772.00   $       308.80   $         308.80 ECB- PC KLP re expediting discovery
  06/14/2013 Jackie Flint        0:42       0.70        0.70 $     175.00   $       122.50   $         122.50 JF- Conference on strategy
  06/14/2013 Jackie Flint        1:42       1.70        1.70 $     175.00   $       297.50   $         297.50 JF- TtV phone conference
  06/14/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- C NHJ re writ mandamus.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 19 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
  06/14/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00 $         117.90   $         117.90 KLP- C NHJ re case needs and conference call
  06/14/2013 Kaylan Phillips     0:24       0.40        0.40 $     393.00 $         157.20   $         157.20 KLP- C with ECB re discovery options
  06/14/2013 Kaylan Phillips     0:36       0.60        0.60 $     393.00 $         235.80   $         235.80 KLP- R KL's RS re mandamus. P for call.

  06/14/2013 Kaylan Phillips     0:42       0.70        0.70   $   393.00 $         275.10   $         275.10 KLP- C with colleagues re discovery and next steps

                                                                                                              KLP- R discovery RS and rules re expediting discovery.
  06/14/2013 Kaylan Phillips     1:30       1.50        1.50 $     393.00   $       589.50   $         589.50 Draft email to colleagues and co-counsel re
  06/14/2013 Kaylan Phillips     1:42       1.70        1.70 $     393.00   $       668.10   $         668.10 KLP- C with co-counsel re case
  06/14/2013 Kevin LeRoy         1:36       1.60        1.60 $     175.00   $       280.00   $         280.00 KL- RS writs of mandamus; RS attorney's fees
  06/14/2013 Kevin LeRoy         1:42       1.70        0.00 $     175.00   $       297.50   $            -    KL- RS award of attorney's fees under APA

  06/14/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 NHJ- R KL's RS re writ of mandamus; discuss with KLP
                                                                                                              NHJ- RS and review rect 7431/unauthorized disclosure
  06/14/2013 Noel Johnson        0:18       0.30        0.00   $   319.00 $          95.70   $            -   case law
                                                                                                              NHJ- C ZSK and KLP to discuss needed RS and
  06/14/2013 Noel Johnson        0:42       0.70        0.70   $   319.00 $         223.30   $         223.30 strategy
                                                                                                              NHJ- RS and R case law re motions for expedited
  06/14/2013 Noel Johnson        0:54       0.90        0.90   $   319.00 $         287.10   $         287.10 discovery; c's with KLP to discuss same
                                                                                                              NHJ- C call with legal team to discuss current and
  06/14/2013 Noel Johnson        1:42       1.70        1.70   $   319.00 $         542.30   $         542.30 potential claims; strategy going forward
                                                                                                              ZSK- PC KLP; NHJ; Cleta, etc re strategy; brainstorm
  06/14/2013 Zachary Kester      2:30       2.50        2.50 $     393.00   $       982.50   $         982.50 re PI theories and request for relief
  06/17/2013 Jackie Flint        1:12       1.20        1.20 $     175.00   $       210.00   $         210.00 JF- RS on expedited discovery
  06/17/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- R ACLJ's docket for updates.
  06/17/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- R case re expedited discovery.
  06/17/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00   $       117.90   $         117.90 KLP- Scan and save certified mail slips
                                                                                                              KLP- C NHJ re next steps. Email with co-counsel re
  06/17/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $         196.50   $         196.50 expedited discovery and discovery requests.
                                                                                                              KLP- C KL re updating defendant addresses. Email with
  06/17/2013 Kaylan Phillips     0:42       0.70        0.70   $   393.00 $         275.10   $         275.10 Cath Kidwell re same.
                                                                                                              KL- RS APA, status update meeting with NHJ; called
  06/17/2013 Kevin LeRoy         4:42       4.70        4.20   $   175.00 $         822.50   $         735.00 Clerk with question about the case
                                                                                                               NHJ- C's with KL to discuss APA RS and narrow scope
  06/17/2013 Noel Johnson        0:18       0.30        0.00   $   319.00 $          95.70   $            -    of same
                                                                                                              NHJ- C with KL to fill him in on updated strategy and to
  06/17/2013 Noel Johnson        0:24       0.40        0.30   $   319.00 $         127.60   $          95.70 assign RS needed on APA


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 20 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              NHJ- Find and download Z Street v. IRS motion to
  06/17/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $         127.60   $         127.60 dismiss briefing and review DOJ's motion to dismis
                                                                                                              NHJ- C KLP to discuss needs for amended complaint,
  06/17/2013 Noel Johnson        0:30       0.50        0.50   $   319.00 $         159.50   $         159.50 PI motion and discovery

                                                                                                              NHJ- Continue working on First Amended Complaint;
  06/17/2013 Noel Johnson        1:00       1.00        0.90   $   319.00 $         319.00   $         287.10 conduct RS re APA violations; c's with KLP and KL

                                                                                                              NHJ- RS and R case law concerning IRS regulations re
  06/17/2013 Noel Johnson        1:24       1.40        1.40 $     319.00 $         446.60   $         446.60 requests for information and authority to gra
  06/17/2013 Noel Johnson        2:42       2.70        2.70 $     319.00 $         861.30   $         861.30 NHJ- Work on First Amendment complaint
  06/18/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $          39.30   $          39.30 KLP- Check ACLJ docket
                                                                                                              KLP- Receive scanned return receipts. Organize in
  06/18/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 folder.
  06/18/2013 Kaylan Phillips     0:48       0.80        0.80 $     393.00 $         314.40   $         314.40 KLP- C NHJ re case needs, amending complaint

                                                                                                              KLP- Review rules re: filing affidavits of service. Work
  06/18/2013 Kaylan Phillips     2:00       2.00        2.00 $     393.00 $         786.00   $         786.00 on compiling documents. Scan and save NHJ’
  06/18/2013 Kevin LeRoy         3:48       3.80        0.00 $     175.00 $         665.00   $            -    KL- RS APA

  06/18/2013 Noel Johnson        0:12       0.20        0.00   $   319.00 $          63.80   $            -    NHJ- R KL's APA RS; P email to KL re new RS needed

  06/18/2013 Noel Johnson        0:24       0.40        0.30   $   319.00 $         127.60   $          95.70 NHJ- Continue working on First Amended Complaint

  06/18/2013 Noel Johnson        0:42       0.70        0.60   $   319.00 $         223.30   $         191.40 NHJ- Continue working on First Amended Complaint

  06/18/2013 Noel Johnson        0:48       0.80        0.70   $   319.00 $         255.20   $         223.30 NHJ- Continue working on First Amended Complaint

                                                                                                              NHJ- Continue reviewing motion-to-dismiss briefing in Z
  06/18/2013 Noel Johnson        1:30       1.50        1.50   $   319.00 $         478.50   $         478.50 Street v. IRS; P email to legal team re sam

                                                                                                              NHJ- Continue working on First Amended Complaint;
  06/18/2013 Noel Johnson        2:42       2.70        2.40 $     319.00   $       861.30   $         765.60 C's with KLP to discuss new claims and pleading r
  06/19/2013 Jackie Flint        0:06       0.10        0.10 $     175.00   $        17.50   $          17.50 JF- Look for updates to ACLJ case
  06/19/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Email re congressional hearing transcript
  06/19/2013 Kaylan Phillips     0:12       0.20        0.10 $     393.00   $        78.60   $          39.30 KLP- C NHJ re amended complaint
  06/19/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- Watch portion of tea party rally


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 21 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              KLP- Check ACLJ docket. Email with Jackie re
  06/19/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $         117.90   $         117.90 checking from now on.
                                                                                                              KLP- R KL's RS re APA claim. Email and discuss with
  06/19/2013 Kaylan Phillips     0:24       0.40        0.00   $   393.00 $         157.20   $            -   NHJ.
                                                                                                              KLP- C NHJ re amended complaint (several). R
  06/19/2013 Kaylan Phillips     0:24       0.40        0.30 $     393.00 $         157.20   $         117.90 statutes.
  06/19/2013 Kaylan Phillips     0:30       0.50        0.40 $     393.00 $         196.50   $         157.20 KLP- Start reviewing amended complaint.
                                                                                                              KLP- Email from C. Kidwell re affidavits of service. Calls
  06/19/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00 $         235.80   $         235.80 re same.

                                                                                                              KLP- Emails re Z Street and Cohen briefing. Respond.
  06/19/2013 Kaylan Phillips     0:36       0.60        0.60 $     393.00 $         235.80   $         235.80 Email with KL re retrieving. Save in folder. E
  06/19/2013 Kaylan Phillips     1:00       1.00        1.00 $     393.00 $         393.00   $         393.00 KLP- R instructions for form 1023
                                                                                                              KLP- Work on filing affidavits of service. R examples. C
  06/19/2013 Kaylan Phillips     1:00       1.00        1.00 $     393.00   $       393.00   $         393.00 NHJ re same.
  06/19/2013 Kaylan Phillips     1:06       1.10        1.10 $     393.00   $       432.30   $         432.30 KLP- R Z Street Motion to Dismiss briefing
  06/19/2013 Kevin LeRoy         0:42       0.70        0.70 $     175.00   $       122.50   $         122.50 KL- RS Cohen docket for KLP
  06/19/2013 Kevin LeRoy         3:18       3.30        3.30 $     175.00   $       577.50   $         577.50 KL- RS information on potential new defendants
                                                                                                              NHJ- C KLP to discuss needed defendants for APA
  06/19/2013 Noel Johnson        0:06       0.10        0.00   $   319.00 $          31.90   $            -   claim

                                                                                                              NHJ- C KLP to discuss updating court on defendant
  06/19/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $         127.60   $         127.60 addresses and filing affidavits for services; che
                                                                                                              NHJ- Proofread First Amendment Complaint and make
  06/19/2013 Noel Johnson        0:36       0.60        0.50   $   319.00 $         191.40   $         159.50 edits to same
                                                                                                              NHJ- RS IRS authority to make determinations; c KLP
  06/19/2013 Noel Johnson        0:36       0.60        0.60   $   319.00 $         191.40   $         191.40 to discuss same
                                                                                                              NHJ- Continue reviewing Coben briefing and authorities
  06/19/2013 Noel Johnson        1:00       1.00        1.00   $   319.00 $         319.00   $         319.00 cited therein
                                                                                                              NHJ- Find and download Cohen briefing; review same;
  06/19/2013 Noel Johnson        1:24       1.40        1.40   $   319.00 $         446.60   $         446.60 conference with KLP to discuss same

  06/19/2013 Noel Johnson        2:36       2.60        2.30   $   319.00 $         829.40   $         733.70 NHJ- Continue working on First Amended Complaint

  06/19/2013 Zachary Kester      0:18       0.30        0.30 $     393.00 $         117.90   $         117.90 ZSK- R Z Street briefing; email NHJ and KLP re same
  06/20/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $          17.50   $          17.50 JF- Check for updates to ACLJ case

  06/20/2013 Jackie Flint        0:30       0.50        0.50 $     175.00 $          87.50   $          87.50 JF- Create shipping labels for affidavits of service
  06/20/2013 Jackie Flint        1:00       1.00        1.00 $     175.00 $         175.00   $         175.00 JF- Create certificates of service

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 22 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
  06/20/2013 Jackie Flint        1:36       1.60        1.60 $     175.00 $       280.00   $         280.00 JF- RS revenue procedures on determination letters
  06/20/2013 Kaylan Phillips     0:12       0.20        0.10 $     393.00 $        78.60   $          39.30 KLP- C NHJ re amended complaint.
  06/20/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 KLP- Emails re additional defendants
                                                                                                            KLP- Work on affidavits of service. C with colleagues re
  06/20/2013 Kaylan Phillips     0:42       0.70        0.70   $   393.00 $       275.10   $         275.10 help needed.
                                                                                                            KLP- R amended complaint. C NHJ re same. R emails
  06/20/2013 Kaylan Phillips     1:54       1.90        1.70   $   393.00 $       746.70   $         668.10 re same.
                                                                                                            KLP- Continue working on affidavits of service. C NHJ
  06/20/2013 Kaylan Phillips     2:36       2.60        2.60 $     393.00 $     1,021.80   $       1,021.80 re local rules. Finalize and file. Prep for m
  06/20/2013 Kevin LeRoy         4:42       4.70        4.70 $     175.00 $       822.50   $         822.50 KL- RS information on potential new defendants
                                                                                                            NHJ- Run comparison between older draft copies of
  06/20/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 Complaint
                                                                                                            NHJ- C KLP to discuss changes to First Amended
  06/20/2013 Noel Johnson        0:12       0.20        0.10   $   319.00 $        63.80   $          31.90 Complaint

  06/20/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $        63.80   $          63.80 NHJ- R opinion in Cohen and authorities cited therein
                                                                                                            NHJ- RS service rules for amended complaint; discuss
  06/20/2013 Noel Johnson        0:24       0.40        0.30   $   319.00 $       127.60   $          95.70 local rules with KLP

  06/20/2013 Noel Johnson        0:30       0.50        0.40 $     319.00 $       159.50   $         127.60 NHJ- Continue working on First amended complaint
  06/20/2013 Noel Johnson        0:30       0.50        0.50 $     319.00 $       159.50   $         159.50 NHJ- R KL's RS on possible new defendants

  06/20/2013 Noel Johnson        0:36       0.60        0.60   $   319.00 $       191.40   $         191.40 NHJ- Help P service mailings for affidavits for service.

                                                                                                            NHJ- Review and revise master template for certificates
  06/20/2013 Noel Johnson        0:36       0.60        0.60   $   319.00 $       191.40   $         191.40 of service for affidavits of service; revie
                                                                                                            NHJ- RS re service of amended complaint and methods
  06/20/2013 Noel Johnson        0:48       0.80        0.80   $   319.00 $       255.20   $         255.20 of service; c KLP to discuss local rules.

                                                                                                            NHJ- C's KLP to discuss needs for First Amendment
  06/20/2013 Noel Johnson        1:24       1.40        1.30 $     319.00 $       446.60   $         414.70 Complaint; P detailed email to legal team re same
  06/21/2013 Jackie Flint        0:12       0.20        0.20 $     175.00 $        35.00   $          35.00 JF- RS Carter Hull
  06/21/2013 Jackie Flint        0:36       0.60        0.60 $     175.00 $       105.00   $         105.00 JF- Clarify defendant's time to file an answer
                                                                                                            JF- Search for Congressional grant of authority to IRS
  06/21/2013 Jackie Flint        1:30       1.50        1.50 $     175.00 $       262.50   $         262.50 in Code
  06/21/2013 Jackie Flint        1:48       1.80        1.80 $     175.00 $       315.00   $         315.00 JF- Find addresses for new defendants
  06/21/2013 Kaylan Phillips     0:06       0.10        0.00 $     393.00 $        39.30   $            -    KLP- C NHJ re First Amendment Complaint.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 23 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
  06/21/2013 Kaylan Phillips     0:24       0.40        0.30   $   393.00 $       157.20   $         117.90 KLP- C NHJ re amended complaint and RS needs
                                                                                                            KLP- R complaint. C NHJ and KL re qualified immunity.
  06/21/2013 Kaylan Phillips     1:06       1.10        1.00   $   393.00 $       432.30   $         393.00 C NHJ re case needs while he is away.
  06/21/2013 Kevin LeRoy         3:30       3.50        0.00   $   175.00 $       612.50   $            -    KL- RS qualified immunity

                                                                                                             NHJ- C's with KLP to discuss needs for First Amended
  06/21/2013 Noel Johnson        0:12       0.20        0.00   $   319.00 $        63.80   $            -    Complaint re APA claims and new defendants
                                                                                                            NHJ- C KLP to discuss needs for First Amendment
  06/21/2013 Noel Johnson        0:12       0.20        0.10   $   319.00 $        63.80   $          31.90 complaint
                                                                                                            NHJ- RS FRCP rules for service of individual US
  06/21/2013 Noel Johnson        0:12       0.20        0.20 $     319.00 $        63.80   $          63.80 employees; update Service Matrix
  06/21/2013 Noel Johnson        0:24       0.40        0.40 $     319.00 $       127.60   $         127.60 NHJ- C's with KL and KLP discuss needed RS

  06/21/2013 Noel Johnson        0:36       0.60        0.50   $   319.00 $       191.40   $         159.50 NHJ- Continue working on First Amended Complaint
                                                                                                            NHJ- Continue working on First Amended Complaint; c
  06/21/2013 Noel Johnson        0:48       0.80        0.40   $   319.00 $       255.20   $         127.60 KLP to discuss same
                                                                                                             NHJ- C KLP and KL to discuss KL's qualified immunity
  06/21/2013 Noel Johnson        0:54       0.90        0.00   $   319.00 $       287.10   $            -    RS

  06/21/2013 Zachary Kester      0:24       0.40        0.40 $     393.00 $       157.20   $         157.20 ZSK- R legal arguments discussed on TaxProf blog, etc
  06/24/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $        17.50   $          17.50 JF- Check for updates to ACLJ case
  06/24/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- Receive certified mail return

  06/24/2013 Kaylan Phillips     0:18       0.30        0.20 $     393.00 $       117.90   $          78.60 KLP- Email with co-counsel re amended complaint.
  06/24/2013 Kevin LeRoy         0:48       0.80        0.80 $     175.00 $       140.00   $         140.00 KL- Filing under seal in the DDC
  06/24/2013 Kevin LeRoy         2:42       2.70        0.00 $     175.00 $       472.50   $            -    KL- RS qualified immunity and discovery
                                                                                                            ZSK- R EO Journal for add'l Defendant's names and
  06/24/2013 Zachary Kester      0:18       0.30        0.30 $     393.00 $       117.90   $         117.90 roles
  06/25/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $        17.50   $          17.50 JF- Check for updates to ACLJ case

  06/25/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 KLP- Create verfication form. Email Catherine re same
  06/25/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00 $       117.90   $         117.90 KLP- Email with KL re motion to seal

                                                                                                            KLP- Email with ACLJ re amended complaint. Receive
  06/25/2013 Kaylan Phillips     0:24       0.40        0.30   $   393.00 $       157.20   $         117.90 and review same. Email co-counsel re same.
                                                                                                            KLP- Email with KL re recent Commission report and
  06/25/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $       196.50   $         196.50 factual needs
  06/25/2013 Kevin LeRoy         0:06       0.10        0.00   $   175.00 $        17.50   $            -    KL- RS qualified immunity and discovery

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 24 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
  06/25/2013 Kevin LeRoy         0:30       0.50        0.50 $     175.00 $        87.50   $          87.50 KL- RS recent Commissioner Werfel statement
  06/25/2013 Kevin LeRoy         1:30       1.50        1.50 $     175.00 $       262.50   $         262.50 KL- RS Sealing documents in the DDC
  06/26/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $        17.50   $          17.50 JF- Check for changes to ACLJ case
                                                                                                            KLP- Email from Cath re remaining original service
  06/26/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 documents
  06/26/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- Email with client re verification form
                                                                                                            KLP- C JF re ACLJ amended complaint. Emails re
  06/26/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 same.
  06/26/2013 Kaylan Phillips     1:06       1.10        1.10 $     393.00 $       432.30   $         432.30 KLP- R news articles re IRS scandal

                                                                                                            ZSK- Review new facts not reported in TIGTA re
  06/26/2013 Zachary Kester      0:30       0.50        0.50 $     393.00 $       196.50   $         196.50 “progressive” and “occupy” and whether disparate tre
  06/27/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 KLP- R service invoices. Save and turn in.
                                                                                                            KLP- R news articles re IRS scandal. Evaluate what is
  06/27/2013 Kaylan Phillips     0:18       0.30        0.20   $   393.00 $       117.90   $          78.60 needed for amended complaint.
  06/27/2013 Kaylan Phillips     0:24       0.40        0.30   $   393.00 $       157.20   $         117.90 KLP- Work on amended complaint

  06/27/2013 Kevin LeRoy         1:36       1.60        1.60 $     175.00 $       280.00   $         280.00 KL- R TTV files for potentially confidential information
  06/28/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $        17.50   $          17.50 JF- Check for developments in ACLJ case
  06/28/2013 Jackie Flint        4:48       4.80        4.80 $     175.00 $       840.00   $         840.00 JF- RS recent and present IRS hearings
                                                                                                            KLP- Email with KL re naming Miller officially in the
  06/28/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 amended complaint.
                                                                                                            KLP- C JF re congressional hearings and help needed.
  06/28/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $       196.50   $         196.50 R emails re same.
                                                                                                            KLP- Work on amended complaint. Draft email to co-
  06/28/2013 Kaylan Phillips     0:42       0.70        0.60   $   393.00 $       275.10   $         235.80 counsel re items needed.

                                                                                                            KLP- Email with KL re motion to seal. R draft. Email re
  06/28/2013 Kaylan Phillips     0:48       0.80        0.80 $     393.00 $       314.40   $         314.40 same. R next draft, edit as needed, and sav
  06/28/2013 Kevin LeRoy         0:18       0.30        0.00 $     175.00 $        52.50   $            -    KL- RS qualified immunity and discovery

                                                                                                            KL- R TTV files for potentially confidential information;
  06/28/2013 Kevin LeRoy         3:24       3.40        3.40   $   175.00 $       595.00   $         595.00 draft motion to seal; RS naming defendant
                                                                                                            KLP- Continue working on amended complaint. Finalize
  06/29/2013 Kaylan Phillips     2:30       2.50        2.30   $   393.00 $       982.50   $         903.90 and circulate

  06/30/2013 Kaylan Phillips     0:36       0.60        0.60 $     393.00 $       235.80   $         235.80 KLP- Email with co-counsel re conference call tomorrow
  07/01/2013 Jackie Flint        0:12       0.20        0.20 $     175.00 $        35.00   $          35.00 JF- Save ACLJ amended complaint exhibits.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 25 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
  07/01/2013 Jackie Flint        0:36       0.60        0.60 $     175.00   $       105.00   $         105.00 JF- Look for FRE 1006 summary example
  07/01/2013 Jackie Flint        1:42       1.70        1.70 $     175.00   $       297.50   $         297.50 JF- TtV Call with Cleta and John
  07/01/2013 Jackie Flint        2:36       2.60        2.60 $     175.00   $       455.00   $         455.00 JF- RS David Fish
  07/01/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- C with colleagues re next steps.
  07/01/2013 Kaylan Phillips     0:24       0.40        0.40 $     393.00   $       157.20   $         157.20 KLP- R RS. P for conference call.
  07/01/2013 Kaylan Phillips     0:30       0.50        0.40 $     393.00   $       196.50   $         157.20 KLP- C NHJ re next steps and amended complaint
                                                                                                              KLP- C KL and JF re TIGTA report and other factual
  07/01/2013 Kaylan Phillips     0:54       0.90        0.90   $   393.00 $         353.70   $         353.70 claims. R documents.
                                                                                                              KLP- C call with CM, ML, JCE, NHJ, JF, and KL re
  07/01/2013 Kaylan Phillips     1:18       1.30        1.20   $   393.00 $         510.90   $         471.60 amended complaint.
                                                                                                              KL- RS defendants, conference call with Cleta, Mike
  07/01/2013 Kevin LeRoy         3:42       3.70        3.80 $     175.00 $         647.50   $         665.00 and John
  07/01/2013 Noel Johnson        0:12       0.20        0.20 $     319.00 $          63.80   $          63.80 NHJ- R Internal Revenue Procedure 86-43
                                                                                                              NHJ- C KL to discuss the state of his RS and needs for
  07/01/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 same

                                                                                                              NHJ- R updated draft amended complaint and draft
  07/01/2013 Noel Johnson        0:24       0.40        0.30   $   319.00 $         127.60   $          95.70 motion to seal; begin reviewing amended complaint
                                                                                                              NHJ- C KLP to discuss draft Amended Complaint and
  07/01/2013 Noel Johnson        0:30       0.50        0.50   $   319.00 $         159.50   $         159.50 needs for same

                                                                                                              NHJ- Continue reviewing amended complaint in
  07/01/2013 Noel Johnson        1:00       1.00        1.00   $   319.00 $         319.00   $         319.00 Linchpins for Liberty; discuss potential new challenge

  07/01/2013 Noel Johnson        1:30       1.50        1.40   $   319.00 $         478.50   $         446.60 NHJ- Continue working on First Amended Complaint

                                                                                                              NHJ- P for and participate on conference call with legal
  07/01/2013 Noel Johnson        1:48       1.80        1.80 $     319.00   $       574.20   $         574.20 team re draft amended complaint; c KLP and
  07/02/2013 Jackie Flint        0:24       0.40        0.40 $     175.00   $        70.00   $          70.00 JF- Check for ACLJ updates
  07/02/2013 Jackie Flint        1:12       1.20        1.20 $     175.00   $       210.00   $         210.00 JF- Sort TtV Documents
  07/02/2013 Jackie Flint        1:18       1.30        1.30 $     175.00   $       227.50   $         227.50 JF- Find examples of FRE 1006 summaries
  07/02/2013 Jackie Flint        4:36       4.60        4.10 $     175.00   $       805.00   $         717.50 JF- RS individual and official capacity implications
  07/02/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- Check ACLJ's docket. R motion to intervene.

  07/02/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $          78.60   $          78.60 KLP- Emails re TTV documents spreadsheet. R docs.
                                                                                                              KLP- R and save signed verification page. Email with
  07/02/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $          78.60   $          78.60 client and NHJ re same.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 26 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
  07/02/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $          78.60   $          78.60 KLP- Recieve, review, and save certified mail returns

  07/02/2013 Kaylan Phillips     0:30       0.50        0.50 $     393.00 $         196.50   $         196.50 KLP- R news articles re IRS scandal. Save as needed.
  07/02/2013 Kaylan Phillips     0:42       0.70        0.70 $     393.00 $         275.10   $         275.10 KLP- C JF re jurisdictional issues. R RS.
  07/02/2013 Kaylan Phillips     0:48       0.80        0.70 $     393.00 $         314.40   $         275.10 KLP- C NHJ re next steps and amended complaint
                                                                                                              KL- RS defendants, make IRS organizational chart with
  07/02/2013 Kevin LeRoy         3:36       3.60        3.60   $   175.00 $         630.00   $         630.00 defendants
                                                                                                              NHJ- R searchable database of relevant docs created
  07/02/2013 Noel Johnson        0:12       0.20        0.20 $     319.00 $          63.80   $          63.80 by client
  07/02/2013 Noel Johnson        0:18       0.30        0.00 $     319.00 $          95.70   $            -    NHJ- C JF to discuss her RS on qualified immunity

                                                                                                               NHJ- RS re personal jurisdiction and Bivens; c KLP to
  07/02/2013 Noel Johnson        0:48       0.80        0.00   $   319.00 $         255.20   $            -    discuss same and needs for First Amended Comp

  07/02/2013 Noel Johnson        1:30       1.50        1.40 $     319.00   $       478.50   $         446.60 NHJ- Continue working on First Amended Complaint
  07/03/2013 Jackie Flint        0:06       0.10        0.10 $     175.00   $        17.50   $          17.50 JF- Check for updates to ACLJ case
  07/03/2013 Jackie Flint        0:30       0.50        0.50 $     175.00   $        87.50   $          87.50 JF- Download and sort TTV Documents
  07/03/2013 Jackie Flint        0:42       0.70        0.70 $     175.00   $       122.50   $         122.50 JF- Personal jurisdition RS
  07/03/2013 Jackie Flint        1:24       1.40        1.30 $     175.00   $       245.00   $         227.50 JF- Personal vs. Official capacity
  07/03/2013 Jackie Flint        1:24       1.40        1.40 $     175.00   $       245.00   $         245.00 JF- Fill in IRS employee chart
  07/03/2013 Jackie Flint        1:48       1.80        1.80 $     175.00   $       315.00   $         315.00 JF- Viewpoint discrimination RS
  07/03/2013 Kaylan Phillips     0:06       0.10        0.00 $     393.00   $        39.30   $            -    KLP- Email to ACLJ re amended complaint
                                                                                                              KLP- C NHJ and interns re timeline, IRS staff, and other
  07/03/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00 $         235.80   $         235.80 relevant facts. R charts.

                                                                                                              KLP- C NHJ and interns re RS needed for amended
  07/03/2013 Kaylan Phillips     0:48       0.80        0.70 $     393.00 $         314.40   $         275.10 complaint, etc. Organize documents for next week.
  07/03/2013 Kevin LeRoy         0:06       0.10        0.00 $     175.00 $          17.50   $            -    KL- Qualified immunity
                                                                                                              KL- RS defendants, make IRS organizational chart w/
  07/03/2013 Kevin LeRoy         3:36       3.60        3.60 $     175.00 $         630.00   $         630.00 defendants
  07/03/2013 Noel Johnson        0:06       0.10        0.10 $     319.00 $          31.90   $          31.90 NHJ- C JF to discuss DC Long Arm Statute
                                                                                                              NHJ- C KLP and interns re RS needed for amended
  07/03/2013 Noel Johnson        0:12       0.20        0.10   $   319.00 $          63.80   $          31.90 complaint, etc.
                                                                                                              NHJ- R JF's RS on official capacity vs. individual
  07/03/2013 Noel Johnson        0:18       0.30        0.20   $   319.00 $          95.70   $          63.80 capacity; assign follow u p RS re same



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 27 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              NHJ- C KLP and interns re timeline, IRS staff, and other
  07/03/2013 Noel Johnson        0:24       0.40        0.40 $     319.00 $         127.60   $         127.60 relevant facts. R charts.
  07/03/2013 Noel Johnson        0:42       0.70        0.60 $     319.00 $         223.30   $         191.40 NHJ- Continue revising First Amended Complaint
                                                                                                              NHJ- R IRS Master Personnel Chart; conference with
  07/03/2013 Noel Johnson        0:48       0.80        0.80 $     319.00   $       255.20   $         255.20 KL to discuss same and format same
  07/05/2013 Jackie Flint        0:36       0.60        0.60 $     175.00   $       105.00   $         105.00 JF- Viewpoint discrimination RS
  07/05/2013 Jackie Flint        3:12       3.20        0.00 $     175.00   $       560.00   $            -    JF- Personal jurisdiction RS
  07/05/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- R email from SLP re return receipts

  07/05/2013 Kaylan Phillips     0:42       0.70        0.70   $   393.00 $         275.10   $         275.10 KLP- Message with NHJ re arguments and wording
                                                                                                              NHJ- Continue working on First Amended Complaint;
  07/05/2013 Noel Johnson        3:36       3.60        3.20 $     319.00 $       1,148.40   $       1,020.80 message with KLP.
  07/08/2013 Jackie Flint        0:42       0.70        0.70 $     175.00 $         122.50   $         122.50 JF- Conference with NHJ and KLP
  07/08/2013 Jackie Flint        4:36       4.60        0.00 $     175.00 $         805.00   $            -    JF- Personal jurisdiction/conspiracy RS
                                                                                                              KLP- Email from NHJ re potential defendant and next
  07/08/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $          39.30   $          39.30 steps
                                                                                                              KL- R TIGTA report, consult with JF and NHJ on
  07/08/2013 Kevin LeRoy         4:42       4.70        4.70 $     175.00 $         822.50   $         822.50 immunity RS
  07/08/2013 Noel Johnson        0:12       0.20        0.20 $     319.00 $          63.80   $          63.80 NHJ- Assign RS project re TIGTA report to KL
                                                                                                              NHJ- R JF's RS re viewpoint discrimination an discuss
  07/08/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 with her
                                                                                                               NHJ- Continue reviewing personal jurisdiction RS and
  07/08/2013 Noel Johnson        0:30       0.50        0.00 $     319.00 $         159.50   $            -    revising jurisdictional section of First Amend
  07/08/2013 Noel Johnson        0:36       0.60        0.50 $     319.00 $         191.40   $         159.50 NHJ- Continue drafting First Amended Complaint

                                                                                                              NHJ- R KL's summary of potential defendant Fish;
  07/08/2013 Noel Johnson        0:36       0.60        0.60   $   319.00 $         191.40   $         191.40 conference with him to discuss same; assign needed
                                                                                                              NHJ- Conference with KL and JF to discuss their
  07/08/2013 Noel Johnson        0:48       0.80        0.00   $   319.00 $         255.20   $            -   qualified immunity RS; R qualified immunity case la
                                                                                                              NHJ- Continue drafting First Amended Complaint; P
  07/08/2013 Noel Johnson        0:54       0.90        0.80   $   319.00 $         287.10   $         255.20 email to legal team re issues with same

                                                                                                               NHJ- RS and R case law re personal jurisdiction under
  07/08/2013 Noel Johnson        2:12       2.20        0.00 $     319.00 $         701.80   $            -    DC long arm statute; continue revising person
  07/09/2013 Jackie Flint        0:12       0.20        0.20 $     175.00 $          35.00   $          35.00 JF- Check ACJL case for updates
                                                                                                              JF- Find statute giving Secretary authority under tax
  07/09/2013 Jackie Flint        0:12       0.20        0.20   $   175.00 $          35.00   $          35.00 code
  07/09/2013 Jackie Flint        0:18       0.30        0.30   $   175.00 $          52.50   $          52.50 JF- Create summons for new defendants

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 28 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                       Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
  07/09/2013 Jackie Flint        1:30       1.50        1.50 $     175.00 $       262.50   $         262.50 JF- FRE 1006 compilation
  07/09/2013 Jackie Flint        3:36       3.60        0.00 $     175.00 $       630.00   $            -    JF- RS defendant requirements for APA claims
                                                                                                            KLP- Message with NHJ re case needs. Emails re
  07/09/2013 Kaylan Phillips     0:42       0.70        0.70   $   393.00 $       275.10   $         275.10 same.
                                                                                                            KL- R TIGTA Report, edit report for identifying
  07/09/2013 Kevin LeRoy         4:24       4.60        4.60   $   175.00 $       805.00   $         805.00 defendants
                                                                                                             NHJ- R JF's RS re named defendants under APA;
  07/09/2013 Noel Johnson        0:12       0.20        0.00   $   319.00 $        63.80   $            -    discuss same with her

                                                                                                            NHJ- R filed summonses; P email to JF re addresses
  07/09/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $        63.80   $          63.80 and defendants for summonses; discuss same with
                                                                                                            NHJ- Email correspondence with process server re
  07/09/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 confirming addresses
                                                                                                            NHJ- Search for RS on defendant's addresses; g-chat
  07/09/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 conversation with KLP re same
                                                                                                            NHJ- RS FRE 1006 and related case law; discuss same
  07/09/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $       127.60   $         127.60 with KLP

                                                                                                            NHJ- R TtV's responses with and discuss preparation of
  07/09/2013 Noel Johnson        0:30       0.50        0.50 $     319.00 $       159.50   $         159.50 FRE 1006 charts and summaries for same with
  07/09/2013 Noel Johnson        1:00       1.00        0.90 $     319.00 $       319.00   $         287.10 NHJ- Continue drafting First Amended Complaint
                                                                                                            NHJ- Continue drafting First Amended Complaint; P
  07/09/2013 Noel Johnson        1:12       1.20        1.10 $     319.00 $       382.80   $         350.90 detailed email to legal team re changes to same
  07/09/2013 Noel Johnson        1:18       1.30        1.20 $     319.00 $       414.70   $         382.80 NHJ- Continue drafting First Amended Complaint
  07/10/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $        17.50   $          17.50 JF- Check ACLJ case for updates
                                                                                                            KLP- R amended complaint and summary of facts.
  07/10/2013 Kaylan Phillips     0:30       0.50        0.40   $   393.00 $       196.50   $         157.20 Email with NHJ re same.
                                                                                                            KLP- Message with NHJ re case needs. Emails re
  07/10/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $       196.50   $         196.50 same.
                                                                                                            KL- R TIGTA Report, edit report for identifying
  07/10/2013 Kevin LeRoy         4:00       4.00        4.00   $   175.00 $       700.00   $         700.00 defendants
                                                                                                            NHJ- Email correspondence with KL re Defendant
  07/10/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 David Fish

                                                                                                            NHJ- R video of May 22, 2013 House Oversight hearing
  07/10/2013 Noel Johnson        0:30       0.50        0.50   $   319.00 $       159.50   $         159.50 on IRS targeting for particular testimony by I
                                                                                                            NHJ- Continue proofreading draft First Amended
  07/10/2013 Noel Johnson        0:42       0.70        0.60   $   319.00 $       223.30   $         191.40 Complaint and continue making revisions to same



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 29 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                       Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              NHJ- Email correspondence throughout day with legal
  07/10/2013 Noel Johnson        0:54       0.90        0.90   $   319.00 $         287.10   $         287.10 team re attachments to First Amended Complaint,

                                                                                                              NHJ- R TtV's responses to IRS; R summary prepared
  07/10/2013 Noel Johnson        1:06       1.10        1.10   $   319.00 $         350.90   $         350.90 by JF and make revisiosn to same; discuss same wi

                                                                                                              NHJ- Proofread draft First Amendment Complaint;
  07/10/2013 Noel Johnson        1:24       1.40        1.30   $   319.00 $         446.60   $         414.70 continue making revisions to same; discuss same wit
                                                                                                              NHJ- Continue reviewing TtV's responses to IRS and
  07/10/2013 Noel Johnson        1:30       1.50        1.50 $     319.00 $         478.50   $         478.50 creating FRE 1006 summary
  07/11/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $          17.50   $          17.50 JF- Check for updates to ACLJ case
  07/11/2013 Jackie Flint        0:36       0.60        0.60 $     175.00 $         105.00   $         105.00 JF- Make IRS personnel charts
                                                                                                              KLP- Email to team re moving forward with amended
  07/11/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $          39.30   $          39.30 complaint

  07/11/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $          39.30   $          39.30 KLP- Email with Ericka Bostrom re documents needed.
                                                                                                              KLP- PC with NHJ re First Amended Complaint and
  07/11/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $          78.60   $          78.60 timeline for filing same.
                                                                                                              KLP- Message with NHJ re case needs. Emails re
  07/11/2013 Kaylan Phillips     0:36       0.60        0.60 $     393.00 $         235.80   $         235.80 same.
  07/11/2013 Kevin LeRoy         0:24       0.40        0.00 $     175.00 $          70.00   $            -    KL- RS on APA/7433 claims
                                                                                                              NHJ- PC with KLP re First Amended Complaint and
  07/11/2013 Noel Johnson        0:12       0.20        0.10   $   319.00 $          63.80   $          31.90 timeline for filing same
                                                                                                              NHJ- R and incorporate KLP's edit and suggestions to
  07/11/2013 Noel Johnson        0:12       0.20        0.10   $   319.00 $          63.80   $          31.90 First Amended Complaint

                                                                                                              NHJ- Email correspondence with legal team re filing
  07/11/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 timeline for amended complaint and other motion
                                                                                                              NHJ- R KL's RS re defendants involvement; c with him
  07/11/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 to discuss same
                                                                                                              NHJ- P detailed email to KLP re draft First Amended
  07/11/2013 Noel Johnson        0:24       0.40        0.30 $     319.00   $       127.60   $          95.70 Complaint and attachments to same
  07/11/2013 Noel Johnson        0:36       0.60        0.50 $     319.00   $       191.40   $         159.50 NHJ- Continue revising First Amended Complaint
  07/12/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Emails re amended complaint.
  07/12/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- Email with EJB re documents.
  07/15/2013 Jackie Flint        0:06       0.10        0.10 $     175.00   $        17.50   $          17.50 JF- Check ACLJ case for updates




* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 30 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              KLP- C NHJ to discuss needs for amended complaint
  07/15/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $         196.50   $         196.50 and questions for upcoming conference call.

                                                                                                              KLP- Email with colleagues re expedited discovery and
  07/15/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $         196.50   $         196.50 Defendants' request for additional time

                                                                                                              NHJ- C KLP to discuss needs for amended complaint
  07/15/2013 Noel Johnson        0:30       0.50        0.50   $   319.00 $         159.50   $         159.50 and questions for upcoming conference call
                                                                                                              KLP- Email with co-counsel re extension and next
  07/16/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $         196.50   $         196.50 steps. C with NHJ re same.
                                                                                                              NHJ- Email correspondence with legal team re
  07/16/2013 Noel Johnson        0:06       0.10        0.10 $     319.00   $        31.90   $          31.90 extension to answer
  07/16/2013 Noel Johnson        0:12       0.20        0.20 $     319.00   $        63.80   $          63.80 NHJ- C with KLP re extension and next steps.
  07/17/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- ECF notice re appearance
  07/17/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- Emails re news updates
  07/17/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00   $       117.90   $         117.90 KLP- C NHJ re case updates and needs
                                                                                                              KLP- Email with co-counsel re conference and case
  07/17/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $         117.90   $         117.90 needs

  07/17/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $         157.20   $         157.20 KLP- PC with ACLJ re next steps. Emails re same.
                                                                                                              NHJ- Download, save and briefly review motion to
  07/17/2013 Noel Johnson        0:06       0.10        0.10 $     319.00 $          31.90   $          31.90 extend time documents
  07/17/2013 Noel Johnson        0:18       0.30        0.30 $     319.00 $          95.70   $          95.70 NHJ- C KLP re case updates and needs
                                                                                                              NHJ- R letter of Rep Issa to IRS re involvement of IRS
  07/17/2013 Noel Johnson        0:18       0.30        0.30 $     319.00   $        95.70   $          95.70 Chief Counsel's office and related news
  07/18/2013 Jackie Flint        0:12       0.20        0.20 $     175.00   $        35.00   $          35.00 JF- Burden of pleading sovereign immunity
  07/18/2013 Jackie Flint        0:12       0.20        0.20 $     175.00   $        35.00   $          35.00 JF- Check ACLJ case for updates
  07/18/2013 Jackie Flint        0:30       0.50        0.50 $     175.00   $        87.50   $          87.50 JF- RS findings from 7/17 congressional hearing
  07/18/2013 Jackie Flint        1:06       1.10        1.00 $     175.00   $       192.50   $         175.00 JF- Amended Complaint call
  07/18/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- C JF re help needed.

                                                                                                              KLP- Look up resopnse deadline to motion for
  07/18/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $          78.60   $          78.60 extension of time. Draft email to colleagues and co-co
                                                                                                              KLP- C NHJ to discuss needs for service and
  07/18/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $         117.90   $         117.90 complaint.
                                                                                                              KLP- Emails re amended complaint. Email to client re
  07/18/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $         117.90   $         117.90 verification needed.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 31 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              KLP- R files for documents to attach to complaint. R
  07/18/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $         196.50   $         196.50 client spreadsheet. Email to colleagues and cl
                                                                                                              KLP- C NHJ re remaining questions for amended
  07/18/2013 Kaylan Phillips     0:36       0.60        0.50   $   393.00 $         235.80   $         196.50 complaint. R rules.
                                                                                                              KLP- C call with colleagues and co-counsel re amended
  07/18/2013 Kaylan Phillips     1:06       1.10        1.00   $   393.00 $         432.30   $         393.00 complaint.

                                                                                                              KLP- Watch Congressional hearing. Take notes. Email
  07/18/2013 Kaylan Phillips     1:24       1.40        1.40   $   393.00 $         550.20   $         550.20 with colleagues re same. R IRS chart. C NHJ re
                                                                                                              NHJ- Discuss House Committee hearing on IRS
  07/18/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 targeting with KLP

  07/18/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 NHJ- Watch House Committee hearing on IRS targeting

  07/18/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 NHJ- C KLP to discuss needs for service and complaint
                                                                                                              NHJ- R and incorporate Cleta's edits for First Amended
  07/18/2013 Noel Johnson        0:48       0.80        0.80   $   319.00 $         255.20   $         255.20 Complaint

                                                                                                              NHJ- C KLP to discuss needs for complaint, prepare
  07/18/2013 Noel Johnson        0:54       0.90        0.80   $   319.00 $         287.10   $         255.20 email to legal team re 6103 claim; conference wi
                                                                                                              NHJ- PC with legal team to discuss needs for First
  07/18/2013 Noel Johnson        1:06       1.10        1.10 $     319.00 $         350.90   $         350.90 Amended Complaint and timeline for filing
  07/19/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $          17.50   $          17.50 JF- Look for updates to ACLJ case
  07/19/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $          17.50   $          17.50 JF- Look up progress in Cincinnati case
                                                                                                              JF- Make address labels for service of amended
  07/19/2013 Jackie Flint        0:24       0.40        0.40 $     175.00   $        70.00   $          70.00 complaint
  07/19/2013 Jackie Flint        0:48       0.80        0.80 $     175.00   $       140.00   $         140.00 JF- RS burden of pleading sovereign immunicty
  07/19/2013 Jackie Flint        1:36       1.60        1.60 $     175.00   $       280.00   $         280.00 JF- Find service rules for amended complaint
  07/19/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Call to process server re needs
  07/19/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- P and review exhibits.
  07/19/2013 Kaylan Phillips     0:18       0.30        0.00 $     393.00   $       117.90   $            -    KLP- RS personal jurisdiction
                                                                                                               KLP- Draft email to Mike L. re other documents to file
  07/19/2013 Kaylan Phillips     0:24       0.40        0.00 $     393.00   $       157.20   $            -    with complaint. Attach and explain.
  07/19/2013 Kaylan Phillips     0:30       0.50        0.50 $     393.00   $       196.50   $         196.50 KLP- C JF re service needs
  07/19/2013 Kaylan Phillips     0:30       0.50        0.50 $     393.00   $       196.50   $         196.50 KLP- Email with C. Kidwell re filing
  07/19/2013 Kaylan Phillips     0:36       0.60        0.60 $     393.00   $       235.80   $         235.80 KLP- Work on certificate of servie




* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 32 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                    1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            KLP- Receive and begin implementing Mike's
                                                                                                            comments. C with NHJ re same. Draft email to group re
  07/19/2013 Kaylan Phillips     1:24       1.40        1.40   $   393.00 $       550.20   $         550.20 qu

                                                                                                            KLP- Work on amended complaint. R exhibits. Emails
  07/19/2013 Kaylan Phillips     1:30       1.50        1.40   $   393.00 $       589.50   $         550.20 with colleagues and C with NHJ re pleading 6103.

                                                                                                            KLP- R and edit most recent version of complaint.
  07/19/2013 Kaylan Phillips     2:48       2.80        2.80   $   393.00 $     1,100.40   $       1,100.40 Discuss next steps with NHJ. Email from co-counse

  07/19/2013 Noel Johnson        1:06       1.10        0.00   $   319.00 $       350.90   $            -    NHJ- LR re pleading standing in 6103 UNAX cases

                                                                                                             NHJ- C with KLP to discuss pleading 6103 claim and
  07/19/2013 Noel Johnson        1:54       1.90        0.00   $   319.00 $       606.10   $            -    make edits to complaint re same; prepare email t

                                                                                                            NHJ- Proofread latest draft of First Amended
  07/19/2013 Noel Johnson        2:30       2.50        2.30   $   319.00 $       797.50   $         733.70 Complaint; incorporate edits of KLP and Cleta on same;

                                                                                                            NHJ- Incorporate Mike's changes into First Amended
  07/19/2013 Noel Johnson        2:48       2.80        2.50   $   319.00 $       893.20   $         797.50 Complaint; email correspondence with legal team

  07/20/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $        63.80   $          63.80 NHJ- RS re residential addresses for new defendants

                                                                                                            NHJ- R articles re Chief Counsel involvement
  07/20/2013 Noel Johnson        0:42       0.70        0.70   $   319.00 $       223.30   $         223.30 intargeting scheme; email correspondence with legal te
                                                                                                            NHJ- Make edits to First Amended Complaint to add
  07/20/2013 Noel Johnson        1:42       1.70        1.50   $   319.00 $       542.30   $         478.50 Defendant William Wilkins and facts re same
                                                                                                            NHJ- Email correspondence with legal team re
  07/21/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $        63.80   $          63.80 complaint and talking points for same
                                                                                                            NHJ- Draft talking points for First Amended Complaint
  07/21/2013 Noel Johnson        0:42       0.70        0.70   $   319.00 $       223.30   $         223.30 per Cleta's instuctions

                                                                                                            NHJ- Create final exhibit to Amended Complaint,
  07/21/2013 Noel Johnson        1:06       1.10        1.10 $     319.00 $       350.90   $         350.90 incorporate final changes from legal team into same
  07/22/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $        17.50   $          17.50 JF- Check for updates to ACLJ case
  07/22/2013 Jackie Flint        0:48       0.80        0.80 $     175.00 $       140.00   $         140.00 JF- Make address labels
             Joseph
  07/22/2013 Vanderhulst         0:48       0.80        0.80   $   393.00 $       314.40   $         314.40 JAV- Help with service of amended complaint
                                                                                                            KLP- Draft email to process server re details of service
  07/22/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 needed.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 33 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
  07/22/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- Email with process server re confirming address.
  07/22/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00   $       117.90   $         117.90 KLP- C KL re service.
  07/22/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00   $       117.90   $         117.90 KLP- Email with Cath Kidwell re filing today
  07/22/2013 Kaylan Phillips     0:30       0.50        0.50 $     393.00   $       196.50   $         196.50 KLP- C NHJ re filing amended complaint
                                                                                                              KLP- Email with co counsel re service and remaining
  07/22/2013 Kaylan Phillips     0:42       0.70        0.70   $   393.00 $         275.10   $         275.10 filings.

                                                                                                              KLP- Email with colleagues, co-counsel, and clients re:
  07/22/2013 Kaylan Phillips     0:54       0.90        0.90   $   393.00 $         353.70   $         353.70 amended complaint, pro hac, response to req

                                                                                                              KLP- Finalize complaint and supporting documents. P
  07/22/2013 Kaylan Phillips     1:30       1.50        1.50   $   393.00 $         589.50   $         589.50 for filing. Email/call Cath re how to file and
                                                                                                              KLP- P documents for certified mail. Package and take
  07/22/2013 Kaylan Phillips     2:18       2.30        2.30   $   393.00 $         903.90   $         903.90 to post office.

  07/22/2013 Kevin LeRoy         2:48       2.80        2.80   $   175.00 $         490.00   $         490.00 KL- Proofread, look up service rules, look of DDC rules
                                                                                                              NHJ- R TTV's press release re amended complaint and
  07/22/2013 Noel Johnson        0:06       0.10        0.00   $   319.00 $          31.90   $            -   provide comments
                                                                                                              NHJ- R and made edits to Cerificate of Service for
  07/22/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $          31.90   $          31.90 Amended Complaint
                                                                                                              NHJ- C KLP to discuss updates on needs for filing and
  07/22/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 timing for same
                                                                                                              NHJ- R and incorporate KL's edits to Amended
  07/22/2013 Noel Johnson        0:18       0.30        0.20 $     319.00 $          95.70   $          63.80 Complaint
  07/22/2013 Noel Johnson        0:18       0.30        0.30 $     319.00 $          95.70   $          95.70 NHJ- Address RS for new defendants
                                                                                                              NHJ- Email correspondence with legal team re filing
  07/22/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 and press re same
                                                                                                              NHJ- Discuss appearance for Mike with KLP; RS rules
  07/22/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $         127.60   $         127.60 re appearance by signing pleading
                                                                                                              NHJ- C KLP and KL to discuss needs for Amended
  07/22/2013 Noel Johnson        0:30       0.50        0.50   $   319.00 $         159.50   $         159.50 Complaint and filing same
                                                                                                              NHJ- C KLP to review finalized docs for filing and send
  07/22/2013 Noel Johnson        0:36       0.60        0.60   $   319.00 $         191.40   $         191.40 to local counsel for filing
                                                                                                              NHJ- R Mike's final edits and incorporate same into
  07/22/2013 Noel Johnson        0:42       0.70        0.60   $   319.00 $         223.30   $         191.40 Amended Complaint
                                                                                                              NHJ- Prepare mailing for service of First Amended
  07/22/2013 Noel Johnson        0:42       0.70        0.70   $   319.00 $         223.30   $         223.30 Complaint and related docs
                                                                                                              NHJ- Continue printing and creating mailings for service
  07/22/2013 Noel Johnson        1:54       1.90        1.90   $   319.00 $         606.10   $         606.10 for current defendants; drive to post offi

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 34 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                          Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            ZSK- Review Congressional testimony of Carter Hull
  07/22/2013 Zachary Kester      1:42       1.70        1.70 $     393.00 $       668.10   $         668.10 and several others to ascertain relevant facts a
  07/23/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $        17.50   $          17.50 JF- Look for updates to ACLJ case
                                                                                                            KLP- ECF notice re motion for extension of time
  07/23/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 terminated as moot. Forward to colleagues.
  07/23/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- Email from CM re DOJ accepting service.
                                                                                                            KLP- ECF notices re summonses filed for official
  07/23/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 capacities.
  07/23/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 KLP- Emails re press opportunity
  07/23/2013 Kaylan Phillips     0:30       0.50        0.50 $     393.00 $       196.50   $         196.50 KLP- C NHJ re service. Email with Cath re same.
                                                                                                            KLP- Email with process server re needs today. Send
  07/23/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $       196.50   $         196.50 documents.

                                                                                                            KLP- Email with Cath Kidwell re filing. Send new
  07/23/2013 Kaylan Phillips     0:42       0.70        0.70 $     393.00 $       275.10   $         275.10 summonses. PC re same. Emails re copies and courie
  07/23/2013 Noel Johnson        0:12       0.20        0.20 $     319.00 $        63.80   $          63.80 NHJ- Download and save latest filings
                                                                                                            NHJ- C KLP and JAV to discuss service of defendants
  07/23/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $       127.60   $         127.60 in official capacities
                                                                                                            NHJ- Create summonses for defendants in official
  07/23/2013 Noel Johnson        0:54       0.90        0.90   $   319.00 $       287.10   $         287.10 capacities; c with KLP to discuss same
                                                                                                             ZSK- Email Cleta and Cath re payment of process
  07/23/2013 Zachary Kester      0:06       0.10        0.00   $   393.00 $        39.30   $            -    server (N/C)

  07/24/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- ECF notice re summonses to unknown parties.
  07/24/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 KLP- C NHJ re other summonses.
                                                                                                            KLP- Edit certificate of service re summons in their
  07/24/2013 Kaylan Phillips     1:00       1.00        1.00   $   393.00 $       393.00   $         393.00 official capacity. R rules and agreement with
                                                                                                            KLP- Summon: email with co counsel and process
  07/24/2013 Kaylan Phillips     1:12       1.20        1.20   $   393.00 $       471.60   $         471.60 server re personal service options

                                                                                                            NHJ- RS re summons for unknown named defendants'
  07/24/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 email correspondence with legal team re same
                                                                                                            NHJ- Drive to post office to mail latest summonses to
  07/24/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 DOJ
                                                                                                            NHJ- Multiple phone calls to clerk's office re status of
  07/24/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 summonses
                                                                                                            NHJ- Download and save latest filings; prepare
  07/24/2013 Noel Johnson        1:18       1.30        1.30   $   319.00 $       414.70   $         414.70 certificate of service for official capacity defenda

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 35 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              ZSK- Review and email KP & NJ on roles of IRS GC
  07/24/2013 Zachary Kester      0:36       0.60        0.60 $     393.00 $         235.80   $         235.80 and President’s OLC and discussed significance of
  07/25/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $          39.30   $          39.30 KLP- Email with JF re press inquiry
             Joseph                                                                                           JAV- PC from process server, relay message to
  07/26/2013 Vanderhulst         0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 litigation team
  07/26/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $          39.30   $          39.30 KLP- Email to Cath re Mike's PHV

  07/26/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $          39.30   $          39.30 KLP- Emails from JAV re call from process server
                                                                                                              KLP- Email from co-counsel re House waiver. Draft
  07/26/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $          78.60   $          78.60 response.
                                                                                                              ZSK- Review of agreement with Foley and ask BAB to
  07/26/2013 Zachary Kester      0:18       0.30        0.30 $     393.00   $       117.90   $         117.90 review; send comments on to Cath
  07/29/2013 Jackie Flint        0:06       0.10        0.10 $     175.00   $        17.50   $          17.50 JF- Look for updates to ACLJ case
  07/29/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- C NHJ re affidavits of service
  07/29/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- Receive return receipts. Save.
                                                                                                              KLP- Email with co-counsel re litigation hold letters and
  07/29/2013 Kaylan Phillips     0:24       0.40        0.40 $     393.00 $         157.20   $         157.20 admission
  07/30/2013 Jackie Flint        0:12       0.20        0.20 $     175.00 $          35.00   $          35.00 JF- Look for updates to ACLJ case
                                                                                                              KLP- Call from process server re S. Grodnitzkey
  07/30/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $          39.30   $          39.30 served.
                                                                                                              KLP- Email withJF re DOJ's motion for extension of
  07/30/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 time in ACLJ case. R and save.
  07/30/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 KLP- Emails from client and CM re Issa committee
                                                                                                              KLP- Email from Jan re other service completed. Email
  07/30/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00 $         117.90   $         117.90 with NHJ re next steps. C NHJ re same.
  07/31/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $          17.50   $          17.50 JF- Look for ACLJ case updates

                                                                                                              KLP- Receive returned amended complaint from
  07/31/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $         117.90   $         117.90 Shulman. C with NHJ re: rules on when time to respond
                                                                                                              NHJ- RS FRCP and case law re time to respond to
  07/31/2013 Noel Johnson        0:30       0.50        0.50   $   319.00 $         159.50   $         159.50 amended pleading; discuss same with KLP
  08/01/2013 Jackie Flint        0:06       0.10        0.10   $   175.00 $          17.50   $          17.50 JF- Check for ACLJ case updates

                                                                                                              KLP- Emails from colleagues and co-counsel re service
  08/01/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $         117.90   $         117.90 updates and Government's request for an exten
                                                                                                              KLP- C with NHJ re serving Seto at his home. Emails re
  08/02/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $          78.60   $          78.60 same.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 36 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                    1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
  08/02/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 KLP- Email with co-counsel re service.
                                                                                                            NHJ- R defendants' renewed motion to extend time to
  08/02/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 answer

  08/02/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $        63.80   $          63.80 NHJ- Discuss Lois Lerner emails with FEC with ZSK

                                                                                                            NHJ- PC with Capitol Process Services re service of
  08/02/2013 Noel Johnson        0:30       0.50        0.50   $   319.00 $       159.50   $         159.50 defendant Seto; g-chat discussion with KLP re s

  08/02/2013 Zachary Kester      0:18       0.30        0.00   $   393.00 $       117.90   $            -    ZSK- R Issa 6103 concerns; email NHJ re same.
                                                                                                            ZSK- R evidence of Lerner/FEC emails; evidence of
  08/02/2013 Zachary Kester      0:30       0.50        0.50 $     393.00 $       196.50   $         196.50 wrongdoing, C NHJ re same.
  08/05/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $        17.50   $          17.50 JF- Check for updates to ACLJ case

  08/05/2013 Jackie Flint        0:24       0.40        0.40 $     175.00 $        70.00   $          70.00 JF- Look into ACLJ's method of affidavits of service
  08/05/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- ECF notice re Mike's PHV.
                                                                                                            KLP- Call to opposing counsel re consent to ML's PHV.
  08/05/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00 $       117.90   $         117.90 Email re same.
  08/05/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00 $       117.90   $         117.90 KLP- Email with colleagues re ML's PHV.

                                                                                                            NHJ- C KL to discuss amended complaint and motion
  08/05/2013 Noel Johnson        0:12       0.20        0.20 $     319.00 $        63.80   $          63.80 to dismiss in NorCal lawsuit; review MTD in same
  08/06/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $        17.50   $          17.50 JF- Check ACLJ case for updates
  08/06/2013 Jackie Flint        0:24       0.40        0.40 $     175.00 $        70.00   $          70.00 JF- Read NorCal Amended Complaint
                                                                                                            KLP- Discussions with NHJ about needed review of
  08/06/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 House Committee interview transcripts

  08/06/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 KLP- Email with CK re addresses. Locate and respond.
                                                                                                            KLP- Emails from co-counsel re evidence. C NHJ re
  08/06/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 same. Draft response.
  08/06/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 KLP- R and save ML's PHV.
                                                                                                            KLP- Email with process server re remaining
  08/06/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 individuals. Call from server re same.

                                                                                                            KLP- R DOJs motion for extension of time. Circulate to
  08/06/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $       157.20   $         157.20 colleagues. Email with ML re response.
                                                                                                            KLP- Email with co-counsel re summonses. R ML's
  08/06/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $       196.50   $         196.50 response to DOJ.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 37 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                    1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            NHJ- Discussions with KLP about needed review of
  08/06/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 House Committee interview transcripts

                                                                                                            NHJ- R email correspondence re official capacity
  08/06/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 summonses; conference with KLP to discuss issue

                                                                                                            NHJ- Scan and save affidavits of service of de. Fish;
  08/06/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 conference with KLP to discuss status of serv

                                                                                                            NHJ- G-chat conference with KLP to discuss service
  08/06/2013 Noel Johnson        0:12       0.20        0.20 $     319.00 $        63.80   $          63.80 rules and timing for updating court on defendant
  08/07/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $        17.50   $          17.50 JF- Check ACLJ case for updates
                                                                                                            KLP- Email withKL re NorCal Motion to Dismiss. R KL's
  08/07/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $       157.20   $         157.20 email re summary of key points.

  08/07/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00 $       235.80   $         235.80 KLP- Email with colleagues re reviewing transcripts.
                                                                                                            ZSK- R developments in EO law and IRS position on
  08/07/2013 Zachary Kester      0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 "political intervention"; identify the number of
  08/08/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 KLP- Email with co-counsel re summonses
                                                                                                            KLP- Email from ZSK re summonses. Email to process
  08/08/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 server re same.

                                                                                                            ZSK- Review articles on the structure and operation of
  08/08/2013 Zachary Kester      1:00       1.00        1.00   $   393.00 $       393.00   $         393.00 the IRS office of chief counsel and command

  08/09/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $        39.30   $          39.30 KLP- Call from process server re Seto served at home.

  08/09/2013 Zachary Kester      0:18       0.30        0.00   $   393.00 $       117.90   $            -    ZSK- R IRS authority to tell others agencies under 6103

                                                                                                            ZSK- review EO Journal and prospect of adding Lois
  08/11/2013 Zachary Kester      1:18       1.30        1.30   $   393.00 $       510.90   $         510.90 Lerner’s advisor as a defendant; email KP & NJ r
                                                                                                            KLP- Receive returned "unclaimed" certified mail to Ron
  08/12/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $        39.30   $          39.30 Bell

                                                                                                            KLP- Receive and review Fedex from DOJ retruning
  08/12/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 individual summonses. Email to ML re next steps.

                                                                                                            KLP- Call from process server re: Wilkins served. Email
  08/12/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00 $       235.80   $         235.80 with company re: Thomas’s service. Review a



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 38 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                          Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            KLP- Email from Cleta re Defendant David Fish in car
  08/13/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 accident.
  08/13/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- Receive three returns of service. R.
  08/13/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 KLP- C NHJ re summonses and service.
                                                                                                            KLP- Email from ML re summonses. Draft response re
  08/13/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 next steps. Receive response.
                                                                                                            KLP- R opposition to motion for additional time. Edit
  08/13/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $       196.50   $         196.50 and send updated draft.

                                                                                                            KLP- Create and finalize summons for new defendants
  08/13/2013 Kaylan Phillips     1:00       1.00        1.00   $   393.00 $       393.00   $         393.00 in their official capacity. File. Save filed ve

                                                                                                            NHJ- C KLP to discuss filing new summonses for
  08/13/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $        63.80   $          63.80 official capacity defendants and opposition to defen
                                                                                                            NHJ- C KLP to discuss needs for service of recently
  08/13/2013 Noel Johnson        0:12       0.20        0.20 $     319.00 $        63.80   $          63.80 filed documents
  08/14/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- Check NorCal docket for updates.
                                                                                                            KLP- Email from CM re changes to opp. motion for
  08/14/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 extension.
  08/14/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- Email with CM re House transcripts.
  08/14/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 KLP- ECF notices re summonses.

  08/14/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 KLP- Work on affidavit of service for copies to DOJ.

  08/14/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 KLP- Email with co-counsel re litigation hold letters.
                                                                                                            KLP- Email opposing counsel re accepting service of
  08/14/2013 Kaylan Phillips     0:24       0.40        0.40 $     393.00 $       157.20   $         157.20 summonses.
  08/14/2013 Kaylan Phillips     0:30       0.50        0.50 $     393.00 $       196.50   $         196.50 KLP- Email with Cath Kidwell re courier.
                                                                                                            KLP- Find and review Z-street docket re updates and
  08/14/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $       196.50   $         196.50 MTD hearing

  08/14/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00 $       235.80   $         235.80 KLP- Receive affidavits of service. Scan and save.
                                                                                                            NHJ- Download and save latest filed docs. (official
  08/14/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 capacity summonses)
  08/15/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 KLP- Emails re litigation hold letters.
                                                                                                            KLP- Finalize and notarize affidavits fo service. File.
  08/15/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 Circulate.




* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 39 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              KLP- C with NHJ re: opposition to motion for extension.
  08/15/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $         157.20   $         157.20 Review emails re: same. Check rules re: dea
                                                                                                              KLP- IM with NHJ re: opposition to motion for extension
  08/15/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $         157.20   $         157.20 and affidavits of service.
                                                                                                              KLP- Email with colleagues re: questions re: service
  08/15/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $         196.50   $         196.50 date, copies to send, etc.
                                                                                                              KLP- Work on affidavits of service for NHJ and I.
  08/15/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $         196.50   $         196.50 Circulate for approval.

                                                                                                              KLP- Finalize affidavits of service. Organize documents.
  08/15/2013 Kaylan Phillips     1:00       1.00        1.00   $   393.00 $         393.00   $         393.00 Prepare documents for mailing (with TJP)
                                                                                                              KLP- Work on opposition to motion for extension. R
  08/15/2013 Kaylan Phillips     1:00       1.00        1.00   $   393.00 $         393.00   $         393.00 revisions.

                                                                                                              NHJ- R affidavits of service and rv as needed; g-chat
  08/15/2013 Noel Johnson        0:30       0.50        0.50   $   319.00 $         159.50   $         159.50 conversation with KLP re needs for same; sign

                                                                                                              NHJ- R revised draft of opposition to motion for
  08/15/2013 Noel Johnson        0:30       0.50        0.50   $   319.00 $         159.50   $         159.50 extension; discuss same with KLP; P email to legal
                                                                                                              NHJ- Make revisions to draft opposition to motion for
  08/15/2013 Noel Johnson        0:48       0.80        0.80   $   319.00 $         255.20   $         255.20 extension; discuss revisions with KLP; prepar

  08/16/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $          78.60   $          78.60 KLP- Email ACLJ re returned mail. Verify addresses.
                                                                                                              KLP- Email with co-counsel re: opposition to motion for
  08/16/2013 Kaylan Phillips     0:24       0.40        0.40 $     393.00   $       157.20   $         157.20 extension. Review final draft.
  08/16/2013 Kaylan Phillips     0:24       0.40        0.40 $     393.00   $       157.20   $         157.20 KLP- Email with team re conference call today.
  08/16/2013 Kaylan Phillips     0:42       0.70        0.70 $     393.00   $       275.10   $         275.10 KLP- Work on exhibits to oppositition. Circulate.
  08/16/2013 Kaylan Phillips     0:48       0.80        0.80 $     393.00   $       314.40   $         314.40 KLP- P affidavits of service for mailing.

                                                                                                              KLP- PC with legal team to discuss strategy going
  08/16/2013 Kaylan Phillips     1:12       1.20        1.20   $   393.00 $         471.60   $         471.60 forward and needed research for opposition to MTD
                                                                                                              NHJ- C KLP to discuss needed exhibits for opposition to
  08/16/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $          31.90   $          31.90 motion for extension.
                                                                                                              NHJ- Email correspondence re create defendant
  08/16/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $          31.90   $          31.90 service matrix.
                                                                                                              NHJ- Email to John Eastman re change of counsel for
  08/16/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $          31.90   $          31.90 remaining plaintiffs.

  08/16/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 NHJ- Email to KLP to summarize PC with legal team.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 40 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                    1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            NHJ- R latest draft of opposition to motion for
  08/16/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $        63.80   $          63.80 extension; email to legal team re same.
                                                                                                            NHJ- P mailings for service of recently filed documents;
  08/16/2013 Noel Johnson        0:36       0.60        0.60   $   319.00 $       191.40   $         191.40 drive to post office to mail.
                                                                                                            NHJ- PC with legal team to discuss strategy going
  08/16/2013 Noel Johnson        1:12       1.20        1.20 $     319.00 $       382.80   $         382.80 forward and needed RS for opposition to MTD.
  08/18/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- Email from CM re Z-Street documents.
             Bostrom, Barry                                                                                 BAB- R revised Foley Lardner Agreement as co-
  08/19/2013 A.                  0:12       0.20        0.10   $   772.00 $       154.40   $          77.20 counsel and P email to ZSK.
  08/19/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $        39.30   $          39.30 KLP- C NHJ re conference call on Friday.

  08/19/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $        39.30   $          39.30 KLP- Receive and review Wilkins affidavits of service.
                                                                                                            KLP- Email from CM summarizing call from Friday.
  08/19/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 Draft response with updates. R reply.
                                                                                                            KLP- Email with process server re Thomas service.
  08/19/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 Email to colleagues re same.

  08/19/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 KLP- R Z-Street webpage and news articles re hearing.
                                                                                                            NHJ- C KLP re substance of Friday's conference call
  08/19/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 with legal team.

  08/19/2013 Zachary Kester      0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 ZSK- R TTV contract from Cath; email BAB re same.

                                                                                                            ZSK- Review articles from weekend re Lois Lerner’s
  08/19/2013 Zachary Kester      0:48       0.80        0.80   $   393.00 $       314.40   $         314.40 personal email use; analyze liability under that

  08/20/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00 $       117.90   $         117.90 KLP- Emails re service upon Wilkins. Save document.
  08/20/2013 Kaylan Phillips     0:30       0.50        0.50 $     393.00 $       196.50   $         196.50 KLP- Work on Bill Davis's PHV. R CV. Circulate.
  08/21/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 KLP- C NHJ to discuss creation of service matrix.
                                                                                                            KLP- Email with Bill Davis and assistant re: PHV.
  08/21/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $       157.20   $         157.20 Review and finalize PHV. Prepare for filing. Emai
                                                                                                            KLP- Finalize affidavits of service for Wilkins and
  08/21/2013 Kaylan Phillips     0:36       0.60        0.60 $     393.00 $       235.80   $         235.80 Thomas. Create certificate of service
  08/21/2013 Noel Johnson        0:12       0.20        0.20 $     319.00 $        63.80   $          63.80 NHJ- C KLP to discuss creation of service matrix.

                                                                                                            NHJ- Download briefing and pleadings for Freedom
  08/21/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $        63.80   $          63.80 From Religion Found. Inc. v. Commissioner, downloa




* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 41 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                    1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            NHJ- Begin review Complaint and motion to dismiss
  08/21/2013 Noel Johnson        1:24       1.40        1.40 $     319.00 $       446.60   $         446.60 briefing in Freedom From Religion Found. Inc. v.
  08/22/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- C NHJ re service matrix.

  08/22/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 KLP- Email with CK re certified mail return receipts.

  08/22/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 KLP- Email with co-counsel re speaking with paralegal.
  08/22/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 KLP- R updates service matrix.

                                                                                                            KLP- Review affidavits of service. Email with process
  08/22/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $       157.20   $         157.20 server re: scrivener’s error and correction n
                                                                                                            KLP- C with NHJ re: service matrix. Review first draft. C
  08/22/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00 $       235.80   $         235.80 with TJP re: adjusting excel spreadsheet.

                                                                                                            KLP- C with NHJ re: when service was completed
  08/22/2013 Kaylan Phillips     0:48       0.80        0.80   $   393.00 $       314.40   $         314.40 (several conferences) Review filings. Review FRCP.

                                                                                                             NHJ- Review recent caselaw re: APA, Bivens and
  08/22/2013 Noel Johnson        0:12       0.20        0.00   $   319.00 $        63.80   $            -    Declaratory Judgment Act (Jarita Mesa Livestock Graz
                                                                                                            NHJ- Make revisions to master service and response
  08/22/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $        63.80   $          63.80 matrix; discuss same with KLP
                                                                                                            NHJ- C KLP to discuss master service matrix
  08/22/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 functionality
                                                                                                            NHJ- C KLP to discuss service of new defendants in
  08/22/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 individual capacities.
                                                                                                            NHJ- PC with TJP re sorting macros for master service
  08/22/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 matrix.
                                                                                                            NHJ- Continue reviewing motion to dismiss briefing in
  08/22/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $       127.60   $         127.60 Freedom from Religious v. Shulman
                                                                                                            NHJ- P email to legal team re possible issue with
  08/22/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $       127.60   $         127.60 service of new individual capacity defendants.

                                                                                                            NHJ- Conferences with KLP to confirm service dates of
  08/22/2013 Noel Johnson        0:42       0.70        0.70   $   319.00 $       223.30   $         223.30 various defendants and to discuss master serv
                                                                                                            NHJ- Create master servie and response spreadsheet
  08/22/2013 Noel Johnson        0:54       0.90        0.90   $   319.00 $       287.10   $         287.10 matrix for all defendants and filings.
                                                                                                            NHJ- Continue creating master service and response
  08/22/2013 Noel Johnson        1:24       1.40        1.40   $   319.00 $       446.60   $         446.60 spreadsheet matrix.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 42 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              NHJ- Continue creating master service and response
  08/22/2013 Noel Johnson        2:00       2.00        2.00   $   319.00 $         638.00   $         638.00 spreadsheet matrix.

  08/23/2013 Kaylan Phillips     0:06       0.10        0.00 $     393.00   $        39.30   $            -    KLP- Email from CM re 6103 memos from Congress.
  08/23/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Email from NHJ re recent 7428 claim.
  08/23/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Email re consent to PHV motions
  08/23/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Receive and review return receipts.
                                                                                                              KLP- C NHJ to discuss RS finding re APA and 1st
  08/23/2013 Kaylan Phillips     0:12       0.20        0.10   $   393.00 $          78.60   $          39.30 Amendment claims

  08/23/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $          78.60   $          78.60 KLP- Email with process server re serving US Attorney.

                                                                                                              KLP- Email with CM re: “meet and confer” language for
  08/23/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $         117.90   $         117.90 pro hac vice motion. Adjust to add MG.

  08/23/2013 Kaylan Phillips     1:06       1.10        1.10   $   393.00 $         432.30   $         432.30 KLP- Call with co-counsel and colleagues re next steps.

                                                                                                              KLP- Prepare service copies of summonses for new
  08/23/2013 Kaylan Phillips     1:06       1.10        1.10   $   393.00 $         432.30   $         432.30 defendants and copy of amended complaint to send t
                                                                                                              NHJ- C KLP to discuss RS findings re APA and 1st
  08/23/2013 Noel Johnson        0:12       0.20        0.10   $   319.00 $          63.80   $          31.90 Amendment claims.

  08/23/2013 Noel Johnson        0:18       0.30        0.00   $   319.00 $          95.70   $            -    NHJ- R report on 6103 by Joint Committee on Taxation.
                                                                                                               NHJ- R Sec. 6103 caselaw- Millennium Marketing v.
  08/23/2013 Noel Johnson        0:18       0.30        0.00   $   319.00 $          95.70   $            -    US; email to KLP re same.
                                                                                                              NHJ- Make revisions to master service matrix; prepare
  08/23/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $         127.60   $         127.60 email to legal team attaching same.

                                                                                                               NHJ- R Trudeau v. FTC re APA claims and sovereign
  08/23/2013 Noel Johnson        0:30       0.50        0.00   $   319.00 $         159.50   $            -    immunity; review case lawcited therein.

                                                                                                              NHJ- Finish reviewing motion to dismiss briefing in
  08/23/2013 Noel Johnson        0:30       0.50        0.50   $   319.00 $         159.50   $         159.50 Freedom from Religion v. Shulman; review order
                                                                                                              NHJ- C call with legal team to discuss strategy and
  08/23/2013 Noel Johnson        1:06       1.10        1.10   $   319.00 $         350.90   $         350.90 needs for 7428 claim.

  08/23/2013 Noel Johnson        1:18       1.30        0.00   $   319.00 $         414.70   $            -    NHJ- RS and R recent Bivens decision in DC Circuit.
                                                                                                              KLP- Work on PHV for Mathew D. Gutierrez. Draft
  08/25/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $         117.90   $         117.90 email re same.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 43 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
  08/26/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $        39.30   $          39.30 KLP- C NHJ to discuss service of AG and US attorney
                                                                                                            KLP- Organize certified mail reciepts from recent
  08/26/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 mailings.
  08/26/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- Receive affidavit of service.
  08/26/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 KLP- Emails re service matrix.
                                                                                                            KLP- Email with Cath Kidwell re which documents to
  08/26/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $       196.50   $         196.50 print and how; courier.
                                                                                                            KLP- C NHJ to discuss strategy and needs for 7428
  08/26/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00 $       235.80   $         235.80 claim.

                                                                                                            KLP- Email with process server re: copies and service
  08/26/2013 Kaylan Phillips     0:42       0.70        0.70   $   393.00 $       275.10   $         275.10 on US Attorney (throughout day) Calculate tot

                                                                                                            KLP- Print documents for service to AG. Draft cover
  08/26/2013 Kaylan Phillips     0:54       0.90        0.90   $   393.00 $       353.70   $         353.70 letter to AG. Finalize. Work with EB to get doc

  08/26/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 NHJ- C KLP to discuss service of AG and US attorney.
                                                                                                            NHJ- Email correspondence re service matrix with Mike
  08/26/2013 Noel Johnson        0:06       0.10        0.10 $     319.00 $        31.90   $          31.90 Lockerby.
  08/26/2013 Noel Johnson        0:24       0.40        0.40 $     319.00 $       127.60   $         127.60 NHJ- R Tax Court rules governing 7428 actions.
                                                                                                            NHJ- C KLP to discuss strategy and needs for 7428
  08/26/2013 Noel Johnson        0:36       0.60        0.60   $   319.00 $       191.40   $         191.40 claim.

                                                                                                            NHJ- Download and review filings from recent 7428
  08/26/2013 Noel Johnson        0:36       0.60        0.60   $   319.00 $       191.40   $         191.40 case before Judge Walton – Family Trust of Mass.

                                                                                                            NHJ-Continue reviewing relevant case law and begin
  08/26/2013 Noel Johnson        1:36       1.60        1.60   $   319.00 $       510.40   $         510.40 drrafting legal memo re: rules and procedure for
                                                                                                            NHJ- RS and review recent 7428 decisions by Judge
  08/26/2013 Noel Johnson        1:42       1.70        1.70   $   319.00 $       542.30   $         542.30 Walton and take notes re same.
  08/27/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $        39.30   $          39.30 KLP- C NHJ re checklist.

  08/27/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- C with Linda Aquirre at Foley re service question.
  08/27/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- Receive adn save return receipts.

                                                                                                            KLP- C with NHJ re: “meet and confer” requirement.
  08/27/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 Review Judge Walton’s general orders
  08/27/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00 $       117.90   $         117.90 KLP- C NHJ re procedural memo.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 44 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            KLP- Calls from process server re: service on US
  08/27/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 Attorney (two). Draft email to co-counsel re: serv
                                                                                                            KLP- Email with Cath re sharing documetns. Draft list of
  08/27/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 authorized users.
                                                                                                            KLP- Finalize affidavit of service for mailing last night.
  08/27/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 Have notarized. Scan and save.
                                                                                                            KLP- R NHJ's memo re rules and procedure. Send
  08/27/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 revisions.
                                                                                                            KLP- C NHJ re rules and procedures. R local rules and
  08/27/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $       157.20   $         157.20 other 7428 cases.

                                                                                                            KLP- Email from MG re: motion and declaration.
  08/27/2013 Kaylan Phillips     0:24       0.40        0.40 $     393.00 $       157.20   $         157.20 Finalize both PHV declarations and motions. Circulat
  08/27/2013 Kaylan Phillips     0:24       0.40        0.40 $     393.00 $       157.20   $         157.20 KLP- Organize certified mail receipts in folders.

                                                                                                            KLP- ECF notice re: suggestion of incapacity. Save and
  08/27/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00 $       235.80   $         235.80 circulate. Email with Mike Lockerby re: same

  08/27/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 NHJ- C KLP to review checklist of needs with KLP.

                                                                                                            NHJ- C with KLP re: "meet and confer" requirment.
  08/27/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $        63.80   $          63.80 Review Judge Walton's general orders

                                                                                                            NHJ-Conference with KLP to discuss service issue with
  08/27/2013 Noel Johnson        0:12       0.20        0.20 $     319.00 $        63.80   $          63.80 US Attorney’s office for new individual capac
  08/27/2013 Noel Johnson        0:18       0.30        0.00 $     319.00 $        95.70   $            -    NHJ- R recent Bivens opinions by Judge Walton.
                                                                                                            NHJ- C KLp to discuss 7428 memo and potential DOJ
  08/27/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 arguments re 7428 claim
                                                                                                            NHJ- C KLP to discuss recommendation for legal team
  08/27/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $       127.60   $         127.60 re 7428 claim.
                                                                                                             NHJ- RS and R recent First Amendment Bivens opinion
  08/27/2013 Noel Johnson        0:30       0.50        0.00   $   319.00 $       159.50   $            -    in DDC.
                                                                                                            NHJ- Make changes to 7428 rules and procedure; P
  08/27/2013 Noel Johnson        0:36       0.60        0.60   $   319.00 $       191.40   $         191.40 detailed email to legal team re same.

                                                                                                            NHJ- Review recent 7428 decision in D.D.C. not
  08/27/2013 Noel Johnson        1:00       1.00        1.00   $   319.00 $       319.00   $         319.00 decided by Judge Walton and adjust rules and procedu
                                                                                                            NHJ- Continue drafting memo on 7428 rules and
  08/27/2013 Noel Johnson        1:18       1.30        1.30 $     319.00 $       414.70   $         414.70 procedures.
  08/28/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- C NHJ re service copies to US Attorney.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 45 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                          Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
  08/28/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Call from Cath re PHV motion.
  08/28/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Call from Cath re PHV motion.
  08/28/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Call from Foley paralegal Linda re service.
  08/28/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Email to Cath re service question.
                                                                                                              KLP- Voicemail from process server re: second attempt
  08/28/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $          39.30   $          39.30 on US Attorney
  08/28/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 KLP- C NHJ re service.
  08/28/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 KLP- Email with co-counsel re service.
                                                                                                              KLP- Email to ACLJ re: service copies to US Attorney.
  08/28/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $         117.90   $         117.90 Review ACLJ’s affidavits of service
                                                                                                              KLP- C NHJ re service copies to US Attorney. R cover
  08/28/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $         157.20   $         157.20 letter re same.
                                                                                                              KLP- Call with Carly from ACLJ and NHJ re service
  08/28/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $         196.50   $         196.50 question.
                                                                                                              KLP- Email with co-counsel re PHV
  08/28/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $         196.50   $         196.50 motion/declarations.
                                                                                                              KLP- Finalize PHV motions/declarations. Send to Cath
  08/28/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00 $         235.80   $         235.80 for filing.
                                                                                                              KLP- ECF notices re two PHV motions. P service
  08/28/2013 Kaylan Phillips     0:48       0.80        0.80   $   393.00 $         314.40   $         314.40 copies.
                                                                                                              KLP- Assist NHJ with service copies of amended
  08/28/2013 Kaylan Phillips     0:54       0.90        0.90   $   393.00 $         353.70   $         353.70 complaint to US Attorney.
                                                                                                              NHJ- PC with Linda Aguire, paralegal from Foley, re
  08/28/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $          31.90   $          31.90 service on US Attorney.
                                                                                                              NHJ- C KLP re service of US Attorney for new individual
  08/28/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 capacity defendants.

                                                                                                               NHJ- Continue reviewing recent Bivens cases involving
  08/28/2013 Noel Johnson        0:18       0.30        0.00   $   319.00 $          95.70   $            -    First Amendment claims; begin outlining memo
                                                                                                              NHJ- Email to legal team re service issues with US
  08/28/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 Attorney and individual capacity defendants.
                                                                                                              NHJ- PC with KLP and Carly from ACLJ re issue with
  08/28/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 service of US Attorney.

                                                                                                              NHJ- Review research re: service under FRCP 4(i)(3)
  08/28/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $         127.60   $         127.60 with KLP and discuss options for effecting serv

                                                                                                              NHJ- Draft letter to US Attorney’s office re: service of
  08/28/2013 Noel Johnson        0:36       0.60        0.60   $   319.00 $         191.40   $         191.40 individual capacity defendants; discuss sa

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 46 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                    1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            NHJ- Email correspondence with process server re:
  08/28/2013 Noel Johnson        1:00       1.00        1.00   $   319.00 $       319.00   $         319.00 attempted service on US Atty; multiple conference

                                                                                                            NHJ- P service mailing to US Attorney's office for
  08/28/2013 Noel Johnson        1:18       1.30        1.30   $   319.00 $       414.70   $         414.70 service of Amended Complaint in newly added indi
                                                                                                            NHJ- Continue reviewing recent Bivens cases involving
  08/28/2013 Noel Johnson        1:24       1.40        0.00 $     319.00 $       446.60   $            -   First Amendment claims
  08/29/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- C NHJ re RS needs.
  08/29/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- C with CK re ML's PHV.

  08/29/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- Call from WD's secretary re ECF registration.
  08/29/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- News articles re Paz's letter to congress.
  08/29/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 KLP- C NHJ re service issue. R email re same.
                                                                                                            KLP- ECF notice re DOJ's motion granted. Circulate to
  08/29/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 colleagues.

                                                                                                            KLP- ECF notice re: PHV motions – one denied and two
  08/29/2013 Kaylan Phillips     0:24       0.40        0.40 $     393.00 $       157.20   $         157.20 granted. Circulate to colleagues. Email with M
  08/29/2013 Kaylan Phillips     1:00       1.00        1.00 $     393.00 $       393.00   $         393.00 KLP- P PHC's for mailing. Take to psot office.
  08/29/2013 Noel Johnson        0:06       0.10        0.10 $     319.00 $        31.90   $          31.90 NHJ- C KLP to discuss RS needs.
                                                                                                            NHJ- P mailing for service of filed documents related to
  08/29/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 pro hac motions.

  08/29/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $        63.80   $          63.80 NHJ- C KLP re service issue. Review email re same
                                                                                                            NHJ- Discuss needed info from opposing counsel from
  08/29/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $       127.60   $         127.60 KLP; P email to legal team re same.
                                                                                                            NHJ- RS re 1987 senate hearings on taxpayer bill fo
  08/29/2013 Noel Johnson        0:36       0.60        0.60   $   319.00 $       191.40   $         191.40 rights.

  08/29/2013 Noel Johnson        0:42       0.70        0.00   $   319.00 $       223.30   $            -    NHJ- Continue research re: Bivens claim and tax code
                                                                                                             NHJ- Continue research re: Bivens claim and reviewing
  08/29/2013 Noel Johnson        0:48       0.80        0.00   $   319.00 $       255.20   $            -    case law re: same
                                                                                                            NHJ- Continue reviewing case law re Bivens claims in
  08/29/2013 Noel Johnson        2:24       2.40        2.40   $   319.00 $       765.60   $         765.60 DC Circuit and concerning tax code.

                                                                                                            ZSK- Review EO Journal postings re Holly Paz’ position
  08/29/2013 Zachary Kester      0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 on being a party to the suit and for possibl



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 47 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            KLP- Conference with NHJ re: statement of
  08/30/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 uncontroverted facts.
  08/30/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- ECF notice re: deadline for answer
  08/30/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00 $       117.90   $         117.90 KLP- Receive and save return receipts

  08/30/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $       157.20   $         157.20 KLP- Emails re: conference call today or next week
                                                                                                            KLP- Sign up for Relativity. Work on how to uplaod
  08/30/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $       157.20   $         157.20 1023 documents.
                                                                                                            NHJ- Review research re: scope of statement of
  08/30/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $        63.80   $          63.80 material facts (7428 claim)
                                                                                                            NHJ- Review draft of Statement of Material Facts (7428
  08/30/2013 Noel Johnson        0:18       0.30        0.30 $     319.00 $        95.70   $          95.70 claim)
  09/03/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- IM with NHJ re call today.
                                                                                                            KLP- Emails re call today. Respond with question re
  09/03/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 service on AG.
                                                                                                            NHJ- Install and test Foley and Lardner file sharing
  09/03/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $       127.60   $         127.60 system.
                                                                                                            NHJ- Continue review case law re APA and Anti-
  09/03/2013 Noel Johnson        0:42       0.70        0.00   $   319.00 $       223.30   $            -   Injunction Act for purpose of memo re same.
                                                                                                            NHJ- Weekly PC with legal team to discuss needs and
  09/03/2013 Noel Johnson        0:54       0.90        0.90   $   319.00 $       287.10   $         287.10 strategy; email to and IM KLP re same.
                                                                                                            NHJ- R supplemental briefing in Z-Street v. IRS and
  09/03/2013 Noel Johnson        1:12       1.20        1.20   $   319.00 $       382.80   $         382.80 authorities cited therein.
                                                                                                            NHJ- Email correspondence with senate affair re
  09/04/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 availability of congressional hearing transcripts

                                                                                                             NHJ- Email correspondence with Matt Gutierrez re:
  09/04/2013 Noel Johnson        0:12       0.20        0.00   $   319.00 $        63.80   $            -    APA research; review Amended Complaint re: allega
                                                                                                            NHJ- R Trudeau v. FTC in preparation for conference
  09/04/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $        63.80   $          63.80 call with Matt Gutierrez
                                                                                                            NHJ- Email correspondence with ACLJ attorneys re
  09/04/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 service issues.
                                                                                                            NHJ- PC with Foley tech support for tutorial of Relativity
  09/04/2013 Noel Johnson        0:30       0.50        0.50   $   319.00 $       159.50   $         159.50 system.

  09/04/2013 Noel Johnson        0:36       0.60        0.00   $   319.00 $       191.40   $            -    NHJ- Conference call with Matt Gutierrez re APA rs.
                                                                                                             NHJ- Continue reviewing SCOTUS precedent re:
  09/04/2013 Noel Johnson        0:42       0.70        0.00   $   319.00 $       223.30   $            -    Bivens actions for purposes of memo on same
                                                                                                             NHJ- Continue revising SCOTUS precedent re Bivens
  09/04/2013 Noel Johnson        0:54       0.90        0.00   $   319.00 $       287.10   $            -    actions for purposes of memo on same.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 48 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                    1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            NHJ- Review Jarita Mesa Livestock Grazing Ass’n v.
  09/04/2013 Noel Johnson        1:06       1.10        1.10   $   319.00 $       350.90   $         350.90 United States Forest Serv.; download briefing fo
                                                                                                            NHJ- Continue reviewing SCOTUS precedent re:
  09/04/2013 Noel Johnson        1:48       1.80        0.00 $     319.00 $       574.20   $            -   Bivens actions for purposes of memo on same
  09/05/2013 Kaylan Phillips     0:06       0.10        0.00 $     393.00 $        39.30   $            -    KLP- C NHJ re Bivens.
                                                                                                            KLP- ECF notice re Court's status conference on DOJ's
  09/05/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $        39.30   $          39.30 suggestion of incapacity.
                                                                                                            KLP- Emails from colleagues re lawyers for individual
  09/05/2013 Kaylan Phillips     0:18       0.30        0.00 $     393.00 $       117.90   $            -   defendants.
  09/05/2013 Kaylan Phillips     0:48       0.80        0.80 $     393.00 $       314.40   $         314.40 KLP- C NHJ re RS tasks and next steps.
                                                                                                            NHJ- RS contours of 7433 relief; discuss same with
  09/05/2013 Noel Johnson        0:06       0.10        0.00   $   319.00 $        31.90   $            -   KLP. (Bivens)
  09/05/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 NHJ- C KLp to discuss Relativity software.
                                                                                                            NHJ- Follow up on lead to locate congressional hearing
  09/05/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 transcripts re 26 USC 7433
                                                                                                            NHJ- R letter of Holly Paz to congress re inconsistent
  09/05/2013 Noel Johnson        0:12       0.20        0.20 $     319.00 $        63.80   $          63.80 testimony.
  09/05/2013 Noel Johnson        0:18       0.30        0.30 $     319.00 $        95.70   $          95.70 NHJ- R dissenting opinions in AShcroft v. Iqbal.
                                                                                                            NHJ- Begin reviewing law review articles re current
  09/05/2013 Noel Johnson        0:30       0.50        0.00   $   319.00 $       159.50   $            -   state of Bivens doctrine.
                                                                                                            NHJ- Continue review law review articles re current
  09/05/2013 Noel Johnson        0:36       0.60        0.00   $   319.00 $       191.40   $            -   state of Bivens doctrine.
                                                                                                             NHJ- LR re Bivens pleading standard and qualified
  09/05/2013 Noel Johnson        0:48       0.80        0.00   $   319.00 $       255.20   $            -    immunity

                                                                                                            NHJ- Conference with KLP to discuss Tuesday’s
  09/05/2013 Noel Johnson        0:48       0.80        0.80 $     319.00 $       255.20   $         255.20 conference call, scheduling strategy for 7428, and di
  09/06/2013 Kaylan Phillips     0:06       0.10        0.00 $     393.00 $        39.30   $            -    KLP- Email from CM re APA claim.
                                                                                                            KLP- Call with clerk at US Attorney's office re how to
  09/06/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $        39.30   $          39.30 serve.
                                                                                                            KLP- Email from CM to opposing counsel re meet and
  09/06/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $        39.30   $          39.30 confer.
                                                                                                            KLP- Email from ML re: response to individual
  09/06/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $        39.30   $          39.30 defendants’ request for additional time
                                                                                                            KLP- Email to process server re service on US
  09/06/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $        39.30   $          39.30 Attorney.

  09/06/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $        39.30   $          39.30 KLP- Email with ACLJ re resolution of service issue.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 49 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
  09/06/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $          39.30   $          39.30 KLP- P affdavit of service.
  09/06/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 KLP- Call with clerk at U.S. Attorney's office.
                                                                                                              KLP- Email from CM re: letter to DOJ. Review and
  09/06/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $         157.20   $         157.20 respond. Review emails re: same.

                                                                                                              KLP- Draft cover letter to U.S. Attorney. P documents
  09/06/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00 $         235.80   $         235.80 for mailing. Email with process server.

                                                                                                              KLP- Review U.S. Attorney’s website. Calls to various
  09/06/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00 $         235.80   $         235.80 individuals in the U.S. Attorney’s office re:
                                                                                                              KLP- Weekly phone conference with litigation team. C
  09/06/2013 Kaylan Phillips     1:06       1.10        1.10   $   393.00 $         432.30   $         432.30 with NHJ re: documents to circulate.

                                                                                                              NHJ- Review Cleta’s draft letter to opposing counsel re:
  09/06/2013 Noel Johnson        0:30       0.50        0.50   $   319.00 $         159.50   $         159.50 meet and confer; rereview local rules and
                                                                                                              NHJ- Weekly strategy conference call with legal team;
  09/06/2013 Noel Johnson        1:06       1.10        1.10   $   319.00 $         350.90   $         350.90 prepare follow up email to legal team.

                                                                                                               NHJ- Review Devore v. Gannett, 1999 U.S. Dist. LEXIS
  09/09/2013 Noel Johnson        0:12       0.20        0.00   $   319.00 $          63.80   $            -    15982 (D.D.C. 1999) (Bivens); shepardize same

                                                                                                               NHJ- Continue reviewing law review articles re Bivens
  09/09/2013 Noel Johnson        1:30       1.50        0.00   $   319.00 $         478.50   $            -    actions and continue working on memo re same.

                                                                                                               NHJ- Continue reviewing law review articles re Bivens
  09/09/2013 Noel Johnson        1:42       1.70        0.00   $   319.00 $         542.30   $            -    actions and continue working on memo re same.
             Bostrom, Barry                                                                                   BAB- R email from David Langdon and foward to KLP
  09/10/2013 A.                  0:06       0.10        0.10 $     772.00   $        77.20   $          77.20 for consideration.
  09/10/2013 Kaylan Phillips     0:06       0.10        0.00 $     393.00   $        39.30   $            -    KLP- C NHJ re SOL for Bivens claims.
  09/10/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- C NHJ re "meet and confer" requirements.
  09/10/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Email from NHJ re Z Street news articles.
  09/10/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Update affidavit of service. Get notarized.
                                                                                                              KLP- C TJP re posting pleadings. Add TJP to ECF
  09/10/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $          78.60   $          78.60 account.
                                                                                                              KLP- ECF notice re status conference. Email to team re
  09/10/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 same.
  09/10/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 KLP- Email from CM re status conference.
                                                                                                              KLP- Email with MG re Steptoe lawyers for litigation
  09/10/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $          78.60   $          78.60 hold letters.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 50 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                          Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              KLP- ECF notices re: notice of appearance and motion
  09/10/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00 $         117.90   $         117.90 for extension of time. Review motion. Calendar
  09/10/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00 $         117.90   $         117.90 KLP- Receive an save certified mail reeipts.
  09/10/2013 Kaylan Phillips     0:24       0.40        0.40 $     393.00 $         157.20   $         157.20 KLP- C NHJ re case needs.

                                                                                                              KLP- Email from CM re updating client. Draft several
  09/10/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00 $         235.80   $         235.80 emails attaching recent filngs, send to client
                                                                                                              NHJ- C KLP to discuss meet and confer requirements
  09/10/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $          31.90   $          31.90 under local rules.
                                                                                                               NHJ- RS re statute of limitations for Bivens actions; c
  09/10/2013 Noel Johnson        0:12       0.20        0.00   $   319.00 $          63.80   $            -    KLP to discuss samw.
                                                                                                              NHJ- Check dockets in related cases for activity;
  09/10/2013 Noel Johnson        0:12       0.20        0.02   $   319.00 $          63.80   $           6.38 conference with KLP re same.

                                                                                                              NHJ- Download and save recent filings; review Motion
  09/10/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 for Extension of Time to File Answer by Indivi
                                                                                                              NHJ- R media reports on motion to dismiss hearing in Z
  09/10/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 Street v. IRS

                                                                                                              NHJ- Research local rules re: meet and confer
  09/10/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 requirements and motion practice for dispositive and
                                                                                                              NHJ- C KLP to discuss RS needs and preparation for
  09/10/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $         127.60   $         127.60 motionto dismiss.

  09/10/2013 Noel Johnson        0:36       0.60        0.00   $   319.00 $         191.40   $            -    NHJ- Continue reviewing case law re Bivens and IRS>
                                                                                                              NHJ- RS and R case law re legislative history of Sec.
  09/10/2013 Noel Johnson        1:06       1.10        1.10 $     319.00 $         350.90   $         350.90 7428
  09/10/2013 Noel Johnson        1:18       1.30        0.00 $     319.00 $         414.70   $            -    NHJ- DC Circuit Bivens cases.

  09/10/2013 Noel Johnson        1:30       1.50        0.00 $     319.00   $       478.50   $            -    NHJ- R 20th Cir. and SDNY authority re Bivens and IRS
  09/11/2013 Kaylan Phillips     0:06       0.10        0.00 $     393.00   $        39.30   $            -    KLP- C NHJ re Bivens/AIA case.
  09/11/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- ECF notice re notice of appearance.
  09/11/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Email re litigation hold letters.
  09/11/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Emails re ML's admission to D.D.C.
  09/11/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- Emails re extranet site.
                                                                                                              KLP- Book flight. Emails re arrangements for next
  09/11/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $         157.20   $         157.20 week.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 51 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                               KLP- C NHJ re Bivens/AIA case: Judicial Watch v.
  09/11/2013 Kaylan Phillips     0:30       0.50        0.00   $   393.00 $         196.50   $            -    Rossotti.

  09/11/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $         196.50   $         196.50 KLP- Email with colleagues re meeting next Friday.
                                                                                                              KLP- R flight options for DC next week. Email to team
  09/11/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00 $         235.80   $         235.80 re meeting time.

  09/11/2013 Kaylan Phillips     0:54       0.90        0.00 $     393.00   $       353.70   $            -    KLP- R Bivens/AIA case (Judicial Watch v. Rossotti)
  09/11/2013 Noel Johnson        0:06       0.10        0.00 $     319.00   $        31.90   $            -    NHJ- C KLP re Bivens RS.
  09/11/2013 Noel Johnson        0:06       0.10        0.10 $     319.00   $        31.90   $          31.90 NHJ- R available flights for 9/19 trip to DC.
  09/11/2013 Noel Johnson        0:06       0.10        0.10 $     319.00   $        31.90   $          31.90 NHJ- R draft litigation hold letters.
                                                                                                              NHJ- C ZSK to dicuss 7433 and definition of
  09/11/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 "determination"
                                                                                                               NHJ- Continue reviewing SCOTUS case law re qualified
  09/11/2013 Noel Johnson        0:18       0.30        0.00   $   319.00 $          95.70   $            -    immunity doctrine.
                                                                                                              NHJ- R Cor. Servs Corp. vs. Malesko, 534 U.S. 61
  09/11/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $         127.60   $         127.60 (2001); shepardize same and review.
                                                                                                              NHJ- C KLP re Judicial Watch v. Rosotti and strategy
  09/11/2013 Noel Johnson        0:30       0.50        0.00   $   319.00 $         159.50   $            -   for Bivens claim.
                                                                                                               NHJ- RS and R SCOTUS case law re Bivens and
  09/11/2013 Noel Johnson        0:48       0.80        0.00   $   319.00 $         255.20   $            -    qualified immunity.
                                                                                                              NHJ- Continue making travel plans for 9.19 trip to DC
  09/11/2013 Noel Johnson        0:54       0.90        0.90   $   319.00 $         287.10   $         287.10 with KLP; search and book flight for same.
                                                                                                              NHJ- Continue working on outline for legal memo on
  09/11/2013 Noel Johnson        1:00       1.00        0.00 $     319.00 $         319.00   $            -   Bivens claim.
  09/11/2013 Noel Johnson        1:06       1.10        1.10 $     319.00 $         350.90   $         350.90 NHJ- R appellate briefing in Davis v. Bullinton

  09/11/2013 Zachary Kester      0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 ZSK- C NHJ re "determine" in 7433 and 7428.
  09/12/2013 Kaylan Phillips     0:06       0.10        0.00 $     393.00   $        39.30   $            -    KLP- C NHJ re Bivens.
  09/12/2013 Kaylan Phillips     0:06       0.10        0.00 $     393.00   $        39.30   $            -    KLP- C NHJ re qualified immunity.
  09/12/2013 Kaylan Phillips     0:24       0.40        0.40 $     393.00   $       157.20   $         157.20 KLP- Email with Cath re hotel. R and book.
                                                                                                              KLP- Email with David Langdon and group re
  09/12/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $         157.20   $         157.20 conference call.

                                                                                                              KLP- R article re Lois Lerner's email calling tea party
  09/12/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $         157.20   $         157.20 groups "dangerous." Emails with team re sam
                                                                                                              NHJ- C KLP to discuss call with NorCal counsel and
  09/12/2013 Noel Johnson        0:06       0.10        0.00   $   319.00 $          31.90   $            -   qualified immunity issues.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 52 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                               NHJ- Begin drafting legal memo re analysis of Bivens
  09/12/2013 Noel Johnson        0:12       0.20        0.00   $   319.00 $          63.80   $            -    claim.

                                                                                                               NHJ- Download from PACER and review Motion to
  09/12/2013 Noel Johnson        1:06       1.10        0.00   $   319.00 $         350.90   $            -    Dismiss briefing in recent Bivens cases in DDC. (Bloe
                                                                                                               NHJ- R SCOTUS Bivens case law; shepardize same
  09/12/2013 Noel Johnson        2:00       2.00        0.00 $     319.00 $         638.00   $            -    and review results.
  09/13/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $          39.30   $          39.30 KLP- Email to NHJ re call today and next steps.
                                                                                                              KLP- Emails between CM and opposing counsel re
  09/13/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 meet and confer.
  09/13/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 KLP- R articles re Lois Lerner's emails.
  09/13/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00 $         117.90   $         117.90 KLP- Emails re call with NorCal lawyers today.
                                                                                                              KLP- Email from CM re Lois Lerner's email. R emails.
  09/13/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $         157.20   $         157.20 Save in folders.
                                                                                                              KLP- Prep for call with NorCal. R docket and pleadings.
  09/13/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00 $         235.80   $         235.80 Email team re same.
                                                                                                              KLP- Find congressional memos on 6103. Print and
  09/13/2013 Kaylan Phillips     0:42       0.70        0.00 $     393.00   $       275.10   $            -   organize in binder. R TOC.
  09/13/2013 Kaylan Phillips     0:42       0.70        0.70 $     393.00   $       275.10   $         275.10 KLP- Call with team re case updates and needs.
  09/13/2013 Kaylan Phillips     0:54       0.90        0.90 $     393.00   $       353.70   $         353.70 KLP- Call with NorCal lawyers and co-counsel.
  09/13/2013 Noel Johnson        0:06       0.10        0.10 $     319.00   $        31.90   $          31.90 NHJ- R Lois Lerner emails released by Congress.
                                                                                                              NHJ- RS re House Committee interviews with IRS
  09/13/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 employees.
                                                                                                               NHJ- RS and review case law denying Bivens claims
  09/13/2013 Noel Johnson        0:36       0.60        0.00   $   319.00 $         191.40   $            -    against IRS.
                                                                                                               KLP- Start in-depth review of congressional memos on
  09/15/2013 Kaylan Phillips     0:24       0.40        0.00 $     393.00   $       157.20   $            -    6103.
  09/16/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- C NHJ re evidence of defendant's activites.
  09/16/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- Emails re defendant matrix.
  09/16/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- Emails re meetings this week.

  09/16/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $          78.60   $          78.60 KLP- R litigation hold letters. Email Bill Davis re same.
                                                                                                              KLP- C NHJ re needs this week, conferences last week,
  09/16/2013 Kaylan Phillips     1:12       1.20        1.20   $   393.00 $         471.60   $         471.60 etc.
                                                                                                              NHJ- R docket for activity and R IRS' motion to dismiss
  09/16/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $          31.90   $          31.90 in CREW v. IRS




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Expenses adjusted for reimbursable and non-reimbursable.              Page 53 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            NHJ- RS re list of IRS employees interviewed by House
  09/16/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $       127.60   $         127.60 Oversight Committee; email to Cleta re same.
                                                                                                            NHJ- Continue working on legal memo re analysis of
  09/16/2013 Noel Johnson        0:36       0.60        0.00   $   319.00 $       191.40   $            -   Bivens claim.
                                                                                                            NHJ- Conference with KLP to discuss phone
                                                                                                            conferences with NorCal attorneys and weekly call with
  09/16/2013 Noel Johnson        1:12       1.20        1.20   $   319.00 $       382.80   $         382.80 le

                                                                                                            NHJ- Review available portions of IRS employee
  09/16/2013 Noel Johnson        1:18       1.30        1.30   $   319.00 $       414.70   $         414.70 interviews with House Committee counsel; take notes

                                                                                                            NHJ- Continue reviewing available portions of IRS
  09/16/2013 Noel Johnson        1:36       1.60        1.60   $   319.00 $       510.40   $         510.40 employee interviews with House Committee counsel;

  09/17/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- Email re meet and confer on Thursday. Calendar.
  09/17/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- Emails re litigation hold letters.
  09/17/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 KLP- Email with Cath re working space.
                                                                                                            KLP- Organize return receipts in folders. P AG receipt
  09/17/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 for filing.
                                                                                                            KLP- R notice re House hearing on how the IRS is
  09/17/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 operating post TIGTA report. Circulate to colleagu
  09/17/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00 $       117.90   $         117.90 KLP- C NHJ re defendant matrix and redactions.

                                                                                                            KLP- Email from CM re: recent article and document
  09/17/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 listing groups that were targeted. Review articl
                                                                                                            NHJ- C KLP to discuss redactions to IRS interview
  09/17/2013 Noel Johnson        0:06       0.10        0.10 $     319.00 $        31.90   $          31.90 transcripts.
  09/17/2013 Noel Johnson        0:12       0.20        0.20 $     319.00 $        63.80   $          63.80 NHJ- C KLP to discuss defendant matrix.

                                                                                                            NHJ- Continue reviewing testimony of IRS Screening
  09/17/2013 Noel Johnson        1:00       1.00        1.00   $   319.00 $       319.00   $         319.00 Manager; continue taking notes on same.
                                                                                                            NHJ- Continue drafting legal memo re analysis of
  09/17/2013 Noel Johnson        1:18       1.30        0.00   $   319.00 $       414.70   $            -   Bivens claim.

                                                                                                            NHJ- Continue reviewing testimony of IRS Screening
  09/17/2013 Noel Johnson        1:18       1.30        1.30   $   319.00 $       414.70   $         414.70 Manager; continue taking notes on same.
                                                                                                            KLP- C NHJ re list of targeted organizations and
  09/18/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 proposed schedule for SJ briefing.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 54 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
  09/18/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $          78.60   $          78.60 KLP- Emails re list of targeted organizations.
                                                                                                              KLP- Finalize remaining affidavits of service. Circulate
  09/18/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $         117.90   $         117.90 to team.
                                                                                                              KLP- Finalize and file affidavits of service. P mail
  09/18/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $         157.20   $         157.20 service.
                                                                                                              KLP- Email with team re proposed timeline. R
  09/18/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $         196.50   $         196.50 responses. Update.
                                                                                                              KLP- Emails re list of targeted organizations and next
  09/18/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $         196.50   $         196.50 steps.
                                                                                                              KLP- Draft email re proposed timeline for SJ briefing. R
  09/18/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00 $         235.80   $         235.80 rules and examples. C NHJ re same.
                                                                                                              NHJ- C KLP to discuss timeline for filing of
  09/18/2013 Noel Johnson        0:12       0.20        0.20 $     319.00 $          63.80   $          63.80 administrative record and SJ motions.
  09/18/2013 Noel Johnson        0:18       0.30        0.30 $     319.00 $          95.70   $          95.70 NHJ- RS re legislative history of 26 USC 7428.
                                                                                                              NHJ- P service mailing for defendant David Fish for
  09/18/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $         127.60   $         127.60 latest affidavits of service; drive to post off
                                                                                                              NHJ- R IRS list of targeted groups; email
                                                                                                              correspondence with legal team re same; conference
  09/18/2013 Noel Johnson        0:36       0.60        0.60   $   319.00 $         191.40   $         191.40 KLP to

                                                                                                              NHJ- R House Ways and Mean Committee Memo of
  09/18/2013 Noel Johnson        0:42       0.70        0.70   $   319.00 $         223.30   $         223.30 Sept. 17th summarizing current status of IRS investiga
                                                                                                              NHJ- Continue drafting legal memo on analysis of
  09/18/2013 Noel Johnson        1:06       1.10        0.00   $   319.00 $         350.90   $            -   Bivens claim.
                                                                                                               NHJ- Continue drafting legal memo on analysis of
  09/18/2013 Noel Johnson        1:18       1.30        0.00 $     319.00   $       414.70   $            -    Bivens claim.
  09/19/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- C call with litigation team.
  09/19/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- C call with opposing counsel.
  09/19/2013 Kaylan Phillips     0:30       0.50        0.50 $     393.00   $       196.50   $         196.50 KLP- C call with litigation team.
                                                                                                              KLP- C with ML and CM to prep for tomorrow's
  09/19/2013 Kaylan Phillips     1:48       1.80        1.80   $   393.00 $         707.40   $         707.40 meetings.

  09/19/2013 Kaylan Phillips     2:00       2.00        2.00 $     393.00   $       786.00   $         786.00 KLP- RS legislative history at Library of Congress.
  09/19/2013 Kaylan Phillips     4:00       4.00        4.00 $     196.50   $       786.00   $         786.00 KLP- Travel to DC and to Foley offices.
  09/19/2013 Noel Johnson        0:12       0.20        0.20 $     319.00   $        63.80   $          63.80 NHJ- Conference call with DOJ attorneys.
  09/19/2013 Noel Johnson        0:30       0.50        0.50 $     319.00   $       159.50   $         159.50 NHJ- Conference call with litigation team.
                                                                                                              NHJ- Conference with Mike Lockerby and Cleta Mitchell
  09/19/2013 Noel Johnson        1:48       1.80        1.80   $   319.00 $         574.20   $         574.20 to prep for tomorrow's meeting.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 55 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            NHJ- Travel to Library of Congress and conduct re
  09/19/2013 Noel Johnson        2:00       2.00        2.00 $     159.50 $       319.00   $         319.00 legislatvie history of 26 USC 7433 (Bivens)
  09/19/2013 Noel Johnson        4:00       4.00        4.00 $     159.50 $       638.00   $         638.00 NHJ- Travel to DC and to Foley offices.
  09/20/2013 Kaylan Phillips     0:24       0.40        0.40 $     393.00 $       157.20   $         157.20 KLP- ECF notice re MTD. Emails re same.
                                                                                                            KLP- PC with CM, NHJ, and ML re individual
  09/20/2013 Kaylan Phillips     0:30       0.50        0.00   $   393.00 $       196.50   $            -   defendants.
                                                                                                             KLP- Meetings with legal team in DC re individual
  09/20/2013 Kaylan Phillips     3:00       3.00        0.00 $     393.00 $     1,179.00   $            -    defendants.
  09/20/2013 Kaylan Phillips     3:30       3.50        3.50 $     393.00 $     1,375.50   $       1,375.50 KLP- Travel home.
  09/20/2013 Noel Johnson        0:12       0.20        0.10 $     319.00 $        63.80   $          31.90 NHJ- Email correspondence re Motion to Dismiss.
                                                                                                            NHJ- PC with CM, ML, and KLP re individual
  09/20/2013 Noel Johnson        0:30       0.50        0.00   $   319.00 $       159.50   $            -   defendants.
                                                                                                            NHJ- Meetings with legal team in DC re individual
  09/20/2013 Noel Johnson        3:00       3.00        0.00   $   319.00 $       957.00   $            -   defendants.
                                                                                                            KLP- R opposition to extension of time, send
  09/22/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $       157.20   $         157.20 comments.
                                                                                                            KLP- R MTD, draft email to team re comments. Email
  09/22/2013 Kaylan Phillips     0:48       0.80        0.60 $     393.00 $       314.40   $         235.80 with team re call tomorrow.
  09/22/2013 Noel Johnson        4:00       4.00        4.00 $     159.50 $       638.00   $         638.00 NHJ- Travel back to Indianapolis.
             Joseph
  09/23/2013 Vanderhulst         1:00       1.00        0.70   $   393.00 $       393.00   $         275.10 JAV- R motion to dismiss, prep for PC.
             Joseph
  09/23/2013 Vanderhulst         1:30       1.50        1.00   $   393.00 $       589.50   $         393.00 JAV- PC litigation team re MTD, c KLP and NHJ.
             Joseph                                                                                         JAV- R rest of MTD, work on arguments, c re plan, R
  09/23/2013 Vanderhulst         1:30       1.50        1.00   $   393.00 $       589.50   $         393.00 ems re plan/arguments.
                                                                                                            KLP- ECF notice re filing opposition to motion for
  09/23/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $        39.30   $          39.30 extension.

  09/23/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $        39.30   $          39.30 KLP- Email from Cath re unsuccessful mail delivery.

  09/23/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 KLP- Email with colleagues re attorneys fees statute.
  09/23/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 KLP- Emails re opposition to motion for extension.
                                                                                                            KLP- R article re Lois Lerner retiring. Email with
  09/23/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 colleagues re same.
  09/23/2013 Kaylan Phillips     0:18       0.30        0.00 $     393.00 $       117.90   $            -    KLP- Email with CM re 7431 arguments.

  09/23/2013 Kaylan Phillips     0:18       0.30        0.00 $     393.00 $       117.90   $            -    KLP- R MTD, work on how to break up 7431 responses.
  09/23/2013 Kaylan Phillips     0:18       0.30        0.20 $     393.00 $       117.90   $          78.60 KLP- Emails re call re MTD. Prep for call.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 56 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
  09/23/2013 Kaylan Phillips     0:24       0.40        0.00 $     393.00 $         157.20   $            -    KLP- C NHJ re 7431 claim.
  09/23/2013 Kaylan Phillips     0:30       0.50        0.00 $     393.00 $         196.50   $            -    KLP- C NHJ re responding to 7431 arguments.
                                                                                                              KLP- Work on opposition to motion for extension of
  09/23/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00 $         235.80   $         235.80 time. R rules. Email with CM re same.

                                                                                                              KLP- Conference call with team re: response to motion
  09/23/2013 Kaylan Phillips     1:30       1.50        1.00 $     393.00 $         589.50   $         393.00 to dismiss. Conference with MG, NHJ, and JAV
  09/23/2013 Noel Johnson        0:06       0.10        0.00 $     319.00 $          31.90   $            -    NHJ- Continue reviewing DOJ Motion to Dismiss.

                                                                                                               NHJ- R email correspondence re Internal Revenue
  09/23/2013 Noel Johnson        0:06       0.10        0.00 $     319.00 $          31.90   $            -    Manual portions concerning 7431 actions.
  09/23/2013 Noel Johnson        0:12       0.20        0.20 $     319.00 $          63.80   $          63.80 NHJ- Discuss meetings in DC with ZSK.
                                                                                                              NHJ- PC with Matt Gutierrez re APA claims/arguments
  09/23/2013 Noel Johnson        0:18       0.30        0.00 $     319.00 $          95.70   $            -   (opp. to MTD)
  09/23/2013 Noel Johnson        0:24       0.40        0.00 $     319.00 $         127.60   $            -    NHJ- C KLP re Sec. 7431.

                                                                                                               NHJ- Continue legal research re 6103 pleading
  09/23/2013 Noel Johnson        0:24       0.40        0.00   $   319.00 $         127.60   $            -    standard; begin drafting portion of oppositioni to MT
                                                                                                              NHJ- Legal research re: time to file responsive pleading
  09/23/2013 Noel Johnson        0:24       0.40        0.40 $     319.00   $       127.60   $         127.60 for opposition to motion for extension by
  09/23/2013 Noel Johnson        0:30       0.50        0.00 $     319.00   $       159.50   $            -    NHJ- C KLP re responding to 7431 arguments.
  09/23/2013 Noel Johnson        0:30       0.50        0.40 $     319.00   $       159.50   $         127.60 NHJ- R DOJ Motion to Dismiss.
  09/23/2013 Noel Johnson        1:00       1.00        0.00 $     319.00   $       319.00   $            -    NHJ- LR re 6103 pleading standard (7431 claim)

                                                                                                               NHJ- Continue legal research re: 6103 pleading
  09/23/2013 Noel Johnson        1:18       1.30        0.00   $   319.00 $         414.70   $            -    standard; begin drafting portion of opposition to MT

                                                                                                              NHJ- Phone conference with legal team re: responding
  09/23/2013 Noel Johnson        1:30       1.50        1.00   $   319.00 $         478.50   $         319.00 to DOJ Motion to Dismiss; Phone conference wit

  09/23/2013 Zachary Kester      0:18       0.30        0.20   $   393.00 $         117.90   $          78.60 ZSK- R Mtn to dismiss; C KLP re same.

             Joseph                                                                                           JAV- RS, work on mootness arguments, r ems
  09/24/2013 Vanderhulst         2:00       2.00        2.00 $     393.00   $       786.00   $         786.00 throughout day, r proposed order. C with NHJ re same.
  09/24/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- R news articles re tax-exempt status.
  09/24/2013 Kaylan Phillips     0:12       0.20        0.00 $     393.00   $        78.60   $            -    KLP- Emails re 7431 claims, respond.
  09/24/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- C NHJ re sources needed.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 57 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                    1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
  09/24/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 KLP- Emails re mootness.
                                                                                                            KLP- Emails er proposed motion. R proposed motion
  09/24/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 and respond.
                                                                                                            KLP- Emails re re-filing motion. C with NHJ re same.
  09/24/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 Email re service copy.
                                                                                                            KLP- R NHJ's draft re pleading standard. Make
  09/24/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $       196.50   $         196.50 comments. Send.
                                                                                                            KLP- Work on 7431 claims. Chat with NHJ re sources
  09/24/2013 Kaylan Phillips     0:48       0.80        0.00   $   393.00 $       314.40   $            -   needed.
                                                                                                            NHJ- Make edits to draft Joint Order re Count I; email
  09/24/2013 Noel Johnson        0:12       0.20        0.00   $   319.00 $        63.80   $            -   correspondence with legal team re same.

  09/24/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $        63.80   $          63.80 NHJ- C KLP re sources, find and send documents.
                                                                                                            NHJ- C JAV to discuss arguments re 6103 for opp. to
  09/24/2013 Noel Johnson        0:18       0.30        0.00   $   319.00 $        95.70   $            -   MTD.
                                                                                                            NHJ- C JAV to discuss extension of time to oppose
  09/24/2013 Noel Johnson        0:18       0.30        0.20   $   319.00 $        95.70   $          63.80 MTD; emails to MG and CM re same.
                                                                                                            NHJ- Email correspondence re filing error; call clerk re
  09/24/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 same; refile opposition to motion for exte
                                                                                                            NHJ- Email correspondence with legal team re AIA and
  09/24/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 mootness.
                                                                                                            NHJ- Proofread, finalize, and file opposition to motion
  09/24/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 for extension by individual defendants.

  09/24/2013 Noel Johnson        0:30       0.50        0.40   $   319.00 $       159.50   $         127.60 NHJ- Continue work on opposition to motion to dismiss.

                                                                                                            NHJ- Legal research re: attorney fees under 26 USC
  09/24/2013 Noel Johnson        0:36       0.60        0.60   $   319.00 $       191.40   $         191.40 7430 and requirements of 26 USC 509; email to CM

                                                                                                             NHJ- Continue work on opposition to motion to dismiss
  09/24/2013 Noel Johnson        1:06       1.10        0.00   $   319.00 $       350.90   $            -    (7431 claim); legal research re: 6103 and “re

                                                                                                             NHJ-Continue work on opposition to motion to dismiss
  09/24/2013 Noel Johnson        1:24       1.40        0.00   $   319.00 $       446.60   $            -    (7431 claim); continue legal research re: 6103

  09/24/2013 Noel Johnson        1:48       1.80        1.30   $   319.00 $       574.20   $         414.70 NHJ- Continue work on opposition to motion to dismiss.

             Joseph                                                                                         JAV- R complaint/arguments, r cases and law, outline
  09/25/2013 Vanderhulst         8:00       8.00        8.00 $     393.00 $     3,144.00   $       3,144.00 mootness section, r ems. C NHJ re arguments.
  09/25/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- ECF notice re defendants' extension.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 58 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
  09/25/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $          39.30   $          39.30 KLP- ECF notice re notice of appearance.
                                                                                                              KLP- Emails re Steptoe's response to litigation hold
  09/25/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 letters.
  09/25/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 KLP- Emails re tax-exempt status letter.
  09/25/2013 Kaylan Phillips     0:24       0.40        0.30 $     393.00 $         157.20   $         117.90 KLP- Email with colleagues re responseto MTD.
                                                                                                              KLP- Continue reviewing congressional memos on
  09/25/2013 Kaylan Phillips     0:30       0.50        0.00   $   393.00 $         196.50   $            -   6103.
  09/25/2013 Kaylan Phillips     1:00       1.00        0.00   $   393.00 $         393.00   $            -    KLP- Online LR for 7431 claim.
                                                                                                               NHJ- R and incorporate KLP's suggestions for
  09/25/2013 Noel Johnson        0:06       0.10        0.00 $     319.00 $          31.90   $            -    opposition to MTD
  09/25/2013 Noel Johnson        0:06       0.10        0.10 $     319.00 $          31.90   $          31.90 NHJ- Discuss mootness arguments with JAV.
                                                                                                              NHJ- G-chat conference with KLP re copies of certified
  09/25/2013 Noel Johnson        0:06       0.10        0.10 $     319.00 $          31.90   $          31.90 mail receipts for David Fish.
  09/25/2013 Noel Johnson        0:12       0.20        0.20 $     319.00 $          63.80   $          63.80 NHJ- C JAV re arguments for opposition.
                                                                                                              NHJ- PC with MG to discuss response to motion to
  09/25/2013 Noel Johnson        0:18       0.30        0.20   $   319.00 $          95.70   $          63.80 dismiss re coutns II and V.
                                                                                                              NHJ- P service copy for David Fish; drive to post office
  09/25/2013 Noel Johnson        0:24       0.40        0.40 $     319.00 $         127.60   $         127.60 and mail same.
  09/25/2013 Noel Johnson        0:36       0.60        0.40 $     319.00 $         191.40   $         127.60 NHJ- Continue drafting opposition to MTD

  09/25/2013 Noel Johnson        2:00       2.00        2.00   $   319.00 $         638.00   $         638.00 NHJ- Continue RS for and drafting oppositions to MTD

  09/25/2013 Noel Johnson        2:18       2.30        2.00   $   319.00 $         733.70   $         638.00 NHJ- Continue RS for and drafting opposition to MTD
             Joseph                                                                                           JAV- Work on mootness section draft, confs re other
  09/26/2013 Vanderhulst         3:00       3.00        3.00 $     393.00 $       1,179.00   $       1,179.00 arguments.
  09/26/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $          39.30   $          39.30 KLP- Email from NHJ re call today.
                                                                                                              KLP- ECF notice re amended MTD. Email with NHJ re
  09/26/2013 Kaylan Phillips     0:12       0.20        0.10 $     393.00   $        78.60   $          39.30 same.
  09/26/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- ECF notice and email re hearing today.
  09/26/2013 Noel Johnson        0:06       0.10        0.10 $     319.00   $        31.90   $          31.90 NHJ- C JAV to discuss mootness and Count V.
  09/26/2013 Noel Johnson        0:06       0.10        0.10 $     319.00   $        31.90   $          31.90 NHJ- P email to KLP re above conference call.
                                                                                                              NHJ- R order in incapacity of defendant David Fish; R
  09/26/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $          31.90   $          31.90 email from CM re same.
                                                                                                              NHJ- Update information for pro hac applications; email
  09/26/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $         127.60   $         127.60 correspondence with Cath Kidwell re same.
                                                                                                              NHJ- R email from MG re AIA and Cohen; discuss
  09/26/2013 Noel Johnson        0:30       0.50        0.50   $   319.00 $         159.50   $         159.50 same with JAV; P reply email.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 59 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                    1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                             NHJ- Continue RS re "authorized inspections" and
  09/26/2013 Noel Johnson        1:06       1.10        0.00   $   319.00 $       350.90   $            -    continue drafting opposition to MTD.
                                                                                                            NHJ- Create pro hac admission applications for all
  09/26/2013 Noel Johnson        1:06       1.10        1.10 $     319.00 $       350.90   $         350.90 attorneys; email correspondence re same.
  09/26/2013 Noel Johnson        1:18       1.30        0.90 $     319.00 $       414.70   $         287.10 NHJ- Continue drafting opposition to MTD.
             Joseph
  09/27/2013 Vanderhulst         1:00       1.00        1.00   $   393.00 $       393.00   $         393.00 JAV- Confs and ems re deadline/extension.
             Joseph                                                                                         JAV- Weekly call re case and response briefing. C with
  09/27/2013 Vanderhulst         1:00       1.00        1.00   $   393.00 $       393.00   $         393.00 NHJ and MG re AIA arguments.
             Joseph                                                                                         JAV- Work on mootness section. C with NHJ re
  09/27/2013 Vanderhulst         3:00       3.00        3.00 $     393.00 $     1,179.00   $       1,179.00 "voluntary cessation" argument.
  09/27/2013 Kaylan Phillips     0:12       0.20        0.10 $     393.00 $        78.60   $          39.30 KLP- Emails re schedule for MTD briefing.

  09/27/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 KLP- Emails from team re case updates and filings.
                                                                                                            NHJ- C JAV re briefing schedule for responses to
  09/27/2013 Noel Johnson        0:06       0.10        0.00   $   319.00 $        31.90   $            -   MTDs.
                                                                                                            NHJ- C JAV to discuss "voluntary cessation" and 7431
  09/27/2013 Noel Johnson        0:12       0.20        0.10   $   319.00 $        63.80   $          31.90 arguments for opp. to MTD.
                                                                                                            NHJ- LR re effect of motion to amend/correct MTD;
  09/27/2013 Noel Johnson        0:12       0.20        0.10   $   319.00 $        63.80   $          31.90 email correspondence re same.
                                                                                                            NHJ- Email correpondences with legal team re
  09/27/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 proposed briefing schedule.

                                                                                                            NHJ- PC with CM and Cath Kidwell re filing clarification
  09/27/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 to response to motion for extension; email
                                                                                                            NHJ- PC with MG and JAV re anti injunction act
  09/27/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 arguments for opposition to MTD.
  09/27/2013 Noel Johnson        0:30       0.50        0.50   $   319.00 $       159.50   $         159.50 NHJ- Continue drafting opposition to MTD.
                                                                                                            NHJ- Weekly conference call with legal team; discuss
  09/27/2013 Noel Johnson        0:42       0.70        0.70 $     319.00 $       223.30   $         223.30 proposed briefing schedule with JAV.
  09/27/2013 Noel Johnson        1:00       1.00        0.70 $     319.00 $       319.00   $         223.30 NHJ- Continue drafting opposition to MTD.

  09/28/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 KLP- Email with NHJ re deadline for response to MTD.
             Joseph
  09/30/2013 Vanderhulst         0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 JAV- R emails over weekend re deadline and filing.
             Joseph                                                                                         JAV- R ems re agreed schedule, help prep joing
  09/30/2013 Vanderhulst         1:00       1.00        1.00   $   393.00 $       393.00   $         393.00 motion.
             Joseph
  09/30/2013 Vanderhulst         2:00       2.00        2.00   $   393.00 $       786.00   $         786.00 JAV- Work on mootness section draft.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 60 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                    1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            KLP- Emails from Nor Cal counsel re: MTD filed in their
  09/30/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 case
  09/30/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 KLP- Emails re deadline.
  09/30/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00 $       117.90   $         117.90 KLP- Emails re: joint motion for scheduling

                                                                                                            NHJ- Discuss Judge Walton's general orders re motion
  09/30/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 for extension with JAV; email to legal team re

                                                                                                            NHJ- Email correspondence with legal team re
  09/30/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 proposed briefing schedule and call to Judge Walton's

                                                                                                            NHJ- R local rules re extensions; call to Judge Walton's
  09/30/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $       127.60   $         127.60 chambers re supplement to MTD; P email to

                                                                                                            NHJ- R local and chamber rules; draft Joint Proposed
  09/30/2013 Noel Johnson        2:42       2.70        2.70 $     319.00 $       861.30   $         861.30 Briefing Schedule on Motions to Dismiss and pr
  10/01/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- C NHJ re case needs.
                                                                                                            NHJ- C KLP and JAV to discuss joint motion for
  10/01/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 extension.
                                                                                                            NHJ- Begin reviewing MG's portion of opp. to MTD re
  10/01/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $        63.80   $          63.80 Count II.
                                                                                                            NHJ- P mailing for service of joint briefing schedule;
  10/01/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 drive to post office to mail same.
             Joseph
  10/02/2013 Vanderhulst         0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 JAV- Help with extension motion, r.
             Joseph                                                                                         JAV- R ems re extension, conference call, progress on
  10/02/2013 Vanderhulst         0:42       0.70        0.70 $     393.00 $       275.10   $         275.10 MTD response.
  10/02/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- ECF notice re consent motion.

  10/02/2013 Kaylan Phillips     0:30       0.50        0.20   $   393.00 $       196.50   $          78.60 KLP- Emails re motion needed today. C NHJ re same.
                                                                                                            NHJ- Continue reviewing MG's portion of opp. to MTD
  10/02/2013 Noel Johnson        0:06       0.10        0.00   $   319.00 $        31.90   $            -   re Count II and Count V.

  10/02/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 NHJ- R DOJ motion to dismiss filed in NorCal action.
                                                                                                            NHJ- PC with CM re changes to motion for extension;
  10/02/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 file same.
                                                                                                            NHJ- P mailing service of motion of extension for David
  10/02/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $       127.60   $         127.60 Fish; drive to post office and mail same.




* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 61 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                    1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            NHJ- Continue drafting motion for extension; discuss
  10/02/2013 Noel Johnson        0:42       0.70        0.70   $   319.00 $       223.30   $         223.30 same with JAV; circulate for review to legal t

                                                                                                            NHJ- Review CM’s changes to motion for extension and
  10/02/2013 Noel Johnson        0:48       0.80        0.80   $   319.00 $       255.20   $         255.20 make additional edits per CM’s request; resear
                                                                                                            NHJ- Email correspondence with legal team re motion
  10/02/2013 Noel Johnson        1:24       1.40        1.40   $   319.00 $       446.60   $         446.60 for extension; begin drafting same.
             Joseph
  10/04/2013 Vanderhulst         0:36       0.60        0.40 $     393.00 $       235.80   $         157.20 JAV- C call re MTD, etc, r timeline.
  10/04/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- ECF notice re deadline reset.
                                                                                                            KLP- C NHJ to prep for weekly conference call with
  10/04/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 legal team.
                                                                                                            KLP- Email with drafting team re timeline. Create
  10/04/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 timeline for rest of briefing schedule. Email wit
                                                                                                            KLP- Weekly call with CM, MG, JAV, and NHJ. C JAV
  10/04/2013 Kaylan Phillips     0:36       0.60        0.40   $   393.00 $       235.80   $         157.20 and NHJ re timeline for opp to MTD.
                                                                                                            NHJ- R legislative history of 26 USC 7433 (Bivens
  10/04/2013 Noel Johnson        0:18       0.30        0.00   $   319.00 $        95.70   $            -   claim)
                                                                                                            NHJ- C KLP to prep for weekly conference call with
  10/04/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 legal team.
                                                                                                             NHJ- Continue working on legal memorandum of
  10/04/2013 Noel Johnson        0:24       0.40        0.00   $   319.00 $       127.60   $            -    Bivens claims.

                                                                                                            NHJ- Weekly conference call with legal team;
  10/04/2013 Noel Johnson        0:36       0.60        0.40   $   319.00 $       191.40   $         127.60 discussions with KLP and JAV re timeline for op to MTD
                                                                                                            NHJ- Continue reviewing legislative history of 26 USC
  10/04/2013 Noel Johnson        1:06       1.10        0.00   $   319.00 $       350.90   $            -   7433 (Bivens claim)
                                                                                                            NHJ- Continue working on legal memorandum of
  10/04/2013 Noel Johnson        1:30       1.50        0.00   $   319.00 $       478.50   $            -   Bivens claims.
             Joseph
  10/07/2013 Vanderhulst         0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 JAV- C KLP and NHJ re MTD drafting, schedule.
                                                                                                            KLP- News articles re IRS employees using personal
  10/07/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $        39.30   $          39.30 email.

  10/07/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 KLP- Call to IU Law Library re access to database.
  10/07/2013 Kaylan Phillips     0:18       0.30        0.00 $     393.00 $       117.90   $            -    KLP- C NHJ re MTD arguments. (7431)
  10/07/2013 Kaylan Phillips     0:18       0.30        0.20 $     393.00 $       117.90   $          78.60 KLP- C JAV and NHJ re RS needs for MTD.
                                                                                                            KLP- Email with JAV and NHJ re: proposed internal
  10/07/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 briefing schedule. Email to CM re: same.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 62 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                         1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              NHJ- R proposed internal brief drafting schedule and
  10/07/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $          31.90   $          31.90 discuss same with KLP.
                                                                                                              NHJ- C KLP re needs for 7431 claims section of
  10/07/2013 Noel Johnson        0:18       0.30        0.00   $   319.00 $          95.70   $            -   opposition to MTD.
                                                                                                              NHJ- C KLP and JAV re RS needs for opposition to
  10/07/2013 Noel Johnson        0:18       0.30        0.20   $   319.00 $          95.70   $          63.80 MTD.

  10/07/2013 Noel Johnson        0:36       0.60        0.00   $   319.00 $         191.40   $            -    NHJ- Continue drafting opposition to MTD. (7431 claim)
                                                                                                               NHJ- Continue reviewing legislative history of Sec. 7433
  10/07/2013 Noel Johnson        0:42       0.70        0.00   $   319.00 $         223.30   $            -    (Bivens claim)
             Joseph
  10/08/2013 Vanderhulst         1:00       1.00        1.00 $     393.00   $       393.00   $         393.00 JAV- Work on drafting/revising mootness section.
  10/08/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Organize documents for briefing.
  10/08/2013 Kaylan Phillips     0:18       0.30        0.00 $     393.00   $       117.90   $            -    KLP- C NHJ re 7431 inspection claims.
  10/08/2013 Kaylan Phillips     0:18       0.30        0.00 $     393.00   $       117.90   $            -    KLP- C with NHJ re TTV MTD. (6103)
  10/08/2013 Kaylan Phillips     0:30       0.50        0.00 $     393.00   $       196.50   $            -    KLP- R section 7431. Make comments.

                                                                                                               NHJ- R and incorporate KLP's suggestions for opp. to
  10/08/2013 Noel Johnson        1:24       1.40        0.00   $   319.00 $         446.60   $            -    MTD (7431 claim); c with KLP to discuss same.
                                                                                                               NHJ- Continue RS re authorized
                                                                                                               inspections/disclosures under 6103/ continue drafting
  10/08/2013 Noel Johnson        1:54       1.90        0.00   $   319.00 $         606.10   $            -    and editing op
             Joseph
  10/09/2013 Vanderhulst         0:12       0.20        0.20   $   393.00 $          78.60   $          78.60 JAV- Help with legislative history files sharing.
             Joseph                                                                                           JAV- R arguments for mootness section, r notes from
  10/09/2013 Vanderhulst         0:30       0.50        0.50   $   393.00 $         196.50   $         196.50 calls.
             Joseph                                                                                           JAV- R em and attachments re personal em, r ems re
  10/09/2013 Vanderhulst         0:30       0.50        0.50 $     393.00 $         196.50   $         196.50 internal schedule.
  10/09/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $          39.30   $          39.30 KLP- Email re internal briefing schedule.
                                                                                                              KLP- C NHJ re statute re investigation/examination
  10/09/2013 Kaylan Phillips     0:12       0.20        0.00 $     393.00 $          78.60   $            -   limits. (7605)
  10/09/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 KLP- P to go to the library for RS.

                                                                                                              KLP- R news articles re emails to White House. R and
  10/09/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $         117.90   $         117.90 save emails. Draft email to co-counsel re same

  10/09/2013 Kaylan Phillips     0:48       0.80        0.80   $   393.00 $         314.40   $         314.40 KLP- Save and organize legislative history documents.
                                                                                                              KLP- Travel to IU-Indy law library. RS legislative history
  10/09/2013 Kaylan Phillips     2:12       2.20        2.20   $   196.50 $         432.30   $         432.30 for "Taxpayer Browsing Protection Act."

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 63 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                               NHJ- Check docket for activity in recent Bivens actions
  10/09/2013 Noel Johnson        0:06       0.10        0.00 $     319.00 $          31.90   $            -    in DC courts.
  10/09/2013 Noel Johnson        0:12       0.20        0.00 $     319.00 $          63.80   $            -    NHJ- C KLP re scope of 26 USC 7605(b)
                                                                                                              NHJ- R legislative history of 26 USC 7433- HR
  10/09/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 Conference Report.

  10/09/2013 Noel Johnson        0:18       0.30        0.00   $   319.00 $          95.70   $            -    NHJ- R Dema v. Feddor re scope of 26 USC 7605 (b)
                                                                                                               NHJ- R revenue rulings and case law interpreting 26
  10/09/2013 Noel Johnson        0:18       0.30        0.00   $   319.00 $          95.70   $            -    USC 7605(b)

                                                                                                              NHJ- R emails and news re emails between defendant
  10/09/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 Fish and White House; conference with KLP to dis
                                                                                                              NHJ- RS re classification of exemption application
  10/09/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 process as investigation.
                                                                                                              NHJ- RS case law re legislative history of remedies
  10/09/2013 Noel Johnson        0:42       0.70        0.70   $   319.00 $         223.30   $         223.30 available in IRC.

                                                                                                               NHJ- Review Am. Law Report re: construction and
  10/09/2013 Noel Johnson        1:00       1.00        0.00   $   319.00 $         319.00   $            -    application of 26 USC § 7605(b) – unnecessary inves
                                                                                                              NHJ- Travel to IUPUI law library and conduct legislative
  10/09/2013 Noel Johnson        2:12       2.20        2.20   $   159.50 $         350.90   $         350.90 history RS.
             Joseph                                                                                           JAV- Draft and RV mootness section, outline of
  10/10/2013 Vanderhulst         1:30       1.50        1.50   $   393.00 $         589.50   $         589.50 arguments; c with KLP re same.
             Joseph
  10/10/2013 Vanderhulst         2:30       2.50        2.50 $     393.00   $       982.50   $         982.50 JAV- Update mootness section RS and arguments.
  10/10/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Email from WD re schedule.
  10/10/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- R invoice from Capital Process.
  10/10/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00   $       117.90   $         117.90 KLP- C NHJ re schedule. R emails re same.
  10/10/2013 Kaylan Phillips     0:30       0.50        0.00 $     393.00   $       196.50   $            -    KLP- C NHJ re opposition draft. (7431)

  10/10/2013 Kaylan Phillips     0:30       0.50        0.50 $     393.00 $         196.50   $         196.50 KLP- C NHJ and JAV re mootness. (2 separate c's)
  10/10/2013 Kaylan Phillips     0:42       0.70        0.00 $     393.00 $         275.10   $            -    KLP- Online RS re 7431. Save cases.
                                                                                                              KLP- Review legislative history of “Taxpayer Browsing
  10/10/2013 Kaylan Phillips     1:36       1.60        1.60   $   393.00 $         628.80   $         628.80 Protection Act.” Add quotes to section.
                                                                                                              KLP- Continue reviewing legislative history of "Taxpayer
  10/10/2013 Kaylan Phillips     1:42       1.70        1.70   $   393.00 $         668.10   $         668.10 Browsing Protection Act."
                                                                                                              NHJ- Discuss capable of repetition, yet evading
  10/10/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $          31.90   $          31.90 analysis with KLP and JAV.



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Expenses adjusted for reimbursable and non-reimbursable.              Page 64 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              NHJ- Discuss CM's request for division of labor write-up
  10/10/2013 Noel Johnson        0:12       0.20        0.20   $   319.00 $          63.80   $          63.80 with KLP; draft same; email correspondence
                                                                                                              NHJ- C KLP to discuss arguments for opp. to MTD
  10/10/2013 Noel Johnson        0:30       0.50        0.00   $   319.00 $         159.50   $            -   (7431 claim)
                                                                                                               NHJ- Continue reviewing case law interpreting and
  10/10/2013 Noel Johnson        1:06       1.10        0.00   $   319.00 $         350.90   $            -    applying Sec. 7605(b) (7431 claim)
                                                                                                               NHJ- Make edits and additions to opp. to MTD (7431
  10/10/2013 Noel Johnson        1:12       1.20        0.00   $   319.00 $         382.80   $            -    claim)
             Joseph
  10/11/2013 Vanderhulst         0:18       0.30        0.30   $   393.00 $         117.90   $         117.90 JAV- Finalize and send moot section for review.
             Joseph
  10/11/2013 Vanderhulst         1:12       1.20        1.20   $   393.00 $         471.60   $         471.60 JAV- Litigation call to discuss arguments and drafting.
                                                                                                              KLP- Email from JAV re mootness. Send to NHJ with
  10/11/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $          39.30   $          39.30 instructions to compile parts of brief.
                                                                                                              KLP- Email with drafting team re brief. C with NHJ re
  10/11/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $          39.30   $          39.30 same.

  10/11/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $          39.30   $          39.30 KLP- Email with litigation team re internal schedule.
  10/11/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 KLP- C JAV re attorneys fees arguments.
  10/11/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 KLP- Emails re division of labor.
                                                                                                              KLP- R outline of issues. Make changes and send to
  10/11/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 NHJ.
  10/11/2013 Kaylan Phillips     0:48       0.80        0.60 $     393.00   $       314.40   $         235.80 KLP- Work on response to MTD.
  10/11/2013 Kaylan Phillips     1:12       1.20        0.80 $     393.00   $       471.60   $         314.40 KLP- Work on response to MTD.
  10/11/2013 Kaylan Phillips     1:12       1.20        1.20 $     393.00   $       471.60   $         471.60 KLP- Weekly call with team.
  10/11/2013 Kaylan Phillips     1:30       1.50        1.00 $     393.00   $       589.50   $         393.00 KLP- Continue working on response to MTD.

                                                                                                               NHJ- C KLP to discuss needs for combining sections of
  10/11/2013 Noel Johnson        0:06       0.10        0.00   $   319.00 $          31.90   $            -    opp to MTD and various arguments made therein
                                                                                                              NHJ- Continue revising opp. to MTD per suggestions at
  10/11/2013 Noel Johnson        0:30       0.50        0.40   $   319.00 $         159.50   $         127.60 weekly call.
                                                                                                              NHJ- R and provide suggestions to JAV's section of
  10/11/2013 Noel Johnson        0:36       0.60        0.40   $   319.00 $         191.40   $         127.60 opp. to MTD.
  10/11/2013 Noel Johnson        0:36       0.60        0.40   $   319.00 $         191.40   $         127.60 NHJ- R MG's revised draft of opposition to MTD.
                                                                                                              NHJ- Continue RS re pleading standard and RV draft of
  10/11/2013 Noel Johnson        0:54       0.90        0.60   $   319.00 $         287.10   $         191.40 opposition to MTD.




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Expenses adjusted for reimbursable and non-reimbursable.              Page 65 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              NHJ- Review drafts to date and MTD; create more
  10/11/2013 Noel Johnson        0:54       0.90        0.60 $     319.00 $         287.10   $         191.40 detailed outline of legal issues being addressed an
  10/11/2013 Noel Johnson        1:12       1.20        0.80 $     319.00 $         382.80   $         255.20 NHJ- Weekly PC with legal team re opp. to MTD.

                                                                                                              ZSK- R locl rule for w/d; D notice of same and look at
  10/12/2013 Zachary Kester      0:30       0.50        0.50   $   393.00 $         196.50   $         196.50 filing rule; PC NHJ re same; email NHJ re sa
                                                                                                              KLP- Combine the four drafts (Noel, Mathew, Joe, and
  10/13/2013 Kaylan Phillips     1:00       1.00        1.00 $     393.00 $         393.00   $         393.00 mine) into one draft. Standardize formatting.
  10/14/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $          39.30   $          39.30 KLP- C NHJ re splitting up draft.

  10/14/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $          39.30   $          39.30 KLP- Email from MG re appealing to federal circuit.
                                                                                                              KLP- C NHJ re combing sections of draft opposition to
  10/14/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 MTD.
  10/14/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- Emails re draft.
  10/14/2013 Kaylan Phillips     0:18       0.30        0.20 $     393.00   $       117.90   $          78.60 KLP- Work on brief.
  10/14/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00   $       117.90   $         117.90 KLP- C with NHJ re mootness.
  10/14/2013 Kaylan Phillips     0:42       0.70        0.70 $     393.00   $       275.10   $         275.10 KLP- C NHJ re mootness. R draft.
                                                                                                              KLP- Work on standardizing draft. Edit. Circulate
  10/14/2013 Kaylan Phillips     1:18       1.30        1.30   $   393.00 $         510.90   $         510.90 updated copy.
                                                                                                              NHJ- R email from MG re federal circuit jurisdiction over
  10/14/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $          31.90   $          31.90 appeal.
                                                                                                              NHJ- C KLP re combining draft sections of opp. to
  10/14/2013 Noel Johnson        0:12       0.20        0.10   $   319.00 $          63.80   $          31.90 MTD.
                                                                                                              NHJ- RS re "voluntary cessation" doctrine vs. CORYER
  10/14/2013 Noel Johnson        0:18       0.30        0.30 $     319.00 $          95.70   $          95.70 doctrine.
  10/14/2013 Noel Johnson        0:30       0.50        0.50 $     319.00 $         159.50   $         159.50 NHJ- C KLP and JAV re mootness and Count I

                                                                                                              NHJ- Begin proofing draft opp. to MTD; make revisions
  10/14/2013 Noel Johnson        1:30       1.50        1.00   $   319.00 $         478.50   $         319.00 to same; conferences with KLP and JAV to disc

                                                                                                              NHJ- Continue legal RS re "voluntary cessation"
  10/14/2013 Noel Johnson        1:30       1.50        1.50   $   319.00 $         478.50   $         478.50 doctrine; continue revising opp. to MTD (mootness).
                                                                                                              NHJ- RS and R law re FRCP 8 and 12(b)(6) MTD
  10/14/2013 Noel Johnson        1:30       1.50        1.50   $   319.00 $         478.50   $         478.50 standard; draft section on same for opp. to MTD.
             Joseph                                                                                           JAV- R and proof mtd response for circulation. C KLP
  10/15/2013 Vanderhulst         2:00       2.00        2.00 $     393.00 $         786.00   $         786.00 re same.
  10/15/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $          39.30   $          39.30 KLP- C JAV re mootness argument.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 66 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                   1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
  10/15/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 KLP- C NHJ re mootness claim in opposition to MTD.

                                                                                                             KLP- Work on draft of opposition to MTD (6103
  10/15/2013 Kaylan Phillips     2:30       2.50        0.00   $   393.00 $       982.50   $            -    section). Online legal research and draft summary. C

                                                                                                             KLP- Work on draft opposition to MTD (6103). Draft
  10/15/2013 Kaylan Phillips     2:48       2.80        0.00   $   393.00 $     1,100.40   $            -    portions. C with NHJ on changes needed. Circula
                                                                                                            NHJ- C KLP to discuss needs for mootness section of
  10/15/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 opp. to MTD.
                                                                                                            NHJ- Continue review and revision draft opp. to MTD
  10/15/2013 Noel Johnson        0:42       0.70        0.70   $   319.00 $       223.30   $         223.30 (Count II)
                                                                                                             NHJ- Continue review and revision draft opp. to MTD
  10/15/2013 Noel Johnson        1:36       1.60        0.00   $   319.00 $       510.40   $            -    (Counts IV and V)
                                                                                                            NHJ- Continue revising mootness section of opp. to
  10/15/2013 Noel Johnson        2:18       2.30        2.30   $   319.00 $       733.70   $         733.70 MTD; discuss same with KLP.

  10/16/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $        39.30   $          39.30 KLP- Work on draft opposition. C with NHJ re same.
                                                                                                            KLP- Email with JAV and MG re revisions and changes
  10/16/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 needed.
  10/16/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $       157.20   $         157.20 KLP- C NHJ re mootness/ripeness argument.
                                                                                                            KLP- Call from MG. Implement remaining changes.
  10/16/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $       196.50   $         196.50 Save and Circulate to team.

  10/16/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00 $       235.80   $         235.80 KLP- Implement changes to draft opposition from JAV.
                                                                                                            KLP- R City of Houston case on mootness. C NHJ re
  10/16/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00 $       235.80   $         235.80 same.
                                                                                                            KLP- Work on draft opposition, implement NHJ's
  10/16/2013 Kaylan Phillips     0:42       0.70        0.50   $   393.00 $       275.10   $         196.50 changes. Finalize and send draft to MG.
                                                                                                            KLP- Implement changes to draft opposition from MG.
  10/16/2013 Kaylan Phillips     0:42       0.70        0.70 $     393.00 $       275.10   $         275.10 Email with MG re same.
  10/16/2013 Kaylan Phillips     0:48       0.80        0.80 $     393.00 $       314.40   $         314.40 KLP- R and edit draft opposition.
                                                                                                            KLP- Work on draft opposition, edit mootness section.
  10/16/2013 Kaylan Phillips     1:54       1.90        1.90   $   393.00 $       746.70   $         746.70 C NHJ re same.
                                                                                                             NHJ- Discuss changes and needs for draft opp to MTD
  10/16/2013 Noel Johnson        0:06       0.10        0.00   $   319.00 $        31.90   $            -    with KLP.
                                                                                                            NHJ- Continue reviewing case law re declaratory relieft
  10/16/2013 Noel Johnson        0:12       0.20        0.20 $     319.00 $        63.80   $          63.80 and mootness.
  10/16/2013 Noel Johnson        0:24       0.40        0.40 $     319.00 $       127.60   $         127.60 NHJ- C KLP to discuss ripenss analysis.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 67 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                          Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            NHJ- R latest draft opp to MTD and made edits to
  10/16/2013 Noel Johnson        0:36       0.60        0.40   $   319.00 $       191.40   $         127.60 same; discuss same with KLP.
                                                                                                            NHJ- RS and R case law re declaratory relief and
  10/16/2013 Noel Johnson        1:00       1.00        1.00   $   319.00 $       319.00   $         319.00 mootness. C KLP re same.
                                                                                                            NHJ- Continue reviewing case law re declaratory relief
  10/16/2013 Noel Johnson        1:18       1.30        1.30   $   319.00 $       414.70   $         414.70 and mootness.
                                                                                                            NHJ- R and RV updated draft of opp. to MTD;
                                                                                                            conference with KLP to discuss needs and changes to
  10/16/2013 Noel Johnson        2:30       2.50        2.50   $   319.00 $       797.50   $         797.50 sam
             Joseph
  10/17/2013 Vanderhulst         0:24       0.40        0.40   $   393.00 $       157.20   $         157.20 JAV- C NHJ re COYER arguments.
                                                                                                            KLP- C NHJ to discuss needed RS for motions to
  10/17/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 dismiss.
                                                                                                            NHJ- C KLP to discuss needed RS for motions to
  10/17/2013 Noel Johnson        0:12       0.20        0.10   $   319.00 $        63.80   $          31.90 dismiss.
                                                                                                            NHJ- C JAV re CORYER and voluntary cessation
  10/17/2013 Noel Johnson        0:36       0.60        0.60   $   319.00 $       191.40   $         191.40 doctrines; review RS re same.
                                                                                                             NHJ- LR re qualified immunity for allegations of
  10/17/2013 Noel Johnson        1:18       1.30        0.00   $   319.00 $       414.70   $            -    viewpoint discrimination.
                                                                                                             NHJ- Continue RS re Bivens and made additions to
  10/17/2013 Noel Johnson        1:30       1.50        0.00 $     319.00 $       478.50   $            -    legal memo re current state of Bivens doctrine.
  10/18/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- Email from CM re filing today. Respond.
                                                                                                            KLP- C NHJ re constitutional violations in requests for
  10/18/2013 Kaylan Phillips     0:12       0.20        0.00   $   393.00 $        78.60   $            -   information. (qualified immunity)
  10/18/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 KLP- Emails re MTD filed today.

  10/18/2013 Kaylan Phillips     0:42       0.70        0.00   $   393.00 $       275.10   $            -    KLP- R NHJ's memo on Bivens. C with NHJ re same.
  10/18/2013 Noel Johnson        0:12       0.20        0.00   $   319.00 $        63.80   $            -    NHJ- C KLP re qualified immunity arguments.
                                                                                                             NHJ- C KLP re Bivens legal memo and arguments re
  10/18/2013 Noel Johnson        0:18       0.30        0.00   $   319.00 $        95.70   $            -    same.
                                                                                                             NHJ- Continue RS on quailfied immunity and begin
  10/18/2013 Noel Johnson        1:24       1.40        0.00   $   319.00 $       446.60   $            -    drafting legal memo on same.
                                                                                                             NHJ- Continue RS on quailfied immunity and begin
  10/18/2013 Noel Johnson        1:48       1.80        0.00   $   319.00 $       574.20   $            -    drafting legal memo on same.
                                                                                                             NHJ- Continue RS on quailfied immunity and begin
  10/18/2013 Noel Johnson        2:06       2.10        0.00   $   319.00 $       669.90   $            -    drafting legal memo on same.
             Joseph
  10/21/2013 Vanderhulst         0:12       0.20        0.00   $   393.00 $        78.60   $            -    JAV- C NHJ to discuss individual defendant's MTDs.
             Joseph
  10/21/2013 Vanderhulst         0:30       0.50        0.00   $   393.00 $       196.50   $            -    JAV- Litigation call re individuals mtd.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 68 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                    1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
             Joseph
  10/21/2013 Vanderhulst         0:30       0.50        0.40   $   393.00 $       196.50   $         157.20 JAV- C NHJ and KLP re mtd responses.
                                                                                                            KLP- Email client copies of motions to dismiss with brief
  10/21/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $        39.30   $          39.30 overview.
  10/21/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $        39.30   $          39.30 KLP- Email with client and CM re conference call.

  10/21/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 KLP- R notice of withdrawal. C NHJ re ECF log-in info.

  10/21/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $       157.20   $         157.20 KLP- Emails re calls today. Circulate updated number.
                                                                                                            KLP- C NHJ and JAV re motions to dismiss and help
  10/21/2013 Kaylan Phillips     0:30       0.50        0.40   $   393.00 $       196.50   $         157.20 needed.
                                                                                                            KLP- Call with JCE, CM, WD, NHJ, and JAV re motions
  10/21/2013 Kaylan Phillips     0:30       0.50        0.40 $     393.00 $       196.50   $         157.20 to dismiss.
  10/21/2013 Kaylan Phillips     0:36       0.60        0.70 $     393.00 $       235.80   $         275.10 KLP- C NHJ re motions to dismiss.
                                                                                                            KLP- Save motions to dismiss. Briefly review. Draft
  10/21/2013 Kaylan Phillips     1:24       1.40        1.40   $   393.00 $       550.20   $         550.20 outline to legal issues. Circulate.
                                                                                                            NHJ- RS procedure for withdrawal of attorney; email to
  10/21/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 ZSK re same.

  10/21/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 NHJ- RS re permissible lobbying activities of 501(c)(3)s

  10/21/2013 Noel Johnson        0:12       0.20        0.00   $   319.00 $        63.80   $            -    NHJ- C JAV to discuss individual defendant's MTDs.

                                                                                                             NHJ- C KLP and JAV re division of labor and RS needs
  10/21/2013 Noel Johnson        0:30       0.50        0.00   $   319.00 $       159.50   $            -    re opposition to individual defendants' MTDs.
                                                                                                             NHJ- PC with legal team re preliminary thoughts on
  10/21/2013 Noel Johnson        0:30       0.50        0.00   $   319.00 $       159.50   $            -    opposition to individual defendant's MTDs.

                                                                                                            NHJ- R and make edits to ZSK's notice of withdrawal;
  10/21/2013 Noel Johnson        0:30       0.50        0.50   $   319.00 $       159.50   $         159.50 RS rules for ECF registration and discuss with

  10/21/2013 Noel Johnson        0:36       0.60        0.00   $   319.00 $       191.40   $            -    NHJ- C KLP to discuss individual defendant's MTDs.
                                                                                                            NHJ- R KL's RS re discovery to establish jurisdiction; R
  10/21/2013 Noel Johnson        0:42       0.70        0.70   $   319.00 $       223.30   $         223.30 DC Circuit case law re same.

                                                                                                            NHJ- R Motion to Dismiss filed by individual DC
  10/21/2013 Noel Johnson        0:54       0.90        0.90   $   319.00 $       287.10   $         287.10 defendants and briefly review authorities cited the
                                                                                                            NHJ- R Motion to dismiss filed by individual Cinci
  10/21/2013 Noel Johnson        1:36       1.60        0.00 $     319.00 $       510.40   $            -   defendants and briefly review authorities cited
  10/22/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- Email from Catherine re conference call.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 69 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                         1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                          Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
  10/22/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $          39.30   $          39.30 KLP- Email from JCE re DOJ's MTD. Send brief.
  10/22/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $          39.30   $          39.30 KLP- R ACLJ's complaint. D email to CM re same.
  10/22/2013 Kaylan Phillips     0:12       0.20        0.00 $     393.00 $          78.60   $            -    KLP- C NHJ re personal jurisdiction.

                                                                                                              KLP- D emails to ACLJ and Nor Cal counsel re motions
  10/22/2013 Kaylan Phillips     0:12       0.20        0.10 $     393.00 $          78.60   $          39.30 to dismiss and case updates. R responses. Repl
  10/22/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 KLP- C NHJ re ACLJ's amended complaint.

                                                                                                               NHJ- R law review article Measuring the Success of
  10/22/2013 Noel Johnson        0:24       0.40        0.00   $   319.00 $         127.60   $            -    Bivens Litigation and Its Consequences for the I
                                                                                                               NHJ- Continue reviewing DC Circuit case law re
  10/22/2013 Noel Johnson        1:18       1.30        0.00   $   319.00 $         414.70   $            -    personal jurisdiction, conspiracy, jurisdictional di

                                                                                                              NHJ- Review Second Amended Complaint in Linchpins
  10/22/2013 Noel Johnson        1:18       1.30        1.30   $   319.00 $         414.70   $         414.70 of Liberty and proposed briefing schedule in same
                                                                                                              NHJ- RS and R case law re personal jurisdiction
  10/22/2013 Noel Johnson        1:24       1.40        0.00   $   319.00 $         446.60   $            -   standard in Bivens actions. C KLP re same.
             Joseph
  10/23/2013 Vanderhulst         0:42       0.70        0.00 $     393.00 $         275.10   $            -    JAV- PC litigation team re individual MTD responses.
  10/23/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $          39.30   $          39.30 KLP- Email team re briefing timeline.
  10/23/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 KLP- Email with MG re briefing assignment.
                                                                                                              KLP- R individual defendants' motions in depth. Make
  10/23/2013 Kaylan Phillips     0:18       0.30        0.00 $     393.00   $       117.90   $            -   notes.
  10/23/2013 Kaylan Phillips     0:42       0.70        0.70 $     393.00   $       275.10   $         275.10 KLP- Call with CM, WD, and JAV.
  10/24/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Make list of things to get from law library.
  10/24/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- PC NHJ re scope of MG's RS.
  10/24/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00   $       117.90   $         117.90 KLP- ProQuest Congressional RS re 7428.

  10/24/2013 Kaylan Phillips     0:24       0.40        0.00   $   393.00 $         157.20   $            -    KLP- Call from MG re responses to individual motions.
                                                                                                               KLP- C NHJ re responding to individual defendants'
  10/24/2013 Kaylan Phillips     0:42       0.70        0.00 $     393.00 $         275.10   $            -    motions to dismiss.
  10/24/2013 Noel Johnson        0:06       0.10        0.10 $     319.00 $          31.90   $          31.90 NHJ- PC with KLP re scope of MG's RS.
                                                                                                              NHJ- P email to MG with cases and documents to aid
  10/24/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 RS and drafting.
                                                                                                              NHJ- PC with KLP and MG to discuss division of labor
  10/24/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $         127.60   $         127.60 for opp. to MTDs and arguments for same.




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Expenses adjusted for reimbursable and non-reimbursable.              Page 70 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              NHJ- Conference with KLP to fill me in on conference
  10/24/2013 Noel Johnson        0:42       0.70        0.40 $     319.00 $         223.30   $         127.60 call with legal team re: needs and focus for o
  10/24/2013 Noel Johnson        1:00       1.00        0.70 $     319.00 $         319.00   $         223.30 NHJ- Continue RS and outling opp. to MTD.
                                                                                                              NHJ- Compile and review MTD briefing and trial and
  10/24/2013 Noel Johnson        1:36       1.60        1.10 $     319.00   $       510.40   $         350.90 appellate court decisions in Kim v. US
  10/25/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- C NHJ re legislative history RS.
  10/25/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Email from MG re RS.
  10/25/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00   $       117.90   $         117.90 KLP- C NHJ re legislative history of 7428.

                                                                                                               KLP- Drive to/from law library, LR re 7428 legislative
  10/25/2013 Kaylan Phillips     2:42       2.70        0.00   $   393.00 $       1,061.10   $            -    history, Bivens generally, qualified immunit
                                                                                                               NHJ- Review law review re: Bivens and IRS - SUING
                                                                                                               THE IRS AND ITS EMPLOYEES FOR DAMAGES:
  10/25/2013 Noel Johnson        0:18       0.30        0.00   $   319.00 $          95.70   $            -    DAVID AND
                                                                                                              NHJ- Adjust withdrawal notice of ZSK; email to CM re
  10/25/2013 Noel Johnson        0:30       0.50        0.50   $   319.00 $         159.50   $         159.50 obtaining client signature for same; email to
                                                                                                              NHJ- C KLP re legislative history RS; review same;
  10/25/2013 Noel Johnson        0:30       0.50        0.50 $     319.00 $         159.50   $         159.50 legislative history RS re 7428.
  10/25/2013 Noel Johnson        1:00       1.00        0.00 $     319.00 $         319.00   $            -    NHJ- Continue working on opp. to Ind Ds MTD.

                                                                                                              NHJ- Organize legislatvie history of Sect. 7428 and
  10/25/2013 Noel Johnson        1:48       1.80        1.80   $   319.00 $         574.20   $         574.20 review same; conference with KLP to discuss sam
                                                                                                              NHJ- Conduct legislative history RS at IU-Indy law
  10/25/2013 Noel Johnson        2:42       2.70        2.70   $   319.00 $         861.30   $         861.30 school.
  10/28/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $          39.30   $          39.30 KLP- C NHJ re responses.

  10/28/2013 Kaylan Phillips     0:18       0.30        0.00 $     393.00 $         117.90   $            -    KLP- Create shell for responses to individual motions.
  10/28/2013 Kaylan Phillips     0:24       0.40        0.00 $     393.00 $         157.20   $            -    KLP- C NHJ re Bivens claim.
                                                                                                               KLP- Email with MG re personal jurisdiction RS and
  10/28/2013 Kaylan Phillips     0:24       0.40        0.00 $     393.00 $         157.20   $            -    deadlines.
  10/28/2013 Kaylan Phillips     0:24       0.40        0.00 $     393.00 $         157.20   $            -    KLP- Organize RS on jurisdiction and Bivens.

                                                                                                              KLP- Work on response to Management defendants.
  10/28/2013 Kaylan Phillips     2:36       2.60        2.60 $     393.00 $       1,021.80   $       1,021.80 Working on addressing statement of the case.
  10/28/2013 Noel Johnson        0:12       0.20        0.20 $     319.00 $          63.80   $          63.80 NHJ- R Church by Mail v. US.
                                                                                                              NHJ- C KLP re arguments and needs for opp. to MTD.
  10/28/2013 Noel Johnson        0:24       0.40        0.00   $   319.00 $         127.60   $            -   (Bivens)


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Expenses adjusted for reimbursable and non-reimbursable.              Page 71 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
  10/28/2013 Noel Johnson        1:00       1.00        0.70 $     319.00 $       319.00   $         223.30 NHJ- Continue work on opp. to MTD.
  10/28/2013 Noel Johnson        1:12       1.20        0.80 $     319.00 $       382.80   $         255.20 NHJ- Continue work on opp. to MTD.
  10/28/2013 Noel Johnson        1:42       1.70        1.20 $     319.00 $       542.30   $         382.80 NHJ- Continue work on opp to MTD.
                                                                                                            NHJ- Continue work on opp to MTDs. C with KLP re
  10/28/2013 Noel Johnson        3:18       3.30        2.30   $   319.00 $     1,052.70   $         733.70 same.
             Joseph
  10/29/2013 Vanderhulst         0:30       0.50        0.00   $   393.00 $       196.50   $            -    JAV- C NHJ re RS needed for indiv. responses.
             Joseph
  10/29/2013 Vanderhulst         2:00       2.00        2.00   $   393.00 $       786.00   $         786.00 JAV- Fill in black citations in DOJ response draft.

                                                                                                             KLP- C NHJ re jurisdictional RS and qualified immunity.
  10/29/2013 Kaylan Phillips     0:12       0.20        0.00   $   393.00 $        78.60   $            -    Briefly review his qualified immunity memo.
                                                                                                            KLP- Email with drafting team re timeline for responses.
  10/29/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 Draft email to CM re same.
                                                                                                            KLP- R local rules re oppositions. Add language re
  10/29/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 proposed order.
                                                                                                            KLP- C NHJ and MG re opposition to individual motions
  10/29/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $       196.50   $         196.50 to dismiss.
                                                                                                            KLP- C NHJ re Bivens claims. R and discuss relevant
  10/29/2013 Kaylan Phillips     0:36       0.60        0.00   $   393.00 $       235.80   $            -   cases.
                                                                                                             KLP- Work on opposition to Management's motion to
  10/29/2013 Kaylan Phillips     1:06       1.10        0.00   $   393.00 $       432.30   $            -    dismiss- Personal jurisdiction, generally.
                                                                                                             KLP- Work on opposition to Management's motion to
  10/29/2013 Kaylan Phillips     1:12       1.20        0.00   $   393.00 $       471.60   $            -    dismiss- personal jurisdiction, generally.
                                                                                                             KLP- Continue working on motions to dismiss- personal
  10/29/2013 Kaylan Phillips     3:00       3.00        0.00   $   393.00 $     1,179.00   $            -    jurisdiction, generally. Online LR.
                                                                                                            NHJ- PC with MG re definitional terms used in
  10/29/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $        31.90   $          31.90 complaint.
                                                                                                            NHJ- C JAV re RS assignment Section 7431 legislative
  10/29/2013 Noel Johnson        0:12       0.20        0.00   $   319.00 $        63.80   $            -   history/IRC definitions.
                                                                                                             NHJ- C KLP re division of labor on factual matters
  10/29/2013 Noel Johnson        0:12       0.20        0.00   $   319.00 $        63.80   $            -    relating to qualified immunity
                                                                                                             NHJ- R Bivens precedent cited in individual defendants
  10/29/2013 Noel Johnson        0:18       0.30        0.00   $   319.00 $        95.70   $            -    MTD
                                                                                                            NHJ- PC with MG and KLP re division of labor and
  10/29/2013 Noel Johnson        0:30       0.50        0.50 $     319.00 $       159.50   $         159.50 arguments re conspiracy theory of jurisdiction.
  10/29/2013 Noel Johnson        0:36       0.60        0.00 $     319.00 $       191.40   $            -    NHJ- C KLP re Bivens arguments.

  10/29/2013 Noel Johnson        0:42       0.70        0.70   $   319.00 $       223.30   $         223.30 NHJ- Continue reviewing legislative history of Sec. 7428


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 72 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            NHJ- Continue work on opp. to individual defendants
  10/29/2013 Noel Johnson        1:12       1.20        1.20   $   319.00 $       382.80   $         382.80 MTD.
                                                                                                            NHJ- Continue work on opp. to individual defendants
  10/29/2013 Noel Johnson        1:18       1.30        0.00   $   319.00 $       414.70   $            -   MTD. C JAV re same.
                                                                                                            NHJ- Continue work on opp. to individual defendants
  10/29/2013 Noel Johnson        2:12       2.20        0.00   $   319.00 $       701.80   $            -   MTD.
             Joseph                                                                                         JAV- Finish filling in blanks in DOJ response. C with
  10/30/2013 Vanderhulst         1:00       1.00        1.00 $     393.00 $       393.00   $         393.00 NHJ and KLP re same.
  10/30/2013 Kaylan Phillips     0:12       0.20        0.10 $     393.00 $        78.60   $          39.30 KLP- Work on opposition to motion to dismiss.

  10/30/2013 Kaylan Phillips     0:18       0.30        0.00   $   393.00 $       117.90   $            -    KLP- C JAV and NHJ re responses to individual MTD.

                                                                                                             KLP- R overview of defendants' activities. R qualified
  10/30/2013 Kaylan Phillips     0:18       0.30        0.00   $   393.00 $       117.90   $            -    immunity outline. Make notes for factual sec
                                                                                                            KLP- Email from CM re timeline. Email with drafting
  10/30/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 team re same.
                                                                                                            KLP- Email with CM and team re calls tomorrow. Email
  10/30/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $       196.50   $         196.50 with WD re same.

                                                                                                            KLP- Work on oppositions to motion to dismiss- review
  10/30/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $       196.50   $         196.50 law review articles re personal jurisdition/B
                                                                                                            KLP- Call with MG and NHJ re opposition to individual
  10/30/2013 Kaylan Phillips     1:06       1.10        0.00   $   393.00 $       432.30   $            -   motions.

                                                                                                             KLP- Work on responses to individual defendants’
  10/30/2013 Kaylan Phillips     2:42       2.70        0.00 $     393.00 $     1,061.10   $            -    motions to dismiss, legal research re: pleading st
  10/30/2013 Noel Johnson        0:12       0.20        0.00 $     319.00 $        63.80   $            -    NHJ- Continue drafting opp. to MTDs (Bivens)

  10/30/2013 Noel Johnson        0:18       0.30        0.30 $     319.00 $        95.70   $          95.70 NHJ- C KLP and JAV re prep for call with CM tomorrow.
  10/30/2013 Noel Johnson        0:42       0.70        0.00 $     319.00 $       223.30   $            -    NHJ- Continue drafting opp. to MTDs (Bivens)
  10/30/2013 Noel Johnson        0:48       0.80        0.00 $     319.00 $       255.20   $            -    NHJ- Continue drafting opp. to MTDs (Bivens)
                                                                                                            NHJ- PC with MG re needs for opp. to MTDs and needs
  10/30/2013 Noel Johnson        1:06       1.10        0.80 $     319.00 $       350.90   $         255.20 for pc with CM tomorrow.
  10/30/2013 Noel Johnson        1:48       1.80        0.00 $     319.00 $       574.20   $            -    NHJ- Continue drafting opp. to MTDs (Bivens)
                                                                                                            NHJ- Continue drafting opp to MTD. C with KLP re
  10/30/2013 Noel Johnson        2:54       2.90        2.00   $   319.00 $       925.10   $         638.00 same.
             Joseph
  10/31/2013 Vanderhulst         0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 JAV- C NHJ and KLP re call with CM.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 73 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
             Joseph                                                                                           JAV- Team conference call re response drafts and
  10/31/2013 Vanderhulst         2:00       2.00        2.00 $     393.00   $       786.00   $         786.00 arguments.
  10/31/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Email team re timeline.
  10/31/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $        39.30   $          39.30 KLP- Email to drafting team re call.
  10/31/2013 Kaylan Phillips     0:18       0.30        0.00 $     393.00   $       117.90   $            -    KLP- C NHJ re personal jurisdiction.
  10/31/2013 Kaylan Phillips     0:18       0.30        0.00 $     393.00   $       117.90   $            -    KLP- Work on personal jurisdiction RS.
  10/31/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00   $       117.90   $         117.90 KLP- C all with MG, NHJ and JAV re call with CM.
  10/31/2013 Kaylan Phillips     0:36       0.60        0.00 $     393.00   $       235.80   $            -    KLP- WOrk on qualified immunity RS.
                                                                                                              KLP- Call with CM, MG, NHJ, and JAV re responses to
  10/31/2013 Kaylan Phillips     2:00       2.00        1.40 $     393.00   $       786.00   $         550.20 motion to dismiss.
  10/31/2013 Noel Johnson        0:18       0.30        0.00 $     319.00   $        95.70   $            -    NHJ- C KLP re personal jurisdiction agruments.
  10/31/2013 Noel Johnson        0:18       0.30        0.30 $     319.00   $        95.70   $          95.70 NHJ- PC with MG and KLP re call with CM.
  10/31/2013 Noel Johnson        0:36       0.60        0.00 $     319.00   $       191.40   $            -    NHJ- Continue drafting opp. to MTDs (Bivens)
  10/31/2013 Noel Johnson        0:48       0.80        0.00 $     319.00   $       255.20   $            -    NHJ- Continue drafting opp. to MTDs (Bivens)
  10/31/2013 Noel Johnson        1:24       1.40        0.00 $     319.00   $       446.60   $            -    NHJ- Continue drafting opp. to MTDs (Bivens)
                                                                                                              NHJ- C call with CM, MG, KLP and JAV to go through
  10/31/2013 Noel Johnson        2:00       2.00        1.40 $     319.00 $         638.00   $         446.60 drafts of MTDs.
  11/01/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 KLP- Update response to gov't motion. Circulate.
                                                                                                              KLP- Continue working on responses to motions to
  11/01/2013 Kaylan Phillips     0:18       0.30        0.20   $   393.00 $         117.90   $          78.60 dismiss.

  11/01/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00 $         117.90   $         117.90 KLP- PC with MG re schedule and division of labor.
  11/01/2013 Kaylan Phillips     0:24       0.40        0.40 $     393.00 $         157.20   $         157.20 KLP- Email with co-counsel re call today.
                                                                                                              KLP- Email with team re internal deadlines. Draft
  11/01/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00 $         196.50   $         196.50 schedule.

                                                                                                               NHJ- R recent order denying rehearing en banc re
  11/01/2013 Noel Johnson        0:12       0.20        0.00 $     319.00 $          63.80   $            -    Bivens and personal jurisdiction- Walden v. Fiore.
  11/01/2013 Noel Johnson        2:36       2.60        1.80 $     319.00 $         829.40   $         574.20 NHJ- Continue working in opp. to MTD.
                                                                                                              KLP- Email with MG re: edits to gov’t response.
  11/03/2013 Kaylan Phillips     0:18       0.30        0.20 $     393.00 $         117.90   $          78.60 Implement edits. Draft email to team re: draft resp
  11/03/2013 Kaylan Phillips     0:48       0.80        0.00 $     393.00 $         314.40   $            -    KLP- RS minimum contacts.
                                                                                                              KLP- C NHJ re response to gov't motion. R response
  11/03/2013 Kaylan Phillips     0:48       0.80        0.60   $   393.00 $         314.40   $         235.80 and edit language as needed.




* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 74 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              KLP- Work on response to gov’t motion. Email with MG
  11/03/2013 Kaylan Phillips     1:42       1.70        1.20   $   393.00 $         668.10   $         471.60 re: same. Write sections on Payne v. U.S. and
                                                                                                              NHJ- Discuss needed revisions to opp. to DOJ MTD
  11/03/2013 Noel Johnson        0:24       0.40        0.30   $   319.00 $         127.60   $          95.70 with KLP; make changes to same.
                                                                                                               NHJ- Continue work on opp. to individual defendants
  11/03/2013 Noel Johnson        1:48       1.80        0.00   $   319.00 $         574.20   $            -    MTD.
             Joseph                                                                                           JAV- C KLP and NHJ re MTD drafting, QI issues, RS
  11/04/2013 Vanderhulst         0:30       0.50        0.50   $   393.00 $         196.50   $         196.50 projects.
             Joseph                                                                                           JAV- R ems re draft r and conf call, C KLP and NHJ re
  11/04/2013 Vanderhulst         1:00       1.00        0.00   $   393.00 $         393.00   $            -   RS needed.
             Joseph
  11/04/2013 Vanderhulst         1:00       1.00        1.00   $   393.00 $         393.00   $         393.00 JAV- R qs from IRS, provide list to KLP.
             Joseph
  11/04/2013 Vanderhulst         3:18       3.30        2.30   $   393.00 $       1,296.90   $         903.90 JAv- RS QI defense issues, draft section.

  11/04/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $          78.60   $          78.60 KLP- C NHJ and JAV re RS needed for responses.
                                                                                                              KLP- C NHJ re revised schedule. Email team re next
  11/04/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 steps.
  11/04/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $        78.60   $          78.60 KLP- C NHJ re RS needed for responses.
  11/04/2013 Kaylan Phillips     0:18       0.30        0.00 $     393.00   $       117.90   $            -    KLP- R cases re personal jurisdiction.
  11/04/2013 Kaylan Phillips     0:24       0.40        0.30 $     393.00   $       157.20   $         117.90 KLP- C JAV re qualified immunity arguments.
  11/04/2013 Kaylan Phillips     0:30       0.50        0.00 $     393.00   $       196.50   $            -    KLP- Begin reviewing NHJ's Bivens section.

                                                                                                              KLP- Email with team re: conference call tomorrow. Call
  11/04/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00 $         235.80   $         235.80 from MG re: same. Finalize time and circula
                                                                                                              KLP- Incoporate CM's edits into response to gov't
  11/04/2013 Kaylan Phillips     0:42       0.70        0.50   $   393.00 $         275.10   $         196.50 motion. Make notes.

                                                                                                              KLP- Email with CM re: edits to gov’t motion. Email with
  11/04/2013 Kaylan Phillips     0:48       0.80        0.60   $   393.00 $         314.40   $         235.80 MG re: same. C with JAV re: research neede
                                                                                                              KLP- Work on response to individual defendants'
  11/04/2013 Kaylan Phillips     1:06       1.10        0.00   $   393.00 $         432.30   $            -   motions, personal jurisdiction.
                                                                                                               KLP- Work on response to individual motions. RS
  11/04/2013 Kaylan Phillips     1:06       1.10        0.00   $   393.00 $         432.30   $            -    personal jurisdiction.
                                                                                                              KLP- Work on response to individual defendants'
  11/04/2013 Kaylan Phillips     1:06       1.10        0.80   $   393.00 $         432.30   $         314.40 motions, qualified immunity.
                                                                                                              NHJ- C JAV re standard discovery on qualified
  11/04/2013 Noel Johnson        0:06       0.10        0.10   $   319.00 $          31.90   $          31.90 immunity.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 75 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                              NHJ- C KLP and JAV to discuss RS needs for opp. to
  11/04/2013 Noel Johnson        0:12       0.20        0.10 $     319.00   $        63.80   $          31.90 MTD.
  11/04/2013 Noel Johnson        0:12       0.20        0.10 $     319.00   $        63.80   $          31.90 NHJ- Continue working on opp. to MTD.
  11/04/2013 Noel Johnson        0:24       0.40        0.30 $     319.00   $       127.60   $          95.70 NHJ- Continue working on opp. to MTD.
  11/04/2013 Noel Johnson        0:54       0.90        0.60 $     319.00   $       287.10   $         191.40 NHJ- Continue working on opp. to MTD.
  11/04/2013 Noel Johnson        1:06       1.10        0.80 $     319.00   $       350.90   $         255.20 NHJ- Continue working on opp. to MTD.
  11/04/2013 Noel Johnson        1:18       1.30        0.90 $     319.00   $       414.70   $         287.10 NHJ- Continue working on opp. to MTD.
  11/04/2013 Noel Johnson        1:18       1.30        0.90 $     319.00   $       414.70   $         287.10 NHJ- Continue working on opp. to MTD.
  11/04/2013 Noel Johnson        1:30       1.50        1.10 $     319.00   $       478.50   $         350.90 NHJ- Continue working on opp. to MTD.
                                                                                                              NHJ- Continue working on opp. to MTD. C with KLP re
  11/04/2013 Noel Johnson        1:54       1.90        1.30   $   319.00 $         606.10   $         414.70 same.
             Joseph
  11/05/2013 Vanderhulst         0:06       0.10        0.00   $   393.00 $          39.30   $            -    JAV- C with KLP re qualified immunity section.
             Joseph
  11/05/2013 Vanderhulst         0:18       0.30        0.20   $   393.00 $         117.90   $          78.60 JAV- C KLP and NHJ re MTD drafts.
             Joseph                                                                                           JAV- PC litigation team re Govn't MTD response
  11/05/2013 Vanderhulst         1:00       1.00        0.70 $     393.00 $         393.00   $         275.10 feedback.
  11/05/2013 Kaylan Phillips     0:06       0.10        0.00 $     393.00 $          39.30   $            -    KLP- C JAV re qualified immunity section.
                                                                                                              KLP- Email from JCE re edits to response to gov't MTD.
  11/05/2013 Kaylan Phillips     0:12       0.20        0.10   $   393.00 $          78.60   $          39.30 Implement.
                                                                                                              KLP- C NHJ re 6103/7431 section. Re-write portions of
  11/05/2013 Kaylan Phillips     0:18       0.30        0.00   $   393.00 $         117.90   $            -   gov't MTD.
                                                                                                               KLP- Email from NHJ re qualified immunity discovery.
  11/05/2013 Kaylan Phillips     0:18       0.30        0.00 $     393.00 $         117.90   $            -    Review.
  11/05/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00 $         117.90   $         117.90 KLP- C JAV and NHJ re next steps.

                                                                                                              KLP- C with NHJ re: judicial notice for gov’t MTD.
  11/05/2013 Kaylan Phillips     0:30       0.50        0.40 $     393.00 $         196.50   $         157.20 Review email from WD re: same. Review NHJ’s rese
  11/05/2013 Kaylan Phillips     0:30       0.50        0.40 $     393.00 $         196.50   $         157.20 KLP- Continue working on response to gov't MTD.
                                                                                                              KLP- Edit NHJ's section on Bivens for individual
  11/05/2013 Kaylan Phillips     1:00       1.00        0.00   $   393.00 $         393.00   $            -   motions to dismiss.
  11/05/2013 Kaylan Phillips     1:00       1.00        1.00   $   393.00 $         393.00   $         393.00 KLP- C call with team.
                                                                                                              KLP- Work on response to individuals motions, qualified
  11/05/2013 Kaylan Phillips     1:36       1.60        0.00   $   393.00 $         628.80   $            -   immunity.
                                                                                                              KLP- Email from ML re edits to response to gov't MTD.
  11/05/2013 Kaylan Phillips     2:24       2.40        1.70   $   393.00 $         943.20   $         668.10 Implement. Rework sections.



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Expenses adjusted for reimbursable and non-reimbursable.              Page 76 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount           Adjusted
                                                                                                  Amount
                                                                                                               KLP- Work on response to individual motions, factual
  11/05/2013 Kaylan Phillips     2:30       2.50        0.00 $     393.00   $       982.50   $            -    portion of qualified immunity-defendantby-defe
  11/05/2013 Noel Johnson        0:06       0.10        0.00 $     319.00   $        31.90   $            -    NHJ- R CM's edits to oppto DOJ MTD.
  11/05/2013 Noel Johnson        0:06       0.10        0.00 $     319.00   $        31.90   $            -    NHJ- RV portions of opp. to MTD.
  11/05/2013 Noel Johnson        0:12       0.20        0.20 $     319.00   $        63.80   $          63.80 NHJ- C KLP re RS needs on judicial notice.
                                                                                                              NHJ- RS re procedure for making requests for judicial
  11/05/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $          95.70   $          95.70 notice.
                                                                                                               NHJ- R and provide edits for JAV's section on qualified
  11/05/2013 Noel Johnson        0:30       0.50        0.00   $   319.00 $         159.50   $            -    immunity discovery.
                                                                                                              NHJ- Begin reviewing and making edits to latest draft
  11/05/2013 Noel Johnson        0:42       0.70        0.50   $   319.00 $         223.30   $         159.50 opp. to DOJ MTD; discuss same with KLP.

                                                                                                              NHJ- R request from CM re sampling of questions; R
  11/05/2013 Noel Johnson        0:48       0.80        0.80   $   319.00 $         255.20   $         255.20 IRS request and draft section on same.
                                                                                                              NHJ- C KLP. Review and implement CM's edits to opp.
  11/05/2013 Noel Johnson        0:54       0.90        0.60   $   319.00 $         287.10   $         191.40 to DOJ MTD.
                                                                                                              NHJ- RS re judicial notice in DDC; P email to KLP re
  11/05/2013 Noel Johnson        1:06       1.10        1.10   $   319.00 $         350.90   $         350.90 same.
                                                                                                              NHJ- P for and participate in PC with legal team re draft
  11/05/2013 Noel Johnson        1:18       1.30        0.90   $   319.00 $         414.70   $         287.10 opp. to DOJ MTD; discussions with KLP and
             Joseph                                                                                           JAV- RS QI and standard issues for Indiv. MTD
  11/06/2013 Vanderhulst         1:00       1.00        0.00   $   393.00 $         393.00   $            -   responses.
             Joseph
  11/06/2013 Vanderhulst         1:00       1.00        0.70   $   393.00 $         393.00   $         275.10 JAV- R and proof DOJ response.
             Joseph                                                                                           JAV- RS definitions issues for Indiv. MTD responses. C
  11/06/2013 Vanderhulst         2:30       2.50        0.00   $   393.00 $         982.50   $            -   NHJ and KLP.
  11/06/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00 $          39.30   $          39.30 KLP- C NHJ re schedule moving forward.

                                                                                                              KLP- C with JAV re: research needed for qualified
  11/06/2013 Kaylan Phillips     0:12       0.20        0.10 $     393.00 $          78.60   $          39.30 immunity standard. Review case quotation
  11/06/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 KLP- C NHJ re response needs.
                                                                                                              KLP- Email from NHJ re revisions. Briefly revision
  11/06/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $          78.60   $          78.60 changes needed.

                                                                                                              KLP- Emails from MG re conspiracy sections. Respond.
  11/06/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $          78.60   $          78.60 Briefly review draft. Sent to NHJ for review.
  11/06/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00 $         117.90   $         117.90 KLP- C MG re draft. Emails re same.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 77 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                    1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                             KLP- C with JAV re: research needed for general
  11/06/2013 Kaylan Phillips     0:24       0.40        0.00 $     393.00 $       157.20   $            -    personal jurisdiction standard. Review language in
  11/06/2013 Kaylan Phillips     0:36       0.60        0.40 $     393.00 $       235.80   $         157.20 KLP- Continue reviewing NHJ's section.
                                                                                                            KLP- Work on responses to individual defendants –
  11/06/2013 Kaylan Phillips     1:00       1.00        0.00   $   393.00 $       393.00   $            -   personal jurisdiction facts and standard

                                                                                                             KLP- Continue working on responses to individual
  11/06/2013 Kaylan Phillips     1:12       1.20        0.00   $   393.00 $       471.60   $            -    defendants-personal jurisdiction facts and standar

                                                                                                             KLP- Work on response to individuals motions, factual
  11/06/2013 Kaylan Phillips     2:06       2.10        0.00   $   393.00 $       825.30   $            -    portion of qualified immunity – defendant-by-
                                                                                                             KLP- Continue working on response to individuals
  11/06/2013 Kaylan Phillips     2:36       2.60        0.00 $     393.00 $     1,021.80   $            -    motions, legal standard re: factual portion of qua
  11/06/2013 Noel Johnson        0:06       0.10        0.10 $     319.00 $        31.90   $          31.90 NHJ- C KLP re schedule moving forward.

  11/06/2013 Noel Johnson        0:12       0.20        0.00   $   319.00 $        63.80   $            -    NHJ- C KLP re needs for opp to MTDs. (QI/Bivens)

                                                                                                             NHJ- Made revisions to opp. to DOJ MTD (7431 claim)
  11/06/2013 Noel Johnson        0:30       0.50        0.00   $   319.00 $       159.50   $            -    per discussion on yesterday's conference call.
                                                                                                             NHJ- C JAV re RS done on definitions used in tax code
  11/06/2013 Noel Johnson        0:42       0.70        0.00   $   319.00 $       223.30   $            -    (Bivens)
                                                                                                            NHJ- Continue drafting QI discovery section for opp. to
  11/06/2013 Noel Johnson        0:48       0.80        0.80   $   319.00 $       255.20   $         255.20 MTD.

                                                                                                             NHJ- R and incorporate KLP's suggested changes to
  11/06/2013 Noel Johnson        1:00       1.00        0.00   $   319.00 $       319.00   $            -    opp. to MTD (Bivens); make other revisions to sam

                                                                                                            NHJ- R and provide edits and suggestions to KLP's
  11/06/2013 Noel Johnson        1:36       1.60        1.10   $   319.00 $       510.40   $         350.90 section on facts relating to qualified immunity (
                                                                                                            NHJ- RS QI discovery section and make revisions to
  11/06/2013 Noel Johnson        2:42       2.70        2.70   $   319.00 $       861.30   $         861.30 section on same.
             Joseph
  11/07/2013 Vanderhulst         1:00       1.00        0.00   $   393.00 $       393.00   $            -    JAV- R Indiv. MTD response drafts.
             Joseph                                                                                          JAV- Gen jurisdiction rs for Indiv. MTD responses. C
  11/07/2013 Vanderhulst         2:00       2.00        0.00   $   393.00 $       786.00   $            -    KLP re same.
                                                                                                             KLP- Update general jurisdictional analysis. C JAV re
  11/07/2013 Kaylan Phillips     0:12       0.20        0.00   $   393.00 $        78.60   $            -    same.

  11/07/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 KLP- Call from MG re drafts. Email to team re same.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 78 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                         Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
  11/07/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00 $        78.60   $          78.60 KLP- Call with MG re drafts.
  11/07/2013 Kaylan Phillips     0:24       0.40        0.40 $     393.00 $       157.20   $         157.20 KLP- Email and C with team re DOJ draft.
  11/07/2013 Kaylan Phillips     0:48       0.80        0.80 $     393.00 $       314.40   $         314.40 KLP- Work on updating QI fact sections.
                                                                                                            KLP- Work on combining the drafts and finalizing for
  11/07/2013 Kaylan Phillips     1:36       1.60        1.60   $   393.00 $       628.80   $         628.80 circulation. Draft email to team and circulate

                                                                                                             KLP- Continue working on responses to individual
  11/07/2013 Kaylan Phillips     1:48       1.80        0.00   $   393.00 $       707.40   $            -    defendants – personal jurisdiction facts and stand
                                                                                                            NHJ- RS re extra-pleading evidence in attacks on
  11/07/2013 Noel Johnson        0:30       0.50        0.50   $   319.00 $       159.50   $         159.50 mootness/12(b)(1)

                                                                                                            NHJ- Compile various sections of opp. to MTDs into
  11/07/2013 Noel Johnson        0:42       0.70        0.50   $   319.00 $       223.30   $         159.50 separate distinct opp to Cinci Ds MTD and DC Ds

                                                                                                             NHJ- R and provide edits and suggestions to MG's
  11/07/2013 Noel Johnson        1:12       1.20        0.00   $   319.00 $       382.80   $            -    section on conspiracy theory of jurisdiction (Bive

                                                                                                             NHJ- Continue making edits and revisions to section of
  11/07/2013 Noel Johnson        1:54       1.90        0.00   $   319.00 $       606.10   $            -    opp. to MTDs on availability of Bivens and q
             Joseph                                                                                          JAV- Em exch re Section 6104 disclosure options,
  11/08/2013 Vanderhulst         0:18       0.30        0.00   $   393.00 $       117.90   $            -    letter.
             Joseph                                                                                         JAV- C NHJ, KLP re disclosure of TTV's
  11/08/2013 Vanderhulst         0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 application/remedies to prevent same.
             Joseph
  11/08/2013 Vanderhulst         0:42       0.70        0.70   $   393.00 $       275.10   $         275.10 JAV- RS procedure for granting after litigation.
             Joseph
  11/08/2013 Vanderhulst         1:00       1.00        0.70   $   393.00 $       393.00   $         275.10 JAV- Em exch re DOJ brief, r revisions.
             Joseph
  11/08/2013 Vanderhulst         1:00       1.00        1.00   $   393.00 $       393.00   $         393.00 JAV- R Payne case for addition.
             Joseph                                                                                         JAV- Litigation team call re individual MTD response
  11/08/2013 Vanderhulst         1:18       1.30        1.30   $   393.00 $       510.90   $         510.90 drafts. Follow up with KLP.
             Joseph                                                                                         JAV- RS and send summary of disclosure prevention
  11/08/2013 Vanderhulst         2:30       2.50        2.50 $     393.00 $       982.50   $         982.50 options. C with KLP re same.
  11/08/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00 $        39.30   $          39.30 KLP- Circulate call-in info for call next week.
                                                                                                            KLP- Email from WD re Qualified Immunity section of
  11/08/2013 Kaylan Phillips     0:12       0.20        0.10   $   393.00 $        78.60   $          39.30 brief. Respond. C NHJ re same.
  11/08/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 KLP- C MG re responses and next steps.

  11/08/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 KLP- Email from MG re Response to DOJ. Review.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 79 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                    1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey     LSI Gross        LSI Laffey                        Description
                                        Hours       Hours*       Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            KLP- Email with JAV and NHJ re needs for brief.
  11/08/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00 $        78.60   $          78.60 Upload documents to sky drive.
                                                                                                            KLP- C JAV and NHJ re disclosure of TTV's application
  11/08/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00 $       117.90   $         117.90 and remedies to prevent same.

                                                                                                            KLP- C JAV re public inspection of TTV's application. R
  11/08/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00 $       157.20   $         157.20 email re same. Draft email to CM and ML out
                                                                                                            KLP- C NHJ re incorporating by reference. Emails re
  11/08/2013 Kaylan Phillips     0:30       0.50        0.00   $   393.00 $       196.50   $            -   same. R RV Bivens section.
                                                                                                            KLP- Email from WD re Qualified Immunity. C NHJ. R
  11/08/2013 Kaylan Phillips     0:42       0.70        0.50   $   393.00 $       275.10   $         196.50 Hobson v. Wilson.
                                                                                                             KLP- C call with team re individual motions. Follow-up
  11/08/2013 Kaylan Phillips     1:18       1.30        0.00   $   393.00 $       510.90   $            -    with NHJ and JAV.
                                                                                                            KLP- Work on adjusting Management defendants'
  11/08/2013 Kaylan Phillips     3:00       3.00        3.00   $   393.00 $     1,179.00   $       1,179.00 motion to incorporate by reference.
                                                                                                            NHJ- R dockets of DDC Bivens actions for activity;
  11/08/2013 Noel Johnson        0:06       0.10        0.00   $   319.00 $        31.90   $            -   review recently filed docs in same.
                                                                                                             NHJ- RS re review of Bivens claim under FRCP
  11/08/2013 Noel Johnson        0:12       0.20        0.00   $   319.00 $        63.80   $            -    12(b)(1) or (6).
                                                                                                            NHJ- C KLP to discuss inquiry from BD re qualified
  11/08/2013 Noel Johnson        0:12       0.20        0.10   $   319.00 $        63.80   $          31.90 immunity.
                                                                                                            NHJ- C KLP and JAV re disclosure of TTV's
  11/08/2013 Noel Johnson        0:18       0.30        0.30   $   319.00 $        95.70   $          95.70 application/remedies to prevent same.

                                                                                                             NHJ- Continue reviewing portions of opps. to MTDs
  11/08/2013 Noel Johnson        0:24       0.40        0.00   $   319.00 $       127.60   $            -    (Bivens) to prepare for conference call with lega
                                                                                                             NHJ- R portions of opps. to MTDs (Bivens) to prepare
  11/08/2013 Noel Johnson        0:24       0.40        0.00   $   319.00 $       127.60   $            -    for conference call with legal team.
                                                                                                            NHJ- R case law re disocvery permitted where
  11/08/2013 Noel Johnson        0:24       0.40        0.40   $   319.00 $       127.60   $         127.60 investigation of underlying claim ongoing.

                                                                                                            NHJ-Continue RS re extra-pleading evidence in 12
  11/08/2013 Noel Johnson        0:36       0.60        0.60   $   319.00 $       191.40   $         191.40 (b)(1) MITD; make revisions to opp. to DOJ MTD re

                                                                                                            NHJ- Conduct search of Judge Walton opinions; review
  11/08/2013 Noel Johnson        0:42       0.70        0.70   $   319.00 $       223.30   $         223.30 various opinions of Judge Walton re voluntary
                                                                                                            NHJ- RS re incorporation by reference; P paragraph re
  11/08/2013 Noel Johnson        0:42       0.70        0.70   $   319.00 $       223.30   $         223.30 same.

                                                                                                             NHJ- Discuss needs for Bivens section with KLP;
  11/08/2013 Noel Johnson        0:54       0.90        0.00   $   319.00 $       287.10   $            -    modify existing Bivens draft to conform to Manageme

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 80 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
                                                                                                                 NHJ- Conference call with legal team re opp. to MTD
  11/08/2013 Noel Johnson        1:18       1.30        0.00   $   319.00 $         414.70     $            -    (Bivens); discussions with KLP and JAV re same
             Joseph
  11/09/2013 Vanderhulst         0:18       0.30        0.30   $   393.00   $        117.90    $         117.90 JAV- PC KLP re WI RS.
             Joseph                                                                                             JAV- Combine edits to DOJ response, RS and add
  11/09/2013 Vanderhulst         3:00       3.00        3.00   $   393.00   $       1,179.00   $       1,179.00 edits.

  11/09/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00   $         39.30    $          39.30 KLP- Upload gov't brief to skydrive, email JAV re same.
                                                                                                                KLP- Email from NHJ re changes to Bivens section.
  11/09/2013 Kaylan Phillips     0:18       0.30        0.00   $   393.00   $        117.90    $            -   Incorporate into draft.

  11/09/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00   $        117.90    $         117.90 KLP- Email with ML, CM, and JAV re consent motion.
                                                                                                                KLP- Finalize drafts and draft email to team with
  11/09/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00   $        117.90    $         117.90 questions to consider.

  11/09/2013 Kaylan Phillips     0:30       0.50        0.00   $   393.00   $        196.50    $            -    KLP- C JAV re Qualified Immunity discovery. R cases.
                                                                                                                KLP- C NHJ re incorporating by reference and trimming
  11/09/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00   $        196.50    $         196.50 briefs.
                                                                                                                KLP- Work on incorporating portions of Cincinnati brief
  11/09/2013 Kaylan Phillips     1:06       1.10        1.10   $   393.00   $        432.30    $         432.30 into Management defendants' brief.
                                                                                                                KLP- Edit both individual motions. Standardize
  11/09/2013 Kaylan Phillips     1:12       1.20        1.20 $     393.00   $        471.60    $         471.60 language and references throughout.
  11/09/2013 Kaylan Phillips     1:30       1.50        0.00 $     393.00   $        589.50    $            -    KLP- Work on qualified immunity sections.
                                                                                                                KLP- Continue incorporating portions of Cincinnati brief
  11/09/2013 Kaylan Phillips     1:54       1.90        1.90   $   393.00   $        746.70    $         746.70 into Management defendants' brief.

                                                                                                                NHJ- C KLP to discuss needs and options for
  11/09/2013 Noel Johnson        0:30       0.50        0.50   $   319.00   $        159.50    $         159.50 consolidating and incorporating arguments for opp. to M
                                                                                                                NHJ- Continue making edits and revisions to opp. to
  11/09/2013 Noel Johnson        2:00       2.00        0.00   $   319.00   $        638.00    $            -   MTDs (Bivens)
             Joseph
  11/10/2013 Vanderhulst         1:00       1.00        0.00   $   393.00   $        393.00    $            -    JAV- QI rs re Indiv. MTD response.
             Joseph                                                                                             JAV- RS options, prep, and circulate letter to DOJ re
  11/10/2013 Vanderhulst         2:12       2.20        2.20 $     393.00   $        864.60    $         864.60 Section 6104.
  11/10/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30    $          39.30 KLP- Organize notes re DOJ brief.
  11/10/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $         78.60    $          78.60 KLP- Email with JAV and NHJ re DOJ brief.
  11/10/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $         78.60    $          78.60 KLP- Email with NHJ re edits to Management brief.
                                                                                                                KLP- Emails from CM re responses to individual
  11/10/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00   $         78.60    $          78.60 motions. Draft response.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 81 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
                                                                                                                KLP- Email from JCE with edits to responses to
                                                                                                                Management and Cinci Defendants. R and save. C NHJ
  11/10/2013 Kaylan Phillips     0:24       0.40        0.40 $     393.00   $        157.20    $         157.20 r
  11/10/2013 Kaylan Phillips     0:24       0.40        0.40 $     393.00   $        157.20    $         157.20 KLP- Work on editing the Management brief.
                                                                                                                KLP- C NHJ re responses to individual motions, briefly
  11/10/2013 Kaylan Phillips     1:00       1.00        1.00 $     393.00   $        393.00    $         393.00 revie CM's edits/emails re same.
  11/10/2013 Kaylan Phillips     2:30       2.50        2.50 $     393.00   $        982.50    $         982.50 KLP- Work on response to gov't brief.

                                                                                                                 NHJ- C KLP to discuss needs for opp. to DOJ MTD
  11/10/2013 Noel Johnson        0:24       0.40        0.00   $   319.00   $        127.60    $            -    division of labor to incorporate feedback from lega

                                                                                                                 NHJ- R, incorporate and RV CM and JCE's edits to opp.
  11/10/2013 Noel Johnson        3:06       3.10        0.00   $   319.00   $        988.90    $            -    to Management Defendants MTD (Bivens). C KLP
             Joseph
  11/11/2013 Vanderhulst         0:30       0.50        0.50   $   393.00   $        196.50    $         196.50 JAV- C KLP and NHJ re RS and edits needed.
             Joseph                                                                                             JAV- C NHJ re MTD response arguments. C with KLP
  11/11/2013 Vanderhulst         1:12       1.20        0.80   $   393.00   $        471.60    $         314.40 re same.
             Joseph
  11/11/2013 Vanderhulst         1:18       1.30        0.00   $   393.00   $        510.90    $            -    JAV- Make edits to QI section of Indiv. response.
             Joseph
  11/11/2013 Vanderhulst         2:00       2.00        0.00 $     393.00   $        786.00    $            -    JAV- RS QI issue for indiv. response.
  11/11/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30    $          39.30 KLP- C NHJ re next steps.
  11/11/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30    $          39.30 KLP- Call from MG re gov't motion.
  11/11/2013 Kaylan Phillips     0:12       0.20        0.00 $     393.00   $         78.60    $            -    KLP- C NHJ and JAV re qualified immunity.
  11/11/2013 Kaylan Phillips     0:12       0.20        0.00 $     393.00   $         78.60    $            -    KLP- C NHJ re qualified immunity.

  11/11/2013 Kaylan Phillips     0:12       0.20        0.00   $   393.00   $         78.60    $            -    KLP- Emails from CM re individual defendants' brief.
                                                                                                                KLP- Email with CM and WD re concerns and
  11/11/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00   $        117.90    $         117.90 combining briefs.
                                                                                                                KLP- Receive and review Mat's changes to gov't brief.
  11/11/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00   $        196.50    $         196.50 Finalize and circulate.
  11/11/2013 Kaylan Phillips     0:30       0.50               $   393.00   $        196.50    $            -    KLP- C MG and NHJ re combining briefs.
                                                                                                                KLP- R updated QI section. Insert into brief. Draft email
  11/11/2013 Kaylan Phillips     0:36       0.60        0.60 $     393.00   $        235.80    $         235.80 with brief.
  11/11/2013 Kaylan Phillips     0:42       0.70        0.00 $     393.00   $        275.10    $            -    KLP- C NHJ and JAV re qualified immunity.
  11/11/2013 Kaylan Phillips     0:54       0.90        0.90 $     393.00   $        353.70    $         353.70 KLP- Work on combining brief.

  11/11/2013 Kaylan Phillips     4:42       4.70        4.70   $   393.00   $       1,847.10   $       1,847.10 KLP- Continue working on combining briefs, c NHJ.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 82 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                                NHJ- C KLP to discuss needs for current drafts of opp.
  11/11/2013 Noel Johnson        0:12       0.20        0.00   $   319.00   $         63.80   $            -    to MTDs (Bivens)
                                                                                                                NHJ- R email chains re comments on drafts of opp. to
  11/11/2013 Noel Johnson        0:12       0.20        0.00   $   319.00   $         63.80   $            -    Individual Defendants' MTDs (Bivens)

                                                                                                                NHJ- PC with MG and KLP re decision to consolidate
  11/11/2013 Noel Johnson        0:24       0.40        0.00   $   319.00   $        127.60   $            -    briefs (Bivens); discussion with KLP re factual
                                                                                                                NHJ- C KLP and JAV re needs for factual allegations
  11/11/2013 Noel Johnson        0:54       0.90        0.00   $   319.00   $        287.10   $            -    section of opp. to MTD's (Bivens)

                                                                                                                NHJ- RS caselaw re first amendment retaliation; draft
  11/11/2013 Noel Johnson        2:12       2.20        0.00   $   319.00   $        701.80   $            -    section on same for opp. to individual defend

                                                                                                                NHJ- Work on revisions to factual allegations section of
  11/11/2013 Noel Johnson        2:42       2.70        0.00   $   319.00   $        861.30   $            -    qualified immunity argument; research re:

                                                                                                                NHJ- RS caselaw re viewpoint discrimination; draft
  11/11/2013 Noel Johnson        3:00       3.00        0.00   $   319.00   $        957.00   $            -    section on same for opp. to individual defendant
             Joseph
  11/12/2013 Vanderhulst         0:30       0.50        0.40   $   393.00   $        196.50   $         157.20 JAV- C KLP and NHJ re MTD responses to-do, RS.
             Joseph
  11/12/2013 Vanderhulst         0:42       0.70        0.50   $   393.00   $        275.10   $         196.50 JAV- Call with team re feedback for MTD responses.
             Joseph
  11/12/2013 Vanderhulst         1:00       1.00        1.00   $   393.00   $        393.00   $         393.00 JAV- RS committee reports for evidence.
                                                                                                               KLP- Draft email to MG, JAV, and NHJ re schedule
  11/12/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00   $         39.30   $          39.30 going foward.

  11/12/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00   $         39.30   $          39.30 KLP- Email from CM re change in plans for call today.

                                                                                                               KLP- Email ML re requesting consent from opposing
  11/12/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00   $         39.30   $          39.30 counsel for stay and for more pages for a consoli
                                                                                                               KLP- R letter re stay of publishing docs produced by
  11/12/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30   $          39.30 TTV.
  11/12/2013 Kaylan Phillips     0:12       0.20        0.00 $     393.00   $         78.60   $            -    KLP- C NHJ re evidence and qualified immunity.
  11/12/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $         78.60   $          78.60 KLP- C JAV re schedule going forward.
  11/12/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $         78.60   $          78.60 KLP- C NHJ re gov't motion.
                                                                                                               KLP- Email with ML and CM re updated briefs. Circulate
  11/12/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00   $         78.60   $          78.60 updated gov't
                                                                                                               KLP- Email with NHJ re updated individual brief. R
  11/12/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00   $         78.60   $          78.60 changes.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 83 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
  11/12/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00   $         78.60   $          78.60 KLP- Follow up call with MG, NHJ, JAV re next steps.
                                                                                                               KLP- R portion of complaint re returned grant. R
  11/12/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00   $         78.60   $          78.60 Catherine's email re same.
                                                                                                               KLP- Email with ML and WD re conference calls. Send
  11/12/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00   $        117.90   $         117.90 calendar updates. Call from CM re same.

  11/12/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00   $        196.50   $         196.50 KLP- Call with WD, JCE, MG, NHJ and JAV re briefs.

                                                                                                               KLP- R draft motion for leave to file oversized brief.
  11/12/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00   $        196.50   $         196.50 Draft email to CM and ML re same. Email from
                                                                                                               KLP- Receive updates to qualified immunity section,
  11/12/2013 Kaylan Phillips     0:36       0.60        0.00   $   393.00   $        235.80   $            -   insert into master draft.
                                                                                                               KLP- R notes and come up with final checklist for all the
  11/12/2013 Kaylan Phillips     1:00       1.00        1.00   $   393.00   $        393.00   $         393.00 briefs.
                                                                                                               KLP- Make list of evidence to consider adding. R emails
  11/12/2013 Kaylan Phillips     1:12       1.20        1.20   $   393.00   $        471.60   $         471.60 re same. Search news articles.

                                                                                                                NHJ- PC with BD, MG, JCE, KLP and JAV to discuss
  11/12/2013 Noel Johnson        0:42       0.70        0.00   $   319.00   $        223.30   $            -    needs and changes to opp. to MTDs (DOJ and Bivens)

                                                                                                               NHJ- C KLP re needs for motion for excess pages; RS
  11/12/2013 Noel Johnson        0:54       0.90        0.90   $   319.00   $        287.10   $         287.10 good cause standard for same; draft motion to f

                                                                                                                NHJ- Continue revising First Amendment retaliation
  11/12/2013 Noel Johnson        1:36       1.60        0.00   $   319.00   $        510.40   $            -    section of opp. to MTD (Bivens); circulate draft
                                                                                                               NHJ- Proofread and make edits/revisions to draft opp.
  11/12/2013 Noel Johnson        1:54       1.90        1.90   $   319.00   $        606.10   $         606.10 to DOJ MTD. C with KLP re same.

                                                                                                                NHJ- R, incorporate, and RV JAV's edits to QI factual
  11/12/2013 Noel Johnson        2:12       2.20        0.00   $   319.00   $        701.80   $            -    section of opp. to MTDs; conferences with JAV
             Joseph
  11/13/2013 Vanderhulst         0:30       0.50        0.50   $   393.00   $        196.50   $         196.50 JAV- R 6104 procedures.
             Joseph
  11/13/2013 Vanderhulst         0:30       0.50        0.50   $   393.00   $        196.50   $         196.50 JAV- R oversize memo.
             Joseph
  11/13/2013 Vanderhulst         1:00       1.00        0.70   $   393.00   $        393.00   $         275.10 JAV- Team conf call re consolidated MTD response.
             Joseph                                                                                            JAV- R next drafts of Indiv. and DOJ responses, r def
  11/13/2013 Vanderhulst         2:00       2.00        2.00   $   393.00   $        786.00   $         786.00 motions, confs re rest.
             Joseph
  11/13/2013 Vanderhulst         2:00       2.00        2.00   $   393.00   $        786.00   $         786.00 JAV- Work on revisions to DOJ brief.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 84 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
  11/13/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30    $          39.30 KLP- Draft email to team re schedule going forward.
  11/13/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30    $          39.30 KLP- Email group re conference call.
                                                                                                                KLP- Email with colleagues re list of evidence to
  11/13/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30    $          39.30 consider.
  11/13/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30    $          39.30 KLP- P for PC.
                                                                                                                KLP- R updated DOJ brief. Finalize and P for
  11/13/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00   $        117.90    $         117.90 circulation.
                                                                                                                KLP- C NHJ re edits to DOJ motion. Emails re same.
  11/13/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00   $        157.20    $         157.20 (two)
                                                                                                                KLP- C with NHJ and JAV re next steps for the
  11/13/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00   $        196.50    $         196.50 individual motions.
                                                                                                                KLP- Call from MG re factual analysis. Email with MG
  11/13/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00   $        196.50    $         196.50 re documents.
                                                                                                                KLP- Call with CM, ML, MG, NHJ, and JAV re individual
  11/13/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00   $        196.50    $         196.50 motions.
                                                                                                                KLP- Email from opposing counsel re: motion for
  11/13/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00   $        196.50    $         196.50 additional pages. Emails with team re: next steps.

                                                                                                                KLP- Email with drafting team re: recommendation for
  11/13/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00   $        235.80    $         235.80 team. C with NHJ. C with JAV. Call from MG re:
                                                                                                                KLP- Work on jurisdictional sections. R and add to
  11/13/2013 Kaylan Phillips     0:54       0.90        0.90 $     393.00   $        353.70    $         353.70 factual allegations.
  11/13/2013 Kaylan Phillips     1:30       1.50        1.50 $     393.00   $        589.50    $         589.50 KLP- Continue incorporating ML's edits.
  11/13/2013 Kaylan Phillips     1:48       1.80        1.80 $     393.00   $        707.40    $         707.40 KLP- Work on incorporating ML's edits.
                                                                                                                KLP- Email from CM re revisions. Circulate to drafting
  11/13/2013 Kaylan Phillips     2:36       2.60        2.60   $   393.00   $       1,021.80   $       1,021.80 team. Work on revisions. C NHJ re same.
                                                                                                                NHJ- R and incorporate ML's edits to opp. to MTD.
  11/13/2013 Noel Johnson        0:12       0.20        0.00   $   319.00   $         63.80    $            -   (Bivens)

  11/13/2013 Noel Johnson        0:12       0.20        0.00   $   319.00   $         63.80    $            -    NHJ- R CM's changes to order of opp. to MTD (Bivens)
                                                                                                                NHJ- C JAV re status of implementation of TIGTA
  11/13/2013 Noel Johnson        0:12       0.20        0.20   $   319.00   $         63.80    $          63.80 recommendations by IRS.
                                                                                                                NHJ- C KLP re needs for mootness section of opp. to
  11/13/2013 Noel Johnson        0:12       0.20        0.20 $     319.00   $         63.80    $          63.80 DOJ MTD.
  11/13/2013 Noel Johnson        0:12       0.20        0.20 $     319.00   $         63.80    $          63.80 NHJ- C KLP re needs for opp. to DOJ motion.

  11/13/2013 Noel Johnson        0:12       0.20        0.20   $   319.00   $         63.80    $          63.80 NHJ- Case law RS re voluntary cessastion doctrine.



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Expenses adjusted for reimbursable and non-reimbursable.              Page 85 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                                NHJ- C KLP re adding additional factual material in
  11/13/2013 Noel Johnson        0:18       0.30        0.00   $   319.00   $         95.70   $            -    personal jurisdiction section of opp. to MTD (B
                                                                                                                NHJ- R authority cited by DOJ MTD_ Munsell v. Dept of
  11/13/2013 Noel Johnson        0:18       0.30        0.00   $   319.00   $         95.70   $            -    Agri.
                                                                                                                NHJ- C JAV and KLP to discuss needs for draft opp. to
  11/13/2013 Noel Johnson        0:30       0.50        0.00   $   319.00   $        159.50   $            -    MTDs. (Bivens)
                                                                                                                NHJ- PC with ML, CM, JAV, and KLP to discuss draft
  11/13/2013 Noel Johnson        0:30       0.50        0.00   $   319.00   $        159.50   $            -    opp. to MTDs (Bivens)

                                                                                                               NHJ- RV opp. to DOJ to incorporate evidence re
  11/13/2013 Noel Johnson        0:30       0.50        0.50   $   319.00   $        159.50   $         159.50 treatment of tea party applicants during congression
                                                                                                               NHJ- R DOJ MTD; verify various arguments are
  11/13/2013 Noel Johnson        0:42       0.70        0.00   $   319.00   $        223.30   $            -   addressed in opp. to same.
                                                                                                                NHJ- RV portions of qualified immunity to opp. to MTD
  11/13/2013 Noel Johnson        0:48       0.80        0.00   $   319.00   $        255.20   $            -    (Bivens)

                                                                                                               NHJ- RS case law re standard of review for 12(b)(1)
  11/13/2013 Noel Johnson        0:54       0.90        0.90   $   319.00   $        287.10   $         287.10 motions; RV standard of review section of opp.

                                                                                                               NHJ- RS re status of implementation of TIGTA
  11/13/2013 Noel Johnson        0:54       0.90        0.90   $   319.00   $        287.10   $         287.10 recommendations by IRS; ongoing nature of targeting.
                                                                                                               NHJ- R and incorporate CM's edits to DOJ MTD; make
  11/13/2013 Noel Johnson        1:00       1.00        0.00   $   319.00   $        319.00   $            -   other revisions to same.
                                                                                                                NHJ- R and incorporate ML's edits to opp to MTD
  11/13/2013 Noel Johnson        1:36       1.60        0.00   $   319.00   $        510.40   $            -    (Bivens); c with KLP and JAV re same.
             Joseph
  11/14/2013 Vanderhulst         0:12       0.20        0.20   $   393.00   $         78.60   $          78.60 JAV- C NHJ and KLP re additional evidence.
             Joseph
  11/14/2013 Vanderhulst         0:18       0.30        0.30   $   393.00   $        117.90   $         117.90 JAV- C NHJ re motion to prevent disclosure.
             Joseph
  11/14/2013 Vanderhulst         0:30       0.50        0.50   $   393.00   $        196.50   $         196.50 JAV- Finalize supersize brief motion.
             Joseph                                                                                            JAV- RS mechanisms for stay/injunction re app
  11/14/2013 Vanderhulst         1:00       1.00        0.00   $   393.00   $        393.00   $            -   disclosure.
             Joseph
  11/14/2013 Vanderhulst         1:00       1.00        1.00   $   393.00   $        393.00   $         393.00 JAV- Finalize DOJ dismiss response, circulate.
             Joseph
  11/14/2013 Vanderhulst         2:00       2.00        0.00   $   393.00   $        786.00   $            -    JAV- Draft motion for stay.
             Joseph                                                                                            JAV- Edit and circualte near-final DOJ dismiss
  11/14/2013 Vanderhulst         2:00       2.00        2.00 $     393.00   $        786.00   $         786.00 response.
  11/14/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30   $          39.30 KLP- call from MG re final revisions.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 86 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               KLP- Email from CM re Carter Hull's supervisor.
  11/14/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30   $          39.30 Circulate to team.
  11/14/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30   $          39.30 KLP- Email to client re schedule.
                                                                                                               KLP- Email to MG re revisions to DOJ brief. D
  11/14/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00   $         39.30   $          39.30 explanation of how to proceed.
                                                                                                                KLP- R JAV's draft motion to stay. Edit. Send
  11/14/2013 Kaylan Phillips     0:12       0.20        0.00   $   393.00   $         78.60   $            -    comments.
                                                                                                               KLP- D email to team with remaining questions.
  11/14/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $         78.60   $          78.60 Circulate briefs.
  11/14/2013 Kaylan Phillips     0:18       0.30        0.00 $     393.00   $        117.90   $            -    KLP- Work on qualified immunity facts. R motions.
  11/14/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00   $        117.90   $         117.90 KLP- C NHJ re jurisdictional case law. R cases.
                                                                                                               KLP- Email from CM re "return information"- email with
  11/14/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00   $        117.90   $         117.90 MG re same.

  11/14/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00   $        117.90   $         117.90 KLP- Email with ML re edits to responses. Call re same.

  11/14/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00   $        117.90   $         117.90 KLP- Email with NHJ and MG re Individual response.
                                                                                                               KLP- Email with teammates re final questions and
  11/14/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00   $        117.90   $         117.90 strategy for responses.
  11/14/2013 Kaylan Phillips     0:24       0.40        0.40 $     393.00   $        157.20   $         157.20 KLP- C with NHJ and JAV re additional evidence.
                                                                                                               KLP- Receive, review, and incorporate Cleta's changes
  11/14/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00   $        196.50   $         196.50 to Ind. Resp.
                                                                                                               KLP- Receive, review, and incorporate Cleta's changes
  11/14/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00   $        235.80   $         235.80 to DOJ resp.
                                                                                                               KLP- Receive, review, and incorporate ML’s changes to
  11/14/2013 Kaylan Phillips     1:12       1.20        1.20   $   393.00   $        471.60   $         471.60 second half of individual response.
                                                                                                               KLP- Continue editing individual response. Finalize.
  11/14/2013 Kaylan Phillips     1:42       1.70        1.70   $   393.00   $        668.10   $         668.10 Circulate.
                                                                                                               KLP- Continue editing individual response. C NHJ re
  11/14/2013 Kaylan Phillips     1:54       1.90        1.90   $   393.00   $        746.70   $         746.70 sources needed. Email and call to MG re same.

                                                                                                               KLP- Work on jurisdictional sections. Review and add to
  11/14/2013 Kaylan Phillips     1:54       1.90        1.90   $   393.00   $        746.70   $         746.70 factual allegations. Review case law. Revie
                                                                                                               NHJ- PC with MG re comments on conspiracy theory
  11/14/2013 Noel Johnson        0:06       0.10        0.00   $   319.00   $         31.90   $            -   section of opp. to MTDs (Bivens)
                                                                                                                NHJ- Attempt to combine edits to draft opp. to Individual
  11/14/2013 Noel Johnson        0:12       0.20        0.00   $   319.00   $         63.80   $            -    Defendants MTDs (Bivens) with KLP.
                                                                                                                NHJ- R MTD filed in DDC Bivens action- Bloem v. Dept
  11/14/2013 Noel Johnson        0:12       0.20        0.00   $   319.00   $         63.80   $            -    of the Interior.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 87 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
                                                                                                                 NHJ- C KLP to discuss needs for opp. to Individual
  11/14/2013 Noel Johnson        0:18       0.30        0.00   $   319.00   $         95.70    $            -    Defendants MTD. (Bivens)

                                                                                                                 NHJ- R and RV section on "clearly established rights" in
  11/14/2013 Noel Johnson        0:18       0.30        0.00 $     319.00   $         95.70    $            -    opp. to Individual Defendants MTDs (Bivens
  11/14/2013 Noel Johnson        0:18       0.30        0.30 $     319.00   $         95.70    $          95.70 NHJ- C JAV re motion to prevent disclosure.
                                                                                                                NHJ- Case law RS re discovery to reveal identity of
  11/14/2013 Noel Johnson        0:24       0.40        0.40   $   319.00   $        127.60    $         127.60 unnamed defendants.

                                                                                                                 NHJ- RS re personal jurisdiction; review an revise
  11/14/2013 Noel Johnson        2:18       2.30        0.00   $   319.00   $        733.70    $            -    portions of opp. to Individual Defendants MTDs r

                                                                                                                 NHJ- Proofread latest draft of opp. to Individual
  11/14/2013 Noel Johnson        3:48       3.80        0.00   $   319.00   $       1,212.20   $            -    Defendants MTDs (Bivens); make revisions to same;
             Joseph
  11/15/2013 Vanderhulst         1:00       1.00        1.00   $   393.00   $        393.00    $         393.00 JAV- File dismiss, responses, motions, and orders.
             Joseph                                                                                             JAV- Proof and help finalize supersize motion and
  11/15/2013 Vanderhulst         1:00       1.00        1.00   $   393.00   $        393.00    $         393.00 orders.
             Joseph                                                                                             JAV- RV and circulate motion for stay of agency action.
  11/15/2013 Vanderhulst         1:30       1.50        0.00   $   393.00   $        589.50    $            -   C with NHJ re same.
             Joseph
  11/15/2013 Vanderhulst         3:00       3.00        3.00   $   393.00   $       1,179.00   $       1,179.00 JAV- Proof and help finalize DOJ dismiss resposne.
             Joseph
  11/15/2013 Vanderhulst         3:48       3.80        3.80 $     393.00   $       1,493.40   $       1,493.40 JAV- Proof and help finalize Indiv. dismiss response.
  11/15/2013 Kaylan Phillips     0:06       0.10        0.00 $     393.00   $         39.30    $            -    KLP- Emails re motion to stay.
  11/15/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30    $          39.30 KLP- Approval emails from Bill Davis.
                                                                                                                KLP- Email with CM re final approval and client
  11/15/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $         78.60    $          78.60 approval.
  11/15/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00   $        117.90    $         117.90 KLP- R local rules. Check ECF log-ins.

  11/15/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00   $        117.90    $         117.90 KLP- Receive Mat's changes to DOJ brief. Review.

                                                                                                                KLP- C NHJ re plan for today(two). Email with MG re
  11/15/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00   $        196.50    $         196.50 same. Emails from partners re schedule for edit
                                                                                                                KLP- Email with WD and ML re final steps. R notes re
  11/15/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00   $        196.50    $         196.50 final documents needs.
  11/15/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00   $        196.50    $         196.50 KLP- Work on tables for response to gov't brief.
                                                                                                                KLP- C MG re changes to conspiracy section. Cross-
  11/15/2013 Kaylan Phillips     0:36       0.60        0.00   $   393.00   $        235.80    $            -   reference and add in changes.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 88 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                         1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
                                                                                                                 KLP- Emails re tables for response to individual brief. R
  11/15/2013 Kaylan Phillips     0:36       0.60        0.00   $   393.00   $        235.80    $            -    tables.
                                                                                                                KLP- Receive and implement ML's edits to DOJ brief.
  11/15/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00   $        235.80    $         235.80 Send to Mat.

                                                                                                                 KLP- Receive ML's edits to individual brief. Implement.
  11/15/2013 Kaylan Phillips     1:00       1.00        0.00   $   393.00   $        393.00    $            -    C with MG re additions. R MG's changes.
                                                                                                                KLP- Print responses and begin proofing citations to the
  11/15/2013 Kaylan Phillips     1:00       1.00        1.00   $   393.00   $        393.00    $         393.00 record and cases in the gov't brief.
                                                                                                                KLP- Begin proofing citations to the record and cases in
  11/15/2013 Kaylan Phillips     1:30       1.50        0.00   $   393.00   $        589.50    $            -   the Individuals' brief. Edit and correct c
                                                                                                                KLP- R final documents and assist with filing. Email with
  11/15/2013 Kaylan Phillips     1:48       1.80        1.80   $   393.00   $        707.40    $         707.40 team.
                                                                                                                KLP- R individual brief, edit. Implement edits from
  11/15/2013 Kaylan Phillips     3:00       3.00        0.00   $   393.00   $       1,179.00   $            -   others.
                                                                                                                NHJ- C KLP to discuss needs for tables and cite
  11/15/2013 Noel Johnson        0:06       0.10        0.10 $     319.00   $         31.90    $          31.90 checking.
  11/15/2013 Noel Johnson        0:12       0.20        0.00 $     319.00   $         63.80    $            -    NHJ- Create and RV exhibits to opp. to MTDs.
  11/15/2013 Noel Johnson        0:12       0.20        0.00 $     319.00   $         63.80    $            -    NHJ- Create cover sheets for opp. to MTDs.

                                                                                                                 NHJ- R finalize and file motion for leave to file
  11/15/2013 Noel Johnson        0:12       0.20        0.00   $   319.00   $         63.80    $            -    consolidated response to Individual Defendant's M
                                                                                                                 NHJ- R ML's changes to Biven's section of opp. to
  11/15/2013 Noel Johnson        0:12       0.20        0.00   $   319.00   $         63.80    $            -    Individual Defendant's MTD.
                                                                                                                 NHJ- R finalize and file consolidated response to
  11/15/2013 Noel Johnson        0:18       0.30        0.00   $   319.00   $         95.70    $            -    Individual Defendant's MTDs. (Bivens)

  11/15/2013 Noel Johnson        0:18       0.30        0.00 $     319.00   $         95.70    $            -    NHJ- R, finalize, and file opp. to DOJ motion to dismiss.
  11/15/2013 Noel Johnson        0:24       0.40        0.40 $     319.00   $        127.60    $         127.60 NHJ- Draft proposed orders denying all MTDs.
                                                                                                                NHJ- C KLP to discuss needs for affidavit; P summary
  11/15/2013 Noel Johnson        0:30       0.50        0.50   $   319.00   $        159.50    $         159.50 of evidence possibly.

                                                                                                                 NHJ- R draft motion to stay agency action; discuss
  11/15/2013 Noel Johnson        0:48       0.80        0.00   $   319.00   $        255.20    $            -    same with JAV; make revisions to same and circ u
                                                                                                                 NHJ- Final proofread of opp. to DOJ MTD; make edits
  11/15/2013 Noel Johnson        1:18       1.30        0.00   $   319.00   $        414.70    $            -    to same.
                                                                                                                 NHJ- Create TOC and TOA for opp. to opp to DOJ
  11/15/2013 Noel Johnson        1:54       1.90        0.00   $   319.00   $        606.10    $            -    MTD.




* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 89 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                                NHJ- Cite check references to Amended Compliant,
  11/15/2013 Noel Johnson        2:06       2.10        0.00   $   319.00   $        669.90   $            -    Exhibits and MTDs in opp to Individual Defendants
                                                                                                                NHJ- Create TOC and TOA for opp. to Individual
  11/15/2013 Noel Johnson        3:00       3.00        0.00 $     319.00   $        957.00   $            -    Defendants' MTD (Bivens)
  11/18/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30   $          39.30 KLP- Email response to gov't brief to Bill.

  11/18/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00   $         78.60   $          78.60 KLP- C with NHJ re ZSK's withdrawal. Email client.
                                                                                                               KLP- Email from CM re emailing documents to clients.
  11/18/2013 Kaylan Phillips     0:12       0.20        0.20   $   393.00   $         78.60   $          78.60 Draft email.
                                                                                                               KLP- P mail service from Friday's filing. Take to post
  11/18/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00   $        117.90   $         117.90 office.
                                                                                                               KLP- Work with TJP to update TTV litigation page.
  11/18/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00   $        235.80   $         235.80 Send documents. Review.
  11/18/2013 Noel Johnson        0:06       0.10        0.10   $   319.00   $         31.90   $          31.90 NHJ- C KLP re ZSK's withdrawal. Email client.
                                                                                                               KLP- R articles re Cindy Thomas's response to Lois
  11/19/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00   $         39.30   $          39.30 Lerner's statements.
                                                                                                               NHJ- R qualified immunity suit in which cert. was
  11/19/2013 Noel Johnson        0:18       0.30        0.30   $   319.00   $         95.70   $          95.70 granted- Allen v. CIty of West Memphis.

                                                                                                               KLP- ECF notice re opposition to motion for
  11/20/2013 Kaylan Phillips     0:18       0.30        0.30   $   393.00   $        117.90   $         117.90 consolidated brief. Message NHJ re circulating oppositi
             Joseph
  11/21/2013 Vanderhulst         0:18       0.30        0.30   $   393.00   $        117.90   $         117.90 JAV- R ems re opposition to consolidated reply.
                                                                                                               KLP- Email from CM re ACLJ's second amended
  11/21/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00   $         39.30   $          39.30 complaint.
                                                                                                               KLP- Email with colleagues re: reply to motion for leave
  11/21/2013 Kaylan Phillips     1:06       1.10        1.10   $   393.00   $        432.30   $         432.30 to file consolidated brief (throughout mor

                                                                                                               NHJ- Review Management Defs. Opp. to Motion for
  11/21/2013 Noel Johnson        0:12       0.20        0.20   $   319.00   $         63.80   $          63.80 Leave to file Consolidated Response; email to legal

                                                                                                               NHJ- Begin LR for and being drafting reply for motion
  11/21/2013 Noel Johnson        1:36       1.60        1.60 $     319.00   $        510.40   $         510.40 for leave to file consolidated memo; discuss
  11/22/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30   $          39.30 KLP- Emails re conference call canceled today.
                                                                                                               KLP- Emails re: reply to motion for leave to file
  11/22/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00   $        196.50   $         196.50 consolidated brief. Review reply and make edits.
                                                                                                               NHJ- Incorporate legal teams' suggestion to reply to
  11/22/2013 Noel Johnson        0:24       0.40        0.40   $   319.00   $        127.60   $         127.60 motion for leave; file same.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 90 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               NHJ- P mailing for service for reply to motion for leave;
  11/22/2013 Noel Johnson        0:24       0.40        0.40   $   319.00   $        127.60   $         127.60 drive to post office to mail same.
                                                                                                               NHJ- Continue research re: motions for excess pages;
  11/22/2013 Noel Johnson        1:54       1.90        1.90   $   319.00   $        606.10   $         606.10 finish drafting reply to motion for leave; cir

                                                                                                               KLP- ECF notice granting motioni to file consolidated
  11/26/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00   $        157.20   $         157.20 brief. Forward to colleagues. Email with coll

                                                                                                               KLP- ECF re: Cincinnati non-opposition to consolidated
  11/26/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00   $        157.20   $         157.20 brief. Review. Forward to colleagues and em
                                                                                                               KLP- ECF notice re consolidated response to Individual
  11/27/2013 Kaylan Phillips     0:06       0.10        0.00   $   393.00   $         39.30   $            -   Defendants' motions filed.
             Joseph
  12/02/2013 Vanderhulst         0:18       0.30        0.00 $     393.00   $        117.90   $            -    JAV- C NHJ re stay response, motion to grant.
  12/02/2013 Kaylan Phillips     0:18       0.30        0.00 $     393.00   $        117.90   $            -    KLP- C NHJ re stay of agency action RS.
  12/02/2013 Noel Johnson        0:18       0.30        0.00 $     319.00   $         95.70   $            -    NHJ- C KLP to discuss stay of agency action RS.
                                                                                                                NHJ- Case law RS re requirements for stay of agency
  12/02/2013 Noel Johnson        1:06       1.10        0.00   $   319.00   $        350.90   $            -    action; discuss same with JAV.
             Joseph                                                                                             JAV- R ems re discussion of motion to stay response, r
  12/03/2013 Vanderhulst         0:30       0.50        0.00   $   393.00   $        196.50   $            -    motion. C with NHJ re same.
                                                                                                                KLP- ECF notice re opposition to motion to stay agency
  12/03/2013 Kaylan Phillips     0:18       0.30        0.00   $   393.00   $        117.90   $            -    action. Briefly review and circulate.
                                                                                                                KLP- C NHJ re motion to stay agency action. R docket.
  12/03/2013 Kaylan Phillips     0:24       0.40        0.00   $   393.00   $        157.20   $            -    R emails re same.

                                                                                                                NHJ- R local rules re conceded motions; email to legal
  12/03/2013 Noel Johnson        0:12       0.20        0.00   $   319.00   $         63.80   $            -    team re uncontested motion to stay agency ac
                                                                                                                NHJ- Discuss motion stay with JAV; email to CM re
  12/03/2013 Noel Johnson        0:18       0.30        0.00   $   319.00   $         95.70   $            -    same; emails to legal team re same.
             Joseph                                                                                             JAV- C KLP and NHJ re stay response and moving
  12/04/2013 Vanderhulst         0:30       0.50        0.00   $   393.00   $        196.50   $            -    forward.
             Joseph
  12/04/2013 Vanderhulst         0:30       0.50        0.00   $   393.00   $        196.50   $            -    JAV- Start r of motion to stay response, c NHJ re same.

  12/04/2013 Kaylan Phillips     0:12       0.20        0.00   $   393.00   $         78.60   $            -    KLP- C JAV re arguments for reply to motion to stay.
                                                                                                                KLP- Emails re DOJ response to motion to stay agency
  12/04/2013 Kaylan Phillips     0:12       0.20        0.00   $   393.00   $         78.60   $            -    action.

                                                                                                               KLP- R local rules re calculating deadlines. Email/call
  12/04/2013 Kaylan Phillips     0:30       0.50        0.50   $   393.00   $        196.50   $         196.50 with Linda Aguirre re same. C NHJ re findin


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Expenses adjusted for reimbursable and non-reimbursable.              Page 91 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               KLP- C with NHJ to discuss reply to DOJ opposition to
  12/04/2013 Kaylan Phillips     0:54       0.90        0.00   $   393.00   $        353.70   $           -    motion to stay agency action.
                                                                                                              NHJ- R rules re computing time to respond to motion;
  12/04/2013 Noel Johnson        0:12       0.20        0.20   $   319.00   $         63.80   $         63.80 discuss same with KLP.
                                                                                                              NHJ- Continue LR re Sec 705 and begin drafting reply
  12/04/2013 Noel Johnson        0:42       0.70        0.00   $   319.00   $        223.30   $           -   to motion for stay.

  12/04/2013 Noel Johnson        0:42       0.70        0.00   $   319.00   $        223.30   $           -    NHJ- R DOJ opposition to motion to stay agency action.
                                                                                                               NHJ- C KLP and JAV to discuss reply to DOJ
  12/04/2013 Noel Johnson        0:54       0.90        0.00   $   319.00   $        287.10   $           -    opposition to motion to stay agency action.
                                                                                                               NHJ- Continue LR re Sec. 705 and begin drafting reply
  12/04/2013 Noel Johnson        2:06       2.10        0.00   $   319.00   $        669.90   $           -    to motion for stay.
                                                                                                               NHJ- LR re stays of agency action under Sec. 705 of
  12/04/2013 Noel Johnson        2:12       2.20        0.00   $   319.00   $        701.80   $           -    APA.
             Joseph
  12/05/2013 Vanderhulst         1:00       1.00        0.00 $     393.00   $        393.00   $           -    JAV- R responses to motion for stay, c NHJ re same.
  12/05/2013 Kaylan Phillips     0:12       0.20        0.00 $     393.00   $         78.60   $           -    KLP- Emails re reply to motion to stay.
                                                                                                               NHJ- Conferences with JAV re reply to motion to stay
  12/05/2013 Noel Johnson        0:18       0.30        0.00   $   319.00   $         95.70   $           -    agency action.
                                                                                                               NHJ- Continue drafting reply to motion to stay agency
  12/05/2013 Noel Johnson        0:24       0.40        0.00   $   319.00   $        127.60   $           -    action.
                                                                                                               NHJ- C JAV to discuss his suggestions for reply to stay
  12/05/2013 Noel Johnson        0:42       0.70        0.00   $   319.00   $        223.30   $           -    agency action.

  12/05/2013 Noel Johnson        1:00       1.00        0.00   $   319.00   $        319.00   $           -    NHJ- Continue RS re factors for stay for agency action.
                                                                                                               NHJ- Continue drafting reply to motion to stay agency
  12/05/2013 Noel Johnson        2:24       2.40        0.00   $   319.00   $        765.60   $           -    action.
                                                                                                               NHJ- Continue drafting reply to motion to stay agency
  12/05/2013 Noel Johnson        2:30       2.50        0.00   $   319.00   $        797.50   $           -    action.
             Joseph
  12/06/2013 Vanderhulst         1:00       1.00        0.00   $   393.00   $        393.00   $           -    JAV- R motion to stay reply, make edits.
             Joseph
  12/06/2013 Vanderhulst         1:30       1.50        0.00 $     393.00   $        589.50   $           -    JAV- R response to motion to stay, make notes.
  12/06/2013 Kaylan Phillips     0:36       0.60        0.00 $     393.00   $        235.80   $           -    KLP- C NHJ re reply to motion to stay.
                                                                                                               KLP- R and edit reply to motion to state agency action.
  12/06/2013 Kaylan Phillips     0:42       0.70        0.00   $   393.00   $        275.10   $           -    Emails re same.

                                                                                                               NHJ- Incorporate KLP's additonal edits/suggestions to
  12/06/2013 Noel Johnson        0:18       0.30        0.00   $   319.00   $         95.70   $           -    reply to motion to stay agency action.



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Expenses adjusted for reimbursable and non-reimbursable.              Page 92 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                         1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                                NHJ- LR re public interest factor of stay of agency
  12/06/2013 Noel Johnson        0:24       0.40        0.00   $   319.00   $        127.60   $            -    action.
                                                                                                                NHJ- C KLP to discuss reply to motion to stay agency
  12/06/2013 Noel Johnson        0:36       0.60        0.00   $   319.00   $        191.40   $            -    action.
                                                                                                                NHJ- Incorporate KLP's suggestions to reply to motion
  12/06/2013 Noel Johnson        0:36       0.60        0.00   $   319.00   $        191.40   $            -    to stay agency action.

                                                                                                                NHJ- R and incorporate JAV's edits/suggestions to stay
  12/06/2013 Noel Johnson        0:42       0.70        0.00   $   319.00   $        223.30   $            -    agency action; email to legal team attaching
                                                                                                                NHJ- Continue drafting reply to motion to stay agency
  12/06/2013 Noel Johnson        1:00       1.00        0.00   $   319.00   $        319.00   $            -    action.
             Joseph
  12/09/2013 Vanderhulst         0:24       0.40        0.00   $   393.00   $        157.20   $            -    JAV- R RV draft of motion for stay reply.

  12/09/2013 Kaylan Phillips     0:06       0.10        0.10   $   393.00   $         39.30   $          39.30 KLP- Email to client re ZSK's notice of withdrawal.
                                                                                                               KLP- C NHJ re reply motion to stay agency action. R
  12/09/2013 Kaylan Phillips     0:24       0.40        0.00   $   393.00   $        157.20   $            -   CM's comments. Emails re same.

                                                                                                                NHJ- R and incorporate MG's edits to reply to motion to
  12/09/2013 Noel Johnson        0:12       0.20        0.00   $   319.00   $         63.80   $            -    stay agency action; circulate latest draft
                                                                                                               NHJ- R dockets in other IRS targeting actions; R
  12/09/2013 Noel Johnson        0:12       0.20        0.20   $   319.00   $         63.80   $          63.80 recently filed docs/orders.
                                                                                                               NHJ- Incorporate ML's changes to reply to motion to
  12/09/2013 Noel Johnson        0:30       0.50        0.00   $   319.00   $        159.50   $            -   stay agency action; file same.

                                                                                                                NHJ- R and incorporate CM's edits to reply to motion to
  12/09/2013 Noel Johnson        0:30       0.50        0.00   $   319.00   $        159.50   $            -    stay agency action; proofread same; add S.C
                                                                                                                KLP- P mail service for reply to motion to stay agency
  12/11/2013 Kaylan Phillips     0:24       0.40        0.00   $   393.00   $        157.20   $            -    action. Take to post office.
                                                                                                               KLP- Receive and review signed withdrawal form from
  12/16/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $         78.60   $          78.60 Catherine. Forward to NHJ for filing.
  12/17/2013 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30   $          39.30 KLP- Email client re reply briefs.
  12/17/2013 Kaylan Phillips     0:18       0.30        0.30 $     393.00   $        117.90   $         117.90 KLP- C TJP re getting docs on website. R.

  12/17/2013 Kaylan Phillips     0:24       0.40        0.40   $   393.00   $        157.20   $         157.20 KLP- Receive and review DOJ's Reply. C NHJ re same.
                                                                                                               KLP- Receive and review Management Defendants'
  12/17/2013 Kaylan Phillips     0:36       0.60        0.60   $   393.00   $        235.80   $         235.80 Reply. C NHJ re same.
                                                                                                               KLP- Receive and review Cincinnati Defendants' Reply.
  12/17/2013 Kaylan Phillips     1:00       1.00        1.00   $   393.00   $        393.00   $         393.00 C NHJ re same.



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Expenses adjusted for reimbursable and non-reimbursable.              Page 93 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               NHJ- Finalize and file notice of withdrawal of ZSK;
  12/17/2013 Noel Johnson        0:24       0.40        0.40   $   319.00   $        127.60   $         127.60 prepare mailing for service to David Fish.

                                                                                                               NHJ- R DOJ MTD reply brief; discuss same with KLP;
  12/17/2013 Noel Johnson        0:36       0.60        0.40   $   319.00   $        191.40   $         127.60 PC with MG re same; email to legal team with tho

                                                                                                                NHJ- R Motion to Dismiss Reply briefs of Individual
  12/17/2013 Noel Johnson        1:42       1.70        0.00 $     319.00   $        542.30   $            -    Defendants; discuss same with KLP; circulate sa
  12/18/2013 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $         78.60   $          78.60 KLP- C MG re replies.
  01/06/2014 Kaylan Phillips     0:12       0.20        0.00 $     393.00   $         78.60   $            -    KLP- Email with CM re responses to MTD.
                                                                                                                KLP- Call with Carly Cammil from ACLJ re MTD
  01/09/2014 Kaylan Phillips     0:36       0.60        0.00   $   393.00   $        235.80   $            -    response. C NHJ re same.
                                                                                                               KLP- Call from ACLJ re RS. R and email legislative to
  01/20/2014 Kaylan Phillips     0:18       0.30        0.30   $   393.00   $        117.90   $         117.90 Carly.
                                                                                                               NHJ- R 7433 legislative history RS to respond to inquiry
  01/20/2014 Noel Johnson        0:06       0.10        0.10   $   319.00   $         31.90   $          31.90 from ACLJ.
                                                                                                               KLP- ECF notice of appearance, counsel for
  01/23/2014 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30   $          39.30 Management defendants.
  02/08/2014 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $         78.60   $          78.60 KLP- Emails between co counsel re next steps.
  02/17/2014 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $         78.60   $          78.60 KLP- Email with CM re strategy call.
                                                                                                               KLP- Email from NHJ re RS on Judge Walton. Email to
  02/18/2014 Kaylan Phillips     0:12       0.20        0.20   $   393.00   $         78.60   $          78.60 CM re same.

                                                                                                                NHJ- R issues presented in case pending before
  02/18/2014 Noel Johnson        0:06       0.10        0.00 $     319.00   $         31.90   $            -    SCOTUS re qualified immunity; email to KLP/JAV re sa
  02/21/2014 Kaylan Phillips     0:42       0.70        0.70 $     393.00   $        275.10   $         275.10 KLP- C call with ACLJ and NorCal counsel.

  02/21/2014 Noel Johnson        0:30       0.50        0.00   $   319.00   $        159.50   $            -    NHJ- PC with other IRS case attorney re Cinci case.

  03/04/2014 Noel Johnson        0:12       0.20        0.00   $   319.00   $         63.80   $            -    NHJ- R SCOTUS argument transcript in Bivens action.
                                                                                                               KLP- Emails re Lois Lerner's testimony today and the
  03/05/2014 Kaylan Phillips     0:12       0.20        0.20   $   393.00   $         78.60   $          78.60 next steps.
                                                                                                               NHJ- Watch Oversight Committee hearing with Lois
  03/05/2014 Noel Johnson        0:24       0.40        0.40   $   319.00   $        127.60   $         127.60 Lerner.
                                                                                                               NHJ- Briefly review Oversight Committee report on Lois
  03/12/2014 Noel Johnson        0:06       0.10        0.10   $   319.00   $         31.90   $          31.90 Lerner.
                                                                                                               NHJ- Check dockets and review latest filings in related
  03/25/2014 Noel Johnson        0:12       0.20        0.20   $   319.00   $         63.80   $          63.80 actions.



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Expenses adjusted for reimbursable and non-reimbursable.              Page 94 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               KLP- Call from Carly at ACLJ re 26(f) and 16(f). R rules.
  03/26/2014 Kaylan Phillips     0:30       0.50        0.50   $   393.00   $        196.50   $         196.50 Email to team re same.
                                                                                                               NHJ- Email correspondence re 26(j) conference and
  03/26/2014 Noel Johnson        0:06       0.10        0.10   $   319.00   $         31.90   $          31.90 update on NorCal suit.
                                                                                                               NHJ- Watch House Oversight hearing with IRS
  03/26/2014 Noel Johnson        0:18       0.30        0.30   $   319.00   $         95.70   $          95.70 Commissioner.

                                                                                                                NHJ- R argument coverage of Wood v. Moss re
  03/26/2014 Noel Johnson        0:24       0.40        0.00   $   319.00   $        127.60   $            -    qualified immunity and view point discrimination; r ami
                                                                                                               KLP- D email re 26(f) conference. Get email addresses
  03/27/2014 Kaylan Phillips     0:12       0.20        0.20   $   393.00   $         78.60   $          78.60 for lead counsel. Send to Cleta.

  03/28/2014 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $         78.60   $          78.60 KLP- Emails with opposing counsel re 26(f) conference.
  04/01/2014 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30   $          39.30 KLP- Update re David Fish.
                                                                                                               NHJ- R amicus brief of Ohio, Alabama, SC in Linchpins
  04/04/2014 Noel Johnson        0:42       0.70        0.70   $   319.00   $        223.30   $         223.30 of Liberty; email to legal team re same.
                                                                                                               NHJ- R oppositions to motion to conduct personal
  04/08/2014 Noel Johnson        0:24       0.40        0.40 $     319.00   $        127.60   $         127.60 jurisdictions discovery.
  04/09/2014 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $         78.60   $          78.60 KLP- Emails with team re Lerner and Cummings.
                                                                                                               NHJ- Continue reviewing letter of Ways and Means
  04/09/2014 Noel Johnson        0:18       0.30        0.30   $   319.00   $         95.70   $          95.70 Committee to DOJ re Lerner.
                                                                                                               NHJ- R letter of Ways and Means Committee to DOJ re
  04/09/2014 Noel Johnson        0:18       0.30        0.30   $   319.00   $         95.70   $          95.70 Lerner.
                                                                                                               KLP- C NHJ re updating court on Lerner/Cummings
  04/10/2014 Kaylan Phillips     0:12       0.20        0.20 $     393.00   $         78.60   $          78.60 developments.
  04/10/2014 Kaylan Phillips     0:30       0.50        0.50 $     393.00   $        196.50   $         196.50 KLP- Work on FOIA request.

  04/10/2014 Kaylan Phillips     1:30       1.50        1.50   $   393.00   $        589.50   $         589.50 KLP- Watch portion of contempt hearing re Lois Lerner.
                                                                                                               KLP- Continue working on FOIA request. C NHJ re
  04/10/2014 Kaylan Phillips     1:42       1.70        1.70   $   393.00   $        668.10   $         668.10 same.
                                                                                                               NHJ- C KLP re updating court Lerner/Cummings
  04/10/2014 Noel Johnson        0:12       0.20        0.20 $     319.00   $         63.80   $          63.80 developments.
  04/10/2014 Noel Johnson        0:12       0.20        0.20 $     319.00   $         63.80   $          63.80 NHJ- C KLP to discuss IRS FOIA #4.
  04/10/2014 Noel Johnson        1:36       1.60        1.60 $     319.00   $        510.40   $         510.40 NHJ- Watch IRS hearing re Lerner contempt Vote.
             Joseph
  04/11/2014 Vanderhulst         0:12       0.20        0.20   $   393.00   $         78.60   $          78.60 JAV- R em and draft FOIA request.

                                                                                                               KLP- Email with WD re FOIA action. C NHJ re same. R
  04/11/2014 Kaylan Phillips     1:00       1.00        1.00   $   393.00   $        393.00   $         393.00 summary of law and sample complaint. Call from


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 95 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               KLP- Work on FOIA request. Incorporate NHJ’s edits.
  04/11/2014 Kaylan Phillips     1:42       1.70        1.70 $     393.00   $        668.10   $         668.10 Find news articles for expedition/fee waiver se
  04/11/2014 Noel Johnson        0:24       0.40        0.40 $     319.00   $        127.60   $         127.60 NHJ- R and make edits to IRS FOIA for TTV docs.
                                                                                                               KLP- D email to CM re rv FOIA request. Edit requests.
  04/18/2014 Kaylan Phillips     0:18       0.30        0.30 $     393.00   $        117.90   $         117.90 R response.
  04/21/2014 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30   $          39.30 KLP- Email from CM re rv FOIA.
  04/23/2014 Noel Johnson        0:12       0.20        0.20 $     319.00   $         63.80   $          63.80 NHJ- RS re Congress power re contempt.

  04/28/2014 Kaylan Phillips     0:18       0.30        0.30   $   393.00   $        117.90   $         117.90 KLP- RV FOIA request and sent to CM for review.
                                                                                                               KLP- Email from CM re draft FOIA and changes
  04/29/2014 Kaylan Phillips     0:06       0.10        0.10   $   393.00   $         39.30   $          39.30 needed.

  04/30/2014 Noel Johnson        0:12       0.20        0.20   $   319.00   $         63.80   $          63.80 NHJ- R complaint in newly-filed IRS targeting case.
             Joseph
  05/08/2014 Vanderhulst         0:06       0.10        0.10 $     393.00   $         39.30   $          39.30 JAV- R ems re court update.
  05/08/2014 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30   $          39.30 KLP- Emails re updating the court.
  05/08/2014 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30   $          39.30 KLP- Emails re updating the court.
                                                                                                               KLP- R letter to opposing counsel re recognition of tax-
  05/09/2014 Kaylan Phillips     0:06       0.10        0.10   $   393.00   $         39.30   $          39.30 exempt status.

                                                                                                               NHJ- R recent scholarship re EO tax determinations-
  05/14/2014 Noel Johnson        0:30       0.50        0.50   $   319.00   $        159.50   $         159.50 Saving the IRS, 100 Va L. Rev. Online 22.
                                                                                                               KLP- C NHJ re supplement to mootness argument and
  05/19/2014 Kaylan Phillips     0:24       0.40        0.40   $   393.00   $        157.20   $         157.20 next steps.
                                                                                                               KLP- R draft supplement. C NHJ re same. R emails re
  05/19/2014 Kaylan Phillips     0:24       0.40        0.40   $   393.00   $        157.20   $         157.20 next steps.
                                                                                                               KLP- Call from ACLJ counsel re discovery requests.
  05/19/2014 Kaylan Phillips     0:30       0.50        0.50   $   393.00   $        196.50   $         196.50 Email team re update.

                                                                                                               KLP- R Exempt Organization Select Check. Check for
  05/19/2014 Kaylan Phillips     1:06       1.10        1.10   $   393.00   $        432.30   $         432.30 various organizations. C NHJ re next steps. Emai
                                                                                                               NHJ- Discuss discovery matters and motion to
  05/19/2014 Noel Johnson        0:12       0.20        0.10   $   319.00   $         63.80   $          31.90 supplement opp. to MTD with KLP.

  05/19/2014 Noel Johnson        0:12       0.20        0.20   $   319.00   $         63.80   $          63.80 NHJ- R local and chamber rules re motion practice.

                                                                                                               NHJ- C KLP re supplement to motion re select check;
  05/19/2014 Noel Johnson        0:18       0.30        0.30   $   319.00   $         95.70   $          95.70 email to legal team re draft supplement re same


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 96 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               NHJ- Call to IRS to verify exemption; discuss same with
  05/19/2014 Noel Johnson        0:24       0.40        0.40   $   319.00   $        127.60   $         127.60 KLP; email to legal team re same; email cor
                                                                                                               NHJ- RS local rules re notices to court, check ECF
  05/19/2014 Noel Johnson        1:18       1.30        1.30   $   319.00   $        414.70   $         414.70 filings for same; LR re duty to inform court; R
                                                                                                               NHJ- D motion for leave to supplement opp. to
  05/19/2014 Noel Johnson        2:00       2.00        1.40   $   319.00   $        638.00   $         446.60 Government's MTD; discuss same with JAV.
                                                                                                               KLP- D email to opposing counsel re supplement.
  05/20/2014 Kaylan Phillips     0:06       0.10        0.10   $   393.00   $         39.30   $          39.30 Circulate.
                                                                                                               KLP- Emails re next steps with supplement. C NHJ re
  05/20/2014 Kaylan Phillips     0:12       0.20        0.20   $   393.00   $         78.60   $          78.60 same.
                                                                                                               KLP- R select check. C NHJ re changes. Email with
  05/20/2014 Kaylan Phillips     0:36       0.60        0.60 $     393.00   $        235.80   $         235.80 team re same. R updated draft supplement.
  05/20/2014 Noel Johnson        0:06       0.10        0.10 $     319.00   $         31.90   $          31.90 NHJ- C KLP to discuss supplement to MTD opp.
                                                                                                               NHJ- Make additional revisions to draft supplement to
  05/20/2014 Noel Johnson        0:18       0.30        0.20   $   319.00   $         95.70   $          63.80 opp. to gov MTD.

                                                                                                               NHJ- R and incorporate CM's edits to Motion for Leave
  05/20/2014 Noel Johnson        0:24       0.40        0.30   $   319.00   $        127.60   $          95.70 to Supplement Opp. to MTD; begin drafting Sup
                                                                                                               NHJ- RV draft supplement to opp. to gov. MTD; email to
  05/20/2014 Noel Johnson        0:30       0.50        0.40   $   319.00   $        159.50   $         127.60 legal team; discuss same with KLP.
                                                                                                               NHJ- D Supplement to Opposition to Government's
  05/20/2014 Noel Johnson        0:42       0.70        0.50 $     319.00   $        223.30   $         159.50 MTD.
  05/21/2014 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30   $          39.30 KLP- Emails re not filing supplement.
                                                                                                               KLP- Email from WD re Z-Street case. Find and save
  05/27/2014 Kaylan Phillips     0:48       0.80        0.80   $   393.00   $        314.40   $         314.40 opinion. R. email with team re same.
                                                                                                               NHJ- R new SCOTUS decision (Wood v. Moss) re
  05/27/2014 Noel Johnson        0:24       0.40        0.30   $   319.00   $        127.60   $          95.70 qualified immunity, email to JAV/KLP re same.

  05/28/2014 Kaylan Phillips     0:18       0.30        0.30   $   393.00   $        117.90   $         117.90 KLP- C NHJ re Z Street decision. R emails re same.
                                                                                                               NHJ- R local and chamber rules re supp. authority
  05/28/2014 Noel Johnson        0:30       0.50        0.50   $   319.00   $        159.50   $         159.50 notices; discuss same with KLP.
                                                                                                               NHJ- R order denying MTD in Z Street v.
  05/28/2014 Noel Johnson        0:48       0.80        0.60   $   319.00   $        255.20   $         191.40 Commissioner.

                                                                                                               NHJ- R decision in Z street; email correspondence with
  05/28/2014 Noel Johnson        1:12       1.20        1.20 $     319.00   $        382.80   $         382.80 legal team re supp. authority notice; draft
  05/29/2014 Kaylan Phillips     0:06       0.10        0.10 $     393.00   $         39.30   $          39.30 KLP- Email from CM re supplemental authority.
                                                                                                               KLP- R draft of supplemental authority. Respond to
  05/29/2014 Kaylan Phillips     0:12       0.20        0.20   $   393.00   $         78.60   $          78.60 team.

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Expenses adjusted for reimbursable and non-reimbursable.              Page 97 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                         1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                          Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               NHJ- R opposition to Amicus brief filed in Linchips of
  05/30/2014 Noel Johnson        0:12       0.20        0.20   $   319.00   $         63.80   $          63.80 Liberty
             Joseph
  06/02/2014 Vanderhulst         0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 JAV- R ems and draft re Z Street supplement.
                                                                                                               KLP- R notice of supplemental authority. C NHJ re
  06/02/2014 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 same. Emails re same.
                                                                                                               KLP- Print and prepare courtesy copy for David Fish.
  06/02/2014 Kaylan Phillips     0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 Drive to post office and send certified mail.

  06/02/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 NHJ- Assign RS project to RW re witness unavailability.
                                                                                                               NHJ- R Z Street notice of supplemental authority in
  06/02/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 Linchpins of Liberty.
                                                                                                               NHJ- R final Supp. Authority notice (Z Street) and file
  06/02/2014 Noel Johnson        0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 same. C KLP re same.
  06/03/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Work on FOIA request.
                                                                                                               KLP- ECF notice re DOJ's reply to supplemental
  06/05/2014 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 authority. R and safe. C NHJ re same.
                                                                                                               NHJ- R Ds reply to notice re Z Street; discuss same
  06/05/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 with KLP.

  06/05/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 NHJ- Begin reviewing ethics complaint of CCP re IRS.

                                                                                                               NHJ- R letter of Oversight Committee to IRS
  06/10/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 Commissioner re transmittal of (c)(4) info to DOJ; r co
                                                                                                               KLP- Emails re Lois Lerner's disappearing emails. D
  06/13/2014 Kaylan Phillips     0:42       0.70        0.70   $   403.00   $        282.10   $         282.10 letter to opposing counsel.

                                                                                                               KLP- Emails re draft letter. Find necessary information
  06/13/2014 Kaylan Phillips     1:18       1.30        1.30   $   403.00   $        523.90   $         523.90 and RV as needed. LR re duty to preserve ev

                                                                                                               NHJ- Email correspondence re lerner emails; press
  06/13/2014 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 release re same; emails re same; discuss same wit
                                                                                                               NHJ- D TRO motion re spoliation and
  06/13/2014 Noel Johnson        1:06       1.10        1.10 $     403.00   $        443.30   $         443.30 entry/examination.
  06/16/2014 Kaylan Phillips     0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 KLP- C NHJ re IRS email retention policy.
  06/16/2014 Kaylan Phillips     0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 KLP- Email with Cath re client documents. R files.
                                                                                                               KLP- Finalize letter. Verify that it is on website. Email
  06/16/2014 Kaylan Phillips     1:12       1.20        1.20   $   403.00   $        483.60   $         483.60 with press re same.




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Expenses adjusted for reimbursable and non-reimbursable.              Page 98 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                         1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               KLP- Email with CM and team re: letters to opposing
  06/16/2014 Kaylan Phillips     2:06       2.10        2.10 $     403.00   $        846.30   $         846.30 counsel. Review and make changes as needed. Leg
  06/16/2014 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 NHJ- R RW's RS re forensic examination.
  06/16/2014 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- Upload letter to counsel on website.
                                                                                                               NHJ- Assign RS to RW re spoliation motion; C with RW
  06/16/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 re clarification of RS.
                                                                                                               NHJ- R latest draft letter to opposing counsel re
  06/16/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 spoliation; email correspondence with legal team
                                                                                                               NHJ- C KLP to discuss needs for spoliation motion and
  06/16/2014 Noel Johnson        0:24       0.40        0.40 $     403.00   $        161.20   $         161.20 letter to opposing counsel.
  06/16/2014 Noel Johnson        0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 NHJ- R updated reports, news on list IRS emails.

                                                                                                               NHJ- LR re duty to preserve/produce records,
  06/16/2014 Noel Johnson        1:42       1.70        1.70 $     403.00   $        685.10   $         685.10 spoliation, available rememdies; review briefing in D'
  06/16/2014 Raina Wallace       3:48       3.80        3.80 $     179.00   $        680.20   $         680.20 RW- RS spoliation of evidence.
             Joseph
  06/17/2014 Vanderhulst         0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 JAV- C re Lois emails, rs process.
  06/17/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- C NHJ re motion and memo.

  06/17/2014 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 KLP- C NHJ and RW re RS into motion re spoliation.
                                                                                                               KLP- Email to CM and ML re big picture issues for
  06/17/2014 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 motion. Emails re conference call today.
                                                                                                               KLP- C NHJ re IRS emails and hard drives. R news
  06/17/2014 Kaylan Phillips     0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 articles re same.
                                                                                                               KLP- Emails re Lois Lerner's emails. News articles re
  06/17/2014 Kaylan Phillips     0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 same.
                                                                                                               KLP- C call with ML, CM, and NHJ re motion and
  06/17/2014 Kaylan Phillips     1:00       1.00        1.00 $     403.00   $        403.00   $         403.00 memo. C NHJ re same.
  06/17/2014 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 NHJ- P for conference call with ML.
  06/17/2014 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 NHJ- R news reports re IRS losing more emails.
                                                                                                               NHJ- Discuss needs for motion to compel forensic
  06/17/2014 Noel Johnson        0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 examination.
                                                                                                               NHJ- R email chain re computer crash; email to legal
  06/17/2014 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 team re same.
  06/17/2014 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- R latest report re Lois Lerner emails.

  06/17/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 NHJ- C KLP re revised needs for spoliation motion.


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                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
  06/17/2014 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 NHJ- C KLP re spoliation motion needs and RS.
                                                                                                               NHJ- R IRM re retention of federal records; R reports re
  06/17/2014 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 same; discuss same with KLP.

  06/17/2014 Noel Johnson        0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 NHJ- Continue LR re motion to preserve evidence.

  06/17/2014 Noel Johnson        0:42       0.70        0.70 $     403.00   $        282.10   $         282.10 NHJ- PC with CM, ML, and KLP re spoliation motion.
  06/17/2014 Noel Johnson        0:54       0.90        0.90 $     403.00   $        362.70   $         362.70 NHJ- LR re motion to preserve evidence.
  06/17/2014 Noel Johnson        1:00       1.00        1.00 $     403.00   $        403.00   $         403.00 NHJ- LR re forensic examination of evidence.
  06/17/2014 Raina Wallace       3:48       3.80        3.80 $     179.00   $        680.20   $         680.20 RW- RS Spoliation and Forensic Examination.
                                                                                                               KLP- Email with team re potential expert affidavit for
  06/18/2014 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 motion.
                                                                                                               KLP- Letters from opposing counsel re preservation of
  06/18/2014 Kaylan Phillips     0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 evidence (three).
  06/18/2014 Kaylan Phillips     0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 KLP- News articles re Lois Lerner's emails.

                                                                                                               KLP- C NHJ and RW re RS needed for PI
  06/18/2014 Kaylan Phillips     2:06       2.10        2.10 $     403.00   $        846.30   $         846.30 motion/expedited discocvery (several, throughout day).
  06/18/2014 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- C KLP re needs for PI/Discovery memo.

  06/18/2014 Noel Johnson        0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 NHJ- C KLP to discuss needs and RS for PI motion.
                                                                                                               NHJ- R PI memo circulated by ML re forensic
  06/18/2014 Noel Johnson        0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 examination motion.
                                                                                                               NHJ- Continue LR and begin drafting PI/Discovery
  06/18/2014 Noel Johnson        0:54       0.90        0.90   $   403.00   $        362.70   $         362.70 memo.

                                                                                                               NHJ- Continue drafting preliminary statement, facts,
  06/18/2014 Noel Johnson        1:12       1.20        1.20   $   403.00   $        483.60   $         483.60 and argument outline re PI/Discovery memo.
                                                                                                               NHJ- Continue drafting preliminary statement of facts re
  06/18/2014 Noel Johnson        1:18       1.30        1.30   $   403.00   $        523.90   $         523.90 PI/Discovery memo.

  06/18/2014 Noel Johnson        1:18       1.30        1.30 $     403.00   $        523.90   $         523.90 NHJ- LR re expedited discovery; forensic examination.
  06/18/2014 Raina Wallace       1:30       1.50        1.50 $     179.00   $        268.50   $         268.50 RW- RS definitions of "likelihood of success".
  06/18/2014 Raina Wallace       2:00       2.00        2.00 $     179.00   $        358.00   $         358.00 RW- RS standard for preliminary injunction.
                                                                                                               RW- Looking for news media and familiarizing myself
  06/18/2014 Raina Wallace       2:18       2.30        2.30 $     179.00   $        411.70   $         411.70 with Lois Lerner Scandal.
  06/19/2014 Kaylan Phillips     0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 KLP- Continue working on memo- PI request.
  06/19/2014 Kaylan Phillips     0:36       0.60        0.60 $     403.00   $        241.80   $         241.80 KLP- Emails re motions. C NHJ re same.

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Expenses adjusted for reimbursable and non-reimbursable.              Page 100 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
                                                                                                                NHJ- Discuss LR with RW re "reasonableness" test
  06/19/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30    $          40.30 factors.
                                                                                                                NHJ- Continue drafting memo re: PI/Expedited
  06/19/2014 Noel Johnson        0:36       0.60        0.60   $   403.00   $        241.80    $         241.80 Discovery
                                                                                                                NHJ- Continue drafting memo re PI/Expedited
  06/19/2014 Noel Johnson        1:06       1.10        1.10   $   403.00   $        443.30    $         443.30 Discovery
                                                                                                                NHJ- Continue drafting memo re: PI/Expedited
  06/19/2014 Noel Johnson        2:00       2.00        2.00   $   403.00   $        806.00    $         806.00 Discovery. C KLP re same.
                                                                                                                NHJ- Continue drafting memo re: PI/Expedited
  06/19/2014 Noel Johnson        2:12       2.20        2.20 $     403.00   $        886.60    $         886.60 Discovery
  06/20/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60    $          80.60 KLP- Emails re hearing today.
  06/20/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60    $          80.60 KLP- Emails re meet and confer.
                                                                                                                KLP- C NHJ re hearing and motion to preserve
  06/20/2014 Kaylan Phillips     0:36       0.60        0.60 $     403.00   $        241.80    $         241.80 evidence/expedited discovery (two).
  06/20/2014 Kaylan Phillips     1:30       1.50        1.50 $     403.00   $        604.50    $         604.50 KLP- Work on motion to preserve evidence.
  06/20/2014 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30    $          40.30 NHJ- Discuss RS needs with RW.

  06/20/2014 Noel Johnson        0:12       0.20        0.20   $   403.00   $         80.60    $          80.60 NHJ- C KLP to discuss needs for PI/discovery memo.
                                                                                                                NHJ- C KLP to discuss needs for motion re expedited
  06/20/2014 Noel Johnson        0:24       0.40        0.40 $     403.00   $        161.20    $         161.20 discovery.
  06/20/2014 Noel Johnson        0:24       0.40        0.40 $     403.00   $        161.20    $         161.20 NHJ- LR re motion for PI to preserve evidence.
                                                                                                                NHJ- Continue LR re motion for PI to preserve
  06/20/2014 Noel Johnson        0:42       0.70        0.70   $   403.00   $        282.10    $         282.10 evidence.

  06/20/2014 Noel Johnson        1:12       1.20        1.20   $   403.00   $        483.60    $         483.60 NHJ- Continue drafting motion re expedited discovery.
                                                                                                                NHJ- Watch testimony of IRS Commissioner Koskinen
  06/20/2014 Noel Johnson        1:12       1.20        1.20   $   403.00   $        483.60    $         483.60 re lost IRS emails; take notes on same.
                                                                                                                NHJ- Proofread current draft and continue revising
  06/20/2014 Noel Johnson        1:30       1.50        1.50 $     403.00   $        604.50    $         604.50 memo re motion for expedited discovery.
  06/20/2014 Raina Wallace       3:00       3.00        3.00 $     179.00   $        537.00    $         537.00 RW- RS Expedited Discovery.
  06/20/2014 Raina Wallace       4:00       4.00        4.00 $     179.00   $        716.00    $         716.00 RW- RS Preservation of Evidence.
  06/21/2014 Kaylan Phillips     3:06       3.10        3.10 $     403.00   $       1,249.30   $       1,249.30 KLP- Continue working on memo. Circulate.
             Joseph                                                                                             JAV- C KLP and NHJ re IRS email retention, arguments
  06/23/2014 Vanderhulst         0:24       0.40        0.40   $   403.00   $        161.20    $         161.20 for PI motion.
                                                                                                                KLP- Emails with team re draft and conference call
  06/23/2014 Kaylan Phillips     0:18       0.30        0.30 $     403.00   $        120.90    $         120.90 today.
  06/23/2014 Kaylan Phillips     0:18       0.30        0.30 $     403.00   $        120.90    $         120.90 KLP- Work on memo.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 101 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                       Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
                                                                                                                KLP- C RW re RS needed into FRCP 26. R RS and
  06/23/2014 Kaylan Phillips     0:24       0.40        0.40   $   403.00   $        161.20    $         161.20 cases.
                                                                                                                KLP- C NHJ re arguments for motion for PI/expedited
  06/23/2014 Kaylan Phillips     0:30       0.50        0.50   $   403.00   $        201.50    $         201.50 discovery.
                                                                                                                KLP- C RW re RS needed into preliminary injunction
  06/23/2014 Kaylan Phillips     0:48       0.80        0.80   $   403.00   $        322.40    $         322.40 standards (several). R RS.
                                                                                                                KLP- Receive changes from CM. R and implement
  06/23/2014 Kaylan Phillips     1:12       1.20        1.20   $   403.00   $        483.60    $         483.60 other changes. Circulate to team.

  06/23/2014 Kaylan Phillips     1:18       1.30        1.30 $     403.00   $        523.90    $         523.90 KLP- Call with team re memo. C NHJ and JAV re same.
  06/23/2014 Kaylan Phillips     2:30       2.50        2.50 $     403.00   $       1,007.50   $       1,007.50 KLP- Watch Congressional hearing.
                                                                                                                NHJ- R contract information and email correspondence
  06/23/2014 Noel Johnson        0:12       0.20        0.20   $   403.00   $         80.60    $          80.60 re IRS email archiving services.
                                                                                                                NHJ- C KLP and JAV re IRS email retention, arguments
  06/23/2014 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20    $         161.20 for PI motion.
                                                                                                                NHJ- C KLP re needs for PI memo and expedited
  06/23/2014 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50    $         201.50 discovery plan.

                                                                                                                NHJ- LR re Rule 26(f) conferences; make revisions to
  06/23/2014 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50    $         201.50 expedited discovery memo re efforts to schedul
                                                                                                                NHJ- RS re IRS procedure for destruction of hard
  06/23/2014 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50    $         201.50 drives.

  06/23/2014 Noel Johnson        0:54       0.90        0.90   $   403.00   $        362.70    $         362.70 NHJ- Make revisions to motion re expedited processing.

                                                                                                                NHJ- PC with legal team re PI/expedited processing
  06/23/2014 Noel Johnson        0:54       0.90        0.90 $     403.00   $        362.70    $         362.70 motion and meet and confer tomorrow.
  06/23/2014 Noel Johnson        1:00       1.00        1.00 $     403.00   $        403.00    $         403.00 NHJ- Watch Oversight hearing with Koskinen.
                                                                                                                RW- Look over Preservation of Evidence RS, and
  06/23/2014 Raina Wallace       0:30       0.50        0.50   $   179.00   $         89.50    $          89.50 Preliminary Injunction RS.
                                                                                                                RW- Retrieving documents from Docket (United States
  06/23/2014 Raina Wallace       0:30       0.50        0.50   $   179.00   $         89.50    $          89.50 v. Sum of $70,990,605)
                                                                                                                RW- RS Is Washington Metro (DC) Still Good Law after
  06/23/2014 Raina Wallace       0:30       0.50        0.50   $   179.00   $         89.50    $          89.50 Winter (Supreme Court).

                                                                                                                RW- LR Is there precedence for a court compelling a
  06/23/2014 Raina Wallace       1:30       1.50        1.50   $   179.00   $        268.50    $         268.50 26(f) conference while a motion to dismiss is p
             Joseph
  06/24/2014 Vanderhulst         0:30       0.50        0.50 $     403.00   $        201.50    $         201.50 JAV- RS email backups and processes.
  06/24/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60    $          80.60 KLP- Emails re IRS scandal timeline.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 102 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                     1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
  06/24/2014 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 KLP- Meet and confer with opposing counsel re motion.
                                                                                                               KLP- Follow up with team re meet and confer. Discuss
  06/24/2014 Kaylan Phillips     0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 motion and next steps.
  06/24/2014 Kaylan Phillips     1:00       1.00        1.00   $   403.00   $        403.00   $         403.00 KLP- Watch portion of hearing.
                                                                                                               NHJ- Emails from legal team re forensic examination,
  06/24/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 PI motion.
                                                                                                               NHJ- Meet and confer call with opposing counsel re
  06/24/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 motion for expedited discovery.
                                                                                                               NHJ- Follow up PC with legal team re meet and
  06/24/2014 Noel Johnson        0:24       0.40        0.40 $     403.00   $        161.20   $         161.20 confer/motion.
  06/24/2014 Noel Johnson        0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 NHJ- Watch Oversight hearing.
  06/25/2014 Kaylan Phillips     0:36       0.60        0.60 $     403.00   $        241.80   $         241.80 KLP- C RW re RS needed. R RS.

                                                                                                               KLP- Watch Congressional hearing from yesterday.
  06/25/2014 Kaylan Phillips     1:48       1.80        1.80   $   403.00   $        725.40   $         725.40 Review emails and law review articles re: same. Pr
                                                                                                               NHJ- Email correspondence re forensic investigation
  06/25/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 and committee hearing transcripts.

                                                                                                               RW- Searching Koskinen 6/23 Testimony and looking
  06/25/2014 Raina Wallace       1:00       1.00        1.00   $   179.00   $        179.00   $         179.00 over Forensic Examination/ Motion to Preserve Res

  06/25/2014 Raina Wallace       1:30       1.50        1.50   $   179.00   $        268.50   $         268.50 RW- Search 6/24 testimony of O'Connor and Ferriero.
                                                                                                               RW- Searching Koskinen 6/23 Testimony for
                                                                                                               information questioning the integrity of IRS computer
  06/25/2014 Raina Wallace       2:48       2.80        2.80   $   179.00   $        501.20   $         501.20 sys
                                                                                                               KLP- Email from WD re RS needed. Email with MG and
  06/26/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ re same.
  06/26/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Emails re latest draft.
                                                                                                               KLP- C NHJ substituting new commissioner. R
                                                                                                               complaint. C RW re RS needed. R rules. Email to team
  06/26/2014 Kaylan Phillips     0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 re

  06/26/2014 Kaylan Phillips     1:36       1.60        1.60   $   403.00   $        644.80   $         644.80 KLP- R and edit latest version of draft. Recirculate.
                                                                                                               NHJ- Discuss amending caption re Koskinen/Werfel
  06/26/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 with KLP.
                                                                                                               RW- Search FRCP and Local Rules of DDC for rule to
  06/26/2014 Raina Wallace       0:24       0.40        0.40   $   179.00   $         71.60   $          71.60 substitute commissioner.

  06/26/2014 Raina Wallace       2:00       2.00        2.00   $   179.00   $        358.00   $         358.00 RW- Search Ferriero Testimony for Motion to Preserve.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 103 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
  06/27/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60    $          80.60 KLP- Emails re latest draft.
  06/27/2014 Kaylan Phillips     0:18       0.30        0.30 $     403.00   $        120.90    $         120.90 KLP- Emails re substituting new commissioner.

                                                                                                                NHJ- R latest draft of motion for PI/expedited discovery;
  06/27/2014 Noel Johnson        0:30       0.50        0.50 $     403.00   $        201.50    $         201.50 review analysis of 26(f) issues by MG.
  06/29/2014 Kaylan Phillips     0:24       0.40        0.40 $     403.00   $        161.20    $         161.20 KLP- Emails re latest draft and next steps.

  06/29/2014 Kaylan Phillips     0:30       0.50        0.50   $   403.00   $        201.50    $         201.50 KLP- Work on latest draft. Emails re plan for tomorrow.
                                                                                                                NHJ- LR re Federal Records Act and implementing
  06/29/2014 Noel Johnson        1:00       1.00        1.00   $   403.00   $        403.00    $         403.00 regulations.
                                                                                                                NHJ- Add needed citations and make revisions to
  06/29/2014 Noel Johnson        2:12       2.20        2.20   $   403.00   $        886.60    $         886.60 motion for PI/Expedited discovery.
             Joseph                                                                                             JAV- Assemble and prep exhibits for discovery PI
  06/30/2014 Vanderhulst         1:00       1.00        1.00   $   403.00   $        403.00    $         403.00 motion.
             Joseph                                                                                             JAV- Help with discovery motion prep, c KLP, NHJ, and
  06/30/2014 Vanderhulst         1:00       1.00        1.00   $   403.00   $        403.00    $         403.00 RW.
             Joseph
  06/30/2014 Vanderhulst         1:00       1.00        1.00   $   403.00   $        403.00    $         403.00 JAV- Proof final PI motion re discovery.
                                                                                                                KLP- Email with ML re filing. Update and resend exhibit
  06/30/2014 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90    $         120.90 K.
                                                                                                                KLP- Continue editing PI memo. Begin creating
  06/30/2014 Kaylan Phillips     0:42       0.70        0.70   $   403.00   $        282.10    $         282.10 exhibits.
                                                                                                                KLP- Proof PI memo. Edit as needed. R tables. Finalize
  06/30/2014 Kaylan Phillips     2:48       2.80        2.80   $   403.00   $       1,128.40   $       1,128.40 and circulate.
                                                                                                                KLP- Work on PI memo. Circulate draft. C with RW and
  06/30/2014 Kaylan Phillips     3:54       3.90        3.90   $   403.00   $       1,571.70   $       1,571.70 NHJ re help needed.
                                                                                                                NHJ- Gchat discussions with JAV and KLP needs for PI
  06/30/2014 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60    $          80.60 motion/memo and supporting docs.
  06/30/2014 Noel Johnson        0:18       0.30        0.30 $     403.00   $        120.90    $         120.90 NHJ- Make revisions to PI memo.
                                                                                                                NHJ- R case law re 26(f) conference cited in PI motion;
  06/30/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90    $         120.90 discuss same with KLP.
                                                                                                                NHJ- RV requested relief in PI memo to conform to PI
  06/30/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90    $         120.90 memo.

  06/30/2014 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20    $         161.20 NHJ- D PI motion and circulate to legal team for review.

  06/30/2014 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20    $         161.20 NHJ- Fix errors in table of contents and authorities.
                                                                                                                NHJ- Troubleshoot page numbers, sig block and COS
  06/30/2014 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20    $         161.20 for PI Motion.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 104 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               NHJ- Implement ML's changes to PI motion; d
  06/30/2014 Noel Johnson        0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 proposed order for same.
  06/30/2014 Noel Johnson        0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 NHJ- LR re federal records act and spoilation.

                                                                                                               NHJ- Proofread PI memo; r and incorporate edits from
  06/30/2014 Noel Johnson        2:18       2.30        2.30   $   403.00   $        926.90   $         926.90 ML to same; discuss needs for same with KLP.
                                                                                                               RW- Help KLP prepare for the PI motion by finding
  06/30/2014 Raina Wallace       1:30       1.50        1.50   $   179.00   $        268.50   $         268.50 written testimony, look up D.D.C local rules, and
                                                                                                               RW- Check Citations of Motion for PI/Preserve
  06/30/2014 Raina Wallace       3:00       3.00        3.00 $     179.00   $        537.00   $         537.00 Evidence.
  07/01/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Emails re substituting Commissioner.
  07/01/2014 Kaylan Phillips     0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 KLP- P mail service for David Fish.
  07/01/2014 Kaylan Phillips     0:24       0.40        0.40 $     403.00   $        161.20   $         161.20 KLP- Emails re hearing, ECF notice re same.
                                                                                                               KLP- Emails re conference call with other plaintiffs.
  07/01/2014 Kaylan Phillips     0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 Emails to counsel. Arrange time.
                                                                                                               KLP- Emails re exhibit K, P mail service of motion and
  07/01/2014 Kaylan Phillips     0:36       0.60        0.60 $     403.00   $        241.80   $         241.80 exhibits. Emails re same.
  07/02/2014 Kaylan Phillips     0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 KLP- C JAV re hearing next week.
  07/02/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Call from WD re upcoming hearing.
  07/02/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Emails re points for motion.
                                                                                                               KLP- Emails re potential forensic expert. Emails re call
  07/02/2014 Kaylan Phillips     0:24       0.40        0.40 $     403.00   $        161.20   $         161.20 tomorrow.
  07/02/2014 Kaylan Phillips     1:12       1.20        1.20 $     403.00   $        483.60   $         483.60 KLP- C call with ACLJ NorCal. C NHJ re same.

                                                                                                               NHJ- Email correspondence between legal team and
  07/02/2014 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 forensic experts; r websites/services of same; dis

  07/02/2014 Noel Johnson        1:00       1.00        1.00 $     403.00   $        403.00   $         403.00 NHJ- PC with attorneys representing targeted plaintiffs.
  07/03/2014 Kaylan Phillips     0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 KLP- Emails re conference today.
                                                                                                               KLP- Email from WD re documents needed for hearing.
  07/03/2014 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 Find and send documents.
  07/03/2014 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 KLP- R articles re hearing next week.

  07/03/2014 Kaylan Phillips     0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 KLP- Emails re hearing prep and attendent at hearing.

  07/03/2014 Kaylan Phillips     0:42       0.70        0.70   $   403.00   $        282.10   $         282.10 KLP- Calls with forensic analysts. Emails re same.
                                                                                                               NHJ- PC with WD and CM re additional needs for
  07/03/2014 Noel Johnson        0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 hearing.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 105 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
                                                                                                                NHJ- PC with another potential computer forensic
  07/03/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90    $         120.90 expert.
                                                                                                                NHJ- PC with WD and CM re needs for hearing on PI
  07/03/2014 Noel Johnson        0:18       0.30        0.30 $     403.00   $        120.90    $         120.90 motion.
  07/03/2014 Noel Johnson        0:24       0.40        0.40 $     403.00   $        161.20    $         161.20 NHJ- Book travel and hotel for PI motion hearing.
  07/03/2014 Noel Johnson        1:00       1.00        1.00 $     403.00   $        403.00    $         403.00 NHJ- PC with potential computer forensic expert.
                                                                                                                KLP- Emails re various responses to motion for
  07/07/2014 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90    $         120.90 preliminary injunction.
                                                                                                                KLP- Continue working on case summaries for oral
  07/07/2014 Kaylan Phillips     0:24       0.40        0.40   $   403.00   $        161.20    $         161.20 argument.
                                                                                                                KLP- Receive, save, and r Cincinnati Defendants'
  07/07/2014 Kaylan Phillips     0:24       0.40        0.40   $   403.00   $        161.20    $         161.20 response to Pl. Email with team re same.

                                                                                                                KLP- Receive, save, and review Management
  07/07/2014 Kaylan Phillips     0:30       0.50        0.50   $   403.00   $        201.50    $         201.50 Defendants' response to Pl. Email with team re same.
                                                                                                                KLP- Receive, save and review IRS Defendants'
  07/07/2014 Kaylan Phillips     0:36       0.60        0.60   $   403.00   $        241.80    $         241.80 response to Pl. Email with team re same.
                                                                                                                KLP- C NHJ re agency requirements to retain records
  07/07/2014 Kaylan Phillips     1:00       1.00        1.00   $   403.00   $        403.00    $         403.00 (several).
                                                                                                                KLP- Continue working on case summaries for oral
  07/07/2014 Kaylan Phillips     1:48       1.80        1.80 $     403.00   $        725.40    $         725.40 argument.
  07/07/2014 Kaylan Phillips     3:06       3.10        3.10 $     403.00   $       1,249.30   $       1,249.30 KLP- Work on case summaries for oral argument.
                                                                                                                NHJ- Briefly review oppositions to Motion for
  07/07/2014 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30    $          40.30 PI/expedited discovery.
  07/07/2014 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30    $          40.30 NHJ- LR re FISMA.
                                                                                                                NHJ- Email correspondence re record keeping
  07/07/2014 Noel Johnson        0:12       0.20        0.20   $   403.00   $         80.60    $          80.60 summary.
                                                                                                                NHJ- R General Records Schedules 20 and 23 re
  07/07/2014 Noel Johnson        0:12       0.20        0.20   $   403.00   $         80.60    $          80.60 electronic records and email.

  07/07/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90    $         120.90 NHJ- C KLP re RS needs for reply brief and hearing.
                                                                                                                NHJ- R Internal Revenue Manuals re emails and federal
  07/07/2014 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50    $         201.50 records.
                                                                                                                NHJ- R opposition briefs of Government and Cinci
  07/07/2014 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50    $         201.50 defendants; discuss same with KLP.

  07/07/2014 Noel Johnson        0:36       0.60        0.60   $   403.00   $        241.80    $         241.80 NHJ- Continue RS re record keeping requirements.
                                                                                                                NHJ- Begin drafting memo summarizing recordkeeping
  07/07/2014 Noel Johnson        1:00       1.00        1.00   $   403.00   $        403.00    $         403.00 requirements.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 106 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
                                                                                                                NHJ- Continue reviewing regulations implementing
  07/07/2014 Noel Johnson        1:30       1.50        1.50   $   403.00   $        604.50    $         604.50 Federal Records Act, etc.

                                                                                                                NHJ- Review statutes re: Federal Records Act and
  07/07/2014 Noel Johnson        2:54       2.90        2.90   $   403.00   $       1,168.70   $       1,168.70 regulations implementing same; create summary of s

  07/08/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60    $          80.60 KLP- Email with CK re courtesy copies. Call re same.
  07/08/2014 Kaylan Phillips     0:18       0.30        0.30 $     403.00   $        120.90    $         120.90 KLP- C NHJ and RW re RS needed.
                                                                                                                KLP- Email with team re judge requesting reply at oral
  07/08/2014 Kaylan Phillips     0:24       0.40        0.40 $     403.00   $        161.20    $         161.20 argument and oral argument prep.
  07/08/2014 Kaylan Phillips     0:36       0.60        0.00 $     403.00   $        241.80    $            -    KLP- C NHJ re 6103 alternatives. C RW re same.
                                                                                                                 KLP- C RW re 6103 and possible exceptions for
  07/08/2014 Kaylan Phillips     0:36       0.60        0.00   $   403.00   $        241.80    $            -    independent forensic analyst.
                                                                                                                KLP- C NHJ re reply brief. Call re same. Emails re
  07/08/2014 Kaylan Phillips     0:42       0.70        0.70   $   403.00   $        282.10    $         282.10 same.
                                                                                                                KLP- Work on reply brief. D sections re Z-Street and
  07/08/2014 Kaylan Phillips     1:30       1.50        1.50   $   403.00   $        604.50    $         604.50 credentials of independent forensic expert.
                                                                                                                KLP- RV and update case summaries. Email with team
  07/08/2014 Kaylan Phillips     1:36       1.60        1.60   $   403.00   $        644.80    $         644.80 re strategy.
                                                                                                                NHJ- PC with MG re call to clerk; discuss same with
  07/08/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30    $          40.30 KLP.
                                                                                                                NHJ- PC with KLP re reply to Motion for PI; email
  07/08/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90    $         120.90 correspondence with legal team re same.
  07/08/2014 Noel Johnson        0:54       0.90        0.90   $   403.00   $        362.70    $         362.70 NHJ- Continue working on reply to PI motion.
                                                                                                                NHJ- R portions of Gov's opposition to PI motion; begin
  07/08/2014 Noel Johnson        1:00       1.00        1.00   $   403.00   $        403.00    $         403.00 drafting reply to same.
                                                                                                                NHJ- Work on outline of Gov’s opposition to PI motion
  07/08/2014 Noel Johnson        1:54       1.90        1.90   $   403.00   $        765.70    $         765.70 and provide rebuttal outline for same; legal

                                                                                                                NHJ- LR re: FISMA; continue drafting recordkeeping
  07/08/2014 Noel Johnson        2:00       2.00        2.00 $     403.00   $        806.00    $         806.00 summary; Cs with KLP re: hearing prep and additi
  07/08/2014 Raina Wallace       0:18       0.30        0.30 $     179.00   $         53.70    $          53.70 RW- Find TIGTA Reports.
                                                                                                                RW- Read responses to motion for PI and to expedite
  07/08/2014 Raina Wallace       1:00       1.00        1.00 $     179.00   $        179.00    $         179.00 discovery.
  07/08/2014 Raina Wallace       1:00       1.00        1.00 $     179.00   $        179.00    $         179.00 RW- Search for IRS employment Data.
                                                                                                                RW- RS 532 U.S. 483 and whether the corut has the
  07/08/2014 Raina Wallace       4:12       4.20        0.00 $     179.00   $        751.80    $            -   authority to waive a Sec. 6103 obligation.
  07/09/2014 Kaylan Phillips     0:06       0.10        0.10 $     403.00   $         40.30    $          40.30 KLP- Email with RW re project.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 107 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
                                                                                                                KLP- Organize and send documents to Cath for
  07/09/2014 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60    $          80.60 printing.
                                                                                                                KLP- Email from WD re cases needed for hearing. R
  07/09/2014 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90    $         120.90 and send key cases.
                                                                                                                KLP- R NHJ's overview of the government brief. Add to
  07/09/2014 Kaylan Phillips     0:24       0.40        0.40 $     403.00   $        161.20    $         161.20 and edit as needed.
  07/09/2014 Kaylan Phillips     0:36       0.60        0.60 $     403.00   $        241.80    $         241.80 KLP- Work on case summaries. C RW re same.
                                                                                                                KLP- Continue working on case summaries. Emails re
  07/09/2014 Kaylan Phillips     0:48       0.80        0.80   $   403.00   $        322.40    $         322.40 other cases needed.
                                                                                                                KLP-Continue working on case summaries. Incorporate
  07/09/2014 Kaylan Phillips     1:30       1.50        1.50   $   403.00   $        604.50    $         604.50 cases re preservation/spoliation.

                                                                                                                KLP- C RW re RS into spoliation/sanctions. Email with
  07/09/2014 Kaylan Phillips     2:00       2.00        2.00   $   403.00   $        806.00    $         806.00 team re needed RS. R NHJ's memo re same. Circ

                                                                                                                KLP- Continue working on cas summaries. Incorporate
  07/09/2014 Kaylan Phillips     2:00       2.00        2.00 $     403.00   $        806.00    $         806.00 updates into memo on preservation/spoliation. F
  07/09/2014 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30    $          40.30 NHJ- Compile needed files for PI motion hearing.
                                                                                                                NHJ- Email to legal team re presentation of
  07/09/2014 Noel Johnson        0:12       0.20        0.20   $   403.00   $         80.60    $          80.60 recordkeeping obligations.
                                                                                                                NHJ- Finish outline and response for Gov's opp to PI
  07/09/2014 Noel Johnson        0:42       0.70        0.70   $   403.00   $        282.10    $         282.10 motion.
                                                                                                                NHJ- LR re duty to preserve evident/sanctions for
  07/09/2014 Noel Johnson        1:48       1.80        1.80   $   403.00   $        725.40    $         725.40 spoliation; create memo on same.
                                                                                                                RW- Download Cases for Reply to Gov Response to
  07/09/2014 Raina Wallace       0:54       0.90        0.90 $     179.00   $        161.10    $         161.10 Motion for PI.
  07/09/2014 Raina Wallace       1:00       1.00        1.00 $     179.00   $        179.00    $         179.00 RW- P Case Summaries (Facts) for OA.
  07/09/2014 Raina Wallace       1:18       1.30        1.30 $     179.00   $        232.70    $         232.70 RW- P Case Summaries (Holdings) for OA.
                                                                                                                RW- Search for Main DDC Spoliation Cases and adding
  07/09/2014 Raina Wallace       1:42       1.70        1.70   $   179.00   $        304.30    $         304.30 them to Case Summaries List for OA.

  07/10/2014 Kaylan Phillips     0:06       0.10        0.10   $   403.00   $         40.30    $          40.30 KLP- Email with RW re case summaries of new cases.
                                                                                                                KLP- Email with Cath Kidwell re cases to print. Batch
  07/10/2014 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90    $         120.90 and send documents.
                                                                                                                KLP- Email with team re hearing today and tomorrow. C
  07/10/2014 Kaylan Phillips     0:18       0.30        0.30 $     403.00   $        120.90    $         120.90 call later.
  07/10/2014 Kaylan Phillips     3:06       3.10        3.10 $     403.00   $       1,249.30   $       1,249.30 KLP- Work on case summaries for cases.
  07/10/2014 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30    $          40.30 NHJ- C WD re Judicial Watch hearing.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 108 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                         1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
                                                                                                                NHJ- Email correspondence re PI motion documents
  07/10/2014 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30    $          40.30 and Judicial Watch hearing.
  07/10/2014 Noel Johnson        0:30       0.50        0.25 $     403.00   $        201.50    $         100.75 NHJ- Travel back to hotel.
                                                                                                                NHJ- R transcript of June 24 Oversight hearing; note
  07/10/2014 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50    $         201.50 archivist testimony for PI hearing.
                                                                                                                NHJ- Travel to Foley offices; get set up with Cath
  07/10/2014 Noel Johnson        0:36       0.60        0.30   $   403.00   $        241.80    $         120.90 Kidwell.

  07/10/2014 Noel Johnson        0:54       0.90        0.90   $   403.00   $        362.70    $         362.70 NHJ- C WD and CM re PI motion hearing/arguments.
                                                                                                                NHJ- Compile info sheet on all pending cases involving
  07/10/2014 Noel Johnson        1:00       1.00        1.00 $     403.00   $        403.00    $         403.00 IRS emails.
  07/10/2014 Noel Johnson        1:00       1.00        1.00 $     403.00   $        403.00    $         403.00 NHJ- Lunch with ACLJ and Cincinnati lawyers.
                                                                                                                NHJ- Travel to and from and attending hearing at DDC
  07/10/2014 Noel Johnson        2:12       2.20        1.10 $     403.00   $        886.60    $         443.30 in Judicial Watch v. IRS re Lois Lerner emails
  07/10/2014 Noel Johnson        2:48       2.80        1.40 $     403.00   $       1,128.40   $         564.20 NHJ- Travel to DC for PI motion hearing.

  07/10/2014 Raina Wallace       1:00       1.00        1.00   $   179.00   $        179.00    $         179.00 RW- Download cases from governments response.

  07/10/2014 Raina Wallace       2:30       2.50        2.50 $     179.00   $        447.50    $         447.50 RW- Filling in facts and holdings of case summaries.
  07/11/2014 Kaylan Phillips     0:30       0.50        0.50 $     403.00   $        201.50    $         201.50 KLP- Emails about the hearing.
  07/11/2014 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30    $          40.30 NHJ- PI hearing prep with WD and CM.
                                                                                                                NHJ- Create document compelling US Archivist
  07/11/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90    $         120.90 testimony for PI hearing.
                                                                                                                NHJ- Travel to Foley offices for meeting with CM and
  07/11/2014 Noel Johnson        0:24       0.40        0.20   $   403.00   $        161.20    $          80.60 WD.
                                                                                                                NHJ- Lunch with IRS targeting case attorneys at Foley
  07/11/2014 Noel Johnson        0:36       0.60        0.60   $   403.00   $        241.80    $         241.80 offices.
                                                                                                                NHJ- Travel to and from and attend PI motion hearing
  07/11/2014 Noel Johnson        3:30       3.50        1.75   $   403.00   $       1,410.50   $         705.25 at DDC.

  07/13/2014 Noel Johnson        4:00       4.00        2.00 $     403.00   $       1,612.00   $         806.00 NHJ- Travel from DC to Indiana re PI motion hearing.
  07/14/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60    $          80.60 KLP- Emails re hearing on Friday.
  07/14/2014 Noel Johnson        0:06       0.10        0.00 $     403.00   $         40.30    $            -    NHJ- Discuss PI hearing with SLP. (n/c)
                                                                                                                NHJ- Complete expense report for PI motion hearing
  07/14/2014 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60    $          80.60 travel.
  07/15/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60    $          80.60 KLP- C NHJ re PI hearing on Friday.

  07/15/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30    $          40.30 NHJ- R letter of Issa to FEC re recycled hard drive.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 109 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
  07/15/2014 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- C KLP to discuss PI hearing.
  07/15/2014 Noel Johnson        0:12       0.20        0.00 $     403.00   $         80.60   $            -    NHJ- Discuss PI hearing with JAV (n/c).
                                                                                                               KLP- Emails re NorCal case. C NHJ re supplemental
  07/17/2014 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 authority.

                                                                                                               NHJ- Email correspondence with legal team re Norcal
  07/17/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 supp. authority notice; make revisions to same.
                                                                                                               NHJ- R decision on MTD in Norcal v. IRS; P notice of
  07/17/2014 Noel Johnson        1:06       1.10        1.10   $   403.00   $        443.30   $         443.30 supp. authority re same; circulate to legal te

                                                                                                               KLP- Receive and briefly review affidavits from IRS re
  07/18/2014 Kaylan Phillips     0:24       0.40        0.40 $     403.00   $        161.20   $         161.20 Lois Lerner's hard drive. C with collegues a
  07/18/2014 Noel Johnson        0:24       0.40        0.40 $     403.00   $        161.20   $         161.20 NHJ- D website post for affidavit of IRS.

                                                                                                               NHJ- R IRS affidavits re Lerner emails; discuss same
  07/18/2014 Noel Johnson        0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 with KLP; email correspondence with legal team
                                                                                                               KLP- Email to NHJ re needs for notice of supplemental
  07/21/2014 Kaylan Phillips     0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 authority.
  07/21/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Assign RW re IRS's affidavits.
  07/21/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Emails re conference call today.
                                                                                                               KLP- C NHJ re conference call and supplemental
  07/21/2014 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 authority.
                                                                                                               KLP- C call re affidavits and notice of supplemental
  07/21/2014 Kaylan Phillips     0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 authority.
                                                                                                               NHJ- C KLP re needed changes to notice of
  07/21/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 supplemental authority.

                                                                                                                NHJ- R Individual Defs notice of supplemental authority
  07/21/2014 Noel Johnson        0:36       0.60        0.00   $   403.00   $        241.80   $            -    re NorCal; rv notice re same; email to lega

  07/22/2014 Kaylan Phillips     0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 KLP- Call with marketing firm re case update letter.
                                                                                                               KLP- Emails re notice of supplemental authority. R
  07/22/2014 Kaylan Phillips     0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 notice. C with NHJ re same.

  07/22/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 NHJ- File notice of supplemental authority re NorCal.
                                                                                                               NHJ- Make final revisions to notice of supp authority re
  07/22/2014 Noel Johnson        0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 NorCal.




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Expenses adjusted for reimbursable and non-reimbursable.              Page 110 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
                                                                                                                NHJ- R and incorporate CM's changes to Notice of
  07/22/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90    $         120.90 Supp. Authority re NorCal; recirculate to legal te
                                                                                                                NHJ- RV notice of supp authority re NorCal per
  07/22/2014 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20    $         161.20 CM/WD's instructions.
                                                                                                                KLP- ECF notice re DOJ response to notice of
  07/23/2014 Kaylan Phillips     0:06       0.10        0.10   $   403.00   $         40.30    $          40.30 supplemental authority. R.
                                                                                                                NHJ- R IRS response to notice of supp. authority re
  07/23/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30    $          40.30 NorCal.

                                                                                                                KLP- Email from CM re inconsistencies in IRS's
  07/24/2014 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90    $         120.90 affidavits. Email with MG re next steps. Call re sam
                                                                                                                NHJ- Watch testimony from yesterday's Oversight
  07/24/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90    $         120.90 hearing with IRS Commissioner.
                                                                                                                KLP- Emails re conference call on Monday re affidavits
  07/25/2014 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60    $          80.60 and case updates.
                                                                                                                KLP- R news articles re Lerner's hard drive. C RW re
  07/28/2014 Kaylan Phillips     0:42       0.70        0.70   $   403.00   $        282.10    $         282.10 RS needed and r findings.
                                                                                                                KLP- Call with counsel from various tea party cases
  07/28/2014 Kaylan Phillips     0:54       0.90        0.90   $   403.00   $        362.70    $         362.70 about missing emails/data.
                                                                                                                KLP- R IRS declarations and begin creating outline of
  07/28/2014 Kaylan Phillips     1:00       1.00        1.00   $   403.00   $        403.00    $         403.00 each.

                                                                                                                KLP- Continue reviewing declarations and working on
  07/28/2014 Kaylan Phillips     4:12       4.20        4.20 $     403.00   $       1,692.60   $       1,692.60 outlines. Note potential hearsay. Email team re
  07/28/2014 Raina Wallace       0:15       0.30        0.30 $     179.00   $         53.70    $          53.70 RW- Pull Judicial watch docket.
                                                                                                                RW- Read affidavits and search for conflicting
  07/28/2014 Raina Wallace       0:30       0.50        0.50   $   179.00   $         89.50    $          89.50 statements about recoverable data.
                                                                                                                RW- Search for evidence of conflicting IRS statements
  07/28/2014 Raina Wallace       1:18       1.30        1.30   $   179.00   $        232.70    $         232.70 about recoverable data.

                                                                                                                RW- Watch video of Koskinen Hearing and search for
  07/28/2014 Raina Wallace       2:00       2.00        2.00   $   179.00   $        358.00    $         358.00 conflicting statements a bout recoverable data.
                                                                                                                KLP- C NHJ re declaration overview and necessity for
  07/29/2014 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60    $          80.60 firsthand knowledge.
                                                                                                                KLP- C NHJ to discss IRS affidavits, next steps for
  07/29/2014 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60    $          80.60 motion re same.
                                                                                                                KLP- Email with WD re declaration overview. Email with
  07/29/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60    $          80.60 RW re documents needed.
  07/29/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60    $          80.60 KLP- Email with WD re declarations.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 111 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
                                                                                                                KLP- Email with WD re sovereign immunity. Call with
  07/29/2014 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90    $         120.90 MG re same.
                                                                                                                NHJ- C KLP to discuss IRS affidavits, next steps for
  07/29/2014 Noel Johnson        0:12       0.20        0.20   $   403.00   $         80.60    $          80.60 motion re same.
  07/30/2014 Kaylan Phillips     0:06       0.10        0.10   $   403.00   $         40.30    $          40.30 KLP- C NHJ re IRS affidavits and next steps.
                                                                                                                NHJ- C KLP to discuss IRS affidavits, next steps re
  07/30/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30    $          40.30 same; needed RS for same.

  07/31/2014 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60    $          80.60 KLP- Emails re Congressional updates and next steps.

  08/01/2014 Kaylan Phillips     0:30       0.50        0.50   $   403.00   $        201.50    $         201.50 KLP- Emails re supplement needed. C NHJ re same.
                                                                                                                KLP- R and update overview on declarations as
  08/01/2014 Kaylan Phillips     0:36       0.60        0.60   $   403.00   $        241.80    $         241.80 needed.
                                                                                                                NHJ- Email correspondence re response to affidavits
  08/01/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90    $         120.90 and motion for cross-examination.

                                                                                                                NHJ- R IRS Commissioner interview with Tax Analyst;
  08/01/2014 Noel Johnson        0:48       0.80        0.80   $   403.00   $        322.40    $         322.40 RS re motion for evidentiary hearing; email cor

                                                                                                                NHJ- R IRS affidavits; LR re FRE 602, hearsay
  08/01/2014 Noel Johnson        3:12       3.20        3.20 $     403.00   $       1,289.60   $       1,289.60 exceptions, factual support requirement; begin drafti
  08/04/2014 Kaylan Phillips     0:06       0.10        0.10 $     403.00   $         40.30    $          40.30 KLP- Email from Cause of Action re idea.
  08/04/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60    $          80.60 KLP- Emails re drafting filing.
  08/04/2014 Kaylan Phillips     0:24       0.40        0.40 $     403.00   $        161.20    $         161.20 KLP- C NHJ re RS needed and next steps.
  08/04/2014 Kaylan Phillips     1:30       1.50        1.50 $     403.00   $        604.50    $         604.50 KLP- LR re personal knowledge requirement.

  08/04/2014 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20    $         161.20 NHJ- C KLP re needs for motion for cross examination.
                                                                                                                NHJ- Continue LR and continue drafting Motion for
  08/04/2014 Noel Johnson        0:54       0.90        0.90   $   403.00   $        362.70    $         362.70 Cross Examination.

  08/04/2014 Noel Johnson        1:24       1.40        1.40   $   403.00   $        564.20    $         564.20 NHJ- Continue drafting Motion for Cross-Examination

  08/04/2014 Noel Johnson        3:30       3.50        3.50 $     403.00   $       1,410.50   $       1,410.50 NHJ- Continue drafting Motion for Cross-Examination.
  08/05/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60    $          80.60 KLP- C NHJ re motion and next steps.
                                                                                                                NHJ- Check dockets for activity in other targeting/IRS
  08/05/2014 Noel Johnson        0:12       0.20        0.00   $   403.00   $         80.60    $            -   FOIA cases (n/c)

                                                                                                                KLP- ECF notices and emails re order denying motion
  08/07/2014 Kaylan Phillips     0:36       0.60        0.60   $   403.00   $        241.80    $         241.80 for PI/expedited discovery. R order. Emails re

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 112 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                                NHJ- Check for updates to recent DDC Bivens cases; r
  08/07/2014 Noel Johnson        0:18       0.30        0.00   $   403.00   $        120.90   $            -    latest filings in same.
                                                                                                               NHJ- R order on PI motion; email to legal team re
  08/07/2014 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 same.

                                                                                                               KLP- Email from team re affidavits. Look for articles on
  08/18/2014 Kaylan Phillips     0:54       0.90        0.90   $   403.00   $        362.70   $         362.70 Judicial Watch order. Check docket re same

                                                                                                               KLP- R docket re options for updating court on events in
  08/20/2014 Kaylan Phillips     0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 Judicial Watch case. R order denying exped

                                                                                                               KLP- Continue reviewing order on Motion for
  08/21/2014 Kaylan Phillips     1:36       1.60        1.60   $   403.00   $        644.80   $         644.80 PI/expedited discovery. R affidavits from Judicial Watc
                                                                                                               KLP- R ST's spreadsheets for discovery folders. R
  08/22/2014 Kaylan Phillips     0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 index.
                                                                                                               KLP- Save and review Judicial watch affidavits. Email to
  08/22/2014 Kaylan Phillips     0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 team re notable points in the affidavits.
                                                                                                               KLP- Check Judicial Watch Docket, waiting for today's
  08/22/2014 Kaylan Phillips     1:06       1.10        0.00   $   403.00   $        443.30   $            -   filing (throughout day) (n/c)
  08/25/2014 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 KLP- C NHJ re motion for reconsideration.
                                                                                                               KLP- Email with team re affidavits. R emails forwarded
  08/25/2014 Kaylan Phillips     0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 by CM.

  08/25/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 NHJ- C KLP re motion for reconsideration of PI motion.

                                                                                                               NHJ- R email correspondence re COG email backup; r
  08/25/2014 Noel Johnson        0:36       0.60        0.60 $     403.00   $        241.80   $         241.80 local/chamber rules: motions for reconsideration
  08/26/2014 Kaylan Phillips     0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 KLP- Email to Ramona at Judicial Watch.
  08/26/2014 Kaylan Phillips     0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 KLP- Emails re conference call today.
  08/26/2014 Kaylan Phillips     0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 KLP- C call with team. Follow up email to WD.
  08/26/2014 Noel Johnson        0:06       0.10        0.00 $     403.00   $         40.30   $            -    NHJ- R e-discovery article circulated by CM (n/c)
                                                                                                               NHJ- Check dockets in NorCal and Z Street and review
  08/26/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 latest filings; email to legal team re same.
                                                                                                               NHJ- LR re recent decisions on expedited discovery
  08/26/2014 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 motions.
                                                                                                               NHJ- PC with legal team re renewed motion for PI and
  08/26/2014 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 COG backup.
                                                                                                               NHJ- RS re Continuity of Government program re
  08/26/2014 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 information backup.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 113 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               NHJ- LR re motions for reconsideration; re-review
  08/26/2014 Noel Johnson        1:36       1.60        1.60   $   403.00   $        644.80   $         644.80 opinion on PI motion; email to legal team re same
                                                                                                               KLP- Call to Ramona at Judical Watch. Leave
  08/27/2014 Kaylan Phillips     0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 message.
  08/27/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Email from team re update to court.
  08/27/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Emails re bio of computer expert.
  08/27/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Emails re meet and confer.
                                                                                                               KLP- R news articles and watch news clips re Lerner's
  08/27/2014 Kaylan Phillips     0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 emails.
                                                                                                               KLP- C NHJ re update to court re Lerner's emails and
  08/27/2014 Kaylan Phillips     0:36       0.60        0.60 $     403.00   $        241.80   $         241.80 next steps.
  08/27/2014 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 NHJ- R bio of proposed declarant for PI motion.
                                                                                                               NHJ- C KLP re PI hearing transcript excerpts and needs
  08/27/2014 Noel Johnson        0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 for renewed PI motion.
                                                                                                               NHJ- LR re discovery and COG program; r IRM re
  08/27/2014 Noel Johnson        0:54       0.90        0.90   $   403.00   $        362.70   $         362.70 continuity program and disaster.
                                                                                                               NHJ- R transcript of PI hearing and compilie counsel
  08/27/2014 Noel Johnson        1:36       1.60        1.60 $     403.00   $        644.80   $         644.80 representations.
  08/29/2014 Noel Johnson        0:24       0.40        0.40 $     403.00   $        161.20   $         161.20 NHJ- Continue reviewing e-discovery guides.
                                                                                                               NHJ- R Zubulake v. UBS Warburg LLC, 229 F.R.D. 422
  08/29/2014 Noel Johnson        0:42       0.70        0.70 $     403.00   $        282.10   $         282.10 (S.D.N.Y. 2004).
  08/29/2014 Noel Johnson        1:12       1.20        1.20 $     403.00   $        483.60   $         483.60 NHJ- R e-discovery articles/guides/case law.
  09/02/2014 Kaylan Phillips     0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 KLP- ECF notice re transcript.
  09/02/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Emails re meet and confer.
  09/02/2014 Kaylan Phillips     0:36       0.60        0.60 $     403.00   $        241.80   $         241.80 KLP- C NHJ re motion.

  09/02/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 NHJ- Check dockets of related cases; r latest filings.
                                                                                                               NHJ- C KLP re expert declaration re COG/needs for
  09/02/2014 Noel Johnson        0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 renewed motion re same.
                                                                                                               KLP- Emails re COG system. R declarations filed by
  09/03/2014 Kaylan Phillips     0:36       0.60        0.60 $     403.00   $        241.80   $         241.80 IRS in our case and in Judicial Watch. RV draft
  09/03/2014 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- R D declaration of Pawlowski.
                                                                                                               NHJ- R email from CM re DOI COG; r attachments re
  09/03/2014 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 same.

                                                                                                               NHJ- RS re declaration/transcript; D email response to
  09/03/2014 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 CM re COG/COOP; discuss same with KLP.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 114 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                         1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                          Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
  09/04/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Emails re conference call.
  09/04/2014 Kaylan Phillips     0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 KLP- Meet and confer with opposing counsel.
                                                                                                               KLP- D summary of meet and confer. Incorporate NHJ's
  09/04/2014 Kaylan Phillips     0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 edits. Send to team.
                                                                                                               NHJ- R Judical Watch press release re new Lois Lerner
  09/04/2014 Noel Johnson        0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 emails; r emails and links cited in same.
  09/04/2014 Noel Johnson        0:24       0.40        0.40 $     403.00   $        161.20   $         161.20 NHJ- C with opposing counsel re COG backup.
                                                                                                               KLP- Emails re news updates (backup tapes) and next
  09/05/2014 Kaylan Phillips     0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 steps (throughout day).

                                                                                                               NHJ- R letter of Jordan to Koskinen re backup servers;
  09/05/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 email correspondence with legal team re same
                                                                                                               KLP- R report re hard drive crashes from IRS. Email
  09/08/2014 Kaylan Phillips     0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 team re same.
  09/08/2014 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 NHJ- Check dockets in related cases.

  09/09/2014 Kaylan Phillips     0:24       0.40        0.40 $     403.00   $        161.20   $         161.20 KLP- C NHJ re latest report from IRS. R report again.
  09/09/2014 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 NHJ- C w/ KLP
  09/10/2014 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Emails re response to opposing counsel.

                                                                                                               NHJ- R majority and minority reports of the Senate
  09/10/2014 Noel Johnson        1:24       1.40        1.40   $   403.00   $        564.20   $         564.20 Subcommittee on Investigations re IRS targeting.
                                                                                                               KLP- Call from pro se litigant re court filings. Email re
  09/12/2014 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 same.
                                                                                                               NHJ- R CPC IRS timeline; compile relevant news,
  09/15/2014 Noel Johnson        0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 emails, congressional hearing documents.

  09/16/2014 Kaylan Phillips     0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 KLP- Email with WD adn CM re discovery conference.

                                                                                                               KLP- Email from opposing counsel re Lois Lerner's
  09/16/2014 Kaylan Phillips     0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 emails. Email with team re response and next step

                                                                                                               KLP- RS whether discovery conference should proceed
  09/16/2014 Kaylan Phillips     1:54       1.90        1.90   $   403.00   $        765.70   $         765.70 in light of motion to dismiss. Emails from MG r
                                                                                                               NHJ- R email from DOJ re backup tapes; discuss same
  09/16/2014 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 with KLP.
  09/16/2014 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- C KLP re motion to compel/Rule 26(f)
                                                                                                               NHJ- Check dockets in related cases; r motion to certify
  09/16/2014 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 interlocutory appeal in Z street.

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                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               NHJ- R email correspondence re motion to compel/Rule
  09/16/2014 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 26(f); discuss same with KLP; D email to legal
                                                                                                               KLP- Emails re Judicial Watch motion for discovery.
  09/17/2014 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 Briefly review.
                                                                                                               KLP- Emails re next steps. RS timing of 26(f)
  09/17/2014 Kaylan Phillips     0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 conferences and respond as needed.

  09/17/2014 Kaylan Phillips     1:30       1.50        1.50   $   403.00   $        604.50   $         604.50 KLP- Watch portion of Oversight hearing with Koskinen.
                                                                                                               NHJ- Email correspondence with legal team re 26(f)
  09/17/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 conference/motion to compel.
                                                                                                               NHJ- R draft motion for discovery in Judicial Watch v.
  09/17/2014 Noel Johnson        0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 IRS.
  09/17/2014 Noel Johnson        1:06       1.10        1.10 $     403.00   $        443.30   $         443.30 NHJ- LR re compelling 26(f) conference.
                                                                                                               NHJ- Watching Oversight Subcommittee hearing with
  09/17/2014 Noel Johnson        1:24       1.40        1.40   $   403.00   $        564.20   $         564.20 Commissioner Koskinen.
                                                                                                               KLP- Email with colleagues re letter to opposing
  09/18/2014 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 counsel.

  09/18/2014 Kaylan Phillips     0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 KLP- R and save discovery in NorCal. Emails re same.

  09/18/2014 Kaylan Phillips     0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 KLP- R and save Judical Watch motion for discovery.
                                                                                                               KLP- R letter to opposing counsel. Fill in blanks and
  09/18/2014 Kaylan Phillips     0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 circualte with suggestions.
                                                                                                               NHJ- R IRS responses to interrogatories/RFP in
  09/18/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 NorCal.
                                                                                                               NHJ- LR re legislative privilege and third party
  09/18/2014 Noel Johnson        0:48       0.80        0.80   $   403.00   $        322.40   $         322.40 discovery.

  09/19/2014 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 KLP- C NHJ re scope of discovery/motion to compel.

  09/19/2014 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 KLP- Email with team re NorCal discovery requests. R.
                                                                                                               KLP- Email with CM. RV letter to opposing counsel as
  09/19/2014 Kaylan Phillips     0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 needed. P to send and send.
  09/19/2014 Kaylan Phillips     1:18       1.30        1.30 $     403.00   $        523.90   $         523.90 KLP- C NHJ re motion to compel.
  09/19/2014 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 NHJ- R email and draft letter to opposing counsel.

  09/19/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 NHJ- C KLP re scope of discovery/motion to compel.
                                                                                                               NHJ- C KLP re renewal motion to compel 26(f)
  09/19/2014 Noel Johnson        1:18       1.30        1.30   $   403.00   $        523.90   $         523.90 arguments.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 116 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                                KLP- Response from individual defendants re 26(f)
  09/22/2014 Kaylan Phillips     0:06       0.10        0.00   $   403.00   $         40.30   $            -    conference. R and save.
                                                                                                               KLP- Email to team re next steps. C NHJ re RS and
  09/22/2014 Kaylan Phillips     0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 options.

                                                                                                               NHJ- LR re stays of discovery; r example motion to
  09/22/2014 Noel Johnson        1:00       1.00        1.00   $   403.00   $        403.00   $         403.00 compel Rule 26(f) conference; C KLP to discuss s
                                                                                                               KLP- Letter from Cincinnati Defendants re discovery
  09/23/2014 Kaylan Phillips     0:06       0.10        0.00   $   403.00   $         40.30   $            -   conference.
  09/23/2014 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 KLP- C NHJ re discovery needs.
                                                                                                               NHJ- R correspondence with opposing counsel re 26(f)
  09/23/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 conference.
                                                                                                               NHJ- R testimony of Cause of Action re IRS and
  09/23/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 Federal Records Act.
                                                                                                               NHJ- C KLP re needs for discovery requests and
  09/23/2014 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 responses.
  09/25/2014 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 NHJ- R dockets and filings in related cases.
                                                                                                               NHJ- Continue creating comprehensive timeline of key
  09/26/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 events; compile documents supporting same.
                                                                                                               NHJ- Create comprehensive timeline of key events;
  09/26/2014 Noel Johnson        1:00       1.00        1.00   $   403.00   $        403.00   $         403.00 compile documents supporting same.
                                                                                                               NHJ- Continue creating comprehensive timeline;
  09/29/2014 Noel Johnson        0:42       0.70        0.70   $   403.00   $        282.10   $         282.10 compiling documents re same.
                                                                                                               NHJ- Continue creating comprehensive timeline;
  09/29/2014 Noel Johnson        1:30       1.50        1.50   $   403.00   $        604.50   $         604.50 compiling documents re same.
                                                                                                                KLP- Emails re recent case interpreting 6103. Briefly
  09/30/2014 Kaylan Phillips     0:12       0.20        0.00   $   403.00   $         80.60   $            -    review.
                                                                                                                NHJ- R FOIA decision re 6103 decision circulated by
  09/30/2014 Noel Johnson        0:18       0.30        0.00   $   403.00   $        120.90   $            -    CM- Cause of Action v. TIGTA.
                                                                                                               NHJ- Continue creating comprehensive timeline;
  09/30/2014 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 compiling documents re same.
                                                                                                               NHJ- Continue creating comprehensive timeline;
  09/30/2014 Noel Johnson        0:48       0.80        0.80   $   403.00   $        322.40   $         322.40 compiling documents re same.
                                                                                                               NHJ- Continue creating comprehensive timeline;
  09/30/2014 Noel Johnson        1:30       1.50        1.50   $   403.00   $        604.50   $         604.50 compiling documents re same.
                                                                                                               NHJ- Continue creating comprehensive timeline;
  10/01/2014 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 compiling documents re same.
                                                                                                               NHJ- Continue creating comprehensive timeline;
  10/01/2014 Noel Johnson        0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 compiling documents re same.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 117 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               NHJ- Continue creating comprehensive timeline;
  10/01/2014 Noel Johnson        0:48       0.80        0.80   $   403.00   $        322.40   $         322.40 compiling documents re same.
                                                                                                               NHJ- Continue creating comprehensive timeline;
  10/01/2014 Noel Johnson        1:06       1.10        1.10   $   403.00   $        443.30   $         443.30 compiling documents re same.
  10/02/2014 Kaylan Phillips     0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 KLP- C NHJ re discovery needs.
                                                                                                               NHJ- Continue creating comprehensive timeline;
  10/02/2014 Noel Johnson        0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 compiling documents re same.
                                                                                                               NHJ- Continue creating comprehensive timeline;
  10/02/2014 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 compiling documents re same.
  10/02/2014 Noel Johnson        0:24       0.40        0.40 $     403.00   $        161.20   $         161.20 NHJ- C KLP re needs for discovery/timelines.
                                                                                                               NHJ- Continue creating comprehensive timeline;
  10/02/2014 Noel Johnson        0:48       0.80        0.80   $   403.00   $        322.40   $         322.40 compiling documents re same.
                                                                                                                NHJ- R IRS/Bivens decision from SDNR- Zherka v.
  10/06/2014 Noel Johnson        0:36       0.60        0.00   $   403.00   $        241.80   $            -    Ryan; email to legal team re same.

                                                                                                               NHJ- Continue preparing comprehensive timeline of
  10/06/2014 Noel Johnson        1:06       1.10        1.10   $   403.00   $        443.30   $         443.30 events; compiling and reviewing documents re same

                                                                                                               NHJ- Continue preparing comprehensive timeline of
  10/07/2014 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 events; compiling and reviewing documents re same
                                                                                                               NHJ- R Zherka v Ryan and d notice of supplemental
  10/07/2014 Noel Johnson        1:12       1.20        1.20   $   403.00   $        483.60   $         483.60 authority re same.

  10/08/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 NHJ- File notice of supp. authority- Zherka v . Ryan.
                                                                                                               NHJ- Proof and finalize notice of supplemental
  10/08/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 authority.

                                                                                                               NHJ- Continue preparing comprehensive timeline of
  10/08/2014 Noel Johnson        0:54       0.90        0.90   $   403.00   $        362.70   $         362.70 events; compiling and reviewing documents re same
                                                                                                               NHJ- R Ds joint response to second notice of supp.
  10/13/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 authority.

                                                                                                               NHJ- Continue preparing comprehensive timeline of
  10/14/2014 Noel Johnson        1:06       1.10        1.10   $   403.00   $        443.30   $         443.30 events; compiling and reviewing documents re same

  10/15/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 NHJ- R opposition to certification appeal in Z Street.
                                                                                                               NHJ- Check dockets in related cases for activity;
  10/15/2014 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 download recent filings for review.




* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 118 of 156
                                                   PILF LSI Laffey Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date          Name       Time     Gross       Adjusted    LSI Laffey       LSI Gross         LSI Laffey                        Description
                                     Hours        Hours*       Rate           Amount            Adjusted
                                                                                                 Amount
                                                                                                             NHJ- Continue preparing comprehensive timeline of
  10/15/2014 Noel Johnson     0:24        0.40        0.40   $   403.00   $        161.20   $         161.20 events; compiling and reviewing documents re same

                                                                                                             NHJ- Continue preparing comprehensive timeline of
  10/15/2014 Noel Johnson     1:06        1.10        1.10   $   403.00   $        443.30   $         443.30 events; compiling and reviewing documents re same

                                                                                                              NHJ- Continue preparing comprehensive timeline of
  10/16/2014 Noel Johnson     0:42        0.70        0.70   $   403.00   $        282.10   $         282.10 events; compiling and reviewing documents re sam

                                                                                                             NHJ- Continue preparing comprehensive timeline of
  10/16/2014 Noel Johnson     1:12        1.20        1.20   $   403.00   $        483.60   $         483.60 events; compiling and reviewing documents re same
                                                                                                             NHJ- R Oversight Committee Report: LOIS LERNER’S
                                                                                                             INVOLVEMENT IN THE IRS TARGETING OF TAX-
  10/17/2014 Noel Johnson     1:06        1.10        1.10   $   403.00   $        443.30   $         443.30 EXEMPT OR

                                                                                                             NHJ- R dockets of related cases for activity; download
  10/22/2014 Noel Johnson     0:30        0.50        0.50 $     403.00   $        201.50   $         201.50 latest filings; email to legal team re order
  10/23/2014 Noel Johnson     0:06        0.10        0.10 $     403.00   $         40.30   $          40.30 NHJ- R press coverage of MTD order.
                                                                                                             NHJ- Email and phone correspondence re media and
  10/23/2014 Noel Johnson     0:12        0.20        0.10   $   403.00   $         80.60   $          40.30 MTD order.
  10/23/2014 Noel Johnson     0:12        0.20        0.10   $   403.00   $         80.60   $          40.30 NHJ- PC with MG re MTD order and appeal.

                                                                                                             NHJ- Email correspondence with legal team re: MTD
  10/23/2014 Noel Johnson     0:18        0.30        0.20 $     403.00   $        120.90   $          80.60 order; prepare bullet points for CM re: same; ema
  10/23/2014 Noel Johnson     0:36        0.60        0.40 $     403.00   $        241.80   $         161.20 NHJ- R Opinion on MTDs
                                                                                                             NHJ- R IRS opposition to discovery request in Judicial
  10/23/2014 Noel Johnson     0:42        0.70        0.70   $   403.00   $        282.10   $         282.10 Watch FOIA matter.
             Joseph
  10/27/2014 Vanderhulst      0:30        0.50        0.50   $   403.00   $        201.50   $         201.50 JAV- PC team and cl re dismissal and appeal.
             Joseph
  10/27/2014 Vanderhulst      1:00        1.00        1.00   $   403.00   $        403.00   $         403.00 JAV- Pc team re dismissal and appeal, r decision.
                                                                                                             NHJ- Find and review legal service agreement; email to
  10/27/2014 Noel Johnson     0:06        0.10        0.10 $     403.00   $         40.30   $          40.30 client per request.
  10/27/2014 Noel Johnson     0:12        0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- C JAV re appeal.
  10/27/2014 Noel Johnson     0:12        0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- Type up notes from call; circulate to team.
                                                                                                             NHJ- R FRAP and Circuit Rules re appeals; email to
  10/27/2014 Noel Johnson     0:30        0.50        0.50   $   403.00   $        201.50   $         201.50 legal team re same.
  10/27/2014 Noel Johnson     0:36        0.60        0.40   $   403.00   $        241.80   $         161.20 NHJ- C with legal team re appeal of MTD order.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.            Page 119 of 156
                                                   PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date          Name       Time     Gross       Adjusted    LSI Laffey       LSI Gross         LSI Laffey                          Description
                                     Hours        Hours*       Rate           Amount            Adjusted
                                                                                                 Amount
  10/27/2014 Noel Johnson     0:54        0.90        0.90   $   403.00   $        362.70   $         362.70 NHJ- C with client and legal team re appeal.
                                                                                                             NHJ- Create outline of MTD order and legal issues for
  10/27/2014 Noel Johnson     1:12        1.20        0.80 $     403.00   $        483.60   $         322.40 appeal; email correspondence re same.
  10/28/2014 Noel Johnson     0:12        0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- Check dockets in related cases for activity.
  10/28/2014 Noel Johnson     0:18        0.30        0.20 $     403.00   $        120.90   $          80.60 NHJ- R Order on MTDs in Linchpins of Liberty.

  10/28/2014 Noel Johnson     0:18        0.30        0.30   $   403.00   $        120.90   $         120.90 NHJ- R reply re motion for discovery in Judicial Watch.
             Joseph
  10/29/2014 Vanderhulst      0:24        0.40        0.40   $   403.00   $        161.20   $         161.20 JAV- R decision.
             Joseph
  10/29/2014 Vanderhulst      0:30        0.50        0.50   $   403.00   $        201.50   $         201.50 JAV- C NHJ re decision.
             Joseph
  10/30/2014 Vanderhulst      0:12        0.20        0.20 $     403.00   $         80.60   $          80.60 JAV- Em exch with team re appeal options.
  10/30/2014 Noel Johnson     0:18        0.30        0.30 $     403.00   $        120.90   $         120.90 NHJ- C JAV re e appeal outline, arguments.
                                                                                                             NHJ- Continue reviewing pleadings and filings and work
  10/30/2014 Noel Johnson     0:30        0.50        0.50   $   403.00   $        201.50   $         201.50 on timeline/outline for appeal.
                                                                                                             NHJ- Email correspondence re appeal outline;
  10/30/2014 Noel Johnson     0:36        0.60        0.60   $   403.00   $        241.80   $         241.80 arguments for same.
                                                                                                             NHJ- R authority cited in courts's order re
  10/30/2014 Noel Johnson     1:00        1.00        1.00   $   403.00   $        403.00   $         403.00 timeline/outline for appeal.
                                                                                                             NHJ- R pleadings and filings and work on
  10/30/2014 Noel Johnson     1:24        1.40        1.40   $   403.00   $        564.20   $         564.20 timeline/outline for appeal.
                                                                                                             NHJ- R authority cited in court's order re timeline/outline
  10/30/2014 Noel Johnson     1:42        1.70        1.70   $   403.00   $        685.10   $         685.10 for appeal.
             Joseph
  10/31/2014 Vanderhulst      0:30        0.50        0.00   $   403.00   $        201.50   $            -    JAV- C NHJ re outline and appeal. (n/c)
                                                                                                             NHJ- Email correspondence with client and CM re
  10/31/2014 Noel Johnson     0:06        0.10        0.10   $   403.00   $         40.30   $          40.30 financials.
                                                                                                             NHJ- Continue reviewing authority cited in court's order
  10/31/2014 Noel Johnson     0:12        0.20        0.20   $   403.00   $         80.60   $          80.60 re timeline/outline for appeal.
                                                                                                             NHJ- Continue reviewing authority cited in court's order
  10/31/2014 Noel Johnson     0:24        0.40        0.40   $   403.00   $        161.20   $         161.20 re timeline/outline for appeal.

  10/31/2014 Noel Johnson     0:24        0.40        0.40   $   403.00   $        161.20   $         161.20 NHJ- Cs with SLP re financials requested by client.

                                                                                                             NHJ- Cs with SLP re: financials for client; make
  10/31/2014 Noel Johnson     0:30        0.50        0.50   $   403.00   $        201.50   $         201.50 revisions and finalize same; email correspondence
                                                                                                             NHJ- Continue reviewing authority cited in court's order
  10/31/2014 Noel Johnson     1:30        1.50        1.50   $   403.00   $        604.50   $         604.50 and shepardize re timeline/outline for app


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.            Page 120 of 156
                                                   PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date          Name       Time     Gross       Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                     Hours        Hours*       Rate           Amount            Adjusted
                                                                                                 Amount
                                                                                                             NHJ- Continue reviewing authority cited in court's order
  10/31/2014 Noel Johnson     1:42        1.70        1.70   $   403.00   $        685.10   $         685.10 re timeline/outline for appeal.
                                                                                                             NHJ- C JAV re IRS oversight of C3s; arguments on
  11/03/2014 Noel Johnson     0:30        0.50        0.50   $   403.00   $        201.50   $         201.50 appeal re same.

                                                                                                             NHJ- Continue reviewing authority cited in Court's order
  11/03/2014 Noel Johnson     0:54        0.90        0.60   $   403.00   $        362.70   $         241.80 and MTD re outline and assessment of appea

                                                                                                             NHJ- Continue reviewing authority cited in Court's order
  11/03/2014 Noel Johnson     1:06        1.10        0.80   $   403.00   $        443.30   $         322.40 and MTD re outline and assessment of appea

                                                                                                             NHJ- Continue reviewing authority cited in Court's order
  11/03/2014 Noel Johnson     2:12        2.20        1.50   $   403.00   $        886.60   $         604.50 and MTD re outline and assessment of appea
                                                                                                             NHJ- Work on outline of appeal for legal team and
  11/04/2014 Noel Johnson     0:12        0.20        0.20   $   403.00   $         80.60   $          80.60 client.
                                                                                                             NHJ- Work on outline of appeal for legal team and
  11/04/2014 Noel Johnson     2:00        2.00        2.00   $   403.00   $        806.00   $         806.00 client.
             Joseph
  11/05/2014 Vanderhulst      0:30        0.50        0.50   $   403.00   $        201.50   $         201.50 JAV- R proposed outline re appeal, em exchs re same.
                                                                                                             NHJ- Finalize and proofread outline/timeline for appeal;
  11/05/2014 Noel Johnson     0:48        0.80        0.80   $   403.00   $        322.40   $         322.40 email to legal team re same.
                                                                                                             NHJ- Continue work on outline/timeline re appeal for
  11/05/2014 Noel Johnson     1:00        1.00        1.00   $   403.00   $        403.00   $         403.00 client.
                                                                                                             NHJ- Continue work on outline/timeline re appeal for
  11/05/2014 Noel Johnson     1:06        1.10        1.10   $   403.00   $        443.30   $         443.30 client.
                                                                                                             NHJ- Update outline with WD's suggestions; email to
  11/06/2014 Noel Johnson     0:18        0.30        0.30   $   403.00   $        120.90   $         120.90 legal team re voluntary cessation.
             Joseph                                                                                          JAV- R final appeal process, ems re appeal decision,
  11/10/2014 Vanderhulst      0:30        0.50        0.50   $   403.00   $        201.50   $         201.50 debrief.
             Joseph
  11/11/2014 Vanderhulst      0:18        0.30        0.30   $   403.00   $        120.90   $         120.90 JAV- R em re appeal decision, conf NHJ re same.
             Joseph
  12/04/2014 Vanderhulst      0:30        0.50        0.50   $   403.00   $        201.50   $         201.50 JAV- C and em exchs re decision to appeal.
                                                                                                             NHJ- Email correspondence re appeal; c JAV re same;
  12/04/2014 Noel Johnson     0:18        0.30        0.30   $   403.00   $        120.90   $         120.90 discuss same with KLP.

  12/05/2014 Noel Johnson     0:06        0.10        0.10   $   403.00   $         40.30   $          40.30 NHJ- R email correspondence with client's attorneys.
                                                                                                             NHJ- R outline of appeal and June FOIA request;
  12/05/2014 Noel Johnson     0:12        0.20        0.20   $   403.00   $         80.60   $          80.60 circulate to client.
                                                                                                             NHJ- Email correspondence re notice of
  12/08/2014 Noel Johnson     0:06        0.10        0.10   $   403.00   $         40.30   $          40.30 appeal/timeline.

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Expenses adjusted for reimbursable and non-reimbursable.            Page 121 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                          Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               NHJ- PC with legal team and client re
  12/08/2014 Noel Johnson        0:48       0.80        0.80 $     403.00   $        322.40   $         322.40 appeal/representation agreement.
  12/09/2014 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 NHJ- Discuss TTV call with KLP.
  12/09/2014 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- C JAV re call with client.

                                                                                                               NHJ- RS re notice of appeal in DC Circuit; rs appellate
  12/10/2014 Noel Johnson        0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 rules; rs forms; draft notice of appeal; em
             Joseph
  12/15/2014 Vanderhulst         0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 JAV- R letter re appeal, c NHJ re same.
                                                                                                               NHJ- R, sign and email letter re appeal; same re rv
  12/15/2014 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 edition.
             Joseph
  12/19/2014 Vanderhulst         0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 JAV- R docketing order and schedule, ems re same.
             Joseph
  12/19/2014 Vanderhulst         0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 JAV- R em and article re appeal.
                                                                                                               NHJ- Email correspondence re deadlines and filings
  12/19/2014 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 during holidays.
                                                                                                               NHJ- Email correspondence re local rules, initial filing
  12/19/2014 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 deadlines; r news release re appeal; discu
                                                                                                               NHJ- R DC Circuit Rules and Handbook re appeal,
  12/19/2014 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 initial filing deadlines.
                                                                                                               NHJ- R DC Circuit admission rules; complete
  01/05/2015 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 application.
                                                                                                               KLP- Work on admission to DC Circuit. Email to
  01/06/2015 Kaylan Phillips     0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 colleagues re same.
                                                                                                               NHJ- Call to clerks office re certificate of good standing;
  01/06/2015 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 P letter and mailing for same; drive to
                                                                                                               KLP- Work on application to circuit. Call clerk. Email
  01/07/2015 Kaylan Phillips     0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 with colleagues re same.
                                                                                                               KLP- Email with colleague re DC COA application. Get
  01/08/2015 Kaylan Phillips     0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 signed/notorized. Emails re next steps.
                                                                                                               KLP- Email with team re contents of appendix. R local
  01/08/2015 Kaylan Phillips     0:36       0.60        0.60 $     403.00   $        241.80   $         241.80 rules and docket.
  01/08/2015 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- Check status of related cases.
  01/08/2015 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- Complete Docketing Statement form.
  01/08/2015 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- Email correspondence re appendix.
                                                                                                               NHJ- R docket and compile designation of
                                                                                                               record/appendix; email to team resame; discuss same
  01/08/2015 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 with K


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 122 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                         1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                          Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               NHJ- RS re needed appellate forms and filings for Jan
  01/08/2015 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 20.

  01/09/2015 Kaylan Phillips     0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 KLP- C NHJ re appendix contents. Emails re same.
  01/09/2015 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 NHJ- Email to opposing counsel re appendix.
  01/12/2015 Kaylan Phillips     0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 KLP- R docket.
  01/12/2015 Kaylan Phillips     0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 KLP- Finalize application for COA. P shipment.
  01/13/2015 Kaylan Phillips     0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 KLP- R Z Street docket (d.ct. and appellate).
                                                                                                               KLP- C NHJ re certificate of parties, related cases. R
  01/13/2015 Kaylan Phillips     0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 ACLJ's docket for case status.
                                                                                                               KLP- R initial appellate documents. Email to NHJ re
  01/13/2015 Kaylan Phillips     0:36       0.60        0.60 $     403.00   $        241.80   $         241.80 changes needed.
  01/13/2015 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- C KLP re official capacity parties.
                                                                                                               NHJ- R and incorporate KLP's revisions to certificate
  01/13/2015 Noel Johnson        0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 and statement of issues.
  01/13/2015 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 NHJ- R rules, d Statement of Issues to Be Raised.
                                                                                                               NHJ- R rules; d certificate of parties, rulings, related
  01/13/2015 Noel Johnson        0:54       0.90        0.90   $   403.00   $        362.70   $         362.70 cases.
                                                                                                               NHJ- Continue drafting Statement of Issues to Be
  01/13/2015 Noel Johnson        1:00       1.00        1.00 $     403.00   $        403.00   $         403.00 Raised.
  01/14/2015 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- C NHJ re appeal.
  01/14/2015 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Call from Carly Gammill re status.
                                                                                                               KLP- Call to Carly Gammill of the ACLJ. Leave
  01/14/2015 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 message. Check ACLJ docket.

  01/14/2015 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 KLP- Call with WD re appeal and briefing schedule.
                                                                                                               KLP- PC Eddie Greim re NorCal, leave message.
  01/14/2015 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 Check NorCal docket.

                                                                                                               KLP- R Z Street documents. Email to team re latest
  01/14/2015 Kaylan Phillips     0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 information. Email to Z Street lawyer re status.

  01/14/2015 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 NHJ- Make revisions to State of Issues on Appeal.

  01/14/2015 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- C KLP re issues on appeal/arguments for same.
  01/14/2015 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- PC with Carly Gamel re status of Linchpins.
  01/14/2015 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- RS status of Z Street litigation.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 123 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                          1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
  01/14/2015 Noel Johnson        0:54       0.90        0.90 $     403.00   $        362.70   $         362.70 NHJ- LR re recent "voluntary cessation" doctrine cases.
  01/15/2015 Kaylan Phillips     0:24       0.40        0.40 $     403.00   $        161.20   $         161.20 KLP- C NHJ re issues on appeal and justiciability.
                                                                                                               KLP- Email with ACLJ re appeal. Check docket and
  01/15/2015 Kaylan Phillips     0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 review notice of appeal.
  01/15/2015 Kaylan Phillips     0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 KLP- Emails re preliminary filings.

  01/15/2015 Kaylan Phillips     0:42       0.70        0.70 $     403.00   $        282.10   $         282.10 KLP- Begin reviewing dct opinion and NHJ's outline.
  01/15/2015 Kaylan Phillips     0:48       0.80        0.80 $     403.00   $        322.40   $         322.40 KLP- R rules and circuit practice guides.
  01/15/2015 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- R FRAP and CRs re timing of briefs.
  01/15/2015 Noel Johnson        0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 NHJ- Compile and email cases requested by WD.

  01/15/2015 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 NHJ- Email correspondence re statement of issues.
                                                                                                               NHJ- R JCE's suggestions for issues statement; email
  01/15/2015 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 to legal team re same.
  01/15/2015 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 NHJ- C KLP re arguments for appeal.
                                                                                                               NHJ- RV statement of issues and certificate per
  01/15/2015 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 instructions from team.
                                                                                                               NHJ- LR re collateral order doctrine/final judgment rule
  01/15/2015 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 re appeal of expedited discovery motion.
                                                                                                               NHJ- LR re APA claims and proper defendants; email to
  01/15/2015 Noel Johnson        0:48       0.80        0.00   $   403.00   $        322.40   $            -   legal team re preliminary filings.
                                                                                                               NHJ- R outline of appeal; r IRS scandal timeline; email
  01/15/2015 Noel Johnson        0:54       0.90        0.90 $     403.00   $        362.70   $         362.70 same to KLP.
  01/16/2015 Kaylan Phillips     0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 KLP- R NHJ's outline of appeal.
  01/16/2015 Kaylan Phillips     0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 KLP- R NHJ's outline of key events.
  01/16/2015 Kaylan Phillips     1:06       1.10        1.10 $     403.00   $        443.30   $         443.30 KLP- Continue reviewing d.ct. opinion, take notes.
  01/19/2015 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- R NHJ's noties on mootness cases.
                                                                                                               KLP- Continue C with NHJ re appellate outline and
  01/19/2015 Kaylan Phillips     0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 strategy.
  01/19/2015 Kaylan Phillips     0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 KLP- R circuit court rules.
  01/19/2015 Kaylan Phillips     1:00       1.00        1.00 $     403.00   $        403.00   $         403.00 KLP- C NHJ re appellate outline and strategy.
  01/19/2015 Noel Johnson        0:24       0.40        0.40 $     403.00   $        161.20   $         161.20 NHJ- Rereview judicial notice rs and memos.
                                                                                                               NHJ- C KLP to continue discussing outline/rs for
  01/19/2015 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 appellate brief.

  01/19/2015 Noel Johnson        0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 NHJ- P remaining portions of DC Circuit application.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 124 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                         1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                          Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               NHJ- Begin reviewing latest Oversight Committee report
  01/19/2015 Noel Johnson        1:00       1.00        1.00 $     403.00   $        403.00   $         403.00 on targeting; review case file on similar is
  01/19/2015 Noel Johnson        1:00       1.00        1.00 $     403.00   $        403.00   $         403.00 NHJ- C KLP re outline for appellate brief.
  01/20/2015 Kaylan Phillips     0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 KLP- Email to ML re certification of service.
  01/20/2015 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- C NHJ re forms to be filed today. R forms.
                                                                                                               KLP- D statement re underlying decision. Create PDF
  01/20/2015 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 with attachments. Email to JCE for filing.
  01/20/2015 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Emails re Issa report.
  01/20/2015 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Verify filings and check docket.
  01/20/2015 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Work on mootness outline.
                                                                                                               KLP- Adjust captions on filings pursuant to JCE's
  01/20/2015 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 requests.
                                                                                                               KLP- Adjust certificate of service of filings pursuant to
  01/20/2015 Kaylan Phillips     0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 JCE's requests.
  01/20/2015 Kaylan Phillips     0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 KLP- Check ACLJ docket for appellate number.
                                                                                                               KLP- Email with JCE and NHJ re deferred appendix.
  01/20/2015 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 Check rules.

                                                                                                               KLP- Check docket. Verify certificate of service. Adjust
  01/20/2015 Kaylan Phillips     1:06       1.10        1.10 $     403.00   $        443.30   $         443.30 documents as needed and email with JCE re:
  01/20/2015 Noel Johnson        0:12       0.20        0.00 $     403.00   $         80.60   $            -    NHJ- R latest filings in recent Bivens case.
  01/20/2015 Noel Johnson        0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 NHJ- Email to legal team re judicial notice.
  01/20/2015 Noel Johnson        0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 NHJ- RV preliminary filings; email to JCE re same.
                                                                                                               NHJ- P notices of appearances for all admitted counsel;
  01/20/2015 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 circulate same.
                                                                                                               NHJ- R and rv statement of issues; search for related
  01/20/2015 Noel Johnson        0:36       0.60        0.60 $     403.00   $        241.80   $         241.80 case information; email to team re same.
  01/21/2015 Kaylan Phillips     0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 KLP- Save filings from last night.
  01/21/2015 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Email with NorCal counsel re update.
                                                                                                               KLP- Check dockets for updates (ours and ACLJ's dct
  01/21/2015 Kaylan Phillips     0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 and COA).
  01/21/2015 Kaylan Phillips     0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 KLP- Work on mootness outline.
                                                                                                               NHJ- Continue reviewing latest fiilngs in recent Bivens
  01/21/2015 Noel Johnson        0:24       0.40        0.00   $   403.00   $        161.20   $            -   case.
                                                                                                               NHJ- Continue reviewing Oversight Committee
  01/21/2015 Noel Johnson        2:00       2.00        2.00   $   403.00   $        806.00   $         806.00 comprehensive report on IRS targeting.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 125 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               KLP- D email to team summarizing status in other
  01/22/2015 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 cases.
  01/22/2015 Kaylan Phillips     0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 KLP- Call from Eddie Greim.
  01/22/2015 Kaylan Phillips     0:30       0.50        0.00 $     403.00   $        201.50   $            -    KLP- Check dockets for updates. (n/c)
  01/22/2015 Kaylan Phillips     0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 KLP- Continue working on mootness outline.
  01/22/2015 Kaylan Phillips     0:54       0.90        0.90 $     403.00   $        362.70   $         362.70 KLP- Continue working on mootness outline.
  01/22/2015 Kaylan Phillips     1:30       1.50        1.50 $     403.00   $        604.50   $         604.50 KLP- Work on mootness outline.
                                                                                                               KLP- Email with WD and MG re conference call
  01/23/2015 Kaylan Phillips     0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 Monday.

  01/23/2015 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 KLP- C NHJ re call with NorCal and briefing needs.
                                                                                                               KLP- Check rules re opposition to appendix
  01/23/2015 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 designations. Email to NHJ re same.
  01/23/2015 Kaylan Phillips     0:30       0.50        0.00 $     403.00   $        201.50   $            -    KLP- Check dockets for updates. (n/c)
  01/23/2015 Kaylan Phillips     0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 KLP- Continue working on outline.
  01/23/2015 Kaylan Phillips     0:48       0.80        0.80 $     403.00   $        322.40   $         322.40 KLP- R Linchpins of Liberty case.

                                                                                                               KLP- Create shell for opening briefing. R rules and
  01/23/2015 Kaylan Phillips     2:06       2.10        2.10   $   403.00   $        846.30   $         846.30 handbook for compliance and sections needed.
                                                                                                               NHJ- Email correspondence re PC to discuss brief
  01/23/2015 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 outline.

  01/23/2015 Noel Johnson        0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 NHJ- C KLP update on NorCal and Oversight Report.
                                                                                                               NHJ- Finishing preparing DC Cir. admission form; P
  01/23/2015 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 mailing; drive to mail same.
                                                                                                               NHJ- Continue reviewing Oversight Committee
  01/23/2015 Noel Johnson        0:42       0.70        0.70   $   403.00   $        282.10   $         282.10 comprehensive report on IRS targeting.
                                                                                                               NHJ- Continue reviewing Oversight Committee
  01/23/2015 Noel Johnson        0:54       0.90        0.90   $   403.00   $        362.70   $         362.70 comprehensive report on IRS targeting.
                                                                                                               NHJ- Continue reviewing Oversight Committee
  01/23/2015 Noel Johnson        2:18       2.30        2.30 $     403.00   $        926.90   $         926.90 comprehensive report on IRS targeting.
  01/26/2015 Kaylan Phillips     0:06       0.10        0.00 $     403.00   $         40.30   $            -    KLP- Email from MG re APA claim.
  01/26/2015 Kaylan Phillips     0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 KLP- Email re meeting today. Calendar.
  01/26/2015 Kaylan Phillips     0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 KLP- NorCal docket update.
                                                                                                               KLP- R case on mootness: City of Mesquite v. Aladdin's
  01/26/2015 Kaylan Phillips     0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 Castle.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 126 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               KLP- R case on mootness: Del Monte Fresh Produce v.
  01/26/2015 Kaylan Phillips     0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 U.S.
  01/26/2015 Kaylan Phillips     0:36       0.60        0.00 $     403.00   $        241.80   $            -    KLP- Check docket for update. (n/c)
                                                                                                               KLP- Download and organize needed cases on
                                                                                                               mootness. R briefing and note which cases we relied
  01/26/2015 Kaylan Phillips     1:00       1.00        1.00   $   403.00   $        403.00   $         403.00 upon
                                                                                                               KLP- C NHJ and conference call with WD and MG re
  01/26/2015 Kaylan Phillips     1:12       1.20        1.20 $     403.00   $        483.60   $         483.60 arguments on appeal.
  01/26/2015 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- C KLP re PC topics.
  01/26/2015 Noel Johnson        0:24       0.40        0.00 $     403.00   $        161.20   $            -    NHJ- Begin reviewing briefing on Bivens claim.
  01/26/2015 Noel Johnson        0:36       0.60        0.60 $     403.00   $        241.80   $         241.80 NHJ- Defining scope of harm/voluntary cessation.
                                                                                                               NHJ- PC KLP, WD, and MG re TTV appellate brief
  01/26/2015 Noel Johnson        1:00       1.00        1.00   $   403.00   $        403.00   $         403.00 outline/arguments.
                                                                                                               NHJ- Finish reviewing Oversight Committee
  01/26/2015 Noel Johnson        2:12       2.20        2.20 $     403.00   $        886.60   $         886.60 comprehensive report on IRS targeting.
  01/27/2015 Kaylan Phillips     0:24       0.40        0.00 $     403.00   $        161.20   $            -    KLP- Check docket for update. (n/c)
  01/27/2015 Kaylan Phillips     0:24       0.40        0.40 $     403.00   $        161.20   $         161.20 KLP- Continue reviewing mootness cases.
                                                                                                               KLP- Continue reviewing mootness cases: Munsell v.
  01/27/2015 Kaylan Phillips     0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 Dept of Ag.

  01/27/2015 Kaylan Phillips     0:36       0.60        0.00   $   403.00   $        241.80   $            -    KLP- Organize list serve emails re IRS scandal. (n/c)
                                                                                                               NHJ- Continue shepardizing cited cases for new
  01/27/2015 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 precedent.

                                                                                                                NHJ- Continue reviewing Bivens briefing; search and
  01/27/2015 Noel Johnson        2:18       2.30        0.00 $     403.00   $        926.90   $            -    review new Bivens precedent; search and review
  01/28/2015 Kaylan Phillips     0:06       0.10        0.00 $     403.00   $         40.30   $            -    KLP- C NHJ re Bivens arguments.
  01/28/2015 Kaylan Phillips     0:30       0.50        0.00 $     403.00   $        201.50   $            -    KLP- Check docket for updates (n/c)
  01/28/2015 Noel Johnson        0:06       0.10        0.00 $     403.00   $         40.30   $            -    NHJ- C KLP re Bivens outline.
                                                                                                                NHJ- Continue working on Bivens outline/section of
  01/28/2015 Noel Johnson        0:12       0.20        0.00   $   403.00   $         80.60   $            -    appellate brief.

  01/28/2015 Noel Johnson        0:18       0.30        0.00 $     403.00   $        120.90   $            -    NHJ- R Bivens holding; review Church by Mail case.
  01/28/2015 Noel Johnson        0:54       0.90        0.90 $     403.00   $        362.70   $         362.70 NHJ- LR re standard of review.
                                                                                                               NHJ- Continue working on Bivens outline/section of
  01/28/2015 Noel Johnson        1:06       1.10        0.00   $   403.00   $        443.30   $            -   appellate brief.
                                                                                                               NHJ- R Kim v. US decisions; r briefing in same; take
  01/28/2015 Noel Johnson        1:30       1.50        1.50   $   403.00   $        604.50   $         604.50 notes for appellate brief.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 127 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
  01/29/2015 Kaylan Phillips     0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 KLP- C NHJ re argument.
  01/29/2015 Kaylan Phillips     0:30       0.50        0.00 $     403.00   $        201.50   $            -    KLP- Check docket for updates (n/c)
                                                                                                                NHJ- Continue working on Bivens outline/section of
  01/29/2015 Noel Johnson        1:00       1.00        0.00   $   403.00   $        403.00   $            -    appellate brief.
                                                                                                                NHJ- Continue working on Bivens outline/section of
  01/29/2015 Noel Johnson        1:12       1.20        0.00   $   403.00   $        483.60   $            -    appellate brief.
                                                                                                                NHJ- Continue working on Bivens outline/section of
  01/29/2015 Noel Johnson        1:18       1.30        0.00 $     403.00   $        523.90   $            -    appellate brief.
  01/30/2015 Kaylan Phillips     0:06       0.10        0.00 $     403.00   $         40.30   $            -    KLP- Email from printer with quote. (n/c)
  01/30/2015 Kaylan Phillips     0:30       0.50        0.00 $     403.00   $        201.50   $            -    KLP- Check docket for updates (n/c)
  01/30/2015 Noel Johnson        0:18       0.30        0.00 $     403.00   $        120.90   $            -    NHJ- R qualified immunity briefing.
                                                                                                                NHJ- Continue working on Bivens outline/section of
  01/30/2015 Noel Johnson        1:12       1.20        0.00   $   403.00   $        483.60   $            -    appellate brief.
                                                                                                                NHJ- Continue working on Bivens outline/section of
  01/30/2015 Noel Johnson        2:00       2.00        0.00   $   403.00   $        806.00   $            -    appellate brief.
                                                                                                                KLP- Call from printer re expected briefing schedule. C
  02/02/2015 Kaylan Phillips     0:12       0.20        0.00 $     403.00   $         80.60   $            -    NHJ re same. (n/c)
  02/02/2015 Kaylan Phillips     0:18       0.30        0.00 $     403.00   $        120.90   $            -    KLP- Check docket for updates (n/c)
  02/02/2015 Kaylan Phillips     0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 KLP- C NHJ re mootness argument.
                                                                                                               NHJ- Redo DC Circuit application with originals; P
  02/02/2015 Noel Johnson        0:24       0.40        0.40 $     403.00   $        161.20   $         161.20 mailing for same.
  02/02/2015 Noel Johnson        0:30       0.50        0.50 $     403.00   $        201.50   $         201.50 NHJ- C KLP re mootness arguments.
                                                                                                               NHJ- Continue LR re government retention of records
  02/02/2015 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 and first amendment/mootness.
                                                                                                                NHJ- Continue working on Bivens section of appellate
  02/02/2015 Noel Johnson        1:00       1.00        0.00   $   403.00   $        403.00   $            -    opening brief. (n/c)
                                                                                                               NHJ- LR re government retention of records and first
  02/02/2015 Noel Johnson        1:06       1.10        1.10 $     403.00   $        443.30   $         443.30 amendment/mootness.
  02/03/2015 Kaylan Phillips     0:18       0.30        0.00 $     403.00   $        120.90   $            -    KLP- Check docket for updates. (n/c)
                                                                                                               KLP- Call from Carly Gammil re procedure. R dockets
  02/03/2015 Kaylan Phillips     0:36       0.60        0.60 $     403.00   $        241.80   $         241.80 and check rules.
  02/04/2015 Kaylan Phillips     0:12       0.20        0.00 $     403.00   $         80.60   $            -    KLP- Check docket for updates (n/c)
  02/05/2015 Kaylan Phillips     0:12       0.20        0.00 $     403.00   $         80.60   $            -    KLP- Check docket for updates (n/c)
                                                                                                               KLP- Email with Carly Gammil re certificate of parties.
  02/05/2015 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 Email with NHJ re same.
                                                                                                               NHJ- Continue drafting Bivens section of appellate
  02/05/2015 Noel Johnson        0:42       0.70        0.00   $   403.00   $        282.10   $            -   opening brief.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 128 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                         1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
  02/06/2015 Kaylan Phillips     0:12       0.20        0.00   $   403.00   $         80.60    $            -    KLP- Check docket for updates (n/c)
                                                                                                                 NHJ- Continue LR and work on outline/draft re 7431
  02/06/2015 Noel Johnson        0:12       0.20        0.00 $     403.00   $         80.60    $            -    claim.
  02/06/2015 Noel Johnson        0:30       0.50        0.00 $     403.00   $        201.50    $            -    NHJ- LR and work on outline/draft re 7431 claim.
  02/09/2015 Kaylan Phillips     0:12       0.20        0.00 $     403.00   $         80.60    $            -    KLP- Check docket for updates. (n/c)
  02/09/2015 Kaylan Phillips     0:24       0.40        0.00 $     403.00   $        161.20    $            -    KLP- C NHJ re 7431 inspection claims.
  02/09/2015 Noel Johnson        0:24       0.40        0.00 $     403.00   $        161.20    $            -    NHJ- C KLP re 7431 claim.

  02/09/2015 Noel Johnson        0:30       0.50        0.00   $   403.00   $        201.50    $            -    NHJ- R case law cited in MDT opinion re 7431 claim.
                                                                                                                 NHJ- Continue reviewing case law cited in MDT opinion
  02/09/2015 Noel Johnson        1:00       1.00        0.00 $     403.00   $        403.00    $            -    re 7431 claim.
  02/10/2015 Kaylan Phillips     0:06       0.10        0.00 $     403.00   $         40.30    $            -    KLP- C NHJ re qualified immunity argument.
  02/10/2015 Kaylan Phillips     0:12       0.20        0.00 $     403.00   $         80.60    $            -    KLP- Check docket for updates. (n/c)
  02/10/2015 Kaylan Phillips     0:24       0.40        0.40 $     403.00   $        161.20    $         161.20 KLP- C NHJ re inspection claim.
                                                                                                                NHJ- Continue reviewing 6103 caselaw cited in MTD
  02/10/2015 Noel Johnson        0:18       0.30        0.00 $     403.00   $        120.90    $            -   opinion.
  02/10/2015 Noel Johnson        0:24       0.40        0.00 $     403.00   $        161.20    $            -    NHJ- C KLP re 7431 inspection claim arguments.

                                                                                                                 NHJ- R briefing on personal jurisdiction and qualified
  02/10/2015 Noel Johnson        0:42       0.70        0.00   $   403.00   $        282.10    $            -    immunity; D footnotes re same. C with KLP re
                                                                                                                 NHJ- Continue LR and draft 7431 section appellate
  02/10/2015 Noel Johnson        1:12       1.20        0.00   $   403.00   $        483.60    $            -    opening brief.
                                                                                                                 NHJ- Continue LR and D 7431 section of appellate
  02/10/2015 Noel Johnson        1:36       1.60        0.00 $     403.00   $        644.80    $            -    opening brief.
  02/11/2015 Kaylan Phillips     0:12       0.20        0.00 $     403.00   $         80.60    $            -    KLP- Check docket for updates. (n/c)

                                                                                                                NHJ- R letter of Sen. Johnson to IRS re Lerner email
  02/11/2015 Noel Johnson        0:12       0.20        0.20   $   403.00   $         80.60    $          80.60 recovery; r coverage re FOIA request by The Hi
                                                                                                                NHJ- Continue working on Section 7431 section of
  02/11/2015 Noel Johnson        1:00       1.00        0.00   $   403.00   $        403.00    $            -   appellate opening brief.
                                                                                                                NHJ- Continue working on Section 7431 section of
  02/11/2015 Noel Johnson        1:36       1.60        0.00 $     403.00   $        644.80    $            -   appellate opening brief.
  02/12/2015 Kaylan Phillips     0:06       0.10        0.00 $     403.00   $         40.30    $            -    KLP- Check docket for updates. (n/c)
                                                                                                                 NHJ- Continue drafting 7431 claim section of appellate
  02/12/2015 Noel Johnson        0:54       0.90        0.00   $   403.00   $        362.70    $            -    opening brief.
                                                                                                                 NHJ- Continue drafting 7431 claim section of appellate
  02/12/2015 Noel Johnson        3:06       3.10        0.00   $   403.00   $       1,249.30   $            -    opening brief.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 129 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                                NHJ- Continue drafting 7431 claim section of appellate
  02/13/2015 Noel Johnson        0:30       0.50        0.00   $   403.00   $        201.50   $            -    opening brief.
                                                                                                                NHJ- Continue drafting 7431 claim section of appellate
  02/13/2015 Noel Johnson        1:54       1.90        0.00 $     403.00   $        765.70   $            -    opening brief.
  02/16/2015 Kaylan Phillips     0:06       0.10        0.00 $     403.00   $         40.30   $            -    KLP- Check docket for updates (n/c)
  02/16/2015 Noel Johnson        0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 NHJ- Proof and format opening appellate brief.
                                                                                                               NHJ- Continue working 7431 Section of opening
  02/16/2015 Noel Johnson        0:48       0.80        0.00   $   403.00   $        322.40   $            -   appellate brief.
                                                                                                               NHJ- Continue working on Bivens section of opening
  02/16/2015 Noel Johnson        0:54       0.90        0.00   $   403.00   $        362.70   $            -   appellate brief.
                                                                                                               NHJ- Continue LR re judicial notice/draft section of
  02/16/2015 Noel Johnson        1:18       1.30        1.30   $   403.00   $        523.90   $         523.90 opening appellate brief re same.
                                                                                                               NHJ- LR re judicial notice/draft section of opening
  02/16/2015 Noel Johnson        1:24       1.40        1.40   $   403.00   $        564.20   $         564.20 appellate brief re same.
                                                                                                               NHJ- Continue RS re "factual attack" and judicial notice;
  02/17/2015 Noel Johnson        0:42       0.70        0.70   $   403.00   $        282.10   $         282.10 rv section on judicial notice.
                                                                                                               KLP- Check docket for updates. Call court re
  02/18/2015 Kaylan Phillips     0:12       0.20        0.00 $     403.00   $         80.60   $            -   application. (n/c)
  02/19/2015 Kaylan Phillips     0:06       0.10        0.00 $     403.00   $         40.30   $            -    KLP- Check dockets. (n/c)
  02/20/2015 Kaylan Phillips     0:06       0.10        0.00 $     403.00   $         40.30   $            -    KLP- Check dockets (n/c)
                                                                                                               NHJ- Work on introductory sections of opening
  02/20/2015 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 appellate brief.
                                                                                                               KLP- Check docket and review filings. C NHJ re briefing
  02/23/2015 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 schedule.
                                                                                                               NHJ- Check docket; r briefing schedule material from
  02/23/2015 Noel Johnson        0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 Circuit Handbook.
                                                                                                               NHJ- R preliminary filings in related case- Linchpins for
  02/23/2015 Noel Johnson        0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 Liberty v. US.
                                                                                                               NHJ- Continue working on introductory sections of
  02/23/2015 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 opening appellate brief.
                                                                                                               NHJ- Continue working on introductory sections of
  02/23/2015 Noel Johnson        0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 opening appellate brief.
  02/26/2015 Kaylan Phillips     0:18       0.30        0.00   $   403.00   $        120.90   $            -    KLP- Check dockets (ours and ACLJ) (n/c)
                                                                                                               KLP- Email with team and client re brief. Email to printer
  03/04/2015 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 re schedule.
                                                                                                               NHJ- Email correspondence with client re status of
  03/04/2015 Noel Johnson        0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 case.
  03/05/2015 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Emails re next steps.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 130 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
  03/06/2015 Kaylan Phillips     0:06       0.10        0.00 $     403.00   $         40.30   $            -    KLP- Call clerk re admission, leave message. (n/c)
  03/06/2015 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- R Norcal docket updates.
  03/06/2015 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- Work on mootness outline.

  03/06/2015 Kaylan Phillips     0:42       0.70        0.70   $   403.00   $        282.10   $         282.10 KLP- C NHJ re mootness argument & division of labor
                                                                                                               KLP- Receive certificate of admission and fill out notice
  03/06/2015 Kaylan Phillips     0:48       0.80        0.80   $   403.00   $        322.40   $         322.40 of appearance. Register for filing access

                                                                                                               KLP- Check docket. Review information for docketing
  03/06/2015 Kaylan Phillips     1:00       1.00        1.00   $   403.00   $        403.00   $         403.00 clerk. Review procedure guides and local rules
                                                                                                               NHJ- R draft letter to Congressional committees re
  03/06/2015 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 personal email use by IRS.
                                                                                                               NHJ- Continue working on introductory sections of
  03/06/2015 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 appellate opening brief.
                                                                                                               NHJ- R Government's opening appellate brief in Z
  03/06/2015 Noel Johnson        0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 Street.
  03/06/2015 Noel Johnson        0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 NHJ- R latest filings in NorCal action.
                                                                                                               NHJ- Continue LR re subject-matter jurisdiction under
  03/06/2015 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 12(b)(1).
                                                                                                               NHJ- C KLP re strategy and division of labor for
  03/06/2015 Noel Johnson        0:42       0.70        0.70   $   403.00   $        282.10   $         282.10 appellate opening brief.
                                                                                                               KLP- Call to clerk re briefing schedule. Email team re
  03/09/2015 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 same.

                                                                                                               KLP- R local rules on notice of appearance. Call clerk re
  03/09/2015 Kaylan Phillips     0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 same. Finalize notice of appearance and f
                                                                                                               NHJ- Continue working on opening sections of apellate
  03/09/2015 Noel Johnson        0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 brief.
                                                                                                               NHJ- Continue working on opening sections of appellate
  03/09/2015 Noel Johnson        1:48       1.80        1.80 $     403.00   $        725.40   $         725.40 brief.
  03/10/2015 Noel Johnson        0:24       0.40        0.00 $     403.00   $        161.20   $            -    NHJ- LR re APA notice and comment requirement.
                                                                                                               NHJ- Continue working on introductory sections of
  03/10/2015 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 appellate opening brief.
                                                                                                               NHJ- Continue working on introductory sections of
  03/10/2015 Noel Johnson        0:54       0.90        0.90 $     403.00   $        362.70   $         362.70 appellate opening brief.
  03/11/2015 Kaylan Phillips     0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 KLP- ECF notice re appearance.
  03/11/2015 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- R current version of brief. Add outline.
  03/11/2015 Noel Johnson        0:18       0.30        0.00 $     403.00   $        120.90   $            -    NHJ- LR re recent Bivens decisions.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 131 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
  03/11/2015 Noel Johnson        0:36       0.60        0.60 $     403.00   $        241.80   $         241.80 NHJ- R related case decision- Freedom Path v. Lerner.
  03/12/2015 Kaylan Phillips     0:42       0.70        0.70 $     403.00   $        282.10   $         282.10 KLP- C NHJ re statement of facts and outline.
                                                                                                               NHJ- C KLP re facts, mootness, and briefing schedule
  03/12/2015 Noel Johnson        0:42       0.70        0.70   $   403.00   $        282.10   $         282.10 for appellate brief.

  03/12/2015 Noel Johnson        0:54       0.90        0.90   $   403.00   $        362.70   $         362.70 NHJ- Continue working on appellate opening brief.

  03/12/2015 Noel Johnson        1:00       1.00        1.00   $   403.00   $        403.00   $         403.00 NHJ- Continue working on appellate opening brief.
                                                                                                               NHJ- Continue working on opening sections of appellate
  03/13/2015 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 opening brief.
                                                                                                               NHJ- Continue working on opening sections of appellate
  03/13/2015 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 opening brief.
                                                                                                               NHJ- Continue working on opening sections of appellate
  03/13/2015 Noel Johnson        0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 opening brief.
                                                                                                               NHJ- Continue working on opening sections of appellate
  03/13/2015 Noel Johnson        0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 opening brief.

  03/20/2015 Kaylan Phillips     0:48       0.80        0.80 $     403.00   $        322.40   $         322.40 KLP- R current draft of opening brief. Adjust formatting.
  03/23/2015 Kaylan Phillips     0:06       0.10        0.00 $     403.00   $         40.30   $            -    KLP- Email with JCE re update. (n/c)
                                                                                                               KLP- Check ACLJ docket. Email to Carly Gammil re
  03/23/2015 Kaylan Phillips     0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 order. Call re same.
                                                                                                               KLP- Work on opening brief. R recent bills introduced in
  03/25/2015 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 House.
                                                                                                               NHJ- Continue drafting into sections of opening
  03/25/2015 Noel Johnson        1:36       1.60        1.60 $     403.00   $        644.80   $         644.80 appellate brief.
  03/26/2015 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- R recent legislation for mootness argument.

                                                                                                               KLP- D letter to opposing counsel re deferred appendix.
  03/26/2015 Kaylan Phillips     0:36       0.60        0.60 $     403.00   $        241.80   $         241.80 Verify counsel list. Incorporate NHJ's edit
  03/26/2015 Kaylan Phillips     0:36       0.60        0.60 $     403.00   $        241.80   $         241.80 KLP- Emails re deferred appendix. R rules.
  03/26/2015 Noel Johnson        0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 NHJ- D and file entry of appearance.
                                                                                                               NHJ- Email correspondence re deferred appendix
  03/26/2015 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 statement; calls to clerk re same.
                                                                                                               NHJ- Continue drafting introductory sections of opening
  03/26/2015 Noel Johnson        1:36       1.60        1.60   $   403.00   $        644.80   $         644.80 appellate brief.
                                                                                                               KLP- ECF notice re clerk seeking proposed briefing
  03/27/2015 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 format. C with NHJ re same.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 132 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               NHJ- Continue drafting and revising introductory
  03/27/2015 Noel Johnson        0:54       0.90        0.90   $   403.00   $        362.70   $         362.70 sections of appellate brief.
                                                                                                               KLP- Emails re proposed briefing format order. Call with
  03/30/2015 Kaylan Phillips     0:48       0.80        0.80   $   403.00   $        322.40   $         322.40 Carly Gammil re same.
                                                                                                               KLP- Emails re updating firm name. Call to clerk re
  04/07/2015 Kaylan Phillips     0:30       0.50        0.00   $   403.00   $        201.50   $            -   same. Submit name change form. (n/c)

                                                                                                               KLP- Email/call with ACLJ re: briefing format.
  04/07/2015 Kaylan Phillips     0:48       0.80        0.80 $     403.00   $        322.40   $         322.40 Summarize into email to colleagues. Draft email to o
  04/10/2015 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 NHJ- R latest Lerner emails from Judicial Watch.
  04/16/2015 Kaylan Phillips     0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 KLP- Email with team re briefing format proposal.

                                                                                                               KLP- Email with CM re email to opposing counsel.
  04/17/2015 Kaylan Phillips     0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 Check docket for most up-to-date contact informati
                                                                                                               NHJ- Continue drafting introductory sections of opening
  04/17/2015 Noel Johnson        0:54       0.90        0.90   $   403.00   $        362.70   $         362.70 appellate brief.
                                                                                                               NHJ- Continue drafting introductory sections of opening
  04/17/2015 Noel Johnson        0:54       0.90        0.90   $   403.00   $        362.70   $         362.70 appellate brief.
                                                                                                               KLP- Conference call with opposing counsel re
  04/21/2015 Kaylan Phillips     0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 proposed briefing format. Call with team re same.

                                                                                                               KLP- Emails re proposed briefing format and
  04/21/2015 Kaylan Phillips     1:00       1.00        1.00   $   403.00   $        403.00   $         403.00 conference call today. R rules. R ACLJ's proposal.

  04/21/2015 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 NHJ- PC with CM and WD re briefing format proposal.
                                                                                                               NHJ- RV introductory sections of opening appellate
  04/21/2015 Noel Johnson        0:06       0.10        0.10   $   403.00   $         40.30   $          40.30 brief.
                                                                                                               NHJ- PC with opposing counsel re briefing format
  04/21/2015 Noel Johnson        0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 proposal.
                                                                                                               NHJ- R rules; draft joint submission on briefing format
  04/22/2015 Noel Johnson        1:00       1.00        1.00   $   403.00   $        403.00   $         403.00 and circulate for review.

                                                                                                               KLP- Emails with team re proposed briefing format. R.
  04/23/2015 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 R CM's email to opposing counsel re same.
                                                                                                               KLP- Emails re proposed briefing format. R and finalize.
  04/24/2015 Kaylan Phillips     0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 Email with team re question.
                                                                                                               NHJ- R and rv joint submission on briefing; email re
  04/24/2015 Noel Johnson        0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 same.
                                                                                                               KLP- Finalize and file the joint submission. Email with
  04/27/2015 Kaylan Phillips     0:24       0.40        0.40   $   403.00   $        161.20   $         161.20 CM re email service.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 133 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               KLP- Emails with team re proposed briefing format. R
  04/27/2015 Kaylan Phillips     0:36       0.60        0.60   $   403.00   $        241.80   $         241.80 draft. D and send email to opposing counsel re
                                                                                                               NHJ- Work on mootness section of opening appellate
  04/28/2015 Noel Johnson        0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 brief.
                                                                                                               NHJ- Continue working on mootness section of opening
  04/28/2015 Noel Johnson        1:12       1.20        1.20   $   403.00   $        483.60   $         483.60 appellate brief.

  04/29/2015 Kaylan Phillips     0:30       0.50        0.50   $   403.00   $        201.50   $         201.50 KLP- Emails re mailing filing. C NHJ re same. R rules.
                                                                                                               NHJ- P paper filing for joint briefing submission; drop at
  04/29/2015 Noel Johnson        0:18       0.30        0.30 $     403.00   $        120.90   $         120.90 Fedex box.
  05/01/2015 Noel Johnson        0:24       0.40        0.40 $     403.00   $        161.20   $         161.20 NHJ- TIGTA Report.
                                                                                                               KLP- R ACLJ press release re TIGTA report. Check
  05/05/2015 Kaylan Phillips     0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 ACLJ docket. C NHJ re same.

  05/06/2015 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- R NHJ's notes re abeyance order. C re same.
  05/06/2015 Noel Johnson        0:12       0.20        0.00 $     403.00   $         80.60   $            -    NHJ- LR re recent Bivens decisions.
  05/07/2015 Noel Johnson        1:00       1.00        1.00 $     403.00   $        403.00   $         403.00 NHJ- Listen to oral argument audio of Z Street.
                                                                                                               KLP- ECF notice re case held in abeyance. Email with
  05/08/2015 Kaylan Phillips     0:18       0.30        0.30   $   403.00   $        120.90   $         120.90 ACLJ re same.
                                                                                                               NHJ- Continue work on introductory sections of
  05/08/2015 Noel Johnson        0:42       0.70        0.70   $   403.00   $        282.10   $         282.10 appellate brief.

  05/11/2015 Noel Johnson        0:06       0.10        0.10 $     403.00   $         40.30   $          40.30 NHJ- RV introductory section of opening appellate brief.
  05/12/2015 Kaylan Phillips     0:12       0.20        0.20 $     403.00   $         80.60   $          80.60 KLP- R NHJ's talking points re abeyance order.
  05/12/2015 Noel Johnson        0:42       0.70        0.70 $     403.00   $        282.10   $         282.10 NHJ- P bullet points on abeyance order for client.
  05/18/2015 Noel Johnson        0:12       0.20        0.00 $     403.00   $         80.60   $            -    NHJ- LR re recent Bivens decision.
                                                                                                                NHJ- R recent DC Circuit decision re qualified
  05/18/2015 Noel Johnson        0:24       0.40        0.00   $   403.00   $        161.20   $            -    immunity/Bivens.
                                                                                                               NHJ- R news re Cause of Action memo re targeting
  05/20/2015 Noel Johnson        0:12       0.20        0.20   $   403.00   $         80.60   $          80.60 origins.
                                                                                                               KLP- Email re Z Streeet decision. R documents. C NHJ
  06/19/2015 Kaylan Phillips     0:54       0.90        0.90   $   406.00   $        365.40   $         365.40 re same. Emails re next steps.
                                                                                                               NHJ- Email correspondence re Z Street decision with
  06/19/2015 Noel Johnson        0:06       0.10        0.10 $     406.00   $         40.60   $          40.60 legal team.
  06/19/2015 Noel Johnson        0:24       0.40        0.40 $     406.00   $        162.40   $         162.40 NHJ- C KLP to discuss Z Street decision.
                                                                                                               NHJ- R DC Circuit decision in Z street; discuss same
  06/19/2015 Noel Johnson        0:36       0.60        0.60   $   406.00   $        243.60   $         243.60 with JAV.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 134 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               NHJ- PC and email correspondence with Carly Gammill
  06/23/2015 Noel Johnson        0:36       0.60        0.60   $   406.00   $        243.60   $         243.60 at ACLJ re motion.
                                                                                                               KLP- Emails re motion project and team conference
  06/24/2015 Kaylan Phillips     0:48       0.80        0.80 $     406.00   $        324.80   $         324.80 call.
  06/25/2015 Kaylan Phillips     0:30       0.50        0.50 $     406.00   $        203.00   $         203.00 KLP- Email group re conference call today.
  06/25/2015 Kaylan Phillips     0:36       0.60        0.60 $     406.00   $        243.60   $         243.60 KLP- C call with team re Z Street.
                                                                                                               KLP- Listen to Z Street oral argument and transcribe
  06/25/2015 Kaylan Phillips     0:36       0.60        0.60   $   406.00   $        243.60   $         243.60 sections.
                                                                                                               KLP- Read articles re IRS's destruction of documents
  06/25/2015 Kaylan Phillips     0:36       0.60        0.60   $   406.00   $        243.60   $         243.60 during targeting investigation.
                                                                                                               KLP- Continue listening to/transcribing Z Street oral
  06/26/2015 Kaylan Phillips     0:24       0.40        0.40   $   406.00   $        162.40   $         162.40 argument.
                                                                                                               KLP- Continue listening to Z Street argument and
  06/29/2015 Kaylan Phillips     1:30       1.50        1.50 $     406.00   $        609.00   $         609.00 extrapolate info for motion.
  06/30/2015 Kaylan Phillips     0:36       0.60        0.60 $     406.00   $        243.60   $         243.60 KLP- Continue reviewing Z Street documents.
  07/01/2015 Kaylan Phillips     0:30       0.50        0.50 $     406.00   $        203.00   $         203.00 KLP- RS motion practice in US COA for D.C.
                                                                                                               KLP- Continue listening to Z Street oral argument and
  07/01/2015 Kaylan Phillips     1:00       1.00        1.00 $     406.00   $        406.00   $         406.00 transcribe sections.
  07/02/2015 Kaylan Phillips     0:06       0.10        0.10 $     406.00   $         40.60   $          40.60 KLP- Email with CM re motion.
  07/02/2015 Kaylan Phillips     0:30       0.50        0.50 $     406.00   $        203.00   $         203.00 KLP- RS motion practice in US COA for D.C.
                                                                                                               KLP- Work on outline for motion. Send to NHJ with
  07/02/2015 Kaylan Phillips     1:12       1.20        1.20   $   406.00   $        487.20   $         487.20 comments.
                                                                                                               KLP- Call with Carly Gammil re case. C with NHJ re
  07/06/2015 Kaylan Phillips     0:30       0.50        0.20 $     406.00   $        203.00   $          81.20 same.
  07/06/2015 Kaylan Phillips     0:30       0.50        0.20 $     406.00   $        203.00   $          81.20 KLP- Work on motion.
  07/06/2015 Kaylan Phillips     0:30       0.50        0.50 $     406.00   $        203.00   $         203.00 KLP- C NHJ re motion.
                                                                                                               KLP- Continue working on motion. Circulate draft to
  07/06/2015 Kaylan Phillips     1:12       1.20        1.20 $     406.00   $        487.20   $         487.20 team.
  07/06/2015 Noel Johnson        0:12       0.20        0.20 $     406.00   $         81.20   $          81.20 NHJ- C KLP re remand motion.
  07/06/2015 Noel Johnson        0:18       0.30        0.30 $     406.00   $        121.80   $         121.80 NHJ- Continue LR re remand standard.
                                                                                                               NHJ- PC Carly Gammil re arguments for ACLJ remand
  07/06/2015 Noel Johnson        0:18       0.30        0.30 $     406.00   $        121.80   $         121.80 motion.
  07/06/2015 Noel Johnson        0:30       0.50        0.50 $     406.00   $        203.00   $         203.00 NHJ- C KLP re outline of remand motion.
  07/06/2015 Noel Johnson        0:30       0.50        0.50 $     406.00   $        203.00   $         203.00 NHJ- Work on draft motion for remand.
  07/06/2015 Noel Johnson        0:36       0.60        0.60 $     406.00   $        243.60   $         243.60 NHJ- LR re remand motion.
  07/06/2015 Noel Johnson        1:12       1.20        1.20 $     406.00   $        487.20   $         487.20 NHJ- Work on draft motion for remand.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 135 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
  07/06/2015 Noel Johnson        1:30       1.50        1.50 $     406.00   $        609.00   $         609.00 NHJ- Continue LR re remand motion.
  07/07/2015 Kaylan Phillips     1:24       1.40        1.40 $     406.00   $        568.40   $         568.40 KLP- Work on motion.
  07/07/2015 Noel Johnson        0:54       0.90        0.90 $     406.00   $        365.40   $         365.40 NHJ- Continue working on remand motion.
                                                                                                               KLP- Continue working on motion. Finalize thoughts
  07/08/2015 Kaylan Phillips     0:30       0.50        0.50 $     406.00   $        203.00   $         203.00 and c with NHJ re rs needed.
  07/08/2015 Kaylan Phillips     0:36       0.60        0.60 $     406.00   $        243.60   $         243.60 KLP- R changes to motion. C NHJ re same.

  07/08/2015 Noel Johnson        0:06       0.10        0.10 $     406.00   $         40.60   $          40.60 NHJ- Discuss changes to remand motion with KLP.
  07/08/2015 Noel Johnson        0:12       0.20        0.20 $     406.00   $         81.20   $          81.20 NHJ- Continue working on remand motion.
  07/08/2015 Noel Johnson        1:18       1.30        1.30 $     406.00   $        527.80   $         527.80 NHJ- Continue working on remand motion.
  07/09/2015 Noel Johnson        0:24       0.40        0.40 $     406.00   $        162.40   $         162.40 NHJ- Remand motion.
  07/10/2015 Kaylan Phillips     0:06       0.10        0.10 $     406.00   $         40.60   $          40.60 KLP- Email with latest draft. Briefly review.
  07/10/2015 Noel Johnson        1:42       1.70        1.70 $     406.00   $        690.20   $         690.20 NHJ- Finish second draft of remand motion.
  07/13/2015 Kaylan Phillips     0:12       0.20        0.20 $     406.00   $         81.20   $          81.20 KLP- Emails re motion.
                                                                                                               KLP- Emails re motion for remand and call with
  07/16/2015 Kaylan Phillips     0:48       0.80        0.80   $   406.00   $        324.80   $         324.80 opposing counsel. R circuit court rules.
                                                                                                               NHJ- Implement CM's edits to remand motion and
  07/16/2015 Noel Johnson        0:18       0.30        0.30 $     406.00   $        121.80   $         121.80 email draft to Carly at ACLF.
  07/17/2015 Kaylan Phillips     0:24       0.40        0.40 $     406.00   $        162.40   $         162.40 KLP- Emails re call today.
  07/17/2015 Kaylan Phillips     0:30       0.50        0.50 $     406.00   $        203.00   $         203.00 KLP- Call with ACLJ re motion. Emails re same.
                                                                                                               KLP- C with opposing counsel re briefing schedule.
  07/17/2015 Kaylan Phillips     0:36       0.60        0.60   $   406.00   $        243.60   $         243.60 Emails re same.
                                                                                                               KLP- Rec. and review ACLJ's draft motion. Emails re
  07/17/2015 Kaylan Phillips     1:00       1.00        1.00 $     406.00   $        406.00   $         406.00 same. C with NHJ re same.
  07/17/2015 Noel Johnson        0:06       0.10        0.10 $     406.00   $         40.60   $          40.60 NHJ- C KLP re D motion for remand.
                                                                                                               NHJ- PC with opposing counsel re briefing schedule; c
  07/17/2015 Noel Johnson        0:18       0.30        0.30   $   406.00   $        121.80   $         121.80 KLP re same.
                                                                                                               NHJ- R ACLJ draft of motion for remand; email to team
  07/17/2015 Noel Johnson        0:18       0.30        0.30   $   406.00   $        121.80   $         121.80 and Carly Gammill re same.
                                                                                                               NHJ- PC with Carly Gammill re motions for remand;
  07/17/2015 Noel Johnson        0:24       0.40        0.40 $     406.00   $        162.40   $         162.40 discuss same with KLP.
  07/20/2015 Kaylan Phillips     0:12       0.20        0.20 $     406.00   $         81.20   $          81.20 KLP- Emails re motion.
                                                                                                               KLP- C NHJ re motion. Proof and send changes as
  07/20/2015 Kaylan Phillips     0:30       0.50        0.50   $   406.00   $        203.00   $         203.00 needed.
                                                                                                               KLP- Emails re proposed language. Calls with opposing
  07/20/2015 Kaylan Phillips     0:42       0.70        0.70   $   406.00   $        284.20   $         284.20 counsel re same.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 136 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                          1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
                                                                                                               KLP- ECF notices re motion filed. Briefly review and
  07/20/2015 Kaylan Phillips     0:48       0.80        0.80 $     406.00   $        324.80   $         324.80 calendar responses. C NHJ re paper copies need
  07/20/2015 Noel Johnson        0:06       0.10        0.10 $     406.00   $         40.60   $          40.60 NHJ- R Government motion re Z Street.
                                                                                                               NHJ- P court copy mailing for remand motion; drive to
  07/20/2015 Noel Johnson        0:12       0.20        0.20 $     406.00   $         81.20   $          81.20 fedex drop box.
  07/20/2015 Noel Johnson        0:18       0.30        0.30 $     406.00   $        121.80   $         121.80 NHJ- File motion for remand.
                                                                                                               NHJ- Incorporate additional CM edits; proofread and
  07/20/2015 Noel Johnson        0:36       0.60        0.60 $     406.00   $        243.60   $         243.60 make final edits.
  07/23/2015 Kaylan Phillips     0:06       0.10        0.10 $     406.00   $         40.60   $          40.60 KLP- Send final motion to client.
  07/27/2015 Kaylan Phillips     0:18       0.30        0.00 $     406.00   $        121.80   $            -    KLP- Articles/video re case. (n/c)
                                                                                                               KLP- C NHJ re responses to opposing side's motion. R
  07/27/2015 Kaylan Phillips     0:18       0.30        0.30 $     406.00   $        121.80   $         121.80 local rules for timeline and page limits.
  07/27/2015 Noel Johnson        0:18       0.30        0.30 $     406.00   $        121.80   $         121.80 NHJ- R Ds motion re Z Street; C KLP re response.
  07/28/2015 Kaylan Phillips     0:18       0.30        0.30 $     406.00   $        121.80   $         121.80 KLP- Email with ACLJ re motions. C NHJ re same.

  07/28/2015 Noel Johnson        0:12       0.20        0.20   $   406.00   $         81.20   $          81.20 NHJ- Email to team re response to Z Street motions.

                                                                                                               KLP- C NHJ re response to motion. R D and add
  07/29/2015 Kaylan Phillips     0:30       0.50        0.50   $   406.00   $        203.00   $         203.00 sentence re government's motion. R emails re same.
                                                                                                               NHJ- Incorporate KLP's edits to response; rv response
  07/29/2015 Noel Johnson        0:18       0.30        0.30 $     406.00   $        121.80   $         121.80 to Gov. Motion re Z Street.
  07/29/2015 Noel Johnson        0:48       0.80        0.80 $     406.00   $        324.80   $         324.80 NHJ- D response to Gov. motion re Z Street.
                                                                                                               KLP- ECF notice re Government's response to out
  07/30/2015 Kaylan Phillips     0:12       0.20        0.20   $   406.00   $         81.20   $          81.20 motion. C with NHJ re same.
                                                                                                               KLP- R response to Government's motion. Email with
  07/30/2015 Kaylan Phillips     0:18       0.30        0.30 $     406.00   $        121.80   $         121.80 team re same.
  07/30/2015 Noel Johnson        0:12       0.20        0.20 $     406.00   $         81.20   $          81.20 NHJ- R Gov. response to remand motion.
                                                                                                               NHJ- File response to remand motion; P and mail
  07/30/2015 Noel Johnson        0:18       0.30        0.30   $   406.00   $        121.80   $         121.80 bench copies.
                                                                                                                KLP- R Individual Defendants' response. C NHJ re
  07/31/2015 Kaylan Phillips     0:18       0.30        0.00   $   406.00   $        121.80   $            -    same. Calendar reply.

                                                                                                                KLP- R draft reply briefs. C NHJ re same. Send
  08/03/2015 Kaylan Phillips     2:06       2.10        0.00 $     406.00   $        852.60   $            -    changes. R Government and Individuals' motions. R ca
  08/03/2015 Noel Johnson        0:12       0.20        0.20 $     406.00   $         81.20   $          81.20 NHJ- R GAO report on IRS selection criteria.
                                                                                                               NHJ- C KLP re reply briefs for motion for remand; d
  08/03/2015 Noel Johnson        0:42       0.70        0.00   $   406.00   $        284.20   $            -   reply to Individual Defendants.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 137 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                         1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross         LSI Laffey                          Description
                                        Hours       Hours*       Rate           Amount            Adjusted
                                                                                                   Amount
  08/03/2015 Noel Johnson        1:54       1.90        1.90   $   406.00   $        771.40   $         771.40 NHJ- D Reply to Gov. opposition to Motion for Remand.
                                                                                                               KLP- C NHJ re argument for reply. R authorities. Emails
  08/04/2015 Kaylan Phillips     0:24       0.40        0.40   $   406.00   $        162.40   $         162.40 re same.
                                                                                                               NHJ- Finish revisions to replies for motion for remand;
  08/04/2015 Noel Johnson        1:18       1.30        1.30   $   406.00   $        527.80   $         527.80 circualte for review.
                                                                                                               KLP- Finalize replies to motion. R. P to file and file.
  08/06/2015 Kaylan Phillips     1:06       1.10        1.10 $     406.00   $        446.60   $         446.60 Compile and mail service copies.
  08/13/2015 Kaylan Phillips     0:06       0.10        0.10 $     406.00   $         40.60   $          40.60 KLP- ECF notices re withdrawing attorney.
                                                                                                               KLP- ECF notice re briefing schedule. Email with
  09/23/2015 Kaylan Phillips     0:18       0.30        0.30 $     406.00   $        121.80   $         121.80 colleagues re same.
  09/24/2015 Kaylan Phillips     0:18       0.30        0.30 $     406.00   $        121.80   $         121.80 KLP- C NHJ re briefing schedule and next steps.
  09/24/2015 Noel Johnson        0:18       0.30        0.30 $     406.00   $        121.80   $         121.80 NHJ- C KLP re opening brief.
  09/28/2015 Kaylan Phillips     0:12       0.20        0.20 $     406.00   $         81.20   $          81.20 KLP- ECF notice re joint appendix. C NHJ re same.
  10/01/2015 Kaylan Phillips     0:12       0.20        0.20 $     406.00   $         81.20   $          81.20 KLP- Email with team re briefing needs.
  10/01/2015 Kaylan Phillips     0:12       0.20        0.20 $     406.00   $         81.20   $          81.20 KLP- R email re appendix. C NHJ re next steps.
  10/02/2015 Kaylan Phillips     0:06       0.10        0.10 $     406.00   $         40.60   $          40.60 KLP- Emails re call today.
  10/02/2015 Kaylan Phillips     0:24       0.40        0.40 $     406.00   $        162.40   $         162.40 KLP- C NHJ re arguments on appeal.
                                                                                                               KLP- PCs with legal team re TTV opening brief. C NHJ
  10/02/2015 Kaylan Phillips     0:48       0.80        0.80 $     406.00   $        324.80   $         324.80 re same.
  10/02/2015 Noel Johnson        0:12       0.20        0.20 $     406.00   $         81.20   $          81.20 NHJ- D email to team re TTV brief outline.

  10/02/2015 Noel Johnson        0:24       0.40        0.40   $   406.00   $        162.40   $         162.40 NHJ- C KLP re arguments on appeal/conference call.
                                                                                                               NHJ- R district court decision and appeal outline for
  10/02/2015 Noel Johnson        0:30       0.50        0.50   $   406.00   $        203.00   $         203.00 conference call.
                                                                                                               NHJ- PCs with legal team re TTV opening brief; C KLP
  10/02/2015 Noel Johnson        0:48       0.80        0.80   $   406.00   $        324.80   $         324.80 re same.
                                                                                                               KLP- Emails re mediation potential. Email with team re
  10/07/2015 Kaylan Phillips     0:18       0.30        0.30 $     406.00   $        121.80   $         121.80 same. Email with ACLJ re call next week.
  10/12/2015 Kaylan Phillips     0:06       0.10        0.10 $     406.00   $         40.60   $          40.60 KLP- Email with Carly Gammil re call tomorrow.
  10/13/2015 Kaylan Phillips     0:06       0.10        0.10 $     406.00   $         40.60   $          40.60 KLP- C NHJ re viewpoint discrimination claim.
  10/13/2015 Kaylan Phillips     0:24       0.40        0.40 $     406.00   $        162.40   $         162.40 KLP- C NHJ and Carly Gammil re appeal.
  10/13/2015 Kaylan Phillips     0:30       0.50        0.50 $     406.00   $        203.00   $         203.00 KLP- C NHJ re appeal and FOIA. R email re same.
  10/13/2015 Noel Johnson        0:06       0.10        0.10 $     406.00   $         40.60   $          40.60 NHJ- R FOIA requests of TTV.
  10/13/2015 Noel Johnson        0:12       0.20        0.20 $     406.00   $         81.20   $          81.20 NHJ- R and cut opening brief for words.
  10/13/2015 Noel Johnson        0:18       0.30        0.30 $     406.00   $        121.80   $         121.80 NHJ- C KLP re mootness arguments.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 138 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                       1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
  10/13/2015 Noel Johnson        0:24       0.40        0.40   $   406.00   $        162.40    $         162.40 NHJ- C KLP re appellate brief/FOIA.

  10/13/2015 Noel Johnson        0:30       0.50        0.50 $     406.00   $        203.00    $         203.00 NHJ- PC with Carly Gammill re appellate arguments.
  10/13/2015 Noel Johnson        0:42       0.70        0.70 $     406.00   $        284.20    $         284.20 NHJ- Work on opening appellate brief.
  10/13/2015 Noel Johnson        0:48       0.80        0.80 $     406.00   $        324.80    $         324.80 NHJ- R and cut opening brief for words.
  10/14/2015 Kaylan Phillips     0:06       0.10        0.10 $     406.00   $         40.60    $          40.60 KLP- Email re call tomorrow.
                                                                                                                KLP- R mootness section draft. Send to NHJ with
  10/14/2015 Kaylan Phillips     0:24       0.40        0.40   $   406.00   $        162.40    $         162.40 comments.
                                                                                                                NHJ- Review KLP’s edits to mootness section; email to
  10/14/2015 Noel Johnson        0:06       0.10        0.10   $   406.00   $         40.60    $          40.60 team re: phone conference

  10/14/2015 Noel Johnson        1:24       1.40        1.40   $   406.00   $        568.40    $         568.40 NHJ- Continue working on opening appellate brief.

  10/14/2015 Noel Johnson        2:36       2.60        2.60 $     406.00   $       1,055.60   $       1,055.60 NHJ- Continue working on opening appellate brief.
  10/15/2015 Kaylan Phillips     0:06       0.10        0.10 $     406.00   $         40.60    $          40.60 KLP- C NHJ re mootness argument.
  10/15/2015 Kaylan Phillips     0:12       0.20        0.20 $     406.00   $         81.20    $          81.20 KLP- Email with ACLJ re mediation.
  10/15/2015 Kaylan Phillips     0:24       0.40        0.40 $     406.00   $        162.40    $         162.40 KLP- Call with team re mootness argument.
  10/15/2015 Kaylan Phillips     3:00       3.00        3.00 $     406.00   $       1,218.00   $       1,218.00 KLP- R D of opening brief.
  10/15/2015 Noel Johnson        0:18       0.30        0.30 $     406.00   $        121.80    $         121.80 NHJ- Continue work on appellate brief.

  10/15/2015 Noel Johnson        0:24       0.40        0.40 $     406.00   $        162.40    $         162.40 NHJ- PC with legal team re opening appellate brief.
  10/16/2015 Kaylan Phillips     0:12       0.20        0.20 $     406.00   $         81.20    $          81.20 KLP- C NHJ re opening brief. Send drafts.
                                                                                                                NHJ- R KLP's edits to appellate opening brief; discuss
  10/16/2015 Noel Johnson        0:30       0.50        0.50 $     406.00   $        203.00    $         203.00 arguments for same.
  10/19/2015 Kaylan Phillips     0:12       0.20        0.20 $     406.00   $         81.20    $          81.20 KLP- C NHJ re RS needed.
                                                                                                                KLP- LR re viewpoint discrimination. R NHJ's draft re
  10/19/2015 Kaylan Phillips     1:42       1.70        1.70   $   406.00   $        690.20    $         690.20 same.
                                                                                                                NHJ- Continue RS and working on opening appellate
  10/19/2015 Noel Johnson        4:36       4.60        4.60 $     406.00   $       1,867.60   $       1,867.60 brief.
  10/20/2015 Kaylan Phillips     0:12       0.20        0.20 $     406.00   $         81.20    $          81.20 KLP- Emails re mediation.
  10/20/2015 Kaylan Phillips     0:30       0.50        0.50 $     406.00   $        203.00    $         203.00 KLP- C NHJ re appeal outline and rs needed.

  10/20/2015 Kaylan Phillips     0:42       0.70        0.70 $     406.00   $        284.20    $         284.20 KLP- RS "chill" in the Supreme Court. C NHJ re same.
  10/20/2015 Noel Johnson        0:18       0.30        0.30 $     406.00   $        121.80    $         121.80 NHJ- R D opening brief to cut words.
  10/20/2015 Noel Johnson        0:24       0.40        0.40 $     406.00   $        162.40    $         162.40 NHJ- C KLP re mootness arguments; rs needs.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 139 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
                                                                                                                NHJ- Continue RS and working on opening appellate
  10/20/2015 Noel Johnson        0:48       0.80        0.80   $   406.00   $        324.80    $         324.80 brief.

  10/20/2015 Noel Johnson        0:54       0.90        0.90   $   406.00   $        365.40    $         365.40 NHJ- Continue working on opening appellate brief.

  10/20/2015 Noel Johnson        2:18       2.30        2.30 $     406.00   $        933.80    $         933.80 NHJ- Continue working on opening appellate brief.
  10/21/2015 Noel Johnson        1:00       1.00        1.00 $     406.00   $        406.00    $         406.00 NHJ- RV opening brief to comply with word limit.
                                                                                                                NHJ- Continue revising opening brief to comply with
  10/21/2015 Noel Johnson        2:12       2.20        2.20   $   406.00   $        893.20    $         893.20 word limit.
                                                                                                                KLP- Email from mediator-case not placed into
  10/22/2015 Kaylan Phillips     0:06       0.10        0.10 $     406.00   $         40.60    $          40.60 mediation.
  10/22/2015 Kaylan Phillips     1:18       1.30        1.30 $     406.00   $        527.80    $         527.80 KLP- R draft opening brief.
                                                                                                                NHJ- Continue revising opening brief to comply with
  10/22/2015 Noel Johnson        1:24       1.40        1.40   $   406.00   $        568.40    $         568.40 word limit.
                                                                                                                NHJ- Continue revising opening brief to comply with
  10/22/2015 Noel Johnson        1:36       1.60        1.60   $   406.00   $        649.60    $         649.60 word limit.
                                                                                                                KLP- Continue working on review of opening brief.
  10/23/2015 Kaylan Phillips     1:00       1.00        1.00   $   406.00   $        406.00    $         406.00 Finalize review and send to NHJ.
                                                                                                                NHJ- Continue rs for opening appellate brief; discuss
  10/23/2015 Noel Johnson        0:54       0.90        0.90   $   406.00   $        365.40    $         365.40 draft with KLP.

  10/28/2015 Noel Johnson        0:06       0.10        0.10 $     406.00   $         40.60    $          40.60 NHJ- R Senate Finance Committee report on targeting.
  11/16/2015 Kaylan Phillips     0:06       0.10        0.10 $     406.00   $         40.60    $          40.60 KLP- Email re: timeline
                                                                                                                KLP- C with NHJ re: briefing needs. Email to printer re:
  11/23/2015 Kaylan Phillips     0:18       0.30        0.30 $     406.00   $        121.80    $         121.80 same.
  11/23/2015 Kaylan Phillips     0:30       0.50        0.50 $     406.00   $        203.00    $         203.00 KLP- Continue working on opening brief

  11/23/2015 Kaylan Phillips     1:06       1.10        1.10   $   406.00   $        446.60    $         446.60 KLP- Work on opening brief – editing to cut words
                                                                                                                NHJ- Proof and revise opening appellate brief to comply
  11/23/2015 Noel Johnson        2:30       2.50        2.50   $   406.00   $       1,015.00   $       1,015.00 with word limit; emails re: same
                                                                                                                KLP- C with NHJ re: brief. Send latest version. Review
  11/24/2015 Kaylan Phillips     0:30       0.50        0.50   $   406.00   $        203.00    $         203.00 changes. Emails re: same.

                                                                                                                NHJ- Address remaining needs in opening appellate
  11/24/2015 Noel Johnson        0:18       0.30        0.30   $   406.00   $        121.80    $         121.80 brief; check status of related case (Freedom Path
                                                                                                                NHJ- Continue revising opening appellate brief;
  11/24/2015 Noel Johnson        0:42       0.70        0.70 $     406.00   $        284.20    $         284.20 incorporate KLP cuts to same
  11/24/2015 Noel Johnson        1:00       1.00        1.00 $     406.00   $        406.00    $         406.00 NHJ- Continue research re: first amend chill
  11/25/2015 Noel Johnson        0:24       0.40        0.40 $     406.00   $        162.40    $         162.40 NHJ- Review factual recitation for word cuts

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 140 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
  11/30/2015 Kaylan Phillips     0:06       0.10        0.10 $     406.00   $         40.60    $          40.60 KLP- Emails re: opening brief
  11/30/2015 Kaylan Phillips     0:18       0.30        0.30 $     406.00   $        121.80    $         121.80 KLP- C with NHJ re: joint appendix. Review files.
  11/30/2015 Kaylan Phillips     0:36       0.60        0.60 $     406.00   $        243.60    $         243.60 KLP- Review Circuit rules and handbook
                                                                                                                NHJ- Continue revising opening brief; create joint
  11/30/2015 Noel Johnson        4:06       4.10        4.10 $     406.00   $       1,664.60   $       1,664.60 appendix; begin inserting citations to same
  12/01/2015 Kaylan Phillips     0:06       0.10        0.10 $     406.00   $         40.60    $          40.60 KLP- C with NHJ re: appendix and next steps
  12/01/2015 Noel Johnson        0:12       0.20        0.20 $     406.00   $         81.20    $          81.20 NHJ- Create TOC and cover page for appendix

                                                                                                                NHJ- Continue adding Joint Appendix citations to
  12/01/2015 Noel Johnson        0:24       0.40        0.40   $   406.00   $        162.40    $         162.40 opening brief; discuss needs for same with KLP; em
                                                                                                                NHJ- Continue adding Joint Appendix citations to
  12/01/2015 Noel Johnson        1:12       1.20        1.20   $   406.00   $        487.20    $         487.20 opening brief
                                                                                                                KLP- C with NHJ re: appendix. Review email to
  12/02/2015 Kaylan Phillips     0:12       0.20        0.20   $   406.00   $         81.20    $          81.20 opposing counsel re: same.
                                                                                                                KLP- Email from CM re: edits to brief. C with NHJ re:
  12/02/2015 Kaylan Phillips     0:12       0.20        0.20 $     406.00   $         81.20    $          81.20 same.
  12/02/2015 Kaylan Phillips     0:54       0.90        0.90 $     406.00   $        365.40    $         365.40 KLP- Continue reviewing opening brief.
                                                                                                                KLP- Review opening brief. Edit as needed. C with NHJ
  12/02/2015 Kaylan Phillips     1:30       1.50        1.50   $   406.00   $        609.00    $         609.00 re: same.
                                                                                                                NHJ- Continue revising and cutting words from opening
  12/02/2015 Noel Johnson        2:12       2.20        2.20   $   406.00   $        893.20    $         893.20 brief; discuss same with KLP
             Joseph
  12/03/2015 Vanderhulst         0:24       0.40        0.40   $   406.00   $        162.40    $         162.40 JAV- Confs re new evidence question.
             Joseph
  12/03/2015 Vanderhulst         2:30       2.50        2.50 $     406.00   $       1,015.00   $       1,015.00 JAV- RS new evidence submission question.
  12/03/2015 Kaylan Phillips     0:06       0.10        0.10 $     406.00   $         40.60    $          40.60 KLP- Email with printer re: appendix and filings
  12/03/2015 Kaylan Phillips     0:12       0.20        0.20 $     406.00   $         81.20    $          81.20 KLP- Email and C with NHJ re: next steps for brief

                                                                                                                KLP- Email with CM re: TTV not listed on exempt
  12/03/2015 Kaylan Phillips     0:18       0.30        0.30   $   406.00   $        121.80    $         121.80 organization list. Review documents. C with NHJ re:
                                                                                                                KLP- Review appendix. Finalize and upload for printer.
  12/03/2015 Kaylan Phillips     0:30       0.50        0.50   $   406.00   $        203.00    $         203.00 Emails re: changes needed.

                                                                                                                KLP- Research referencing information not before the
  12/03/2015 Kaylan Phillips     0:42       0.70        0.70   $   406.00   $        284.20    $         284.20 court below. Review cases. C with JAV re: help

                                                                                                                KLP- Review brief – work on fn re: IRS list of exempt
  12/03/2015 Kaylan Phillips     1:06       1.10        1.10   $   406.00   $        446.60    $         446.60 organizations. Review JAV’s research. C with


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 141 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
  12/03/2015 Kaylan Phillips     1:06       1.10        1.10 $     406.00   $        446.60    $         446.60 KLP- Review latest version of brief and edit as needed
  12/03/2015 Noel Johnson        1:00       1.00        1.00 $     406.00   $        406.00    $         406.00 NHJ- Continue cutting words from opening brief
  12/03/2015 Noel Johnson        2:18       2.30        2.30 $     406.00   $        933.80    $         933.80 NHJ- Continue cutting words from opening brief
                                                                                                                KLP- Check docket. Email WD and MG re: notice of
  12/04/2015 Kaylan Phillips     0:12       0.20        0.20   $   406.00   $         81.20    $          81.20 appearance
                                                                                                                KLP- Emails from client and team re: additional facts
  12/04/2015 Kaylan Phillips     0:12       0.20        0.20   $   406.00   $         81.20    $          81.20 and arguments.

  12/04/2015 Kaylan Phillips     0:12       0.20        0.20 $     406.00   $         81.20    $          81.20 KLP- Upload documents to website. Incorporate citation
  12/04/2015 Kaylan Phillips     0:18       0.30        0.30 $     406.00   $        121.80    $         121.80 KLP- Emails re: latest brief. C with NHJ re: same.
  12/04/2015 Kaylan Phillips     0:30       0.50        0.00 $     406.00   $        203.00    $            -    KLP- Work on Bivens section

  12/04/2015 Kaylan Phillips     0:30       0.50        0.50   $   406.00   $        203.00    $         203.00 KLP- Review standard of review. C with NHJ re: same.

                                                                                                                KLP- Edit joint appendix to add pages and move page
  12/04/2015 Kaylan Phillips     1:00       1.00        1.00   $   406.00   $        406.00    $         406.00 numbers. Finalize and review. Upload to printer
                                                                                                                KLP- Review and incorporate JCE’s changes to brief.
  12/04/2015 Kaylan Phillips     1:18       1.30        1.30   $   406.00   $        527.80    $         527.80 Email with JCE re: same.
                                                                                                                KLP- Research treatment of information not in the
  12/04/2015 Kaylan Phillips     1:36       1.60        1.60 $     406.00   $        649.60    $         649.60 record. C with NHJ re: same. Edit brief and adjus
  12/04/2015 Noel Johnson        0:24       0.40        0.40 $     406.00   $        162.40    $         162.40 NHJ- Work on tables for opening brief

  12/04/2015 Noel Johnson        0:36       0.60        0.60 $     406.00   $        243.60    $         243.60 NHJ- C with KLP re: admitting reports/judicial notice
  12/04/2015 Noel Johnson        1:06       1.10        1.10 $     406.00   $        446.60    $         446.60 NHJ- Table of authorities for opening brief
  12/04/2015 Noel Johnson        1:48       1.80        1.80 $     406.00   $        730.80    $         730.80 NHJ- Continue working on opening appellate brief

                                                                                                                KLP- Work on brief, incorporate mat's changes. Check
  12/05/2015 Kaylan Phillips     2:30       2.50        2.50 $     406.00   $       1,015.00   $       1,015.00 cites. Finalize and send to JCE and MG for rev
  12/06/2015 Kaylan Phillips     1:00       1.00        1.00 $     406.00   $        406.00    $         406.00 KLP- Review brief, finalize. C with NHJ re: same.
  12/06/2015 Kaylan Phillips     1:18       1.30        1.30 $     406.00   $        527.80    $         527.80 KLP- Work on brief. Check appendix. Send to NHJ
             Joseph
  12/07/2015 Vanderhulst         3:00       3.00        3.00 $     406.00   $       1,218.00   $       1,218.00 JAV- Proof opening brief, cite checking.
  12/07/2015 Kaylan Phillips     0:12       0.20        0.20 $     406.00   $         81.20    $          81.20 KLP- Email with client re: latest brief
                                                                                                                KLP- Edit Opening Brief – implement NHJ’s changes.
  12/07/2015 Kaylan Phillips     0:42       0.70        0.70   $   406.00   $        284.20    $         284.20 Email with ML re: review.
                                                                                                                KLP- Finalize tables on brief. Prepare documents for
  12/07/2015 Kaylan Phillips     0:42       0.70        0.70   $   406.00   $        284.20    $         284.20 filing and assist with filing. Review filed do

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 142 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
                                                                                                                KLP- Work on certificate of service. Review service
  12/07/2015 Kaylan Phillips     1:30       1.50        1.50   $   406.00   $        609.00    $         609.00 rules. Update brief and appendix accordingly. S
                                                                                                                KLP- Edit Opening Brief – cite check. C with team re:
  12/07/2015 Kaylan Phillips     1:54       1.90        1.90   $   406.00   $        771.40    $         771.40 same.
                                                                                                                KLP- Work on brief. C with NHJ re: tasks needed. Email
  12/07/2015 Kaylan Phillips     2:18       2.30        2.30   $   406.00   $        933.80    $         933.80 with printer. Review appellate rules. Edit c
                                                                                                                NHJ- Review latest draft changes; research re: remand
  12/07/2015 Noel Johnson        1:24       1.40        1.40 $     406.00   $        568.40    $         568.40 for new evidence; emails re: same
  12/07/2015 Noel Johnson        5:06       5.10        5.10 $     406.00   $       2,070.60   $       2,070.60 NHJ- Continue work on opening brief; file same
  12/08/2015 Kaylan Phillips     0:06       0.10        0.10 $     406.00   $         40.60    $          40.60 KLP- Email with ACLJ re: filing
  12/08/2015 Kaylan Phillips     0:06       0.10        0.10 $     406.00   $         40.60    $          40.60 KLP- Email with printer re: paper copies
  12/08/2015 Kaylan Phillips     0:06       0.10        0.10 $     406.00   $         40.60    $          40.60 KLP- WD’s entry of appearance
                                                                                                                KLP- Call with opposing counsel re: briefing. Emails re:
  12/16/2015 Kaylan Phillips     0:18       0.30        0.30   $   406.00   $        121.80    $         121.80 same.
                                                                                                                NHJ- Email correspondence re: request for enlargement
  12/16/2015 Noel Johnson        0:06       0.10        0.10   $   406.00   $         40.60    $          40.60 of words
                                                                                                                NHJ- PC with opposing counsel re: request for more
  12/16/2015 Noel Johnson        0:18       0.30        0.30 $     406.00   $        121.80    $         121.80 words; C with KLP re: same
  12/16/2015 Noel Johnson        0:42       0.70        0.70 $     406.00   $        284.20    $         284.20 NHJ- Review opening brief in Linchpins
                                                                                                                KLP- Email re: position on individual defendants’
  12/17/2015 Kaylan Phillips     0:06       0.10        0.00   $   406.00   $         40.60    $            -   request
                                                                                                                KLP- Message from ACLJ re: case updates. Call back
  12/18/2015 Kaylan Phillips     0:18       0.30        0.30   $   406.00   $        121.80    $         121.80 re: same. Emails re: same.
                                                                                                                KLP- Email with printer re: invoice. Send invoice to SLP
  01/08/2016 Kaylan Phillips     0:18       0.30        0.30   $   586.00   $        175.80    $         175.80 for processing
                                                                                                                KLP- Emails re: Individual Defendant’s request for one
  01/25/2016 Kaylan Phillips     0:30       0.50        0.00   $   586.00   $        293.00    $            -   brief. C with NHJ re: same.
                                                                                                                KLP- C with NHJ re: single brief request. Call with
  01/26/2016 Kaylan Phillips     0:18       0.30        0.30   $   586.00   $        175.80    $         175.80 Carly. Emails re: same.
                                                                                                                KLP- ECF notice re: oral argument scheduled. Emails
  01/28/2016 Kaylan Phillips     0:12       0.20        0.20   $   586.00   $        117.20    $         117.20 re: same.
                                                                                                                KLP- C with JCA re: upcoming case needs and next
  01/28/2016 Kaylan Phillips     0:18       0.30        0.30 $     586.00   $        175.80    $         175.80 steps
  02/05/2016 Kaylan Phillips     0:06       0.10        0.10 $     586.00   $         58.60    $          58.60 Notices of appearance
                                                                                                                Receive Individual Defendants? brief. Print. C with
  02/05/2016 Kaylan Phillips     0:12       0.20        0.00   $   586.00   $        117.20    $            -   colleagues re: same.
                                                                                                                Receive Government?s brief. Print and review. C with
  02/05/2016 Kaylan Phillips     2:18       2.30        2.30   $   586.00   $       1,347.80   $       1,347.80 colleagues re: same.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 143 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                         1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                          Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
                                                                                                                Review IRS DC Circuit Answering Brief; discuss with
  02/05/2016 Noel Johnson        0:42       0.70        0.70 $     406.00   $        284.20    $         284.20 KLP
  02/09/2016 Kaylan Phillips     0:12       0.20        0.20 $     586.00   $        117.20    $         117.20 Call from JCE re: briefing. Email re: same.
  02/10/2016 Kaylan Phillips     0:06       0.10        0.10 $     586.00   $         58.60    $          58.60 C with NHJ re: reply

  02/10/2016 Noel Johnson        0:54       0.90        0.00 $     406.00   $        365.40    $            -    Review individual defendants appellate answer brief
  02/11/2016 Kaylan Phillips     0:24       0.40        0.40 $     586.00   $        234.40    $         234.40 Emails and discussions re: moot courts
                                                                                                                Discuss TTV argument with KLP; emails with CM re:
  02/11/2016 Noel Johnson        0:06       0.10        0.10 $     406.00   $         40.60    $          40.60 same
  02/12/2016 Kaylan Phillips     0:12       0.20        0.20 $     586.00   $        117.20    $         117.20 C with NHJ re: reply
                                                                                                                Emails re: ACLJ briefs and participation in oral
  02/12/2016 Kaylan Phillips     0:12       0.20        0.20   $   586.00   $        117.20    $         117.20 argument
  02/12/2016 Noel Johnson        0:06       0.10        0.10   $   406.00   $         40.60    $          40.60 Email to Logan re: case summary for newsletter
                                                                                                                Compare changes in briefs filed in TTV and ACLJ
  02/12/2016 Noel Johnson        0:42       0.70        0.70   $   406.00   $        284.20    $         284.20 cases

  02/12/2016 Noel Johnson        1:12       1.20        1.20   $   406.00   $        487.20    $         487.20 Review Appellees’ authority; discuss same with KLP
                                                                                                                Continue reviewing appellate briefs and reviewing
  02/15/2016 Noel Johnson        2:12       2.20        2.20   $   406.00   $        893.20    $         893.20 appellees’ authorities
                                                                                                                Continue research re: appellees’ authority and legal
  02/16/2016 Noel Johnson        2:06       2.10        2.10   $   406.00   $        852.60    $         852.60 issues for reply brief
             Joseph
  02/17/2016 Vanderhulst         1:00       1.00        1.00 $     586.00   $        586.00    $         586.00 R briefs
  02/17/2016 Kaylan Phillips     0:24       0.40        0.00 $     586.00   $        234.40    $            -    Review Individual Defendants' brief
  02/17/2016 Noel Johnson        2:06       2.10        2.10 $     406.00   $        852.60    $         852.60 Continue research for reply brief
  02/18/2016 Kaylan Phillips     0:12       0.20        0.00 $     586.00   $        117.20    $            -    Continue reviewing individual defendants' brief

  02/18/2016 Kaylan Phillips     0:36       0.60        0.60 $     586.00   $        351.60    $         351.60 C with NHJ re: reply briefs. Emails with JCE re: same.
  02/18/2016 Noel Johnson        0:36       0.60        0.60 $     406.00   $        243.60    $         243.60 C with KLP re: arguments for reply brief
  02/18/2016 Noel Johnson        2:12       2.20        2.20 $     406.00   $        893.20    $         893.20 Continue R re: for reply brief
  02/19/2016 Kaylan Phillips     0:18       0.30        0.30 $     586.00   $        175.80    $         175.80 C with JCE re: reply brief
  02/22/2016 Noel Johnson        0:36       0.60        0.60 $     406.00   $        243.60    $         243.60 Continue research for reply brief
  02/23/2016 Noel Johnson        0:24       0.40        0.40 $     406.00   $        162.40    $         162.40 C with team re: TTV research needs
             Joseph
  02/24/2016 Vanderhulst         6:00       6.00        6.00 $     586.00   $       3,516.00   $       3,516.00 R briefs, cases, research and make notes for reply brief
  02/24/2016 Kaylan Phillips     0:42       0.70        0.70 $     586.00   $        410.20    $         410.20 Email with CM re: reply brief and moot courts


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 144 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                          1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                          Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
  02/24/2016 Noel Johnson        2:30       2.50        2.50   $   406.00   $       1,015.00   $       1,015.00 Continue research for reply brief
             Joseph
  02/25/2016 Vanderhulst         4:18       4.30        4.30   $   586.00   $       2,519.80   $       2,519.80 RS reply brief, draft sections
                                                                                                                Continue work on reply brief; discuss needs for same
  02/25/2016 Noel Johnson        4:12       4.20        4.20   $   406.00   $       1,705.20   $       1,705.20 with JAV
             Joseph
  02/26/2016 Vanderhulst         1:00       1.00        1.00   $   586.00   $        586.00    $         586.00 Research remanding/new facts section
             Joseph
  02/26/2016 Vanderhulst         3:00       3.00        3.00 $     586.00   $       1,758.00   $       1,758.00 RS rely brief, draft sections
  02/26/2016 Noel Johnson        2:48       2.80        2.80 $     406.00   $       1,136.80   $       1,136.80 Continue work on reply brief
             Joseph
  02/27/2016 Vanderhulst         2:00       2.00        2.00 $     586.00   $       1,172.00   $       1,172.00 Draft reply brief sections
  02/27/2016 Kaylan Phillips     0:18       0.30        0.30 $     586.00   $        175.80    $         175.80 Emails re: moot courts
  02/28/2016 Noel Johnson        3:12       3.20        3.20 $     406.00   $       1,299.20   $       1,299.20 Continue work on reply brief
             Joseph
  02/29/2016 Vanderhulst         1:30       1.50        1.50   $   586.00   $        879.00    $         879.00 RS brief incorporation reference
             Joseph
  02/29/2016 Vanderhulst         1:30       1.50        1.50   $   586.00   $        879.00    $         879.00 RS for reply brief re legislative history

  02/29/2016 Kaylan Phillips     0:12       0.20        0.20 $     586.00   $        117.20    $         117.20 Emails re: moot courts. C with colleagues re: same.
  02/29/2016 Noel Johnson        4:24       4.40        4.40 $     406.00   $       1,786.40   $       1,786.40 Continue work on reply brief
             Joseph
  03/01/2016 Vanderhulst         0:30       0.50        0.50 $     586.00   $        293.00    $         293.00 RS new cases
  03/01/2016 Kaylan Phillips     0:06       0.10        0.10 $     586.00   $         58.60    $          58.60 Emails re: briefs
             Joseph
  03/02/2016 Vanderhulst         2:30       2.50        2.50 $     586.00   $       1,465.00   $       1,465.00 Work on draft and research for reply
  03/02/2016 Kaylan Phillips     0:06       0.10        0.10 $     586.00   $         58.60    $          58.60 Email with printer re: reply
             Joseph
  03/03/2016 Vanderhulst         2:00       2.00        2.00   $   586.00   $       1,172.00   $       1,172.00 RS and help on reply brief
                                                                                                                C with colleagues re: reply brief (throughout day).
  03/03/2016 Kaylan Phillips     0:18       0.30        0.30 $     586.00   $        175.80    $         175.80 Emails re: same.
  03/03/2016 Noel Johnson        2:06       2.10        2.10 $     406.00   $        852.60    $         852.60 Continue revising and drafting reply brief
             Joseph
  03/04/2016 Vanderhulst         1:00       1.00        1.00   $   586.00   $        586.00    $         586.00 RS new cases, updates
                                                                                                                Review JCA comments; continue cutting words/work on
  03/05/2016 Noel Johnson        1:30       1.50        1.50   $   406.00   $        609.00    $         609.00 reply brief
             Joseph
  03/06/2016 Vanderhulst         3:00       3.00        3.00   $   586.00   $       1,758.00   $       1,758.00 Proof and edit reply final draft


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 145 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                          Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
                                                                                                                Continue work on reply brief. Emails re: same with
  03/06/2016 Noel Johnson        4:12       4.20        4.20   $   406.00   $       1,705.20   $       1,705.20 team; discuss same with JAV/KLP
             Joseph
  03/07/2016 Vanderhulst         3:00       3.00        3.00 $     586.00   $       1,758.00   $       1,758.00 Proof and edit reply brief
  03/07/2016 Kaylan Phillips     0:06       0.10        0.10 $     586.00   $         58.60    $          58.60 C with NHJ re: case needs

  03/07/2016 Kaylan Phillips     1:30       1.50        1.50 $     586.00   $        879.00    $         879.00 C with printer re: changes needed. Work on changes.
  03/07/2016 Kaylan Phillips     4:24       4.40        4.40 $     586.00   $       2,578.40   $       2,578.40 Edit brief
                                                                                                                Work on summary of argument; continue to cut words,
  03/07/2016 Noel Johnson        0:54       0.90        0.90   $   406.00   $        365.40    $         365.40 revise tables

  03/07/2016 Noel Johnson        4:12       4.20        4.20   $   406.00   $       1,705.20   $       1,705.20 Continue work on reply brief; finalize and file same
                                                                                                                Emails re: moot court sessions. C with colleagues re:
  03/10/2016 Kaylan Phillips     0:18       0.30        0.30 $     586.00   $        175.80    $         175.80 same.
  03/15/2016 Kaylan Phillips     0:42       0.70        0.70 $     586.00   $        410.20    $         410.20 Emails re: moot court. Make travel arrangements.
                                                                                                                Draft summary of issues/arguments for moot court
  03/15/2016 Noel Johnson        0:30       0.50        0.50   $   406.00   $        203.00    $         203.00 participants
             Joseph
  03/18/2016 Vanderhulst         0:12       0.20        0.20 $     586.00   $        117.20    $         117.20 R ems re moot court
  03/18/2016 Kaylan Phillips     0:18       0.30        0.30 $     586.00   $        175.80    $         175.80 Emails re: moot courts
             Joseph
  03/21/2016 Vanderhulst         0:12       0.20        0.20 $     586.00   $        117.20    $         117.20 Conf re new panel, rs judges
  03/21/2016 Kaylan Phillips     0:06       0.10        0.10 $     586.00   $         58.60    $          58.60 Emails re: oral argument panel
                                                                                                                Email to potential oral argument participants re: March
  03/21/2016 Kaylan Phillips     0:12       0.20        0.20   $   586.00   $        117.20    $         117.20 31 session
                                                                                                                Prepare and email documents to moot court
  03/21/2016 Kaylan Phillips     0:36       0.60        0.60 $     586.00   $        351.60    $         351.60 participants. Emails re: participants,
  03/21/2016 Noel Johnson        0:30       0.50        0.50 $     406.00   $        203.00    $         203.00 Research re: panel judges
             Joseph
  03/22/2016 Vanderhulst         0:30       0.50        0.50 $     586.00   $        293.00    $         293.00 EMs re 6th Cir decision, r
  03/22/2016 Kaylan Phillips     0:18       0.30        0.30 $     586.00   $        175.80    $         175.80 Review order in Nor Cal
                                                                                                                Compress and send information to moot court
  03/22/2016 Kaylan Phillips     1:30       1.50        1.50   $   586.00   $        879.00    $         879.00 participants. Emails re: moot court needs.
             Joseph
  03/23/2016 Vanderhulst         0:18       0.30        0.30 $     586.00   $        175.80    $         175.80 EMs re 6th Cir decision
  03/23/2016 Kaylan Phillips     0:06       0.10        0.10 $     586.00   $         58.60    $          58.60 Email re: moot court
  03/23/2016 Kaylan Phillips     0:24       0.40        0.40 $     586.00   $        234.40    $         234.40 Emails and articles re: NorCal decision



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 146 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                         1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
                                                                                                                Review 28J and opinion re: NorCal; emails and
  03/23/2016 Noel Johnson        0:30       0.50        0.50 $     406.00   $        203.00    $         203.00 discussions re: same
  03/24/2016 Kaylan Phillips     0:42       0.70        0.70 $     586.00   $        410.20    $         410.20 Call with Eddie Greim
  03/24/2016 Noel Johnson        0:18       0.30        0.30 $     406.00   $        121.80    $         121.80 Continue research re: response to 28J letter
  03/24/2016 Noel Johnson        1:30       1.50        1.50 $     406.00   $        609.00    $         609.00 Continue research re: response to 28J letter
  03/25/2016 Kaylan Phillips     0:24       0.40        0.60 $     586.00   $        234.40    $         351.60 Email with JCE re: court filings (throughout day)
             Joseph
  03/28/2016 Vanderhulst         0:30       0.50        0.50   $   586.00   $        293.00    $         293.00 Dropbox set up and sharing settings for filings
             Joseph
  03/28/2016 Vanderhulst         1:00       1.00        1.00 $     586.00   $        586.00    $         586.00 R docket and materials for moot court
  03/28/2016 Kaylan Phillips     0:18       0.30        0.30 $     586.00   $        175.80    $         175.80 Review 28(j). Respond with comments.
                                                                                                                Email with JCE re: moot court prep. Review files.
  03/28/2016 Kaylan Phillips     0:36       0.60        0.60 $     586.00   $        351.60    $         351.60 Upload documents for his review
  03/28/2016 Kaylan Phillips     0:36       0.60        0.60 $     586.00   $        351.60    $         351.60 Emails re: moot court.
  03/28/2016 Noel Johnson        0:48       0.80        0.80 $     406.00   $        324.80    $         324.80 Continue work on 28J letter re: NorCal
             Joseph
  03/29/2016 Vanderhulst         0:42       0.70        0.70   $   586.00   $        410.20    $         410.20 RS corporate filings status
             Joseph
  03/29/2016 Vanderhulst         1:00       1.00        1.00   $   586.00   $        586.00    $         586.00 R materials for moot court, take notes

                                                                                                                C with NHJ re: moot court prep. Review documents and
  03/29/2016 Kaylan Phillips     2:24       2.40        2.40 $     586.00   $       1,406.40   $       1,406.40 filings. Book ticket for second moot.
  03/29/2016 Noel Johnson        0:06       0.10        0.10 $     406.00   $         40.60    $          40.60 Book travel for moot court
  03/29/2016 Noel Johnson        0:06       0.10        0.10 $     406.00   $         40.60    $          40.60 Research re: status of TTV
  03/29/2016 Noel Johnson        0:12       0.20        0.20 $     406.00   $         81.20    $          81.20 Prep for moot court
  03/29/2016 Noel Johnson        2:30       2.50        2.50 $     406.00   $       1,015.00   $       1,015.00 Prep for moot court
             Joseph                                                                                             Check in for flight to moot, check travel, confs re prep
  03/30/2016 Vanderhulst         1:00       1.00        0.50   $   586.00   $        586.00    $         293.00 for moot court
                                                                                                                C with NHJ re: moot court prep. Gather documents for
  03/30/2016 Kaylan Phillips     0:36       0.60        0.60 $     586.00   $        351.60    $         351.60 Cath Kidwell.
  03/30/2016 Kaylan Phillips     5:00       5.00        2.50 $     586.00   $       2,930.00   $       1,465.00 Travel to DC for moot court. Prep for moot court.
  03/30/2016 Noel Johnson        1:06       1.10        1.10 $     406.00   $        446.60    $         446.60 Research re: panel judges past decisisons
  03/30/2016 Noel Johnson        2:00       2.00        1.00 $     406.00   $        812.00    $         406.00 Attempted travel to DC for moot court
  03/30/2016 Noel Johnson        4:30       4.50        2.25 $     203.00   $        913.50    $         456.75 Travel to Baltimore to DC for moot court
             Joseph
  03/31/2016 Vanderhulst         3:00       3.00        3.00   $   586.00   $       1,758.00   $       1,758.00 Moot court


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 147 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                          1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                        Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
             Joseph
  03/31/2016 Vanderhulst         3:30       3.50        1.75   $   586.00   $       2,051.00   $       1,025.50 Travel too moot court
             Joseph
  03/31/2016 Vanderhulst         5:00       5.00        2.50 $     586.00   $       2,930.00   $       1,465.00 Travel home from moot court
  03/31/2016 Kaylan Phillips     3:48       3.80        0.00 $     586.00   $       2,226.80   $            -    Moot court. Research re: motion for stay
  03/31/2016 Kaylan Phillips     5:00       5.00        2.50 $     586.00   $       2,930.00   $       1,465.00 Travel home from moot court.
  03/31/2016 Noel Johnson        3:00       3.00        1.50 $     406.00   $       1,218.00   $         609.00 Travel back to IN
  03/31/2016 Noel Johnson        3:06       3.10        3.10 $     406.00   $       1,258.60   $       1,258.60 Conduct moot court for DC appellate argument
  04/02/2016 Kaylan Phillips     0:18       0.30        0.30 $     586.00   $        175.80    $         175.80 Emails re: moot court and research needed
  04/03/2016 Kaylan Phillips     0:12       0.20        0.20 $     586.00   $        117.20    $         117.20 Emails re: research needed
  04/04/2016 Kaylan Phillips     0:24       0.40        0.40 $     586.00   $        234.40    $         234.40 Emails re: oral argument. Order re: same.
                                                                                                                ECF notices re: oral argument form filed (throughout
  04/06/2016 Kaylan Phillips     0:18       0.30        0.30   $   586.00   $        175.80    $         175.80 day). Emails re: same.
  04/06/2016 Kaylan Phillips     0:24       0.40        0.00   $   586.00   $        234.40    $            -    Find and book hotel for next week (n/c)
             Joseph
  04/07/2016 Vanderhulst         0:36       0.60        0.60 $     586.00   $        351.60    $         351.60 Confs/ems re work needed, status, r ems re coverage
  04/07/2016 Kaylan Phillips     0:12       0.20        0.00 $     586.00   $        117.20    $            -    Emails re: stay motion
  04/07/2016 Kaylan Phillips     0:48       0.80        0.80 $     586.00   $        468.80    $         468.80 Calls with MG re: arguments and moot court
             Joseph
  04/08/2016 Vanderhulst         0:18       0.30        0.30   $   586.00   $        175.80    $         175.80 Conf team re next steps before argument
             Joseph
  04/08/2016 Vanderhulst         0:18       0.30        0.30 $     586.00   $        175.80    $         175.80 R ems re argument prep and research needs
  04/08/2016 Kaylan Phillips     0:18       0.30        0.30 $     586.00   $        175.80    $         175.80 C with NHJ re: motion and next steps
                                                                                                                Work on stay motion, review application materials. C
  04/08/2016 Kaylan Phillips     1:24       1.40        0.00   $   586.00   $        820.40    $            -   with NHJ re: same.
  04/08/2016 Noel Johnson        0:12       0.20        0.00   $   406.00   $         81.20    $            -    C with KLP re: stay motion
                                                                                                                 Begin reviewing information submissions by TTV for
  04/08/2016 Noel Johnson        0:18       0.30        0.00 $     406.00   $        121.80    $            -    stay motion/oral argument
  04/08/2016 Noel Johnson        0:24       0.40        0.00 $     406.00   $        162.40    $            -    C with KLP re: needs for stay motion
  04/08/2016 Noel Johnson        1:00       1.00        0.00 $     406.00   $        406.00    $            -    Continue research re: stay motion

  04/08/2016 Noel Johnson        1:00       1.00        0.00   $   406.00   $        406.00    $            -    Review stay motion briefing at DDC; research re: same
             Joseph
  04/11/2016 Vanderhulst         0:30       0.50        0.50 $     586.00   $        293.00    $         293.00 Ems re oral argument, confs re help
  04/11/2016 Kaylan Phillips     1:06       1.10        1.10 $     586.00   $        644.60    $         644.60 Emails re: moot court.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 148 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                         1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
                                                                                                                Research IRM and IRS materials re: duties of
  04/11/2016 Noel Johnson        1:06       1.10        1.10   $   406.00   $        446.60    $         446.60 defendants/offices
                                                                                                                Emails re: IRS EO division. Prepare for moot. Call with
  04/12/2016 Kaylan Phillips     0:48       0.80        0.80   $   586.00   $        468.80    $         468.80 MG re: same. Emails re: same.
  04/12/2016 Noel Johnson        0:06       0.10        0.00   $   406.00   $         40.60    $            -    Research re: recent Bivens decisions
                                                                                                                Email to JCE re: requested research on EO
  04/12/2016 Noel Johnson        0:42       0.70        0.70   $   406.00   $        284.20    $         284.20 organization
             Joseph
  04/13/2016 Vanderhulst         0:42       0.70        0.70   $   586.00   $        410.20    $         410.20 RS TTV status, em team
                                                                                                                Email with JCE re: needs for oral argument. Research
  04/13/2016 Kaylan Phillips     0:42       0.70        0.70 $     586.00   $        410.20    $         410.20 same.
  04/13/2016 Kaylan Phillips     3:30       3.50        1.75 $     586.00   $       2,051.00   $       1,025.50 Travel to DC. Prepare for moot court.
  04/13/2016 Kaylan Phillips     4:06       4.10        4.10 $     586.00   $       2,402.60   $       2,402.60 Attend moot court
  04/13/2016 Noel Johnson        3:30       3.50        1.75 $     403.00   $       1,410.50   $         705.25 Travel to DC/Prep for moot
  04/13/2016 Noel Johnson        4:06       4.10        4.10 $     406.00   $       1,664.60   $       1,664.60 Attend moot court for oral argument
  04/14/2016 Kaylan Phillips     3:30       3.50        1.75 $     586.00   $       2,051.00   $       1,025.50 Travel home from oral argument

  04/14/2016 Kaylan Phillips     4:00       4.00        4.00 $     586.00   $       2,344.00   $       2,344.00 Attend oral argument. Debrief after. Lunch with client.
  04/14/2016 Noel Johnson        3:30       3.50        1.75 $     406.00   $       1,421.00   $         710.50 Travel back to Indy from oral argument
  04/14/2016 Noel Johnson        4:00       4.00        4.00 $     406.00   $       1,624.00   $       1,624.00 DC Circuit oral argument; lunch with client after
  04/22/2016 Kaylan Phillips     0:06       0.10        0.10 $     586.00   $         58.60    $          58.60 Expense report from JCE. Forward
                                                                                                                28(j) letter from the gov't. Review case. Email with JT
  05/26/2016 Kaylan Phillips     0:42       0.70        0.70   $   586.00   $        410.20    $         410.20 re: same.
             Joseph
  08/05/2016 Vanderhulst         0:30       0.50        0.50   $   608.00   $        304.00    $         304.00 R decision, ems and confs re
                                                                                                                Decision from COA. Emails re: same. Save and briefly
  08/05/2016 Kaylan Phillips     0:42       0.70        0.70 $     608.00   $        425.60    $         425.60 review case documents.
  08/05/2016 Noel Johnson        0:30       0.50        0.50 $     421.00   $        210.50    $         210.50 Review appellate decision; emails re: same
  08/25/2016 Kaylan Phillips     0:24       0.40        0.40 $     608.00   $        243.20    $         243.20 Email re: next steps. Calendar deadlines
  09/13/2016 Kaylan Phillips     0:06       0.10        0.10 $     608.00   $         60.80    $          60.80 Call with MG re: case status
  09/15/2016 Kaylan Phillips     0:18       0.30        0.30 $     608.00   $        182.40    $         182.40 Emails re: next steps. Review rules
             Joseph
  09/27/2016 Vanderhulst         0:24       0.40        0.40   $   608.00   $        243.20    $         243.20 R ems re next steps in DC
  09/27/2016 Kaylan Phillips     0:18       0.30        0.30   $   608.00   $        182.40    $         182.40 Emails re: mandate and next steps.
             Joseph
  09/28/2016 Vanderhulst         0:24       0.40        0.40   $   608.00   $        243.20    $         243.20 R ems re next steps in district court, confs re


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 149 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                          1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                           Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
  09/28/2016 Kaylan Phillips     0:36       0.60        0.60 $    608.00    $        364.80    $         364.80 Emails re: status conference. Set up call.
  09/29/2016 Kaylan Phillips     0:42       0.70        0.70 $    608.00    $        425.60    $         425.60 Email and call with ACLJ re: next steps
                                                                                                                Firm call re: next steps. C with NHJ after. Emails re:
  09/29/2016 Kaylan Phillips     0:54       0.90        0.90 $    608.00    $        547.20    $         547.20 same.
  09/29/2016 Noel Johnson        0:54       0.90        0.90 $    421.00    $        378.90    $         378.90 PC re: TTV discovery; C with KLP re: same
  09/30/2016 Kaylan Phillips     0:12       0.20        0.20 $    608.00    $        121.60    $         121.60 Emails re: call on Monday
  10/01/2016 Kaylan Phillips     0:30       0.50        0.50 $    608.00    $        304.00    $         304.00 Review opinion for outline.
  10/03/2016 Kaylan Phillips     1:24       1.40        1.40 $    608.00    $        851.20    $         851.20 Call with team re: discovery plan

  10/03/2016 Kaylan Phillips     2:48       2.80        2.80 $    608.00    $       1,702.40   $       1,702.40 Work on outline of COA opinion. C with NHJ re: same.
  10/03/2016 Noel Johnson        0:30       0.50        0.50 $    421.00    $        210.50    $         210.50 Review and edit draft outline of issues on appeal
  10/03/2016 Noel Johnson        1:18       1.30        1.30 $    421.00    $        547.30    $         547.30 PC with ACLJ and Cinci
  10/10/2016 Kaylan Phillips     0:06       0.10        0.10 $    608.00    $         60.80    $          60.80 email re: conference this week
  10/11/2016 Kaylan Phillips     0:30       0.50        0.50 $    608.00    $        304.00    $         304.00 Emails re: status conference
  10/12/2016 Kaylan Phillips     0:30       0.50        0.25 $    608.00    $        304.00    $         152.00 Travel to Cleta's office for meeting
  10/12/2016 Kaylan Phillips     1:48       1.80        1.80 $    608.00    $       1,094.40   $       1,094.40 C with team re: status conference

  10/12/2016 Kaylan Phillips     3:36       3.60        1.80 $    608.00    $       2,188.80   $       1,094.40 travel to conference. attend hearing. Back to hotel
  10/13/2016 Kaylan Phillips     0:18       0.30        0.30 $    608.00    $        182.40    $         182.40 Emails re: research needed.
  10/14/2016 Kaylan Phillips     0:18       0.30        0.30 $    608.00    $        182.40    $         182.40 Emails re: cert petition research
  10/14/2016 Noel Johnson        1:06       1.10        0.00 $    421.00    $        463.10    $            -    Research re: cert petition upon final judgment
  10/17/2016 Kaylan Phillips     0:06       0.10        0.00 $    608.00    $         60.80    $            -    Email JCE re: Bivens
  10/18/2016 Kaylan Phillips     0:30       0.50        0.50 $    608.00    $        304.00    $         304.00 Emails re: cert petition and next step
  10/19/2016 Kaylan Phillips     0:18       0.30        0.30 $    608.00    $        182.40    $         182.40 C with NHJ re: call and next steps
  10/19/2016 Noel Johnson        0:36       0.60        0.00 $    421.00    $        252.60    $            -    PC with NorCal/ACLJ re: Bivens/injunctive relief
  10/20/2016 Kaylan Phillips     0:06       0.10        0.10 $    608.00    $         60.80    $          60.80 Email re: Biven
  10/20/2016 Noel Johnson        0:24       0.40        0.40 $    421.00    $        168.40    $         168.40 Review transcript of DC status hearing
  10/21/2016 Kaylan Phillips     1:48       1.80        1.80 $    608.00    $       1,094.40   $       1,094.40 Team call. C with SLP re: appendix
  10/24/2016 Kaylan Phillips     0:12       0.20        0.20 $    608.00    $        121.60    $         121.60 Call from JCE re: intern
  10/25/2016 Kaylan Phillips     0:06       0.10        0.10 $    608.00    $         60.80    $          60.80 Email re: answer extension
  10/25/2016 Kaylan Phillips     0:18       0.30        0.30 $    608.00    $        182.40    $         182.40 Emails re; printer. Call re: same.
  10/25/2016 Noel Johnson        0:06       0.10        0.00 $    421.00    $         42.10    $            -    Bivens cert petition



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.             Page 150 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                            1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                            Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
                                                                                                                Emails re: cert petition. C with NHJ re: same. Get
  10/26/2016 Kaylan Phillips     1:06       1.10        1.10 $     608.00   $        668.80    $         668.80 documents for appendix. C with
  10/26/2016 Noel Johnson        2:06       2.10        0.00 $     421.00   $        884.10    $             -    Bivens cert petition
  10/27/2016 Kaylan Phillips     2:18       2.30        2.30 $     608.00   $       1,398.40   $       1,398.40 Work on cert petition. C with NHJ re: same.
  10/27/2016 Noel Johnson        3:36       3.60        0.00 $     421.00   $       1,515.60   $             -    Bivens cert petition
                                                                                                                C with team re: cert petition appendix and needs
  10/28/2016 Kaylan Phillips     0:30       0.50        0.50 $     608.00   $        304.00    $         304.00 (throughout day)
  10/28/2016 Noel Johnson        2:48       2.80        0.00 $     421.00   $       1,178.80   $             -    Bivens cert petition
  10/31/2016 Kaylan Phillips     0:06       0.10        0.10 $     608.00   $         60.80    $          60.80 Emails re: cert petition. C with NHJ re: same.
  10/31/2016 Kaylan Phillips     2:06       2.10        2.10 $     608.00   $       1,276.80   $       1,276.80 Review appendix
  10/31/2016 Noel Johnson        2:42       2.70        0.00 $     421.00   $       1,136.70   $             -    Bivens cert petition
  11/01/2016 Kaylan Phillips     0:06       0.10        0.10 $     608.00   $         60.80    $          60.80 Call from printer
  11/01/2016 Kaylan Phillips     1:24       1.40        1.40 $     608.00   $        851.20    $         851.20 Continue working on appendix
  11/01/2016 Kaylan Phillips     2:30       2.50        2.50 $     608.00   $       1,520.00   $       1,520.00 Work on appendix
  11/01/2016 Noel Johnson        0:30       0.50        0.00 $     421.00   $        210.50    $             -    Bivens cert petition
  11/02/2016 Kaylan Phillips     0:36       0.60        0.60 $     608.00   $        364.80    $         364.80 Review cert petition. Emails re: same.

  11/02/2016 Kaylan Phillips     1:36       1.60        1.60 $     608.00   $        972.80    $         972.80 Emails re: filing. Review rules. Finalize service list.
  11/02/2016 Kaylan Phillips     3:18       3.30        3.30 $     608.00   $       2,006.40   $       2,006.40 Work on appendix. Emails re: same.
  11/02/2016 Noel Johnson        2:00       2.00        0.00 $     421.00   $        842.00    $             -    Bivens cert petition
             Joseph
  11/03/2016 Vanderhulst         1:12       1.20        1.20 $     608.00   $        729.60    $         729.60 Help with certificate of compliance, ems re
  11/03/2016 Kaylan Phillips     0:12       0.20        0.20 $     608.00   $        121.60    $         121.60 Emails re: cert petition.
                                                                                                                Finalize cert petition. Fill in cites. Call from printer re:
  11/03/2016 Kaylan Phillips     4:30       4.50        4.50 $     608.00   $       2,736.00   $       2,736.00 same. Calls re: compliance
  11/03/2016 Noel Johnson        3:12       3.20        0.00 $     421.00   $       1,347.20   $             -    Bivens cert petition
  11/04/2016 Noel Johnson        0:54       0.90        0.90 $     421.00   $        378.90    $         378.90 Document review for hearing
  11/07/2016 Kaylan Phillips     0:18       0.30        0.30 $     608.00   $        182.40    $         182.40 C with NHJ re: case needs. Review docket.
                                                                                                                Receive and review hard copies of cert petition. Set out
  11/07/2016 Kaylan Phillips     0:18       0.30        0.30 $     608.00   $        182.40    $         182.40 mailings. Email to printer re: invoice
  11/07/2016 Kaylan Phillips     0:30       0.50        0.50 $     608.00   $        304.00    $         304.00 Team call re: next steps
  11/07/2016 Noel Johnson        0:36       0.60        0.60 $     421.00   $        252.60    $         252.60 PC with team re: injunction/discovery
                                                                                                                Document review for hearing/work on affidavit of
  11/07/2016 Noel Johnson        3:18       3.30        3.30   $   421.00   $       1,389.30   $       1,389.30 Engelbrecht



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Expenses adjusted for reimbursable and non-reimbursable.              Page 151 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                         1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                          Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
  11/08/2016 Kaylan Phillips     0:12       0.20        0.20 $    608.00    $        121.60    $         121.60 Emails re: NorCal order
  11/08/2016 Kaylan Phillips     0:30       0.50        0.50 $    608.00    $        304.00    $         304.00 Call with team re: next steps
                                                                                                                Call with team re: impact of NorCal decision. C with
  11/08/2016 Kaylan Phillips     1:00       1.00        1.00 $    608.00    $        608.00    $         608.00 NHJ re: same.
  11/08/2016 Kaylan Phillips     1:12       1.20        1.20 $    608.00    $        729.60    $         729.60 Review documents and work on injunction
  11/08/2016 Noel Johnson        0:48       0.80        0.80 $    421.00    $        336.80    $         336.80 PC with legal teams re: friday's filings
  11/08/2016 Noel Johnson        3:00       3.00        3.00 $    421.00    $       1,263.00   $       1,263.00 Work on injunction/affidavit
  11/09/2016 Kaylan Phillips     1:30       1.50        1.50 $    608.00    $        912.00    $         912.00 C with NHJ re: drafting. Review draft.
  11/09/2016 Noel Johnson        1:06       1.10        1.10 $    421.00    $        463.10    $         463.10 Work on injunction/affidavit
  11/10/2016 Kaylan Phillips     0:42       0.70        0.70 $    608.00    $        425.60    $         425.60 Emails re: filing tomorrow. C with NHJ
  11/10/2016 Kaylan Phillips     0:54       0.90        0.90 $    608.00    $        547.20    $         547.20 Call with WD re: filing. C with NHJ re: same.
  11/10/2016 Kaylan Phillips     5:42       5.70        5.70 $    608.00    $       3,465.60   $       3,465.60 Work on filing
  11/10/2016 Noel Johnson        0:18       0.30        0.30 $    421.00    $        126.30    $         126.30 PC with WD re: friday's filing
  11/10/2016 Noel Johnson        3:30       3.50        3.50 $    421.00    $       1,473.50   $       1,473.50 Work on injunction/affidavit

  11/11/2016 Kaylan Phillips     0:24       0.40        0.40 $    608.00    $        243.20    $         243.20 Receive and review SJ motion. C with WD re: same.
  11/11/2016 Kaylan Phillips     0:30       0.50        0.50 $    608.00    $        304.00    $         304.00 Emails re: brief. C with NHJ re: same.
  11/11/2016 Kaylan Phillips     2:00       2.00        2.00 $    608.00    $       1,216.00   $       1,216.00 Edit memo
  11/11/2016 Kaylan Phillips     3:06       3.10        3.10 $    608.00    $       1,884.80   $       1,884.80 Edit memo in light of SJ motion. Emails re: same.
  11/11/2016 Noel Johnson        0:24       0.40        0.40 $    421.00    $        168.40    $         168.40 PC with client re: affidavit
  11/11/2016 Noel Johnson        4:18       4.30        4.30 $    421.00    $       1,810.30   $       1,810.30 Work on injunction/affidavit
             Joseph
  11/14/2016 Vanderhulst         0:30       0.50        0.50 $    608.00    $        304.00    $         304.00 EMs re TTV report
  11/14/2016 Kaylan Phillips     0:12       0.20        0.20 $    608.00    $        121.60    $         121.60 Email re: standard for 56(d) motion. Review.
                                                                                                                C with NHJ re: next steps. Email team re: same. Set up
  11/14/2016 Kaylan Phillips     1:06       1.10        1.10 $    608.00    $        668.80    $         668.80 conference call.
  11/14/2016 Noel Johnson        0:42       0.70        0.70 $    421.00    $        294.70    $         294.70 Review IRS SJM
  11/14/2016 Noel Johnson        3:36       3.60        3.60 $    421.00    $       1,515.60   $       1,515.60 Research re: 56(d) motion
  11/15/2016 Kaylan Phillips     0:18       0.30        0.30 $    608.00    $        182.40    $         182.40 C with NHJ re: 56(d) motion
                                                                                                                Call with team. C with Carly re: same. Email to team
  11/15/2016 Kaylan Phillips     0:54       0.90        0.90 $    608.00    $        547.20    $         547.20 outlining options.
  11/15/2016 Kaylan Phillips     1:24       1.40        0.00 $    608.00    $        851.20    $            -    Review Gov't MTD and supporting documents
  11/15/2016 Noel Johnson        0:30       0.50        0.50 $    421.00    $        210.50    $         210.50 56(d) motion
  11/15/2016 Noel Johnson        0:42       0.70        0.70 $    421.00    $        294.70    $         294.70 PC with ACLJ re: Friday's hearing

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.             Page 152 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                         1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                         Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
  11/15/2016 Noel Johnson        0:42       0.70        0.70 $     421.00   $        294.70    $         294.70 Research re: 56(d) motion
  11/16/2016 Kaylan Phillips     0:18       0.30        0.30 $     608.00   $        182.40    $         182.40 Call with Bill re: hearing Friday. Emails re: same.
  11/16/2016 Kaylan Phillips     0:24       0.40        0.40 $     608.00   $        243.20    $         243.20 Email and call with Carly re: hearing Friday
  11/16/2016 Kaylan Phillips     0:42       0.70        0.70 $     608.00   $        425.60    $         425.60 C with NHJ re: outline. Review outline
                                                                                                                Work on motion for extension for time to respond.
  11/16/2016 Kaylan Phillips     0:48       0.80        0.80   $   608.00   $        486.40    $         486.40 Emails re: same.
                                                                                                                Draft motion for order requiring answer. Emails re:
  11/16/2016 Kaylan Phillips     0:54       0.90        0.90   $   608.00   $        547.20    $         547.20 same.
                                                                                                                Email from JCE re: docketing statement. Prepare and
  11/16/2016 Kaylan Phillips     1:30       1.50        1.50 $     608.00   $        912.00    $         912.00 mail same.
  11/16/2016 Noel Johnson        0:12       0.20        0.20 $     421.00   $         84.20    $          84.20 PC with Carly Gammell re: Friday's hearing
  11/16/2016 Noel Johnson        0:18       0.30        0.30 $     421.00   $        126.30    $         126.30 PC with Bill Davis re: discovery motion
  11/16/2016 Noel Johnson        1:48       1.80        1.80 $     421.00   $        757.80    $         757.80 Outline for discovery requests for hearing

  11/17/2016 Kaylan Phillips     1:30       1.50        1.50 $     608.00   $        912.00    $         912.00 Emails re: hearing tomorrow and motions for extension
  11/17/2016 Kaylan Phillips     1:54       1.90        1.90 $     608.00   $       1,155.20   $       1,155.20 Finalize and file motions
  11/17/2016 Noel Johnson        0:24       0.40        0.40 $     421.00   $        168.40    $         168.40 Revise outline for discovery requests for hearing
  11/18/2016 Kaylan Phillips     0:12       0.20        0.20 $     608.00   $        121.60    $         121.60 ECF notices re: granting of motions
  11/18/2016 Kaylan Phillips     0:36       0.60        0.60 $     608.00   $        364.80    $         364.80 Call re: hearing
  11/18/2016 Noel Johnson        0:36       0.60        0.60 $     421.00   $        252.60    $         252.60 PC with team re: hearing
  12/06/2016 Noel Johnson        0:24       0.40        0.40 $     421.00   $        168.40    $         168.40 Review transcript of status conference
                                                                                                                Research re: recent bivens actions at SCOTUS; email
  12/09/2016 Noel Johnson        1:12       1.20        0.00   $   421.00   $        505.20    $            -   re: same
                                                                                                                Research and document review re: 56(d) motion/opp. to
  12/12/2016 Noel Johnson        2:54       2.90        2.90   $   421.00   $       1,220.90   $       1,220.90 MSJ
                                                                                                                Research and document review re: 56(d) motion/opp. to
  12/13/2016 Noel Johnson        2:06       2.10        2.10   $   421.00   $        884.10    $         884.10 MSJ
                                                                                                                Research and document review re: 56(d) motion/opp. to
  12/14/2016 Noel Johnson        2:06       2.10        2.10   $   421.00   $        884.10    $         884.10 MSJ
                                                                                                                Research and document review re: 56(d) motion/opp. to
  12/15/2016 Noel Johnson        2:12       2.20        2.20   $   421.00   $        926.20    $         926.20 MSJ

  12/16/2016 Noel Johnson        2:42       2.70        2.70   $   421.00   $       1,136.70   $       1,136.70 Research and drafting re: 56(d) motion/opp. to MSJ

  12/20/2016 Noel Johnson        0:42       0.70        0.70 $     421.00   $        294.70    $         294.70 Review Government's Answer; compare to Complaint
  12/20/2016 Noel Johnson        2:06       2.10        2.10 $     421.00   $        884.10    $         884.10 Continue work on 56(d) motion


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 153 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                        1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                          Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
  12/21/2016 Noel Johnson        0:06       0.10        0.10 $     421.00   $         42.10    $          42.10 Continue work on 56(d) motion
  01/04/2017 Kaylan Phillips     0:48       0.80        0.80 $     608.00   $        486.40    $         486.40 Call with CG and NHJ. C with NHJ re: same.

  01/04/2017 Noel Johnson        0:36       0.60        0.60 $     421.00   $        252.60    $         252.60 Continue work on 56(d) motion; PC with KLP re: same
  01/04/2017 Noel Johnson        0:42       0.70        0.70 $     421.00   $        294.70    $         294.70 PC with Carly Gammill re: 56(d) motion

  01/05/2017 Noel Johnson        2:24       2.40        2.40 $     421.00   $       1,010.40   $       1,010.40 Continue work on 56(d) motion; research for same
  01/06/2017 Kaylan Phillips     0:18       0.30        0.30 $     608.00   $        182.40    $         182.40 C with NHJ

  01/06/2017 Noel Johnson        1:00       1.00        1.00 $     421.00   $        421.00    $         421.00 Continue work on 56(d) motion; research for same
  01/09/2017 Kaylan Phillips     0:06       0.10        0.10 $     608.00   $         60.80    $          60.80 C with NHJ

  01/09/2017 Noel Johnson        0:18       0.30        0.00   $   421.00   $        126.30    $            -    Review recent SCOTUS decision on qualified immunity

  01/09/2017 Noel Johnson        2:48       2.80        2.80 $     421.00   $       1,178.80   $       1,178.80 Continue work on 56(d) motion; research for same
  01/10/2017 Kaylan Phillips     0:24       0.40        0.40 $     608.00   $        243.20    $         243.20 C with NHJ
  01/10/2017 Kaylan Phillips     1:06       1.10        1.10 $     608.00   $        668.80    $         668.80 Review ACLJ papers.

  01/10/2017 Noel Johnson        6:36       6.60        6.60   $   421.00   $       2,778.60   $       2,778.60 Continue work on 56(d) motion; research for same

  01/11/2017 Kaylan Phillips     0:30       0.50        0.50   $   608.00   $        304.00    $         304.00 Update address with court. Call and emails re: same.

  01/11/2017 Noel Johnson        2:30       2.50        2.50   $   421.00   $       1,052.50   $       1,052.50 Continue work on 56(d) motion; research for same
  01/12/2017 Kaylan Phillips     0:48       0.80        0.80   $   608.00   $        486.40    $         486.40 Call with team
                                                                                                                Work on opposition - standing. Review Z Street
  01/12/2017 Kaylan Phillips     2:00       2.00        2.00 $     608.00   $       1,216.00   $       1,216.00 documents. Emails re: same.
  01/12/2017 Kaylan Phillips     2:06       2.10        2.10 $     608.00   $       1,276.80   $       1,276.80 Review documents. Online research
  01/12/2017 Noel Johnson        0:36       0.60        0.60 $     421.00   $        252.60    $         252.60 PC with Bill and Cleta re: MSJ/56(d) filings

  01/12/2017 Noel Johnson        4:12       4.20        4.20 $     421.00   $       1,768.20   $       1,768.20 Continue work on 56(d) motion; research for same
  01/13/2017 Kaylan Phillips     0:06       0.10        0.10 $     608.00   $         60.80    $          60.80 Review rules re: extension
  01/13/2017 Kaylan Phillips     0:12       0.20        0.20 $     608.00   $        121.60    $         121.60 Email to ZStreet counsel
  01/13/2017 Kaylan Phillips     0:18       0.30        0.30 $     608.00   $        182.40    $         182.40 C with NHJ
  01/13/2017 Kaylan Phillips     0:30       0.50        0.50 $     608.00   $        304.00    $         304.00 Call with Carly re: briefing
  01/13/2017 Kaylan Phillips     3:30       3.50        3.50 $     608.00   $       2,128.00   $       2,128.00 Work on draft. Z Street section, general edits.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 154 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                           1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                          Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
  01/13/2017 Noel Johnson        5:00       5.00        5.00   $   421.00   $       2,105.00   $       2,105.00 Continue work on 56(d) motion; research for same

  01/16/2017 Kaylan Phillips     0:24       0.40        0.40   $   608.00   $        243.20    $         243.20 Call with Z Street counsel. Email with team re: same.

  01/16/2017 Noel Johnson        0:42       0.70        0.70 $     421.00   $        294.70    $         294.70 Continue work on 56(d) motion; research for same
  01/17/2017 Kaylan Phillips     0:12       0.20        0.20 $     608.00   $        121.60    $         121.60 C with NHJ re: case needs.
  01/17/2017 Kaylan Phillips     1:12       1.20        1.20 $     608.00   $        729.60    $         729.60 Continue working on SJ opposition 12:52-
  01/17/2017 Kaylan Phillips     3:00       3.00        3.00 $     608.00   $       1,824.00   $       1,824.00 Review SJ documents. Work on responses.

  01/17/2017 Noel Johnson        4:18       4.30        4.30 $     421.00   $       1,810.30   $       1,810.30 Continue work on 56(d) motion; research for same
  01/18/2017 Kaylan Phillips     0:12       0.20        0.20 $     608.00   $        121.60    $         121.60 C with NHJ
  01/18/2017 Kaylan Phillips     0:12       0.20        0.20 $     608.00   $        121.60    $         121.60 Email with printer. Calls re: same.
  01/18/2017 Kaylan Phillips     2:18       2.30        2.30 $     608.00   $       1,398.40   $       1,398.40 Work on statement of undisputed facts
  01/18/2017 Kaylan Phillips     3:30       3.50        3.50 $     608.00   $       2,128.00   $       2,128.00 Continue working on opposition to SJ

  01/18/2017 Noel Johnson        5:54       5.90        5.90 $     421.00   $       2,483.90   $       2,483.90 Continue work on 56(d) motion; research for same
  01/19/2017 Kaylan Phillips     0:36       0.60        0.60 $     608.00   $        364.80    $         364.80 C with NHJ re: needs
  01/19/2017 Kaylan Phillips     2:48       2.80        2.80 $     608.00   $       1,702.40   $       1,702.40 Continue working on statement of facts
  01/19/2017 Kaylan Phillips     5:30       5.50        5.50 $     608.00   $       3,344.00   $       3,344.00 Work on edits to documents. Finalize and proof.
                                                                                                                Continue work on opp. to MSJ, 56(d) motion, Facts, file
  01/19/2017 Noel Johnson        8:30       8.50        8.50   $   421.00   $       3,578.50   $       3,578.50 same
                                                                                                                Save filings from last night. Print for courtesy copies.
  01/20/2017 Kaylan Phillips     1:00       1.00        1.00 $     608.00   $        608.00    $         608.00 Email to team. Review press.
  01/22/2017 Noel Johnson        1:00       1.00        0.00 $     421.00   $        421.00    $            -    Proof SCOTUS Cert Reply

  01/23/2017 Kaylan Phillips     1:00       1.00        1.00   $   608.00   $        608.00    $         608.00 Email service of reply brief. Email with client re: same.
                                                                                                                Emails re: cert petition reply. Call from printer re: same.
  01/23/2017 Kaylan Phillips     3:06       3.10        3.10   $   608.00   $       1,884.80   $       1,884.80 Check docket and revise service list. W

  01/23/2017 Noel Johnson        1:30       1.50        0.00   $   421.00   $        631.50    $            -    Continue work/communicatio re: SCOTUS Cert Reply
                                                                                                                Receive paper copies of brief. Organize for sending to
  01/25/2017 Kaylan Phillips     0:18       0.30        0.30   $   608.00   $        182.40    $         182.40 team
                                                                                                                Emails re: individual defendants request to talk. Check
  01/27/2017 Kaylan Phillips     0:24       0.40        0.40 $     608.00   $        243.20    $         243.20 docket
  01/30/2017 Kaylan Phillips     0:12       0.20        0.20 $     608.00   $        121.60    $         121.60 Emails re: call tomorrow
  02/02/2017 Kaylan Phillips     0:12       0.20        0.20 $     608.00   $        121.60    $         121.60 C with NHJ re: JP withdrawal. Review rules.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 155 of 156
                                                     PILF LSI Laffey Rates With Adjustments                                                         1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted    LSI Laffey       LSI Gross          LSI Laffey                          Description
                                        Hours       Hours*       Rate           Amount             Adjusted
                                                                                                    Amount
  02/09/2017 Kaylan Phillips     0:24       0.40        0.40   $   608.00   $        243.20    $         243.20 Emails re: Z street and conference call
                                                                                                                Receive and briefly review Gov't response brief. C with
  02/09/2017 Kaylan Phillips     0:42       0.70        0.70   $   608.00   $        425.60    $         425.60 NHJ. Forward to team and client. 12:00-
  02/10/2017 Kaylan Phillips     0:18       0.30        0.30   $   608.00   $        182.40    $         182.40 Review response to motion for discovery.

  02/10/2017 Kaylan Phillips     0:24       0.40        0.40 $     608.00   $        243.20    $         243.20 Set up conference call for next week. Emails re: same.
  02/10/2017 Kaylan Phillips     1:48       1.80        1.80 $     608.00   $       1,094.40   $       1,094.40 Organize and send documents. Emails re: same.
  02/13/2017 Kaylan Phillips     0:18       0.30        0.30 $     608.00   $        182.40    $         182.40 C with NHJ re: reply. Review docs/articles
  02/13/2017 Kaylan Phillips     1:00       1.00        1.00 $     608.00   $        608.00    $         608.00 Review reply. Emails re: same.
  02/13/2017 Noel Johnson        3:00       3.00        3.00 $     421.00   $       1,263.00   $       1,263.00 56(d) Reply
  02/14/2017 Kaylan Phillips     0:06       0.10        0.10 $     608.00   $         60.80    $          60.80 Emails re: reply
  02/14/2017 Kaylan Phillips     0:30       0.50        0.50 $     608.00   $        304.00    $         304.00 Conference call with ZStreet
  02/14/2017 Noel Johnson        0:18       0.30        0.30 $     421.00   $        126.30    $         126.30 Review Governments SJ Reply brief
  02/14/2017 Noel Johnson        0:36       0.60        0.60 $     421.00   $        252.60    $         252.60 PC with Z Street counsel
  02/15/2017 Kaylan Phillips     0:24       0.40        0.40 $     608.00   $        243.20    $         243.20 Emails re: case. C with NHJ re: same.
  02/16/2017 Kaylan Phillips     1:00       1.00        1.00 $     608.00   $        608.00    $         608.00 C with team re: filing today. Find log-in
                                                                                                                Review reply and prepare for filing. Circulate final
  02/16/2017 Kaylan Phillips     1:24       1.40        1.40 $     608.00   $        851.20    $         851.20 version. C with NHJ re: same.
  02/21/2017 Kaylan Phillips     0:36       0.60        0.60 $     608.00   $        364.80    $         364.80 Check docket and cert orders. Emails re: same.
                                                                                                                Review and research re: letter to client. Emails re:
  02/21/2017 Kaylan Phillips     0:36       0.60        0.60   $   608.00   $        364.80    $         364.80 same.
                                                                                                                Emails re: hearing. C with colleagues. Discuss next
  02/21/2017 Kaylan Phillips     2:00       2.00        2.00 $     608.00   $       1,216.00   $       1,216.00 steps
  02/21/2017 Noel Johnson        0:12       0.20        0.20 $     421.00   $         84.20    $          84.20 Compile cases for Bill for argument.
  02/21/2017 Noel Johnson        0:48       0.80        0.80 $     421.00   $        336.80    $         336.80 Drafting; research; email re: withdrawal
  02/22/2017 Kaylan Phillips     0:24       0.40        0.40 $     608.00   $        243.20    $         243.20 Emails re: withdrawal

                                                                                                                C with colleagues re: Bopp appearance. Review
  02/22/2017 Kaylan Phillips     2:30       2.50        2.50 $     608.00   $       1,520.00   $       1,520.00 requirements for withdrawal. Email with new counsel r
  02/22/2017 Noel Johnson        0:12       0.20        0.20 $     421.00   $         84.20    $          84.20 Transition of attorneys matters
TOTALS                                  2525.50     1999.54                 $ 947,145.00 $ 761,729.62




* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 156 of 156
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross          EAJA                           Description
                                        Hours       Hours*     Statutory    Statutory        Statutory
                                                                 Rate        Amount          Adjusted
                                                                                              Amount
             Bostrom, Barry
  05/13/2013 A.                  0:12       0.20        0.20   $   187.02 $      37.40   $         37.40 BAB- 7428: PC ZSK
             Joseph
  05/13/2013 Vanderhulst         0:30       0.50        0.50 $     187.02 $      93.51   $         93.51 JAV- C's re new TruetheVote claims
  05/13/2013 Kaylan Phillips     0:06       0.10        0.00 $     187.02 $      18.70   $           -    KLP- R BAB's RS re 28 U.S.C. 7431 claims
                                                                                                         KLP- Email with CM re whether she'll be on the
  05/13/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $      18.70   $         18.70 pleadings
                                                                                                         KLP- C NHJ re unauthorized disclosure/inspection
  05/13/2013 Kaylan Phillips     0:12       0.20        0.00 $     187.02 $      37.40   $           -   claim.
  05/13/2013 Kaylan Phillips     0:12       0.20        0.10 $     187.02 $      37.40   $         18.70 KLP- RS for complaint. R sample complaints.
  05/13/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $      37.40   $         37.40 KLP- R portion of TIGTA report
                                                                                                         KLP- R draft of complaint. D email to co-counsel re
  05/13/2013 Kaylan Phillips     0:24       0.40        0.30   $   187.02 $      74.81   $         56.11 same. Email responses.
                                                                                                         KLP- Email with BAB re RS needed. Draft to do list.
  05/13/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $      93.51   $         93.51 Email from NHJ re same.
                                                                                                         KLP- R news articles re IRS's apology, R transcript. R
  05/13/2013 Kaylan Phillips     1:12       1.20        1.20   $   187.02 $     224.42   $        224.42 responses from advocacy groups.

                                                                                                         KLP- C NHJ re whether should be a petition or
  05/13/2013 Kaylan Phillips     1:30       1.50        1.50   $   187.02 $     280.53   $        280.53 complaint. R and save court filings in other 7428 cas
                                                                                                         KLP- Work on Count One: 7428 and Count Two (1st
  05/13/2013 Kaylan Phillips     2:00       2.00        2.00   $   187.02 $     374.04   $        374.04 Amendment)
                                                                                                         KLP- C with colleagues/interns re RS needed, next
  05/13/2013 Kaylan Phillips     2:36       2.60        2.60 $     187.02 $     486.25   $        486.25 steps (throughout day).
  05/13/2013 Kevin LeRoy         0:30       0.50        0.50 $     171.00 $      85.50   $         85.50 KL- RS Federal Torts Claim Act
  05/13/2013 Kevin LeRoy         1:00       1.00        0.00 $     171.00 $     171.00   $           -    KL- RS "Unauthorized Disclosure"

  05/13/2013 Kevin LeRoy         1:00       1.00        1.00 $     171.00 $     171.00   $        171.00 KL- RS news articles for background on IRS incident
  05/13/2013 Kevin LeRoy         3:00       3.00        2.40 $     171.00 $     513.00   $        410.40 KL- RS Sec. 7428, 6501, 6103, 6104, 7431, 7213
                                                                                                         NHJ- C with legal team to discuss unauthorized
  05/13/2013 Noel Johnson        0:12       0.20        0.10   $   187.02 $      37.40   $         18.70 disclosure claim/inspection to 7428 claim
                                                                                                         NHJ- C with email to discuss needed questions for
  05/13/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $      37.40   $         37.40 complaint and facts from client
                                                                                                         NHJ- R "unauthorized disclosure" provisions and briefly
  05/13/2013 Noel Johnson        0:18       0.30        0.00   $   187.02 $      56.11   $           -   review caselaw, results for same

  05/13/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $      56.11   $         56.11 NHJ- R latest news re IRS target of conservative groups


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Expenses adjusted for reimbursable and non-reimbursable.              Page 1 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            NHJ- LR re Sec. 7431/unauthorized inspection case
  05/13/2013 Noel Johnson        0:36       0.60        0.00   $   187.02 $      112.21    $            -   law, c KLP re: whether petition or complaint.
                                                                                                           NHJ- C KLP and ZSK to discuss RS and strategy,
  05/13/2013 Noel Johnson        0:48       0.80        0.60   $   187.02 $      149.62    $        112.21 needs for compliant
                                                                                                           NHJ- Continue RS re Sec. 7431/unauthorized
  05/13/2013 Noel Johnson        1:00       1.00        0.00   $   187.02 $      187.02    $           -   inspection case law

                                                                                                            NHJ- Begin drafting Complaint; conferences throughout
  05/13/2013 Noel Johnson        8:00       8.00        6.40   $   187.02 $     1,496.16   $       1,196.93 day with KLP and ZSK to discuss same

  05/13/2013 Zachary Kester      0:18       0.30        0.00   $   187.02 $       56.11    $            -   ZSK- Email Catherine legal services agreement (n/c)
                                                                                                           ZSK- C KLP and NHJ to discuss RS and strategy,
  05/13/2013 Zachary Kester      0:48       0.80        0.60   $   187.02 $      149.62    $        112.21 needs for complaint
                                                                                                           ZSK- RS in 7431 damages; email Cleta and team re
  05/13/2013 Zachary Kester      1:06       1.10        0.00   $   187.02 $      205.72    $           -   same
             Bostrom, Barry
  05/14/2013 A.                  0:06       0.10        0.10   $   187.02 $       18.70    $         18.70 BAB- 7428: R email from KLP and P reply re parties

             Bostrom, Barry                                                                                BAB- 7428: LR standard for granting motion to seal
  05/14/2013 A.                  0:42       0.70        0.70   $   187.02 $      130.91    $        130.91 confidential documents in DC, email KLP and NHJ
             Bostrom, Barry                                                                                BAB- 7428: R emails re draft compliant, R draft
  05/14/2013 A.                  1:24       1.40        1.10   $   187.02 $      261.83    $        205.72 complaint, and P replies
                                                                                                            KLP- C NHJ re 7431 claim and whether to attach
  05/14/2013 Kaylan Phillips     0:18       0.30        0.00 $     187.02   $     56.11    $            -   documents
  05/14/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02   $     56.11    $         56.11 KLP- R news articles re IRS release, updates
  05/14/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02   $     74.81    $         74.81 KLP- EMail with client re facts needed
  05/14/2013 Kaylan Phillips     0:30       0.50        0.00 $     187.02   $     93.51    $            -   KLP- C NHJ re Bivens actions, money damages
  05/14/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02   $     93.51    $         93.51 KLP- C NHJ re viewpoint discrimination
                                                                                                           KLP- Briefly review latest draft of complaint. Emails re
  05/14/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $      112.21    $        112.21 complaint, filing, attachments.

                                                                                                           KLP- Receive and review outline of D.C. d.ct. court
  05/14/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $      112.21    $        112.21 rules. C with Jackie Flint re: pro hac. Review
                                                                                                           KLP- RS Bivens actions. Find and review sample
  05/14/2013 Kaylan Phillips     1:00       1.00        0.00   $   187.02 $      187.02    $           -   complaint.




* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.               Page 2 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory    Statutory        Statutory
                                                                 Rate        Amount          Adjusted
                                                                                              Amount
                                                                                                         KLP- Email with colleagues and co-counsel re: strategy,
  05/14/2013 Kaylan Phillips     2:30       2.50        2.50   $   187.02 $     467.55   $        467.55 complaint structure, contact information, r
                                                                                                         KL- Searched for a TIGTA Report related to IRS
  05/14/2013 Kevin LeRoy         0:30       0.50        0.50 $     171.00 $      85.50   $         85.50 scandel
  05/14/2013 Kevin LeRoy         3:24       3.40        3.40 $     171.00 $     581.40   $        581.40 KL- RS viewpoint discrimination for NHJ
                                                                                                         NHJ- Discuss needs for complaint with KLP; discuss
  05/14/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $      37.40   $         37.40 claim preclussion with KLP

                                                                                                          NHJ- Discuss "unauthorized inspection" remedies with
  05/14/2013 Noel Johnson        0:30       0.50        0.00 $     187.02 $      93.51   $           -    KLP; discuss Bivens action remedies with KLP
  05/14/2013 Noel Johnson        1:12       1.20        1.00 $     187.02 $     224.42   $        187.02 NHJ- Complaint, RS, discussion with KLP

                                                                                                         NHJ- Continue researching for and drafting Complaint,
  05/14/2013 Noel Johnson        1:12       1.20        1.00   $   187.02 $     224.42   $        187.02 conferences to discuss same with KLP and ZSK

                                                                                                         NHJ- Continue researching for and drafting Complaint,
  05/14/2013 Noel Johnson        1:42       1.70        1.40   $   187.02 $     317.93   $        261.83 conferences to discuss same with KLP and ZSK

                                                                                                         NHJ- Continue researching for and drafting Complaint,
  05/14/2013 Noel Johnson        1:48       1.80        1.40   $   187.02 $     336.64   $        261.83 conferences to discuss same with KLP and ZSK
                                                                                                         NHJ- Continue RS for and drafting Complaint, C's to
  05/14/2013 Noel Johnson        1:54       1.90        1.50   $   187.02 $     355.34   $        280.53 discuss same with KLP and ZSK
                                                                                                         NHJ- R TIGTA Report, make edits to complaint,
  05/14/2013 Noel Johnson        2:00       2.00        1.60   $   187.02 $     374.04   $        299.23 circulate to legal team for review
                                                                                                         ZSK- Mine articles for facts to put in out complaint that
  05/14/2013 Zachary Kester      1:36       1.60        1.60   $   187.02 $     299.23   $        299.23 bolster our claims

                                                                                                         ZSK- Review complaint; make suggested revisions; C
  05/14/2013 Zachary Kester      3:36       3.60        2.90   $   187.02 $     673.27   $        542.36 Noel re same and re 509(a)(2) status; review art
             Bostrom, Barry                                                                              BAB- R email from KLP, P reply re Bivens claim and
  05/15/2013 A.                  0:12       0.20        0.00   $   187.02 $      37.40   $           -   exhibits to complaint
             Bostrom, Barry
  05/15/2013 A.                  0:12       0.20        0.20   $   187.02 $      37.40   $         37.40 BAB- R emails re to do items, P replies
             Bostrom, Barry                                                                              BAB- LR personal jurisdiction over Cincinnati IRS
  05/15/2013 A.                  0:18       0.30        0.00   $   187.02 $      56.11   $           -   agents and P email to staff
             Bostrom, Barry                                                                               BAB- R email from ZSK and prepare replies re personal
  05/15/2013 A.                  0:18       0.30        0.00   $   187.02 $      56.11   $           -    jurisdiction issue



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Expenses adjusted for reimbursable and non-reimbursable.              Page 3 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                               1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
             Bostrom, Barry                                                                               BAB- R emails from ZSK, R draft sound bites, P replies
  05/15/2013 A.                  0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 re Press releases
             Bostrom, Barry
  05/15/2013 A.                  0:30       0.50        0.40   $   187.02 $       93.51   $         74.81 BAB- R and RV draft complaint
             Bostrom, Barry                                                                               BAB- R TIGTA Report on IRS using inappropriate
  05/15/2013 A.                  0:42       0.70        0.70 $     187.02   $    130.91   $        130.91 criteria for review of tax-exempt applications
  05/15/2013 Jackie Flint        0:30       0.50        0.50 $     171.00   $     85.50   $         85.50 JF- P declarations for pro hac vice motions
  05/15/2013 Jackie Flint        0:30       0.50        0.50 $     171.00   $     85.50   $         85.50 JF- RS TIGTA report
  05/15/2013 Jackie Flint        0:36       0.60        0.60 $     171.00   $    102.60   $        102.60 JF- Create motions for pro hac vice admissions

  05/15/2013 Jackie Flint        0:36       0.60        0.60   $   171.00 $      102.60   $        102.60 JF- RS special rules for declaratory judgment relief
                                                                                                          JF- RS motions to seal and motions for pro hac vice
  05/15/2013 Jackie Flint        2:00       2.00        2.00   $   171.00 $      342.00   $        342.00 admissions in the DC District Court
             Joseph                                                                                       JAV- Cons re service, Bivens arguments, RS service
  05/15/2013 Vanderhulst         5:00       5.00        4.00   $   187.02 $      935.10   $        748.08 issues, r complaint.
                                                                                                          KLP- Email from JF re motion to seal. Respond with
  05/15/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 question.

  05/15/2013 Kaylan Phillips     0:18       0.30        0.00   $   187.02 $       56.11   $           -    KLP- R KL's RS on Bivens actions. Save complaints.
                                                                                                          KLP- Email from D.C. D.Ct re pro hac vice. R info from
  05/15/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 Jackie re same.
                                                                                                          KLP- Email with Cath Kidwell re filing needs and
  05/15/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 priorities

  05/15/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02 $       93.51   $         93.51 KLP- C ZSK re press/sound bites. Emails re same.
  05/15/2013 Kaylan Phillips     1:12       1.20        1.20 $     187.02 $      224.42   $        224.42 KLP- C NHJ re priorities for filing, RS needs
                                                                                                          KLP- RS personal jurisdiction. R case law. C NHJ re
  05/15/2013 Kaylan Phillips     1:18       1.30        0.00   $   187.02 $      243.13   $           -   same.

                                                                                                          KLP- Email with colleagues and co-counsel re: updated
  05/15/2013 Kaylan Phillips     2:12       2.20        2.20 $     187.02   $    411.44   $        411.44 complaint, research needs, and next steps. Im
  05/15/2013 Kevin LeRoy         1:12       1.20        0.00 $     171.00   $    205.20   $           -    KL- RS Bivens actions for KLP
  05/15/2013 Kevin LeRoy         4:18       4.30        4.30 $     171.00   $    735.30   $        735.30 KL- RS IRS Organizational Chart
  05/15/2013 Noel Johnson        0:06       0.10        0.10 $     187.02   $     18.70   $         18.70 NHJ- R DC rules for Pro Hac Vice motions
  05/15/2013 Noel Johnson        0:06       0.10        0.10 $     187.02   $     18.70   $         18.70 NHJ- R email chain re strategy for filing complaint
                                                                                                          NHJ- C ZSK to discuss complaint and jurisdictional
  05/15/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 issues


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                                                  PILF EAJA Statutory Rates With Adjustments                                               1:13-cv-000734-RBW

   Date            Name       Time     Gross      Adjusted      EAJA      EAJA Gross          EAJA                            Description
                                       Hours       Hours*     Statutory    Statutory        Statutory
                                                                Rate        Amount          Adjusted
                                                                                             Amount
  05/15/2013 Noel Johnson       0:30       0.50        0.40   $   187.02 $      93.51   $         74.81 NHJ- Make edits to Complaint

  05/15/2013 Noel Johnson       0:30       0.50        0.50   $   187.02 $      93.51   $         93.51 NHJ- C KLP to discuss needs for exhibits and service
                                                                                                        NHJ- RS personal jurisdiction and circulate findings to
  05/15/2013 Noel Johnson       0:42       0.70        0.00   $   187.02 $     130.91   $           -   legal team

                                                                                                        NHJ- Make edits to Complaint, RS voluntary waiver of
  05/15/2013 Noel Johnson       1:00       1.00        0.80   $   187.02 $     187.02   $        149.62 constitutional rights; discuss same with KLP

                                                                                                        NHJ- C KLP and JAV to discuss first amendment
  05/15/2013 Noel Johnson       1:00       1.00        1.00   $   187.02 $     187.02   $        187.02 arguments for complaint and draft email to legal team
                                                                                                        NHJ- Review TIGTA Report and Timeline re
  05/15/2013 Noel Johnson       1:00       1.00        1.00   $   187.02 $     187.02   $        187.02 involvement of each office/department of IRS

                                                                                                         NHJ- C JAV to discuss service; C with ZSK and KLP to
  05/15/2013 Noel Johnson       1:24       1.40        0.00   $   187.02 $     261.83   $           -    discuss Bivens claims and personal jurisdictio

                                                                                                         NHJ- Discuss Bivens claims with ZSK and review
  05/15/2013 Noel Johnson       2:00       2.00        0.00   $   187.02 $     374.04   $           -    Bivens caselaw sent for ACLJ; C's with KLP and JAV t

  05/15/2013 Zachary Kester     0:06       0.10        0.10   $   187.02 $      18.70   $         18.70 ZSK- Respond to JF re pro hac vice applications

  05/15/2013 Zachary Kester     0:18       0.30        0.00   $   187.02 $      56.11   $           -    ZSK- Email Catherine the executed agreement
                                                                                                        ZSK- C NHJ re EO Journal transcript of Lois Lerner
  05/15/2013 Zachary Kester     0:24       0.40        0.40   $   187.02 $      74.81   $         74.81 comments
                                                                                                        ZSK- Email group re sealing and re the complaint; re
  05/15/2013 Zachary Kester     0:48       0.80        0.80   $   187.02 $     149.62   $        149.62 509 status, etc

                                                                                                         ZSK- R personal jurisdiction case; C NHJ re same; C
  05/15/2013 Zachary Kester     3:06       3.10        0.00   $   187.02 $     579.76   $           -    KLP re same; PC ACLJ re Bivens and APA; C NHJ r
             Bostrom, Barry
  05/16/2013 A.                 0:06       0.10        0.10   $   187.02 $      18.70   $         18.70 BAB- R email from KLP and P reply re conference call
             Bostrom, Barry                                                                             BAB- C call with Kathryn, CM, KLP, and NHJ re Issues
  05/16/2013 A.                 1:12       1.20        1.20   $   187.02 $     224.42   $        224.42 affecting filing the complaint
                                                                                                        JF- Create declarations to go with motions for pro hac
  05/16/2013 Jackie Flint       1:00       1.00        1.00 $     171.00 $     171.00   $        171.00 vice
  05/16/2013 Jackie Flint       2:00       2.00        2.00 $     171.00 $     342.00   $        342.00 JF- RS IRS employee information
             Joseph
  05/16/2013 Vanderhulst        1:00       1.00        1.00   $   187.02 $     187.02   $        187.02 JAV- Help with service qs, RS

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                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
  05/16/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Emails re PHV's
  05/16/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- R news articles re scandal.
                                                                                                          KLP- C with colleagues re Bivens claim. Emails re
  05/16/2013 Kaylan Phillips     0:24       0.40        0.00   $   187.02 $       74.81   $           -   same.
                                                                                                          KLP- C NHJ and interns re IRS agents' addresses,
  05/16/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 emails re same.
                                                                                                          KLP- C NHJ to discuss conspiracy language in
  05/16/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 complaint.
                                                                                                          KLP- R TIGTA chart re unnecessary questions. R
  05/16/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02 $       74.81   $         74.81 questions asked for TtV. Draft email to client, coll
  05/16/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02 $       93.51   $         93.51 KLP- R news articles re IRS scandal

                                                                                                          KLP- Email with colleagues and co-counsel re: updated
  05/16/2013 Kaylan Phillips     1:24       1.40        1.40   $   187.02 $      261.83   $        261.83 complaint, research needs, conference call to
                                                                                                          KLP- C call with client, CM, BAB, and NHJ re filing.
  05/16/2013 Kaylan Phillips     1:30       1.50        1.50 $     187.02   $    280.53   $        280.53 Follow up email re check list.
  05/16/2013 Kevin LeRoy         0:24       0.40        0.40 $     171.00   $     68.40   $         68.40 KL- Listened to conference call with TTV
  05/16/2013 Kevin LeRoy         1:24       1.40        1.40 $     171.00   $    239.40   $        239.40 KL- RS civil conspiracy for NHJ
  05/16/2013 Kevin LeRoy         1:30       1.50        0.00 $     171.00   $    256.50   $           -    KL- RS more Bivens cases for KLP
  05/16/2013 Kevin LeRoy         3:30       3.50        3.20 $     171.00   $    598.50   $        547.20 KL- RS addresses for EO agents
  05/16/2013 Noel Johnson        0:12       0.20        0.00 $     187.02   $     37.40   $           -    NHJ- P email to legal team re Bivens Rs

                                                                                                          NHJ- Discuss needs for home addresses of defendants
  05/16/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 with KLP; P email to Kevin re finding home addr

                                                                                                          NHJ- P email to legal team re TIGTA report
  05/16/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 acknowledgment of potential for loss of donations
                                                                                                          NHJ- R after-hours emails re claims to include in
  05/16/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 complaint and discuss same with KLP

  05/16/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 NHJ- R motion for pro hac and make edits to same
                                                                                                          NHJ- C KLP to discuss conspiracy liability and
  05/16/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 defendant's service addresses
                                                                                                          NHJ- Work with Kevin on search for address for
  05/16/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 defendants
                                                                                                          NHJ- C KLP to discuss conspiracy language in
  05/16/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 complaint


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Expenses adjusted for reimbursable and non-reimbursable.               Page 6 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          NHJ- P email to Kevin re RS concerning standard for
  05/16/2013 Noel Johnson        0:36       0.60        0.60   $   187.02 $      112.21   $        112.21 civil conspiracy liability; c with him to discu
                                                                                                          NHJ- Biven RS and edits to complain; discuss Bivens
  05/16/2013 Noel Johnson        0:48       0.80        0.00 $     187.02 $      149.62   $           -   claims with KLP
  05/16/2013 Noel Johnson        0:54       0.90        0.07 $     187.02 $      168.32   $         13.09 NHJ- Continue working on complaint

                                                                                                          NHJ- Compare questions identified in TIGTA report as
  05/16/2013 Noel Johnson        1:00       1.00        1.00   $   187.02 $      187.02   $        187.02 unnecessary to questions asked of TTV; discuss
                                                                                                          NHJ- PC with legal team and client re needs for
  05/16/2013 Noel Johnson        1:12       1.20        1.00   $   187.02 $      224.42   $        187.02 complaint and strategy
  05/17/2013 Jackie Flint        0:42       0.70        0.70   $   171.00 $      119.70   $        119.70 JF- RS potential defendant addresses

  05/17/2013 Jackie Flint        1:00       1.00        1.00   $   171.00 $      171.00   $        171.00 JF- Compile all IRS requests and catalog all responses
             Joseph
  05/17/2013 Vanderhulst         0:42       0.70        0.70 $     187.02   $    130.91   $        130.91 JAV- Final RS on services and addresses, call to clerk.
  05/17/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $     18.70   $         18.70 KLP- Email with C. Kidwell re filing timeline
  05/17/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02   $     93.51   $         93.51 KLP- R and edit press release. Emails re same.
  05/17/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02   $     93.51   $         93.51 KLP- R news articles re scandal
  05/17/2013 Kaylan Phillips     0:42       0.70        0.70 $     187.02   $    130.91   $        130.91 KLP- Emails re press needs. C JF re same
                                                                                                          KLP- Work on attachments to the complaint. Update
  05/17/2013 Kaylan Phillips     0:48       0.80        0.60   $   187.02 $      149.62   $        112.21 chart.
                                                                                                          KLP- C NHJ re parties, final complaint needs,
  05/17/2013 Kaylan Phillips     0:48       0.80        0.80   $   187.02 $      149.62   $        149.62 conspiracy.
                                                                                                          KLP- C with colleagues re attachments. R files. Email to
  05/17/2013 Kaylan Phillips     0:54       0.90        0.90   $   187.02 $      168.32   $        168.32 client re additional documents needed.
                                                                                                          KLP- Watch portion of congressional hearing, c NHJ re
  05/17/2013 Kaylan Phillips     1:00       1.00        1.00   $   187.02 $      187.02   $        187.02 same
                                                                                                          KLP- R and edit complaint. C NHJ re changes needed.
  05/17/2013 Kaylan Phillips     1:36       1.60        1.30 $     187.02 $      299.23   $        243.13 C with colleagues re RS findings
  05/17/2013 Kevin LeRoy         1:30       1.50        1.50 $     171.00 $      256.50   $        256.50 KL- RS Civil Conspiracy in the DC Circuit
  05/17/2013 Kevin LeRoy         2:18       2.30        2.30 $     171.00 $      393.30   $        393.30 KL- Assemble the TTV Appendices

  05/17/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 NHJ- C JF to discuss defendant's residence addresses

  05/17/2013 Noel Johnson        0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 NHJ- C KLP and KL to discuss conspiracy theory RS
  05/17/2013 Noel Johnson        0:30       0.50        0.40 $     187.02 $       93.51   $         74.81 NHJ- Continue drafting and editing complaint
  05/17/2013 Noel Johnson        0:36       0.60        0.50 $     187.02 $      112.21   $         93.51 NHJ- Continue drafting and editing complaint

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Expenses adjusted for reimbursable and non-reimbursable.               Page 7 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          NHJ- R and incorporate KLP's edits for complaint; make
  05/17/2013 Noel Johnson        0:36       0.60        0.50   $   187.02 $      112.21   $         93.51 other edits to complaint

                                                                                                          NHJ- Make edits to Exhibits to complaint and insert
  05/17/2013 Noel Johnson        1:06       1.10        0.90   $   187.02 $      205.72   $        168.32 citations to same in complaint; P detailed emai
                                                                                                          NHJ- Watching committee hearings on IRS scandal;
  05/17/2013 Noel Johnson        1:30       1.50        1.50   $   187.02 $      280.53   $        280.53 discuss same with KLP.
                                                                                                          NHJ- Continue drafting and editing complaint; C with
  05/17/2013 Noel Johnson        3:00       3.00        2.40   $   187.02 $      561.06   $        448.85 KLP re parties, final complaint needs.
                                                                                                          KLP- Email with colleagues re case/RS needs and filing
  05/19/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $      112.21   $        112.21 timeline.

  05/19/2013 Zachary Kester      0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 ZSK- Review filing fees and ask SLP to P pmt for same
                                                                                                          ZSK- R complaint and make comments/revisions to
  05/19/2013 Zachary Kester      0:42       0.70        0.60   $   187.02 $      130.91   $        112.21 same
             Bostrom, Barry                                                                               BAB- R email from NHJ and P reply re Civil Cover
  05/20/2013 A.                  0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 Sheet question
             Bostrom, Barry
  05/20/2013 A.                  1:06       1.10        0.90 $     187.02 $      205.72   $        168.32 BAB- R final complaint, P email to NHJ, R reply, etc
  05/20/2013 Jackie Flint        0:30       0.50        0.40 $     171.00 $       85.50   $         68.40 JF- Proofread complaint
                                                                                                          JF- Create pro hac vice admission motion and
  05/20/2013 Jackie Flint        0:30       0.50        0.50 $     171.00 $       85.50   $         85.50 declaration for JE
  05/20/2013 Jackie Flint        0:30       0.50        0.50 $     171.00 $       85.50   $         85.50 JF- Search for addresses of defendants
                                                                                                          JF- P motions and declarations for pro hac vice
  05/20/2013 Jackie Flint        1:42       1.70        1.70 $     171.00   $    290.70   $        290.70 admission
  05/20/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $     18.70   $         18.70 KLP- Draft email re filing needs for tomorrow
  05/20/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $     18.70   $         18.70 KLP- Email to CM's assistant re filing tomorrow
  05/20/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $     18.70   $         18.70 KLP- Email with JCe and JF re pro hac vice
  05/20/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $     37.40   $         37.40 KLP- Emails re media tomorrow
                                                                                                          KLP- Proofread PHV declaration. Respond with
  05/20/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 changes.
  05/20/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Work on civil cover sheet
  05/20/2013 Kaylan Phillips     0:18       0.30        0.00 $     187.02 $       56.11   $           -    KLP- Email with client re verification, press
                                                                                                          KLP- Print and sign PHV declaration; email with JCE re:
  05/20/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 same. Finalize NHJ and my declaration.
                                                                                                          KLP- C NHJ and Kevin LeRoy re service needs. Emails
  05/20/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 re same.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.               Page 8 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory    Statutory        Statutory
                                                                 Rate        Amount          Adjusted
                                                                                              Amount
                                                                                                         KLP- PC with client re filing. Email with client's media
  05/20/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02 $      74.81   $         74.81 consultant re same.
  05/20/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02 $      74.81   $         74.81 KLP- R additional addresses needed.

  05/20/2013 Kaylan Phillips     0:30       0.50        0.00   $   187.02 $      93.51   $           -    KLP- Email with Cm and colleagues re filing and press

  05/20/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02 $      93.51   $         93.51 KLP- Email with colleagues re case needs/check list
  05/20/2013 Kaylan Phillips     0:36       0.60        0.60 $     187.02 $     112.21   $        112.21 KLP- Work on updating exhibits. Finalize.
  05/20/2013 Kaylan Phillips     1:00       1.00        0.80 $     187.02 $     187.02   $        149.62 KLP- R complaint. Help finalize and circulate
                                                                                                         KLP- Email with colleagues re press release. RV and
  05/20/2013 Kaylan Phillips     1:12       1.20        0.00   $   187.02 $     224.42   $           -   resend. R news articles re True the Vote.
                                                                                                         KLP- C NHJ re case needs, civil cover sheet, exhibits,
  05/20/2013 Kaylan Phillips     1:30       1.50        1.50 $     187.02 $     280.53   $        280.53 etc.
  05/20/2013 Kevin LeRoy         0:30       0.50        0.50 $     171.00 $      85.50   $         85.50 KL- C NHJ and KLP about next steps in lawsuit
  05/20/2013 Kevin LeRoy         1:00       1.00        0.80 $     171.00 $     171.00   $        136.80 KL- Proofread complaint

                                                                                                         KL- Work on obtaining service information for TTV
  05/20/2013 Kevin LeRoy         4:30       4.50        4.50   $   171.00 $     769.50   $        769.50 Case; work on obtaining addresses for defendants
                                                                                                         NHJ- RS re Sec. 6103 and sharing of return information
  05/20/2013 Noel Johnson        0:18       0.30        0.00   $   187.02 $      56.11   $           -   with other federal agencies
                                                                                                         NHJ- R emails from weekend; make changes to
  05/20/2013 Noel Johnson        0:18       0.30        0.20   $   187.02 $      56.11   $         37.40 complaint

  05/20/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $      74.81   $         74.81 NHJ- C KLP and KL re: service needs. Emails re same.
                                                                                                         NHJ- C KLP to discuss needs for exhibits; recreate
  05/20/2013 Noel Johnson        1:00       1.00        1.00   $   187.02 $     187.02   $        187.02 exhibits to complaint and proof same

                                                                                                         NHJ- Conferences throughout day with KLP to discuss
  05/20/2013 Noel Johnson        2:12       2.20        2.20   $   187.02 $     411.44   $        411.44 needs and strategy for complaint, service and f

                                                                                                         NHJ- Continue discussing needs for complaint with
  05/20/2013 Noel Johnson        2:18       2.30        1.80   $   187.02 $     430.15   $        336.64 legal team; continue incorporating comments and s
                                                                                                         NHJ- Proofread complaint; continue making edits to
  05/20/2013 Noel Johnson        2:30       2.50        2.00   $   187.02 $     467.55   $        374.04 complaint; civil cover sheet

  05/20/2013 Zachary Kester      0:18       0.30        0.20   $   187.02 $      56.11   $         37.40 ZSK- R complaint, comment
                                                                                                         ZSK- Trip to office from home to sign PHV; C KLP re
  05/20/2013 Zachary Kester      0:36       0.60        0.60   $   187.02 $     112.21   $        112.21 complaint and filing

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 9 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
                                                                                                           ZSK- R press release and website news fee; email to
  05/20/2013 Zachary Kester      0:54       0.90        0.00   $   187.02 $     168.32    $           -    Cleta, JF, etc re same
             Bostrom, Barry                                                                               BAB- R Washington Post article on True the Vote suit
  05/21/2013 A.                  0:12       0.20        0.20 $     187.02 $      37.40    $         37.40 against IRS
  05/21/2013 Jackie Flint        0:36       0.60        0.60 $     171.00 $     102.60    $        102.60 JF- Create summons
                                                                                                          KLP- Check docket and download issued summonses.
  05/21/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 Calls/emails to Cath re service.
                                                                                                          KLP- Emails from co-counsel and client re filing today,
  05/21/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 media.

                                                                                                          KLP- Finalize pro hac motions. Email with Cath Kidwell
  05/21/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 re same. Check docket and download docs.

                                                                                                          KLP- Work on corprorate disclosure statement. Email
  05/21/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 with client and co-counsel re same. Check docke
                                                                                                          KLP- R news articles re lawsuit and other suits, C with
  05/21/2013 Kaylan Phillips     1:00       1.00        1.00   $   187.02 $     187.02    $        187.02 NHJ.

                                                                                                          KLP- Finalize documents for filing. Review summonses,
  05/21/2013 Kaylan Phillips     2:24       2.40        2.40   $   187.02 $     448.85    $        448.85 civil cover sheet, and motions. Calls and ema
                                                                                                          KLP- Draft cover letters for certified mail. P mailings.
  05/21/2013 Kaylan Phillips     2:30       2.50        2.50 $     187.02 $     467.55    $        467.55 Take to post office and mail.
  05/21/2013 Kevin LeRoy         1:36       1.60        1.60 $     171.00 $     273.60    $        273.60 KL- Searched for addresses of defendants

  05/21/2013 Kevin LeRoy         2:00       2.00        2.00 $     171.00 $     342.00    $        342.00 KL- Assembled complaints to be mailed to defendants
  05/21/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $      37.40    $         37.40 NHJ- Finalize civil cover sheet
                                                                                                          NHJ- R complaint filed against IRS by Cincinnati tea
  05/21/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 party group; discuss same with KLP
                                                                                                          NHJ- Work with KLP to create cover letters for service
  05/21/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 mailings
                                                                                                          NHJ- P affidavits for service of complaint and filed
  05/21/2013 Noel Johnson        0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 documents so far
                                                                                                          NHJ- Continue searching for home residences for
  05/21/2013 Noel Johnson        1:00       1.00        1.00   $   187.02 $     187.02    $        187.02 defendants

                                                                                                          NHJ- Conferences throughout morning with KLP re
  05/21/2013 Noel Johnson        1:30       1.50        1.50   $   187.02 $     280.53    $        280.53 needs for filing initiating documents; needs for se




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Expenses adjusted for reimbursable and non-reimbursable.              Page 10 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
                                                                                                          NHJ- Print all filed documents and P certified mailings
  05/21/2013 Noel Johnson        4:12       4.20        4.20   $   187.02 $     785.48    $        785.48 for service of three defendants; drive to/f

                                                                                                          ZSK- Email JF; Cleta; many others with copies of the
  05/21/2013 Zachary Kester      2:06       2.10        2.10   $   187.02 $     392.74    $        392.74 complaint; work with staff on service of proce
             Bostrom, Barry
  05/22/2013 A.                  0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 BAB- R attachments to the complaint
                                                                                                          KLP- Emails from client and co-counsel re press, etc.
  05/22/2013 Kaylan Phillips     0:30       0.50        0.00   $   187.02 $       93.51   $           -   Review articles.
                                                                                                          KLP- Calls and emails with Cath Kidwell re service.
  05/22/2013 Kaylan Phillips     0:54       0.90        0.90   $   187.02 $     168.32    $        168.32 Check docket. P summons as needed.

  05/22/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 NHJ- R overnight emails re service and media inquiries

                                                                                                          NHJ- R emails re needed RS; P replies to same; R
  05/22/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 emails forwarded by ZSK re thoughts on our claims

  05/22/2013 Noel Johnson        0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 NHJ- Continue watching House hearing re IRS targeting
                                                                                                          NHJ- Watch and take notes on House Committee
  05/22/2013 Noel Johnson        2:24       2.40        2.40   $   187.02 $     448.85    $        448.85 hearings re IRS targeting

  05/22/2013 Zachary Kester      0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 ZSK- Submit PHV form

                                                                                                          ZSK- Email Pete Lepiscopo and the ADF list serve the
  05/22/2013 Zachary Kester      0:48       0.80        0.80 $     187.02 $     149.62    $        149.62 complaint and various documents; field questio
  05/23/2013 Jackie Flint        1:00       1.00        1.00 $     171.00 $     171.00    $        171.00 JF- RS on Judge Reggie B. Walton

  05/23/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- Check docket, receive and save ECF information
  05/23/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- Email from CM re service
  05/23/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Emails re RS areas, ideas

                                                                                                          KLP- C with Cath Kidwell re summonses and service.
  05/23/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 Email re same. Fill out and send R. Bell's summo

                                                                                                          KLP- Email from CM re preparing for motion to dismiss,
  05/23/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 respond. Send out RS requests to the interns
                                                                                                          KLP- ECF notice re issued summonses. Download and
  05/23/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 send to Cath with explanation.

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Expenses adjusted for reimbursable and non-reimbursable.              Page 11 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                               1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
                                                                                                          NHJ- Complete ECF registration form and email to
  05/23/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 court

  05/23/2013 Zachary Kester      0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 ZSK- Email ECF from to Court
                                                                                                          ZSK- Review articles and press; email KLP and NHJ re
  05/23/2013 Zachary Kester      0:18       0.30        0.00   $   187.02 $       56.11   $           -   same
  05/24/2013 Kaylan Phillips     0:12       0.20        0.00   $   187.02 $       37.40   $           -    KLP- Emails re press. IM with NHJ re same.
                                                                                                          KLP- Emails re service of Lois Lerner. Review news
  05/24/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02 $      74.81    $         74.81 articles re same.
  05/24/2013 Kevin LeRoy         4:54       4.90        0.00 $     171.00 $     837.90    $           -    KL- RS Bivens actions
                                                                                                          JF- Find transcript of May 17th House Ways and Means
  05/28/2013 Jackie Flint        0:42       0.70        0.70   $   171.00 $     119.70    $        119.70 Committee hearing
                                                                                                          JF- RS discovery usage to establish personal
  05/28/2013 Jackie Flint        1:12       1.20        0.00 $     171.00 $     205.20    $           -   jurisdiction
  05/28/2013 Jackie Flint        4:06       4.10        4.10 $     171.00 $     701.10    $        701.10 JF- RS IRS Manual for Examination process
  05/28/2013 Kevin LeRoy         0:12       0.20        0.00 $     171.00 $      34.20    $           -    KL- RS Bivens actions
                                                                                                          NHJ- C JF to discuss her RS re IRS manual written
  05/28/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 examination procedures
                                                                                                          NHJ- PC with ACLJ re defendant's addresses; search
  05/28/2013 Noel Johnson        0:18       0.30        0.30 $     187.02 $      56.11    $         56.11 email for same
  05/29/2013 Jackie Flint        1:18       1.30        1.30 $     171.00 $     222.30    $        222.30 JF- RS on DC jurisdictional discovery
                                                                                                          JF- Read Cincinnati complaint for Privacy Act analysis
  05/29/2013 Jackie Flint        3:12       3.20        3.20   $   171.00 $     547.20    $        547.20 in comparison with TTV
                                                                                                          KLP- Watch O'Reilly Factor segment. Email with client
  05/29/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02 $      56.11    $         56.11 and co-counsel re same.
  05/29/2013 Kevin LeRoy         1:30       1.50        1.50 $     171.00 $     256.50    $        256.50 KL- RS privacy act
                                                                                                          NHJ- Discuss TTV fee agreement with ZSK; P reply
  05/29/2013 Noel Johnson        0:06       0.10        0.00   $   187.02 $       18.70   $           -   email to Cath Kidwell re same

  05/29/2013 Noel Johnson        0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 NHJ- Briefly review complaint filed by ACLJ against IRS
  05/29/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 NHJ- Test and change ECF login info
                                                                                                          NHJ- Discuss Privacy Act RS and claim with interns
  05/29/2013 Noel Johnson        0:30       0.50        0.00   $   187.02 $       93.51   $           -   and ZSK (in part)
                                                                                                          ZSK- C interns and NHJ re arguments and re
  05/29/2013 Zachary Kester      0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 assignments
  05/30/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- Email with NHJ re verification form



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Expenses adjusted for reimbursable and non-reimbursable.              Page 12 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                           KL- RS privacy act; look through appendices for
  05/30/2013 Kevin LeRoy         3:36       3.60        0.00   $   171.00 $     615.60    $           -    requests for donor information; meeting with NHJ ab
                                                                                                          NHJ- RS judge assignment for ACLJ case; P email to
  05/30/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 legal team re same

                                                                                                          NHJ- Email correspondence with client re IRS inquires
  05/30/2013 Noel Johnson        0:18       0.30        0.30 $     187.02   $    56.11    $         56.11 and verification page for complaint; assign R
  05/30/2013 Noel Johnson        0:18       0.30        0.30 $     187.02   $    56.11    $         56.11 NHJ- R latest news re client and case
  05/30/2013 Noel Johnson        0:30       0.50        0.00 $     187.02   $    93.51    $           -    NHJ- C KL to discuss Privacy Act RS
  05/30/2013 Noel Johnson        0:36       0.60        0.00 $     187.02   $   112.21    $           -    NHJ- C KL to continue discussing Privacy Act RS
  05/31/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- Email to Cath Kidwell re service updates
                                                                                                          KLP- C NHJ to catch up on completed RS and
  05/31/2013 Kaylan Phillips     0:18       0.30        0.20 $     187.02 $      56.11    $         37.40 amendments to complaint.
  05/31/2013 Kevin LeRoy         1:18       1.30        1.30 $     175.00 $     227.50    $        227.50 KL- RS privacy act, email NHJ about RS
  05/31/2013 Noel Johnson        0:12       0.20        0.00 $     187.02 $      37.40    $           -    NHJ- P emails to KL re Privacy Act RS
                                                                                                          NHJ- C KLP to catch her up on completed RS and
  05/31/2013 Noel Johnson        0:18       0.30        0.20   $   187.02 $       56.11   $         37.40 amendments to complaint

  05/31/2013 Zachary Kester      0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 ZSK- Email Carly Gamill re process server
                                                                                                          JF- Create matrix of date of service and expected dates
  06/03/2013 Jackie Flint        0:18       0.30        0.30 $     175.00   $    52.50    $         52.50 of answers
  06/03/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 KLP- Email with NHJ re service.
  06/03/2013 Kevin LeRoy         0:36       0.60        0.60 $     175.00   $   105.00    $        105.00 KL- RS privacy act
  06/03/2013 Kevin LeRoy         0:54       0.90        0.90 $     175.00   $   157.50    $        157.50 KL- C ZSK and NHJ re TTV-7428
  06/03/2013 Kevin LeRoy         3:54       3.90        3.90 $     175.00   $   682.50    $        682.50 KL- RS Anti-injunction act
  06/03/2013 Kevin LeRoy         4:12       4.20        4.20 $     175.00   $   735.00    $        735.00 KL- RS Anti-injunction act
                                                                                                          NHJ- Search for certificates of service; email to KLP re
  06/03/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 same

  06/03/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 NHJ- C KL to narrow scope of Anti-Injunction Act RS
                                                                                                          NHJ- Emails re service of defendants to KLP and Cathy
  06/03/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 Kidwell

                                                                                                          NHJ- R invoices and certificates of service; review
  06/03/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 FRCP re service of US employees; assign project


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                                                   PILF EAJA Statutory Rates With Adjustments                                               1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
  06/03/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 NHJ- R IRS Manual re compliance with Privacy Act

                                                                                                          NHJ- R partial transcript of House Overnight Committee
  06/03/2013 Noel Johnson        0:24       0.40        0.40 $     187.02 $       74.81   $         74.81 interviews in Cinci. IRS agents; review news
  06/03/2013 Noel Johnson        0:30       0.50        0.50 $     187.02 $       93.51   $         93.51 NHJ- C KL to discuss Anti-Injunction Act RS
                                                                                                          NHJ-R KL's Privacy Act rs; discuss with him; assign
  06/03/2013 Noel Johnson        0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 follow up RS re same
                                                                                                          NHJ- R complaint in Linchpins for Liberty v. IRS, make
  06/03/2013 Noel Johnson        0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 notes re same
                                                                                                          NHJ- C ZSK and interns to discuss issues re Anti-
  06/03/2013 Noel Johnson        0:48       0.80        0.70   $   187.02 $     149.62    $        130.91 Injunction Act and amendments to complaint
                                                                                                          NHJ- View stream of hearing of house oversight
  06/03/2013 Noel Johnson        0:54       0.90        0.90   $   187.02 $     168.32    $        168.32 committee with new IRS commissioner
                                                                                                          NHJ- R DC circuit case law on anti-injunction act and
  06/03/2013 Noel Johnson        1:06       1.10        1.10   $   187.02 $     205.72    $        205.72 administrative procedures act

                                                                                                          ZSK- R media coverage, tax blog, and legal periodicals
  06/03/2013 Zachary Kester      1:00       1.00        0.90   $   187.02 $     187.02    $        168.32 for legal theories; conduct RS into APA and

  06/04/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Receive and briefly review returns of service
  06/04/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02 $       74.81   $         74.81 KLP- R news articles re IRS lavish spending
  06/04/2013 Kaylan Phillips     0:30       0.50        0.40 $     187.02 $       93.51   $         74.81 KLP- C NHJ and ZSK re amending the complaint

  06/04/2013 Kaylan Phillips     0:30       0.50        0.40   $   187.02 $       93.51   $         74.81 KLP- C NHJ re needs for complaint and ongoing RS.
                                                                                                          NHJ- Email correspondence with KL re anti-injunction
  06/04/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 action RS
                                                                                                          NHJ- R IRS Manual re additional questioning of tax-
  06/04/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 exempt applicants; R caw law interpreting force
                                                                                                          NHJ- Continue reviewing case law interpreting anti-
  06/04/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 injunction act

  06/04/2013 Noel Johnson        0:30       0.50        0.40   $   187.02 $       93.51   $         74.81 NHJ- C KLP re needs for complaint and ongoing RS

                                                                                                           NHJ- Continue reviewing case law interpreting Anti-
  06/04/2013 Noel Johnson        0:36       0.60        0.00   $   187.02 $     112.21    $           -    injunction Act and Administrative Procedures Act
                                                                                                          NHJ- C KLP and ZSK to discuss same and arguments
  06/04/2013 Noel Johnson        0:48       0.80        0.80   $   187.02 $     149.62    $        149.62 for case


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Expenses adjusted for reimbursable and non-reimbursable.              Page 14 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          NHJ- View testimony before ways and means
  06/04/2013 Noel Johnson        0:54       0.90        0.90   $   187.02 $     168.32    $        168.32 committee from groups targeted by IRS
                                                                                                          NHJ- R KL's Anti-Injunction Act RS; R caw law cited
  06/04/2013 Noel Johnson        1:54       1.90        1.90   $   187.02 $     355.34    $        355.34 therein

  06/04/2013 Zachary Kester      0:30       0.50        0.40   $   187.02 $       93.51   $         74.81 ZSK- C NHJ and KLP re amending complaint.

  06/05/2013 Eric C. Bohnet      0:30       0.50        0.50 $     187.02   $    93.51    $         93.51 ECB- PC KP and NHJ re discovery and jurisdiction RS
  06/05/2013 Eric C. Bohnet      1:36       1.60        1.60 $     187.02   $   299.23    $        299.23 ECB- RS and report on discovery timing rules
  06/05/2013 Eric C. Bohnet      2:06       2.10        2.10 $     187.02   $   392.74    $        392.74 ECB- RS and report on jurisdictional discovery
  06/05/2013 Jackie Flint        0:30       0.50        0.50 $     175.00   $    87.50    $         87.50 JF- 5th Amendment Equal Protection RS
  06/05/2013 Jackie Flint        0:30       0.50        0.50 $     175.00   $    87.50    $         87.50 JF- Create list of Judge Walton General Orders
  06/05/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- C NHJ re equal protection claim.
  06/05/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 KLP- R district judge's standing orders
                                                                                                          KLP- Emails re phone call tomorrow, discovery, and
  06/05/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02   $     56.11   $         56.11 next steps
  06/05/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02   $     56.11   $         56.11 KLP- R news articles re scandal
  06/05/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02   $     93.51   $         93.51 KLP- Emails re returns of service
  06/05/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02   $     93.51   $         93.51 KLP- PC with NHJ and ECB re case needs
                                                                                                          NHJ- Email correspondence with Cath Kidwell we:
  06/05/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 affidavits for service

  06/05/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 NHJ- Email correspondence with ECB re discovery
                                                                                                          NHJ- C KLP to discuss equal protection claim; assign
  06/05/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 needed RS re same to JF
                                                                                                          NHJ- Continue reviewing case law interpreting anti-
  06/05/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 injunction act- Bob Jones vs. Simon
                                                                                                          NHJ- R emails from Cleta; discuss same with KLP; P
  06/05/2013 Noel Johnson        0:24       0.40        0.40 $     187.02 $      74.81    $         74.81 reply to same
  06/05/2013 Noel Johnson        0:36       0.60        0.60 $     187.02 $     112.21    $        112.21 NHJ- PC with KLP and Eric re discovery
                                                                                                          NHJ- RS IRS and Treasury regulations re permissible
  06/05/2013 Noel Johnson        0:42       0.70        0.70 $     187.02 $     130.91    $        130.91 scope of determinations process
  06/05/2013 Noel Johnson        0:48       0.80        0.80 $     187.02 $     149.62    $        149.62 NHJ- C KLP to discuss RS needs and discovery
                                                                                                          NHJ- Continue reviewing case law re Privacy Act
  06/05/2013 Noel Johnson        0:48       0.80        0.80   $   187.02 $     149.62    $        149.62 standing requirements and pleading requirements



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                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          NHJ- Continue reviewing case law re: privacy act and
  06/05/2013 Noel Johnson        2:00       2.00        1.80   $   187.02 $     374.04    $        336.64 administrative procedures act claims; prepare
                                                                                                          ECB- Exchanged email with NHJ re minimum contacts
  06/06/2013 Eric C. Bohnet      0:30       0.50        0.50 $     187.02 $      93.51    $         93.51 pleading requirements
  06/06/2013 Jackie Flint        0:12       0.20        0.20 $     175.00 $      35.00    $         35.00 JF- C NHJ on Due Process RS
  06/06/2013 Jackie Flint        4:24       4.40        4.40 $     175.00 $     770.00    $        770.00 JF- RS First Amendment Equal Protection

  06/06/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Emails re phone conference with co-counsel
  06/06/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 KLP- Emails from ECB re discovery
  06/06/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 KLP- Emails re RS findings for potential claims
                                                                                                          KLP- Call to potential consulting attorney, leave
  06/06/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 message. Return call.

  06/06/2013 Kaylan Phillips     0:36       0.60        0.60 $     187.02   $   112.21    $        112.21 KLP- C ZSK re consulting attorney. C NHJ re same.
  06/06/2013 Kaylan Phillips     0:48       0.80        0.70 $     187.02   $   149.62    $        130.91 KLP- C NHJ re amended complaint
  06/06/2013 Kaylan Phillips     1:00       1.00        1.00 $     187.02   $   187.02    $        187.02 KLP- Watch Oversight Committee meeting
  06/06/2013 Noel Johnson        0:18       0.30        0.00 $     187.02   $    56.11    $           -    NHJ- P detailed email to KL: APA Rs assignment

  06/06/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 NHJ- C KLP to discuss contract attorney work on case

                                                                                                          NHJ- R news on recent congressional investigation
  06/06/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 interviews of IRS employees; circulate to legal t
                                                                                                          NHJ- Watching House Committee hearing on IRS
  06/06/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 spending and waste
                                                                                                          NHJ- Review Jackie’s research re: discovery to
  06/06/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 establish jurisdiction; prepare reply email to Eric
                                                                                                          NHJ- Continue reviewing case law re Equal
  06/06/2013 Noel Johnson        0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 Protection/First Amendment
                                                                                                          NHJ- RS re availability of attorney fees under Equal
  06/06/2013 Noel Johnson        0:48       0.80        0.80   $   187.02 $     149.62    $        149.62 Access to Justice Act
  06/06/2013 Noel Johnson        0:54       0.90        0.90   $   187.02 $     168.32    $        168.32 NHJ- LR re First Amendment retaliation
                                                                                                          NHJ- Review Jackie’s research re: Equal
                                                                                                          Protection/First Amendment claim; research and review
  06/06/2013 Noel Johnson        2:42       2.70        2.70   $   187.02 $     504.95    $        504.95 case
  06/07/2013 Jackie Flint        1:06       1.10        1.10   $   175.00 $     192.50    $        192.50 JF- RS on First Amendment/equal protection



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                                                   PILF EAJA Statutory Rates With Adjustments                                               1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
  06/07/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02 $       93.51   $         93.51 KLP- Call with CM, JCE, NHJ, and ZSK re case needs
  06/07/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 NHJ- R exemplars of requests for production
  06/07/2013 Noel Johnson        0:30       0.50        0.50 $     187.02 $       93.51   $         93.51 NHJ- PC with Cleta and John re discovery
                                                                                                          NHJ- R FRCP concerning time to respond; update
  06/07/2013 Noel Johnson        0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 service matrix and circulate for review

                                                                                                          NHJ- Continue reviewing first amendment/equal
  06/07/2013 Noel Johnson        0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 protection case law- Taxation with Representation v.
                                                                                                          ZSK- PC Cleta, John, NHJ, and KLP re discovery
  06/07/2013 Zachary Kester      0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 questions.

                                                                                                          ZSK- Review discovery examplars; email Mike Wilkins
  06/07/2013 Zachary Kester      0:30       0.50        0.50 $     187.02   $    93.51    $         93.51 re same; email KP & NJ exemplars; review Cleta’
  06/10/2013 Jackie Flint        0:12       0.20        0.20 $     175.00   $    35.00    $         35.00 JF- Look for Motion to Compel sample
  06/10/2013 Jackie Flint        3:30       3.50        3.50 $     175.00   $   612.50    $        612.50 JF- IRS handbook RS for discovery rules
  06/10/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- C ZSK re Judge assignment. Send link.
                                                                                                          KLP- Email re help for cases. Make game plan. C with
  06/10/2013 Kaylan Phillips     0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 colleagues re same.

  06/10/2013 Kevin LeRoy         3:12       3.20        3.20   $   175.00 $     560.00    $        560.00 KL- RS discovery; look for Congressional transcript
                                                                                                          NHJ- C KL to discuss his RS re motions to compel
  06/10/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 discovery
                                                                                                          NHJ- C KL adn KLP to update him on needs for case
  06/10/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 and assign research going forward
  06/10/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 NHJ- C KLP to discuss RS needs for discovery
                                                                                                          NHJ- RS and R case law re motions to compel
  06/10/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 discovery involving IRS as party
                                                                                                          NHJ- C KL and JF to assign RS projects for next few
  06/10/2013 Noel Johnson        0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 days
  06/10/2013 Noel Johnson        0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 NHJ- C KLP and interns to assign RS projects
                                                                                                          NHJ- C KLP to work plan for assisting attorneys at
  06/10/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 Foley

                                                                                                          NHJ- R email from Cleta re discovery; RS and save
  06/10/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 samples/examples of requests for production of do



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                                                   PILF EAJA Statutory Rates With Adjustments                                               1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          ZSK- Review articles describing IRS agents’ names and
  06/10/2013 Zachary Kester      0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 roles in leaks; research names and contact in

  06/10/2013 Zachary Kester      1:30       1.50        1.50 $     187.02 $     280.53    $        280.53 ZSK- RV budget for Cleta; send email re same
  06/11/2013 Jackie Flint        3:36       3.60        3.60 $     175.00 $     630.00    $        630.00 JF- First Amendment Equal Protection RS
                                                                                                          KLP- C NHJ re memo of legal claims and perceived
  06/11/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 weaknesses.
                                                                                                          KLP- R news articles re IRS scandals and additional
  06/11/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 information. Save.
                                                                                                          KLP- Emails with co-counsel re conference call and
  06/11/2013 Kaylan Phillips     0:15       0.30        0.30 $     187.02   $    56.11    $         56.11 next steps
  06/11/2013 Kaylan Phillips     0:30       0.50        0.00 $     187.02   $    93.51    $           -    KLP- C NHJ re APA claim. R books.
  06/11/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02   $    93.51    $         93.51 KLP- Work on summary of claims
  06/11/2013 Kevin LeRoy         4:06       4.10        3.70 $     175.00   $   717.50    $        647.50 KL- RS discovery; RS APA, AIA, PA

  06/11/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 NHJ- C JF to discuss scope of 5th Amendment RS
                                                                                                          NHJ- C KLP to divide work for legal memo on current
  06/11/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 and new claims
                                                                                                          NHJ- C KLP and ZSK to discuss legal memo for current
  06/11/2013 Noel Johnson        0:18       0.30        0.20   $   187.02 $       56.11   $         37.40 and new claims
                                                                                                          NHJ- RS re injunctive relief under Declaratory
  06/11/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 Judgment Act

  06/11/2013 Noel Johnson        0:24       0.40        0.30   $   187.02 $       74.81   $         56.11 NHJ- Continue working on legal memo for new claims

                                                                                                          NHJ- C KLP re IRS authority to promulgate rules
  06/11/2013 Noel Johnson        0:48       0.80        0.80   $   187.02 $     149.62    $        149.62 governing exemption determinations; conduct legal R
                                                                                                          NHJ- Begin drafting legal memo on potential new
  06/11/2013 Noel Johnson        1:00       1.00        0.90   $   187.02 $     187.02    $        168.32 claims
                                                                                                          NHJ- Continue working on legal memo for new claims;
  06/11/2013 Noel Johnson        1:42       1.70        1.50   $   187.02 $     317.93    $        280.53 C KLP to discuss same

  06/11/2013 Zachary Kester      1:00       1.00        1.00   $   187.02 $     187.02    $        187.02 ZSK- RV buget per Cleta's comments; resend same
                                                                                                          KLP- C NHJ re content of house of committee interview
  06/12/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 transcripts.
  06/12/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- R email re service matrix
  06/12/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- R and save articles re IRS scandal

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                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
  06/12/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 KLP- Work on summary of claims

  06/12/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 KLP- Email with ACLJ re arguments. R their docket.

                                                                                                          KLP- R news articles re transcripts of House
  06/12/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 investigation. C with KL re tracking transcripts down.
                                                                                                          KLP- Watch broadcast on voter integrity, email
  06/12/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02   $    93.51    $         93.51 colleagues and co-counsel re same
  06/12/2013 Kaylan Phillips     1:00       1.00        1.00 $     187.02   $   187.02    $        187.02 KLP- R text books re claims. C NHJ re same.
  06/12/2013 Kevin LeRoy         3:18       3.30        0.00 $     175.00   $   577.50    $           -    KL- RS APA for NHJ
  06/12/2013 Noel Johnson        0:06       0.10        0.00 $     187.02   $    18.70    $           -    NHJ- R KL's RS re APA claims
                                                                                                          NHJ- Continue reviewing tax law treatise and tax
  06/12/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 regulations re IRS authority and procedure to issu

  06/12/2013 Noel Johnson        0:12       0.20        0.00   $   187.02 $       37.40   $           -    NHJ- P email to KL re needed RS on qualified immunity

                                                                                                          NHJ- R latest news re content of house committee
  06/12/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 interview transcripts; discuss same with KLP
                                                                                                          NHJ- Continue working on legal memo re potential new
  06/12/2013 Noel Johnson        0:30       0.50        0.40   $   187.02 $       93.51   $         74.81 claims
                                                                                                          NHJ- Continue working on legal memo re potential new
  06/12/2013 Noel Johnson        0:42       0.70        0.60   $   187.02 $     130.91    $        112.21 claims
                                                                                                          NHJ- Continue legal RS re qualified immunity and
  06/12/2013 Noel Johnson        0:48       0.80        0.00   $   187.02 $     149.62    $           -   Bivens actions against IRS agents
                                                                                                           NHJ- Research re: necessary parties under
                                                                                                           administrative procedures; research and review case
  06/12/2013 Noel Johnson        1:06       1.10        0.00   $   187.02 $     205.72    $           -    law a
                                                                                                          ZSK- R articles and current news; email KLP and NHJ
  06/12/2013 Zachary Kester      0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 re same
                                                                                                          KLP- Email with co-counsel re possibility of writ of
  06/13/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 mandamus.
  06/13/2013 Kaylan Phillips     0:18       0.30        0.00 $     187.02 $       56.11   $           -    KLP- C NHJ re APA claim
                                                                                                          KLP- R NHJ's summary of claims. Edit and return.
  06/13/2013 Kaylan Phillips     0:36       0.60        0.50 $     187.02   $   112.21    $         93.51 Emails re same.
  06/13/2013 Kaylan Phillips     1:18       1.30        1.20 $     187.02   $   243.13    $        224.42 KLP- Work on summary of claims
  06/13/2013 Kevin LeRoy         0:18       0.30        0.00 $     175.00   $    52.50    $           -    KL- RS APA
  06/13/2013 Kevin LeRoy         1:30       1.50        0.00 $     175.00   $   262.50    $           -    KL- RS qualified immunity


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                                                   PILF EAJA Statutory Rates With Adjustments                                              1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
  06/13/2013 Kevin LeRoy         2:36       2.60        2.60   $   175.00 $     455.00    $        455.00 KL- RS IRS's statutory authority
                                                                                                          NHJ- Finalize legal memo on new and current claims;
  06/13/2013 Noel Johnson        0:06       0.10        0.00 $     187.02 $       18.70   $           -   circulate to legal team for review
  06/13/2013 Noel Johnson        0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 NHJ- C KL to discuss RS needs for tomorrow
  06/13/2013 Noel Johnson        0:18       0.30        0.00 $     187.02 $       56.11   $           -    NHJ- C KLP to discuss APA RS needs
                                                                                                          NHJ- Continue RS re source of IRS authority to
  06/13/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 recognize exempt status
                                                                                                          NHJ- Finish legal memo on potential new claims;
  06/13/2013 Noel Johnson        0:24       0.40        0.30   $   187.02 $       74.81   $         56.11 proofread same and circulate to KLP
                                                                                                          NHJ- C KL to discuss RS no source of IRS authority to
  06/13/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 recognize exempt status

                                                                                                          NHJ- Proof and make edits to memo on current claims;
  06/13/2013 Noel Johnson        0:30       0.50        0.40   $   187.02 $       93.51   $         74.81 incorporate KLP’s suggestions to memo on new c
                                                                                                          NHJ- C KL to discuss his APA RS adn to assign
  06/13/2013 Noel Johnson        0:42       0.70        0.00   $   187.02 $     130.91    $           -   additional RS re same.
                                                                                                          NHJ- Continue RS re source of IRS authority to
  06/13/2013 Noel Johnson        1:06       1.10        1.10   $   187.02 $     205.72    $        205.72 recognize exempt status
                                                                                                          NHJ- Continue RS re source of IRS authority to
  06/13/2013 Noel Johnson        1:12       1.20        1.20 $     187.02   $   224.42    $        224.42 recognize exempt status
  06/14/2013 Eric C. Bohnet      0:24       0.40        0.40 $     187.02   $    74.81    $         74.81 ECB- PC KLP re expediting discovery
  06/14/2013 Jackie Flint        0:42       0.70        0.70 $     175.00   $   122.50    $        122.50 JF- Conference on strategy
  06/14/2013 Jackie Flint        1:42       1.70        1.70 $     175.00   $   297.50    $        297.50 JF- TtV phone conference
  06/14/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- C NHJ re writ mandamus.
  06/14/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02   $    56.11    $         56.11 KLP- C NHJ re case needs and conference call
  06/14/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02   $    74.81    $         74.81 KLP- C with ECB re discovery options
  06/14/2013 Kaylan Phillips     0:36       0.60        0.60 $     187.02   $   112.21    $        112.21 KLP- R KL's RS re mandamus. P for call.

  06/14/2013 Kaylan Phillips     0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 KLP- C with colleagues re discovery and next steps

                                                                                                          KLP- R discovery RS and rules re expediting discovery.
  06/14/2013 Kaylan Phillips     1:30       1.50        1.50 $     187.02   $   280.53    $        280.53 Draft email to colleagues and co-counsel re
  06/14/2013 Kaylan Phillips     1:42       1.70        1.70 $     187.02   $   317.93    $        317.93 KLP- C with co-counsel re case
  06/14/2013 Kevin LeRoy         1:36       1.60        1.60 $     175.00   $   280.00    $        280.00 KL- RS writs of mandamus; RS attorney's fees
  06/14/2013 Kevin LeRoy         1:42       1.70        0.00 $     175.00   $   297.50    $           -    KL- RS award of attorney's fees under APA



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 20 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
  06/14/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 NHJ- R KL's RS re writ of mandamus; discuss with KLP
                                                                                                          NHJ- RS and review rect 7431/unauthorized disclosure
  06/14/2013 Noel Johnson        0:18       0.30        0.00   $   187.02 $       56.11   $           -   case law
                                                                                                          NHJ- C ZSK and KLP to discuss needed RS and
  06/14/2013 Noel Johnson        0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 strategy
                                                                                                          NHJ- RS and R case law re motions for expedited
  06/14/2013 Noel Johnson        0:54       0.90        0.90   $   187.02 $     168.32    $        168.32 discovery; c's with KLP to discuss same
                                                                                                          NHJ- C call with legal team to discuss current and
  06/14/2013 Noel Johnson        1:42       1.70        1.70   $   187.02 $     317.93    $        317.93 potential claims; strategy going forward
                                                                                                          ZSK- PC KLP; NHJ; Cleta, etc re strategy; brainstorm
  06/14/2013 Zachary Kester      2:30       2.50        2.50 $     187.02   $   467.55    $        467.55 re PI theories and request for relief
  06/17/2013 Jackie Flint        1:12       1.20        1.20 $     175.00   $   210.00    $        210.00 JF- RS on expedited discovery
  06/17/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 KLP- R ACLJ's docket for updates.
  06/17/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 KLP- R case re expedited discovery.
  06/17/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02   $    56.11    $         56.11 KLP- Scan and save certified mail slips
                                                                                                          KLP- C NHJ re next steps. Email with co-counsel re
  06/17/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 expedited discovery and discovery requests.
                                                                                                          KLP- C KL re updating defendant addresses. Email with
  06/17/2013 Kaylan Phillips     0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 Cath Kidwell re same.
                                                                                                          KL- RS APA, status update meeting with NHJ; called
  06/17/2013 Kevin LeRoy         4:42       4.70        4.20   $   175.00 $     822.50    $        735.00 Clerk with question about the case
                                                                                                          NHJ- C's with KL to discuss APA RS and narrow scope
  06/17/2013 Noel Johnson        0:18       0.30        0.00   $   187.02 $       56.11   $           -   of same
                                                                                                          NHJ- C with KL to fill him in on updated strategy and to
  06/17/2013 Noel Johnson        0:24       0.40        0.30   $   187.02 $       74.81   $         56.11 assign RS needed on APA

                                                                                                          NHJ- Find and download Z Street v. IRS motion to
  06/17/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 dismiss briefing and review DOJ's motion to dismis
                                                                                                          NHJ- C KLP to discuss needs for amended complaint,
  06/17/2013 Noel Johnson        0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 PI motion and discovery

                                                                                                          NHJ- Continue working on First Amended Complaint;
  06/17/2013 Noel Johnson        1:00       1.00        0.90   $   187.02 $     187.02    $        168.32 conduct RS re APA violations; c's with KLP and KL

                                                                                                          NHJ- RS and R case law concerning IRS regulations re
  06/17/2013 Noel Johnson        1:24       1.40        1.40 $     187.02 $     261.83    $        261.83 requests for information and authority to gra
  06/17/2013 Noel Johnson        2:42       2.70        2.70 $     187.02 $     504.95    $        504.95 NHJ- Work on First Amendment complaint

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 21 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
  06/18/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 KLP- Check ACLJ docket
                                                                                                          KLP- Receive scanned return receipts. Organize in
  06/18/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $      37.40    $         37.40 folder.
  06/18/2013 Kaylan Phillips     0:48       0.80        0.80 $     187.02 $     149.62    $        149.62 KLP- C NHJ re case needs, amending complaint

                                                                                                          KLP- Review rules re: filing affidavits of service. Work
  06/18/2013 Kaylan Phillips     2:00       2.00        2.00 $     187.02 $     374.04    $        374.04 on compiling documents. Scan and save NHJ’
  06/18/2013 Kevin LeRoy         3:48       3.80        0.00 $     175.00 $     665.00    $           -    KL- RS APA

  06/18/2013 Noel Johnson        0:12       0.20        0.00   $   187.02 $       37.40   $           -    NHJ- R KL's APA RS; P email to KL re new RS needed

  06/18/2013 Noel Johnson        0:24       0.40        0.30   $   187.02 $       74.81   $         56.11 NHJ- Continue working on First Amended Complaint

  06/18/2013 Noel Johnson        0:42       0.70        0.60   $   187.02 $     130.91    $        112.21 NHJ- Continue working on First Amended Complaint

  06/18/2013 Noel Johnson        0:48       0.80        0.70   $   187.02 $     149.62    $        130.91 NHJ- Continue working on First Amended Complaint

                                                                                                          NHJ- Continue reviewing motion-to-dismiss briefing in Z
  06/18/2013 Noel Johnson        1:30       1.50        1.50   $   187.02 $     280.53    $        280.53 Street v. IRS; P email to legal team re sam

                                                                                                          NHJ- Continue working on First Amended Complaint;
  06/18/2013 Noel Johnson        2:42       2.70        2.40 $     187.02   $   504.95    $        448.85 C's with KLP to discuss new claims and pleading r
  06/19/2013 Jackie Flint        0:06       0.10        0.10 $     175.00   $    17.50    $         17.50 JF- Look for updates to ACLJ case
  06/19/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- Email re congressional hearing transcript
  06/19/2013 Kaylan Phillips     0:12       0.20        0.10 $     187.02   $    37.40    $         18.70 KLP- C NHJ re amended complaint
  06/19/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 KLP- Watch portion of tea party rally
                                                                                                          KLP- Check ACLJ docket. Email with Jackie re
  06/19/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 checking from now on.
                                                                                                           KLP- R KL's RS re APA claim. Email and discuss with
  06/19/2013 Kaylan Phillips     0:24       0.40        0.00   $   187.02 $       74.81   $           -    NHJ.
                                                                                                          KLP- C NHJ re amended complaint (several). R
  06/19/2013 Kaylan Phillips     0:24       0.40        0.30 $     187.02 $       74.81   $         56.11 statutes.
  06/19/2013 Kaylan Phillips     0:30       0.50        0.40 $     187.02 $       93.51   $         74.81 KLP- Start reviewing amended complaint.
                                                                                                          KLP- Email from C. Kidwell re affidavits of service. Calls
  06/19/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 re same.




* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 22 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          KLP- Emails re Z Street and Cohen briefing. Respond.
  06/19/2013 Kaylan Phillips     0:36       0.60        0.60 $     187.02 $     112.21    $        112.21 Email with KL re retrieving. Save in folder. E
  06/19/2013 Kaylan Phillips     1:00       1.00        1.00 $     187.02 $     187.02    $        187.02 KLP- R instructions for form 1023
                                                                                                          KLP- Work on filing affidavits of service. R examples. C
  06/19/2013 Kaylan Phillips     1:00       1.00        1.00 $     187.02   $   187.02    $        187.02 NHJ re same.
  06/19/2013 Kaylan Phillips     1:06       1.10        1.10 $     187.02   $   205.72    $        205.72 KLP- R Z Street Motion to Dismiss briefing
  06/19/2013 Kevin LeRoy         0:42       0.70        0.70 $     175.00   $   122.50    $        122.50 KL- RS Cohen docket for KLP
  06/19/2013 Kevin LeRoy         3:18       3.30        3.30 $     175.00   $   577.50    $        577.50 KL- RS information on potential new defendants
                                                                                                          NHJ- C KLP to discuss needed defendants for APA
  06/19/2013 Noel Johnson        0:06       0.10        0.00   $   187.02 $       18.70   $           -   claim

                                                                                                          NHJ- C KLP to discuss updating court on defendant
  06/19/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 addresses and filing affidavits for services; che
                                                                                                          NHJ- Proofread First Amendment Complaint and make
  06/19/2013 Noel Johnson        0:36       0.60        0.50   $   187.02 $     112.21    $         93.51 edits to same
                                                                                                          NHJ- RS IRS authority to make determinations; c KLP
  06/19/2013 Noel Johnson        0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 to discuss same
                                                                                                          NHJ- Continue reviewing Coben briefing and authorities
  06/19/2013 Noel Johnson        1:00       1.00        1.00   $   187.02 $     187.02    $        187.02 cited therein
                                                                                                          NHJ- Find and download Cohen briefing; review same;
  06/19/2013 Noel Johnson        1:24       1.40        1.40   $   187.02 $     261.83    $        261.83 conference with KLP to discuss same

  06/19/2013 Noel Johnson        2:36       2.60        2.30   $   187.02 $     486.25    $        430.15 NHJ- Continue working on First Amended Complaint

  06/19/2013 Zachary Kester      0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 ZSK- R Z Street briefing; email NHJ and KLP re same
  06/20/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $       17.50   $         17.50 JF- Check for updates to ACLJ case

  06/20/2013 Jackie Flint        0:30       0.50        0.50 $     175.00 $      87.50    $         87.50 JF- Create shipping labels for affidavits of service
  06/20/2013 Jackie Flint        1:00       1.00        1.00 $     175.00 $     175.00    $        175.00 JF- Create certificates of service

  06/20/2013 Jackie Flint        1:36       1.60        1.60 $     175.00 $     280.00    $        280.00 JF- RS revenue procedures on determination letters
  06/20/2013 Kaylan Phillips     0:12       0.20        0.10 $     187.02 $      37.40    $         18.70 KLP- C NHJ re amended complaint.
  06/20/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $      37.40    $         37.40 KLP- Emails re additional defendants
                                                                                                          KLP- Work on affidavits of service. C with colleagues re
  06/20/2013 Kaylan Phillips     0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 help needed.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 23 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          KLP- R amended complaint. C NHJ re same. R emails
  06/20/2013 Kaylan Phillips     1:54       1.90        1.70   $   187.02 $     355.34    $        317.93 re same.
                                                                                                          KLP- Continue working on affidavits of service. C NHJ
  06/20/2013 Kaylan Phillips     2:36       2.60        2.60 $     187.02 $     486.25    $        486.25 re local rules. Finalize and file. Prep for m
  06/20/2013 Kevin LeRoy         4:42       4.70        4.70 $     175.00 $     822.50    $        822.50 KL- RS information on potential new defendants
                                                                                                          NHJ- Run comparison between older draft copies of
  06/20/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 Complaint
                                                                                                          NHJ- C KLP to discuss changes to First Amended
  06/20/2013 Noel Johnson        0:12       0.20        0.10   $   187.02 $       37.40   $         18.70 Complaint

  06/20/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 NHJ- R opinion in Cohen and authorities cited therein
                                                                                                          NHJ- RS service rules for amended complaint; discuss
  06/20/2013 Noel Johnson        0:24       0.40        0.30   $   187.02 $       74.81   $         56.11 local rules with KLP

  06/20/2013 Noel Johnson        0:30       0.50        0.40 $     187.02 $       93.51   $         74.81 NHJ- Continue working on First amended complaint
  06/20/2013 Noel Johnson        0:30       0.50        0.50 $     187.02 $       93.51   $         93.51 NHJ- R KL's RS on possible new defendants

  06/20/2013 Noel Johnson        0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 NHJ- Help P service mailings for affidavits for service.

                                                                                                          NHJ- Review and revise master template for certificates
  06/20/2013 Noel Johnson        0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 of service for affidavits of service; revie
                                                                                                          NHJ- RS re service of amended complaint and methods
  06/20/2013 Noel Johnson        0:48       0.80        0.80   $   187.02 $     149.62    $        149.62 of service; c KLP to discuss local rules.

                                                                                                          NHJ- C's KLP to discuss needs for First Amendment
  06/20/2013 Noel Johnson        1:24       1.40        1.30 $     187.02 $     261.83    $        243.13 Complaint; P detailed email to legal team re same
  06/21/2013 Jackie Flint        0:12       0.20        0.20 $     175.00 $      35.00    $         35.00 JF- RS Carter Hull
  06/21/2013 Jackie Flint        0:36       0.60        0.60 $     175.00 $     105.00    $        105.00 JF- Clarify defendant's time to file an answer
                                                                                                          JF- Search for Congressional grant of authority to IRS
  06/21/2013 Jackie Flint        1:30       1.50        1.50 $     175.00   $   262.50    $        262.50 in Code
  06/21/2013 Jackie Flint        1:48       1.80        1.80 $     175.00   $   315.00    $        315.00 JF- Find addresses for new defendants
  06/21/2013 Kaylan Phillips     0:06       0.10        0.00 $     187.02   $    18.70    $           -    KLP- C NHJ re First Amendment Complaint.
  06/21/2013 Kaylan Phillips     0:24       0.40        0.30 $     187.02   $    74.81    $         56.11 KLP- C NHJ re amended complaint and RS needs
                                                                                                          KLP- R complaint. C NHJ and KL re qualified immunity.
  06/21/2013 Kaylan Phillips     1:06       1.10        1.00   $   187.02 $     205.72    $        187.02 C NHJ re case needs while he is away.
  06/21/2013 Kevin LeRoy         3:30       3.50        0.00   $   175.00 $     612.50    $           -    KL- RS qualified immunity



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Expenses adjusted for reimbursable and non-reimbursable.              Page 24 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                           NHJ- C's with KLP to discuss needs for First Amended
  06/21/2013 Noel Johnson        0:12       0.20        0.00   $   187.02 $       37.40   $           -    Complaint re APA claims and new defendants
                                                                                                          NHJ- C KLP to discuss needs for First Amendment
  06/21/2013 Noel Johnson        0:12       0.20        0.10   $   187.02 $       37.40   $         18.70 complaint
                                                                                                          NHJ- RS FRCP rules for service of individual US
  06/21/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 employees; update Service Matrix
  06/21/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 NHJ- C's with KL and KLP discuss needed RS

  06/21/2013 Noel Johnson        0:36       0.60        0.50   $   187.02 $     112.21    $         93.51 NHJ- Continue working on First Amended Complaint
                                                                                                          NHJ- Continue working on First Amended Complaint; c
  06/21/2013 Noel Johnson        0:48       0.80        0.40   $   187.02 $     149.62    $         74.81 KLP to discuss same
                                                                                                           NHJ- C KLP and KL to discuss KL's qualified immunity
  06/21/2013 Noel Johnson        0:54       0.90        0.00   $   187.02 $     168.32    $           -    RS

  06/21/2013 Zachary Kester      0:24       0.40        0.40 $     187.02 $       74.81   $         74.81 ZSK- R legal arguments discussed on TaxProf blog, etc
  06/24/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $       17.50   $         17.50 JF- Check for updates to ACLJ case
  06/24/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- Receive certified mail return

  06/24/2013 Kaylan Phillips     0:18       0.30        0.20 $     187.02 $      56.11    $         37.40 KLP- Email with co-counsel re amended complaint.
  06/24/2013 Kevin LeRoy         0:48       0.80        0.80 $     175.00 $     140.00    $        140.00 KL- Filing under seal in the DDC
  06/24/2013 Kevin LeRoy         2:42       2.70        0.00 $     175.00 $     472.50    $           -    KL- RS qualified immunity and discovery
                                                                                                          ZSK- R EO Journal for add'l Defendant's names and
  06/24/2013 Zachary Kester      0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 roles
  06/25/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $       17.50   $         17.50 JF- Check for updates to ACLJ case

  06/25/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Create verfication form. Email Catherine re same
  06/25/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 KLP- Email with KL re motion to seal

                                                                                                          KLP- Email with ACLJ re amended complaint. Receive
  06/25/2013 Kaylan Phillips     0:24       0.40        0.30   $   187.02 $       74.81   $         56.11 and review same. Email co-counsel re same.
                                                                                                          KLP- Email with KL re recent Commission report and
  06/25/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02   $    93.51    $         93.51 factual needs
  06/25/2013 Kevin LeRoy         0:06       0.10        0.00 $     175.00   $    17.50    $           -    KL- RS qualified immunity and discovery
  06/25/2013 Kevin LeRoy         0:30       0.50        0.50 $     175.00   $    87.50    $         87.50 KL- RS recent Commissioner Werfel statement
  06/25/2013 Kevin LeRoy         1:30       1.50        1.50 $     175.00   $   262.50    $        262.50 KL- RS Sealing documents in the DDC


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 25 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
  06/26/2013 Jackie Flint        0:06       0.10        0.10   $   175.00 $       17.50   $         17.50 JF- Check for changes to ACLJ case
                                                                                                          KLP- Email from Cath re remaining original service
  06/26/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 documents
  06/26/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- Email with client re verification form
                                                                                                          KLP- C JF re ACLJ amended complaint. Emails re
  06/26/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $      37.40    $         37.40 same.
  06/26/2013 Kaylan Phillips     1:06       1.10        1.10 $     187.02 $     205.72    $        205.72 KLP- R news articles re IRS scandal

                                                                                                          ZSK- Review new facts not reported in TIGTA re
  06/26/2013 Zachary Kester      0:30       0.50        0.50 $     187.02 $       93.51   $         93.51 “progressive” and “occupy” and whether disparate tre
  06/27/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- R service invoices. Save and turn in.
                                                                                                          KLP- R news articles re IRS scandal. Evaluate what is
  06/27/2013 Kaylan Phillips     0:18       0.30        0.20   $   187.02 $       56.11   $         37.40 needed for amended complaint.
  06/27/2013 Kaylan Phillips     0:24       0.40        0.30   $   187.02 $       74.81   $         56.11 KLP- Work on amended complaint

  06/27/2013 Kevin LeRoy         1:36       1.60        1.60 $     175.00 $     280.00    $        280.00 KL- R TTV files for potentially confidential information
  06/28/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $      17.50    $         17.50 JF- Check for developments in ACLJ case
  06/28/2013 Jackie Flint        4:48       4.80        4.80 $     175.00 $     840.00    $        840.00 JF- RS recent and present IRS hearings
                                                                                                          KLP- Email with KL re naming Miller officially in the
  06/28/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 amended complaint.
                                                                                                          KLP- C JF re congressional hearings and help needed.
  06/28/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 R emails re same.
                                                                                                          KLP- Work on amended complaint. Draft email to co-
  06/28/2013 Kaylan Phillips     0:42       0.70        0.60   $   187.02 $     130.91    $        112.21 counsel re items needed.

                                                                                                          KLP- Email with KL re motion to seal. R draft. Email re
  06/28/2013 Kaylan Phillips     0:48       0.80        0.80 $     187.02 $     149.62    $        149.62 same. R next draft, edit as needed, and sav
  06/28/2013 Kevin LeRoy         0:18       0.30        0.00 $     175.00 $      52.50    $           -    KL- RS qualified immunity and discovery

                                                                                                          KL- R TTV files for potentially confidential information;
  06/28/2013 Kevin LeRoy         3:24       3.60        3.40   $   175.00 $     630.00    $        595.00 draft motion to seal; RS naming defendant
                                                                                                          KLP- Continue working on amended complaint. Finalize
  06/29/2013 Kaylan Phillips     2:30       2.50        2.30   $   187.02 $     467.55    $        430.15 and circulate

  06/30/2013 Kaylan Phillips     0:36       0.60        0.60 $     187.02 $     112.21    $        112.21 KLP- Email with co-counsel re conference call tomorrow
  07/01/2013 Jackie Flint        0:12       0.20        0.20 $     175.00 $      35.00    $         35.00 JF- Save ACLJ amended complaint exhibits.
  07/01/2013 Jackie Flint        0:36       0.60        0.60 $     175.00 $     105.00    $        105.00 JF- Look for FRE 1006 summary example

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 26 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
  07/01/2013 Jackie Flint        1:42       1.70        1.70 $     175.00   $   297.50    $        297.50 JF- TtV Call with Cleta and John
  07/01/2013 Jackie Flint        2:36       2.60        2.60 $     175.00   $   455.00    $        455.00 JF- RS David Fish
  07/01/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- C with colleagues re next steps.
  07/01/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02   $    74.81    $         74.81 KLP- R RS. P for conference call.
  07/01/2013 Kaylan Phillips     0:30       0.50        0.40 $     187.02   $    93.51    $         74.81 KLP- C NHJ re next steps and amended complaint
                                                                                                          KLP- C KL and JF re TIGTA report and other factual
  07/01/2013 Kaylan Phillips     0:54       0.90        0.90   $   187.02 $     168.32    $        168.32 claims. R documents.
                                                                                                          KLP- C call with CM, ML, JCE, NHJ, JF, and KL re
  07/01/2013 Kaylan Phillips     1:18       1.30        1.20   $   187.02 $     243.13    $        224.42 amended complaint.
                                                                                                          KL- RS defendants, conference call with Cleta, Mike
  07/01/2013 Kevin LeRoy         3:42       3.70        3.80 $     175.00 $     647.50    $        665.00 and John
  07/01/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $      37.40    $         37.40 NHJ- R Internal Revenue Procedure 86-43
                                                                                                          NHJ- C KL to discuss the state of his RS and needs for
  07/01/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 same

                                                                                                          NHJ- R updated draft amended complaint and draft
  07/01/2013 Noel Johnson        0:24       0.40        0.30   $   187.02 $       74.81   $         56.11 motion to seal; begin reviewing amended complaint
                                                                                                          NHJ- C KLP to discuss draft Amended Complaint and
  07/01/2013 Noel Johnson        0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 needs for same

                                                                                                          NHJ- Continue reviewing amended complaint in
  07/01/2013 Noel Johnson        1:00       1.00        1.00   $   187.02 $     187.02    $        187.02 Linchpins for Liberty; discuss potential new challenge

  07/01/2013 Noel Johnson        1:30       1.50        1.40   $   187.02 $     280.53    $        261.83 NHJ- Continue working on First Amended Complaint

                                                                                                          NHJ- P for and participate on conference call with legal
  07/01/2013 Noel Johnson        1:48       1.80        1.80 $     187.02   $   336.64    $        336.64 team re draft amended complaint; c KLP and
  07/02/2013 Jackie Flint        0:24       0.40        0.40 $     175.00   $    70.00    $         70.00 JF- Check for ACLJ updates
  07/02/2013 Jackie Flint        1:12       1.20        1.20 $     175.00   $   210.00    $        210.00 JF- Sort TtV Documents
  07/02/2013 Jackie Flint        1:18       1.30        1.30 $     175.00   $   227.50    $        227.50 JF- Find examples of FRE 1006 summaries
  07/02/2013 Jackie Flint        4:36       4.60        4.10 $     175.00   $   805.00    $        717.50 JF- RS individual and official capacity implications
  07/02/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 KLP- Check ACLJ's docket. R motion to intervene.

  07/02/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 KLP- Emails re TTV documents spreadsheet. R docs.
                                                                                                          KLP- R and save signed verification page. Email with
  07/02/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 client and NHJ re same.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 27 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
  07/02/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 KLP- Recieve, review, and save certified mail returns

  07/02/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02 $      93.51    $         93.51 KLP- R news articles re IRS scandal. Save as needed.
  07/02/2013 Kaylan Phillips     0:42       0.70        0.70 $     187.02 $     130.91    $        130.91 KLP- C JF re jurisdictional issues. R RS.
  07/02/2013 Kaylan Phillips     0:48       0.80        0.70 $     187.02 $     149.62    $        130.91 KLP- C NHJ re next steps and amended complaint
                                                                                                          KL- RS defendants, make IRS organizational chart with
  07/02/2013 Kevin LeRoy         3:36       3.60        3.60   $   175.00 $     630.00    $        630.00 defendants
                                                                                                          NHJ- R searchable database of relevant docs created
  07/02/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 by client
  07/02/2013 Noel Johnson        0:18       0.30        0.00 $     187.02 $       56.11   $           -    NHJ- C JF to discuss her RS on qualified immunity

                                                                                                           NHJ- RS re personal jurisdiction and Bivens; c KLP to
  07/02/2013 Noel Johnson        0:48       0.80        0.00   $   187.02 $     149.62    $           -    discuss same and needs for First Amended Comp

  07/02/2013 Noel Johnson        1:30       1.50        1.40 $     187.02   $   280.53    $        261.83 NHJ- Continue working on First Amended Complaint
  07/03/2013 Jackie Flint        0:06       0.10        0.10 $     175.00   $    17.50    $         17.50 JF- Check for updates to ACLJ case
  07/03/2013 Jackie Flint        0:30       0.50        0.50 $     175.00   $    87.50    $         87.50 JF- Download and sort TTV Documents
  07/03/2013 Jackie Flint        0:42       0.70        0.70 $     175.00   $   122.50    $        122.50 JF- Personal jurisdition RS
  07/03/2013 Jackie Flint        1:24       1.40        1.30 $     175.00   $   245.00    $        227.50 JF- Personal vs. Official capacity
  07/03/2013 Jackie Flint        1:24       1.40        1.40 $     175.00   $   245.00    $        245.00 JF- Fill in IRS employee chart
  07/03/2013 Jackie Flint        1:48       1.80        1.80 $     175.00   $   315.00    $        315.00 JF- Viewpoint discrimination RS
  07/03/2013 Kaylan Phillips     0:06       0.10        0.00 $     187.02   $    18.70    $           -    KLP- Email to ACLJ re amended complaint
                                                                                                          KLP- C NHJ and interns re timeline, IRS staff, and other
  07/03/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 relevant facts. R charts.

                                                                                                          KLP- C NHJ and interns re RS needed for amended
  07/03/2013 Kaylan Phillips     0:48       0.80        0.70 $     187.02 $     149.62    $        130.91 complaint, etc. Organize documents for next week.
  07/03/2013 Kevin LeRoy         0:06       0.10        0.00 $     175.00 $      17.50    $           -    KL- Qualified immunity
                                                                                                          KL- RS defendants, make IRS organizational chart w/
  07/03/2013 Kevin LeRoy         3:36       3.60        3.60 $     175.00 $     630.00    $        630.00 defendants
  07/03/2013 Noel Johnson        0:06       0.10        0.10 $     187.02 $      18.70    $         18.70 NHJ- C JF to discuss DC Long Arm Statute
                                                                                                          NHJ- C KLP and interns re RS needed for amended
  07/03/2013 Noel Johnson        0:12       0.20        0.10   $   187.02 $       37.40   $         18.70 complaint, etc.
                                                                                                          NHJ- R JF's RS on official capacity vs. individual
  07/03/2013 Noel Johnson        0:18       0.30        0.20   $   187.02 $       56.11   $         37.40 capacity; assign follow u p RS re same

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 28 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          NHJ- C KLP and interns re timeline, IRS staff, and other
  07/03/2013 Noel Johnson        0:24       0.40        0.40 $     187.02 $      74.81    $         74.81 relevant facts. R charts.
  07/03/2013 Noel Johnson        0:42       0.70        0.60 $     187.02 $     130.91    $        112.21 NHJ- Continue revising First Amended Complaint
                                                                                                          NHJ- R IRS Master Personnel Chart; conference with
  07/03/2013 Noel Johnson        0:48       0.80        0.80 $     187.02   $   149.62    $        149.62 KL to discuss same and format same
  07/05/2013 Jackie Flint        0:36       0.60        0.60 $     175.00   $   105.00    $        105.00 JF- Viewpoint discrimination RS
  07/05/2013 Jackie Flint        3:12       3.20        0.00 $     175.00   $   560.00    $           -    JF- Personal jurisdiction RS
  07/05/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- R email from SLP re return receipts

  07/05/2013 Kaylan Phillips     0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 KLP- Message with NHJ re arguments and wording
                                                                                                          NHJ- Continue working on First Amended Complaint;
  07/05/2013 Noel Johnson        3:36       3.60        3.20 $     187.02 $     673.27    $        598.46 message with KLP.
  07/08/2013 Jackie Flint        0:42       0.70        0.70 $     175.00 $     122.50    $        122.50 JF- Conference with NHJ and KLP
  07/08/2013 Jackie Flint        4:36       4.60        0.00 $     175.00 $     805.00    $           -    JF- Personal jurisdiction/conspiracy RS
                                                                                                          KLP- Email from NHJ re potential defendant and next
  07/08/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 steps
                                                                                                          KL- R TIGTA report, consult with JF and NHJ on
  07/08/2013 Kevin LeRoy         4:42       4.70        4.70 $     175.00 $     822.50    $        822.50 immunity RS
  07/08/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $      37.40    $         37.40 NHJ- Assign RS project re TIGTA report to KL
                                                                                                          NHJ- R JF's RS re viewpoint discrimination an discuss
  07/08/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 with her
                                                                                                          NHJ- Continue reviewing personal jurisdiction RS and
  07/08/2013 Noel Johnson        0:30       0.50        0.00 $     187.02 $      93.51    $           -   revising jurisdictional section of First Amend
  07/08/2013 Noel Johnson        0:36       0.60        0.50 $     187.02 $     112.21    $         93.51 NHJ- Continue drafting First Amended Complaint

                                                                                                          NHJ- R KL's summary of potential defendant Fish;
  07/08/2013 Noel Johnson        0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 conference with him to discuss same; assign needed
                                                                                                          NHJ- Conference with KL and JF to discuss their
  07/08/2013 Noel Johnson        0:48       0.80        0.00   $   187.02 $     149.62    $           -   qualified immunity RS; R qualified immunity case la
                                                                                                          NHJ- Continue drafting First Amended Complaint; P
  07/08/2013 Noel Johnson        0:54       0.90        0.80   $   187.02 $     168.32    $        149.62 email to legal team re issues with same

                                                                                                           NHJ- RS and R case law re personal jurisdiction under
  07/08/2013 Noel Johnson        2:12       2.20        0.00 $     187.02 $     411.44    $           -    DC long arm statute; continue revising person
  07/09/2013 Jackie Flint        0:12       0.20        0.20 $     175.00 $      35.00    $         35.00 JF- Check ACJL case for updates
                                                                                                          JF- Find statute giving Secretary authority under tax
  07/09/2013 Jackie Flint        0:12       0.20        0.20   $   175.00 $       35.00   $         35.00 code

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 29 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                              1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                          Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
  07/09/2013 Jackie Flint        0:18       0.30        0.30 $     175.00 $      52.50    $         52.50 JF- Create summons for new defendants
  07/09/2013 Jackie Flint        1:30       1.50        1.50 $     175.00 $     262.50    $        262.50 JF- FRE 1006 compilation
  07/09/2013 Jackie Flint        3:36       3.60        0.00 $     175.00 $     630.00    $           -   JF- RS defendant requirements for APA claims
                                                                                                          KLP- Message with NHJ re case needs. Emails re
  07/09/2013 Kaylan Phillips     0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 same.
                                                                                                          KL- R TIGTA Report, edit report for identifying
  07/09/2013 Kevin LeRoy         4:24       4.40        4.60   $   175.00 $     770.00    $        805.00 defendants
                                                                                                          NHJ- R JF's RS re named defendants under APA;
  07/09/2013 Noel Johnson        0:12       0.20        0.00   $   187.02 $       37.40   $           -   discuss same with her

                                                                                                          NHJ- R filed summonses; P email to JF re addresses
  07/09/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 and defendants for summonses; discuss same with
                                                                                                          NHJ- Email correspondence with process server re
  07/09/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 confirming addresses
                                                                                                          NHJ- Search for RS on defendant's addresses; g-chat
  07/09/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 conversation with KLP re same
                                                                                                          NHJ- RS FRE 1006 and related case law; discuss same
  07/09/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 with KLP

                                                                                                          NHJ- R TtV's responses with and discuss preparation of
  07/09/2013 Noel Johnson        0:30       0.50        0.50 $     187.02 $      93.51    $         93.51 FRE 1006 charts and summaries for same with
  07/09/2013 Noel Johnson        1:00       1.00        0.90 $     187.02 $     187.02    $        168.32 NHJ- Continue drafting First Amended Complaint
                                                                                                          NHJ- Continue drafting First Amended Complaint; P
  07/09/2013 Noel Johnson        1:12       1.20        1.10 $     187.02 $     224.42    $        205.72 detailed email to legal team re changes to same
  07/09/2013 Noel Johnson        1:18       1.30        1.20 $     187.02 $     243.13    $        224.42 NHJ- Continue drafting First Amended Complaint
  07/10/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $      17.50    $         17.50 JF- Check ACLJ case for updates
                                                                                                          KLP- R amended complaint and summary of facts.
  07/10/2013 Kaylan Phillips     0:30       0.50        0.40   $   187.02 $       93.51   $         74.81 Email with NHJ re same.
                                                                                                          KLP- Message with NHJ re case needs. Emails re
  07/10/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 same.
                                                                                                          KL- R TIGTA Report, edit report for identifying
  07/10/2013 Kevin LeRoy         4:00       4.00        4.00   $   175.00 $     700.00    $        700.00 defendants
                                                                                                          NHJ- Email correspondence with KL re Defendant
  07/10/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 David Fish

                                                                                                          NHJ- R video of May 22, 2013 House Oversight hearing
  07/10/2013 Noel Johnson        0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 on IRS targeting for particular testimony by I


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 30 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                              1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                          Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          NHJ- Continue proofreading draft First Amended
  07/10/2013 Noel Johnson        0:42       0.70        0.60   $   187.02 $     130.91    $        112.21 Complaint and continue making revisions to same

                                                                                                          NHJ- Email correspondence throughout day with legal
  07/10/2013 Noel Johnson        0:54       0.90        0.90   $   187.02 $     168.32    $        168.32 team re attachments to First Amended Complaint,

                                                                                                          NHJ- R TtV's responses to IRS; R summary prepared
  07/10/2013 Noel Johnson        1:06       1.10        1.10   $   187.02 $     205.72    $        205.72 by JF and make revisiosn to same; discuss same wi

                                                                                                          NHJ- Proofread draft First Amendment Complaint;
  07/10/2013 Noel Johnson        1:24       1.40        1.30   $   187.02 $     261.83    $        243.13 continue making revisions to same; discuss same wit
                                                                                                          NHJ- Continue reviewing TtV's responses to IRS and
  07/10/2013 Noel Johnson        1:30       1.50        1.50 $     187.02 $     280.53    $        280.53 creating FRE 1006 summary
  07/11/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $      17.50    $         17.50 JF- Check for updates to ACLJ case
  07/11/2013 Jackie Flint        0:36       0.60        0.60 $     175.00 $     105.00    $        105.00 JF- Make IRS personnel charts
                                                                                                          KLP- Email to team re moving forward with amended
  07/11/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 complaint

  07/11/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 KLP- Email with Ericka Bostrom re documents needed.
                                                                                                          KLP- PC with NHJ re First Amended Complaint and
  07/11/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 timeline for filing same.
                                                                                                          KLP- Message with NHJ re case needs. Emails re
  07/11/2013 Kaylan Phillips     0:36       0.60        0.60 $     187.02 $     112.21    $        112.21 same.
  07/11/2013 Kevin LeRoy         0:24       0.40        0.00 $     175.00 $      70.00    $           -    KL- RS on APA/7433 claims
                                                                                                          NHJ- PC with KLP re First Amended Complaint and
  07/11/2013 Noel Johnson        0:12       0.20        0.10   $   187.02 $       37.40   $         18.70 timeline for filing same
                                                                                                          NHJ- R and incorporate KLP's edit and suggestions to
  07/11/2013 Noel Johnson        0:12       0.20        0.10   $   187.02 $       37.40   $         18.70 First Amended Complaint

                                                                                                          NHJ- Email correspondence with legal team re filing
  07/11/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 timeline for amended complaint and other motion
                                                                                                          NHJ- R KL's RS re defendants involvement; c with him
  07/11/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 to discuss same
                                                                                                          NHJ- P detailed email to KLP re draft First Amended
  07/11/2013 Noel Johnson        0:24       0.40        0.30 $     187.02   $    74.81    $         56.11 Complaint and attachments to same
  07/11/2013 Noel Johnson        0:36       0.60        0.50 $     187.02   $   112.21    $         93.51 NHJ- Continue revising First Amended Complaint
  07/12/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- Emails re amended complaint.
  07/12/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 KLP- Email with EJB re documents.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 31 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                               1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
  07/15/2013 Jackie Flint        0:06       0.10        0.10   $   175.00 $       17.50   $         17.50 JF- Check ACLJ case for updates

                                                                                                          KLP- C NHJ to discuss needs for amended complaint
  07/15/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 and questions for upcoming conference call.

                                                                                                          KLP- Email with colleagues re expedited discovery and
  07/15/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 Defendants' request for additional time

                                                                                                          NHJ- C KLP to discuss needs for amended complaint
  07/15/2013 Noel Johnson        0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 and questions for upcoming conference call
                                                                                                          KLP- Email with co-counsel re extension and next
  07/16/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 steps. C with NHJ re same.
                                                                                                          NHJ- Email correspondence with legal team re
  07/16/2013 Noel Johnson        0:06       0.10        0.10 $     187.02   $     18.70   $         18.70 extension to answer
  07/16/2013 Noel Johnson        0:12       0.20        0.20 $     187.02   $     37.40   $         37.40 NHJ- C with KLP re extension and next steps.
  07/17/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $     18.70   $         18.70 KLP- ECF notice re appearance
  07/17/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $     37.40   $         37.40 KLP- Emails re news updates
  07/17/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02   $     56.11   $         56.11 KLP- C NHJ re case updates and needs
                                                                                                          KLP- Email with co-counsel re conference and case
  07/17/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 needs

  07/17/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 KLP- PC with ACLJ re next steps. Emails re same.
                                                                                                          NHJ- Download, save and briefly review motion to
  07/17/2013 Noel Johnson        0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 extend time documents
  07/17/2013 Noel Johnson        0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 NHJ- C KLP re case updates and needs
                                                                                                          NHJ- R letter of Rep Issa to IRS re involvement of IRS
  07/17/2013 Noel Johnson        0:18       0.30        0.30 $     187.02   $    56.11    $         56.11 Chief Counsel's office and related news
  07/18/2013 Jackie Flint        0:12       0.20        0.20 $     175.00   $    35.00    $         35.00 JF- Burden of pleading sovereign immunity
  07/18/2013 Jackie Flint        0:12       0.20        0.20 $     175.00   $    35.00    $         35.00 JF- Check ACLJ case for updates
  07/18/2013 Jackie Flint        0:30       0.50        0.50 $     175.00   $    87.50    $         87.50 JF- RS findings from 7/17 congressional hearing
  07/18/2013 Jackie Flint        1:06       1.10        1.00 $     175.00   $   192.50    $        175.00 JF- Amended Complaint call
  07/18/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 KLP- C JF re help needed.

                                                                                                          KLP- Look up resopnse deadline to motion for
  07/18/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 extension of time. Draft email to colleagues and co-co



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 32 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          KLP- C NHJ to discuss needs for service and
  07/18/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 complaint.
                                                                                                          KLP- Emails re amended complaint. Email to client re
  07/18/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 verification needed.
                                                                                                          KLP- R files for documents to attach to complaint. R
  07/18/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 client spreadsheet. Email to colleagues and cl
                                                                                                          KLP- C NHJ re remaining questions for amended
  07/18/2013 Kaylan Phillips     0:36       0.60        0.50   $   187.02 $     112.21    $         93.51 complaint. R rules.
                                                                                                          KLP- C call with colleagues and co-counsel re amended
  07/18/2013 Kaylan Phillips     1:06       1.10        1.00   $   187.02 $     205.72    $        187.02 complaint.

                                                                                                          KLP- Watch Congressional hearing. Take notes. Email
  07/18/2013 Kaylan Phillips     1:24       1.40        1.40   $   187.02 $     261.83    $        261.83 with colleagues re same. R IRS chart. C NHJ re
                                                                                                          NHJ- Discuss House Committee hearing on IRS
  07/18/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 targeting with KLP

  07/18/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 NHJ- Watch House Committee hearing on IRS targeting

  07/18/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 NHJ- C KLP to discuss needs for service and complaint
                                                                                                          NHJ- R and incorporate Cleta's edits for First Amended
  07/18/2013 Noel Johnson        0:48       0.80        0.80   $   187.02 $     149.62    $        149.62 Complaint

                                                                                                          NHJ- C KLP to discuss needs for complaint, prepare
  07/18/2013 Noel Johnson        0:54       0.90        0.80   $   187.02 $     168.32    $        149.62 email to legal team re 6103 claim; conference wi
                                                                                                          NHJ- PC with legal team to discuss needs for First
  07/18/2013 Noel Johnson        1:06       1.10        1.10 $     187.02 $     205.72    $        205.72 Amended Complaint and timeline for filing
  07/19/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $      17.50    $         17.50 JF- Look for updates to ACLJ case
  07/19/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $      17.50    $         17.50 JF- Look up progress in Cincinnati case
                                                                                                          JF- Make address labels for service of amended
  07/19/2013 Jackie Flint        0:24       0.40        0.40 $     175.00   $    70.00    $         70.00 complaint
  07/19/2013 Jackie Flint        0:48       0.80        0.80 $     175.00   $   140.00    $        140.00 JF- RS burden of pleading sovereign immunicty
  07/19/2013 Jackie Flint        1:36       1.60        1.60 $     175.00   $   280.00    $        280.00 JF- Find service rules for amended complaint
  07/19/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- Call to process server re needs
  07/19/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 KLP- P and review exhibits.
  07/19/2013 Kaylan Phillips     0:18       0.30        0.00 $     187.02   $    56.11    $           -    KLP- RS personal jurisdiction
                                                                                                           KLP- Draft email to Mike L. re other documents to file
  07/19/2013 Kaylan Phillips     0:24       0.40        0.00   $   187.02 $       74.81   $           -    with complaint. Attach and explain.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 33 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
  07/19/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02 $      93.51    $         93.51 KLP- C JF re service needs
  07/19/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02 $      93.51    $         93.51 KLP- Email with C. Kidwell re filing
  07/19/2013 Kaylan Phillips     0:36       0.60        0.60 $     187.02 $     112.21    $        112.21 KLP- Work on certificate of servie
                                                                                                          KLP- Receive and begin implementing Mike's
                                                                                                          comments. C with NHJ re same. Draft email to group re
  07/19/2013 Kaylan Phillips     1:24       1.40        1.40   $   187.02 $     261.83    $        261.83 qu

                                                                                                          KLP- Work on amended complaint. R exhibits. Emails
  07/19/2013 Kaylan Phillips     1:30       1.50        1.40   $   187.02 $     280.53    $        261.83 with colleagues and C with NHJ re pleading 6103.

                                                                                                          KLP- R and edit most recent version of complaint.
  07/19/2013 Kaylan Phillips     2:48       2.80        2.80   $   187.02 $     523.66    $        523.66 Discuss next steps with NHJ. Email from co-counse

  07/19/2013 Noel Johnson        1:06       1.10        0.00   $   187.02 $     205.72    $           -    NHJ- LR re pleading standing in 6103 UNAX cases

                                                                                                           NHJ- C with KLP to discuss pleading 6103 claim and
  07/19/2013 Noel Johnson        1:54       1.90        0.00   $   187.02 $     355.34    $           -    make edits to complaint re same; prepare email t

                                                                                                          NHJ- Proofread latest draft of First Amended
  07/19/2013 Noel Johnson        2:30       2.50        2.30   $   187.02 $     467.55    $        430.15 Complaint; incorporate edits of KLP and Cleta on same;

                                                                                                          NHJ- Incorporate Mike's changes into First Amended
  07/19/2013 Noel Johnson        2:48       2.80        2.50   $   187.02 $     523.66    $        467.55 Complaint; email correspondence with legal team

  07/20/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 NHJ- RS re residential addresses for new defendants

                                                                                                          NHJ- R articles re Chief Counsel involvement
  07/20/2013 Noel Johnson        0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 intargeting scheme; email correspondence with legal te
                                                                                                          NHJ- Make edits to First Amended Complaint to add
  07/20/2013 Noel Johnson        1:42       1.70        1.50   $   187.02 $     317.93    $        280.53 Defendant William Wilkins and facts re same
                                                                                                          NHJ- Email correspondence with legal team re
  07/21/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 complaint and talking points for same
                                                                                                          NHJ- Draft talking points for First Amended Complaint
  07/21/2013 Noel Johnson        0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 per Cleta's instuctions

                                                                                                          NHJ- Create final exhibit to Amended Complaint,
  07/21/2013 Noel Johnson        1:06       1.10        1.10 $     187.02 $     205.72    $        205.72 incorporate final changes from legal team into same
  07/22/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $      17.50    $         17.50 JF- Check for updates to ACLJ case


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Expenses adjusted for reimbursable and non-reimbursable.              Page 34 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
  07/22/2013 Jackie Flint        0:48       0.80        0.80   $   175.00 $     140.00    $        140.00 JF- Make address labels
             Joseph
  07/22/2013 Vanderhulst         0:48       0.80        0.80   $   187.02 $     149.62    $        149.62 JAV- Help with service of amended complaint
                                                                                                          KLP- Draft email to process server re details of service
  07/22/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 needed.

  07/22/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $     37.40   $         37.40 KLP- Email with process server re confirming address.
  07/22/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02   $     56.11   $         56.11 KLP- C KL re service.
  07/22/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02   $     56.11   $         56.11 KLP- Email with Cath Kidwell re filing today
  07/22/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02   $     93.51   $         93.51 KLP- C NHJ re filing amended complaint
                                                                                                          KLP- Email with co counsel re service and remaining
  07/22/2013 Kaylan Phillips     0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 filings.

                                                                                                          KLP- Email with colleagues, co-counsel, and clients re:
  07/22/2013 Kaylan Phillips     0:54       0.90        0.90   $   187.02 $     168.32    $        168.32 amended complaint, pro hac, response to req

                                                                                                          KLP- Finalize complaint and supporting documents. P
  07/22/2013 Kaylan Phillips     1:30       1.50        1.50   $   187.02 $     280.53    $        280.53 for filing. Email/call Cath re how to file and
                                                                                                          KLP- P documents for certified mail. Package and take
  07/22/2013 Kaylan Phillips     2:18       2.30        2.30   $   187.02 $     430.15    $        430.15 to post office.

  07/22/2013 Kevin LeRoy         2:48       2.80        2.80   $   175.00 $     490.00    $        490.00 KL- Proofread, look up service rules, look of DDC rules
                                                                                                          NHJ- R TTV's press release re amended complaint and
  07/22/2013 Noel Johnson        0:06       0.10        0.00   $   187.02 $       18.70   $           -   provide comments
                                                                                                          NHJ- R and made edits to Cerificate of Service for
  07/22/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 Amended Complaint
                                                                                                          NHJ- C KLP to discuss updates on needs for filing and
  07/22/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 timing for same
                                                                                                          NHJ- R and incorporate KL's edits to Amended
  07/22/2013 Noel Johnson        0:18       0.30        0.20 $     187.02 $       56.11   $         37.40 Complaint
  07/22/2013 Noel Johnson        0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 NHJ- Address RS for new defendants
                                                                                                          NHJ- Email correspondence with legal team re filing
  07/22/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 and press re same
                                                                                                          NHJ- Discuss appearance for Mike with KLP; RS rules
  07/22/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 re appearance by signing pleading
                                                                                                          NHJ- C KLP and KL to discuss needs for Amended
  07/22/2013 Noel Johnson        0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 Complaint and filing same



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Expenses adjusted for reimbursable and non-reimbursable.              Page 35 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
                                                                                                          NHJ- C KLP to review finalized docs for filing and send
  07/22/2013 Noel Johnson        0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 to local counsel for filing
                                                                                                          NHJ- R Mike's final edits and incorporate same into
  07/22/2013 Noel Johnson        0:42       0.70        0.60   $   187.02 $     130.91    $        112.21 Amended Complaint
                                                                                                          NHJ- Prepare mailing for service of First Amended
  07/22/2013 Noel Johnson        0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 Complaint and related docs
                                                                                                          NHJ- Continue printing and creating mailings for service
  07/22/2013 Noel Johnson        1:54       1.90        1.90   $   187.02 $     355.34    $        355.34 for current defendants; drive to post offi

                                                                                                          ZSK- Review Congressional testimony of Carter Hull
  07/22/2013 Zachary Kester      1:42       1.70        1.70 $     187.02 $     317.93    $        317.93 and several others to ascertain relevant facts a
  07/23/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $      17.50    $         17.50 JF- Look for updates to ACLJ case
                                                                                                          KLP- ECF notice re motion for extension of time
  07/23/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 terminated as moot. Forward to colleagues.
  07/23/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- Email from CM re DOJ accepting service.
                                                                                                          KLP- ECF notices re summonses filed for official
  07/23/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 capacities.
  07/23/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Emails re press opportunity
  07/23/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02 $       93.51   $         93.51 KLP- C NHJ re service. Email with Cath re same.
                                                                                                          KLP- Email with process server re needs today. Send
  07/23/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 documents.

                                                                                                          KLP- Email with Cath Kidwell re filing. Send new
  07/23/2013 Kaylan Phillips     0:42       0.70        0.70 $     187.02 $     130.91    $        130.91 summonses. PC re same. Emails re copies and courie
  07/23/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $      37.40    $         37.40 NHJ- Download and save latest filings
                                                                                                          NHJ- C KLP and JAV to discuss service of defendants
  07/23/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 in official capacities
                                                                                                          NHJ- Create summonses for defendants in official
  07/23/2013 Noel Johnson        0:54       0.90        0.90   $   187.02 $     168.32    $        168.32 capacities; c with KLP to discuss same
                                                                                                           ZSK- Email Cleta and Cath re payment of process
  07/23/2013 Zachary Kester      0:06       0.10        0.00   $   187.02 $       18.70   $           -    server (N/C)

  07/24/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- ECF notice re summonses to unknown parties.
  07/24/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- C NHJ re other summonses.
                                                                                                          KLP- Edit certificate of service re summons in their
  07/24/2013 Kaylan Phillips     1:00       1.00        1.00   $   187.02 $     187.02    $        187.02 official capacity. R rules and agreement with
                                                                                                          KLP- Summon: email with co counsel and process
  07/24/2013 Kaylan Phillips     1:12       1.20        1.20   $   187.02 $     224.42    $        224.42 server re personal service options

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Expenses adjusted for reimbursable and non-reimbursable.              Page 36 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                             Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          NHJ- RS re summons for unknown named defendants'
  07/24/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 email correspondence with legal team re same
                                                                                                          NHJ- Drive to post office to mail latest summonses to
  07/24/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 DOJ
                                                                                                          NHJ- Multiple phone calls to clerk's office re status of
  07/24/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 summonses
                                                                                                          NHJ- Download and save latest filings; prepare
  07/24/2013 Noel Johnson        1:18       1.30        1.30   $   187.02 $     243.13    $        243.13 certificate of service for official capacity defenda

                                                                                                          ZSK- Review and email KP & NJ on roles of IRS GC
  07/24/2013 Zachary Kester      0:36       0.60        0.60 $     187.02 $     112.21    $        112.21 and President’s OLC and discussed significance of
  07/25/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $      18.70    $         18.70 KLP- Email with JF re press inquiry
             Joseph                                                                                       JAV- PC from process server, relay message to
  07/26/2013 Vanderhulst         0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 litigation team
  07/26/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 KLP- Email to Cath re Mike's PHV

  07/26/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 KLP- Emails from JAV re call from process server
                                                                                                          KLP- Email from co-counsel re House waiver. Draft
  07/26/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 response.
                                                                                                          ZSK- Review of agreement with Foley and ask BAB to
  07/26/2013 Zachary Kester      0:18       0.30        0.30 $     187.02   $     56.11   $         56.11 review; send comments on to Cath
  07/29/2013 Jackie Flint        0:06       0.10        0.10 $     175.00   $     17.50   $         17.50 JF- Look for updates to ACLJ case
  07/29/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $     18.70   $         18.70 KLP- C NHJ re affidavits of service
  07/29/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $     37.40   $         37.40 KLP- Receive return receipts. Save.
                                                                                                          KLP- Email with co-counsel re litigation hold letters and
  07/29/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 admission
  07/30/2013 Jackie Flint        0:12       0.20        0.20   $   175.00 $       35.00   $         35.00 JF- Look for updates to ACLJ case
                                                                                                          KLP- Call from process server re S. Grodnitzkey
  07/30/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 served.
                                                                                                          KLP- Email withJF re DOJ's motion for extension of
  07/30/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 time in ACLJ case. R and save.
  07/30/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Emails from client and CM re Issa committee
                                                                                                          KLP- Email from Jan re other service completed. Email
  07/30/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 with NHJ re next steps. C NHJ re same.
  07/31/2013 Jackie Flint        0:06       0.10        0.10   $   175.00 $       17.50   $         17.50 JF- Look for ACLJ case updates



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 37 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
                                                                                                          KLP- Receive returned amended complaint from
  07/31/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 Shulman. C with NHJ re: rules on when time to respond
                                                                                                          NHJ- RS FRCP and case law re time to respond to
  07/31/2013 Noel Johnson        0:30       0.50        0.50 $     187.02 $       93.51   $         93.51 amended pleading; discuss same with KLP
  08/01/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $       17.50   $         17.50 JF- Check for ACLJ case updates

                                                                                                          KLP- Emails from colleagues and co-counsel re service
  08/01/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 updates and Government's request for an exten
                                                                                                          KLP- C with NHJ re serving Seto at his home. Emails re
  08/02/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 same.
  08/02/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 KLP- Email with co-counsel re service.
                                                                                                          NHJ- R defendants' renewed motion to extend time to
  08/02/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 answer

  08/02/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 NHJ- Discuss Lois Lerner emails with FEC with ZSK

                                                                                                          NHJ- PC with Capitol Process Services re service of
  08/02/2013 Noel Johnson        0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 defendant Seto; g-chat discussion with KLP re s

  08/02/2013 Zachary Kester      0:18       0.30        0.00   $   187.02 $       56.11   $           -    ZSK- R Issa 6103 concerns; email NHJ re same.
                                                                                                          ZSK- R evidence of Lerner/FEC emails; evidence of
  08/02/2013 Zachary Kester      0:30       0.50        0.50 $     187.02 $       93.51   $         93.51 wrongdoing, C NHJ re same.
  08/05/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $       17.50   $         17.50 JF- Check for updates to ACLJ case

  08/05/2013 Jackie Flint        0:24       0.40        0.40 $     175.00 $       70.00   $         70.00 JF- Look into ACLJ's method of affidavits of service
  08/05/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- ECF notice re Mike's PHV.
                                                                                                          KLP- Call to opposing counsel re consent to ML's PHV.
  08/05/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 Email re same.
  08/05/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 KLP- Email with colleagues re ML's PHV.

                                                                                                          NHJ- C KL to discuss amended complaint and motion
  08/05/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 to dismiss in NorCal lawsuit; review MTD in same
  08/06/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $       17.50   $         17.50 JF- Check ACLJ case for updates
  08/06/2013 Jackie Flint        0:24       0.40        0.40 $     175.00 $       70.00   $         70.00 JF- Read NorCal Amended Complaint
                                                                                                          KLP- Discussions with NHJ about needed review of
  08/06/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 House Committee interview transcripts


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 38 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date            Name        Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
  08/06/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 KLP- Email with CK re addresses. Locate and respond.
                                                                                                          KLP- Emails from co-counsel re evidence. C NHJ re
  08/06/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 same. Draft response.
  08/06/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- R and save ML's PHV.
                                                                                                          KLP- Email with process server re remaining
  08/06/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 individuals. Call from server re same.

                                                                                                          KLP- R DOJs motion for extension of time. Circulate to
  08/06/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 colleagues. Email with ML re response.
                                                                                                          KLP- Email with co-counsel re summonses. R ML's
  08/06/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 response to DOJ.
                                                                                                          NHJ- Discussions with KLP about needed review of
  08/06/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 House Committee interview transcripts

                                                                                                          NHJ- R email correspondence re official capacity
  08/06/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 summonses; conference with KLP to discuss issue

                                                                                                          NHJ- Scan and save affidavits of service of de. Fish;
  08/06/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 conference with KLP to discuss status of serv

                                                                                                          NHJ- G-chat conference with KLP to discuss service
  08/06/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 rules and timing for updating court on defendant
  08/07/2013 Jackie Flint        0:06       0.10        0.10 $     175.00 $       17.50   $         17.50 JF- Check ACLJ case for updates
                                                                                                          KLP- Email withKL re NorCal Motion to Dismiss. R KL's
  08/07/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 email re summary of key points.

  08/07/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 KLP- Email with colleagues re reviewing transcripts.
                                                                                                          ZSK- R developments in EO law and IRS position on
  08/07/2013 Zachary Kester      0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 "political intervention"; identify the number of
  08/08/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 KLP- Email with co-counsel re summonses
                                                                                                          KLP- Email from ZSK re summonses. Email to process
  08/08/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 server re same.

                                                                                                          ZSK- Review articles on the structure and operation of
  08/08/2013 Zachary Kester      1:00       1.00        1.00   $   187.02 $     187.02    $        187.02 the IRS office of chief counsel and command

  08/09/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 KLP- Call from process server re Seto served at home.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 39 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
  08/09/2013 Zachary Kester      0:18       0.30        0.00   $   187.02 $       56.11   $           -    ZSK- R IRS authority to tell others agencies under 6103

                                                                                                          ZSK- review EO Journal and prospect of adding Lois
  08/11/2013 Zachary Kester      1:18       1.30        1.30   $   187.02 $     243.13    $        243.13 Lerner’s advisor as a defendant; email KP & NJ r
                                                                                                          KLP- Receive returned "unclaimed" certified mail to Ron
  08/12/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 Bell

                                                                                                          KLP- Receive and review Fedex from DOJ retruning
  08/12/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 individual summonses. Email to ML re next steps.

                                                                                                          KLP- Call from process server re: Wilkins served. Email
  08/12/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 with company re: Thomas’s service. Review a
                                                                                                          KLP- Email from Cleta re Defendant David Fish in car
  08/13/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 accident.
  08/13/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- Receive three returns of service. R.
  08/13/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- C NHJ re summonses and service.
                                                                                                          KLP- Email from ML re summonses. Draft response re
  08/13/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 next steps. Receive response.
                                                                                                          KLP- R opposition to motion for additional time. Edit
  08/13/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 and send updated draft.

                                                                                                          KLP- Create and finalize summons for new defendants
  08/13/2013 Kaylan Phillips     1:00       1.00        1.00   $   187.02 $     187.02    $        187.02 in their official capacity. File. Save filed ve

                                                                                                          NHJ- C KLP to discuss filing new summonses for
  08/13/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 official capacity defendants and opposition to defen
                                                                                                          NHJ- C KLP to discuss needs for service of recently
  08/13/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 filed documents
  08/14/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 KLP- Check NorCal docket for updates.
                                                                                                          KLP- Email from CM re changes to opp. motion for
  08/14/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 extension.
  08/14/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- Email with CM re House transcripts.
  08/14/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- ECF notices re summonses.

  08/14/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 KLP- Work on affidavit of service for copies to DOJ.

  08/14/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 KLP- Email with co-counsel re litigation hold letters.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 40 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
                                                                                                          KLP- Email opposing counsel re accepting service of
  08/14/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02 $       74.81   $         74.81 summonses.
  08/14/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02 $       93.51   $         93.51 KLP- Email with Cath Kidwell re courier.
                                                                                                          KLP- Find and review Z-street docket re updates and
  08/14/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 MTD hearing

  08/14/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 KLP- Receive affidavits of service. Scan and save.
                                                                                                          NHJ- Download and save latest filed docs. (official
  08/14/2013 Noel Johnson        0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 capacity summonses)
  08/15/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Emails re litigation hold letters.
                                                                                                          KLP- Finalize and notarize affidavits fo service. File.
  08/15/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 Circulate.

                                                                                                          KLP- C with NHJ re: opposition to motion for extension.
  08/15/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 Review emails re: same. Check rules re: dea
                                                                                                          KLP- IM with NHJ re: opposition to motion for extension
  08/15/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 and affidavits of service.
                                                                                                          KLP- Email with colleagues re: questions re: service
  08/15/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 date, copies to send, etc.
                                                                                                          KLP- Work on affidavits of service for NHJ and I.
  08/15/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 Circulate for approval.

                                                                                                          KLP- Finalize affidavits of service. Organize documents.
  08/15/2013 Kaylan Phillips     1:00       1.00        1.00   $   187.02 $     187.02    $        187.02 Prepare documents for mailing (with TJP)
                                                                                                          KLP- Work on opposition to motion for extension. R
  08/15/2013 Kaylan Phillips     1:00       1.00        1.00   $   187.02 $     187.02    $        187.02 revisions.

                                                                                                          NHJ- R affidavits of service and rv as needed; g-chat
  08/15/2013 Noel Johnson        0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 conversation with KLP re needs for same; sign

                                                                                                          NHJ- R revised draft of opposition to motion for
  08/15/2013 Noel Johnson        0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 extension; discuss same with KLP; P email to legal
                                                                                                          NHJ- Make revisions to draft opposition to motion for
  08/15/2013 Noel Johnson        0:48       0.80        0.80   $   187.02 $     149.62    $        149.62 extension; discuss revisions with KLP; prepar

  08/16/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 KLP- Email ACLJ re returned mail. Verify addresses.
                                                                                                          KLP- Email with co-counsel re: opposition to motion for
  08/16/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02 $       74.81   $         74.81 extension. Review final draft.
  08/16/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02 $       74.81   $         74.81 KLP- Email with team re conference call today.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 41 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
  08/16/2013 Kaylan Phillips     0:42       0.70        0.70 $     187.02 $     130.91    $        130.91 KLP- Work on exhibits to oppositition. Circulate.
  08/16/2013 Kaylan Phillips     0:48       0.80        0.80 $     187.02 $     149.62    $        149.62 KLP- P affidavits of service for mailing.

                                                                                                          KLP- PC with legal team to discuss strategy going
  08/16/2013 Kaylan Phillips     1:12       1.20        1.20   $   187.02 $     224.42    $        224.42 forward and needed research for opposition to MTD
                                                                                                          NHJ- C KLP to discuss needed exhibits for opposition to
  08/16/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 motion for extension.
                                                                                                          NHJ- Email correspondence re create defendant
  08/16/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 service matrix.
                                                                                                          NHJ- Email to John Eastman re change of counsel for
  08/16/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 remaining plaintiffs.

  08/16/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 NHJ- Email to KLP to summarize PC with legal team.
                                                                                                          NHJ- R latest draft of opposition to motion for
  08/16/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 extension; email to legal team re same.
                                                                                                          NHJ- P mailings for service of recently filed documents;
  08/16/2013 Noel Johnson        0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 drive to post office to mail.
                                                                                                          NHJ- PC with legal team to discuss strategy going
  08/16/2013 Noel Johnson        1:12       1.20        1.20 $     187.02 $     224.42    $        224.42 forward and needed RS for opposition to MTD.
  08/18/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $      18.70    $         18.70 KLP- Email from CM re Z-Street documents.
             Bostrom, Barry                                                                               BAB- R revised Foley Lardner Agreement as co-
  08/19/2013 A.                  0:12       0.20        0.10 $     187.02 $       37.40   $         18.70 counsel and P email to ZSK.
  08/19/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- C NHJ re conference call on Friday.

  08/19/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 KLP- Receive and review Wilkins affidavits of service.
                                                                                                          KLP- Email from CM summarizing call from Friday.
  08/19/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 Draft response with updates. R reply.
                                                                                                          KLP- Email with process server re Thomas service.
  08/19/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 Email to colleagues re same.

  08/19/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 KLP- R Z-Street webpage and news articles re hearing.
                                                                                                          NHJ- C KLP re substance of Friday's conference call
  08/19/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 with legal team.

  08/19/2013 Zachary Kester      0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 ZSK- R TTV contract from Cath; email BAB re same.

                                                                                                          ZSK- Review articles from weekend re Lois Lerner’s
  08/19/2013 Zachary Kester      0:48       0.80        0.80   $   187.02 $     149.62    $        149.62 personal email use; analyze liability under that


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Expenses adjusted for reimbursable and non-reimbursable.              Page 42 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
  08/20/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 KLP- Emails re service upon Wilkins. Save document.
  08/20/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02 $       93.51   $         93.51 KLP- Work on Bill Davis's PHV. R CV. Circulate.
  08/21/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- C NHJ to discuss creation of service matrix.
                                                                                                          KLP- Email with Bill Davis and assistant re: PHV.
  08/21/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 Review and finalize PHV. Prepare for filing. Emai
                                                                                                          KLP- Finalize affidavits of service for Wilkins and
  08/21/2013 Kaylan Phillips     0:36       0.60        0.60 $     187.02 $     112.21    $        112.21 Thomas. Create certificate of service
  08/21/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $      37.40    $         37.40 NHJ- C KLP to discuss creation of service matrix.

                                                                                                          NHJ- Download briefing and pleadings for Freedom
  08/21/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 From Religion Found. Inc. v. Commissioner, downloa

                                                                                                          NHJ- Begin review Complaint and motion to dismiss
  08/21/2013 Noel Johnson        1:24       1.40        1.40 $     187.02 $     261.83    $        261.83 briefing in Freedom From Religion Found. Inc. v.
  08/22/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $      18.70    $         18.70 KLP- C NHJ re service matrix.

  08/22/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 KLP- Email with CK re certified mail return receipts.

  08/22/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Email with co-counsel re speaking with paralegal.
  08/22/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- R updates service matrix.

                                                                                                          KLP- Review affidavits of service. Email with process
  08/22/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 server re: scrivener’s error and correction n
                                                                                                          KLP- C with NHJ re: service matrix. Review first draft. C
  08/22/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 with TJP re: adjusting excel spreadsheet.

                                                                                                          KLP- C with NHJ re: when service was completed
  08/22/2013 Kaylan Phillips     0:48       0.80        0.80   $   187.02 $     149.62    $        149.62 (several conferences) Review filings. Review FRCP.

                                                                                                           NHJ- Review recent caselaw re: APA, Bivens and
  08/22/2013 Noel Johnson        0:12       0.20        0.00   $   187.02 $       37.40   $           -    Declaratory Judgment Act (Jarita Mesa Livestock Graz
                                                                                                          NHJ- Make revisions to master service and response
  08/22/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 matrix; discuss same with KLP
                                                                                                          NHJ- C KLP to discuss master service matrix
  08/22/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 functionality
                                                                                                          NHJ- C KLP to discuss service of new defendants in
  08/22/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 individual capacities.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 43 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                               1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          NHJ- PC with TJP re sorting macros for master service
  08/22/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 matrix.
                                                                                                          NHJ- Continue reviewing motion to dismiss briefing in
  08/22/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 Freedom from Religious v. Shulman
                                                                                                          NHJ- P email to legal team re possible issue with
  08/22/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 service of new individual capacity defendants.

                                                                                                          NHJ- Conferences with KLP to confirm service dates of
  08/22/2013 Noel Johnson        0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 various defendants and to discuss master serv
                                                                                                          NHJ- Create master servie and response spreadsheet
  08/22/2013 Noel Johnson        0:54       0.90        0.90   $   187.02 $     168.32    $        168.32 matrix for all defendants and filings.
                                                                                                          NHJ- Continue creating master service and response
  08/22/2013 Noel Johnson        1:24       1.40        1.40   $   187.02 $     261.83    $        261.83 spreadsheet matrix.
                                                                                                          NHJ- Continue creating master service and response
  08/22/2013 Noel Johnson        2:00       2.00        2.00   $   187.02 $     374.04    $        374.04 spreadsheet matrix.

  08/23/2013 Kaylan Phillips     0:06       0.10        0.00 $     187.02   $     18.70   $           -    KLP- Email from CM re 6103 memos from Congress.
  08/23/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $     18.70   $         18.70 KLP- Email from NHJ re recent 7428 claim.
  08/23/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $     18.70   $         18.70 KLP- Email re consent to PHV motions
  08/23/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $     18.70   $         18.70 KLP- Receive and review return receipts.
                                                                                                          KLP- C NHJ to discuss RS finding re APA and 1st
  08/23/2013 Kaylan Phillips     0:12       0.20        0.10   $   187.02 $       37.40   $         18.70 Amendment claims

  08/23/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 KLP- Email with process server re serving US Attorney.

                                                                                                          KLP- Email with CM re: “meet and confer” language for
  08/23/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 pro hac vice motion. Adjust to add MG.

  08/23/2013 Kaylan Phillips     1:06       1.10        1.10   $   187.02 $     205.72    $        205.72 KLP- Call with co-counsel and colleagues re next steps.

                                                                                                          KLP- Prepare service copies of summonses for new
  08/23/2013 Kaylan Phillips     1:06       1.10        1.10   $   187.02 $     205.72    $        205.72 defendants and copy of amended complaint to send t
                                                                                                          NHJ- C KLP to discuss RS findings re APA and 1st
  08/23/2013 Noel Johnson        0:12       0.20        0.10   $   187.02 $       37.40   $         18.70 Amendment claims.

  08/23/2013 Noel Johnson        0:18       0.30        0.00   $   187.02 $       56.11   $           -    NHJ- R report on 6103 by Joint Committee on Taxation.
                                                                                                           NHJ- R Sec. 6103 caselaw- Millennium Marketing v.
  08/23/2013 Noel Johnson        0:18       0.30        0.00   $   187.02 $       56.11   $           -    US; email to KLP re same.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 44 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
                                                                                                          NHJ- Make revisions to master service matrix; prepare
  08/23/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 email to legal team attaching same.

                                                                                                           NHJ- R Trudeau v. FTC re APA claims and sovereign
  08/23/2013 Noel Johnson        0:30       0.50        0.00   $   187.02 $       93.51   $           -    immunity; review case lawcited therein.

                                                                                                          NHJ- Finish reviewing motion to dismiss briefing in
  08/23/2013 Noel Johnson        0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 Freedom from Religion v. Shulman; review order
                                                                                                          NHJ- C call with legal team to discuss strategy and
  08/23/2013 Noel Johnson        1:06       1.10        1.10   $   187.02 $     205.72    $        205.72 needs for 7428 claim.

  08/23/2013 Noel Johnson        1:18       1.30        0.00   $   187.02 $     243.13    $           -    NHJ- RS and R recent Bivens decision in DC Circuit.
                                                                                                          KLP- Work on PHV for Mathew D. Gutierrez. Draft
  08/25/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 email re same.

  08/26/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 KLP- C NHJ to discuss service of AG and US attorney
                                                                                                          KLP- Organize certified mail reciepts from recent
  08/26/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 mailings.
  08/26/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- Receive affidavit of service.
  08/26/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Emails re service matrix.
                                                                                                          KLP- Email with Cath Kidwell re which documents to
  08/26/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 print and how; courier.
                                                                                                          KLP- C NHJ to discuss strategy and needs for 7428
  08/26/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 claim.

                                                                                                          KLP- Email with process server re: copies and service
  08/26/2013 Kaylan Phillips     0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 on US Attorney (throughout day) Calculate tot

                                                                                                          KLP- Print documents for service to AG. Draft cover
  08/26/2013 Kaylan Phillips     0:54       0.90        0.90   $   187.02 $     168.32    $        168.32 letter to AG. Finalize. Work with EB to get doc

  08/26/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 NHJ- C KLP to discuss service of AG and US attorney.
                                                                                                          NHJ- Email correspondence re service matrix with Mike
  08/26/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 Lockerby.
  08/26/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 NHJ- R Tax Court rules governing 7428 actions.
                                                                                                          NHJ- C KLP to discuss strategy and needs for 7428
  08/26/2013 Noel Johnson        0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 claim.




* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 45 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
                                                                                                          NHJ- Download and review filings from recent 7428
  08/26/2013 Noel Johnson        0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 case before Judge Walton – Family Trust of Mass.

                                                                                                          NHJ-Continue reviewing relevant case law and begin
  08/26/2013 Noel Johnson        1:36       1.60        1.60   $   187.02 $     299.23    $        299.23 drrafting legal memo re: rules and procedure for
                                                                                                          NHJ- RS and review recent 7428 decisions by Judge
  08/26/2013 Noel Johnson        1:42       1.70        1.70 $     187.02 $     317.93    $        317.93 Walton and take notes re same.
  08/27/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $      18.70    $         18.70 KLP- C NHJ re checklist.

  08/27/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- C with Linda Aquirre at Foley re service question.
  08/27/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- Receive adn save return receipts.

                                                                                                          KLP- C with NHJ re: “meet and confer” requirement.
  08/27/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 Review Judge Walton’s general orders
  08/27/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 KLP- C NHJ re procedural memo.
                                                                                                          KLP- Calls from process server re: service on US
  08/27/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 Attorney (two). Draft email to co-counsel re: serv
                                                                                                          KLP- Email with Cath re sharing documetns. Draft list of
  08/27/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 authorized users.
                                                                                                          KLP- Finalize affidavit of service for mailing last night.
  08/27/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 Have notarized. Scan and save.
                                                                                                          KLP- R NHJ's memo re rules and procedure. Send
  08/27/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 revisions.
                                                                                                          KLP- C NHJ re rules and procedures. R local rules and
  08/27/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 other 7428 cases.

                                                                                                          KLP- Email from MG re: motion and declaration.
  08/27/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02 $       74.81   $         74.81 Finalize both PHV declarations and motions. Circulat
  08/27/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02 $       74.81   $         74.81 KLP- Organize certified mail receipts in folders.

                                                                                                          KLP- ECF notice re: suggestion of incapacity. Save and
  08/27/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 circulate. Email with Mike Lockerby re: same

  08/27/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 NHJ- C KLP to review checklist of needs with KLP.

                                                                                                          NHJ- C with KLP re: "meet and confer" requirment.
  08/27/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 Review Judge Walton's general orders


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Expenses adjusted for reimbursable and non-reimbursable.              Page 46 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                               1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          NHJ-Conference with KLP to discuss service issue with
  08/27/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 US Attorney’s office for new individual capac
  08/27/2013 Noel Johnson        0:18       0.30        0.00 $     187.02 $       56.11   $           -    NHJ- R recent Bivens opinions by Judge Walton.
                                                                                                          NHJ- C KLp to discuss 7428 memo and potential DOJ
  08/27/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 arguments re 7428 claim
                                                                                                          NHJ- C KLP to discuss recommendation for legal team
  08/27/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 re 7428 claim.
                                                                                                           NHJ- RS and R recent First Amendment Bivens opinion
  08/27/2013 Noel Johnson        0:30       0.50        0.00   $   187.02 $       93.51   $           -    in DDC.
                                                                                                          NHJ- Make changes to 7428 rules and procedure; P
  08/27/2013 Noel Johnson        0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 detailed email to legal team re same.

                                                                                                          NHJ- Review recent 7428 decision in D.D.C. not
  08/27/2013 Noel Johnson        1:00       1.00        1.00   $   187.02 $     187.02    $        187.02 decided by Judge Walton and adjust rules and procedu
                                                                                                          NHJ- Continue drafting memo on 7428 rules and
  08/27/2013 Noel Johnson        1:18       1.30        1.30 $     187.02   $   243.13    $        243.13 procedures.
  08/28/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- C NHJ re service copies to US Attorney.
  08/28/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- Call from Cath re PHV motion.
  08/28/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- Call from Cath re PHV motion.
  08/28/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- Call from Foley paralegal Linda re service.
  08/28/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- Email to Cath re service question.
                                                                                                          KLP- Voicemail from process server re: second attempt
  08/28/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 on US Attorney
  08/28/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- C NHJ re service.
  08/28/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Email with co-counsel re service.
                                                                                                          KLP- Email to ACLJ re: service copies to US Attorney.
  08/28/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 Review ACLJ’s affidavits of service
                                                                                                          KLP- C NHJ re service copies to US Attorney. R cover
  08/28/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 letter re same.
                                                                                                          KLP- Call with Carly from ACLJ and NHJ re service
  08/28/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 question.
                                                                                                          KLP- Email with co-counsel re PHV
  08/28/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 motion/declarations.
                                                                                                          KLP- Finalize PHV motions/declarations. Send to Cath
  08/28/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 for filing.



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Expenses adjusted for reimbursable and non-reimbursable.              Page 47 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                             Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
                                                                                                          KLP- ECF notices re two PHV motions. P service
  08/28/2013 Kaylan Phillips     0:48       0.80        0.80   $   187.02 $     149.62    $        149.62 copies.
                                                                                                          KLP- Assist NHJ with service copies of amended
  08/28/2013 Kaylan Phillips     0:54       0.90        0.90   $   187.02 $     168.32    $        168.32 complaint to US Attorney.
                                                                                                          NHJ- PC with Linda Aguire, paralegal from Foley, re
  08/28/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 service on US Attorney.
                                                                                                          NHJ- C KLP re service of US Attorney for new individual
  08/28/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 capacity defendants.

                                                                                                           NHJ- Continue reviewing recent Bivens cases involving
  08/28/2013 Noel Johnson        0:18       0.30        0.00   $   187.02 $       56.11   $           -    First Amendment claims; begin outlining memo
                                                                                                          NHJ- Email to legal team re service issues with US
  08/28/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 Attorney and individual capacity defendants.
                                                                                                          NHJ- PC with KLP and Carly from ACLJ re issue with
  08/28/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 service of US Attorney.

                                                                                                          NHJ- Review research re: service under FRCP 4(i)(3)
  08/28/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 with KLP and discuss options for effecting serv

                                                                                                          NHJ- Draft letter to US Attorney’s office re: service of
  08/28/2013 Noel Johnson        0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 individual capacity defendants; discuss sa

                                                                                                          NHJ- Email correspondence with process server re:
  08/28/2013 Noel Johnson        1:00       1.00        1.00   $   187.02 $     187.02    $        187.02 attempted service on US Atty; multiple conference

                                                                                                          NHJ- P service mailing to US Attorney's office for
  08/28/2013 Noel Johnson        1:18       1.30        1.30   $   187.02 $     243.13    $        243.13 service of Amended Complaint in newly added indi
                                                                                                          NHJ- Continue reviewing recent Bivens cases involving
  08/28/2013 Noel Johnson        1:24       1.40        0.00 $     187.02 $     261.83    $           -   First Amendment claims
  08/29/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $      18.70    $         18.70 KLP- C NHJ re RS needs.
  08/29/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $      18.70    $         18.70 KLP- C with CK re ML's PHV.

  08/29/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- Call from WD's secretary re ECF registration.
  08/29/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- News articles re Paz's letter to congress.
  08/29/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- C NHJ re service issue. R email re same.
                                                                                                          KLP- ECF notice re DOJ's motion granted. Circulate to
  08/29/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 colleagues.



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Expenses adjusted for reimbursable and non-reimbursable.              Page 48 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
                                                                                                          KLP- ECF notice re: PHV motions – one denied and two
  08/29/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02 $      74.81    $         74.81 granted. Circulate to colleagues. Email with M
  08/29/2013 Kaylan Phillips     1:00       1.00        1.00 $     187.02 $     187.02    $        187.02 KLP- P PHC's for mailing. Take to psot office.
  08/29/2013 Noel Johnson        0:06       0.10        0.10 $     187.02 $      18.70    $         18.70 NHJ- C KLP to discuss RS needs.
                                                                                                          NHJ- P mailing for service of filed documents related to
  08/29/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 pro hac motions.

  08/29/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 NHJ- C KLP re service issue. Review email re same
                                                                                                          NHJ- Discuss needed info from opposing counsel from
  08/29/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 KLP; P email to legal team re same.
                                                                                                          NHJ- RS re 1987 senate hearings on taxpayer bill fo
  08/29/2013 Noel Johnson        0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 rights.

  08/29/2013 Noel Johnson        0:42       0.70        0.00   $   187.02 $     130.91    $           -    NHJ- Continue research re: Bivens claim and tax code
                                                                                                           NHJ- Continue research re: Bivens claim and reviewing
  08/29/2013 Noel Johnson        0:48       0.80        0.00   $   187.02 $     149.62    $           -    case law re: same
                                                                                                          NHJ- Continue reviewing case law re Bivens claims in
  08/29/2013 Noel Johnson        2:24       2.40        2.40   $   187.02 $     448.85    $        448.85 DC Circuit and concerning tax code.

                                                                                                          ZSK- Review EO Journal postings re Holly Paz’ position
  08/29/2013 Zachary Kester      0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 on being a party to the suit and for possibl
                                                                                                          KLP- Conference with NHJ re: statement of
  08/30/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 uncontroverted facts.
  08/30/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- ECF notice re: deadline for answer
  08/30/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 KLP- Receive and save return receipts

  08/30/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 KLP- Emails re: conference call today or next week
                                                                                                          KLP- Sign up for Relativity. Work on how to uplaod
  08/30/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 1023 documents.
                                                                                                          NHJ- Review research re: scope of statement of
  08/30/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 material facts (7428 claim)
                                                                                                          NHJ- Review draft of Statement of Material Facts (7428
  08/30/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 claim)
  09/03/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 KLP- IM with NHJ re call today.
                                                                                                          KLP- Emails re call today. Respond with question re
  09/03/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 service on AG.



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                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
                                                                                                          NHJ- Install and test Foley and Lardner file sharing
  09/03/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 system.
                                                                                                          NHJ- Continue review case law re APA and Anti-
  09/03/2013 Noel Johnson        0:42       0.70        0.00   $   187.02 $     130.91    $           -   Injunction Act for purpose of memo re same.
                                                                                                          NHJ- Weekly PC with legal team to discuss needs and
  09/03/2013 Noel Johnson        0:54       0.90        0.90   $   187.02 $     168.32    $        168.32 strategy; email to and IM KLP re same.
                                                                                                          NHJ- R supplemental briefing in Z-Street v. IRS and
  09/03/2013 Noel Johnson        1:12       1.20        1.20   $   187.02 $     224.42    $        224.42 authorities cited therein.
                                                                                                          NHJ- Email correspondence with senate affair re
  09/04/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 availability of congressional hearing transcripts

                                                                                                           NHJ- Email correspondence with Matt Gutierrez re:
  09/04/2013 Noel Johnson        0:12       0.20        0.00   $   187.02 $       37.40   $           -    APA research; review Amended Complaint re: allega
                                                                                                          NHJ- R Trudeau v. FTC in preparation for conference
  09/04/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 call with Matt Gutierrez
                                                                                                          NHJ- Email correspondence with ACLJ attorneys re
  09/04/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 service issues.
                                                                                                          NHJ- PC with Foley tech support for tutorial of Relativity
  09/04/2013 Noel Johnson        0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 system.

  09/04/2013 Noel Johnson        0:36       0.60        0.00   $   187.02 $     112.21    $           -    NHJ- Conference call with Matt Gutierrez re APA rs.
                                                                                                           NHJ- Continue reviewing SCOTUS precedent re:
  09/04/2013 Noel Johnson        0:42       0.70        0.00   $   187.02 $     130.91    $           -    Bivens actions for purposes of memo on same
                                                                                                           NHJ- Continue revising SCOTUS precedent re Bivens
  09/04/2013 Noel Johnson        0:54       0.90        0.00   $   187.02 $     168.32    $           -    actions for purposes of memo on same.

                                                                                                          NHJ- Review Jarita Mesa Livestock Grazing Ass’n v.
  09/04/2013 Noel Johnson        1:06       1.10        1.10   $   187.02 $     205.72    $        205.72 United States Forest Serv.; download briefing fo
                                                                                                          NHJ- Continue reviewing SCOTUS precedent re:
  09/04/2013 Noel Johnson        1:48       1.80        0.00 $     187.02 $     336.64    $           -   Bivens actions for purposes of memo on same
  09/05/2013 Kaylan Phillips     0:06       0.10        0.00 $     187.02 $      18.70    $           -    KLP- C NHJ re Bivens.
                                                                                                          KLP- ECF notice re Court's status conference on DOJ's
  09/05/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 suggestion of incapacity.
                                                                                                          KLP- Emails from colleagues re lawyers for individual
  09/05/2013 Kaylan Phillips     0:18       0.30        0.00   $   187.02 $      56.11    $           -   defendants.
  09/05/2013 Kaylan Phillips     0:48       0.80        0.80   $   187.02 $     149.62    $        149.62 KLP- C NHJ re RS tasks and next steps.
                                                                                                          NHJ- RS contours of 7433 relief; discuss same with
  09/05/2013 Noel Johnson        0:06       0.10        0.00 $     187.02 $       18.70   $           -   KLP. (Bivens)
  09/05/2013 Noel Johnson        0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 NHJ- C KLp to discuss Relativity software.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 50 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
                                                                                                          NHJ- Follow up on lead to locate congressional hearing
  09/05/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 transcripts re 26 USC 7433
                                                                                                          NHJ- R letter of Holly Paz to congress re inconsistent
  09/05/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 testimony.
  09/05/2013 Noel Johnson        0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 NHJ- R dissenting opinions in AShcroft v. Iqbal.
                                                                                                          NHJ- Begin reviewing law review articles re current
  09/05/2013 Noel Johnson        0:30       0.50        0.00   $   187.02 $       93.51   $           -   state of Bivens doctrine.
                                                                                                           NHJ- Continue review law review articles re current
  09/05/2013 Noel Johnson        0:36       0.60        0.00   $   187.02 $     112.21    $           -    state of Bivens doctrine.
                                                                                                           NHJ- LR re Bivens pleading standard and qualified
  09/05/2013 Noel Johnson        0:48       0.80        0.00   $   187.02 $     149.62    $           -    immunity

                                                                                                          NHJ- Conference with KLP to discuss Tuesday’s
  09/05/2013 Noel Johnson        0:48       0.80        0.80 $     187.02 $     149.62    $        149.62 conference call, scheduling strategy for 7428, and di
  09/06/2013 Kaylan Phillips     0:06       0.10        0.00 $     187.02 $      18.70    $           -    KLP- Email from CM re APA claim.
                                                                                                          KLP- Call with clerk at US Attorney's office re how to
  09/06/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 serve.
                                                                                                          KLP- Email from CM to opposing counsel re meet and
  09/06/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 confer.
                                                                                                          KLP- Email from ML re: response to individual
  09/06/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 defendants’ request for additional time
                                                                                                          KLP- Email to process server re service on US
  09/06/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 Attorney.

  09/06/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- Email with ACLJ re resolution of service issue.
  09/06/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- P affdavit of service.
  09/06/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Call with clerk at U.S. Attorney's office.
                                                                                                          KLP- Email from CM re: letter to DOJ. Review and
  09/06/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 respond. Review emails re: same.

                                                                                                          KLP- Draft cover letter to U.S. Attorney. P documents
  09/06/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 for mailing. Email with process server.

                                                                                                          KLP- Review U.S. Attorney’s website. Calls to various
  09/06/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 individuals in the U.S. Attorney’s office re:
                                                                                                          KLP- Weekly phone conference with litigation team. C
  09/06/2013 Kaylan Phillips     1:06       1.10        1.10   $   187.02 $     205.72    $        205.72 with NHJ re: documents to circulate.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 51 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          NHJ- Review Cleta’s draft letter to opposing counsel re:
  09/06/2013 Noel Johnson        0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 meet and confer; rereview local rules and
                                                                                                          NHJ- Weekly strategy conference call with legal team;
  09/06/2013 Noel Johnson        1:06       1.10        1.10   $   187.02 $     205.72    $        205.72 prepare follow up email to legal team.

                                                                                                           NHJ- Review Devore v. Gannett, 1999 U.S. Dist. LEXIS
  09/09/2013 Noel Johnson        0:12       0.20        0.00   $   187.02 $       37.40   $           -    15982 (D.D.C. 1999) (Bivens); shepardize same

                                                                                                           NHJ- Continue reviewing law review articles re Bivens
  09/09/2013 Noel Johnson        1:30       1.50        0.00   $   187.02 $     280.53    $           -    actions and continue working on memo re same.

                                                                                                           NHJ- Continue reviewing law review articles re Bivens
  09/09/2013 Noel Johnson        1:42       1.70        0.00   $   187.02 $     317.93    $           -    actions and continue working on memo re same.
             Bostrom, Barry                                                                               BAB- R email from David Langdon and foward to KLP
  09/10/2013 A.                  0:06       0.10        0.10 $     187.02   $     18.70   $         18.70 for consideration.
  09/10/2013 Kaylan Phillips     0:06       0.10        0.00 $     187.02   $     18.70   $           -    KLP- C NHJ re SOL for Bivens claims.
  09/10/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $     18.70   $         18.70 KLP- C NHJ re "meet and confer" requirements.
  09/10/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $     18.70   $         18.70 KLP- Email from NHJ re Z Street news articles.
  09/10/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $     18.70   $         18.70 KLP- Update affidavit of service. Get notarized.
                                                                                                          KLP- C TJP re posting pleadings. Add TJP to ECF
  09/10/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 account.
                                                                                                          KLP- ECF notice re status conference. Email to team re
  09/10/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 same.
  09/10/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Email from CM re status conference.
                                                                                                          KLP- Email with MG re Steptoe lawyers for litigation
  09/10/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 hold letters.

                                                                                                          KLP- ECF notices re: notice of appearance and motion
  09/10/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 for extension of time. Review motion. Calendar
  09/10/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 KLP- Receive an save certified mail reeipts.
  09/10/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02 $       74.81   $         74.81 KLP- C NHJ re case needs.

                                                                                                          KLP- Email from CM re updating client. Draft several
  09/10/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 emails attaching recent filngs, send to client
                                                                                                          NHJ- C KLP to discuss meet and confer requirements
  09/10/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 under local rules.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 52 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                             Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                           NHJ- RS re statute of limitations for Bivens actions; c
  09/10/2013 Noel Johnson        0:12       0.20        0.00   $   187.02 $       37.40   $           -    KLP to discuss samw.
                                                                                                          NHJ- Check dockets in related cases for activity;
  09/10/2013 Noel Johnson        0:12       0.20        0.02   $   187.02 $       37.40   $          3.74 conference with KLP re same.

                                                                                                          NHJ- Download and save recent filings; review Motion
  09/10/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 for Extension of Time to File Answer by Indivi
                                                                                                          NHJ- R media reports on motion to dismiss hearing in Z
  09/10/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 Street v. IRS

                                                                                                          NHJ- Research local rules re: meet and confer
  09/10/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 requirements and motion practice for dispositive and
                                                                                                          NHJ- C KLP to discuss RS needs and preparation for
  09/10/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 motionto dismiss.

  09/10/2013 Noel Johnson        0:36       0.60        0.00   $   187.02 $     112.21    $           -    NHJ- Continue reviewing case law re Bivens and IRS>
                                                                                                          NHJ- RS and R case law re legislative history of Sec.
  09/10/2013 Noel Johnson        1:06       1.10        1.10 $     187.02 $     205.72    $        205.72 7428
  09/10/2013 Noel Johnson        1:18       1.30        0.00 $     187.02 $     243.13    $           -    NHJ- DC Circuit Bivens cases.

  09/10/2013 Noel Johnson        1:30       1.50        0.00 $     187.02   $   280.53    $           -    NHJ- R 20th Cir. and SDNY authority re Bivens and IRS
  09/11/2013 Kaylan Phillips     0:06       0.10        0.00 $     187.02   $    18.70    $           -    KLP- C NHJ re Bivens/AIA case.
  09/11/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- ECF notice re notice of appearance.
  09/11/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- Email re litigation hold letters.
  09/11/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- Emails re ML's admission to D.D.C.
  09/11/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 KLP- Emails re extranet site.
                                                                                                          KLP- Book flight. Emails re arrangements for next
  09/11/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 week.
                                                                                                           KLP- C NHJ re Bivens/AIA case: Judicial Watch v.
  09/11/2013 Kaylan Phillips     0:30       0.50        0.00   $   187.02 $       93.51   $           -    Rossotti.

  09/11/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 KLP- Email with colleagues re meeting next Friday.
                                                                                                          KLP- R flight options for DC next week. Email to team
  09/11/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 re meeting time.

  09/11/2013 Kaylan Phillips     0:54       0.90        0.00 $     187.02 $     168.32    $           -    KLP- R Bivens/AIA case (Judicial Watch v. Rossotti)
  09/11/2013 Noel Johnson        0:06       0.10        0.00 $     187.02 $      18.70    $           -    NHJ- C KLP re Bivens RS.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 53 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
  09/11/2013 Noel Johnson        0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 NHJ- R available flights for 9/19 trip to DC.
  09/11/2013 Noel Johnson        0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 NHJ- R draft litigation hold letters.
                                                                                                          NHJ- C ZSK to dicuss 7433 and definition of
  09/11/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 "determination"
                                                                                                           NHJ- Continue reviewing SCOTUS case law re qualified
  09/11/2013 Noel Johnson        0:18       0.30        0.00   $   187.02 $       56.11   $           -    immunity doctrine.
                                                                                                          NHJ- R Cor. Servs Corp. vs. Malesko, 534 U.S. 61
  09/11/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 (2001); shepardize same and review.
                                                                                                          NHJ- C KLP re Judicial Watch v. Rosotti and strategy
  09/11/2013 Noel Johnson        0:30       0.50        0.00   $   187.02 $       93.51   $           -   for Bivens claim.
                                                                                                          NHJ- RS and R SCOTUS case law re Bivens and
  09/11/2013 Noel Johnson        0:48       0.80        0.00   $   187.02 $     149.62    $           -   qualified immunity.
                                                                                                          NHJ- Continue making travel plans for 9.19 trip to DC
  09/11/2013 Noel Johnson        0:54       0.90        0.90   $   187.02 $     168.32    $        168.32 with KLP; search and book flight for same.
                                                                                                          NHJ- Continue working on outline for legal memo on
  09/11/2013 Noel Johnson        1:00       1.00        0.00   $   187.02 $     187.02    $           -   Bivens claim.
  09/11/2013 Noel Johnson        1:06       1.10        1.10   $   187.02 $     205.72    $        205.72 NHJ- R appellate briefing in Davis v. Bullinton

  09/11/2013 Zachary Kester      0:12       0.20        0.20 $     187.02   $     37.40   $         37.40 ZSK- C NHJ re "determine" in 7433 and 7428.
  09/12/2013 Kaylan Phillips     0:06       0.10        0.00 $     187.02   $     18.70   $           -    KLP- C NHJ re Bivens.
  09/12/2013 Kaylan Phillips     0:06       0.10        0.00 $     187.02   $     18.70   $           -    KLP- C NHJ re qualified immunity.
  09/12/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02   $     74.81   $         74.81 KLP- Email with Cath re hotel. R and book.
                                                                                                          KLP- Email with David Langdon and group re
  09/12/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 conference call.

                                                                                                          KLP- R article re Lois Lerner's email calling tea party
  09/12/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 groups "dangerous." Emails with team re sam
                                                                                                          NHJ- C KLP to discuss call with NorCal counsel and
  09/12/2013 Noel Johnson        0:06       0.10        0.00   $   187.02 $       18.70   $           -   qualified immunity issues.
                                                                                                           NHJ- Begin drafting legal memo re analysis of Bivens
  09/12/2013 Noel Johnson        0:12       0.20        0.00   $   187.02 $       37.40   $           -    claim.

                                                                                                           NHJ- Download from PACER and review Motion to
  09/12/2013 Noel Johnson        1:06       1.10        0.00   $   187.02 $     205.72    $           -    Dismiss briefing in recent Bivens cases in DDC. (Bloe
                                                                                                           NHJ- R SCOTUS Bivens case law; shepardize same
  09/12/2013 Noel Johnson        2:00       2.00        0.00 $     187.02 $     374.04    $           -    and review results.
  09/13/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $      18.70    $         18.70 KLP- Email to NHJ re call today and next steps.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 54 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          KLP- Emails between CM and opposing counsel re
  09/13/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 meet and confer.
  09/13/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- R articles re Lois Lerner's emails.
  09/13/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 KLP- Emails re call with NorCal lawyers today.
                                                                                                          KLP- Email from CM re Lois Lerner's email. R emails.
  09/13/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 Save in folders.
                                                                                                          KLP- Prep for call with NorCal. R docket and pleadings.
  09/13/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 Email team re same.
                                                                                                          KLP- Find congressional memos on 6103. Print and
  09/13/2013 Kaylan Phillips     0:42       0.70        0.00 $     187.02   $   130.91    $           -   organize in binder. R TOC.
  09/13/2013 Kaylan Phillips     0:42       0.70        0.70 $     187.02   $   130.91    $        130.91 KLP- Call with team re case updates and needs.
  09/13/2013 Kaylan Phillips     0:54       0.90        0.90 $     187.02   $   168.32    $        168.32 KLP- Call with NorCal lawyers and co-counsel.
  09/13/2013 Noel Johnson        0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 NHJ- R Lois Lerner emails released by Congress.
                                                                                                          NHJ- RS re House Committee interviews with IRS
  09/13/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 employees.
                                                                                                           NHJ- RS and review case law denying Bivens claims
  09/13/2013 Noel Johnson        0:36       0.60        0.00   $   187.02 $     112.21    $           -    against IRS.
                                                                                                           KLP- Start in-depth review of congressional memos on
  09/15/2013 Kaylan Phillips     0:24       0.40        0.00 $     187.02   $     74.81   $           -    6103.
  09/16/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $     37.40   $         37.40 KLP- C NHJ re evidence of defendant's activites.
  09/16/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $     37.40   $         37.40 KLP- Emails re defendant matrix.
  09/16/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $     37.40   $         37.40 KLP- Emails re meetings this week.

  09/16/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 KLP- R litigation hold letters. Email Bill Davis re same.
                                                                                                          KLP- C NHJ re needs this week, conferences last week,
  09/16/2013 Kaylan Phillips     1:12       1.20        1.20   $   187.02 $     224.42    $        224.42 etc.
                                                                                                          NHJ- R docket for activity and R IRS' motion to dismiss
  09/16/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 in CREW v. IRS

                                                                                                          NHJ- RS re list of IRS employees interviewed by House
  09/16/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 Oversight Committee; email to Cleta re same.
                                                                                                          NHJ- Continue working on legal memo re analysis of
  09/16/2013 Noel Johnson        0:36       0.60        0.00   $   187.02 $     112.21    $           -   Bivens claim.
                                                                                                          NHJ- Conference with KLP to discuss phone
                                                                                                          conferences with NorCal attorneys and weekly call with
  09/16/2013 Noel Johnson        1:12       1.20        1.20   $   187.02 $     224.42    $        224.42 le



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 55 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                             Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
                                                                                                          NHJ- Review available portions of IRS employee
  09/16/2013 Noel Johnson        1:18       1.30        1.30   $   187.02 $     243.13    $        243.13 interviews with House Committee counsel; take notes

                                                                                                          NHJ- Continue reviewing available portions of IRS
  09/16/2013 Noel Johnson        1:36       1.60        1.60   $   187.02 $     299.23    $        299.23 employee interviews with House Committee counsel;

  09/17/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- Email re meet and confer on Thursday. Calendar.
  09/17/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- Emails re litigation hold letters.
  09/17/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Email with Cath re working space.
                                                                                                          KLP- Organize return receipts in folders. P AG receipt
  09/17/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 for filing.
                                                                                                          KLP- R notice re House hearing on how the IRS is
  09/17/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 operating post TIGTA report. Circulate to colleagu
  09/17/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 KLP- C NHJ re defendant matrix and redactions.

                                                                                                          KLP- Email from CM re: recent article and document
  09/17/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 listing groups that were targeted. Review articl
                                                                                                          NHJ- C KLP to discuss redactions to IRS interview
  09/17/2013 Noel Johnson        0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 transcripts.
  09/17/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 NHJ- C KLP to discuss defendant matrix.

                                                                                                          NHJ- Continue reviewing testimony of IRS Screening
  09/17/2013 Noel Johnson        1:00       1.00        1.00   $   187.02 $     187.02    $        187.02 Manager; continue taking notes on same.
                                                                                                          NHJ- Continue drafting legal memo re analysis of
  09/17/2013 Noel Johnson        1:18       1.30        0.00   $   187.02 $     243.13    $           -   Bivens claim.

                                                                                                          NHJ- Continue reviewing testimony of IRS Screening
  09/17/2013 Noel Johnson        1:18       1.30        1.30   $   187.02 $     243.13    $        243.13 Manager; continue taking notes on same.
                                                                                                          KLP- C NHJ re list of targeted organizations and
  09/18/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 proposed schedule for SJ briefing.
  09/18/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Emails re list of targeted organizations.
                                                                                                          KLP- Finalize remaining affidavits of service. Circulate
  09/18/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 to team.
                                                                                                          KLP- Finalize and file affidavits of service. P mail
  09/18/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 service.
                                                                                                          KLP- Email with team re proposed timeline. R
  09/18/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 responses. Update.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 56 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          KLP- Emails re list of targeted organizations and next
  09/18/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 steps.
                                                                                                          KLP- Draft email re proposed timeline for SJ briefing. R
  09/18/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 rules and examples. C NHJ re same.
                                                                                                          NHJ- C KLP to discuss timeline for filing of
  09/18/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 administrative record and SJ motions.
  09/18/2013 Noel Johnson        0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 NHJ- RS re legislative history of 26 USC 7428.
                                                                                                          NHJ- P service mailing for defendant David Fish for
  09/18/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 latest affidavits of service; drive to post off
                                                                                                          NHJ- R IRS list of targeted groups; email
                                                                                                          correspondence with legal team re same; conference
  09/18/2013 Noel Johnson        0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 KLP to

                                                                                                          NHJ- R House Ways and Mean Committee Memo of
  09/18/2013 Noel Johnson        0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 Sept. 17th summarizing current status of IRS investiga
                                                                                                          NHJ- Continue drafting legal memo on analysis of
  09/18/2013 Noel Johnson        1:06       1.10        0.00   $   187.02 $     205.72    $           -   Bivens claim.
                                                                                                           NHJ- Continue drafting legal memo on analysis of
  09/18/2013 Noel Johnson        1:18       1.30        0.00 $     187.02   $   243.13    $           -    Bivens claim.
  09/19/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 KLP- C call with litigation team.
  09/19/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 KLP- C call with opposing counsel.
  09/19/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02   $    93.51    $         93.51 KLP- C call with litigation team.
                                                                                                          KLP- C with ML and CM to prep for tomorrow's
  09/19/2013 Kaylan Phillips     1:48       1.80        1.80   $   187.02 $     336.64    $        336.64 meetings.

  09/19/2013 Kaylan Phillips     2:00       2.00        2.00 $     187.02   $   374.04    $        374.04 KLP- RS legislative history at Library of Congress.
  09/19/2013 Kaylan Phillips     4:00       4.00        4.00 $      93.51   $   374.04    $        374.04 KLP- Travel to DC and to Foley offices.
  09/19/2013 Noel Johnson        0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 NHJ- Conference call with DOJ attorneys.
  09/19/2013 Noel Johnson        0:30       0.50        0.50 $     187.02   $    93.51    $         93.51 NHJ- Conference call with litigation team.
                                                                                                          NHJ- Conference with Mike Lockerby and Cleta Mitchell
  09/19/2013 Noel Johnson        1:48       1.80        1.80   $   187.02 $     336.64    $        336.64 to prep for tomorrow's meeting.
                                                                                                          NHJ- Travel to Library of Congress and conduct re
  09/19/2013 Noel Johnson        2:00       2.00        2.00 $      93.51 $     187.02    $        187.02 legislatvie history of 26 USC 7433 (Bivens)
  09/19/2013 Noel Johnson        4:00       4.00        4.00 $      93.51 $     374.04    $        374.04 NHJ- Travel to DC and to Foley offices.
  09/20/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02 $      74.81    $         74.81 KLP- ECF notice re MTD. Emails re same.
                                                                                                          KLP- PC with CM, NHJ, and ML re individual
  09/20/2013 Kaylan Phillips     0:30       0.50        0.00   $   187.02 $       93.51   $           -   defendants.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 57 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                           KLP- Meetings with legal team in DC re individual
  09/20/2013 Kaylan Phillips     3:00       3.00        0.00 $     187.02 $     561.06    $           -    defendants.
  09/20/2013 Kaylan Phillips     3:30       3.50        3.50 $      93.51 $     327.29    $        327.29 KLP- Travel home.
  09/20/2013 Noel Johnson        0:12       0.20        0.10 $     187.02 $      37.40    $         18.70 NHJ- Email correspondence re Motion to Dismiss.
                                                                                                          NHJ- PC with CM, ML, and KLP re individual
  09/20/2013 Noel Johnson        0:30       0.50        0.00   $   187.02 $       93.51   $           -   defendants.
                                                                                                           NHJ- Meetings with legal team in DC re individual
  09/20/2013 Noel Johnson        3:00       3.00        0.00   $   187.02 $     561.06    $           -    defendants.
                                                                                                          KLP- R opposition to extension of time, send
  09/22/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 comments.
                                                                                                          KLP- R MTD, draft email to team re comments. Email
  09/22/2013 Kaylan Phillips     0:48       0.80        0.60 $     187.02 $     149.62    $        112.21 with team re call tomorrow.
  09/22/2013 Noel Johnson        4:00       4.00        4.00 $      93.51 $     374.04    $        374.04 NHJ- Travel back to Indianapolis.
             Joseph
  09/23/2013 Vanderhulst         1:00       1.00        0.70   $   187.02 $     187.02    $        130.91 JAV- R motion to dismiss, prep for PC.
             Joseph
  09/23/2013 Vanderhulst         1:30       1.50        1.00   $   187.02 $     280.53    $        187.02 JAV- PC litigation team re MTD, c KLP and NHJ.
             Joseph                                                                                       JAV- R rest of MTD, work on arguments, c re plan, R
  09/23/2013 Vanderhulst         1:30       1.50        1.00   $   187.02 $     280.53    $        187.02 ems re plan/arguments.
                                                                                                          KLP- ECF notice re filing opposition to motion for
  09/23/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 extension.

  09/23/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 KLP- Email from Cath re unsuccessful mail delivery.

  09/23/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Email with colleagues re attorneys fees statute.
  09/23/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Emails re opposition to motion for extension.
                                                                                                          KLP- R article re Lois Lerner retiring. Email with
  09/23/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 colleagues re same.
  09/23/2013 Kaylan Phillips     0:18       0.30        0.00   $   187.02 $       56.11   $           -    KLP- Email with CM re 7431 arguments.

  09/23/2013 Kaylan Phillips     0:18       0.30        0.00 $     187.02   $     56.11   $           -    KLP- R MTD, work on how to break up 7431 responses.
  09/23/2013 Kaylan Phillips     0:18       0.30        0.20 $     187.02   $     56.11   $         37.40 KLP- Emails re call re MTD. Prep for call.
  09/23/2013 Kaylan Phillips     0:24       0.40        0.00 $     187.02   $     74.81   $           -    KLP- C NHJ re 7431 claim.
  09/23/2013 Kaylan Phillips     0:30       0.50        0.00 $     187.02   $     93.51   $           -    KLP- C NHJ re responding to 7431 arguments.
                                                                                                          KLP- Work on opposition to motion for extension of
  09/23/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 time. R rules. Email with CM re same.



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Expenses adjusted for reimbursable and non-reimbursable.              Page 58 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          KLP- Conference call with team re: response to motion
  09/23/2013 Kaylan Phillips     1:30       1.50        1.00 $     187.02 $     280.53    $        187.02 to dismiss. Conference with MG, NHJ, and JAV
  09/23/2013 Noel Johnson        0:06       0.10        0.00 $     187.02 $      18.70    $           -    NHJ- Continue reviewing DOJ Motion to Dismiss.

                                                                                                           NHJ- R email correspondence re Internal Revenue
  09/23/2013 Noel Johnson        0:06       0.10        0.00 $     187.02 $       18.70   $           -    Manual portions concerning 7431 actions.
  09/23/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 NHJ- Discuss meetings in DC with ZSK.
                                                                                                          NHJ- PC with Matt Gutierrez re APA claims/arguments
  09/23/2013 Noel Johnson        0:18       0.30        0.00   $   187.02 $       56.11   $           -   (opp. to MTD)
  09/23/2013 Noel Johnson        0:24       0.40        0.00   $   187.02 $       74.81   $           -    NHJ- C KLP re Sec. 7431.

                                                                                                           NHJ- Continue legal research re 6103 pleading
  09/23/2013 Noel Johnson        0:24       0.40        0.00   $   187.02 $       74.81   $           -    standard; begin drafting portion of oppositioni to MT
                                                                                                          NHJ- Legal research re: time to file responsive pleading
  09/23/2013 Noel Johnson        0:24       0.40        0.40 $     187.02   $    74.81    $         74.81 for opposition to motion for extension by
  09/23/2013 Noel Johnson        0:30       0.50        0.00 $     187.02   $    93.51    $           -    NHJ- C KLP re responding to 7431 arguments.
  09/23/2013 Noel Johnson        0:30       0.50        0.40 $     187.02   $    93.51    $         74.81 NHJ- R DOJ Motion to Dismiss.
  09/23/2013 Noel Johnson        1:00       1.00        0.00 $     187.02   $   187.02    $           -    NHJ- LR re 6103 pleading standard (7431 claim)

                                                                                                           NHJ- Continue legal research re: 6103 pleading
  09/23/2013 Noel Johnson        1:18       1.30        0.00   $   187.02 $     243.13    $           -    standard; begin drafting portion of opposition to MT

                                                                                                          NHJ- Phone conference with legal team re: responding
  09/23/2013 Noel Johnson        1:30       1.50        1.00   $   187.02 $     280.53    $        187.02 to DOJ Motion to Dismiss; Phone conference wit

  09/23/2013 Zachary Kester      0:18       0.30        0.20   $   187.02 $       56.11   $         37.40 ZSK- R Mtn to dismiss; C KLP re same.

             Joseph                                                                                       JAV- RS, work on mootness arguments, r ems
  09/24/2013 Vanderhulst         2:00       2.00        2.00 $     187.02   $   374.04    $        374.04 throughout day, r proposed order. C with NHJ re same.
  09/24/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- R news articles re tax-exempt status.
  09/24/2013 Kaylan Phillips     0:12       0.20        0.00 $     187.02   $    37.40    $           -    KLP- Emails re 7431 claims, respond.
  09/24/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 KLP- C NHJ re sources needed.
  09/24/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 KLP- Emails re mootness.
                                                                                                          KLP- Emails er proposed motion. R proposed motion
  09/24/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 and respond.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 59 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
                                                                                                          KLP- Emails re re-filing motion. C with NHJ re same.
  09/24/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 Email re service copy.
                                                                                                          KLP- R NHJ's draft re pleading standard. Make
  09/24/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 comments. Send.
                                                                                                           KLP- Work on 7431 claims. Chat with NHJ re sources
  09/24/2013 Kaylan Phillips     0:48       0.80        0.00   $   187.02 $     149.62    $            -   needed.
                                                                                                           NHJ- Make edits to draft Joint Order re Count I; email
  09/24/2013 Noel Johnson        0:12       0.20        0.00   $   187.02 $       37.40   $            -   correspondence with legal team re same.

  09/24/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 NHJ- C KLP re sources, find and send documents.
                                                                                                          NHJ- C JAV to discuss arguments re 6103 for opp. to
  09/24/2013 Noel Johnson        0:18       0.30        0.00   $   187.02 $       56.11   $           -   MTD.
                                                                                                          NHJ- C JAV to discuss extension of time to oppose
  09/24/2013 Noel Johnson        0:18       0.30        0.20   $   187.02 $       56.11   $         37.40 MTD; emails to MG and CM re same.
                                                                                                          NHJ- Email correspondence re filing error; call clerk re
  09/24/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 same; refile opposition to motion for exte
                                                                                                          NHJ- Email correspondence with legal team re AIA and
  09/24/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 mootness.
                                                                                                          NHJ- Proofread, finalize, and file opposition to motion
  09/24/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 for extension by individual defendants.

  09/24/2013 Noel Johnson        0:30       0.50        0.40   $   187.02 $       93.51   $         74.81 NHJ- Continue work on opposition to motion to dismiss.

                                                                                                          NHJ- Legal research re: attorney fees under 26 USC
  09/24/2013 Noel Johnson        0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 7430 and requirements of 26 USC 509; email to CM

                                                                                                           NHJ- Continue work on opposition to motion to dismiss
  09/24/2013 Noel Johnson        1:06       1.10        0.00   $   187.02 $     205.72    $            -   (7431 claim); legal research re: 6103 and “re

                                                                                                           NHJ-Continue work on opposition to motion to dismiss
  09/24/2013 Noel Johnson        1:24       1.40        0.00   $   187.02 $     261.83    $            -   (7431 claim); continue legal research re: 6103

  09/24/2013 Noel Johnson        1:48       1.80        1.30   $   187.02 $     336.64    $        243.13 NHJ- Continue work on opposition to motion to dismiss.

             Joseph                                                                                        JAV- R complaint/arguments, r cases and law, outline
  09/25/2013 Vanderhulst         8:00       8.00        8.00 $     187.02 $    1,496.16   $       1,496.16 mootness section, r ems. C NHJ re arguments.
  09/25/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- ECF notice re defendants' extension.
  09/25/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- ECF notice re notice of appearance.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 60 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          KLP- Emails re Steptoe's response to litigation hold
  09/25/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 letters.
  09/25/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Emails re tax-exempt status letter.
  09/25/2013 Kaylan Phillips     0:24       0.40        0.30 $     187.02 $       74.81   $         56.11 KLP- Email with colleagues re responseto MTD.
                                                                                                          KLP- Continue reviewing congressional memos on
  09/25/2013 Kaylan Phillips     0:30       0.50        0.00 $     187.02 $      93.51    $           -   6103.
  09/25/2013 Kaylan Phillips     1:00       1.00        0.00 $     187.02 $     187.02    $           -    KLP- Online LR for 7431 claim.
                                                                                                           NHJ- R and incorporate KLP's suggestions for
  09/25/2013 Noel Johnson        0:06       0.10        0.00 $     187.02 $       18.70   $           -    opposition to MTD
  09/25/2013 Noel Johnson        0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 NHJ- Discuss mootness arguments with JAV.
                                                                                                          NHJ- G-chat conference with KLP re copies of certified
  09/25/2013 Noel Johnson        0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 mail receipts for David Fish.
  09/25/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 NHJ- C JAV re arguments for opposition.
                                                                                                          NHJ- PC with MG to discuss response to motion to
  09/25/2013 Noel Johnson        0:18       0.30        0.20   $   187.02 $       56.11   $         37.40 dismiss re coutns II and V.
                                                                                                          NHJ- P service copy for David Fish; drive to post office
  09/25/2013 Noel Johnson        0:24       0.40        0.40 $     187.02 $      74.81    $         74.81 and mail same.
  09/25/2013 Noel Johnson        0:36       0.60        0.40 $     187.02 $     112.21    $         74.81 NHJ- Continue drafting opposition to MTD

  09/25/2013 Noel Johnson        2:00       2.00        2.00   $   187.02 $     374.04    $        374.04 NHJ- Continue RS for and drafting oppositions to MTD

  09/25/2013 Noel Johnson        2:18       2.30        2.00   $   187.02 $     430.15    $        374.04 NHJ- Continue RS for and drafting opposition to MTD
             Joseph                                                                                       JAV- Work on mootness section draft, confs re other
  09/26/2013 Vanderhulst         3:00       3.00        3.00 $     187.02 $     561.06    $        561.06 arguments.
  09/26/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $      18.70    $         18.70 KLP- Email from NHJ re call today.
                                                                                                          KLP- ECF notice re amended MTD. Email with NHJ re
  09/26/2013 Kaylan Phillips     0:12       0.20        0.10 $     187.02   $     37.40   $         18.70 same.
  09/26/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $     37.40   $         37.40 KLP- ECF notice and email re hearing today.
  09/26/2013 Noel Johnson        0:06       0.10        0.10 $     187.02   $     18.70   $         18.70 NHJ- C JAV to discuss mootness and Count V.
  09/26/2013 Noel Johnson        0:06       0.10        0.10 $     187.02   $     18.70   $         18.70 NHJ- P email to KLP re above conference call.
                                                                                                          NHJ- R order in incapacity of defendant David Fish; R
  09/26/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 email from CM re same.
                                                                                                          NHJ- Update information for pro hac applications; email
  09/26/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 correspondence with Cath Kidwell re same.
                                                                                                          NHJ- R email from MG re AIA and Cohen; discuss
  09/26/2013 Noel Johnson        0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 same with JAV; P reply email.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 61 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
                                                                                                           NHJ- Continue RS re "authorized inspections" and
  09/26/2013 Noel Johnson        1:06       1.10        0.00   $   187.02 $     205.72    $           -    continue drafting opposition to MTD.
                                                                                                          NHJ- Create pro hac admission applications for all
  09/26/2013 Noel Johnson        1:06       1.10        1.10 $     187.02 $     205.72    $        205.72 attorneys; email correspondence re same.
  09/26/2013 Noel Johnson        1:18       1.30        0.90 $     187.02 $     243.13    $        168.32 NHJ- Continue drafting opposition to MTD.
             Joseph
  09/27/2013 Vanderhulst         1:00       1.00        1.00   $   187.02 $     187.02    $        187.02 JAV- Confs and ems re deadline/extension.
             Joseph                                                                                       JAV- Weekly call re case and response briefing. C with
  09/27/2013 Vanderhulst         1:00       1.00        1.00   $   187.02 $     187.02    $        187.02 NHJ and MG re AIA arguments.
             Joseph                                                                                       JAV- Work on mootness section. C with NHJ re
  09/27/2013 Vanderhulst         3:00       3.00        3.00 $     187.02 $     561.06    $        561.06 "voluntary cessation" argument.
  09/27/2013 Kaylan Phillips     0:12       0.20        0.10 $     187.02 $      37.40    $         18.70 KLP- Emails re schedule for MTD briefing.

  09/27/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 KLP- Emails from team re case updates and filings.
                                                                                                          NHJ- C JAV re briefing schedule for responses to
  09/27/2013 Noel Johnson        0:06       0.10        0.00   $   187.02 $       18.70   $           -   MTDs.
                                                                                                          NHJ- C JAV to discuss "voluntary cessation" and 7431
  09/27/2013 Noel Johnson        0:12       0.20        0.10   $   187.02 $       37.40   $         18.70 arguments for opp. to MTD.
                                                                                                          NHJ- LR re effect of motion to amend/correct MTD;
  09/27/2013 Noel Johnson        0:12       0.20        0.10   $   187.02 $       37.40   $         18.70 email correspondence re same.
                                                                                                          NHJ- Email correpondences with legal team re
  09/27/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 proposed briefing schedule.

                                                                                                          NHJ- PC with CM and Cath Kidwell re filing clarification
  09/27/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 to response to motion for extension; email
                                                                                                          NHJ- PC with MG and JAV re anti injunction act
  09/27/2013 Noel Johnson        0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 arguments for opposition to MTD.
  09/27/2013 Noel Johnson        0:30       0.50        0.50 $     187.02 $       93.51   $         93.51 NHJ- Continue drafting opposition to MTD.
                                                                                                          NHJ- Weekly conference call with legal team; discuss
  09/27/2013 Noel Johnson        0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 proposed briefing schedule with JAV.
  09/27/2013 Noel Johnson        1:00       1.00        0.70   $   187.02 $     187.02    $        130.91 NHJ- Continue drafting opposition to MTD.

  09/28/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 KLP- Email with NHJ re deadline for response to MTD.
             Joseph
  09/30/2013 Vanderhulst         0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 JAV- R emails over weekend re deadline and filing.
             Joseph                                                                                       JAV- R ems re agreed schedule, help prep joing
  09/30/2013 Vanderhulst         1:00       1.00        1.00   $   187.02 $     187.02    $        187.02 motion.



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Expenses adjusted for reimbursable and non-reimbursable.              Page 62 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
             Joseph
  09/30/2013 Vanderhulst         2:00       2.00        2.00   $   187.02 $     374.04    $        374.04 JAV- Work on mootness section draft.
                                                                                                          KLP- Emails from Nor Cal counsel re: MTD filed in their
  09/30/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 case
  09/30/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Emails re deadline.
  09/30/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 KLP- Emails re: joint motion for scheduling

                                                                                                          NHJ- Discuss Judge Walton's general orders re motion
  09/30/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 for extension with JAV; email to legal team re

                                                                                                          NHJ- Email correspondence with legal team re
  09/30/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 proposed briefing schedule and call to Judge Walton's

                                                                                                          NHJ- R local rules re extensions; call to Judge Walton's
  09/30/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 chambers re supplement to MTD; P email to

                                                                                                          NHJ- R local and chamber rules; draft Joint Proposed
  09/30/2013 Noel Johnson        2:42       2.70        2.70 $     187.02 $     504.95    $        504.95 Briefing Schedule on Motions to Dismiss and pr
  10/01/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $      18.70    $         18.70 KLP- C NHJ re case needs.
                                                                                                          NHJ- C KLP and JAV to discuss joint motion for
  10/01/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 extension.
                                                                                                          NHJ- Begin reviewing MG's portion of opp. to MTD re
  10/01/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 Count II.
                                                                                                          NHJ- P mailing for service of joint briefing schedule;
  10/01/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 drive to post office to mail same.
             Joseph
  10/02/2013 Vanderhulst         0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 JAV- Help with extension motion, r.
             Joseph                                                                                       JAV- R ems re extension, conference call, progress on
  10/02/2013 Vanderhulst         0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 MTD response.
  10/02/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $      18.70    $         18.70 KLP- ECF notice re consent motion.

  10/02/2013 Kaylan Phillips     0:30       0.50        0.20   $   187.02 $       93.51   $         37.40 KLP- Emails re motion needed today. C NHJ re same.
                                                                                                          NHJ- Continue reviewing MG's portion of opp. to MTD
  10/02/2013 Noel Johnson        0:06       0.10        0.00   $   187.02 $       18.70   $           -   re Count II and Count V.

  10/02/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 NHJ- R DOJ motion to dismiss filed in NorCal action.
                                                                                                          NHJ- PC with CM re changes to motion for extension;
  10/02/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 file same.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 63 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
                                                                                                          NHJ- P mailing service of motion of extension for David
  10/02/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 Fish; drive to post office and mail same.

                                                                                                          NHJ- Continue drafting motion for extension; discuss
  10/02/2013 Noel Johnson        0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 same with JAV; circulate for review to legal t

                                                                                                          NHJ- Review CM’s changes to motion for extension and
  10/02/2013 Noel Johnson        0:48       0.80        0.80   $   187.02 $     149.62    $        149.62 make additional edits per CM’s request; resear
                                                                                                          NHJ- Email correspondence with legal team re motion
  10/02/2013 Noel Johnson        1:24       1.40        1.40   $   187.02 $     261.83    $        261.83 for extension; begin drafting same.
             Joseph
  10/04/2013 Vanderhulst         0:36       0.60        0.40 $     187.02 $     112.21    $         74.81 JAV- C call re MTD, etc, r timeline.
  10/04/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $      18.70    $         18.70 KLP- ECF notice re deadline reset.
                                                                                                          KLP- C NHJ to prep for weekly conference call with
  10/04/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 legal team.
                                                                                                          KLP- Email with drafting team re timeline. Create
  10/04/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 timeline for rest of briefing schedule. Email wit
                                                                                                          KLP- Weekly call with CM, MG, JAV, and NHJ. C JAV
  10/04/2013 Kaylan Phillips     0:36       0.60        0.40   $   187.02 $     112.21    $         74.81 and NHJ re timeline for opp to MTD.
                                                                                                          NHJ- R legislative history of 26 USC 7433 (Bivens
  10/04/2013 Noel Johnson        0:18       0.30        0.00   $   187.02 $       56.11   $           -   claim)
                                                                                                          NHJ- C KLP to prep for weekly conference call with
  10/04/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 legal team.
                                                                                                           NHJ- Continue working on legal memorandum of
  10/04/2013 Noel Johnson        0:24       0.40        0.00   $   187.02 $       74.81   $           -    Bivens claims.

                                                                                                          NHJ- Weekly conference call with legal team;
  10/04/2013 Noel Johnson        0:36       0.60        0.40   $   187.02 $     112.21    $         74.81 discussions with KLP and JAV re timeline for op to MTD
                                                                                                          NHJ- Continue reviewing legislative history of 26 USC
  10/04/2013 Noel Johnson        1:06       1.10        0.00   $   187.02 $     205.72    $           -   7433 (Bivens claim)
                                                                                                          NHJ- Continue working on legal memorandum of
  10/04/2013 Noel Johnson        1:30       1.50        0.00   $   187.02 $     280.53    $           -   Bivens claims.
             Joseph
  10/07/2013 Vanderhulst         0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 JAV- C KLP and NHJ re MTD drafting, schedule.
                                                                                                          KLP- News articles re IRS employees using personal
  10/07/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 email.

  10/07/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Call to IU Law Library re access to database.
  10/07/2013 Kaylan Phillips     0:18       0.30        0.00 $     187.02 $       56.11   $           -    KLP- C NHJ re MTD arguments. (7431)

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Expenses adjusted for reimbursable and non-reimbursable.              Page 64 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                   1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
  10/07/2013 Kaylan Phillips     0:18       0.30        0.20   $   187.02 $       56.11   $         37.40 KLP- C JAV and NHJ re RS needs for MTD.
                                                                                                          KLP- Email with JAV and NHJ re: proposed internal
  10/07/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 briefing schedule. Email to CM re: same.
                                                                                                          NHJ- R proposed internal brief drafting schedule and
  10/07/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 discuss same with KLP.
                                                                                                          NHJ- C KLP re needs for 7431 claims section of
  10/07/2013 Noel Johnson        0:18       0.30        0.00   $   187.02 $       56.11   $           -   opposition to MTD.
                                                                                                          NHJ- C KLP and JAV re RS needs for opposition to
  10/07/2013 Noel Johnson        0:18       0.30        0.20   $   187.02 $       56.11   $         37.40 MTD.

  10/07/2013 Noel Johnson        0:36       0.60        0.00   $   187.02 $     112.21    $           -    NHJ- Continue drafting opposition to MTD. (7431 claim)
                                                                                                           NHJ- Continue reviewing legislative history of Sec. 7433
  10/07/2013 Noel Johnson        0:42       0.70        0.00   $   187.02 $     130.91    $           -    (Bivens claim)
             Joseph
  10/08/2013 Vanderhulst         1:00       1.00        1.00 $     187.02   $   187.02    $        187.02 JAV- Work on drafting/revising mootness section.
  10/08/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- Organize documents for briefing.
  10/08/2013 Kaylan Phillips     0:18       0.30        0.00 $     187.02   $    56.11    $           -    KLP- C NHJ re 7431 inspection claims.
  10/08/2013 Kaylan Phillips     0:18       0.30        0.00 $     187.02   $    56.11    $           -    KLP- C with NHJ re TTV MTD. (6103)
  10/08/2013 Kaylan Phillips     0:30       0.50        0.00 $     187.02   $    93.51    $           -    KLP- R section 7431. Make comments.

                                                                                                           NHJ- R and incorporate KLP's suggestions for opp. to
  10/08/2013 Noel Johnson        1:24       1.40        0.00   $   187.02 $     261.83    $           -    MTD (7431 claim); c with KLP to discuss same.
                                                                                                           NHJ- Continue RS re authorized
                                                                                                           inspections/disclosures under 6103/ continue drafting
  10/08/2013 Noel Johnson        1:54       1.90        0.00   $   187.02 $     355.34    $           -    and editing op
             Joseph
  10/09/2013 Vanderhulst         0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 JAV- Help with legislative history files sharing.
             Joseph                                                                                       JAV- R arguments for mootness section, r notes from
  10/09/2013 Vanderhulst         0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 calls.
             Joseph                                                                                       JAV- R em and attachments re personal em, r ems re
  10/09/2013 Vanderhulst         0:30       0.50        0.50 $     187.02 $       93.51   $         93.51 internal schedule.
  10/09/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- Email re internal briefing schedule.
                                                                                                          KLP- C NHJ re statute re investigation/examination
  10/09/2013 Kaylan Phillips     0:12       0.20        0.00 $     187.02 $       37.40   $           -   limits. (7605)
  10/09/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- P to go to the library for RS.




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Expenses adjusted for reimbursable and non-reimbursable.              Page 65 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          KLP- R news articles re emails to White House. R and
  10/09/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 save emails. Draft email to co-counsel re same

  10/09/2013 Kaylan Phillips     0:48       0.80        0.80   $   187.02 $     149.62    $        149.62 KLP- Save and organize legislative history documents.
                                                                                                          KLP- Travel to IU-Indy law library. RS legislative history
  10/09/2013 Kaylan Phillips     2:12       2.20        2.20   $    93.51 $     205.72    $        205.72 for "Taxpayer Browsing Protection Act."
                                                                                                          NHJ- Check docket for activity in recent Bivens actions
  10/09/2013 Noel Johnson        0:06       0.10        0.00 $     187.02 $       18.70   $           -   in DC courts.
  10/09/2013 Noel Johnson        0:12       0.20        0.00 $     187.02 $       37.40   $           -    NHJ- C KLP re scope of 26 USC 7605(b)
                                                                                                          NHJ- R legislative history of 26 USC 7433- HR
  10/09/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 Conference Report.

  10/09/2013 Noel Johnson        0:18       0.30        0.00   $   187.02 $       56.11   $           -    NHJ- R Dema v. Feddor re scope of 26 USC 7605 (b)
                                                                                                           NHJ- R revenue rulings and case law interpreting 26
  10/09/2013 Noel Johnson        0:18       0.30        0.00   $   187.02 $       56.11   $           -    USC 7605(b)

                                                                                                          NHJ- R emails and news re emails between defendant
  10/09/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 Fish and White House; conference with KLP to dis
                                                                                                          NHJ- RS re classification of exemption application
  10/09/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 process as investigation.
                                                                                                          NHJ- RS case law re legislative history of remedies
  10/09/2013 Noel Johnson        0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 available in IRC.

                                                                                                           NHJ- Review Am. Law Report re: construction and
  10/09/2013 Noel Johnson        1:00       1.00        0.00   $   187.02 $     187.02    $           -    application of 26 USC § 7605(b) – unnecessary inves
                                                                                                          NHJ- Travel to IUPUI law library and conduct legislative
  10/09/2013 Noel Johnson        2:12       2.20        2.20   $    93.51 $     205.72    $        205.72 history RS.
             Joseph                                                                                       JAV- Draft and RV mootness section, outline of
  10/10/2013 Vanderhulst         1:30       1.50        1.50   $   187.02 $     280.53    $        280.53 arguments; c with KLP re same.
             Joseph
  10/10/2013 Vanderhulst         2:30       2.50        2.50 $     187.02   $   467.55    $        467.55 JAV- Update mootness section RS and arguments.
  10/10/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- Email from WD re schedule.
  10/10/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- R invoice from Capital Process.
  10/10/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02   $    56.11    $         56.11 KLP- C NHJ re schedule. R emails re same.
  10/10/2013 Kaylan Phillips     0:30       0.50        0.00 $     187.02   $    93.51    $           -    KLP- C NHJ re opposition draft. (7431)

  10/10/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 KLP- C NHJ and JAV re mootness. (2 separate c's)

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Expenses adjusted for reimbursable and non-reimbursable.              Page 66 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
  10/10/2013 Kaylan Phillips     0:42       0.70        0.00   $   187.02 $     130.91    $           -    KLP- Online RS re 7431. Save cases.
                                                                                                          KLP- Review legislative history of “Taxpayer Browsing
  10/10/2013 Kaylan Phillips     1:36       1.60        1.60   $   187.02 $     299.23    $        299.23 Protection Act.” Add quotes to section.
                                                                                                          KLP- Continue reviewing legislative history of "Taxpayer
  10/10/2013 Kaylan Phillips     1:42       1.70        1.70   $   187.02 $     317.93    $        317.93 Browsing Protection Act."
                                                                                                          NHJ- Discuss capable of repetition, yet evading
  10/10/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 analysis with KLP and JAV.

                                                                                                          NHJ- Discuss CM's request for division of labor write-up
  10/10/2013 Noel Johnson        0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 with KLP; draft same; email correspondence
                                                                                                          NHJ- C KLP to discuss arguments for opp. to MTD
  10/10/2013 Noel Johnson        0:30       0.50        0.00   $   187.02 $       93.51   $           -   (7431 claim)
                                                                                                           NHJ- Continue reviewing case law interpreting and
  10/10/2013 Noel Johnson        1:06       1.10        0.00   $   187.02 $     205.72    $           -    applying Sec. 7605(b) (7431 claim)
                                                                                                           NHJ- Make edits and additions to opp. to MTD (7431
  10/10/2013 Noel Johnson        1:12       1.20        0.00   $   187.02 $     224.42    $           -    claim)
             Joseph
  10/11/2013 Vanderhulst         0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 JAV- Finalize and send moot section for review.
             Joseph
  10/11/2013 Vanderhulst         1:12       1.20        1.20   $   187.02 $     224.42    $        224.42 JAV- Litigation call to discuss arguments and drafting.
                                                                                                          KLP- Email from JAV re mootness. Send to NHJ with
  10/11/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 instructions to compile parts of brief.
                                                                                                          KLP- Email with drafting team re brief. C with NHJ re
  10/11/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 same.

  10/11/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- Email with litigation team re internal schedule.
  10/11/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- C JAV re attorneys fees arguments.
  10/11/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Emails re division of labor.
                                                                                                          KLP- R outline of issues. Make changes and send to
  10/11/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 NHJ.
  10/11/2013 Kaylan Phillips     0:48       0.80        0.60 $     187.02   $   149.62    $        112.21 KLP- Work on response to MTD.
  10/11/2013 Kaylan Phillips     1:12       1.20        0.80 $     187.02   $   224.42    $        149.62 KLP- Work on response to MTD.
  10/11/2013 Kaylan Phillips     1:12       1.20        1.20 $     187.02   $   224.42    $        224.42 KLP- Weekly call with team.
  10/11/2013 Kaylan Phillips     1:30       1.50        1.00 $     187.02   $   280.53    $        187.02 KLP- Continue working on response to MTD.

                                                                                                           NHJ- C KLP to discuss needs for combining sections of
  10/11/2013 Noel Johnson        0:06       0.10        0.00   $   187.02 $       18.70   $           -    opp to MTD and various arguments made therein


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Expenses adjusted for reimbursable and non-reimbursable.              Page 67 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          NHJ- Continue revising opp. to MTD per suggestions at
  10/11/2013 Noel Johnson        0:30       0.50        0.40   $   187.02 $       93.51   $         74.81 weekly call.
                                                                                                          NHJ- R and provide suggestions to JAV's section of
  10/11/2013 Noel Johnson        0:36       0.60        0.40 $     187.02 $     112.21    $         74.81 opp. to MTD.
  10/11/2013 Noel Johnson        0:36       0.60        0.40 $     187.02 $     112.21    $         74.81 NHJ- R MG's revised draft of opposition to MTD.
                                                                                                          NHJ- Continue RS re pleading standard and RV draft of
  10/11/2013 Noel Johnson        0:54       0.90        0.60   $   187.02 $     168.32    $        112.21 opposition to MTD.

                                                                                                          NHJ- Review drafts to date and MTD; create more
  10/11/2013 Noel Johnson        0:54       0.90        0.60 $     187.02 $     168.32    $        112.21 detailed outline of legal issues being addressed an
  10/11/2013 Noel Johnson        1:12       1.20        0.80 $     187.02 $     224.42    $        149.62 NHJ- Weekly PC with legal team re opp. to MTD.

                                                                                                          ZSK- R locl rule for w/d; D notice of same and look at
  10/12/2013 Zachary Kester      0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 filing rule; PC NHJ re same; email NHJ re sa
                                                                                                          KLP- Combine the four drafts (Noel, Mathew, Joe, and
  10/13/2013 Kaylan Phillips     1:00       1.00        1.00 $     187.02 $     187.02    $        187.02 mine) into one draft. Standardize formatting.
  10/14/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $      18.70    $         18.70 KLP- C NHJ re splitting up draft.

  10/14/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 KLP- Email from MG re appealing to federal circuit.
                                                                                                          KLP- C NHJ re combing sections of draft opposition to
  10/14/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 MTD.
  10/14/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 KLP- Emails re draft.
  10/14/2013 Kaylan Phillips     0:18       0.30        0.20 $     187.02   $    56.11    $         37.40 KLP- Work on brief.
  10/14/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02   $    56.11    $         56.11 KLP- C with NHJ re mootness.
  10/14/2013 Kaylan Phillips     0:42       0.70        0.70 $     187.02   $   130.91    $        130.91 KLP- C NHJ re mootness. R draft.
                                                                                                          KLP- Work on standardizing draft. Edit. Circulate
  10/14/2013 Kaylan Phillips     1:18       1.30        1.30   $   187.02 $     243.13    $        243.13 updated copy.
                                                                                                          NHJ- R email from MG re federal circuit jurisdiction over
  10/14/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 appeal.
                                                                                                          NHJ- C KLP re combining draft sections of opp. to
  10/14/2013 Noel Johnson        0:12       0.20        0.10   $   187.02 $       37.40   $         18.70 MTD.
                                                                                                          NHJ- RS re "voluntary cessation" doctrine vs. CORYER
  10/14/2013 Noel Johnson        0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 doctrine.
  10/14/2013 Noel Johnson        0:30       0.50        0.50 $     187.02 $       93.51   $         93.51 NHJ- C KLP and JAV re mootness and Count I

                                                                                                          NHJ- Begin proofing draft opp. to MTD; make revisions
  10/14/2013 Noel Johnson        1:30       1.50        1.00   $   187.02 $     280.53    $        187.02 to same; conferences with KLP and JAV to disc


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 68 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                               1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
                                                                                                          NHJ- Continue legal RS re "voluntary cessation"
  10/14/2013 Noel Johnson        1:30       1.50        1.50   $   187.02 $     280.53    $        280.53 doctrine; continue revising opp. to MTD (mootness).
                                                                                                          NHJ- RS and R law re FRCP 8 and 12(b)(6) MTD
  10/14/2013 Noel Johnson        1:30       1.50        1.50   $   187.02 $     280.53    $        280.53 standard; draft section on same for opp. to MTD.
             Joseph                                                                                       JAV- R and proof mtd response for circulation. C KLP
  10/15/2013 Vanderhulst         2:00       2.00        2.00 $     187.02 $     374.04    $        374.04 re same.
  10/15/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $      18.70    $         18.70 KLP- C JAV re mootness argument.

  10/15/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 KLP- C NHJ re mootness claim in opposition to MTD.

                                                                                                           KLP- Work on draft of opposition to MTD (6103
  10/15/2013 Kaylan Phillips     2:30       2.50        0.00   $   187.02 $     467.55    $           -    section). Online legal research and draft summary. C

                                                                                                           KLP- Work on draft opposition to MTD (6103). Draft
  10/15/2013 Kaylan Phillips     2:48       2.80        0.00   $   187.02 $     523.66    $           -    portions. C with NHJ on changes needed. Circula
                                                                                                          NHJ- C KLP to discuss needs for mootness section of
  10/15/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 opp. to MTD.
                                                                                                          NHJ- Continue review and revision draft opp. to MTD
  10/15/2013 Noel Johnson        0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 (Count II)
                                                                                                          NHJ- Continue review and revision draft opp. to MTD
  10/15/2013 Noel Johnson        1:36       1.60        0.00   $   187.02 $     299.23    $           -   (Counts IV and V)
                                                                                                          NHJ- Continue revising mootness section of opp. to
  10/15/2013 Noel Johnson        2:18       2.30        2.30   $   187.02 $     430.15    $        430.15 MTD; discuss same with KLP.

  10/16/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 KLP- Work on draft opposition. C with NHJ re same.
                                                                                                          KLP- Email with JAV and MG re revisions and changes
  10/16/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 needed.
  10/16/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02 $       74.81   $         74.81 KLP- C NHJ re mootness/ripeness argument.
                                                                                                          KLP- Call from MG. Implement remaining changes.
  10/16/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 Save and Circulate to team.

  10/16/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 KLP- Implement changes to draft opposition from JAV.
                                                                                                          KLP- R City of Houston case on mootness. C NHJ re
  10/16/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 same.
                                                                                                          KLP- Work on draft opposition, implement NHJ's
  10/16/2013 Kaylan Phillips     0:42       0.70        0.50   $   187.02 $     130.91    $         93.51 changes. Finalize and send draft to MG.
                                                                                                          KLP- Implement changes to draft opposition from MG.
  10/16/2013 Kaylan Phillips     0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 Email with MG re same.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 69 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
  10/16/2013 Kaylan Phillips     0:48       0.80        0.80   $   187.02 $     149.62    $        149.62 KLP- R and edit draft opposition.
                                                                                                          KLP- Work on draft opposition, edit mootness section.
  10/16/2013 Kaylan Phillips     1:54       1.90        1.90   $   187.02 $     355.34    $        355.34 C NHJ re same.
                                                                                                           NHJ- Discuss changes and needs for draft opp to MTD
  10/16/2013 Noel Johnson        0:06       0.10        0.00   $   187.02 $       18.70   $           -    with KLP.
                                                                                                          NHJ- Continue reviewing case law re declaratory relieft
  10/16/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 and mootness.
  10/16/2013 Noel Johnson        0:24       0.40        0.40 $     187.02 $       74.81   $         74.81 NHJ- C KLP to discuss ripenss analysis.
                                                                                                          NHJ- R latest draft opp to MTD and made edits to
  10/16/2013 Noel Johnson        0:36       0.60        0.40   $   187.02 $     112.21    $         74.81 same; discuss same with KLP.
                                                                                                          NHJ- RS and R case law re declaratory relief and
  10/16/2013 Noel Johnson        1:00       1.00        1.00   $   187.02 $     187.02    $        187.02 mootness. C KLP re same.
                                                                                                          NHJ- Continue reviewing case law re declaratory relief
  10/16/2013 Noel Johnson        1:18       1.30        1.30   $   187.02 $     243.13    $        243.13 and mootness.
                                                                                                          NHJ- R and RV updated draft of opp. to MTD;
                                                                                                          conference with KLP to discuss needs and changes to
  10/16/2013 Noel Johnson        2:30       2.50        2.50   $   187.02 $     467.55    $        467.55 sam
             Joseph
  10/17/2013 Vanderhulst         0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 JAV- C NHJ re COYER arguments.
                                                                                                          KLP- C NHJ to discuss needed RS for motions to
  10/17/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 dismiss.
                                                                                                          NHJ- C KLP to discuss needed RS for motions to
  10/17/2013 Noel Johnson        0:12       0.20        0.10   $   187.02 $       37.40   $         18.70 dismiss.
                                                                                                          NHJ- C JAV re CORYER and voluntary cessation
  10/17/2013 Noel Johnson        0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 doctrines; review RS re same.
                                                                                                          NHJ- LR re qualified immunity for allegations of
  10/17/2013 Noel Johnson        1:18       1.30        0.00   $   187.02 $     243.13    $           -   viewpoint discrimination.
                                                                                                           NHJ- Continue RS re Bivens and made additions to
  10/17/2013 Noel Johnson        1:30       1.50        0.00 $     187.02 $     280.53    $           -    legal memo re current state of Bivens doctrine.
  10/18/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $      18.70    $         18.70 KLP- Email from CM re filing today. Respond.
                                                                                                          KLP- C NHJ re constitutional violations in requests for
  10/18/2013 Kaylan Phillips     0:12       0.20        0.00 $     187.02 $       37.40   $           -   information. (qualified immunity)
  10/18/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- Emails re MTD filed today.

  10/18/2013 Kaylan Phillips     0:42       0.70        0.00 $     187.02 $     130.91    $           -    KLP- R NHJ's memo on Bivens. C with NHJ re same.
  10/18/2013 Noel Johnson        0:12       0.20        0.00 $     187.02 $      37.40    $           -    NHJ- C KLP re qualified immunity arguments.
                                                                                                           NHJ- C KLP re Bivens legal memo and arguments re
  10/18/2013 Noel Johnson        0:18       0.30        0.00   $   187.02 $       56.11   $           -    same.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 70 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                             Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
                                                                                                           NHJ- Continue RS on quailfied immunity and begin
  10/18/2013 Noel Johnson        1:24       1.40        0.00   $   187.02 $     261.83    $           -    drafting legal memo on same.
                                                                                                           NHJ- Continue RS on quailfied immunity and begin
  10/18/2013 Noel Johnson        1:48       1.80        0.00   $   187.02 $     336.64    $           -    drafting legal memo on same.
                                                                                                           NHJ- Continue RS on quailfied immunity and begin
  10/18/2013 Noel Johnson        2:06       2.10        0.00   $   187.02 $     392.74    $           -    drafting legal memo on same.
             Joseph
  10/21/2013 Vanderhulst         0:12       0.20        0.00   $   187.02 $       37.40   $           -    JAV- C NHJ to discuss individual defendant's MTDs.
             Joseph
  10/21/2013 Vanderhulst         0:30       0.50        0.00   $   187.02 $       93.51   $           -    JAV- Litigation call re individuals mtd.
             Joseph
  10/21/2013 Vanderhulst         0:30       0.50        0.40   $   187.02 $       93.51   $         74.81 JAV- C NHJ and KLP re mtd responses.
                                                                                                          KLP- Email client copies of motions to dismiss with brief
  10/21/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 overview.
  10/21/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- Email with client and CM re conference call.

  10/21/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 KLP- R notice of withdrawal. C NHJ re ECF log-in info.

  10/21/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 KLP- Emails re calls today. Circulate updated number.
                                                                                                          KLP- C NHJ and JAV re motions to dismiss and help
  10/21/2013 Kaylan Phillips     0:30       0.50        0.40   $   187.02 $       93.51   $         74.81 needed.
                                                                                                          KLP- Call with JCE, CM, WD, NHJ, and JAV re motions
  10/21/2013 Kaylan Phillips     0:30       0.50        0.40 $     187.02 $      93.51    $         74.81 to dismiss.
  10/21/2013 Kaylan Phillips     0:36       0.60        0.70 $     187.02 $     112.21    $        130.91 KLP- C NHJ re motions to dismiss.
                                                                                                          KLP- Save motions to dismiss. Briefly review. Draft
  10/21/2013 Kaylan Phillips     1:24       1.40        1.40   $   187.02 $     261.83    $        261.83 outline to legal issues. Circulate.
                                                                                                          NHJ- RS procedure for withdrawal of attorney; email to
  10/21/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 ZSK re same.

  10/21/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 NHJ- RS re permissible lobbying activities of 501(c)(3)s

  10/21/2013 Noel Johnson        0:12       0.20        0.00   $   187.02 $       37.40   $           -    NHJ- C JAV to discuss individual defendant's MTDs.

                                                                                                           NHJ- C KLP and JAV re division of labor and RS needs
  10/21/2013 Noel Johnson        0:30       0.50        0.00   $   187.02 $       93.51   $           -    re opposition to individual defendants' MTDs.
                                                                                                           NHJ- PC with legal team re preliminary thoughts on
  10/21/2013 Noel Johnson        0:30       0.50        0.00   $   187.02 $       93.51   $           -    opposition to individual defendant's MTDs.




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Expenses adjusted for reimbursable and non-reimbursable.              Page 71 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                   1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                             Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          NHJ- R and make edits to ZSK's notice of withdrawal;
  10/21/2013 Noel Johnson        0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 RS rules for ECF registration and discuss with

  10/21/2013 Noel Johnson        0:36       0.60        0.00   $   187.02 $     112.21    $           -    NHJ- C KLP to discuss individual defendant's MTDs.
                                                                                                          NHJ- R KL's RS re discovery to establish jurisdiction; R
  10/21/2013 Noel Johnson        0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 DC Circuit case law re same.

                                                                                                          NHJ- R Motion to Dismiss filed by individual DC
  10/21/2013 Noel Johnson        0:54       0.90        0.90   $   187.02 $     168.32    $        168.32 defendants and briefly review authorities cited the
                                                                                                          NHJ- R Motion to dismiss filed by individual Cinci
  10/21/2013 Noel Johnson        1:36       1.60        0.00 $     187.02   $   299.23    $           -   defendants and briefly review authorities cited
  10/22/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- Email from Catherine re conference call.
  10/22/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- Email from JCE re DOJ's MTD. Send brief.
  10/22/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- R ACLJ's complaint. D email to CM re same.
  10/22/2013 Kaylan Phillips     0:12       0.20        0.00 $     187.02   $    37.40    $           -    KLP- C NHJ re personal jurisdiction.

                                                                                                          KLP- D emails to ACLJ and Nor Cal counsel re motions
  10/22/2013 Kaylan Phillips     0:12       0.20        0.10 $     187.02 $       37.40   $         18.70 to dismiss and case updates. R responses. Repl
  10/22/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- C NHJ re ACLJ's amended complaint.

                                                                                                           NHJ- R law review article Measuring the Success of
  10/22/2013 Noel Johnson        0:24       0.40        0.00   $   187.02 $       74.81   $           -    Bivens Litigation and Its Consequences for the I
                                                                                                           NHJ- Continue reviewing DC Circuit case law re
  10/22/2013 Noel Johnson        1:18       1.30        0.00   $   187.02 $     243.13    $           -    personal jurisdiction, conspiracy, jurisdictional di

                                                                                                          NHJ- Review Second Amended Complaint in Linchpins
  10/22/2013 Noel Johnson        1:18       1.30        1.30   $   187.02 $     243.13    $        243.13 of Liberty and proposed briefing schedule in same
                                                                                                          NHJ- RS and R case law re personal jurisdiction
  10/22/2013 Noel Johnson        1:24       1.40        0.00   $   187.02 $     261.83    $           -   standard in Bivens actions. C KLP re same.
             Joseph
  10/23/2013 Vanderhulst         0:42       0.70        0.00 $     187.02 $     130.91    $           -    JAV- PC litigation team re individual MTD responses.
  10/23/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $      18.70    $         18.70 KLP- Email team re briefing timeline.
  10/23/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $      37.40    $         37.40 KLP- Email with MG re briefing assignment.
                                                                                                          KLP- R individual defendants' motions in depth. Make
  10/23/2013 Kaylan Phillips     0:18       0.30        0.00 $     187.02 $      56.11    $           -   notes.
  10/23/2013 Kaylan Phillips     0:42       0.70        0.70 $     187.02 $     130.91    $        130.91 KLP- Call with CM, WD, and JAV.


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                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
  10/24/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- Make list of things to get from law library.
  10/24/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $       18.70   $         18.70 KLP- PC NHJ re scope of MG's RS.
  10/24/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 KLP- ProQuest Congressional RS re 7428.

  10/24/2013 Kaylan Phillips     0:24       0.40        0.00   $   187.02 $       74.81   $           -    KLP- Call from MG re responses to individual motions.
                                                                                                           KLP- C NHJ re responding to individual defendants'
  10/24/2013 Kaylan Phillips     0:42       0.70        0.00 $     187.02 $     130.91    $           -    motions to dismiss.
  10/24/2013 Noel Johnson        0:06       0.10        0.10 $     187.02 $      18.70    $         18.70 NHJ- PC with KLP re scope of MG's RS.
                                                                                                          NHJ- P email to MG with cases and documents to aid
  10/24/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 RS and drafting.
                                                                                                          NHJ- PC with KLP and MG to discuss division of labor
  10/24/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 for opp. to MTDs and arguments for same.

                                                                                                          NHJ- Conference with KLP to fill me in on conference
  10/24/2013 Noel Johnson        0:42       0.70        0.40 $     187.02 $     130.91    $         74.81 call with legal team re: needs and focus for o
  10/24/2013 Noel Johnson        1:00       1.00        0.70 $     187.02 $     187.02    $        130.91 NHJ- Continue RS and outling opp. to MTD.
                                                                                                          NHJ- Compile and review MTD briefing and trial and
  10/24/2013 Noel Johnson        1:36       1.60        1.10 $     187.02   $   299.23    $        205.72 appellate court decisions in Kim v. US
  10/25/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- C NHJ re legislative history RS.
  10/25/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- Email from MG re RS.
  10/25/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02   $    56.11    $         56.11 KLP- C NHJ re legislative history of 7428.

                                                                                                           KLP- Drive to/from law library, LR re 7428 legislative
  10/25/2013 Kaylan Phillips     2:42       2.70        0.00   $   187.02 $     504.95    $           -    history, Bivens generally, qualified immunit
                                                                                                           NHJ- Review law review re: Bivens and IRS - SUING
                                                                                                           THE IRS AND ITS EMPLOYEES FOR DAMAGES:
  10/25/2013 Noel Johnson        0:18       0.30        0.00   $   187.02 $       56.11   $           -    DAVID AND
                                                                                                          NHJ- Adjust withdrawal notice of ZSK; email to CM re
  10/25/2013 Noel Johnson        0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 obtaining client signature for same; email to
                                                                                                          NHJ- C KLP re legislative history RS; review same;
  10/25/2013 Noel Johnson        0:30       0.50        0.50 $     187.02 $      93.51    $         93.51 legislative history RS re 7428.
  10/25/2013 Noel Johnson        1:00       1.00        0.00 $     187.02 $     187.02    $           -    NHJ- Continue working on opp. to Ind Ds MTD.

                                                                                                          NHJ- Organize legislatvie history of Sect. 7428 and
  10/25/2013 Noel Johnson        1:48       1.80        1.80   $   187.02 $     336.64    $        336.64 review same; conference with KLP to discuss sam
                                                                                                          NHJ- Conduct legislative history RS at IU-Indy law
  10/25/2013 Noel Johnson        2:42       2.70        2.70   $   187.02 $     504.95    $        504.95 school.

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                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
  10/28/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 KLP- C NHJ re responses.

  10/28/2013 Kaylan Phillips     0:18       0.30        0.00 $     187.02 $       56.11   $           -    KLP- Create shell for responses to individual motions.
  10/28/2013 Kaylan Phillips     0:24       0.40        0.00 $     187.02 $       74.81   $           -    KLP- C NHJ re Bivens claim.
                                                                                                           KLP- Email with MG re personal jurisdiction RS and
  10/28/2013 Kaylan Phillips     0:24       0.40        0.00 $     187.02 $       74.81   $           -    deadlines.
  10/28/2013 Kaylan Phillips     0:24       0.40        0.00 $     187.02 $       74.81   $           -    KLP- Organize RS on jurisdiction and Bivens.

                                                                                                          KLP- Work on response to Management defendants.
  10/28/2013 Kaylan Phillips     2:36       2.60        2.60 $     187.02 $     486.25    $        486.25 Working on addressing statement of the case.
  10/28/2013 Noel Johnson        0:12       0.20        0.20 $     187.02 $      37.40    $         37.40 NHJ- R Church by Mail v. US.
                                                                                                          NHJ- C KLP re arguments and needs for opp. to MTD.
  10/28/2013 Noel Johnson        0:24       0.40        0.00 $     187.02   $    74.81    $           -   (Bivens)
  10/28/2013 Noel Johnson        1:00       1.00        0.70 $     187.02   $   187.02    $        130.91 NHJ- Continue work on opp. to MTD.
  10/28/2013 Noel Johnson        1:12       1.20        0.80 $     187.02   $   224.42    $        149.62 NHJ- Continue work on opp. to MTD.
  10/28/2013 Noel Johnson        1:42       1.70        1.20 $     187.02   $   317.93    $        224.42 NHJ- Continue work on opp to MTD.
                                                                                                          NHJ- Continue work on opp to MTDs. C with KLP re
  10/28/2013 Noel Johnson        3:18       3.30        2.30   $   187.02 $     617.17    $        430.15 same.
             Joseph
  10/29/2013 Vanderhulst         0:30       0.50        0.00   $   187.02 $       93.51   $           -    JAV- C NHJ re RS needed for indiv. responses.
             Joseph
  10/29/2013 Vanderhulst         2:00       2.00        2.00   $   187.02 $     374.04    $        374.04 JAV- Fill in black citations in DOJ response draft.

                                                                                                           KLP- C NHJ re jurisdictional RS and qualified immunity.
  10/29/2013 Kaylan Phillips     0:12       0.20        0.00   $   187.02 $       37.40   $           -    Briefly review his qualified immunity memo.
                                                                                                          KLP- Email with drafting team re timeline for responses.
  10/29/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 Draft email to CM re same.
                                                                                                          KLP- R local rules re oppositions. Add language re
  10/29/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 proposed order.
                                                                                                          KLP- C NHJ and MG re opposition to individual motions
  10/29/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 to dismiss.
                                                                                                          KLP- C NHJ re Bivens claims. R and discuss relevant
  10/29/2013 Kaylan Phillips     0:36       0.60        0.00   $   187.02 $     112.21    $           -   cases.
                                                                                                           KLP- Work on opposition to Management's motion to
  10/29/2013 Kaylan Phillips     1:06       1.10        0.00   $   187.02 $     205.72    $           -    dismiss- Personal jurisdiction, generally.
                                                                                                           KLP- Work on opposition to Management's motion to
  10/29/2013 Kaylan Phillips     1:12       1.20        0.00   $   187.02 $     224.42    $           -    dismiss- personal jurisdiction, generally.


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                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
                                                                                                           KLP- Continue working on motions to dismiss- personal
  10/29/2013 Kaylan Phillips     3:00       3.00        0.00   $   187.02 $     561.06    $           -    jurisdiction, generally. Online LR.
                                                                                                          NHJ- PC with MG re definitional terms used in
  10/29/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 complaint.
                                                                                                          NHJ- C JAV re RS assignment Section 7431 legislative
  10/29/2013 Noel Johnson        0:12       0.20        0.00   $   187.02 $       37.40   $           -   history/IRC definitions.
                                                                                                          NHJ- C KLP re division of labor on factual matters
  10/29/2013 Noel Johnson        0:12       0.20        0.00   $   187.02 $       37.40   $           -   relating to qualified immunity
                                                                                                           NHJ- R Bivens precedent cited in individual defendants
  10/29/2013 Noel Johnson        0:18       0.30        0.00   $   187.02 $       56.11   $           -    MTD
                                                                                                          NHJ- PC with MG and KLP re division of labor and
  10/29/2013 Noel Johnson        0:30       0.50        0.50 $     187.02 $      93.51    $         93.51 arguments re conspiracy theory of jurisdiction.
  10/29/2013 Noel Johnson        0:36       0.60        0.00 $     187.02 $     112.21    $           -    NHJ- C KLP re Bivens arguments.

  10/29/2013 Noel Johnson        0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 NHJ- Continue reviewing legislative history of Sec. 7428
                                                                                                          NHJ- Continue work on opp. to individual defendants
  10/29/2013 Noel Johnson        1:12       1.20        1.20   $   187.02 $     224.42    $        224.42 MTD.
                                                                                                          NHJ- Continue work on opp. to individual defendants
  10/29/2013 Noel Johnson        1:18       1.30        0.00   $   187.02 $     243.13    $           -   MTD. C JAV re same.
                                                                                                           NHJ- Continue work on opp. to individual defendants
  10/29/2013 Noel Johnson        2:12       2.20        0.00   $   187.02 $     411.44    $           -    MTD.
             Joseph                                                                                       JAV- Finish filling in blanks in DOJ response. C with
  10/30/2013 Vanderhulst         1:00       1.00        1.00 $     187.02 $     187.02    $        187.02 NHJ and KLP re same.
  10/30/2013 Kaylan Phillips     0:12       0.20        0.10 $     187.02 $      37.40    $         18.70 KLP- Work on opposition to motion to dismiss.

  10/30/2013 Kaylan Phillips     0:18       0.30        0.00   $   187.02 $       56.11   $           -    KLP- C JAV and NHJ re responses to individual MTD.

                                                                                                           KLP- R overview of defendants' activities. R qualified
  10/30/2013 Kaylan Phillips     0:18       0.30        0.00   $   187.02 $       56.11   $           -    immunity outline. Make notes for factual sec
                                                                                                          KLP- Email from CM re timeline. Email with drafting
  10/30/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 team re same.
                                                                                                          KLP- Email with CM and team re calls tomorrow. Email
  10/30/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 with WD re same.

                                                                                                          KLP- Work on oppositions to motion to dismiss- review
  10/30/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 law review articles re personal jurisdition/B
                                                                                                          KLP- Call with MG and NHJ re opposition to individual
  10/30/2013 Kaylan Phillips     1:06       1.10        0.00   $   187.02 $     205.72    $           -   motions.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 75 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                           KLP- Work on responses to individual defendants’
  10/30/2013 Kaylan Phillips     2:42       2.70        0.00 $     187.02 $     504.95    $           -    motions to dismiss, legal research re: pleading st
  10/30/2013 Noel Johnson        0:12       0.20        0.00 $     187.02 $      37.40    $           -    NHJ- Continue drafting opp. to MTDs (Bivens)

  10/30/2013 Noel Johnson        0:18       0.30        0.30 $     187.02 $      56.11    $         56.11 NHJ- C KLP and JAV re prep for call with CM tomorrow.
  10/30/2013 Noel Johnson        0:42       0.70        0.00 $     187.02 $     130.91    $           -    NHJ- Continue drafting opp. to MTDs (Bivens)
  10/30/2013 Noel Johnson        0:48       0.80        0.00 $     187.02 $     149.62    $           -    NHJ- Continue drafting opp. to MTDs (Bivens)
                                                                                                          NHJ- PC with MG re needs for opp. to MTDs and needs
  10/30/2013 Noel Johnson        1:06       1.10        0.80 $     187.02 $     205.72    $        149.62 for pc with CM tomorrow.
  10/30/2013 Noel Johnson        1:48       1.80        0.00 $     187.02 $     336.64    $           -    NHJ- Continue drafting opp. to MTDs (Bivens)
                                                                                                          NHJ- Continue drafting opp to MTD. C with KLP re
  10/30/2013 Noel Johnson        2:54       2.90        2.00   $   187.02 $     542.36    $        374.04 same.
             Joseph
  10/31/2013 Vanderhulst         0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 JAV- C NHJ and KLP re call with CM.
             Joseph                                                                                       JAV- Team conference call re response drafts and
  10/31/2013 Vanderhulst         2:00       2.00        2.00 $     187.02   $   374.04    $        374.04 arguments.
  10/31/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- Email team re timeline.
  10/31/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $    18.70    $         18.70 KLP- Email to drafting team re call.
  10/31/2013 Kaylan Phillips     0:18       0.30        0.00 $     187.02   $    56.11    $           -    KLP- C NHJ re personal jurisdiction.
  10/31/2013 Kaylan Phillips     0:18       0.30        0.00 $     187.02   $    56.11    $           -    KLP- Work on personal jurisdiction RS.
  10/31/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02   $    56.11    $         56.11 KLP- C all with MG, NHJ and JAV re call with CM.
  10/31/2013 Kaylan Phillips     0:36       0.60        0.00 $     187.02   $   112.21    $           -    KLP- WOrk on qualified immunity RS.
                                                                                                          KLP- Call with CM, MG, NHJ, and JAV re responses to
  10/31/2013 Kaylan Phillips     2:00       2.00        1.40 $     187.02   $   374.04    $        261.83 motion to dismiss.
  10/31/2013 Noel Johnson        0:18       0.30        0.00 $     187.02   $    56.11    $           -    NHJ- C KLP re personal jurisdiction agruments.
  10/31/2013 Noel Johnson        0:18       0.30        0.30 $     187.02   $    56.11    $         56.11 NHJ- PC with MG and KLP re call with CM.
  10/31/2013 Noel Johnson        0:36       0.60        0.00 $     187.02   $   112.21    $           -    NHJ- Continue drafting opp. to MTDs (Bivens)
  10/31/2013 Noel Johnson        0:48       0.80        0.00 $     187.02   $   149.62    $           -    NHJ- Continue drafting opp. to MTDs (Bivens)
  10/31/2013 Noel Johnson        1:24       1.40        0.00 $     187.02   $   261.83    $           -    NHJ- Continue drafting opp. to MTDs (Bivens)
                                                                                                          NHJ- C call with CM, MG, KLP and JAV to go through
  10/31/2013 Noel Johnson        2:00       2.00        1.40 $     187.02 $     374.04    $        261.83 drafts of MTDs.
  11/01/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $      37.40    $         37.40 KLP- Update response to gov't motion. Circulate.
                                                                                                          KLP- Continue working on responses to motions to
  11/01/2013 Kaylan Phillips     0:18       0.30        0.20   $   187.02 $       56.11   $         37.40 dismiss.

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Expenses adjusted for reimbursable and non-reimbursable.              Page 76 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
  11/01/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 KLP- PC with MG re schedule and division of labor.
  11/01/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02 $       74.81   $         74.81 KLP- Email with co-counsel re call today.
                                                                                                          KLP- Email with team re internal deadlines. Draft
  11/01/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 schedule.

                                                                                                           NHJ- R recent order denying rehearing en banc re
  11/01/2013 Noel Johnson        0:12       0.20        0.00 $     187.02 $      37.40    $           -    Bivens and personal jurisdiction- Walden v. Fiore.
  11/01/2013 Noel Johnson        2:36       2.60        1.80 $     187.02 $     486.25    $        336.64 NHJ- Continue working in opp. to MTD.
                                                                                                          KLP- Email with MG re: edits to gov’t response.
  11/03/2013 Kaylan Phillips     0:18       0.30        0.20 $     187.02 $      56.11    $         37.40 Implement edits. Draft email to team re: draft resp
  11/03/2013 Kaylan Phillips     0:48       0.80        0.00 $     187.02 $     149.62    $           -    KLP- RS minimum contacts.
                                                                                                          KLP- C NHJ re response to gov't motion. R response
  11/03/2013 Kaylan Phillips     0:48       0.80        0.60   $   187.02 $     149.62    $        112.21 and edit language as needed.

                                                                                                          KLP- Work on response to gov’t motion. Email with MG
  11/03/2013 Kaylan Phillips     1:42       1.70        1.20   $   187.02 $     317.93    $        224.42 re: same. Write sections on Payne v. U.S. and
                                                                                                          NHJ- Discuss needed revisions to opp. to DOJ MTD
  11/03/2013 Noel Johnson        0:24       0.40        0.30   $   187.02 $       74.81   $         56.11 with KLP; make changes to same.
                                                                                                          NHJ- Continue work on opp. to individual defendants
  11/03/2013 Noel Johnson        1:48       1.80        0.00   $   187.02 $     336.64    $           -   MTD.
             Joseph                                                                                       JAV- C KLP and NHJ re MTD drafting, QI issues, RS
  11/04/2013 Vanderhulst         0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 projects.
             Joseph                                                                                       JAV- R ems re draft r and conf call, C KLP and NHJ re
  11/04/2013 Vanderhulst         1:00       1.00        0.00   $   187.02 $     187.02    $           -   RS needed.
             Joseph
  11/04/2013 Vanderhulst         1:00       1.00        1.00   $   187.02 $     187.02    $        187.02 JAV- R qs from IRS, provide list to KLP.
             Joseph
  11/04/2013 Vanderhulst         3:18       3.30        2.30   $   187.02 $     617.17    $        430.15 JAv- RS QI defense issues, draft section.

  11/04/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 KLP- C NHJ and JAV re RS needed for responses.
                                                                                                          KLP- C NHJ re revised schedule. Email team re next
  11/04/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $     37.40   $         37.40 steps.
  11/04/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $     37.40   $         37.40 KLP- C NHJ re RS needed for responses.
  11/04/2013 Kaylan Phillips     0:18       0.30        0.00 $     187.02   $     56.11   $           -    KLP- R cases re personal jurisdiction.
  11/04/2013 Kaylan Phillips     0:24       0.40        0.30 $     187.02   $     74.81   $         56.11 KLP- C JAV re qualified immunity arguments.
  11/04/2013 Kaylan Phillips     0:30       0.50        0.00 $     187.02   $     93.51   $           -    KLP- Begin reviewing NHJ's Bivens section.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 77 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                               1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                          KLP- Email with team re: conference call tomorrow. Call
  11/04/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02 $     112.21    $        112.21 from MG re: same. Finalize time and circula
                                                                                                          KLP- Incoporate CM's edits into response to gov't
  11/04/2013 Kaylan Phillips     0:42       0.70        0.50   $   187.02 $     130.91    $         93.51 motion. Make notes.

                                                                                                          KLP- Email with CM re: edits to gov’t motion. Email with
  11/04/2013 Kaylan Phillips     0:48       0.80        0.60   $   187.02 $     149.62    $        112.21 MG re: same. C with JAV re: research neede
                                                                                                          KLP- Work on response to individual defendants'
  11/04/2013 Kaylan Phillips     1:06       1.10        0.00   $   187.02 $     205.72    $           -   motions, personal jurisdiction.
                                                                                                           KLP- Work on response to individual motions. RS
  11/04/2013 Kaylan Phillips     1:06       1.10        0.00   $   187.02 $     205.72    $           -    personal jurisdiction.
                                                                                                          KLP- Work on response to individual defendants'
  11/04/2013 Kaylan Phillips     1:06       1.10        0.80   $   187.02 $     205.72    $        149.62 motions, qualified immunity.
                                                                                                          NHJ- C JAV re standard discovery on qualified
  11/04/2013 Noel Johnson        0:06       0.10        0.10   $   187.02 $       18.70   $         18.70 immunity.
                                                                                                          NHJ- C KLP and JAV to discuss RS needs for opp. to
  11/04/2013 Noel Johnson        0:12       0.20        0.10 $     187.02   $    37.40    $         18.70 MTD.
  11/04/2013 Noel Johnson        0:12       0.20        0.10 $     187.02   $    37.40    $         18.70 NHJ- Continue working on opp. to MTD.
  11/04/2013 Noel Johnson        0:24       0.40        0.30 $     187.02   $    74.81    $         56.11 NHJ- Continue working on opp. to MTD.
  11/04/2013 Noel Johnson        0:54       0.90        0.60 $     187.02   $   168.32    $        112.21 NHJ- Continue working on opp. to MTD.
  11/04/2013 Noel Johnson        1:06       1.10        0.80 $     187.02   $   205.72    $        149.62 NHJ- Continue working on opp. to MTD.
  11/04/2013 Noel Johnson        1:18       1.30        0.90 $     187.02   $   243.13    $        168.32 NHJ- Continue working on opp. to MTD.
  11/04/2013 Noel Johnson        1:18       1.30        0.90 $     187.02   $   243.13    $        168.32 NHJ- Continue working on opp. to MTD.
  11/04/2013 Noel Johnson        1:30       1.50        1.10 $     187.02   $   280.53    $        205.72 NHJ- Continue working on opp. to MTD.
                                                                                                          NHJ- Continue working on opp. to MTD. C with KLP re
  11/04/2013 Noel Johnson        1:54       1.90        1.30   $   187.02 $     355.34    $        243.13 same.
             Joseph
  11/05/2013 Vanderhulst         0:06       0.10        0.00   $   187.02 $       18.70   $           -    JAV- C with KLP re qualified immunity section.
             Joseph
  11/05/2013 Vanderhulst         0:18       0.30        0.20   $   187.02 $       56.11   $         37.40 JAV- C KLP and NHJ re MTD drafts.
             Joseph                                                                                       JAV- PC litigation team re Govn't MTD response
  11/05/2013 Vanderhulst         1:00       1.00        0.70 $     187.02 $     187.02    $        130.91 feedback.
  11/05/2013 Kaylan Phillips     0:06       0.10        0.00 $     187.02 $      18.70    $           -    KLP- C JAV re qualified immunity section.
                                                                                                          KLP- Email from JCE re edits to response to gov't MTD.
  11/05/2013 Kaylan Phillips     0:12       0.20        0.10   $   187.02 $       37.40   $         18.70 Implement.



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                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                           KLP- C NHJ re 6103/7431 section. Re-write portions of
  11/05/2013 Kaylan Phillips     0:18       0.30        0.00   $   187.02 $       56.11   $           -    gov't MTD.
                                                                                                           KLP- Email from NHJ re qualified immunity discovery.
  11/05/2013 Kaylan Phillips     0:18       0.30        0.00 $     187.02 $       56.11   $           -    Review.
  11/05/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 KLP- C JAV and NHJ re next steps.

                                                                                                          KLP- C with NHJ re: judicial notice for gov’t MTD.
  11/05/2013 Kaylan Phillips     0:30       0.50        0.40 $     187.02 $       93.51   $         74.81 Review email from WD re: same. Review NHJ’s rese
  11/05/2013 Kaylan Phillips     0:30       0.50        0.40 $     187.02 $       93.51   $         74.81 KLP- Continue working on response to gov't MTD.
                                                                                                          KLP- Edit NHJ's section on Bivens for individual
  11/05/2013 Kaylan Phillips     1:00       1.00        0.00 $     187.02 $     187.02    $           -   motions to dismiss.
  11/05/2013 Kaylan Phillips     1:00       1.00        1.00 $     187.02 $     187.02    $        187.02 KLP- C call with team.
                                                                                                          KLP- Work on response to individuals motions, qualified
  11/05/2013 Kaylan Phillips     1:36       1.60        0.00   $   187.02 $     299.23    $           -   immunity.
                                                                                                          KLP- Email from ML re edits to response to gov't MTD.
  11/05/2013 Kaylan Phillips     2:24       2.40        1.70   $   187.02 $     448.85    $        317.93 Implement. Rework sections.

                                                                                                           KLP- Work on response to individual motions, factual
  11/05/2013 Kaylan Phillips     2:30       2.50        0.00 $     187.02   $   467.55    $           -    portion of qualified immunity-defendantby-defe
  11/05/2013 Noel Johnson        0:06       0.10        0.00 $     187.02   $    18.70    $           -    NHJ- R CM's edits to oppto DOJ MTD.
  11/05/2013 Noel Johnson        0:06       0.10        0.00 $     187.02   $    18.70    $           -    NHJ- RV portions of opp. to MTD.
  11/05/2013 Noel Johnson        0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 NHJ- C KLP re RS needs on judicial notice.
                                                                                                          NHJ- RS re procedure for making requests for judicial
  11/05/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 notice.
                                                                                                           NHJ- R and provide edits for JAV's section on qualified
  11/05/2013 Noel Johnson        0:30       0.50        0.00   $   187.02 $       93.51   $           -    immunity discovery.
                                                                                                          NHJ- Begin reviewing and making edits to latest draft
  11/05/2013 Noel Johnson        0:42       0.70        0.50   $   187.02 $     130.91    $         93.51 opp. to DOJ MTD; discuss same with KLP.

                                                                                                          NHJ- R request from CM re sampling of questions; R
  11/05/2013 Noel Johnson        0:48       0.80        0.80   $   187.02 $     149.62    $        149.62 IRS request and draft section on same.
                                                                                                          NHJ- C KLP. Review and implement CM's edits to opp.
  11/05/2013 Noel Johnson        0:54       0.90        0.60   $   187.02 $     168.32    $        112.21 to DOJ MTD.
                                                                                                          NHJ- RS re judicial notice in DDC; P email to KLP re
  11/05/2013 Noel Johnson        1:06       1.10        1.10   $   187.02 $     205.72    $        205.72 same.
                                                                                                          NHJ- P for and participate in PC with legal team re draft
  11/05/2013 Noel Johnson        1:18       1.30        0.90   $   187.02 $     243.13    $        168.32 opp. to DOJ MTD; discussions with KLP and


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 79 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
             Joseph                                                                                        JAV- RS QI and standard issues for Indiv. MTD
  11/06/2013 Vanderhulst         1:00       1.00        0.00   $   187.02 $     187.02    $           -    responses.
             Joseph
  11/06/2013 Vanderhulst         1:00       1.00        0.70   $   187.02 $     187.02    $        130.91 JAV- R and proof DOJ response.
             Joseph                                                                                       JAV- RS definitions issues for Indiv. MTD responses. C
  11/06/2013 Vanderhulst         2:30       2.50        0.00   $   187.02 $     467.55    $           -   NHJ and KLP.
  11/06/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02 $      18.70    $         18.70 KLP- C NHJ re schedule moving forward.

                                                                                                          KLP- C with JAV re: research needed for qualified
  11/06/2013 Kaylan Phillips     0:12       0.20        0.10 $     187.02 $       37.40   $         18.70 immunity standard. Review case quotation
  11/06/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 KLP- C NHJ re response needs.
                                                                                                          KLP- Email from NHJ re revisions. Briefly revision
  11/06/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 changes needed.

                                                                                                          KLP- Emails from MG re conspiracy sections. Respond.
  11/06/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02 $       37.40   $         37.40 Briefly review draft. Sent to NHJ for review.
  11/06/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02 $       56.11   $         56.11 KLP- C MG re draft. Emails re same.

                                                                                                           KLP- C with JAV re: research needed for general
  11/06/2013 Kaylan Phillips     0:24       0.40        0.00 $     187.02 $      74.81    $           -    personal jurisdiction standard. Review language in
  11/06/2013 Kaylan Phillips     0:36       0.60        0.40 $     187.02 $     112.21    $         74.81 KLP- Continue reviewing NHJ's section.
                                                                                                          KLP- Work on responses to individual defendants –
  11/06/2013 Kaylan Phillips     1:00       1.00        0.00   $   187.02 $     187.02    $           -   personal jurisdiction facts and standard

                                                                                                           KLP- Continue working on responses to individual
  11/06/2013 Kaylan Phillips     1:12       1.20        0.00   $   187.02 $     224.42    $           -    defendants-personal jurisdiction facts and standar

                                                                                                           KLP- Work on response to individuals motions, factual
  11/06/2013 Kaylan Phillips     2:06       2.10        0.00   $   187.02 $     392.74    $           -    portion of qualified immunity – defendant-by-
                                                                                                           KLP- Continue working on response to individuals
  11/06/2013 Kaylan Phillips     2:36       2.60        0.00 $     187.02 $     486.25    $           -    motions, legal standard re: factual portion of qua
  11/06/2013 Noel Johnson        0:06       0.10        0.10 $     187.02 $      18.70    $         18.70 NHJ- C KLP re schedule moving forward.

  11/06/2013 Noel Johnson        0:12       0.20        0.00   $   187.02 $       37.40   $           -    NHJ- C KLP re needs for opp to MTDs. (QI/Bivens)

                                                                                                           NHJ- Made revisions to opp. to DOJ MTD (7431 claim)
  11/06/2013 Noel Johnson        0:30       0.50        0.00   $   187.02 $       93.51   $           -    per discussion on yesterday's conference call.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 80 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross          EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory        Statutory
                                                                 Rate         Amount          Adjusted
                                                                                               Amount
                                                                                                           NHJ- C JAV re RS done on definitions used in tax code
  11/06/2013 Noel Johnson        0:42       0.70        0.00   $   187.02 $     130.91    $           -    (Bivens)
                                                                                                          NHJ- Continue drafting QI discovery section for opp. to
  11/06/2013 Noel Johnson        0:48       0.80        0.80   $   187.02 $     149.62    $        149.62 MTD.

                                                                                                           NHJ- R and incorporate KLP's suggested changes to
  11/06/2013 Noel Johnson        1:00       1.00        0.00   $   187.02 $     187.02    $           -    opp. to MTD (Bivens); make other revisions to sam

                                                                                                          NHJ- R and provide edits and suggestions to KLP's
  11/06/2013 Noel Johnson        1:36       1.60        1.10   $   187.02 $     299.23    $        205.72 section on facts relating to qualified immunity (
                                                                                                          NHJ- RS QI discovery section and make revisions to
  11/06/2013 Noel Johnson        2:42       2.70        2.70   $   187.02 $     504.95    $        504.95 section on same.
             Joseph
  11/07/2013 Vanderhulst         1:00       1.00        0.00   $   187.02 $     187.02    $           -    JAV- R Indiv. MTD response drafts.
             Joseph                                                                                        JAV- Gen jurisdiction rs for Indiv. MTD responses. C
  11/07/2013 Vanderhulst         2:00       2.00        0.00   $   187.02 $     374.04    $           -    KLP re same.
                                                                                                           KLP- Update general jurisdictional analysis. C JAV re
  11/07/2013 Kaylan Phillips     0:12       0.20        0.00   $   187.02 $       37.40   $           -    same.

  11/07/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 KLP- Call from MG re drafts. Email to team re same.
  11/07/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $    37.40    $         37.40 KLP- Call with MG re drafts.
  11/07/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02   $    74.81    $         74.81 KLP- Email and C with team re DOJ draft.
  11/07/2013 Kaylan Phillips     0:48       0.80        0.80 $     187.02   $   149.62    $        149.62 KLP- Work on updating QI fact sections.
                                                                                                          KLP- Work on combining the drafts and finalizing for
  11/07/2013 Kaylan Phillips     1:36       1.60        1.60   $   187.02 $     299.23    $        299.23 circulation. Draft email to team and circulate

                                                                                                           KLP- Continue working on responses to individual
  11/07/2013 Kaylan Phillips     1:48       1.80        0.00   $   187.02 $     336.64    $           -    defendants – personal jurisdiction facts and stand
                                                                                                          NHJ- RS re extra-pleading evidence in attacks on
  11/07/2013 Noel Johnson        0:30       0.50        0.50   $   187.02 $       93.51   $         93.51 mootness/12(b)(1)

                                                                                                          NHJ- Compile various sections of opp. to MTDs into
  11/07/2013 Noel Johnson        0:42       0.70        0.50   $   187.02 $     130.91    $         93.51 separate distinct opp to Cinci Ds MTD and DC Ds

                                                                                                           NHJ- R and provide edits and suggestions to MG's
  11/07/2013 Noel Johnson        1:12       1.20        0.00   $   187.02 $     224.42    $           -    section on conspiracy theory of jurisdiction (Bive

                                                                                                           NHJ- Continue making edits and revisions to section of
  11/07/2013 Noel Johnson        1:54       1.90        0.00   $   187.02 $     355.34    $           -    opp. to MTDs on availability of Bivens and q

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 81 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
             Joseph                                                                                        JAV- Em exch re Section 6104 disclosure options,
  11/08/2013 Vanderhulst         0:18       0.30        0.00   $   187.02 $       56.11   $           -    letter.
             Joseph                                                                                       JAV- C NHJ, KLP re disclosure of TTV's
  11/08/2013 Vanderhulst         0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 application/remedies to prevent same.
             Joseph
  11/08/2013 Vanderhulst         0:42       0.70        0.70   $   187.02 $     130.91    $        130.91 JAV- RS procedure for granting after litigation.
             Joseph
  11/08/2013 Vanderhulst         1:00       1.00        0.70   $   187.02 $     187.02    $        130.91 JAV- Em exch re DOJ brief, r revisions.
             Joseph
  11/08/2013 Vanderhulst         1:00       1.00        1.00   $   187.02 $     187.02    $        187.02 JAV- R Payne case for addition.
             Joseph                                                                                       JAV- Litigation team call re individual MTD response
  11/08/2013 Vanderhulst         1:18       1.30        1.30   $   187.02 $     243.13    $        243.13 drafts. Follow up with KLP.
             Joseph                                                                                       JAV- RS and send summary of disclosure prevention
  11/08/2013 Vanderhulst         2:30       2.50        2.50 $     187.02 $     467.55    $        467.55 options. C with KLP re same.
  11/08/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02 $      18.70    $         18.70 KLP- Circulate call-in info for call next week.
                                                                                                          KLP- Email from WD re Qualified Immunity section of
  11/08/2013 Kaylan Phillips     0:12       0.20        0.10   $   187.02 $       37.40   $         18.70 brief. Respond. C NHJ re same.
  11/08/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 KLP- C MG re responses and next steps.

  11/08/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 KLP- Email from MG re Response to DOJ. Review.
                                                                                                          KLP- Email with JAV and NHJ re needs for brief.
  11/08/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02 $       37.40   $         37.40 Upload documents to sky drive.
                                                                                                          KLP- C JAV and NHJ re disclosure of TTV's application
  11/08/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02 $       56.11   $         56.11 and remedies to prevent same.

                                                                                                          KLP- C JAV re public inspection of TTV's application. R
  11/08/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02 $       74.81   $         74.81 email re same. Draft email to CM and ML out
                                                                                                          KLP- C NHJ re incorporating by reference. Emails re
  11/08/2013 Kaylan Phillips     0:30       0.50        0.00   $   187.02 $       93.51   $           -   same. R RV Bivens section.
                                                                                                          KLP- Email from WD re Qualified Immunity. C NHJ. R
  11/08/2013 Kaylan Phillips     0:42       0.70        0.50   $   187.02 $     130.91    $         93.51 Hobson v. Wilson.
                                                                                                          KLP- C call with team re individual motions. Follow-up
  11/08/2013 Kaylan Phillips     1:18       1.30        0.00   $   187.02 $     243.13    $           -   with NHJ and JAV.
                                                                                                          KLP- Work on adjusting Management defendants'
  11/08/2013 Kaylan Phillips     3:00       3.00        3.00   $   187.02 $     561.06    $        561.06 motion to incorporate by reference.
                                                                                                          NHJ- R dockets of DDC Bivens actions for activity;
  11/08/2013 Noel Johnson        0:06       0.10        0.00   $   187.02 $       18.70   $           -   review recently filed docs in same.
                                                                                                           NHJ- RS re review of Bivens claim under FRCP
  11/08/2013 Noel Johnson        0:12       0.20        0.00   $   187.02 $       37.40   $           -    12(b)(1) or (6).

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 82 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- C KLP to discuss inquiry from BD re qualified
  11/08/2013 Noel Johnson        0:12       0.20        0.10   $   187.02 $       37.40    $         18.70 immunity.
                                                                                                           NHJ- C KLP and JAV re disclosure of TTV's
  11/08/2013 Noel Johnson        0:18       0.30        0.30   $   187.02 $       56.11    $         56.11 application/remedies to prevent same.

                                                                                                            NHJ- Continue reviewing portions of opps. to MTDs
  11/08/2013 Noel Johnson        0:24       0.40        0.00   $   187.02 $       74.81    $           -    (Bivens) to prepare for conference call with lega
                                                                                                            NHJ- R portions of opps. to MTDs (Bivens) to prepare
  11/08/2013 Noel Johnson        0:24       0.40        0.00   $   187.02 $       74.81    $           -    for conference call with legal team.
                                                                                                           NHJ- R case law re disocvery permitted where
  11/08/2013 Noel Johnson        0:24       0.40        0.40   $   187.02 $       74.81    $         74.81 investigation of underlying claim ongoing.

                                                                                                           NHJ-Continue RS re extra-pleading evidence in 12
  11/08/2013 Noel Johnson        0:36       0.60        0.60   $   187.02 $     112.21     $        112.21 (b)(1) MITD; make revisions to opp. to DOJ MTD re

                                                                                                           NHJ- Conduct search of Judge Walton opinions; review
  11/08/2013 Noel Johnson        0:42       0.70        0.70   $   187.02 $     130.91     $        130.91 various opinions of Judge Walton re voluntary
                                                                                                           NHJ- RS re incorporation by reference; P paragraph re
  11/08/2013 Noel Johnson        0:42       0.70        0.70   $   187.02 $     130.91     $        130.91 same.

                                                                                                            NHJ- Discuss needs for Bivens section with KLP;
  11/08/2013 Noel Johnson        0:54       0.90        0.00   $   187.02 $     168.32     $           -    modify existing Bivens draft to conform to Manageme

                                                                                                            NHJ- Conference call with legal team re opp. to MTD
  11/08/2013 Noel Johnson        1:18       1.30        0.00   $   187.02 $     243.13     $           -    (Bivens); discussions with KLP and JAV re same
             Joseph
  11/09/2013 Vanderhulst         0:18       0.30        0.30   $   187.02   $      56.11   $         56.11 JAV- PC KLP re WI RS.
             Joseph                                                                                        JAV- Combine edits to DOJ response, RS and add
  11/09/2013 Vanderhulst         3:00       3.00        3.00   $   187.02   $     561.06   $        561.06 edits.

  11/09/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02   $      18.70   $         18.70 KLP- Upload gov't brief to skydrive, email JAV re same.
                                                                                                           KLP- Email from NHJ re changes to Bivens section.
  11/09/2013 Kaylan Phillips     0:18       0.30        0.00   $   187.02   $      56.11   $           -   Incorporate into draft.

  11/09/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02   $      56.11   $         56.11 KLP- Email with ML, CM, and JAV re consent motion.
                                                                                                           KLP- Finalize drafts and draft email to team with
  11/09/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02   $      56.11   $         56.11 questions to consider.

  11/09/2013 Kaylan Phillips     0:30       0.50        0.00   $   187.02   $      93.51   $           -    KLP- C JAV re Qualified Immunity discovery. R cases.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 83 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           KLP- C NHJ re incorporating by reference and trimming
  11/09/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02   $      93.51   $         93.51 briefs.
                                                                                                           KLP- Work on incorporating portions of Cincinnati brief
  11/09/2013 Kaylan Phillips     1:06       1.10        1.10   $   187.02   $     205.72   $        205.72 into Management defendants' brief.
                                                                                                           KLP- Edit both individual motions. Standardize
  11/09/2013 Kaylan Phillips     1:12       1.20        1.20 $     187.02   $     224.42   $        224.42 language and references throughout.
  11/09/2013 Kaylan Phillips     1:30       1.50        0.00 $     187.02   $     280.53   $           -    KLP- Work on qualified immunity sections.
                                                                                                           KLP- Continue incorporating portions of Cincinnati brief
  11/09/2013 Kaylan Phillips     1:54       1.90        1.90   $   187.02   $     355.34   $        355.34 into Management defendants' brief.

                                                                                                           NHJ- C KLP to discuss needs and options for
  11/09/2013 Noel Johnson        0:30       0.50        0.50   $   187.02   $      93.51   $         93.51 consolidating and incorporating arguments for opp. to M
                                                                                                           NHJ- Continue making edits and revisions to opp. to
  11/09/2013 Noel Johnson        2:00       2.00        0.00   $   187.02   $     374.04   $           -   MTDs (Bivens)
             Joseph
  11/10/2013 Vanderhulst         1:00       1.00        0.00   $   187.02   $     187.02   $           -    JAV- QI rs re Indiv. MTD response.
             Joseph                                                                                        JAV- RS options, prep, and circulate letter to DOJ re
  11/10/2013 Vanderhulst         2:12       2.20        2.20 $     187.02   $     411.44   $        411.44 Section 6104.
  11/10/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $      18.70   $         18.70 KLP- Organize notes re DOJ brief.
  11/10/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $      37.40   $         37.40 KLP- Email with JAV and NHJ re DOJ brief.
  11/10/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $      37.40   $         37.40 KLP- Email with NHJ re edits to Management brief.
                                                                                                           KLP- Emails from CM re responses to individual
  11/10/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02   $      37.40   $         37.40 motions. Draft response.
                                                                                                           KLP- Email from JCE with edits to responses to
                                                                                                           Management and Cinci Defendants. R and save. C NHJ
  11/10/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02   $      74.81   $         74.81 r
  11/10/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02   $      74.81   $         74.81 KLP- Work on editing the Management brief.
                                                                                                           KLP- C NHJ re responses to individual motions, briefly
  11/10/2013 Kaylan Phillips     1:00       1.00        1.00 $     187.02   $     187.02   $        187.02 revie CM's edits/emails re same.
  11/10/2013 Kaylan Phillips     2:30       2.50        2.50 $     187.02   $     467.55   $        467.55 KLP- Work on response to gov't brief.

                                                                                                            NHJ- C KLP to discuss needs for opp. to DOJ MTD
  11/10/2013 Noel Johnson        0:24       0.40        0.00   $   187.02   $      74.81   $           -    division of labor to incorporate feedback from lega

                                                                                                            NHJ- R, incorporate and RV CM and JCE's edits to opp.
  11/10/2013 Noel Johnson        3:06       3.10        0.00   $   187.02   $     579.76   $           -    to Management Defendants MTD (Bivens). C KLP
             Joseph
  11/11/2013 Vanderhulst         0:30       0.50        0.50   $   187.02   $      93.51   $         93.51 JAV- C KLP and NHJ re RS and edits needed.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 84 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
             Joseph                                                                                        JAV- C NHJ re MTD response arguments. C with KLP
  11/11/2013 Vanderhulst         1:12       1.20        0.80   $   187.02   $     224.42   $        149.62 re same.
             Joseph
  11/11/2013 Vanderhulst         1:18       1.30        0.00   $   187.02   $     243.13   $           -    JAV- Make edits to QI section of Indiv. response.
             Joseph
  11/11/2013 Vanderhulst         2:00       2.00        0.00 $     187.02   $     374.04   $           -    JAV- RS QI issue for indiv. response.
  11/11/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $      18.70   $         18.70 KLP- C NHJ re next steps.
  11/11/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $      18.70   $         18.70 KLP- Call from MG re gov't motion.
  11/11/2013 Kaylan Phillips     0:12       0.20        0.00 $     187.02   $      37.40   $           -    KLP- C NHJ and JAV re qualified immunity.
  11/11/2013 Kaylan Phillips     0:12       0.20        0.00 $     187.02   $      37.40   $           -    KLP- C NHJ re qualified immunity.

  11/11/2013 Kaylan Phillips     0:12       0.20        0.00   $   187.02   $      37.40   $           -    KLP- Emails from CM re individual defendants' brief.
                                                                                                           KLP- Email with CM and WD re concerns and
  11/11/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02   $      56.11   $         56.11 combining briefs.
                                                                                                           KLP- Receive and review Mat's changes to gov't brief.
  11/11/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02   $      93.51   $         93.51 Finalize and circulate.
  11/11/2013 Kaylan Phillips     0:30       0.50               $   187.02   $      93.51   $           -    KLP- C MG and NHJ re combining briefs.
                                                                                                           KLP- R updated QI section. Insert into brief. Draft email
  11/11/2013 Kaylan Phillips     0:36       0.60        0.60 $     187.02   $     112.21   $        112.21 with brief.
  11/11/2013 Kaylan Phillips     0:42       0.70        0.00 $     187.02   $     130.91   $           -    KLP- C NHJ and JAV re qualified immunity.
  11/11/2013 Kaylan Phillips     0:54       0.90        0.90 $     187.02   $     168.32   $        168.32 KLP- Work on combining brief.

  11/11/2013 Kaylan Phillips     4:42       4.70        4.70   $   187.02   $     878.99   $        878.99 KLP- Continue working on combining briefs, c NHJ.
                                                                                                           NHJ- C KLP to discuss needs for current drafts of opp.
  11/11/2013 Noel Johnson        0:12       0.20        0.00   $   187.02   $      37.40   $           -   to MTDs (Bivens)
                                                                                                            NHJ- R email chains re comments on drafts of opp. to
  11/11/2013 Noel Johnson        0:12       0.20        0.00   $   187.02   $      37.40   $           -    Individual Defendants' MTDs (Bivens)

                                                                                                            NHJ- PC with MG and KLP re decision to consolidate
  11/11/2013 Noel Johnson        0:24       0.40        0.00   $   187.02   $      74.81   $           -    briefs (Bivens); discussion with KLP re factual
                                                                                                            NHJ- C KLP and JAV re needs for factual allegations
  11/11/2013 Noel Johnson        0:54       0.90        0.00   $   187.02   $     168.32   $           -    section of opp. to MTD's (Bivens)

                                                                                                            NHJ- RS caselaw re first amendment retaliation; draft
  11/11/2013 Noel Johnson        2:12       2.20        0.00   $   187.02   $     411.44   $           -    section on same for opp. to individual defend




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Expenses adjusted for reimbursable and non-reimbursable.              Page 85 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            NHJ- Work on revisions to factual allegations section of
  11/11/2013 Noel Johnson        2:42       2.70        0.00   $   187.02   $     504.95   $           -    qualified immunity argument; research re:

                                                                                                            NHJ- RS caselaw re viewpoint discrimination; draft
  11/11/2013 Noel Johnson        3:00       3.00        0.00   $   187.02   $     561.06   $           -    section on same for opp. to individual defendant
             Joseph
  11/12/2013 Vanderhulst         0:30       0.50        0.40   $   187.02   $      93.51   $         74.81 JAV- C KLP and NHJ re MTD responses to-do, RS.
             Joseph
  11/12/2013 Vanderhulst         0:42       0.70        0.50   $   187.02   $     130.91   $         93.51 JAV- Call with team re feedback for MTD responses.
             Joseph
  11/12/2013 Vanderhulst         1:00       1.00        1.00   $   187.02   $     187.02   $        187.02 JAV- RS committee reports for evidence.
                                                                                                           KLP- Draft email to MG, JAV, and NHJ re schedule
  11/12/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02   $      18.70   $         18.70 going foward.

  11/12/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02   $      18.70   $         18.70 KLP- Email from CM re change in plans for call today.

                                                                                                           KLP- Email ML re requesting consent from opposing
  11/12/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02   $      18.70   $         18.70 counsel for stay and for more pages for a consoli
                                                                                                           KLP- R letter re stay of publishing docs produced by
  11/12/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $      18.70   $         18.70 TTV.
  11/12/2013 Kaylan Phillips     0:12       0.20        0.00 $     187.02   $      37.40   $           -    KLP- C NHJ re evidence and qualified immunity.
  11/12/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $      37.40   $         37.40 KLP- C JAV re schedule going forward.
  11/12/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $      37.40   $         37.40 KLP- C NHJ re gov't motion.
                                                                                                           KLP- Email with ML and CM re updated briefs. Circulate
  11/12/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02   $      37.40   $         37.40 updated gov't
                                                                                                           KLP- Email with NHJ re updated individual brief. R
  11/12/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02   $      37.40   $         37.40 changes.

  11/12/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02   $      37.40   $         37.40 KLP- Follow up call with MG, NHJ, JAV re next steps.
                                                                                                           KLP- R portion of complaint re returned grant. R
  11/12/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02   $      37.40   $         37.40 Catherine's email re same.
                                                                                                           KLP- Email with ML and WD re conference calls. Send
  11/12/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02   $      56.11   $         56.11 calendar updates. Call from CM re same.

  11/12/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02   $      93.51   $         93.51 KLP- Call with WD, JCE, MG, NHJ and JAV re briefs.

                                                                                                           KLP- R draft motion for leave to file oversized brief.
  11/12/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02   $      93.51   $         93.51 Draft email to CM and ML re same. Email from

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 86 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            KLP- Receive updates to qualified immunity section,
  11/12/2013 Kaylan Phillips     0:36       0.60        0.00   $   187.02   $     112.21   $           -    insert into master draft.
                                                                                                           KLP- R notes and come up with final checklist for all the
  11/12/2013 Kaylan Phillips     1:00       1.00        1.00   $   187.02   $     187.02   $        187.02 briefs.
                                                                                                           KLP- Make list of evidence to consider adding. R emails
  11/12/2013 Kaylan Phillips     1:12       1.20        1.20   $   187.02   $     224.42   $        224.42 re same. Search news articles.

                                                                                                            NHJ- PC with BD, MG, JCE, KLP and JAV to discuss
  11/12/2013 Noel Johnson        0:42       0.70        0.00   $   187.02   $     130.91   $           -    needs and changes to opp. to MTDs (DOJ and Bivens)

                                                                                                           NHJ- C KLP re needs for motion for excess pages; RS
  11/12/2013 Noel Johnson        0:54       0.90        0.90   $   187.02   $     168.32   $        168.32 good cause standard for same; draft motion to f

                                                                                                            NHJ- Continue revising First Amendment retaliation
  11/12/2013 Noel Johnson        1:36       1.60        0.00   $   187.02   $     299.23   $           -    section of opp. to MTD (Bivens); circulate draft
                                                                                                           NHJ- Proofread and make edits/revisions to draft opp.
  11/12/2013 Noel Johnson        1:54       1.90        1.90   $   187.02   $     355.34   $        355.34 to DOJ MTD. C with KLP re same.

                                                                                                            NHJ- R, incorporate, and RV JAV's edits to QI factual
  11/12/2013 Noel Johnson        2:12       2.20        0.00   $   187.02   $     411.44   $           -    section of opp. to MTDs; conferences with JAV
             Joseph
  11/13/2013 Vanderhulst         0:30       0.50        0.50   $   187.02   $      93.51   $         93.51 JAV- R 6104 procedures.
             Joseph
  11/13/2013 Vanderhulst         0:30       0.50        0.50   $   187.02   $      93.51   $         93.51 JAV- R oversize memo.
             Joseph
  11/13/2013 Vanderhulst         1:00       1.00        0.70   $   187.02   $     187.02   $        130.91 JAV- Team conf call re consolidated MTD response.
             Joseph                                                                                        JAV- R next drafts of Indiv. and DOJ responses, r def
  11/13/2013 Vanderhulst         2:00       2.00        2.00   $   187.02   $     374.04   $        374.04 motions, confs re rest.
             Joseph
  11/13/2013 Vanderhulst         2:00       2.00        2.00   $   187.02   $     374.04   $        374.04 JAV- Work on revisions to DOJ brief.

  11/13/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $      18.70   $         18.70 KLP- Draft email to team re schedule going forward.
  11/13/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $      18.70   $         18.70 KLP- Email group re conference call.
                                                                                                           KLP- Email with colleagues re list of evidence to
  11/13/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02   $      18.70   $         18.70 consider.
  11/13/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02   $      18.70   $         18.70 KLP- P for PC.
                                                                                                           KLP- R updated DOJ brief. Finalize and P for
  11/13/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02   $      56.11   $         56.11 circulation.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 87 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           KLP- C NHJ re edits to DOJ motion. Emails re same.
  11/13/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02   $      74.81   $         74.81 (two)
                                                                                                           KLP- C with NHJ and JAV re next steps for the
  11/13/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02   $      93.51   $         93.51 individual motions.
                                                                                                           KLP- Call from MG re factual analysis. Email with MG
  11/13/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02   $      93.51   $         93.51 re documents.
                                                                                                           KLP- Call with CM, ML, MG, NHJ, and JAV re individual
  11/13/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02   $      93.51   $         93.51 motions.
                                                                                                           KLP- Email from opposing counsel re: motion for
  11/13/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02   $      93.51   $         93.51 additional pages. Emails with team re: next steps.

                                                                                                           KLP- Email with drafting team re: recommendation for
  11/13/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02   $     112.21   $        112.21 team. C with NHJ. C with JAV. Call from MG re:
                                                                                                           KLP- Work on jurisdictional sections. R and add to
  11/13/2013 Kaylan Phillips     0:54       0.90        0.90 $     187.02   $     168.32   $        168.32 factual allegations.
  11/13/2013 Kaylan Phillips     1:30       1.50        1.50 $     187.02   $     280.53   $        280.53 KLP- Continue incorporating ML's edits.
  11/13/2013 Kaylan Phillips     1:48       1.80        1.80 $     187.02   $     336.64   $        336.64 KLP- Work on incorporating ML's edits.
                                                                                                           KLP- Email from CM re revisions. Circulate to drafting
  11/13/2013 Kaylan Phillips     2:36       2.60        2.60   $   187.02   $     486.25   $        486.25 team. Work on revisions. C NHJ re same.
                                                                                                            NHJ- R and incorporate ML's edits to opp. to MTD.
  11/13/2013 Noel Johnson        0:12       0.20        0.00   $   187.02   $      37.40   $           -    (Bivens)

  11/13/2013 Noel Johnson        0:12       0.20        0.00   $   187.02   $      37.40   $           -    NHJ- R CM's changes to order of opp. to MTD (Bivens)
                                                                                                           NHJ- C JAV re status of implementation of TIGTA
  11/13/2013 Noel Johnson        0:12       0.20        0.20   $   187.02   $      37.40   $         37.40 recommendations by IRS.
                                                                                                           NHJ- C KLP re needs for mootness section of opp. to
  11/13/2013 Noel Johnson        0:12       0.20        0.20 $     187.02   $      37.40   $         37.40 DOJ MTD.
  11/13/2013 Noel Johnson        0:12       0.20        0.20 $     187.02   $      37.40   $         37.40 NHJ- C KLP re needs for opp. to DOJ motion.

  11/13/2013 Noel Johnson        0:12       0.20        0.20   $   187.02   $      37.40   $         37.40 NHJ- Case law RS re voluntary cessastion doctrine.
                                                                                                           NHJ- C KLP re adding additional factual material in
  11/13/2013 Noel Johnson        0:18       0.30        0.00   $   187.02   $      56.11   $           -   personal jurisdiction section of opp. to MTD (B
                                                                                                            NHJ- R authority cited by DOJ MTD_ Munsell v. Dept of
  11/13/2013 Noel Johnson        0:18       0.30        0.00   $   187.02   $      56.11   $           -    Agri.
                                                                                                            NHJ- C JAV and KLP to discuss needs for draft opp. to
  11/13/2013 Noel Johnson        0:30       0.50        0.00   $   187.02   $      93.51   $           -    MTDs. (Bivens)
                                                                                                            NHJ- PC with ML, CM, JAV, and KLP to discuss draft
  11/13/2013 Noel Johnson        0:30       0.50        0.00   $   187.02   $      93.51   $           -    opp. to MTDs (Bivens)


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Expenses adjusted for reimbursable and non-reimbursable.              Page 88 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- RV opp. to DOJ to incorporate evidence re
  11/13/2013 Noel Johnson        0:30       0.50        0.50   $   187.02   $      93.51   $         93.51 treatment of tea party applicants during congression
                                                                                                           NHJ- R DOJ MTD; verify various arguments are
  11/13/2013 Noel Johnson        0:42       0.70        0.00   $   187.02   $     130.91   $           -   addressed in opp. to same.
                                                                                                            NHJ- RV portions of qualified immunity to opp. to MTD
  11/13/2013 Noel Johnson        0:48       0.80        0.00   $   187.02   $     149.62   $           -    (Bivens)

                                                                                                           NHJ- RS case law re standard of review for 12(b)(1)
  11/13/2013 Noel Johnson        0:54       0.90        0.90   $   187.02   $     168.32   $        168.32 motions; RV standard of review section of opp.

                                                                                                           NHJ- RS re status of implementation of TIGTA
  11/13/2013 Noel Johnson        0:54       0.90        0.90   $   187.02   $     168.32   $        168.32 recommendations by IRS; ongoing nature of targeting.
                                                                                                           NHJ- R and incorporate CM's edits to DOJ MTD; make
  11/13/2013 Noel Johnson        1:00       1.00        0.00   $   187.02   $     187.02   $           -   other revisions to same.
                                                                                                            NHJ- R and incorporate ML's edits to opp to MTD
  11/13/2013 Noel Johnson        1:36       1.60        0.00   $   187.02   $     299.23   $           -    (Bivens); c with KLP and JAV re same.
             Joseph
  11/14/2013 Vanderhulst         0:12       0.20        0.20   $   187.02   $      37.40   $         37.40 JAV- C NHJ and KLP re additional evidence.
             Joseph
  11/14/2013 Vanderhulst         0:18       0.30        0.30   $   187.02   $      56.11   $         56.11 JAV- C NHJ re motion to prevent disclosure.
             Joseph
  11/14/2013 Vanderhulst         0:30       0.50        0.50   $   187.02   $      93.51   $         93.51 JAV- Finalize supersize brief motion.
             Joseph                                                                                        JAV- RS mechanisms for stay/injunction re app
  11/14/2013 Vanderhulst         1:00       1.00        0.00   $   187.02   $     187.02   $           -   disclosure.
             Joseph
  11/14/2013 Vanderhulst         1:00       1.00        1.00   $   187.02   $     187.02   $        187.02 JAV- Finalize DOJ dismiss response, circulate.
             Joseph
  11/14/2013 Vanderhulst         2:00       2.00        0.00   $   187.02   $     374.04   $           -    JAV- Draft motion for stay.
             Joseph                                                                                        JAV- Edit and circualte near-final DOJ dismiss
  11/14/2013 Vanderhulst         2:00       2.00        2.00 $     187.02   $     374.04   $        374.04 response.
  11/14/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $      18.70   $         18.70 KLP- call from MG re final revisions.
                                                                                                           KLP- Email from CM re Carter Hull's supervisor.
  11/14/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $      18.70   $         18.70 Circulate to team.
  11/14/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $      18.70   $         18.70 KLP- Email to client re schedule.
                                                                                                           KLP- Email to MG re revisions to DOJ brief. D
  11/14/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02   $      18.70   $         18.70 explanation of how to proceed.
                                                                                                            KLP- R JAV's draft motion to stay. Edit. Send
  11/14/2013 Kaylan Phillips     0:12       0.20        0.00   $   187.02   $      37.40   $           -    comments.

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Expenses adjusted for reimbursable and non-reimbursable.              Page 89 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           KLP- D email to team with remaining questions.
  11/14/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $      37.40   $         37.40 Circulate briefs.
  11/14/2013 Kaylan Phillips     0:18       0.30        0.00 $     187.02   $      56.11   $           -    KLP- Work on qualified immunity facts. R motions.
  11/14/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02   $      56.11   $         56.11 KLP- C NHJ re jurisdictional case law. R cases.
                                                                                                           KLP- Email from CM re "return information"- email with
  11/14/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02   $      56.11   $         56.11 MG re same.

  11/14/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02   $      56.11   $         56.11 KLP- Email with ML re edits to responses. Call re same.

  11/14/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02   $      56.11   $         56.11 KLP- Email with NHJ and MG re Individual response.
                                                                                                           KLP- Email with teammates re final questions and
  11/14/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02   $      56.11   $         56.11 strategy for responses.
  11/14/2013 Kaylan Phillips     0:24       0.40        0.40 $     187.02   $      74.81   $         74.81 KLP- C with NHJ and JAV re additional evidence.
                                                                                                           KLP- Receive, review, and incorporate Cleta's changes
  11/14/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02   $      93.51   $         93.51 to Ind. Resp.
                                                                                                           KLP- Receive, review, and incorporate Cleta's changes
  11/14/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02   $     112.21   $        112.21 to DOJ resp.
                                                                                                           KLP- Receive, review, and incorporate ML’s changes to
  11/14/2013 Kaylan Phillips     1:12       1.20        1.20   $   187.02   $     224.42   $        224.42 second half of individual response.
                                                                                                           KLP- Continue editing individual response. Finalize.
  11/14/2013 Kaylan Phillips     1:42       1.70        1.70   $   187.02   $     317.93   $        317.93 Circulate.
                                                                                                           KLP- Continue editing individual response. C NHJ re
  11/14/2013 Kaylan Phillips     1:54       1.90        1.90   $   187.02   $     355.34   $        355.34 sources needed. Email and call to MG re same.

                                                                                                           KLP- Work on jurisdictional sections. Review and add to
  11/14/2013 Kaylan Phillips     1:54       1.90        1.90   $   187.02   $     355.34   $        355.34 factual allegations. Review case law. Revie
                                                                                                           NHJ- PC with MG re comments on conspiracy theory
  11/14/2013 Noel Johnson        0:06       0.10        0.00   $   187.02   $      18.70   $           -   section of opp. to MTDs (Bivens)
                                                                                                            NHJ- Attempt to combine edits to draft opp. to Individual
  11/14/2013 Noel Johnson        0:12       0.20        0.00   $   187.02   $      37.40   $           -    Defendants MTDs (Bivens) with KLP.
                                                                                                            NHJ- R MTD filed in DDC Bivens action- Bloem v. Dept
  11/14/2013 Noel Johnson        0:12       0.20        0.00   $   187.02   $      37.40   $           -    of the Interior.
                                                                                                            NHJ- C KLP to discuss needs for opp. to Individual
  11/14/2013 Noel Johnson        0:18       0.30        0.00   $   187.02   $      56.11   $           -    Defendants MTD. (Bivens)

                                                                                                            NHJ- R and RV section on "clearly established rights" in
  11/14/2013 Noel Johnson        0:18       0.30        0.00 $     187.02   $      56.11   $           -    opp. to Individual Defendants MTDs (Bivens
  11/14/2013 Noel Johnson        0:18       0.30        0.30 $     187.02   $      56.11   $         56.11 NHJ- C JAV re motion to prevent disclosure.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 90 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- Case law RS re discovery to reveal identity of
  11/14/2013 Noel Johnson        0:24       0.40        0.40   $   187.02   $      74.81   $         74.81 unnamed defendants.

                                                                                                            NHJ- RS re personal jurisdiction; review an revise
  11/14/2013 Noel Johnson        2:18       2.30        0.00   $   187.02   $     430.15   $           -    portions of opp. to Individual Defendants MTDs r

                                                                                                            NHJ- Proofread latest draft of opp. to Individual
  11/14/2013 Noel Johnson        3:48       3.80        0.00   $   187.02   $     710.68   $           -    Defendants MTDs (Bivens); make revisions to same;
             Joseph
  11/15/2013 Vanderhulst         1:00       1.00        1.00   $   187.02   $     187.02   $        187.02 JAV- File dismiss, responses, motions, and orders.
             Joseph                                                                                        JAV- Proof and help finalize supersize motion and
  11/15/2013 Vanderhulst         1:00       1.00        1.00   $   187.02   $     187.02   $        187.02 orders.
             Joseph                                                                                        JAV- RV and circulate motion for stay of agency action.
  11/15/2013 Vanderhulst         1:30       1.50        0.00   $   187.02   $     280.53   $           -   C with NHJ re same.
             Joseph
  11/15/2013 Vanderhulst         3:00       3.00        3.00   $   187.02   $     561.06   $        561.06 JAV- Proof and help finalize DOJ dismiss resposne.
             Joseph
  11/15/2013 Vanderhulst         3:48       3.80        3.80 $     187.02   $     710.68   $        710.68 JAV- Proof and help finalize Indiv. dismiss response.
  11/15/2013 Kaylan Phillips     0:06       0.10        0.00 $     187.02   $      18.70   $           -    KLP- Emails re motion to stay.
  11/15/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $      18.70   $         18.70 KLP- Approval emails from Bill Davis.
                                                                                                           KLP- Email with CM re final approval and client
  11/15/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $      37.40   $         37.40 approval.
  11/15/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02   $      56.11   $         56.11 KLP- R local rules. Check ECF log-ins.

  11/15/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02   $      56.11   $         56.11 KLP- Receive Mat's changes to DOJ brief. Review.

                                                                                                           KLP- C NHJ re plan for today(two). Email with MG re
  11/15/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02   $      93.51   $         93.51 same. Emails from partners re schedule for edit
                                                                                                           KLP- Email with WD and ML re final steps. R notes re
  11/15/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02   $      93.51   $         93.51 final documents needs.
  11/15/2013 Kaylan Phillips     0:30       0.50        0.50 $     187.02   $      93.51   $         93.51 KLP- Work on tables for response to gov't brief.
                                                                                                           KLP- C MG re changes to conspiracy section. Cross-
  11/15/2013 Kaylan Phillips     0:36       0.60        0.00   $   187.02   $     112.21   $           -   reference and add in changes.
                                                                                                           KLP- Emails re tables for response to individual brief. R
  11/15/2013 Kaylan Phillips     0:36       0.60        0.00   $   187.02   $     112.21   $           -   tables.
                                                                                                           KLP- Receive and implement ML's edits to DOJ brief.
  11/15/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02   $     112.21   $        112.21 Send to Mat.



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Expenses adjusted for reimbursable and non-reimbursable.              Page 91 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            KLP- Receive ML's edits to individual brief. Implement.
  11/15/2013 Kaylan Phillips     1:00       1.00        0.00   $   187.02   $     187.02   $           -    C with MG re additions. R MG's changes.
                                                                                                           KLP- Print responses and begin proofing citations to the
  11/15/2013 Kaylan Phillips     1:00       1.00        1.00   $   187.02   $     187.02   $        187.02 record and cases in the gov't brief.
                                                                                                           KLP- Begin proofing citations to the record and cases in
  11/15/2013 Kaylan Phillips     1:30       1.50        0.00   $   187.02   $     280.53   $           -   the Individuals' brief. Edit and correct c
                                                                                                           KLP- R final documents and assist with filing. Email with
  11/15/2013 Kaylan Phillips     1:48       1.80        1.80   $   187.02   $     336.64   $        336.64 team.
                                                                                                            KLP- R individual brief, edit. Implement edits from
  11/15/2013 Kaylan Phillips     3:00       3.00        0.00   $   187.02   $     561.06   $           -    others.
                                                                                                           NHJ- C KLP to discuss needs for tables and cite
  11/15/2013 Noel Johnson        0:06       0.10        0.10 $     187.02   $      18.70   $         18.70 checking.
  11/15/2013 Noel Johnson        0:12       0.20        0.00 $     187.02   $      37.40   $           -    NHJ- Create and RV exhibits to opp. to MTDs.
  11/15/2013 Noel Johnson        0:12       0.20        0.00 $     187.02   $      37.40   $           -    NHJ- Create cover sheets for opp. to MTDs.

                                                                                                            NHJ- R finalize and file motion for leave to file
  11/15/2013 Noel Johnson        0:12       0.20        0.00   $   187.02   $      37.40   $           -    consolidated response to Individual Defendant's M
                                                                                                            NHJ- R ML's changes to Biven's section of opp. to
  11/15/2013 Noel Johnson        0:12       0.20        0.00   $   187.02   $      37.40   $           -    Individual Defendant's MTD.
                                                                                                            NHJ- R finalize and file consolidated response to
  11/15/2013 Noel Johnson        0:18       0.30        0.00   $   187.02   $      56.11   $           -    Individual Defendant's MTDs. (Bivens)

  11/15/2013 Noel Johnson        0:18       0.30        0.00 $     187.02   $      56.11   $           -    NHJ- R, finalize, and file opp. to DOJ motion to dismiss.
  11/15/2013 Noel Johnson        0:24       0.40        0.40 $     187.02   $      74.81   $         74.81 NHJ- Draft proposed orders denying all MTDs.
                                                                                                           NHJ- C KLP to discuss needs for affidavit; P summary
  11/15/2013 Noel Johnson        0:30       0.50        0.50   $   187.02   $      93.51   $         93.51 of evidence possibly.

                                                                                                            NHJ- R draft motion to stay agency action; discuss
  11/15/2013 Noel Johnson        0:48       0.80        0.00   $   187.02   $     149.62   $           -    same with JAV; make revisions to same and circ u
                                                                                                            NHJ- Final proofread of opp. to DOJ MTD; make edits
  11/15/2013 Noel Johnson        1:18       1.30        0.00   $   187.02   $     243.13   $           -    to same.
                                                                                                            NHJ- Create TOC and TOA for opp. to opp to DOJ
  11/15/2013 Noel Johnson        1:54       1.90        0.00   $   187.02   $     355.34   $           -    MTD.

                                                                                                            NHJ- Cite check references to Amended Compliant,
  11/15/2013 Noel Johnson        2:06       2.10        0.00   $   187.02   $     392.74   $           -    Exhibits and MTDs in opp to Individual Defendants
                                                                                                            NHJ- Create TOC and TOA for opp. to Individual
  11/15/2013 Noel Johnson        3:00       3.00        0.00   $   187.02   $     561.06   $           -    Defendants' MTD (Bivens)

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 92 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  11/18/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02   $      18.70   $         18.70 KLP- Email response to gov't brief to Bill.

  11/18/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02   $      37.40   $         37.40 KLP- C with NHJ re ZSK's withdrawal. Email client.
                                                                                                           KLP- Email from CM re emailing documents to clients.
  11/18/2013 Kaylan Phillips     0:12       0.20        0.20   $   187.02   $      37.40   $         37.40 Draft email.
                                                                                                           KLP- P mail service from Friday's filing. Take to post
  11/18/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02   $      56.11   $         56.11 office.
                                                                                                           KLP- Work with TJP to update TTV litigation page.
  11/18/2013 Kaylan Phillips     0:36       0.60        0.60 $     187.02   $     112.21   $        112.21 Send documents. Review.
  11/18/2013 Noel Johnson        0:06       0.10        0.10 $     187.02   $      18.70   $         18.70 NHJ- C KLP re ZSK's withdrawal. Email client.
                                                                                                           KLP- R articles re Cindy Thomas's response to Lois
  11/19/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02   $      18.70   $         18.70 Lerner's statements.
                                                                                                           NHJ- R qualified immunity suit in which cert. was
  11/19/2013 Noel Johnson        0:18       0.30        0.30   $   187.02   $      56.11   $         56.11 granted- Allen v. CIty of West Memphis.

                                                                                                           KLP- ECF notice re opposition to motion for
  11/20/2013 Kaylan Phillips     0:18       0.30        0.30   $   187.02   $      56.11   $         56.11 consolidated brief. Message NHJ re circulating oppositi
             Joseph
  11/21/2013 Vanderhulst         0:18       0.30        0.30   $   187.02   $      56.11   $         56.11 JAV- R ems re opposition to consolidated reply.
                                                                                                           KLP- Email from CM re ACLJ's second amended
  11/21/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02   $      18.70   $         18.70 complaint.
                                                                                                           KLP- Email with colleagues re: reply to motion for leave
  11/21/2013 Kaylan Phillips     1:06       1.10        1.10   $   187.02   $     205.72   $        205.72 to file consolidated brief (throughout mor

                                                                                                           NHJ- Review Management Defs. Opp. to Motion for
  11/21/2013 Noel Johnson        0:12       0.20        0.20   $   187.02   $      37.40   $         37.40 Leave to file Consolidated Response; email to legal

                                                                                                           NHJ- Begin LR for and being drafting reply for motion
  11/21/2013 Noel Johnson        1:36       1.60        1.60 $     187.02   $     299.23   $        299.23 for leave to file consolidated memo; discuss
  11/22/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $      18.70   $         18.70 KLP- Emails re conference call canceled today.
                                                                                                           KLP- Emails re: reply to motion for leave to file
  11/22/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02   $      93.51   $         93.51 consolidated brief. Review reply and make edits.
                                                                                                           NHJ- Incorporate legal teams' suggestion to reply to
  11/22/2013 Noel Johnson        0:24       0.40        0.40   $   187.02   $      74.81   $         74.81 motion for leave; file same.
                                                                                                           NHJ- P mailing for service for reply to motion for leave;
  11/22/2013 Noel Johnson        0:24       0.40        0.40   $   187.02   $      74.81   $         74.81 drive to post office to mail same.
                                                                                                           NHJ- Continue research re: motions for excess pages;
  11/22/2013 Noel Johnson        1:54       1.90        1.90   $   187.02   $     355.34   $        355.34 finish drafting reply to motion for leave; cir


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 93 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           KLP- ECF notice granting motioni to file consolidated
  11/26/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02   $      74.81   $         74.81 brief. Forward to colleagues. Email with coll

                                                                                                           KLP- ECF re: Cincinnati non-opposition to consolidated
  11/26/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02   $      74.81   $         74.81 brief. Review. Forward to colleagues and em
                                                                                                           KLP- ECF notice re consolidated response to Individual
  11/27/2013 Kaylan Phillips     0:06       0.10        0.00   $   187.02   $      18.70   $           -   Defendants' motions filed.
             Joseph
  12/02/2013 Vanderhulst         0:18       0.30        0.00 $     187.02   $      56.11   $           -    JAV- C NHJ re stay response, motion to grant.
  12/02/2013 Kaylan Phillips     0:18       0.30        0.00 $     187.02   $      56.11   $           -    KLP- C NHJ re stay of agency action RS.
  12/02/2013 Noel Johnson        0:18       0.30        0.00 $     187.02   $      56.11   $           -    NHJ- C KLP to discuss stay of agency action RS.
                                                                                                            NHJ- Case law RS re requirements for stay of agency
  12/02/2013 Noel Johnson        1:06       1.10        0.00   $   187.02   $     205.72   $           -    action; discuss same with JAV.
             Joseph                                                                                         JAV- R ems re discussion of motion to stay response, r
  12/03/2013 Vanderhulst         0:30       0.50        0.00   $   187.02   $      93.51   $           -    motion. C with NHJ re same.
                                                                                                            KLP- ECF notice re opposition to motion to stay agency
  12/03/2013 Kaylan Phillips     0:18       0.30        0.00   $   187.02   $      56.11   $           -    action. Briefly review and circulate.
                                                                                                            KLP- C NHJ re motion to stay agency action. R docket.
  12/03/2013 Kaylan Phillips     0:24       0.40        0.00   $   187.02   $      74.81   $           -    R emails re same.

                                                                                                            NHJ- R local rules re conceded motions; email to legal
  12/03/2013 Noel Johnson        0:12       0.20        0.00   $   187.02   $      37.40   $           -    team re uncontested motion to stay agency ac
                                                                                                            NHJ- Discuss motion stay with JAV; email to CM re
  12/03/2013 Noel Johnson        0:18       0.30        0.00   $   187.02   $      56.11   $           -    same; emails to legal team re same.
             Joseph                                                                                         JAV- C KLP and NHJ re stay response and moving
  12/04/2013 Vanderhulst         0:30       0.50        0.00   $   187.02   $      93.51   $           -    forward.
             Joseph
  12/04/2013 Vanderhulst         0:30       0.50        0.00   $   187.02   $      93.51   $           -    JAV- Start r of motion to stay response, c NHJ re same.

  12/04/2013 Kaylan Phillips     0:12       0.20        0.00   $   187.02   $      37.40   $           -    KLP- C JAV re arguments for reply to motion to stay.
                                                                                                            KLP- Emails re DOJ response to motion to stay agency
  12/04/2013 Kaylan Phillips     0:12       0.20        0.00   $   187.02   $      37.40   $           -    action.

                                                                                                           KLP- R local rules re calculating deadlines. Email/call
  12/04/2013 Kaylan Phillips     0:30       0.50        0.50   $   187.02   $      93.51   $         93.51 with Linda Aguirre re same. C NHJ re findin
                                                                                                           KLP- C with NHJ to discuss reply to DOJ opposition to
  12/04/2013 Kaylan Phillips     0:54       0.90        0.00   $   187.02   $     168.32   $           -   motion to stay agency action.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 94 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- R rules re computing time to respond to motion;
  12/04/2013 Noel Johnson        0:12       0.20        0.20   $   187.02   $      37.40   $         37.40 discuss same with KLP.
                                                                                                           NHJ- Continue LR re Sec 705 and begin drafting reply
  12/04/2013 Noel Johnson        0:42       0.70        0.00   $   187.02   $     130.91   $           -   to motion for stay.

  12/04/2013 Noel Johnson        0:42       0.70        0.00   $   187.02   $     130.91   $           -   NHJ- R DOJ opposition to motion to stay agency action.
                                                                                                           NHJ- C KLP and JAV to discuss reply to DOJ
  12/04/2013 Noel Johnson        0:54       0.90        0.00   $   187.02   $     168.32   $           -   opposition to motion to stay agency action.
                                                                                                           NHJ- Continue LR re Sec. 705 and begin drafting reply
  12/04/2013 Noel Johnson        2:06       2.10        0.00   $   187.02   $     392.74   $           -   to motion for stay.
                                                                                                           NHJ- LR re stays of agency action under Sec. 705 of
  12/04/2013 Noel Johnson        2:12       2.20        0.00   $   187.02   $     411.44   $           -   APA.
             Joseph
  12/05/2013 Vanderhulst         1:00       1.00        0.00 $     187.02   $     187.02   $           -   JAV- R responses to motion for stay, c NHJ re same.
  12/05/2013 Kaylan Phillips     0:12       0.20        0.00 $     187.02   $      37.40   $           -   KLP- Emails re reply to motion to stay.
                                                                                                           NHJ- Conferences with JAV re reply to motion to stay
  12/05/2013 Noel Johnson        0:18       0.30        0.00   $   187.02   $      56.11   $           -   agency action.
                                                                                                           NHJ- Continue drafting reply to motion to stay agency
  12/05/2013 Noel Johnson        0:24       0.40        0.00   $   187.02   $      74.81   $           -   action.
                                                                                                           NHJ- C JAV to discuss his suggestions for reply to stay
  12/05/2013 Noel Johnson        0:42       0.70        0.00   $   187.02   $     130.91   $           -   agency action.

  12/05/2013 Noel Johnson        1:00       1.00        0.00   $   187.02   $     187.02   $           -   NHJ- Continue RS re factors for stay for agency action.
                                                                                                           NHJ- Continue drafting reply to motion to stay agency
  12/05/2013 Noel Johnson        2:24       2.40        0.00   $   187.02   $     448.85   $           -   action.
                                                                                                           NHJ- Continue drafting reply to motion to stay agency
  12/05/2013 Noel Johnson        2:30       2.50        0.00   $   187.02   $     467.55   $           -   action.
             Joseph
  12/06/2013 Vanderhulst         1:00       1.00        0.00   $   187.02   $     187.02   $           -   JAV- R motion to stay reply, make edits.
             Joseph
  12/06/2013 Vanderhulst         1:30       1.50        0.00 $     187.02   $     280.53   $           -   JAV- R response to motion to stay, make notes.
  12/06/2013 Kaylan Phillips     0:36       0.60        0.00 $     187.02   $     112.21   $           -   KLP- C NHJ re reply to motion to stay.
                                                                                                           KLP- R and edit reply to motion to state agency action.
  12/06/2013 Kaylan Phillips     0:42       0.70        0.00   $   187.02   $     130.91   $           -   Emails re same.

                                                                                                           NHJ- Incorporate KLP's additonal edits/suggestions to
  12/06/2013 Noel Johnson        0:18       0.30        0.00   $   187.02   $      56.11   $           -   reply to motion to stay agency action.
                                                                                                           NHJ- LR re public interest factor of stay of agency
  12/06/2013 Noel Johnson        0:24       0.40        0.00   $   187.02   $      74.81   $           -   action.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 95 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                   1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            NHJ- C KLP to discuss reply to motion to stay agency
  12/06/2013 Noel Johnson        0:36       0.60        0.00   $   187.02   $     112.21   $           -    action.
                                                                                                            NHJ- Incorporate KLP's suggestions to reply to motion
  12/06/2013 Noel Johnson        0:36       0.60        0.00   $   187.02   $     112.21   $           -    to stay agency action.

                                                                                                            NHJ- R and incorporate JAV's edits/suggestions to stay
  12/06/2013 Noel Johnson        0:42       0.70        0.00   $   187.02   $     130.91   $           -    agency action; email to legal team attaching
                                                                                                            NHJ- Continue drafting reply to motion to stay agency
  12/06/2013 Noel Johnson        1:00       1.00        0.00   $   187.02   $     187.02   $           -    action.
             Joseph
  12/09/2013 Vanderhulst         0:24       0.40        0.00   $   187.02   $      74.81   $           -    JAV- R RV draft of motion for stay reply.

  12/09/2013 Kaylan Phillips     0:06       0.10        0.10   $   187.02   $      18.70   $         18.70 KLP- Email to client re ZSK's notice of withdrawal.
                                                                                                           KLP- C NHJ re reply motion to stay agency action. R
  12/09/2013 Kaylan Phillips     0:24       0.40        0.00   $   187.02   $      74.81   $           -   CM's comments. Emails re same.

                                                                                                            NHJ- R and incorporate MG's edits to reply to motion to
  12/09/2013 Noel Johnson        0:12       0.20        0.00   $   187.02   $      37.40   $           -    stay agency action; circulate latest draft
                                                                                                           NHJ- R dockets in other IRS targeting actions; R
  12/09/2013 Noel Johnson        0:12       0.20        0.20   $   187.02   $      37.40   $         37.40 recently filed docs/orders.
                                                                                                           NHJ- Incorporate ML's changes to reply to motion to
  12/09/2013 Noel Johnson        0:30       0.50        0.00   $   187.02   $      93.51   $           -   stay agency action; file same.

                                                                                                            NHJ- R and incorporate CM's edits to reply to motion to
  12/09/2013 Noel Johnson        0:30       0.50        0.00   $   187.02   $      93.51   $           -    stay agency action; proofread same; add S.C
                                                                                                            KLP- P mail service for reply to motion to stay agency
  12/11/2013 Kaylan Phillips     0:24       0.40        0.00   $   187.02   $      74.81   $           -    action. Take to post office.
                                                                                                           KLP- Receive and review signed withdrawal form from
  12/16/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $      37.40   $         37.40 Catherine. Forward to NHJ for filing.
  12/17/2013 Kaylan Phillips     0:06       0.10        0.10 $     187.02   $      18.70   $         18.70 KLP- Email client re reply briefs.
  12/17/2013 Kaylan Phillips     0:18       0.30        0.30 $     187.02   $      56.11   $         56.11 KLP- C TJP re getting docs on website. R.

  12/17/2013 Kaylan Phillips     0:24       0.40        0.40   $   187.02   $      74.81   $         74.81 KLP- Receive and review DOJ's Reply. C NHJ re same.
                                                                                                           KLP- Receive and review Management Defendants'
  12/17/2013 Kaylan Phillips     0:36       0.60        0.60   $   187.02   $     112.21   $        112.21 Reply. C NHJ re same.
                                                                                                           KLP- Receive and review Cincinnati Defendants' Reply.
  12/17/2013 Kaylan Phillips     1:00       1.00        1.00   $   187.02   $     187.02   $        187.02 C NHJ re same.
                                                                                                           NHJ- Finalize and file notice of withdrawal of ZSK;
  12/17/2013 Noel Johnson        0:24       0.40        0.40   $   187.02   $      74.81   $         74.81 prepare mailing for service to David Fish.

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Expenses adjusted for reimbursable and non-reimbursable.              Page 96 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- R DOJ MTD reply brief; discuss same with KLP;
  12/17/2013 Noel Johnson        0:36       0.60        0.40   $   187.02   $     112.21   $         74.81 PC with MG re same; email to legal team with tho

                                                                                                            NHJ- R Motion to Dismiss Reply briefs of Individual
  12/17/2013 Noel Johnson        1:42       1.70        0.00 $     187.02   $     317.93   $           -    Defendants; discuss same with KLP; circulate sa
  12/18/2013 Kaylan Phillips     0:12       0.20        0.20 $     187.02   $      37.40   $         37.40 KLP- C MG re replies.
  01/06/2014 Kaylan Phillips     0:12       0.20        0.00 $     190.06   $      38.01   $           -    KLP- Email with CM re responses to MTD.
                                                                                                            KLP- Call with Carly Cammil from ACLJ re MTD
  01/09/2014 Kaylan Phillips     0:36       0.60        0.00   $   190.06   $     114.04   $           -    response. C NHJ re same.
                                                                                                           KLP- Call from ACLJ re RS. R and email legislative to
  01/20/2014 Kaylan Phillips     0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 Carly.
                                                                                                           NHJ- R 7433 legislative history RS to respond to inquiry
  01/20/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 from ACLJ.
                                                                                                           KLP- ECF notice of appearance, counsel for
  01/23/2014 Kaylan Phillips     0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 Management defendants.
  02/08/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Emails between co counsel re next steps.
  02/17/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Email with CM re strategy call.
                                                                                                           KLP- Email from NHJ re RS on Judge Walton. Email to
  02/18/2014 Kaylan Phillips     0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 CM re same.

                                                                                                            NHJ- R issues presented in case pending before
  02/18/2014 Noel Johnson        0:06       0.10        0.00 $     190.06   $      19.01   $           -    SCOTUS re qualified immunity; email to KLP/JAV re sa
  02/21/2014 Kaylan Phillips     0:42       0.70        0.70 $     190.06   $     133.04   $        133.04 KLP- C call with ACLJ and NorCal counsel.

  02/21/2014 Noel Johnson        0:30       0.50        0.00   $   190.06   $      95.03   $           -    NHJ- PC with other IRS case attorney re Cinci case.

  03/04/2014 Noel Johnson        0:12       0.20        0.00   $   190.06   $      38.01   $           -    NHJ- R SCOTUS argument transcript in Bivens action.
                                                                                                           KLP- Emails re Lois Lerner's testimony today and the
  03/05/2014 Kaylan Phillips     0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 next steps.
                                                                                                           NHJ- Watch Oversight Committee hearing with Lois
  03/05/2014 Noel Johnson        0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 Lerner.
                                                                                                           NHJ- Briefly review Oversight Committee report on Lois
  03/12/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 Lerner.
                                                                                                           NHJ- Check dockets and review latest filings in related
  03/25/2014 Noel Johnson        0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 actions.
                                                                                                           KLP- Call from Carly at ACLJ re 26(f) and 16(f). R rules.
  03/26/2014 Kaylan Phillips     0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 Email to team re same.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 97 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- Email correspondence re 26(j) conference and
  03/26/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 update on NorCal suit.
                                                                                                           NHJ- Watch House Oversight hearing with IRS
  03/26/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 Commissioner.

                                                                                                            NHJ- R argument coverage of Wood v. Moss re
  03/26/2014 Noel Johnson        0:24       0.40        0.00   $   190.06   $      76.02   $           -    qualified immunity and view point discrimination; r ami
                                                                                                           KLP- D email re 26(f) conference. Get email addresses
  03/27/2014 Kaylan Phillips     0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 for lead counsel. Send to Cleta.

  03/28/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Emails with opposing counsel re 26(f) conference.
  04/01/2014 Kaylan Phillips     0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 KLP- Update re David Fish.
                                                                                                           NHJ- R amicus brief of Ohio, Alabama, SC in Linchpins
  04/04/2014 Noel Johnson        0:42       0.70        0.70   $   190.06   $     133.04   $        133.04 of Liberty; email to legal team re same.
                                                                                                           NHJ- R oppositions to motion to conduct personal
  04/08/2014 Noel Johnson        0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 jurisdictions discovery.
  04/09/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Emails with team re Lerner and Cummings.
                                                                                                           NHJ- Continue reviewing letter of Ways and Means
  04/09/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 Committee to DOJ re Lerner.
                                                                                                           NHJ- R letter of Ways and Means Committee to DOJ re
  04/09/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 Lerner.
                                                                                                           KLP- C NHJ re updating court on Lerner/Cummings
  04/10/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 developments.
  04/10/2014 Kaylan Phillips     0:30       0.50        0.50 $     190.06   $      95.03   $         95.03 KLP- Work on FOIA request.

  04/10/2014 Kaylan Phillips     1:30       1.50        1.50   $   190.06   $     285.09   $        285.09 KLP- Watch portion of contempt hearing re Lois Lerner.
                                                                                                           KLP- Continue working on FOIA request. C NHJ re
  04/10/2014 Kaylan Phillips     1:42       1.70        1.70   $   190.06   $     323.10   $        323.10 same.
                                                                                                           NHJ- C KLP re updating court Lerner/Cummings
  04/10/2014 Noel Johnson        0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 developments.
  04/10/2014 Noel Johnson        0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 NHJ- C KLP to discuss IRS FOIA #4.
  04/10/2014 Noel Johnson        1:36       1.60        1.60 $     190.06   $     304.10   $        304.10 NHJ- Watch IRS hearing re Lerner contempt Vote.
             Joseph
  04/11/2014 Vanderhulst         0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 JAV- R em and draft FOIA request.

                                                                                                           KLP- Email with WD re FOIA action. C NHJ re same. R
  04/11/2014 Kaylan Phillips     1:00       1.00        1.00   $   190.06   $     190.06   $        190.06 summary of law and sample complaint. Call from



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Expenses adjusted for reimbursable and non-reimbursable.              Page 98 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           KLP- Work on FOIA request. Incorporate NHJ’s edits.
  04/11/2014 Kaylan Phillips     1:42       1.70        1.70 $     190.06   $     323.10   $        323.10 Find news articles for expedition/fee waiver se
  04/11/2014 Noel Johnson        0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 NHJ- R and make edits to IRS FOIA for TTV docs.
                                                                                                           KLP- D email to CM re rv FOIA request. Edit requests.
  04/18/2014 Kaylan Phillips     0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 R response.
  04/21/2014 Kaylan Phillips     0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 KLP- Email from CM re rv FOIA.
  04/23/2014 Noel Johnson        0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 NHJ- RS re Congress power re contempt.

  04/28/2014 Kaylan Phillips     0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 KLP- RV FOIA request and sent to CM for review.
                                                                                                           KLP- Email from CM re draft FOIA and changes
  04/29/2014 Kaylan Phillips     0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 needed.

  04/30/2014 Noel Johnson        0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 NHJ- R complaint in newly-filed IRS targeting case.
             Joseph
  05/08/2014 Vanderhulst         0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 JAV- R ems re court update.
  05/08/2014 Kaylan Phillips     0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 KLP- Emails re updating the court.
  05/08/2014 Kaylan Phillips     0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 KLP- Emails re updating the court.
                                                                                                           KLP- R letter to opposing counsel re recognition of tax-
  05/09/2014 Kaylan Phillips     0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 exempt status.

                                                                                                           NHJ- R recent scholarship re EO tax determinations-
  05/14/2014 Noel Johnson        0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 Saving the IRS, 100 Va L. Rev. Online 22.
                                                                                                           KLP- C NHJ re supplement to mootness argument and
  05/19/2014 Kaylan Phillips     0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 next steps.
                                                                                                           KLP- R draft supplement. C NHJ re same. R emails re
  05/19/2014 Kaylan Phillips     0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 next steps.
                                                                                                           KLP- Call from ACLJ counsel re discovery requests.
  05/19/2014 Kaylan Phillips     0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 Email team re update.

                                                                                                           KLP- R Exempt Organization Select Check. Check for
  05/19/2014 Kaylan Phillips     1:06       1.10        1.10   $   190.06   $     209.07   $        209.07 various organizations. C NHJ re next steps. Emai
                                                                                                           NHJ- Discuss discovery matters and motion to
  05/19/2014 Noel Johnson        0:12       0.20        0.10   $   190.06   $      38.01   $         19.01 supplement opp. to MTD with KLP.

  05/19/2014 Noel Johnson        0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 NHJ- R local and chamber rules re motion practice.




* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 99 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- C KLP re supplement to motion re select check;
  05/19/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 email to legal team re draft supplement re same

                                                                                                           NHJ- Call to IRS to verify exemption; discuss same with
  05/19/2014 Noel Johnson        0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 KLP; email to legal team re same; email cor
                                                                                                           NHJ- RS local rules re notices to court, check ECF
  05/19/2014 Noel Johnson        1:18       1.30        1.30   $   190.06   $     247.08   $        247.08 filings for same; LR re duty to inform court; R
                                                                                                           NHJ- D motion for leave to supplement opp. to
  05/19/2014 Noel Johnson        2:00       2.00        1.40   $   190.06   $     380.12   $        266.08 Government's MTD; discuss same with JAV.
                                                                                                           KLP- D email to opposing counsel re supplement.
  05/20/2014 Kaylan Phillips     0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 Circulate.
                                                                                                           KLP- Emails re next steps with supplement. C NHJ re
  05/20/2014 Kaylan Phillips     0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 same.
                                                                                                           KLP- R select check. C NHJ re changes. Email with
  05/20/2014 Kaylan Phillips     0:36       0.60        0.60 $     190.06   $     114.04   $        114.04 team re same. R updated draft supplement.
  05/20/2014 Noel Johnson        0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 NHJ- C KLP to discuss supplement to MTD opp.
                                                                                                           NHJ- Make additional revisions to draft supplement to
  05/20/2014 Noel Johnson        0:18       0.30        0.20   $   190.06   $      57.02   $         38.01 opp. to gov MTD.

                                                                                                           NHJ- R and incorporate CM's edits to Motion for Leave
  05/20/2014 Noel Johnson        0:24       0.40        0.30   $   190.06   $      76.02   $         57.02 to Supplement Opp. to MTD; begin drafting Sup
                                                                                                           NHJ- RV draft supplement to opp. to gov. MTD; email to
  05/20/2014 Noel Johnson        0:30       0.50        0.40   $   190.06   $      95.03   $         76.02 legal team; discuss same with KLP.
                                                                                                           NHJ- D Supplement to Opposition to Government's
  05/20/2014 Noel Johnson        0:42       0.70        0.50 $     190.06   $     133.04   $         95.03 MTD.
  05/21/2014 Kaylan Phillips     0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 KLP- Emails re not filing supplement.
                                                                                                           KLP- Email from WD re Z-Street case. Find and save
  05/27/2014 Kaylan Phillips     0:48       0.80        0.80   $   190.06   $     152.05   $        152.05 opinion. R. email with team re same.
                                                                                                           NHJ- R new SCOTUS decision (Wood v. Moss) re
  05/27/2014 Noel Johnson        0:24       0.40        0.30   $   190.06   $      76.02   $         57.02 qualified immunity, email to JAV/KLP re same.

  05/28/2014 Kaylan Phillips     0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 KLP- C NHJ re Z Street decision. R emails re same.
                                                                                                           NHJ- R local and chamber rules re supp. authority
  05/28/2014 Noel Johnson        0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 notices; discuss same with KLP.
                                                                                                           NHJ- R order denying MTD in Z Street v.
  05/28/2014 Noel Johnson        0:48       0.80        0.60   $   190.06   $     152.05   $        114.04 Commissioner.




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Expenses adjusted for reimbursable and non-reimbursable.              Page 100 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- R decision in Z street; email correspondence with
  05/28/2014 Noel Johnson        1:12       1.20        1.20 $     190.06   $     228.07   $        228.07 legal team re supp. authority notice; draft
  05/29/2014 Kaylan Phillips     0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 KLP- Email from CM re supplemental authority.
                                                                                                           KLP- R draft of supplemental authority. Respond to
  05/29/2014 Kaylan Phillips     0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 team.
                                                                                                           NHJ- R opposition to Amicus brief filed in Linchips of
  05/30/2014 Noel Johnson        0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 Liberty
             Joseph
  06/02/2014 Vanderhulst         0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 JAV- R ems and draft re Z Street supplement.
                                                                                                           KLP- R notice of supplemental authority. C NHJ re
  06/02/2014 Kaylan Phillips     0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 same. Emails re same.
                                                                                                           KLP- Print and prepare courtesy copy for David Fish.
  06/02/2014 Kaylan Phillips     0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 Drive to post office and send certified mail.

  06/02/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 NHJ- Assign RS project to RW re witness unavailability.
                                                                                                           NHJ- R Z Street notice of supplemental authority in
  06/02/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 Linchpins of Liberty.
                                                                                                           NHJ- R final Supp. Authority notice (Z Street) and file
  06/02/2014 Noel Johnson        0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 same. C KLP re same.
  06/03/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Work on FOIA request.
                                                                                                           KLP- ECF notice re DOJ's reply to supplemental
  06/05/2014 Kaylan Phillips     0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 authority. R and safe. C NHJ re same.
                                                                                                           NHJ- R Ds reply to notice re Z Street; discuss same
  06/05/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 with KLP.

  06/05/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 NHJ- Begin reviewing ethics complaint of CCP re IRS.

                                                                                                           NHJ- R letter of Oversight Committee to IRS
  06/10/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 Commissioner re transmittal of (c)(4) info to DOJ; r co
                                                                                                           KLP- Emails re Lois Lerner's disappearing emails. D
  06/13/2014 Kaylan Phillips     0:42       0.70        0.70   $   190.06   $     133.04   $        133.04 letter to opposing counsel.

                                                                                                           KLP- Emails re draft letter. Find necessary information
  06/13/2014 Kaylan Phillips     1:18       1.30        1.30   $   190.06   $     247.08   $        247.08 and RV as needed. LR re duty to preserve ev

                                                                                                           NHJ- Email correspondence re lerner emails; press
  06/13/2014 Noel Johnson        0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 release re same; emails re same; discuss same wit



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Expenses adjusted for reimbursable and non-reimbursable.              Page 101 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                   1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                             Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- D TRO motion re spoliation and
  06/13/2014 Noel Johnson        1:06       1.10        1.10 $     190.06   $     209.07   $        209.07 entry/examination.
  06/16/2014 Kaylan Phillips     0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 KLP- C NHJ re IRS email retention policy.
  06/16/2014 Kaylan Phillips     0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 KLP- Email with Cath re client documents. R files.
                                                                                                           KLP- Finalize letter. Verify that it is on website. Email
  06/16/2014 Kaylan Phillips     1:12       1.20        1.20   $   190.06   $     228.07   $        228.07 with press re same.

                                                                                                           KLP- Email with CM and team re: letters to opposing
  06/16/2014 Kaylan Phillips     2:06       2.10        2.10 $     190.06   $     399.13   $        399.13 counsel. Review and make changes as needed. Leg
  06/16/2014 Noel Johnson        0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 NHJ- R RW's RS re forensic examination.
  06/16/2014 Noel Johnson        0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 NHJ- Upload letter to counsel on website.
                                                                                                           NHJ- Assign RS to RW re spoliation motion; C with RW
  06/16/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 re clarification of RS.
                                                                                                           NHJ- R latest draft letter to opposing counsel re
  06/16/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 spoliation; email correspondence with legal team
                                                                                                           NHJ- C KLP to discuss needs for spoliation motion and
  06/16/2014 Noel Johnson        0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 letter to opposing counsel.
  06/16/2014 Noel Johnson        0:30       0.50        0.50 $     190.06   $      95.03   $         95.03 NHJ- R updated reports, news on list IRS emails.

                                                                                                           NHJ- LR re duty to preserve/produce records,
  06/16/2014 Noel Johnson        1:42       1.70        1.70 $     190.06   $     323.10   $        323.10 spoliation, available rememdies; review briefing in D'
  06/16/2014 Raina Wallace       3:48       3.80        3.80 $     179.00   $     680.20   $        680.20 RW- RS spoliation of evidence.
             Joseph
  06/17/2014 Vanderhulst         0:30       0.50        0.50 $     190.06   $      95.03   $         95.03 JAV- C re Lois emails, rs process.
  06/17/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- C NHJ re motion and memo.

  06/17/2014 Kaylan Phillips     0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 KLP- C NHJ and RW re RS into motion re spoliation.
                                                                                                           KLP- Email to CM and ML re big picture issues for
  06/17/2014 Kaylan Phillips     0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 motion. Emails re conference call today.
                                                                                                           KLP- C NHJ re IRS emails and hard drives. R news
  06/17/2014 Kaylan Phillips     0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 articles re same.
                                                                                                           KLP- Emails re Lois Lerner's emails. News articles re
  06/17/2014 Kaylan Phillips     0:36       0.60        0.60   $   190.06   $     114.04   $        114.04 same.
                                                                                                           KLP- C call with ML, CM, and NHJ re motion and
  06/17/2014 Kaylan Phillips     1:00       1.00        1.00 $     190.06   $     190.06   $        190.06 memo. C NHJ re same.
  06/17/2014 Noel Johnson        0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 NHJ- P for conference call with ML.
  06/17/2014 Noel Johnson        0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 NHJ- R news reports re IRS losing more emails.

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                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- Discuss needs for motion to compel forensic
  06/17/2014 Noel Johnson        0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 examination.
                                                                                                           NHJ- R email chain re computer crash; email to legal
  06/17/2014 Noel Johnson        0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 team re same.
  06/17/2014 Noel Johnson        0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 NHJ- R latest report re Lois Lerner emails.

  06/17/2014 Noel Johnson        0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 NHJ- C KLP re revised needs for spoliation motion.
  06/17/2014 Noel Johnson        0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 NHJ- C KLP re spoliation motion needs and RS.
                                                                                                           NHJ- R IRM re retention of federal records; R reports re
  06/17/2014 Noel Johnson        0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 same; discuss same with KLP.

  06/17/2014 Noel Johnson        0:36       0.60        0.60   $   190.06   $     114.04   $        114.04 NHJ- Continue LR re motion to preserve evidence.

  06/17/2014 Noel Johnson        0:42       0.70        0.70 $     190.06   $     133.04   $        133.04 NHJ- PC with CM, ML, and KLP re spoliation motion.
  06/17/2014 Noel Johnson        0:54       0.90        0.90 $     190.06   $     171.05   $        171.05 NHJ- LR re motion to preserve evidence.
  06/17/2014 Noel Johnson        1:00       1.00        1.00 $     190.06   $     190.06   $        190.06 NHJ- LR re forensic examination of evidence.
  06/17/2014 Raina Wallace       3:48       3.80        3.80 $     179.00   $     680.20   $        680.20 RW- RS Spoliation and Forensic Examination.
                                                                                                           KLP- Email with team re potential expert affidavit for
  06/18/2014 Kaylan Phillips     0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 motion.
                                                                                                           KLP- Letters from opposing counsel re preservation of
  06/18/2014 Kaylan Phillips     0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 evidence (three).
  06/18/2014 Kaylan Phillips     0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 KLP- News articles re Lois Lerner's emails.

                                                                                                           KLP- C NHJ and RW re RS needed for PI
  06/18/2014 Kaylan Phillips     2:06       2.10        2.10 $     190.06   $     399.13   $        399.13 motion/expedited discocvery (several, throughout day).
  06/18/2014 Noel Johnson        0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 NHJ- C KLP re needs for PI/Discovery memo.

  06/18/2014 Noel Johnson        0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 NHJ- C KLP to discuss needs and RS for PI motion.
                                                                                                           NHJ- R PI memo circulated by ML re forensic
  06/18/2014 Noel Johnson        0:36       0.60        0.60   $   190.06   $     114.04   $        114.04 examination motion.
                                                                                                           NHJ- Continue LR and begin drafting PI/Discovery
  06/18/2014 Noel Johnson        0:54       0.90        0.90   $   190.06   $     171.05   $        171.05 memo.

                                                                                                           NHJ- Continue drafting preliminary statement, facts,
  06/18/2014 Noel Johnson        1:12       1.20        1.20   $   190.06   $     228.07   $        228.07 and argument outline re PI/Discovery memo.
                                                                                                           NHJ- Continue drafting preliminary statement of facts re
  06/18/2014 Noel Johnson        1:18       1.30        1.30   $   190.06   $     247.08   $        247.08 PI/Discovery memo.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 103 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  06/18/2014 Noel Johnson        1:18       1.30        1.30 $     190.06   $     247.08   $        247.08 NHJ- LR re expedited discovery; forensic examination.
  06/18/2014 Raina Wallace       1:30       1.50        1.50 $     179.00   $     268.50   $        268.50 RW- RS definitions of "likelihood of success".
  06/18/2014 Raina Wallace       2:00       2.00        2.00 $     179.00   $     358.00   $        358.00 RW- RS standard for preliminary injunction.
                                                                                                           RW- Looking for news media and familiarizing myself
  06/18/2014 Raina Wallace       2:18       2.30        2.30 $     179.00   $     411.70   $        411.70 with Lois Lerner Scandal.
  06/19/2014 Kaylan Phillips     0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 KLP- Continue working on memo- PI request.
  06/19/2014 Kaylan Phillips     0:36       0.60        0.60 $     190.06   $     114.04   $        114.04 KLP- Emails re motions. C NHJ re same.
                                                                                                           NHJ- Discuss LR with RW re "reasonableness" test
  06/19/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 factors.
                                                                                                           NHJ- Continue drafting memo re: PI/Expedited
  06/19/2014 Noel Johnson        0:36       0.60        0.60   $   190.06   $     114.04   $        114.04 Discovery
                                                                                                           NHJ- Continue drafting memo re PI/Expedited
  06/19/2014 Noel Johnson        1:06       1.10        1.10   $   190.06   $     209.07   $        209.07 Discovery
                                                                                                           NHJ- Continue drafting memo re: PI/Expedited
  06/19/2014 Noel Johnson        2:00       2.00        2.00   $   190.06   $     380.12   $        380.12 Discovery. C KLP re same.
                                                                                                           NHJ- Continue drafting memo re: PI/Expedited
  06/19/2014 Noel Johnson        2:12       2.20        2.20 $     190.06   $     418.13   $        418.13 Discovery
  06/20/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Emails re hearing today.
  06/20/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Emails re meet and confer.
                                                                                                           KLP- C NHJ re hearing and motion to preserve
  06/20/2014 Kaylan Phillips     0:36       0.60        0.60 $     190.06   $     114.04   $        114.04 evidence/expedited discovery (two).
  06/20/2014 Kaylan Phillips     1:30       1.50        1.50 $     190.06   $     285.09   $        285.09 KLP- Work on motion to preserve evidence.
  06/20/2014 Noel Johnson        0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 NHJ- Discuss RS needs with RW.

  06/20/2014 Noel Johnson        0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 NHJ- C KLP to discuss needs for PI/discovery memo.
                                                                                                           NHJ- C KLP to discuss needs for motion re expedited
  06/20/2014 Noel Johnson        0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 discovery.
  06/20/2014 Noel Johnson        0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 NHJ- LR re motion for PI to preserve evidence.
                                                                                                           NHJ- Continue LR re motion for PI to preserve
  06/20/2014 Noel Johnson        0:42       0.70        0.70   $   190.06   $     133.04   $        133.04 evidence.

  06/20/2014 Noel Johnson        1:12       1.20        1.20   $   190.06   $     228.07   $        228.07 NHJ- Continue drafting motion re expedited discovery.
                                                                                                           NHJ- Watch testimony of IRS Commissioner Koskinen
  06/20/2014 Noel Johnson        1:12       1.20        1.20   $   190.06   $     228.07   $        228.07 re lost IRS emails; take notes on same.
                                                                                                           NHJ- Proofread current draft and continue revising
  06/20/2014 Noel Johnson        1:30       1.50        1.50   $   190.06   $     285.09   $        285.09 memo re motion for expedited discovery.

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                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  06/20/2014 Raina Wallace       3:00       3.00        3.00 $     179.00   $     537.00   $        537.00 RW- RS Expedited Discovery.
  06/20/2014 Raina Wallace       4:00       4.00        4.00 $     179.00   $     716.00   $        716.00 RW- RS Preservation of Evidence.
  06/21/2014 Kaylan Phillips     3:06       3.10        3.10 $     190.06   $     589.19   $        589.19 KLP- Continue working on memo. Circulate.
             Joseph                                                                                        JAV- C KLP and NHJ re IRS email retention, arguments
  06/23/2014 Vanderhulst         0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 for PI motion.
                                                                                                           KLP- Emails with team re draft and conference call
  06/23/2014 Kaylan Phillips     0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 today.
  06/23/2014 Kaylan Phillips     0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 KLP- Work on memo.
                                                                                                           KLP- C RW re RS needed into FRCP 26. R RS and
  06/23/2014 Kaylan Phillips     0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 cases.
                                                                                                           KLP- C NHJ re arguments for motion for PI/expedited
  06/23/2014 Kaylan Phillips     0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 discovery.
                                                                                                           KLP- C RW re RS needed into preliminary injunction
  06/23/2014 Kaylan Phillips     0:48       0.80        0.80   $   190.06   $     152.05   $        152.05 standards (several). R RS.
                                                                                                           KLP- Receive changes from CM. R and implement
  06/23/2014 Kaylan Phillips     1:12       1.20        1.20   $   190.06   $     228.07   $        228.07 other changes. Circulate to team.

  06/23/2014 Kaylan Phillips     1:18       1.30        1.30 $     190.06   $     247.08   $        247.08 KLP- Call with team re memo. C NHJ and JAV re same.
  06/23/2014 Kaylan Phillips     2:30       2.50        2.50 $     190.06   $     475.15   $        475.15 KLP- Watch Congressional hearing.
                                                                                                           NHJ- R contract information and email correspondence
  06/23/2014 Noel Johnson        0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 re IRS email archiving services.
                                                                                                           NHJ- C KLP and JAV re IRS email retention, arguments
  06/23/2014 Noel Johnson        0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 for PI motion.
                                                                                                           NHJ- C KLP re needs for PI memo and expedited
  06/23/2014 Noel Johnson        0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 discovery plan.

                                                                                                           NHJ- LR re Rule 26(f) conferences; make revisions to
  06/23/2014 Noel Johnson        0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 expedited discovery memo re efforts to schedul
                                                                                                           NHJ- RS re IRS procedure for destruction of hard
  06/23/2014 Noel Johnson        0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 drives.

  06/23/2014 Noel Johnson        0:54       0.90        0.90   $   190.06   $     171.05   $        171.05 NHJ- Make revisions to motion re expedited processing.

                                                                                                           NHJ- PC with legal team re PI/expedited processing
  06/23/2014 Noel Johnson        0:54       0.90        0.90 $     190.06   $     171.05   $        171.05 motion and meet and confer tomorrow.
  06/23/2014 Noel Johnson        1:00       1.00        1.00 $     190.06   $     190.06   $        190.06 NHJ- Watch Oversight hearing with Koskinen.
                                                                                                           RW- Look over Preservation of Evidence RS, and
  06/23/2014 Raina Wallace       0:30       0.50        0.50   $   179.00   $      89.50   $         89.50 Preliminary Injunction RS.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 105 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           RW- Retrieving documents from Docket (United States
  06/23/2014 Raina Wallace       0:30       0.50        0.50   $   179.00   $      89.50   $         89.50 v. Sum of $70,990,605)
                                                                                                           RW- RS Is Washington Metro (DC) Still Good Law after
  06/23/2014 Raina Wallace       0:30       0.50        0.50   $   179.00   $      89.50   $         89.50 Winter (Supreme Court).

                                                                                                           RW- LR Is there precedence for a court compelling a
  06/23/2014 Raina Wallace       1:30       1.50        1.50   $   179.00   $     268.50   $        268.50 26(f) conference while a motion to dismiss is p
             Joseph
  06/24/2014 Vanderhulst         0:30       0.50        0.50 $     190.06   $      95.03   $         95.03 JAV- RS email backups and processes.
  06/24/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Emails re IRS scandal timeline.

  06/24/2014 Kaylan Phillips     0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 KLP- Meet and confer with opposing counsel re motion.
                                                                                                           KLP- Follow up with team re meet and confer. Discuss
  06/24/2014 Kaylan Phillips     0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 motion and next steps.
  06/24/2014 Kaylan Phillips     1:00       1.00        1.00 $     190.06   $     190.06   $        190.06 KLP- Watch portion of hearing.
                                                                                                           NHJ- Emails from legal team re forensic examination,
  06/24/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 PI motion.
                                                                                                           NHJ- Meet and confer call with opposing counsel re
  06/24/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 motion for expedited discovery.
                                                                                                           NHJ- Follow up PC with legal team re meet and
  06/24/2014 Noel Johnson        0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 confer/motion.
  06/24/2014 Noel Johnson        0:30       0.50        0.50 $     190.06   $      95.03   $         95.03 NHJ- Watch Oversight hearing.
  06/25/2014 Kaylan Phillips     0:36       0.60        0.60 $     190.06   $     114.04   $        114.04 KLP- C RW re RS needed. R RS.

                                                                                                           KLP- Watch Congressional hearing from yesterday.
  06/25/2014 Kaylan Phillips     1:48       1.80        1.80   $   190.06   $     342.11   $        342.11 Review emails and law review articles re: same. Pr
                                                                                                           NHJ- Email correspondence re forensic investigation
  06/25/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 and committee hearing transcripts.

                                                                                                           RW- Searching Koskinen 6/23 Testimony and looking
  06/25/2014 Raina Wallace       1:00       1.00        1.00   $   179.00   $     179.00   $        179.00 over Forensic Examination/ Motion to Preserve Res

  06/25/2014 Raina Wallace       1:30       1.50        1.50   $   179.00   $     268.50   $        268.50 RW- Search 6/24 testimony of O'Connor and Ferriero.
                                                                                                           RW- Searching Koskinen 6/23 Testimony for
                                                                                                           information questioning the integrity of IRS computer
  06/25/2014 Raina Wallace       2:48       2.80        2.80   $   179.00   $     501.20   $        501.20 sys
                                                                                                           KLP- Email from WD re RS needed. Email with MG and
  06/26/2014 Kaylan Phillips     0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 NHJ re same.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 106 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  06/26/2014 Kaylan Phillips     0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 KLP- Emails re latest draft.
                                                                                                           KLP- C NHJ substituting new commissioner. R
                                                                                                           complaint. C RW re RS needed. R rules. Email to team
  06/26/2014 Kaylan Phillips     0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 re

  06/26/2014 Kaylan Phillips     1:36       1.60        1.60   $   190.06   $     304.10   $        304.10 KLP- R and edit latest version of draft. Recirculate.
                                                                                                           NHJ- Discuss amending caption re Koskinen/Werfel
  06/26/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 with KLP.
                                                                                                           RW- Search FRCP and Local Rules of DDC for rule to
  06/26/2014 Raina Wallace       0:24       0.40        0.40   $   179.00   $      71.60   $         71.60 substitute commissioner.

  06/26/2014 Raina Wallace       2:00       2.00        2.00 $     179.00   $     358.00   $        358.00 RW- Search Ferriero Testimony for Motion to Preserve.
  06/27/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Emails re latest draft.
  06/27/2014 Kaylan Phillips     0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 KLP- Emails re substituting new commissioner.

                                                                                                           NHJ- R latest draft of motion for PI/expedited discovery;
  06/27/2014 Noel Johnson        0:30       0.50        0.50 $     190.06   $      95.03   $         95.03 review analysis of 26(f) issues by MG.
  06/29/2014 Kaylan Phillips     0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 KLP- Emails re latest draft and next steps.

  06/29/2014 Kaylan Phillips     0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 KLP- Work on latest draft. Emails re plan for tomorrow.
                                                                                                           NHJ- LR re Federal Records Act and implementing
  06/29/2014 Noel Johnson        1:00       1.00        1.00   $   190.06   $     190.06   $        190.06 regulations.
                                                                                                           NHJ- Add needed citations and make revisions to
  06/29/2014 Noel Johnson        2:12       2.20        2.20   $   190.06   $     418.13   $        418.13 motion for PI/Expedited discovery.
             Joseph                                                                                        JAV- Assemble and prep exhibits for discovery PI
  06/30/2014 Vanderhulst         1:00       1.00        1.00   $   190.06   $     190.06   $        190.06 motion.
             Joseph                                                                                        JAV- Help with discovery motion prep, c KLP, NHJ, and
  06/30/2014 Vanderhulst         1:00       1.00        1.00   $   190.06   $     190.06   $        190.06 RW.
             Joseph
  06/30/2014 Vanderhulst         1:00       1.00        1.00   $   190.06   $     190.06   $        190.06 JAV- Proof final PI motion re discovery.
                                                                                                           KLP- Email with ML re filing. Update and resend exhibit
  06/30/2014 Kaylan Phillips     0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 K.
                                                                                                           KLP- Continue editing PI memo. Begin creating
  06/30/2014 Kaylan Phillips     0:42       0.70        0.70   $   190.06   $     133.04   $        133.04 exhibits.
                                                                                                           KLP- Proof PI memo. Edit as needed. R tables. Finalize
  06/30/2014 Kaylan Phillips     2:48       2.80        2.80   $   190.06   $     532.17   $        532.17 and circulate.
                                                                                                           KLP- Work on PI memo. Circulate draft. C with RW and
  06/30/2014 Kaylan Phillips     3:54       3.90        3.90   $   190.06   $     741.23   $        741.23 NHJ re help needed.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 107 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- Gchat discussions with JAV and KLP needs for PI
  06/30/2014 Noel Johnson        0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 motion/memo and supporting docs.
  06/30/2014 Noel Johnson        0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 NHJ- Make revisions to PI memo.
                                                                                                           NHJ- R case law re 26(f) conference cited in PI motion;
  06/30/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 discuss same with KLP.
                                                                                                           NHJ- RV requested relief in PI memo to conform to PI
  06/30/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 memo.

  06/30/2014 Noel Johnson        0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 NHJ- D PI motion and circulate to legal team for review.

  06/30/2014 Noel Johnson        0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 NHJ- Fix errors in table of contents and authorities.
                                                                                                           NHJ- Troubleshoot page numbers, sig block and COS
  06/30/2014 Noel Johnson        0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 for PI Motion.
                                                                                                           NHJ- Implement ML's changes to PI motion; d
  06/30/2014 Noel Johnson        0:30       0.50        0.50 $     190.06   $      95.03   $         95.03 proposed order for same.
  06/30/2014 Noel Johnson        0:30       0.50        0.50 $     190.06   $      95.03   $         95.03 NHJ- LR re federal records act and spoilation.

                                                                                                           NHJ- Proofread PI memo; r and incorporate edits from
  06/30/2014 Noel Johnson        2:18       2.30        2.30   $   190.06   $     437.14   $        437.14 ML to same; discuss needs for same with KLP.
                                                                                                           RW- Help KLP prepare for the PI motion by finding
  06/30/2014 Raina Wallace       1:30       1.50        1.50   $   179.00   $     268.50   $        268.50 written testimony, look up D.D.C local rules, and
                                                                                                           RW- Check Citations of Motion for PI/Preserve
  06/30/2014 Raina Wallace       3:00       3.00        3.00 $     179.00   $     537.00   $        537.00 Evidence.
  07/01/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Emails re substituting Commissioner.
  07/01/2014 Kaylan Phillips     0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 KLP- P mail service for David Fish.
  07/01/2014 Kaylan Phillips     0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 KLP- Emails re hearing, ECF notice re same.
                                                                                                           KLP- Emails re conference call with other plaintiffs.
  07/01/2014 Kaylan Phillips     0:36       0.60        0.60   $   190.06   $     114.04   $        114.04 Emails to counsel. Arrange time.
                                                                                                           KLP- Emails re exhibit K, P mail service of motion and
  07/01/2014 Kaylan Phillips     0:36       0.60        0.60 $     190.06   $     114.04   $        114.04 exhibits. Emails re same.
  07/02/2014 Kaylan Phillips     0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 KLP- C JAV re hearing next week.
  07/02/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Call from WD re upcoming hearing.
  07/02/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Emails re points for motion.
                                                                                                           KLP- Emails re potential forensic expert. Emails re call
  07/02/2014 Kaylan Phillips     0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 tomorrow.
  07/02/2014 Kaylan Phillips     1:12       1.20        1.20   $   190.06   $     228.07   $        228.07 KLP- C call with ACLJ NorCal. C NHJ re same.



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Expenses adjusted for reimbursable and non-reimbursable.              Page 108 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- Email correspondence between legal team and
  07/02/2014 Noel Johnson        0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 forensic experts; r websites/services of same; dis

  07/02/2014 Noel Johnson        1:00       1.00        1.00 $     190.06   $     190.06   $        190.06 NHJ- PC with attorneys representing targeted plaintiffs.
  07/03/2014 Kaylan Phillips     0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 KLP- Emails re conference today.
                                                                                                           KLP- Email from WD re documents needed for hearing.
  07/03/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 Find and send documents.
  07/03/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- R articles re hearing next week.

  07/03/2014 Kaylan Phillips     0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 KLP- Emails re hearing prep and attendent at hearing.

  07/03/2014 Kaylan Phillips     0:42       0.70        0.70   $   190.06   $     133.04   $        133.04 KLP- Calls with forensic analysts. Emails re same.
                                                                                                           NHJ- PC with WD and CM re additional needs for
  07/03/2014 Noel Johnson        0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 hearing.
                                                                                                           NHJ- PC with another potential computer forensic
  07/03/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 expert.
                                                                                                           NHJ- PC with WD and CM re needs for hearing on PI
  07/03/2014 Noel Johnson        0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 motion.
  07/03/2014 Noel Johnson        0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 NHJ- Book travel and hotel for PI motion hearing.
  07/03/2014 Noel Johnson        1:00       1.00        1.00 $     190.06   $     190.06   $        190.06 NHJ- PC with potential computer forensic expert.
                                                                                                           KLP- Emails re various responses to motion for
  07/07/2014 Kaylan Phillips     0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 preliminary injunction.
                                                                                                           KLP- Continue working on case summaries for oral
  07/07/2014 Kaylan Phillips     0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 argument.
                                                                                                           KLP- Receive, save, and r Cincinnati Defendants'
  07/07/2014 Kaylan Phillips     0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 response to Pl. Email with team re same.

                                                                                                           KLP- Receive, save, and review Management
  07/07/2014 Kaylan Phillips     0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 Defendants' response to Pl. Email with team re same.
                                                                                                           KLP- Receive, save and review IRS Defendants'
  07/07/2014 Kaylan Phillips     0:36       0.60        0.60   $   190.06   $     114.04   $        114.04 response to Pl. Email with team re same.
                                                                                                           KLP- C NHJ re agency requirements to retain records
  07/07/2014 Kaylan Phillips     1:00       1.00        1.00   $   190.06   $     190.06   $        190.06 (several).
                                                                                                           KLP- Continue working on case summaries for oral
  07/07/2014 Kaylan Phillips     1:48       1.80        1.80 $     190.06   $     342.11   $        342.11 argument.
  07/07/2014 Kaylan Phillips     3:06       3.10        3.10 $     190.06   $     589.19   $        589.19 KLP- Work on case summaries for oral argument.



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Expenses adjusted for reimbursable and non-reimbursable.              Page 109 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- Briefly review oppositions to Motion for
  07/07/2014 Noel Johnson        0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 PI/expedited discovery.
  07/07/2014 Noel Johnson        0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 NHJ- LR re FISMA.
                                                                                                           NHJ- Email correspondence re record keeping
  07/07/2014 Noel Johnson        0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 summary.
                                                                                                           NHJ- R General Records Schedules 20 and 23 re
  07/07/2014 Noel Johnson        0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 electronic records and email.

  07/07/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 NHJ- C KLP re RS needs for reply brief and hearing.
                                                                                                           NHJ- R Internal Revenue Manuals re emails and federal
  07/07/2014 Noel Johnson        0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 records.
                                                                                                           NHJ- R opposition briefs of Government and Cinci
  07/07/2014 Noel Johnson        0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 defendants; discuss same with KLP.

  07/07/2014 Noel Johnson        0:36       0.60        0.60   $   190.06   $     114.04   $        114.04 NHJ- Continue RS re record keeping requirements.
                                                                                                           NHJ- Begin drafting memo summarizing recordkeeping
  07/07/2014 Noel Johnson        1:00       1.00        1.00   $   190.06   $     190.06   $        190.06 requirements.
                                                                                                           NHJ- Continue reviewing regulations implementing
  07/07/2014 Noel Johnson        1:30       1.50        1.50   $   190.06   $     285.09   $        285.09 Federal Records Act, etc.

                                                                                                           NHJ- Review statutes re: Federal Records Act and
  07/07/2014 Noel Johnson        2:54       2.90        2.90   $   190.06   $     551.17   $        551.17 regulations implementing same; create summary of s

  07/08/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Email with CK re courtesy copies. Call re same.
  07/08/2014 Kaylan Phillips     0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 KLP- C NHJ and RW re RS needed.
                                                                                                           KLP- Email with team re judge requesting reply at oral
  07/08/2014 Kaylan Phillips     0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 argument and oral argument prep.
  07/08/2014 Kaylan Phillips     0:36       0.60        0.00 $     190.06   $     114.04   $           -    KLP- C NHJ re 6103 alternatives. C RW re same.
                                                                                                            KLP- C RW re 6103 and possible exceptions for
  07/08/2014 Kaylan Phillips     0:36       0.60        0.00   $   190.06   $     114.04   $           -    independent forensic analyst.
                                                                                                           KLP- C NHJ re reply brief. Call re same. Emails re
  07/08/2014 Kaylan Phillips     0:42       0.70        0.70   $   190.06   $     133.04   $        133.04 same.
                                                                                                           KLP- Work on reply brief. D sections re Z-Street and
  07/08/2014 Kaylan Phillips     1:30       1.50        1.50   $   190.06   $     285.09   $        285.09 credentials of independent forensic expert.
                                                                                                           KLP- RV and update case summaries. Email with team
  07/08/2014 Kaylan Phillips     1:36       1.60        1.60   $   190.06   $     304.10   $        304.10 re strategy.
                                                                                                           NHJ- PC with MG re call to clerk; discuss same with
  07/08/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 KLP.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 110 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- PC with KLP re reply to Motion for PI; email
  07/08/2014 Noel Johnson        0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 correspondence with legal team re same.
  07/08/2014 Noel Johnson        0:54       0.90        0.90 $     190.06   $     171.05   $        171.05 NHJ- Continue working on reply to PI motion.
                                                                                                           NHJ- R portions of Gov's opposition to PI motion; begin
  07/08/2014 Noel Johnson        1:00       1.00        1.00   $   190.06   $     190.06   $        190.06 drafting reply to same.
                                                                                                           NHJ- Work on outline of Gov’s opposition to PI motion
  07/08/2014 Noel Johnson        1:54       1.90        1.90   $   190.06   $     361.11   $        361.11 and provide rebuttal outline for same; legal

                                                                                                           NHJ- LR re: FISMA; continue drafting recordkeeping
  07/08/2014 Noel Johnson        2:00       2.00        2.00 $     190.06   $     380.12   $        380.12 summary; Cs with KLP re: hearing prep and additi
  07/08/2014 Raina Wallace       0:18       0.30        0.30 $     179.00   $      53.70   $         53.70 RW- Find TIGTA Reports.
                                                                                                           RW- Read responses to motion for PI and to expedite
  07/08/2014 Raina Wallace       1:00       1.00        1.00 $     179.00   $     179.00   $        179.00 discovery.
  07/08/2014 Raina Wallace       1:00       1.00        1.00 $     179.00   $     179.00   $        179.00 RW- Search for IRS employment Data.
                                                                                                           RW- RS 532 U.S. 483 and whether the corut has the
  07/08/2014 Raina Wallace       4:12       4.20        0.00 $     179.00   $     751.80   $           -   authority to waive a Sec. 6103 obligation.
  07/09/2014 Kaylan Phillips     0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 KLP- Email with RW re project.
                                                                                                           KLP- Organize and send documents to Cath for
  07/09/2014 Kaylan Phillips     0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 printing.
                                                                                                           KLP- Email from WD re cases needed for hearing. R
  07/09/2014 Kaylan Phillips     0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 and send key cases.
                                                                                                           KLP- R NHJ's overview of the government brief. Add to
  07/09/2014 Kaylan Phillips     0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 and edit as needed.
  07/09/2014 Kaylan Phillips     0:36       0.60        0.60 $     190.06   $     114.04   $        114.04 KLP- Work on case summaries. C RW re same.
                                                                                                           KLP- Continue working on case summaries. Emails re
  07/09/2014 Kaylan Phillips     0:48       0.80        0.80   $   190.06   $     152.05   $        152.05 other cases needed.
                                                                                                           KLP-Continue working on case summaries. Incorporate
  07/09/2014 Kaylan Phillips     1:30       1.50        1.50   $   190.06   $     285.09   $        285.09 cases re preservation/spoliation.

                                                                                                           KLP- C RW re RS into spoliation/sanctions. Email with
  07/09/2014 Kaylan Phillips     2:00       2.00        2.00   $   190.06   $     380.12   $        380.12 team re needed RS. R NHJ's memo re same. Circ

                                                                                                           KLP- Continue working on cas summaries. Incorporate
  07/09/2014 Kaylan Phillips     2:00       2.00        2.00 $     190.06   $     380.12   $        380.12 updates into memo on preservation/spoliation. F
  07/09/2014 Noel Johnson        0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 NHJ- Compile needed files for PI motion hearing.
                                                                                                           NHJ- Email to legal team re presentation of
  07/09/2014 Noel Johnson        0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 recordkeeping obligations.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 111 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- Finish outline and response for Gov's opp to PI
  07/09/2014 Noel Johnson        0:42       0.70        0.70   $   190.06   $     133.04   $        133.04 motion.
                                                                                                           NHJ- LR re duty to preserve evident/sanctions for
  07/09/2014 Noel Johnson        1:48       1.80        1.80   $   190.06   $     342.11   $        342.11 spoliation; create memo on same.
                                                                                                           RW- Download Cases for Reply to Gov Response to
  07/09/2014 Raina Wallace       0:54       0.90        0.90 $     179.00   $     161.10   $        161.10 Motion for PI.
  07/09/2014 Raina Wallace       1:00       1.00        1.00 $     179.00   $     179.00   $        179.00 RW- P Case Summaries (Facts) for OA.
  07/09/2014 Raina Wallace       1:18       1.30        1.30 $     179.00   $     232.70   $        232.70 RW- P Case Summaries (Holdings) for OA.
                                                                                                           RW- Search for Main DDC Spoliation Cases and adding
  07/09/2014 Raina Wallace       1:42       1.70        1.70   $   179.00   $     304.30   $        304.30 them to Case Summaries List for OA.

  07/10/2014 Kaylan Phillips     0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 KLP- Email with RW re case summaries of new cases.
                                                                                                           KLP- Email with Cath Kidwell re cases to print. Batch
  07/10/2014 Kaylan Phillips     0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 and send documents.
                                                                                                           KLP- Email with team re hearing today and tomorrow. C
  07/10/2014 Kaylan Phillips     0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 call later.
  07/10/2014 Kaylan Phillips     3:06       3.10        3.10 $     190.06   $     589.19   $        589.19 KLP- Work on case summaries for cases.
  07/10/2014 Noel Johnson        0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 NHJ- C WD re Judicial Watch hearing.
                                                                                                           NHJ- Email correspondence re PI motion documents
  07/10/2014 Noel Johnson        0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 and Judicial Watch hearing.
  07/10/2014 Noel Johnson        0:30       0.50        0.25 $     190.06   $      95.03   $         47.52 NHJ- Travel back to hotel.
                                                                                                           NHJ- R transcript of June 24 Oversight hearing; note
  07/10/2014 Noel Johnson        0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 archivist testimony for PI hearing.
                                                                                                           NHJ- Travel to Foley offices; get set up with Cath
  07/10/2014 Noel Johnson        0:36       0.60        0.30   $   190.06   $     114.04   $         57.02 Kidwell.

  07/10/2014 Noel Johnson        0:54       0.90        0.90   $   190.06   $     171.05   $        171.05 NHJ- C WD and CM re PI motion hearing/arguments.
                                                                                                           NHJ- Compile info sheet on all pending cases involving
  07/10/2014 Noel Johnson        1:00       1.00        1.00 $     190.06   $     190.06   $        190.06 IRS emails.
  07/10/2014 Noel Johnson        1:00       1.00        1.00 $     190.06   $     190.06   $        190.06 NHJ- Lunch with ACLJ and Cincinnati lawyers.
                                                                                                           NHJ- Travel to and from and attending hearing at DDC
  07/10/2014 Noel Johnson        2:12       2.20        1.10   $   190.06   $     418.13   $        209.07 in Judicial Watch v. IRS re Lois Lerner emails
  07/10/2014 Noel Johnson        2:48       2.80        1.40   $   190.06   $     532.17   $        266.08 NHJ- Travel to DC for PI motion hearing.

  07/10/2014 Raina Wallace       1:00       1.00        1.00   $   179.00   $     179.00   $        179.00 RW- Download cases from governments response.

  07/10/2014 Raina Wallace       2:30       2.50        2.50   $   179.00   $     447.50   $        447.50 RW- Filling in facts and holdings of case summaries.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 112 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  07/11/2014 Kaylan Phillips     0:30       0.50        0.50 $     190.06   $      95.03   $         95.03 KLP- Emails about the hearing.
  07/11/2014 Noel Johnson        0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 NHJ- PI hearing prep with WD and CM.
                                                                                                           NHJ- Create document compelling US Archivist
  07/11/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 testimony for PI hearing.
                                                                                                           NHJ- Travel to Foley offices for meeting with CM and
  07/11/2014 Noel Johnson        0:24       0.40        0.20   $   190.06   $      76.02   $         38.01 WD.
                                                                                                           NHJ- Lunch with IRS targeting case attorneys at Foley
  07/11/2014 Noel Johnson        0:36       0.60        0.60   $   190.06   $     114.04   $        114.04 offices.
                                                                                                           NHJ- Travel to and from and attend PI motion hearing
  07/11/2014 Noel Johnson        3:30       3.50        1.75   $   190.06   $     665.21   $        332.61 at DDC.

  07/13/2014 Noel Johnson        4:00       4.00        2.00 $     190.06   $     760.24   $        380.12 NHJ- Travel from DC to Indiana re PI motion hearing.
  07/14/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Emails re hearing on Friday.
  07/14/2014 Noel Johnson        0:06       0.10        0.00 $     190.06   $      19.01   $           -    NHJ- Discuss PI hearing with SLP. (n/c)
                                                                                                           NHJ- Complete expense report for PI motion hearing
  07/14/2014 Noel Johnson        0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 travel.
  07/15/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- C NHJ re PI hearing on Friday.

  07/15/2014 Noel Johnson        0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 NHJ- R letter of Issa to FEC re recycled hard drive.
  07/15/2014 Noel Johnson        0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 NHJ- C KLP to discuss PI hearing.
  07/15/2014 Noel Johnson        0:12       0.20        0.00 $     190.06   $      38.01   $           -    NHJ- Discuss PI hearing with JAV (n/c).
                                                                                                           KLP- Emails re NorCal case. C NHJ re supplemental
  07/17/2014 Kaylan Phillips     0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 authority.

                                                                                                           NHJ- Email correspondence with legal team re Norcal
  07/17/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 supp. authority notice; make revisions to same.
                                                                                                           NHJ- R decision on MTD in Norcal v. IRS; P notice of
  07/17/2014 Noel Johnson        1:06       1.10        1.10   $   190.06   $     209.07   $        209.07 supp. authority re same; circulate to legal te

                                                                                                           KLP- Receive and briefly review affidavits from IRS re
  07/18/2014 Kaylan Phillips     0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 Lois Lerner's hard drive. C with collegues a
  07/18/2014 Noel Johnson        0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 NHJ- D website post for affidavit of IRS.

                                                                                                           NHJ- R IRS affidavits re Lerner emails; discuss same
  07/18/2014 Noel Johnson        0:36       0.60        0.60   $   190.06   $     114.04   $        114.04 with KLP; email correspondence with legal team
                                                                                                           KLP- Email to NHJ re needs for notice of supplemental
  07/21/2014 Kaylan Phillips     0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 authority.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 113 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  07/21/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Assign RW re IRS's affidavits.
  07/21/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Emails re conference call today.
                                                                                                           KLP- C NHJ re conference call and supplemental
  07/21/2014 Kaylan Phillips     0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 authority.
                                                                                                           KLP- C call re affidavits and notice of supplemental
  07/21/2014 Kaylan Phillips     0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 authority.
                                                                                                           NHJ- C KLP re needed changes to notice of
  07/21/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 supplemental authority.

                                                                                                            NHJ- R Individual Defs notice of supplemental authority
  07/21/2014 Noel Johnson        0:36       0.60        0.00   $   190.06   $     114.04   $           -    re NorCal; rv notice re same; email to lega

  07/22/2014 Kaylan Phillips     0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 KLP- Call with marketing firm re case update letter.
                                                                                                           KLP- Emails re notice of supplemental authority. R
  07/22/2014 Kaylan Phillips     0:36       0.60        0.60   $   190.06   $     114.04   $        114.04 notice. C with NHJ re same.

  07/22/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 NHJ- File notice of supplemental authority re NorCal.
                                                                                                           NHJ- Make final revisions to notice of supp authority re
  07/22/2014 Noel Johnson        0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 NorCal.

                                                                                                           NHJ- R and incorporate CM's changes to Notice of
  07/22/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 Supp. Authority re NorCal; recirculate to legal te
                                                                                                           NHJ- RV notice of supp authority re NorCal per
  07/22/2014 Noel Johnson        0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 CM/WD's instructions.
                                                                                                           KLP- ECF notice re DOJ response to notice of
  07/23/2014 Kaylan Phillips     0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 supplemental authority. R.
                                                                                                           NHJ- R IRS response to notice of supp. authority re
  07/23/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 NorCal.

                                                                                                           KLP- Email from CM re inconsistencies in IRS's
  07/24/2014 Kaylan Phillips     0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 affidavits. Email with MG re next steps. Call re sam
                                                                                                           NHJ- Watch testimony from yesterday's Oversight
  07/24/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 hearing with IRS Commissioner.
                                                                                                           KLP- Emails re conference call on Monday re affidavits
  07/25/2014 Kaylan Phillips     0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 and case updates.
                                                                                                           KLP- R news articles re Lerner's hard drive. C RW re
  07/28/2014 Kaylan Phillips     0:42       0.70        0.70   $   190.06   $     133.04   $        133.04 RS needed and r findings.
                                                                                                           KLP- Call with counsel from various tea party cases
  07/28/2014 Kaylan Phillips     0:54       0.90        0.90   $   190.06   $     171.05   $        171.05 about missing emails/data.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 114 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           KLP- R IRS declarations and begin creating outline of
  07/28/2014 Kaylan Phillips     1:00       1.00        1.00   $   190.06   $     190.06   $        190.06 each.

                                                                                                           KLP- Continue reviewing declarations and working on
  07/28/2014 Kaylan Phillips     4:12       4.20        4.20 $     190.06   $     798.25   $        798.25 outlines. Note potential hearsay. Email team re
  07/28/2014 Raina Wallace       0:15       0.30        0.30 $     179.00   $      53.70   $         53.70 RW- Pull Judicial watch docket.
                                                                                                           RW- Read affidavits and search for conflicting
  07/28/2014 Raina Wallace       0:30       0.50        0.50   $   179.00   $      89.50   $         89.50 statements about recoverable data.
                                                                                                           RW- Search for evidence of conflicting IRS statements
  07/28/2014 Raina Wallace       1:18       1.30        1.30   $   179.00   $     232.70   $        232.70 about recoverable data.

                                                                                                           RW- Watch video of Koskinen Hearing and search for
  07/28/2014 Raina Wallace       2:00       2.00        2.00   $   179.00   $     358.00   $        358.00 conflicting statements a bout recoverable data.
                                                                                                           KLP- C NHJ re declaration overview and necessity for
  07/29/2014 Kaylan Phillips     0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 firsthand knowledge.
                                                                                                           KLP- C NHJ to discss IRS affidavits, next steps for
  07/29/2014 Kaylan Phillips     0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 motion re same.
                                                                                                           KLP- Email with WD re declaration overview. Email with
  07/29/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 RW re documents needed.
  07/29/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Email with WD re declarations.
                                                                                                           KLP- Email with WD re sovereign immunity. Call with
  07/29/2014 Kaylan Phillips     0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 MG re same.
                                                                                                           NHJ- C KLP to discuss IRS affidavits, next steps for
  07/29/2014 Noel Johnson        0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 motion re same.
  07/30/2014 Kaylan Phillips     0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 KLP- C NHJ re IRS affidavits and next steps.
                                                                                                           NHJ- C KLP to discuss IRS affidavits, next steps re
  07/30/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 same; needed RS for same.

  07/31/2014 Kaylan Phillips     0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 KLP- Emails re Congressional updates and next steps.

  08/01/2014 Kaylan Phillips     0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 KLP- Emails re supplement needed. C NHJ re same.
                                                                                                           KLP- R and update overview on declarations as
  08/01/2014 Kaylan Phillips     0:36       0.60        0.60   $   190.06   $     114.04   $        114.04 needed.
                                                                                                           NHJ- Email correspondence re response to affidavits
  08/01/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 and motion for cross-examination.

                                                                                                           NHJ- R IRS Commissioner interview with Tax Analyst;
  08/01/2014 Noel Johnson        0:48       0.80        0.80   $   190.06   $     152.05   $        152.05 RS re motion for evidentiary hearing; email cor


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 115 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- R IRS affidavits; LR re FRE 602, hearsay
  08/01/2014 Noel Johnson        3:12       3.20        3.20 $     190.06   $     608.19   $        608.19 exceptions, factual support requirement; begin drafti
  08/04/2014 Kaylan Phillips     0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 KLP- Email from Cause of Action re idea.
  08/04/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Emails re drafting filing.
  08/04/2014 Kaylan Phillips     0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 KLP- C NHJ re RS needed and next steps.
  08/04/2014 Kaylan Phillips     1:30       1.50        1.50 $     190.06   $     285.09   $        285.09 KLP- LR re personal knowledge requirement.

  08/04/2014 Noel Johnson        0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 NHJ- C KLP re needs for motion for cross examination.
                                                                                                           NHJ- Continue LR and continue drafting Motion for
  08/04/2014 Noel Johnson        0:54       0.90        0.90   $   190.06   $     171.05   $        171.05 Cross Examination.

  08/04/2014 Noel Johnson        1:24       1.40        1.40   $   190.06   $     266.08   $        266.08 NHJ- Continue drafting Motion for Cross-Examination

  08/04/2014 Noel Johnson        3:30       3.50        3.50 $     190.06   $     665.21   $        665.21 NHJ- Continue drafting Motion for Cross-Examination.
  08/05/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- C NHJ re motion and next steps.
                                                                                                           NHJ- Check dockets for activity in other targeting/IRS
  08/05/2014 Noel Johnson        0:12       0.20        0.00   $   190.06   $      38.01   $           -   FOIA cases (n/c)

                                                                                                           KLP- ECF notices and emails re order denying motion
  08/07/2014 Kaylan Phillips     0:36       0.60        0.60   $   190.06   $     114.04   $        114.04 for PI/expedited discovery. R order. Emails re
                                                                                                           NHJ- Check for updates to recent DDC Bivens cases; r
  08/07/2014 Noel Johnson        0:18       0.30        0.00   $   190.06   $      57.02   $           -   latest filings in same.
                                                                                                           NHJ- R order on PI motion; email to legal team re
  08/07/2014 Noel Johnson        0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 same.

                                                                                                           KLP- Email from team re affidavits. Look for articles on
  08/18/2014 Kaylan Phillips     0:54       0.90        0.90   $   190.06   $     171.05   $        171.05 Judicial Watch order. Check docket re same

                                                                                                           KLP- R docket re options for updating court on events in
  08/20/2014 Kaylan Phillips     0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 Judicial Watch case. R order denying exped

                                                                                                           KLP- Continue reviewing order on Motion for
  08/21/2014 Kaylan Phillips     1:36       1.60        1.60   $   190.06   $     304.10   $        304.10 PI/expedited discovery. R affidavits from Judicial Watc
                                                                                                           KLP- R ST's spreadsheets for discovery folders. R
  08/22/2014 Kaylan Phillips     0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 index.
                                                                                                           KLP- Save and review Judicial watch affidavits. Email to
  08/22/2014 Kaylan Phillips     0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 team re notable points in the affidavits.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 116 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            KLP- Check Judicial Watch Docket, waiting for today's
  08/22/2014 Kaylan Phillips     1:06       1.10        0.00 $     190.06   $     209.07   $           -    filing (throughout day) (n/c)
  08/25/2014 Kaylan Phillips     0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 KLP- C NHJ re motion for reconsideration.
                                                                                                           KLP- Email with team re affidavits. R emails forwarded
  08/25/2014 Kaylan Phillips     0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 by CM.

  08/25/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 NHJ- C KLP re motion for reconsideration of PI motion.

                                                                                                           NHJ- R email correspondence re COG email backup; r
  08/25/2014 Noel Johnson        0:36       0.60        0.60 $     190.06   $     114.04   $        114.04 local/chamber rules: motions for reconsideration
  08/26/2014 Kaylan Phillips     0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 KLP- Email to Ramona at Judicial Watch.
  08/26/2014 Kaylan Phillips     0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 KLP- Emails re conference call today.
  08/26/2014 Kaylan Phillips     0:30       0.50        0.50 $     190.06   $      95.03   $         95.03 KLP- C call with team. Follow up email to WD.
  08/26/2014 Noel Johnson        0:06       0.10        0.00 $     190.06   $      19.01   $           -    NHJ- R e-discovery article circulated by CM (n/c)
                                                                                                           NHJ- Check dockets in NorCal and Z Street and review
  08/26/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 latest filings; email to legal team re same.
                                                                                                           NHJ- LR re recent decisions on expedited discovery
  08/26/2014 Noel Johnson        0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 motions.
                                                                                                           NHJ- PC with legal team re renewed motion for PI and
  08/26/2014 Noel Johnson        0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 COG backup.
                                                                                                           NHJ- RS re Continuity of Government program re
  08/26/2014 Noel Johnson        0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 information backup.

                                                                                                           NHJ- LR re motions for reconsideration; re-review
  08/26/2014 Noel Johnson        1:36       1.60        1.60   $   190.06   $     304.10   $        304.10 opinion on PI motion; email to legal team re same
                                                                                                           KLP- Call to Ramona at Judical Watch. Leave
  08/27/2014 Kaylan Phillips     0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 message.
  08/27/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Email from team re update to court.
  08/27/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Emails re bio of computer expert.
  08/27/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Emails re meet and confer.
                                                                                                           KLP- R news articles and watch news clips re Lerner's
  08/27/2014 Kaylan Phillips     0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 emails.
                                                                                                           KLP- C NHJ re update to court re Lerner's emails and
  08/27/2014 Kaylan Phillips     0:36       0.60        0.60 $     190.06   $     114.04   $        114.04 next steps.
  08/27/2014 Noel Johnson        0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 NHJ- R bio of proposed declarant for PI motion.
                                                                                                           NHJ- C KLP re PI hearing transcript excerpts and needs
  08/27/2014 Noel Johnson        0:36       0.60        0.60   $   190.06   $     114.04   $        114.04 for renewed PI motion.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 117 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- LR re discovery and COG program; r IRM re
  08/27/2014 Noel Johnson        0:54       0.90        0.90   $   190.06   $     171.05   $        171.05 continuity program and disaster.
                                                                                                           NHJ- R transcript of PI hearing and compilie counsel
  08/27/2014 Noel Johnson        1:36       1.60        1.60 $     190.06   $     304.10   $        304.10 representations.
  08/29/2014 Noel Johnson        0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 NHJ- Continue reviewing e-discovery guides.
                                                                                                           NHJ- R Zubulake v. UBS Warburg LLC, 229 F.R.D. 422
  08/29/2014 Noel Johnson        0:42       0.70        0.70 $     190.06   $     133.04   $        133.04 (S.D.N.Y. 2004).
  08/29/2014 Noel Johnson        1:12       1.20        1.20 $     190.06   $     228.07   $        228.07 NHJ- R e-discovery articles/guides/case law.
  09/02/2014 Kaylan Phillips     0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 KLP- ECF notice re transcript.
  09/02/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Emails re meet and confer.
  09/02/2014 Kaylan Phillips     0:36       0.60        0.60 $     190.06   $     114.04   $        114.04 KLP- C NHJ re motion.

  09/02/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 NHJ- Check dockets of related cases; r latest filings.
                                                                                                           NHJ- C KLP re expert declaration re COG/needs for
  09/02/2014 Noel Johnson        0:36       0.60        0.60   $   190.06   $     114.04   $        114.04 renewed motion re same.
                                                                                                           KLP- Emails re COG system. R declarations filed by
  09/03/2014 Kaylan Phillips     0:36       0.60        0.60 $     190.06   $     114.04   $        114.04 IRS in our case and in Judicial Watch. RV draft
  09/03/2014 Noel Johnson        0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 NHJ- R D declaration of Pawlowski.
                                                                                                           NHJ- R email from CM re DOI COG; r attachments re
  09/03/2014 Noel Johnson        0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 same.

                                                                                                           NHJ- RS re declaration/transcript; D email response to
  09/03/2014 Noel Johnson        0:30       0.50        0.50 $     190.06   $      95.03   $         95.03 CM re COG/COOP; discuss same with KLP.
  09/04/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Emails re conference call.
  09/04/2014 Kaylan Phillips     0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 KLP- Meet and confer with opposing counsel.
                                                                                                           KLP- D summary of meet and confer. Incorporate NHJ's
  09/04/2014 Kaylan Phillips     0:36       0.60        0.60   $   190.06   $     114.04   $        114.04 edits. Send to team.
                                                                                                           NHJ- R Judical Watch press release re new Lois Lerner
  09/04/2014 Noel Johnson        0:18       0.30        0.30 $     190.06   $      57.02   $         57.02 emails; r emails and links cited in same.
  09/04/2014 Noel Johnson        0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 NHJ- C with opposing counsel re COG backup.
                                                                                                           KLP- Emails re news updates (backup tapes) and next
  09/05/2014 Kaylan Phillips     0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 steps (throughout day).

                                                                                                           NHJ- R letter of Jordan to Koskinen re backup servers;
  09/05/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 email correspondence with legal team re same
                                                                                                           KLP- R report re hard drive crashes from IRS. Email
  09/08/2014 Kaylan Phillips     0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 team re same.

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Expenses adjusted for reimbursable and non-reimbursable.              Page 118 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                   1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                             Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  09/08/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 NHJ- Check dockets in related cases.

  09/09/2014 Kaylan Phillips     0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 KLP- C NHJ re latest report from IRS. R report again.
  09/09/2014 Noel Johnson        0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 NHJ- C w/ KLP
  09/10/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- Emails re response to opposing counsel.

                                                                                                           NHJ- R majority and minority reports of the Senate
  09/10/2014 Noel Johnson        1:24       1.40        1.40   $   190.06   $     266.08   $        266.08 Subcommittee on Investigations re IRS targeting.
                                                                                                           KLP- Call from pro se litigant re court filings. Email re
  09/12/2014 Kaylan Phillips     0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 same.
                                                                                                           NHJ- R CPC IRS timeline; compile relevant news,
  09/15/2014 Noel Johnson        0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 emails, congressional hearing documents.

  09/16/2014 Kaylan Phillips     0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 KLP- Email with WD adn CM re discovery conference.

                                                                                                           KLP- Email from opposing counsel re Lois Lerner's
  09/16/2014 Kaylan Phillips     0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 emails. Email with team re response and next step

                                                                                                           KLP- RS whether discovery conference should proceed
  09/16/2014 Kaylan Phillips     1:54       1.90        1.90   $   190.06   $     361.11   $        361.11 in light of motion to dismiss. Emails from MG r
                                                                                                           NHJ- R email from DOJ re backup tapes; discuss same
  09/16/2014 Noel Johnson        0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 with KLP.
  09/16/2014 Noel Johnson        0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 NHJ- C KLP re motion to compel/Rule 26(f)
                                                                                                           NHJ- Check dockets in related cases; r motion to certify
  09/16/2014 Noel Johnson        0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 interlocutory appeal in Z street.

                                                                                                           NHJ- R email correspondence re motion to compel/Rule
  09/16/2014 Noel Johnson        0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 26(f); discuss same with KLP; D email to legal
                                                                                                           KLP- Emails re Judicial Watch motion for discovery.
  09/17/2014 Kaylan Phillips     0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 Briefly review.
                                                                                                           KLP- Emails re next steps. RS timing of 26(f)
  09/17/2014 Kaylan Phillips     0:36       0.60        0.60   $   190.06   $     114.04   $        114.04 conferences and respond as needed.

  09/17/2014 Kaylan Phillips     1:30       1.50        1.50   $   190.06   $     285.09   $        285.09 KLP- Watch portion of Oversight hearing with Koskinen.
                                                                                                           NHJ- Email correspondence with legal team re 26(f)
  09/17/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 conference/motion to compel.
                                                                                                           NHJ- R draft motion for discovery in Judicial Watch v.
  09/17/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 IRS.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 119 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  09/17/2014 Noel Johnson        1:06       1.10        1.10   $   190.06   $     209.07   $        209.07 NHJ- LR re compelling 26(f) conference.
                                                                                                           NHJ- Watching Oversight Subcommittee hearing with
  09/17/2014 Noel Johnson        1:24       1.40        1.40   $   190.06   $     266.08   $        266.08 Commissioner Koskinen.
                                                                                                           KLP- Email with colleagues re letter to opposing
  09/18/2014 Kaylan Phillips     0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 counsel.

  09/18/2014 Kaylan Phillips     0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 KLP- R and save discovery in NorCal. Emails re same.

  09/18/2014 Kaylan Phillips     0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 KLP- R and save Judical Watch motion for discovery.
                                                                                                           KLP- R letter to opposing counsel. Fill in blanks and
  09/18/2014 Kaylan Phillips     0:24       0.40        0.40   $   190.06   $      76.02   $         76.02 circualte with suggestions.
                                                                                                           NHJ- R IRS responses to interrogatories/RFP in
  09/18/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 NorCal.
                                                                                                           NHJ- LR re legislative privilege and third party
  09/18/2014 Noel Johnson        0:48       0.80        0.80   $   190.06   $     152.05   $        152.05 discovery.

  09/19/2014 Kaylan Phillips     0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 KLP- C NHJ re scope of discovery/motion to compel.

  09/19/2014 Kaylan Phillips     0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 KLP- Email with team re NorCal discovery requests. R.
                                                                                                           KLP- Email with CM. RV letter to opposing counsel as
  09/19/2014 Kaylan Phillips     0:30       0.50        0.50 $     190.06   $      95.03   $         95.03 needed. P to send and send.
  09/19/2014 Kaylan Phillips     1:18       1.30        1.30 $     190.06   $     247.08   $        247.08 KLP- C NHJ re motion to compel.
  09/19/2014 Noel Johnson        0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 NHJ- R email and draft letter to opposing counsel.

  09/19/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 NHJ- C KLP re scope of discovery/motion to compel.
                                                                                                           NHJ- C KLP re renewal motion to compel 26(f)
  09/19/2014 Noel Johnson        1:18       1.30        1.30   $   190.06   $     247.08   $        247.08 arguments.
                                                                                                            KLP- Response from individual defendants re 26(f)
  09/22/2014 Kaylan Phillips     0:06       0.10        0.00   $   190.06   $      19.01   $           -    conference. R and save.
                                                                                                           KLP- Email to team re next steps. C NHJ re RS and
  09/22/2014 Kaylan Phillips     0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 options.

                                                                                                           NHJ- LR re stays of discovery; r example motion to
  09/22/2014 Noel Johnson        1:00       1.00        1.00   $   190.06   $     190.06   $        190.06 compel Rule 26(f) conference; C KLP to discuss s
                                                                                                           KLP- Letter from Cincinnati Defendants re discovery
  09/23/2014 Kaylan Phillips     0:06       0.10        0.00 $     190.06   $      19.01   $           -   conference.
  09/23/2014 Kaylan Phillips     0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 KLP- C NHJ re discovery needs.



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Expenses adjusted for reimbursable and non-reimbursable.              Page 120 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- R correspondence with opposing counsel re 26(f)
  09/23/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 conference.
                                                                                                           NHJ- R testimony of Cause of Action re IRS and
  09/23/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 Federal Records Act.
                                                                                                           NHJ- C KLP re needs for discovery requests and
  09/23/2014 Noel Johnson        0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 responses.
  09/25/2014 Noel Johnson        0:06       0.10        0.10 $     190.06   $      19.01   $         19.01 NHJ- R dockets and filings in related cases.
                                                                                                           NHJ- Continue creating comprehensive timeline of key
  09/26/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 events; compile documents supporting same.
                                                                                                           NHJ- Create comprehensive timeline of key events;
  09/26/2014 Noel Johnson        1:00       1.00        1.00   $   190.06   $     190.06   $        190.06 compile documents supporting same.
                                                                                                           NHJ- Continue creating comprehensive timeline;
  09/29/2014 Noel Johnson        0:42       0.70        0.70   $   190.06   $     133.04   $        133.04 compiling documents re same.
                                                                                                           NHJ- Continue creating comprehensive timeline;
  09/29/2014 Noel Johnson        1:30       1.50        1.50   $   190.06   $     285.09   $        285.09 compiling documents re same.
                                                                                                           KLP- Emails re recent case interpreting 6103. Briefly
  09/30/2014 Kaylan Phillips     0:12       0.20        0.00   $   190.06   $      38.01   $           -   review.
                                                                                                           NHJ- R FOIA decision re 6103 decision circulated by
  09/30/2014 Noel Johnson        0:18       0.30        0.00   $   190.06   $      57.02   $           -   CM- Cause of Action v. TIGTA.
                                                                                                           NHJ- Continue creating comprehensive timeline;
  09/30/2014 Noel Johnson        0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 compiling documents re same.
                                                                                                           NHJ- Continue creating comprehensive timeline;
  09/30/2014 Noel Johnson        0:48       0.80        0.80   $   190.06   $     152.05   $        152.05 compiling documents re same.
                                                                                                           NHJ- Continue creating comprehensive timeline;
  09/30/2014 Noel Johnson        1:30       1.50        1.50   $   190.06   $     285.09   $        285.09 compiling documents re same.
                                                                                                           NHJ- Continue creating comprehensive timeline;
  10/01/2014 Noel Johnson        0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 compiling documents re same.
                                                                                                           NHJ- Continue creating comprehensive timeline;
  10/01/2014 Noel Johnson        0:36       0.60        0.60   $   190.06   $     114.04   $        114.04 compiling documents re same.
                                                                                                           NHJ- Continue creating comprehensive timeline;
  10/01/2014 Noel Johnson        0:48       0.80        0.80   $   190.06   $     152.05   $        152.05 compiling documents re same.
                                                                                                           NHJ- Continue creating comprehensive timeline;
  10/01/2014 Noel Johnson        1:06       1.10        1.10 $     190.06   $     209.07   $        209.07 compiling documents re same.
  10/02/2014 Kaylan Phillips     0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 KLP- C NHJ re discovery needs.
                                                                                                           NHJ- Continue creating comprehensive timeline;
  10/02/2014 Noel Johnson        0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 compiling documents re same.
                                                                                                           NHJ- Continue creating comprehensive timeline;
  10/02/2014 Noel Johnson        0:12       0.20        0.20 $     190.06   $      38.01   $         38.01 compiling documents re same.
  10/02/2014 Noel Johnson        0:24       0.40        0.40 $     190.06   $      76.02   $         76.02 NHJ- C KLP re needs for discovery/timelines.

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Expenses adjusted for reimbursable and non-reimbursable.              Page 121 of 161
                                                 PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date          Name       Time     Gross       Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                     Hours        Hours*     Statutory     Statutory         Statutory
                                                               Rate         Amount           Adjusted
                                                                                              Amount
                                                                                                         NHJ- Continue creating comprehensive timeline;
  10/02/2014 Noel Johnson     0:48        0.80        0.80   $   190.06   $     152.05   $        152.05 compiling documents re same.
                                                                                                         NHJ- R IRS/Bivens decision from SDNR- Zherka v.
  10/06/2014 Noel Johnson     0:36        0.60        0.00   $   190.06   $     114.04   $           -   Ryan; email to legal team re same.

                                                                                                         NHJ- Continue preparing comprehensive timeline of
  10/06/2014 Noel Johnson     1:06        1.10        1.10   $   190.06   $     209.07   $        209.07 events; compiling and reviewing documents re same

                                                                                                         NHJ- Continue preparing comprehensive timeline of
  10/07/2014 Noel Johnson     0:24        0.40        0.40   $   190.06   $      76.02   $         76.02 events; compiling and reviewing documents re same
                                                                                                         NHJ- R Zherka v Ryan and d notice of supplemental
  10/07/2014 Noel Johnson     1:12        1.20        1.20   $   190.06   $     228.07   $        228.07 authority re same.

  10/08/2014 Noel Johnson     0:06        0.10        0.10   $   190.06   $      19.01   $         19.01 NHJ- File notice of supp. authority- Zherka v . Ryan.
                                                                                                         NHJ- Proof and finalize notice of supplemental
  10/08/2014 Noel Johnson     0:06        0.10        0.10   $   190.06   $      19.01   $         19.01 authority.

                                                                                                         NHJ- Continue preparing comprehensive timeline of
  10/08/2014 Noel Johnson     0:54        0.90        0.90   $   190.06   $     171.05   $        171.05 events; compiling and reviewing documents re same
                                                                                                         NHJ- R Ds joint response to second notice of supp.
  10/13/2014 Noel Johnson     0:06        0.10        0.10   $   190.06   $      19.01   $         19.01 authority.

                                                                                                         NHJ- Continue preparing comprehensive timeline of
  10/14/2014 Noel Johnson     1:06        1.10        1.10   $   190.06   $     209.07   $        209.07 events; compiling and reviewing documents re same

  10/15/2014 Noel Johnson     0:18        0.30        0.30   $   190.06   $      57.02   $         57.02 NHJ- R opposition to certification appeal in Z Street.
                                                                                                         NHJ- Check dockets in related cases for activity;
  10/15/2014 Noel Johnson     0:24        0.40        0.40   $   190.06   $      76.02   $         76.02 download recent filings for review.

                                                                                                         NHJ- Continue preparing comprehensive timeline of
  10/15/2014 Noel Johnson     0:24        0.40        0.40   $   190.06   $      76.02   $         76.02 events; compiling and reviewing documents re same

                                                                                                         NHJ- Continue preparing comprehensive timeline of
  10/15/2014 Noel Johnson     1:06        1.10        1.10   $   190.06   $     209.07   $        209.07 events; compiling and reviewing documents re same

                                                                                                          NHJ- Continue preparing comprehensive timeline of
  10/16/2014 Noel Johnson     0:42        0.70        0.70   $   190.06   $     133.04   $        133.04 events; compiling and reviewing documents re sam

                                                                                                         NHJ- Continue preparing comprehensive timeline of
  10/16/2014 Noel Johnson     1:12        1.20        1.20   $   190.06   $     228.07   $        228.07 events; compiling and reviewing documents re same

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.            Page 122 of 161
                                                 PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date          Name       Time     Gross       Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                     Hours        Hours*     Statutory     Statutory         Statutory
                                                               Rate         Amount           Adjusted
                                                                                              Amount
                                                                                                         NHJ- R Oversight Committee Report: LOIS LERNER’S
                                                                                                         INVOLVEMENT IN THE IRS TARGETING OF TAX-
  10/17/2014 Noel Johnson     1:06        1.10        1.10   $   190.06   $     209.07   $        209.07 EXEMPT OR

                                                                                                         NHJ- R dockets of related cases for activity; download
  10/22/2014 Noel Johnson     0:30        0.50        0.50 $     190.06   $      95.03   $         95.03 latest filings; email to legal team re order
  10/23/2014 Noel Johnson     0:06        0.10        0.10 $     190.06   $      19.01   $         19.01 NHJ- R press coverage of MTD order.
                                                                                                         NHJ- Email and phone correspondence re media and
  10/23/2014 Noel Johnson     0:12        0.20        0.10 $     190.06   $      38.01   $         19.01 MTD order.
  10/23/2014 Noel Johnson     0:12        0.20        0.10 $     190.06   $      38.01   $         19.01 NHJ- PC with MG re MTD order and appeal.

                                                                                                         NHJ- Email correspondence with legal team re: MTD
  10/23/2014 Noel Johnson     0:18        0.30        0.20 $     190.06   $      57.02   $         38.01 order; prepare bullet points for CM re: same; ema
  10/23/2014 Noel Johnson     0:36        0.60        0.40 $     190.06   $     114.04   $         76.02 NHJ- R Opinion on MTDs
                                                                                                         NHJ- R IRS opposition to discovery request in Judicial
  10/23/2014 Noel Johnson     0:42        0.70        0.70   $   190.06   $     133.04   $        133.04 Watch FOIA matter.
             Joseph
  10/27/2014 Vanderhulst      0:30        0.50        0.50   $   190.06   $      95.03   $         95.03 JAV- PC team and cl re dismissal and appeal.
             Joseph
  10/27/2014 Vanderhulst      1:00        1.00        1.00   $   190.06   $     190.06   $        190.06 JAV- Pc team re dismissal and appeal, r decision.
                                                                                                         NHJ- Find and review legal service agreement; email to
  10/27/2014 Noel Johnson     0:06        0.10        0.10 $     190.06   $      19.01   $         19.01 client per request.
  10/27/2014 Noel Johnson     0:12        0.20        0.20 $     190.06   $      38.01   $         38.01 NHJ- C JAV re appeal.
  10/27/2014 Noel Johnson     0:12        0.20        0.20 $     190.06   $      38.01   $         38.01 NHJ- Type up notes from call; circulate to team.
                                                                                                         NHJ- R FRAP and Circuit Rules re appeals; email to
  10/27/2014 Noel Johnson     0:30        0.50        0.50 $     190.06   $      95.03   $         95.03 legal team re same.
  10/27/2014 Noel Johnson     0:36        0.60        0.40 $     190.06   $     114.04   $         76.02 NHJ- C with legal team re appeal of MTD order.
  10/27/2014 Noel Johnson     0:54        0.90        0.90 $     190.06   $     171.05   $        171.05 NHJ- C with client and legal team re appeal.
                                                                                                         NHJ- Create outline of MTD order and legal issues for
  10/27/2014 Noel Johnson     1:12        1.20        0.80 $     190.06   $     228.07   $        152.05 appeal; email correspondence re same.
  10/28/2014 Noel Johnson     0:12        0.20        0.20 $     190.06   $      38.01   $         38.01 NHJ- Check dockets in related cases for activity.
  10/28/2014 Noel Johnson     0:18        0.30        0.20 $     190.06   $      57.02   $         38.01 NHJ- R Order on MTDs in Linchpins of Liberty.

  10/28/2014 Noel Johnson     0:18        0.30        0.30   $   190.06   $      57.02   $         57.02 NHJ- R reply re motion for discovery in Judicial Watch.
             Joseph
  10/29/2014 Vanderhulst      0:24        0.40        0.40   $   190.06   $      76.02   $         76.02 JAV- R decision.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.            Page 123 of 161
                                                 PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date          Name       Time     Gross       Adjusted      EAJA       EAJA Gross           EAJA                             Description
                                     Hours        Hours*     Statutory     Statutory         Statutory
                                                               Rate         Amount           Adjusted
                                                                                              Amount
             Joseph
  10/29/2014 Vanderhulst      0:30        0.50        0.50   $   190.06   $      95.03   $         95.03 JAV- C NHJ re decision.
             Joseph
  10/30/2014 Vanderhulst      0:12        0.20        0.20 $     190.06   $      38.01   $         38.01 JAV- Em exch with team re appeal options.
  10/30/2014 Noel Johnson     0:18        0.30        0.30 $     190.06   $      57.02   $         57.02 NHJ- C JAV re e appeal outline, arguments.
                                                                                                         NHJ- Continue reviewing pleadings and filings and work
  10/30/2014 Noel Johnson     0:30        0.50        0.50   $   190.06   $      95.03   $         95.03 on timeline/outline for appeal.
                                                                                                         NHJ- Email correspondence re appeal outline;
  10/30/2014 Noel Johnson     0:36        0.60        0.60   $   190.06   $     114.04   $        114.04 arguments for same.
                                                                                                         NHJ- R authority cited in courts's order re
  10/30/2014 Noel Johnson     1:00        1.00        1.00   $   190.06   $     190.06   $        190.06 timeline/outline for appeal.
                                                                                                         NHJ- R pleadings and filings and work on
  10/30/2014 Noel Johnson     1:24        1.40        1.40   $   190.06   $     266.08   $        266.08 timeline/outline for appeal.
                                                                                                         NHJ- R authority cited in court's order re timeline/outline
  10/30/2014 Noel Johnson     1:42        1.70        1.70   $   190.06   $     323.10   $        323.10 for appeal.
             Joseph
  10/31/2014 Vanderhulst      0:30        0.50        0.00   $   190.06   $      95.03   $           -    JAV- C NHJ re outline and appeal. (n/c)
                                                                                                         NHJ- Email correspondence with client and CM re
  10/31/2014 Noel Johnson     0:06        0.10        0.10   $   190.06   $      19.01   $         19.01 financials.
                                                                                                         NHJ- Continue reviewing authority cited in court's order
  10/31/2014 Noel Johnson     0:12        0.20        0.20   $   190.06   $      38.01   $         38.01 re timeline/outline for appeal.
                                                                                                         NHJ- Continue reviewing authority cited in court's order
  10/31/2014 Noel Johnson     0:24        0.40        0.40   $   190.06   $      76.02   $         76.02 re timeline/outline for appeal.

  10/31/2014 Noel Johnson     0:24        0.40        0.40   $   190.06   $      76.02   $         76.02 NHJ- Cs with SLP re financials requested by client.

                                                                                                         NHJ- Cs with SLP re: financials for client; make
  10/31/2014 Noel Johnson     0:30        0.50        0.50   $   190.06   $      95.03   $         95.03 revisions and finalize same; email correspondence
                                                                                                         NHJ- Continue reviewing authority cited in court's order
  10/31/2014 Noel Johnson     1:30        1.50        1.50   $   190.06   $     285.09   $        285.09 and shepardize re timeline/outline for app
                                                                                                         NHJ- Continue reviewing authority cited in court's order
  10/31/2014 Noel Johnson     1:42        1.70        1.70   $   190.06   $     323.10   $        323.10 re timeline/outline for appeal.
                                                                                                         NHJ- C JAV re IRS oversight of C3s; arguments on
  11/03/2014 Noel Johnson     0:30        0.50        0.50   $   190.06   $      95.03   $         95.03 appeal re same.

                                                                                                         NHJ- Continue reviewing authority cited in Court's order
  11/03/2014 Noel Johnson     0:54        0.90        0.60   $   190.06   $     171.05   $        114.04 and MTD re outline and assessment of appea




* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.            Page 124 of 161
                                                 PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date          Name       Time     Gross       Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                     Hours        Hours*     Statutory     Statutory         Statutory
                                                               Rate         Amount           Adjusted
                                                                                              Amount
                                                                                                         NHJ- Continue reviewing authority cited in Court's order
  11/03/2014 Noel Johnson     1:06        1.10        0.80   $   190.06   $     209.07   $        152.05 and MTD re outline and assessment of appea

                                                                                                         NHJ- Continue reviewing authority cited in Court's order
  11/03/2014 Noel Johnson     2:12        2.20        1.50   $   190.06   $     418.13   $        285.09 and MTD re outline and assessment of appea
                                                                                                         NHJ- Work on outline of appeal for legal team and
  11/04/2014 Noel Johnson     0:12        0.20        0.20   $   190.06   $      38.01   $         38.01 client.
                                                                                                         NHJ- Work on outline of appeal for legal team and
  11/04/2014 Noel Johnson     2:00        2.00        2.00   $   190.06   $     380.12   $        380.12 client.
             Joseph
  11/05/2014 Vanderhulst      0:30        0.50        0.50   $   190.06   $      95.03   $         95.03 JAV- R proposed outline re appeal, em exchs re same.
                                                                                                         NHJ- Finalize and proofread outline/timeline for appeal;
  11/05/2014 Noel Johnson     0:48        0.80        0.80   $   190.06   $     152.05   $        152.05 email to legal team re same.
                                                                                                         NHJ- Continue work on outline/timeline re appeal for
  11/05/2014 Noel Johnson     1:00        1.00        1.00   $   190.06   $     190.06   $        190.06 client.
                                                                                                         NHJ- Continue work on outline/timeline re appeal for
  11/05/2014 Noel Johnson     1:06        1.10        1.10   $   190.06   $     209.07   $        209.07 client.
                                                                                                         NHJ- Update outline with WD's suggestions; email to
  11/06/2014 Noel Johnson     0:18        0.30        0.30   $   190.06   $      57.02   $         57.02 legal team re voluntary cessation.
             Joseph                                                                                      JAV- R final appeal process, ems re appeal decision,
  11/10/2014 Vanderhulst      0:30        0.50        0.50   $   190.06   $      95.03   $         95.03 debrief.
             Joseph
  11/11/2014 Vanderhulst      0:18        0.30        0.30   $   190.06   $      57.02   $         57.02 JAV- R em re appeal decision, conf NHJ re same.
             Joseph
  12/04/2014 Vanderhulst      0:30        0.50        0.50   $   190.06   $      95.03   $         95.03 JAV- C and em exchs re decision to appeal.
                                                                                                         NHJ- Email correspondence re appeal; c JAV re same;
  12/04/2014 Noel Johnson     0:18        0.30        0.30   $   190.06   $      57.02   $         57.02 discuss same with KLP.

  12/05/2014 Noel Johnson     0:06        0.10        0.10   $   190.06   $      19.01   $         19.01 NHJ- R email correspondence with client's attorneys.
                                                                                                         NHJ- R outline of appeal and June FOIA request;
  12/05/2014 Noel Johnson     0:12        0.20        0.20   $   190.06   $      38.01   $         38.01 circulate to client.
                                                                                                         NHJ- Email correspondence re notice of
  12/08/2014 Noel Johnson     0:06        0.10        0.10   $   190.06   $      19.01   $         19.01 appeal/timeline.
                                                                                                         NHJ- PC with legal team and client re
  12/08/2014 Noel Johnson     0:48        0.80        0.80 $     190.06   $     152.05   $        152.05 appeal/representation agreement.
  12/09/2014 Noel Johnson     0:06        0.10        0.10 $     190.06   $      19.01   $         19.01 NHJ- Discuss TTV call with KLP.
  12/09/2014 Noel Johnson     0:12        0.20        0.20 $     190.06   $      38.01   $         38.01 NHJ- C JAV re call with client.



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Expenses adjusted for reimbursable and non-reimbursable.            Page 125 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- RS re notice of appeal in DC Circuit; rs appellate
  12/10/2014 Noel Johnson        0:36       0.60        0.60   $   190.06   $     114.04   $        114.04 rules; rs forms; draft notice of appeal; em
             Joseph
  12/15/2014 Vanderhulst         0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 JAV- R letter re appeal, c NHJ re same.
                                                                                                           NHJ- R, sign and email letter re appeal; same re rv
  12/15/2014 Noel Johnson        0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 edition.
             Joseph
  12/19/2014 Vanderhulst         0:12       0.20        0.20   $   190.06   $      38.01   $         38.01 JAV- R docketing order and schedule, ems re same.
             Joseph
  12/19/2014 Vanderhulst         0:18       0.30        0.30   $   190.06   $      57.02   $         57.02 JAV- R em and article re appeal.
                                                                                                           NHJ- Email correspondence re deadlines and filings
  12/19/2014 Noel Johnson        0:06       0.10        0.10   $   190.06   $      19.01   $         19.01 during holidays.
                                                                                                           NHJ- Email correspondence re local rules, initial filing
  12/19/2014 Noel Johnson        0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 deadlines; r news release re appeal; discu
                                                                                                           NHJ- R DC Circuit Rules and Handbook re appeal,
  12/19/2014 Noel Johnson        0:30       0.50        0.50   $   190.06   $      95.03   $         95.03 initial filing deadlines.
                                                                                                           NHJ- R DC Circuit admission rules; complete
  01/05/2015 Noel Johnson        0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 application.
                                                                                                           KLP- Work on admission to DC Circuit. Email to
  01/06/2015 Kaylan Phillips     0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 colleagues re same.
                                                                                                           NHJ- Call to clerks office re certificate of good standing;
  01/06/2015 Noel Johnson        0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 P letter and mailing for same; drive to
                                                                                                           KLP- Work on application to circuit. Call clerk. Email
  01/07/2015 Kaylan Phillips     0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 with colleagues re same.
                                                                                                           KLP- Email with colleague re DC COA application. Get
  01/08/2015 Kaylan Phillips     0:36       0.60        0.60   $   190.28   $     114.17   $        114.17 signed/notorized. Emails re next steps.
                                                                                                           KLP- Email with team re contents of appendix. R local
  01/08/2015 Kaylan Phillips     0:36       0.60        0.60 $     190.28   $     114.17   $        114.17 rules and docket.
  01/08/2015 Noel Johnson        0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 NHJ- Check status of related cases.
  01/08/2015 Noel Johnson        0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 NHJ- Complete Docketing Statement form.
  01/08/2015 Noel Johnson        0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 NHJ- Email correspondence re appendix.
                                                                                                           NHJ- R docket and compile designation of
                                                                                                           record/appendix; email to team resame; discuss same
  01/08/2015 Noel Johnson        0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 with K
                                                                                                           NHJ- RS re needed appellate forms and filings for Jan
  01/08/2015 Noel Johnson        0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 20.

  01/09/2015 Kaylan Phillips     0:18       0.30        0.30   $   190.28   $      57.08   $         57.08 KLP- C NHJ re appendix contents. Emails re same.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 126 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                   1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                             Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  01/09/2015 Noel Johnson        0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 NHJ- Email to opposing counsel re appendix.
  01/12/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- R docket.
  01/12/2015 Kaylan Phillips     0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 KLP- Finalize application for COA. P shipment.
  01/13/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 KLP- R Z Street docket (d.ct. and appellate).
                                                                                                           KLP- C NHJ re certificate of parties, related cases. R
  01/13/2015 Kaylan Phillips     0:36       0.60        0.60   $   190.28   $     114.17   $        114.17 ACLJ's docket for case status.
                                                                                                           KLP- R initial appellate documents. Email to NHJ re
  01/13/2015 Kaylan Phillips     0:36       0.60        0.60 $     190.28   $     114.17   $        114.17 changes needed.
  01/13/2015 Noel Johnson        0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 NHJ- C KLP re official capacity parties.
                                                                                                           NHJ- R and incorporate KLP's revisions to certificate
  01/13/2015 Noel Johnson        0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 and statement of issues.
  01/13/2015 Noel Johnson        0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 NHJ- R rules, d Statement of Issues to Be Raised.
                                                                                                           NHJ- R rules; d certificate of parties, rulings, related
  01/13/2015 Noel Johnson        0:54       0.90        0.90   $   190.28   $     171.25   $        171.25 cases.
                                                                                                           NHJ- Continue drafting Statement of Issues to Be
  01/13/2015 Noel Johnson        1:00       1.00        1.00 $     190.28   $     190.28   $        190.28 Raised.
  01/14/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- C NHJ re appeal.
  01/14/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- Call from Carly Gammill re status.
                                                                                                           KLP- Call to Carly Gammill of the ACLJ. Leave
  01/14/2015 Kaylan Phillips     0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 message. Check ACLJ docket.

  01/14/2015 Kaylan Phillips     0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 KLP- Call with WD re appeal and briefing schedule.
                                                                                                           KLP- PC Eddie Greim re NorCal, leave message.
  01/14/2015 Kaylan Phillips     0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 Check NorCal docket.

                                                                                                           KLP- R Z Street documents. Email to team re latest
  01/14/2015 Kaylan Phillips     0:36       0.60        0.60   $   190.28   $     114.17   $        114.17 information. Email to Z Street lawyer re status.

  01/14/2015 Noel Johnson        0:06       0.10        0.10   $   190.28   $      19.03   $         19.03 NHJ- Make revisions to State of Issues on Appeal.

  01/14/2015 Noel Johnson        0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 NHJ- C KLP re issues on appeal/arguments for same.
  01/14/2015 Noel Johnson        0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 NHJ- PC with Carly Gamel re status of Linchpins.
  01/14/2015 Noel Johnson        0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 NHJ- RS status of Z Street litigation.

  01/14/2015 Noel Johnson        0:54       0.90        0.90 $     190.28   $     171.25   $        171.25 NHJ- LR re recent "voluntary cessation" doctrine cases.
  01/15/2015 Kaylan Phillips     0:24       0.40        0.40 $     190.28   $      76.11   $         76.11 KLP- C NHJ re issues on appeal and justiciability.


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Expenses adjusted for reimbursable and non-reimbursable.              Page 127 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                    1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           KLP- Email with ACLJ re appeal. Check docket and
  01/15/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 review notice of appeal.
  01/15/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 KLP- Emails re preliminary filings.

  01/15/2015 Kaylan Phillips     0:42       0.70        0.70 $     190.28   $     133.20   $        133.20 KLP- Begin reviewing dct opinion and NHJ's outline.
  01/15/2015 Kaylan Phillips     0:48       0.80        0.80 $     190.28   $     152.22   $        152.22 KLP- R rules and circuit practice guides.
  01/15/2015 Noel Johnson        0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 NHJ- R FRAP and CRs re timing of briefs.
  01/15/2015 Noel Johnson        0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 NHJ- Compile and email cases requested by WD.

  01/15/2015 Noel Johnson        0:18       0.30        0.30   $   190.28   $      57.08   $         57.08 NHJ- Email correspondence re statement of issues.
                                                                                                           NHJ- R JCE's suggestions for issues statement; email
  01/15/2015 Noel Johnson        0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 to legal team re same.
  01/15/2015 Noel Johnson        0:24       0.40        0.40 $     190.28   $      76.11   $         76.11 NHJ- C KLP re arguments for appeal.
                                                                                                           NHJ- RV statement of issues and certificate per
  01/15/2015 Noel Johnson        0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 instructions from team.
                                                                                                           NHJ- LR re collateral order doctrine/final judgment rule
  01/15/2015 Noel Johnson        0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 re appeal of expedited discovery motion.
                                                                                                           NHJ- LR re APA claims and proper defendants; email to
  01/15/2015 Noel Johnson        0:48       0.80        0.00   $   190.28   $     152.22   $           -   legal team re preliminary filings.
                                                                                                           NHJ- R outline of appeal; r IRS scandal timeline; email
  01/15/2015 Noel Johnson        0:54       0.90        0.90 $     190.28   $     171.25   $        171.25 same to KLP.
  01/16/2015 Kaylan Phillips     0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 KLP- R NHJ's outline of appeal.
  01/16/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 KLP- R NHJ's outline of key events.
  01/16/2015 Kaylan Phillips     1:06       1.10        1.10 $     190.28   $     209.31   $        209.31 KLP- Continue reviewing d.ct. opinion, take notes.
  01/19/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- R NHJ's noties on mootness cases.
                                                                                                           KLP- Continue C with NHJ re appellate outline and
  01/19/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 strategy.
  01/19/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 KLP- R circuit court rules.
  01/19/2015 Kaylan Phillips     1:00       1.00        1.00 $     190.28   $     190.28   $        190.28 KLP- C NHJ re appellate outline and strategy.
  01/19/2015 Noel Johnson        0:24       0.40        0.40 $     190.28   $      76.11   $         76.11 NHJ- Rereview judicial notice rs and memos.
                                                                                                           NHJ- C KLP to continue discussing outline/rs for
  01/19/2015 Noel Johnson        0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 appellate brief.

  01/19/2015 Noel Johnson        0:36       0.60        0.60   $   190.28   $     114.17   $        114.17 NHJ- P remaining portions of DC Circuit application.
                                                                                                           NHJ- Begin reviewing latest Oversight Committee report
  01/19/2015 Noel Johnson        1:00       1.00        1.00   $   190.28   $     190.28   $        190.28 on targeting; review case file on similar is

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 128 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                   1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                             Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  01/19/2015 Noel Johnson        1:00       1.00        1.00 $     190.28   $     190.28   $        190.28 NHJ- C KLP re outline for appellate brief.
  01/20/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- Email to ML re certification of service.
  01/20/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- C NHJ re forms to be filed today. R forms.
                                                                                                           KLP- D statement re underlying decision. Create PDF
  01/20/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 with attachments. Email to JCE for filing.
  01/20/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- Emails re Issa report.
  01/20/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- Verify filings and check docket.
  01/20/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- Work on mootness outline.
                                                                                                           KLP- Adjust captions on filings pursuant to JCE's
  01/20/2015 Kaylan Phillips     0:18       0.30        0.30   $   190.28   $      57.08   $         57.08 requests.
                                                                                                           KLP- Adjust certificate of service of filings pursuant to
  01/20/2015 Kaylan Phillips     0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 JCE's requests.
  01/20/2015 Kaylan Phillips     0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 KLP- Check ACLJ docket for appellate number.
                                                                                                           KLP- Email with JCE and NHJ re deferred appendix.
  01/20/2015 Kaylan Phillips     0:18       0.30        0.30   $   190.28   $      57.08   $         57.08 Check rules.

                                                                                                           KLP- Check docket. Verify certificate of service. Adjust
  01/20/2015 Kaylan Phillips     1:06       1.10        1.10 $     190.28   $     209.31   $        209.31 documents as needed and email with JCE re:
  01/20/2015 Noel Johnson        0:12       0.20        0.00 $     190.28   $      38.06   $           -    NHJ- R latest filings in recent Bivens case.
  01/20/2015 Noel Johnson        0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 NHJ- Email to legal team re judicial notice.
  01/20/2015 Noel Johnson        0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 NHJ- RV preliminary filings; email to JCE re same.
                                                                                                           NHJ- P notices of appearances for all admitted counsel;
  01/20/2015 Noel Johnson        0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 circulate same.
                                                                                                           NHJ- R and rv statement of issues; search for related
  01/20/2015 Noel Johnson        0:36       0.60        0.60 $     190.28   $     114.17   $        114.17 case information; email to team re same.
  01/21/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- Save filings from last night.
  01/21/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- Email with NorCal counsel re update.
                                                                                                           KLP- Check dockets for updates (ours and ACLJ's dct
  01/21/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 and COA).
  01/21/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 KLP- Work on mootness outline.
                                                                                                           NHJ- Continue reviewing latest fiilngs in recent Bivens
  01/21/2015 Noel Johnson        0:24       0.40        0.00   $   190.28   $      76.11   $           -   case.
                                                                                                           NHJ- Continue reviewing Oversight Committee
  01/21/2015 Noel Johnson        2:00       2.00        2.00   $   190.28   $     380.56   $        380.56 comprehensive report on IRS targeting.
                                                                                                           KLP- D email to team summarizing status in other
  01/22/2015 Kaylan Phillips     0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 cases.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 129 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  01/22/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 KLP- Call from Eddie Greim.
  01/22/2015 Kaylan Phillips     0:30       0.50        0.00 $     190.28   $      95.14   $           -    KLP- Check dockets for updates. (n/c)
  01/22/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 KLP- Continue working on mootness outline.
  01/22/2015 Kaylan Phillips     0:54       0.90        0.90 $     190.28   $     171.25   $        171.25 KLP- Continue working on mootness outline.
  01/22/2015 Kaylan Phillips     1:30       1.50        1.50 $     190.28   $     285.42   $        285.42 KLP- Work on mootness outline.
                                                                                                           KLP- Email with WD and MG re conference call
  01/23/2015 Kaylan Phillips     0:06       0.10        0.10   $   190.28   $      19.03   $         19.03 Monday.

  01/23/2015 Kaylan Phillips     0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 KLP- C NHJ re call with NorCal and briefing needs.
                                                                                                           KLP- Check rules re opposition to appendix
  01/23/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 designations. Email to NHJ re same.
  01/23/2015 Kaylan Phillips     0:30       0.50        0.00 $     190.28   $      95.14   $           -    KLP- Check dockets for updates. (n/c)
  01/23/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 KLP- Continue working on outline.
  01/23/2015 Kaylan Phillips     0:48       0.80        0.80 $     190.28   $     152.22   $        152.22 KLP- R Linchpins of Liberty case.

                                                                                                           KLP- Create shell for opening briefing. R rules and
  01/23/2015 Kaylan Phillips     2:06       2.10        2.10   $   190.28   $     399.59   $        399.59 handbook for compliance and sections needed.
                                                                                                           NHJ- Email correspondence re PC to discuss brief
  01/23/2015 Noel Johnson        0:06       0.10        0.10   $   190.28   $      19.03   $         19.03 outline.

  01/23/2015 Noel Johnson        0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 NHJ- C KLP update on NorCal and Oversight Report.
                                                                                                           NHJ- Finishing preparing DC Cir. admission form; P
  01/23/2015 Noel Johnson        0:18       0.30        0.30   $   190.28   $      57.08   $         57.08 mailing; drive to mail same.
                                                                                                           NHJ- Continue reviewing Oversight Committee
  01/23/2015 Noel Johnson        0:42       0.70        0.70   $   190.28   $     133.20   $        133.20 comprehensive report on IRS targeting.
                                                                                                           NHJ- Continue reviewing Oversight Committee
  01/23/2015 Noel Johnson        0:54       0.90        0.90   $   190.28   $     171.25   $        171.25 comprehensive report on IRS targeting.
                                                                                                           NHJ- Continue reviewing Oversight Committee
  01/23/2015 Noel Johnson        2:18       2.30        2.30 $     190.28   $     437.64   $        437.64 comprehensive report on IRS targeting.
  01/26/2015 Kaylan Phillips     0:06       0.10        0.00 $     190.28   $      19.03   $           -    KLP- Email from MG re APA claim.
  01/26/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- Email re meeting today. Calendar.
  01/26/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- NorCal docket update.
                                                                                                           KLP- R case on mootness: City of Mesquite v. Aladdin's
  01/26/2015 Kaylan Phillips     0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 Castle.
                                                                                                           KLP- R case on mootness: Del Monte Fresh Produce v.
  01/26/2015 Kaylan Phillips     0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 U.S.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 130 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  01/26/2015 Kaylan Phillips     0:36       0.60        0.00   $   190.28   $     114.17   $           -    KLP- Check docket for update. (n/c)
                                                                                                           KLP- Download and organize needed cases on
                                                                                                           mootness. R briefing and note which cases we relied
  01/26/2015 Kaylan Phillips     1:00       1.00        1.00   $   190.28   $     190.28   $        190.28 upon
                                                                                                           KLP- C NHJ and conference call with WD and MG re
  01/26/2015 Kaylan Phillips     1:12       1.20        1.20 $     190.28   $     228.34   $        228.34 arguments on appeal.
  01/26/2015 Noel Johnson        0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 NHJ- C KLP re PC topics.
  01/26/2015 Noel Johnson        0:24       0.40        0.00 $     190.28   $      76.11   $           -    NHJ- Begin reviewing briefing on Bivens claim.
  01/26/2015 Noel Johnson        0:36       0.60        0.60 $     190.28   $     114.17   $        114.17 NHJ- Defining scope of harm/voluntary cessation.
                                                                                                           NHJ- PC KLP, WD, and MG re TTV appellate brief
  01/26/2015 Noel Johnson        1:00       1.00        1.00   $   190.28   $     190.28   $        190.28 outline/arguments.
                                                                                                           NHJ- Finish reviewing Oversight Committee
  01/26/2015 Noel Johnson        2:12       2.20        2.20 $     190.28   $     418.62   $        418.62 comprehensive report on IRS targeting.
  01/27/2015 Kaylan Phillips     0:24       0.40        0.00 $     190.28   $      76.11   $           -    KLP- Check docket for update. (n/c)
  01/27/2015 Kaylan Phillips     0:24       0.40        0.40 $     190.28   $      76.11   $         76.11 KLP- Continue reviewing mootness cases.
                                                                                                           KLP- Continue reviewing mootness cases: Munsell v.
  01/27/2015 Kaylan Phillips     0:36       0.60        0.60   $   190.28   $     114.17   $        114.17 Dept of Ag.

  01/27/2015 Kaylan Phillips     0:36       0.60        0.00   $   190.28   $     114.17   $           -    KLP- Organize list serve emails re IRS scandal. (n/c)
                                                                                                           NHJ- Continue shepardizing cited cases for new
  01/27/2015 Noel Johnson        0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 precedent.

                                                                                                            NHJ- Continue reviewing Bivens briefing; search and
  01/27/2015 Noel Johnson        2:18       2.30        0.00 $     190.28   $     437.64   $           -    review new Bivens precedent; search and review
  01/28/2015 Kaylan Phillips     0:06       0.10        0.00 $     190.28   $      19.03   $           -    KLP- C NHJ re Bivens arguments.
  01/28/2015 Kaylan Phillips     0:30       0.50        0.00 $     190.28   $      95.14   $           -    KLP- Check docket for updates (n/c)
  01/28/2015 Noel Johnson        0:06       0.10        0.00 $     190.28   $      19.03   $           -    NHJ- C KLP re Bivens outline.
                                                                                                            NHJ- Continue working on Bivens outline/section of
  01/28/2015 Noel Johnson        0:12       0.20        0.00   $   190.28   $      38.06   $           -    appellate brief.

  01/28/2015 Noel Johnson        0:18       0.30        0.00 $     190.28   $      57.08   $           -    NHJ- R Bivens holding; review Church by Mail case.
  01/28/2015 Noel Johnson        0:54       0.90        0.90 $     190.28   $     171.25   $        171.25 NHJ- LR re standard of review.
                                                                                                           NHJ- Continue working on Bivens outline/section of
  01/28/2015 Noel Johnson        1:06       1.10        0.00   $   190.28   $     209.31   $           -   appellate brief.
                                                                                                           NHJ- R Kim v. US decisions; r briefing in same; take
  01/28/2015 Noel Johnson        1:30       1.50        1.50   $   190.28   $     285.42   $        285.42 notes for appellate brief.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 131 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  01/29/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- C NHJ re argument.
  01/29/2015 Kaylan Phillips     0:30       0.50        0.00 $     190.28   $      95.14   $           -    KLP- Check docket for updates (n/c)
                                                                                                            NHJ- Continue working on Bivens outline/section of
  01/29/2015 Noel Johnson        1:00       1.00        0.00   $   190.28   $     190.28   $           -    appellate brief.
                                                                                                            NHJ- Continue working on Bivens outline/section of
  01/29/2015 Noel Johnson        1:12       1.20        0.00   $   190.28   $     228.34   $           -    appellate brief.
                                                                                                            NHJ- Continue working on Bivens outline/section of
  01/29/2015 Noel Johnson        1:18       1.30        0.00 $     190.28   $     247.36   $           -    appellate brief.
  01/30/2015 Kaylan Phillips     0:06       0.10        0.00 $     190.28   $      19.03   $           -    KLP- Email from printer with quote. (n/c)
  01/30/2015 Kaylan Phillips     0:30       0.50        0.00 $     190.28   $      95.14   $           -    KLP- Check docket for updates (n/c)
  01/30/2015 Noel Johnson        0:18       0.30        0.00 $     190.28   $      57.08   $           -    NHJ- R qualified immunity briefing.
                                                                                                            NHJ- Continue working on Bivens outline/section of
  01/30/2015 Noel Johnson        1:12       1.20        0.00   $   190.28   $     228.34   $           -    appellate brief.
                                                                                                            NHJ- Continue working on Bivens outline/section of
  01/30/2015 Noel Johnson        2:00       2.00        0.00   $   190.28   $     380.56   $           -    appellate brief.
                                                                                                            KLP- Call from printer re expected briefing schedule. C
  02/02/2015 Kaylan Phillips     0:12       0.20        0.00 $     190.28   $      38.06   $           -    NHJ re same. (n/c)
  02/02/2015 Kaylan Phillips     0:18       0.30        0.00 $     190.28   $      57.08   $           -    KLP- Check docket for updates (n/c)
  02/02/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 KLP- C NHJ re mootness argument.
                                                                                                           NHJ- Redo DC Circuit application with originals; P
  02/02/2015 Noel Johnson        0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 mailing for same.
  02/02/2015 Noel Johnson        0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 NHJ- C KLP re mootness arguments.
                                                                                                           NHJ- Continue LR re government retention of records
  02/02/2015 Noel Johnson        0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 and first amendment/mootness.
                                                                                                            NHJ- Continue working on Bivens section of appellate
  02/02/2015 Noel Johnson        1:00       1.00        0.00   $   190.28   $     190.28   $           -    opening brief. (n/c)
                                                                                                           NHJ- LR re government retention of records and first
  02/02/2015 Noel Johnson        1:06       1.10        1.10 $     190.28   $     209.31   $        209.31 amendment/mootness.
  02/03/2015 Kaylan Phillips     0:18       0.30        0.00 $     190.28   $      57.08   $           -    KLP- Check docket for updates. (n/c)
                                                                                                           KLP- Call from Carly Gammil re procedure. R dockets
  02/03/2015 Kaylan Phillips     0:36       0.60        0.60 $     190.28   $     114.17   $        114.17 and check rules.
  02/04/2015 Kaylan Phillips     0:12       0.20        0.00 $     190.28   $      38.06   $           -    KLP- Check docket for updates (n/c)
  02/05/2015 Kaylan Phillips     0:12       0.20        0.00 $     190.28   $      38.06   $           -    KLP- Check docket for updates (n/c)
                                                                                                           KLP- Email with Carly Gammil re certificate of parties.
  02/05/2015 Kaylan Phillips     0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 Email with NHJ re same.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 132 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            NHJ- Continue drafting Bivens section of appellate
  02/05/2015 Noel Johnson        0:42       0.70        0.00 $     190.28   $     133.20   $           -    opening brief.
  02/06/2015 Kaylan Phillips     0:12       0.20        0.00 $     190.28   $      38.06   $           -    KLP- Check docket for updates (n/c)
                                                                                                            NHJ- Continue LR and work on outline/draft re 7431
  02/06/2015 Noel Johnson        0:12       0.20        0.00 $     190.28   $      38.06   $           -    claim.
  02/06/2015 Noel Johnson        0:30       0.50        0.00 $     190.28   $      95.14   $           -    NHJ- LR and work on outline/draft re 7431 claim.
  02/09/2015 Kaylan Phillips     0:12       0.20        0.00 $     190.28   $      38.06   $           -    KLP- Check docket for updates. (n/c)
  02/09/2015 Kaylan Phillips     0:24       0.40        0.00 $     190.28   $      76.11   $           -    KLP- C NHJ re 7431 inspection claims.
  02/09/2015 Noel Johnson        0:24       0.40        0.00 $     190.28   $      76.11   $           -    NHJ- C KLP re 7431 claim.

  02/09/2015 Noel Johnson        0:30       0.50        0.00   $   190.28   $      95.14   $           -    NHJ- R case law cited in MDT opinion re 7431 claim.
                                                                                                            NHJ- Continue reviewing case law cited in MDT opinion
  02/09/2015 Noel Johnson        1:00       1.00        0.00 $     190.28   $     190.28   $           -    re 7431 claim.
  02/10/2015 Kaylan Phillips     0:06       0.10        0.00 $     190.28   $      19.03   $           -    KLP- C NHJ re qualified immunity argument.
  02/10/2015 Kaylan Phillips     0:12       0.20        0.00 $     190.28   $      38.06   $           -    KLP- Check docket for updates. (n/c)
  02/10/2015 Kaylan Phillips     0:24       0.40        0.40 $     190.28   $      76.11   $         76.11 KLP- C NHJ re inspection claim.
                                                                                                           NHJ- Continue reviewing 6103 caselaw cited in MTD
  02/10/2015 Noel Johnson        0:18       0.30        0.00 $     190.28   $      57.08   $           -   opinion.
  02/10/2015 Noel Johnson        0:24       0.40        0.00 $     190.28   $      76.11   $           -    NHJ- C KLP re 7431 inspection claim arguments.

                                                                                                            NHJ- R briefing on personal jurisdiction and qualified
  02/10/2015 Noel Johnson        0:42       0.70        0.00   $   190.28   $     133.20   $           -    immunity; D footnotes re same. C with KLP re
                                                                                                            NHJ- Continue LR and draft 7431 section appellate
  02/10/2015 Noel Johnson        1:12       1.20        0.00   $   190.28   $     228.34   $           -    opening brief.
                                                                                                            NHJ- Continue LR and D 7431 section of appellate
  02/10/2015 Noel Johnson        1:36       1.60        0.00 $     190.28   $     304.45   $           -    opening brief.
  02/11/2015 Kaylan Phillips     0:12       0.20        0.00 $     190.28   $      38.06   $           -    KLP- Check docket for updates. (n/c)

                                                                                                           NHJ- R letter of Sen. Johnson to IRS re Lerner email
  02/11/2015 Noel Johnson        0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 recovery; r coverage re FOIA request by The Hi
                                                                                                           NHJ- Continue working on Section 7431 section of
  02/11/2015 Noel Johnson        1:00       1.00        0.00   $   190.28   $     190.28   $           -   appellate opening brief.
                                                                                                            NHJ- Continue working on Section 7431 section of
  02/11/2015 Noel Johnson        1:36       1.60        0.00 $     190.28   $     304.45   $           -    appellate opening brief.
  02/12/2015 Kaylan Phillips     0:06       0.10        0.00 $     190.28   $      19.03   $           -    KLP- Check docket for updates. (n/c)



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 133 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            NHJ- Continue drafting 7431 claim section of appellate
  02/12/2015 Noel Johnson        0:54       0.90        0.00   $   190.28   $     171.25   $           -    opening brief.
                                                                                                            NHJ- Continue drafting 7431 claim section of appellate
  02/12/2015 Noel Johnson        3:06       3.10        0.00   $   190.28   $     589.87   $           -    opening brief.
                                                                                                            NHJ- Continue drafting 7431 claim section of appellate
  02/13/2015 Noel Johnson        0:30       0.50        0.00   $   190.28   $      95.14   $           -    opening brief.
                                                                                                            NHJ- Continue drafting 7431 claim section of appellate
  02/13/2015 Noel Johnson        1:54       1.90        0.00 $     190.28   $     361.53   $           -    opening brief.
  02/16/2015 Kaylan Phillips     0:06       0.10        0.00 $     190.28   $      19.03   $           -    KLP- Check docket for updates (n/c)
  02/16/2015 Noel Johnson        0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 NHJ- Proof and format opening appellate brief.
                                                                                                           NHJ- Continue working 7431 Section of opening
  02/16/2015 Noel Johnson        0:48       0.80        0.00   $   190.28   $     152.22   $           -   appellate brief.
                                                                                                            NHJ- Continue working on Bivens section of opening
  02/16/2015 Noel Johnson        0:54       0.90        0.00   $   190.28   $     171.25   $           -    appellate brief.
                                                                                                           NHJ- Continue LR re judicial notice/draft section of
  02/16/2015 Noel Johnson        1:18       1.30        1.30   $   190.28   $     247.36   $        247.36 opening appellate brief re same.
                                                                                                           NHJ- LR re judicial notice/draft section of opening
  02/16/2015 Noel Johnson        1:24       1.40        1.40   $   190.28   $     266.39   $        266.39 appellate brief re same.
                                                                                                           NHJ- Continue RS re "factual attack" and judicial notice;
  02/17/2015 Noel Johnson        0:42       0.70        0.70   $   190.28   $     133.20   $        133.20 rv section on judicial notice.
                                                                                                           KLP- Check docket for updates. Call court re
  02/18/2015 Kaylan Phillips     0:12       0.20        0.00 $     190.28   $      38.06   $           -   application. (n/c)
  02/19/2015 Kaylan Phillips     0:06       0.10        0.00 $     190.28   $      19.03   $           -    KLP- Check dockets. (n/c)
  02/20/2015 Kaylan Phillips     0:06       0.10        0.00 $     190.28   $      19.03   $           -    KLP- Check dockets (n/c)
                                                                                                           NHJ- Work on introductory sections of opening
  02/20/2015 Noel Johnson        0:06       0.10        0.10   $   190.28   $      19.03   $         19.03 appellate brief.
                                                                                                           KLP- Check docket and review filings. C NHJ re briefing
  02/23/2015 Kaylan Phillips     0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 schedule.
                                                                                                           NHJ- Check docket; r briefing schedule material from
  02/23/2015 Noel Johnson        0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 Circuit Handbook.
                                                                                                           NHJ- R preliminary filings in related case- Linchpins for
  02/23/2015 Noel Johnson        0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 Liberty v. US.
                                                                                                           NHJ- Continue working on introductory sections of
  02/23/2015 Noel Johnson        0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 opening appellate brief.
                                                                                                           NHJ- Continue working on introductory sections of
  02/23/2015 Noel Johnson        0:36       0.60        0.60 $     190.28   $     114.17   $        114.17 opening appellate brief.
  02/26/2015 Kaylan Phillips     0:18       0.30        0.00 $     190.28   $      57.08   $           -    KLP- Check dockets (ours and ACLJ) (n/c)



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 134 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           KLP- Email with team and client re brief. Email to printer
  03/04/2015 Kaylan Phillips     0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 re schedule.
                                                                                                           NHJ- Email correspondence with client re status of
  03/04/2015 Noel Johnson        0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 case.
  03/05/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- Emails re next steps.

  03/06/2015 Kaylan Phillips     0:06       0.10        0.00 $     190.28   $      19.03   $           -    KLP- Call clerk re admission, leave message. (n/c)
  03/06/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- R Norcal docket updates.
  03/06/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- Work on mootness outline.

  03/06/2015 Kaylan Phillips     0:42       0.70        0.70   $   190.28   $     133.20   $        133.20 KLP- C NHJ re mootness argument & division of labor
                                                                                                           KLP- Receive certificate of admission and fill out notice
  03/06/2015 Kaylan Phillips     0:48       0.80        0.80   $   190.28   $     152.22   $        152.22 of appearance. Register for filing access

                                                                                                           KLP- Check docket. Review information for docketing
  03/06/2015 Kaylan Phillips     1:00       1.00        1.00   $   190.28   $     190.28   $        190.28 clerk. Review procedure guides and local rules
                                                                                                           NHJ- R draft letter to Congressional committees re
  03/06/2015 Noel Johnson        0:06       0.10        0.10   $   190.28   $      19.03   $         19.03 personal email use by IRS.
                                                                                                           NHJ- Continue working on introductory sections of
  03/06/2015 Noel Johnson        0:18       0.30        0.30   $   190.28   $      57.08   $         57.08 appellate opening brief.
                                                                                                           NHJ- R Government's opening appellate brief in Z
  03/06/2015 Noel Johnson        0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 Street.
  03/06/2015 Noel Johnson        0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 NHJ- R latest filings in NorCal action.
                                                                                                           NHJ- Continue LR re subject-matter jurisdiction under
  03/06/2015 Noel Johnson        0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 12(b)(1).
                                                                                                           NHJ- C KLP re strategy and division of labor for
  03/06/2015 Noel Johnson        0:42       0.70        0.70   $   190.28   $     133.20   $        133.20 appellate opening brief.
                                                                                                           KLP- Call to clerk re briefing schedule. Email team re
  03/09/2015 Kaylan Phillips     0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 same.

                                                                                                           KLP- R local rules on notice of appearance. Call clerk re
  03/09/2015 Kaylan Phillips     0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 same. Finalize notice of appearance and f
                                                                                                           NHJ- Continue working on opening sections of apellate
  03/09/2015 Noel Johnson        0:36       0.60        0.60   $   190.28   $     114.17   $        114.17 brief.
                                                                                                           NHJ- Continue working on opening sections of appellate
  03/09/2015 Noel Johnson        1:48       1.80        1.80 $     190.28   $     342.50   $        342.50 brief.
  03/10/2015 Noel Johnson        0:24       0.40        0.00 $     190.28   $      76.11   $           -    NHJ- LR re APA notice and comment requirement.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 135 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- Continue working on introductory sections of
  03/10/2015 Noel Johnson        0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 appellate opening brief.
                                                                                                           NHJ- Continue working on introductory sections of
  03/10/2015 Noel Johnson        0:54       0.90        0.90 $     190.28   $     171.25   $        171.25 appellate opening brief.
  03/11/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- ECF notice re appearance.
  03/11/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- R current version of brief. Add outline.
  03/11/2015 Noel Johnson        0:18       0.30        0.00 $     190.28   $      57.08   $           -    NHJ- LR re recent Bivens decisions.

  03/11/2015 Noel Johnson        0:36       0.60        0.60 $     190.28   $     114.17   $        114.17 NHJ- R related case decision- Freedom Path v. Lerner.
  03/12/2015 Kaylan Phillips     0:42       0.70        0.70 $     190.28   $     133.20   $        133.20 KLP- C NHJ re statement of facts and outline.
                                                                                                           NHJ- C KLP re facts, mootness, and briefing schedule
  03/12/2015 Noel Johnson        0:42       0.70        0.70   $   190.28   $     133.20   $        133.20 for appellate brief.

  03/12/2015 Noel Johnson        0:54       0.90        0.90   $   190.28   $     171.25   $        171.25 NHJ- Continue working on appellate opening brief.

  03/12/2015 Noel Johnson        1:00       1.00        1.00   $   190.28   $     190.28   $        190.28 NHJ- Continue working on appellate opening brief.
                                                                                                           NHJ- Continue working on opening sections of appellate
  03/13/2015 Noel Johnson        0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 opening brief.
                                                                                                           NHJ- Continue working on opening sections of appellate
  03/13/2015 Noel Johnson        0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 opening brief.
                                                                                                           NHJ- Continue working on opening sections of appellate
  03/13/2015 Noel Johnson        0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 opening brief.
                                                                                                           NHJ- Continue working on opening sections of appellate
  03/13/2015 Noel Johnson        0:36       0.60        0.60   $   190.28   $     114.17   $        114.17 opening brief.

  03/20/2015 Kaylan Phillips     0:48       0.80        0.80 $     190.28   $     152.22   $        152.22 KLP- R current draft of opening brief. Adjust formatting.
  03/23/2015 Kaylan Phillips     0:06       0.10        0.00 $     190.28   $      19.03   $           -    KLP- Email with JCE re update. (n/c)
                                                                                                           KLP- Check ACLJ docket. Email to Carly Gammil re
  03/23/2015 Kaylan Phillips     0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 order. Call re same.
                                                                                                           KLP- Work on opening brief. R recent bills introduced in
  03/25/2015 Kaylan Phillips     0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 House.
                                                                                                           NHJ- Continue drafting into sections of opening
  03/25/2015 Noel Johnson        1:36       1.60        1.60 $     190.28   $     304.45   $        304.45 appellate brief.
  03/26/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- R recent legislation for mootness argument.

                                                                                                           KLP- D letter to opposing counsel re deferred appendix.
  03/26/2015 Kaylan Phillips     0:36       0.60        0.60   $   190.28   $     114.17   $        114.17 Verify counsel list. Incorporate NHJ's edit


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 136 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  03/26/2015 Kaylan Phillips     0:36       0.60        0.60 $     190.28   $     114.17   $        114.17 KLP- Emails re deferred appendix. R rules.
  03/26/2015 Noel Johnson        0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 NHJ- D and file entry of appearance.
                                                                                                           NHJ- Email correspondence re deferred appendix
  03/26/2015 Noel Johnson        0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 statement; calls to clerk re same.
                                                                                                           NHJ- Continue drafting introductory sections of opening
  03/26/2015 Noel Johnson        1:36       1.60        1.60   $   190.28   $     304.45   $        304.45 appellate brief.
                                                                                                           KLP- ECF notice re clerk seeking proposed briefing
  03/27/2015 Kaylan Phillips     0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 format. C with NHJ re same.
                                                                                                           NHJ- Continue drafting and revising introductory
  03/27/2015 Noel Johnson        0:54       0.90        0.90   $   190.28   $     171.25   $        171.25 sections of appellate brief.
                                                                                                           KLP- Emails re proposed briefing format order. Call with
  03/30/2015 Kaylan Phillips     0:48       0.80        0.80   $   190.28   $     152.22   $        152.22 Carly Gammil re same.
                                                                                                            KLP- Emails re updating firm name. Call to clerk re
  04/07/2015 Kaylan Phillips     0:30       0.50        0.00   $   190.28   $      95.14   $           -    same. Submit name change form. (n/c)

                                                                                                           KLP- Email/call with ACLJ re: briefing format.
  04/07/2015 Kaylan Phillips     0:48       0.80        0.80 $     190.28   $     152.22   $        152.22 Summarize into email to colleagues. Draft email to o
  04/10/2015 Noel Johnson        0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 NHJ- R latest Lerner emails from Judicial Watch.
  04/16/2015 Kaylan Phillips     0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 KLP- Email with team re briefing format proposal.

                                                                                                           KLP- Email with CM re email to opposing counsel.
  04/17/2015 Kaylan Phillips     0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 Check docket for most up-to-date contact informati
                                                                                                           NHJ- Continue drafting introductory sections of opening
  04/17/2015 Noel Johnson        0:54       0.90        0.90   $   190.28   $     171.25   $        171.25 appellate brief.
                                                                                                           NHJ- Continue drafting introductory sections of opening
  04/17/2015 Noel Johnson        0:54       0.90        0.90   $   190.28   $     171.25   $        171.25 appellate brief.
                                                                                                           KLP- Conference call with opposing counsel re
  04/21/2015 Kaylan Phillips     0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 proposed briefing format. Call with team re same.

                                                                                                           KLP- Emails re proposed briefing format and
  04/21/2015 Kaylan Phillips     1:00       1.00        1.00   $   190.28   $     190.28   $        190.28 conference call today. R rules. R ACLJ's proposal.

  04/21/2015 Noel Johnson        0:06       0.10        0.10   $   190.28   $      19.03   $         19.03 NHJ- PC with CM and WD re briefing format proposal.
                                                                                                           NHJ- RV introductory sections of opening appellate
  04/21/2015 Noel Johnson        0:06       0.10        0.10   $   190.28   $      19.03   $         19.03 brief.
                                                                                                           NHJ- PC with opposing counsel re briefing format
  04/21/2015 Noel Johnson        0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 proposal.



* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 137 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- R rules; draft joint submission on briefing format
  04/22/2015 Noel Johnson        1:00       1.00        1.00   $   190.28   $     190.28   $        190.28 and circulate for review.

                                                                                                           KLP- Emails with team re proposed briefing format. R.
  04/23/2015 Kaylan Phillips     0:18       0.30        0.30   $   190.28   $      57.08   $         57.08 R CM's email to opposing counsel re same.
                                                                                                           KLP- Emails re proposed briefing format. R and finalize.
  04/24/2015 Kaylan Phillips     0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 Email with team re question.
                                                                                                           NHJ- R and rv joint submission on briefing; email re
  04/24/2015 Noel Johnson        0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 same.
                                                                                                           KLP- Finalize and file the joint submission. Email with
  04/27/2015 Kaylan Phillips     0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 CM re email service.

                                                                                                           KLP- Emails with team re proposed briefing format. R
  04/27/2015 Kaylan Phillips     0:36       0.60        0.60   $   190.28   $     114.17   $        114.17 draft. D and send email to opposing counsel re
                                                                                                           NHJ- Work on mootness section of opening appellate
  04/28/2015 Noel Johnson        0:18       0.30        0.30   $   190.28   $      57.08   $         57.08 brief.
                                                                                                           NHJ- Continue working on mootness section of opening
  04/28/2015 Noel Johnson        1:12       1.20        1.20   $   190.28   $     228.34   $        228.34 appellate brief.

  04/29/2015 Kaylan Phillips     0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 KLP- Emails re mailing filing. C NHJ re same. R rules.
                                                                                                           NHJ- P paper filing for joint briefing submission; drop at
  04/29/2015 Noel Johnson        0:18       0.30        0.30   $   190.28   $      57.08   $         57.08 Fedex box.
  05/01/2015 Noel Johnson        0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 NHJ- TIGTA Report.
                                                                                                           KLP- R ACLJ press release re TIGTA report. Check
  05/05/2015 Kaylan Phillips     0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 ACLJ docket. C NHJ re same.

  05/06/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- R NHJ's notes re abeyance order. C re same.
  05/06/2015 Noel Johnson        0:12       0.20        0.00 $     190.28   $      38.06   $           -    NHJ- LR re recent Bivens decisions.
  05/07/2015 Noel Johnson        1:00       1.00        1.00 $     190.28   $     190.28   $        190.28 NHJ- Listen to oral argument audio of Z Street.
                                                                                                           KLP- ECF notice re case held in abeyance. Email with
  05/08/2015 Kaylan Phillips     0:18       0.30        0.30   $   190.28   $      57.08   $         57.08 ACLJ re same.
                                                                                                           NHJ- Continue work on introductory sections of
  05/08/2015 Noel Johnson        0:42       0.70        0.70   $   190.28   $     133.20   $        133.20 appellate brief.

  05/11/2015 Noel Johnson        0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 NHJ- RV introductory section of opening appellate brief.
  05/12/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- R NHJ's talking points re abeyance order.
  05/12/2015 Noel Johnson        0:42       0.70        0.70 $     190.28   $     133.20   $        133.20 NHJ- P bullet points on abeyance order for client.
  05/18/2015 Noel Johnson        0:12       0.20        0.00 $     190.28   $      38.06   $           -    NHJ- LR re recent Bivens decision.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 138 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                            NHJ- R recent DC Circuit decision re qualified
  05/18/2015 Noel Johnson        0:24       0.40        0.00   $   190.28   $      76.11   $           -    immunity/Bivens.
                                                                                                           NHJ- R news re Cause of Action memo re targeting
  05/20/2015 Noel Johnson        0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 origins.
                                                                                                           KLP- Email re Z Streeet decision. R documents. C NHJ
  06/19/2015 Kaylan Phillips     0:54       0.90        0.90   $   190.28   $     171.25   $        171.25 re same. Emails re next steps.
                                                                                                           NHJ- Email correspondence re Z Street decision with
  06/19/2015 Noel Johnson        0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 legal team.
  06/19/2015 Noel Johnson        0:24       0.40        0.40 $     190.28   $      76.11   $         76.11 NHJ- C KLP to discuss Z Street decision.
                                                                                                           NHJ- R DC Circuit decision in Z street; discuss same
  06/19/2015 Noel Johnson        0:36       0.60        0.60   $   190.28   $     114.17   $        114.17 with JAV.
                                                                                                           NHJ- PC and email correspondence with Carly Gammill
  06/23/2015 Noel Johnson        0:36       0.60        0.60   $   190.28   $     114.17   $        114.17 at ACLJ re motion.
                                                                                                           KLP- Emails re motion project and team conference
  06/24/2015 Kaylan Phillips     0:48       0.80        0.80 $     190.28   $     152.22   $        152.22 call.
  06/25/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 KLP- Email group re conference call today.
  06/25/2015 Kaylan Phillips     0:36       0.60        0.60 $     190.28   $     114.17   $        114.17 KLP- C call with team re Z Street.
                                                                                                           KLP- Listen to Z Street oral argument and transcribe
  06/25/2015 Kaylan Phillips     0:36       0.60        0.60   $   190.28   $     114.17   $        114.17 sections.
                                                                                                           KLP- Read articles re IRS's destruction of documents
  06/25/2015 Kaylan Phillips     0:36       0.60        0.60   $   190.28   $     114.17   $        114.17 during targeting investigation.
                                                                                                           KLP- Continue listening to/transcribing Z Street oral
  06/26/2015 Kaylan Phillips     0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 argument.
                                                                                                           KLP- Continue listening to Z Street argument and
  06/29/2015 Kaylan Phillips     1:30       1.50        1.50 $     190.28   $     285.42   $        285.42 extrapolate info for motion.
  06/30/2015 Kaylan Phillips     0:36       0.60        0.60 $     190.28   $     114.17   $        114.17 KLP- Continue reviewing Z Street documents.
  07/01/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 KLP- RS motion practice in US COA for D.C.
                                                                                                           KLP- Continue listening to Z Street oral argument and
  07/01/2015 Kaylan Phillips     1:00       1.00        1.00 $     190.28   $     190.28   $        190.28 transcribe sections.
  07/02/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- Email with CM re motion.
  07/02/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 KLP- RS motion practice in US COA for D.C.
                                                                                                           KLP- Work on outline for motion. Send to NHJ with
  07/02/2015 Kaylan Phillips     1:12       1.20        1.20   $   190.28   $     228.34   $        228.34 comments.
                                                                                                           KLP- Call with Carly Gammil re case. C with NHJ re
  07/06/2015 Kaylan Phillips     0:30       0.50        0.20 $     190.28   $      95.14   $         38.06 same.
  07/06/2015 Kaylan Phillips     0:30       0.50        0.20 $     190.28   $      95.14   $         38.06 KLP- Work on motion.
  07/06/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 KLP- C NHJ re motion.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 139 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           KLP- Continue working on motion. Circulate draft to
  07/06/2015 Kaylan Phillips     1:12       1.20        1.20 $     190.28   $     228.34   $        228.34 team.
  07/06/2015 Noel Johnson        0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 NHJ- C KLP re remand motion.
  07/06/2015 Noel Johnson        0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 NHJ- Continue LR re remand standard.
                                                                                                           NHJ- PC Carly Gammil re arguments for ACLJ remand
  07/06/2015 Noel Johnson        0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 motion.
  07/06/2015 Noel Johnson        0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 NHJ- C KLP re outline of remand motion.
  07/06/2015 Noel Johnson        0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 NHJ- Work on draft motion for remand.
  07/06/2015 Noel Johnson        0:36       0.60        0.60 $     190.28   $     114.17   $        114.17 NHJ- LR re remand motion.
  07/06/2015 Noel Johnson        1:12       1.20        1.20 $     190.28   $     228.34   $        228.34 NHJ- Work on draft motion for remand.
  07/06/2015 Noel Johnson        1:30       1.50        1.50 $     190.28   $     285.42   $        285.42 NHJ- Continue LR re remand motion.
  07/07/2015 Kaylan Phillips     1:24       1.40        1.40 $     190.28   $     266.39   $        266.39 KLP- Work on motion.
  07/07/2015 Noel Johnson        0:54       0.90        0.90 $     190.28   $     171.25   $        171.25 NHJ- Continue working on remand motion.
                                                                                                           KLP- Continue working on motion. Finalize thoughts
  07/08/2015 Kaylan Phillips     0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 and c with NHJ re rs needed.
  07/08/2015 Kaylan Phillips     0:36       0.60        0.60   $   190.28   $     114.17   $        114.17 KLP- R changes to motion. C NHJ re same.

  07/08/2015 Noel Johnson        0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 NHJ- Discuss changes to remand motion with KLP.
  07/08/2015 Noel Johnson        0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 NHJ- Continue working on remand motion.
  07/08/2015 Noel Johnson        1:18       1.30        1.30 $     190.28   $     247.36   $        247.36 NHJ- Continue working on remand motion.
  07/09/2015 Noel Johnson        0:24       0.40        0.40 $     190.28   $      76.11   $         76.11 NHJ- Remand motion.
  07/10/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- Email with latest draft. Briefly review.
  07/10/2015 Noel Johnson        1:42       1.70        1.70 $     190.28   $     323.48   $        323.48 NHJ- Finish second draft of remand motion.
  07/13/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- Emails re motion.
                                                                                                           KLP- Emails re motion for remand and call with
  07/16/2015 Kaylan Phillips     0:48       0.80        0.80   $   190.28   $     152.22   $        152.22 opposing counsel. R circuit court rules.
                                                                                                           NHJ- Implement CM's edits to remand motion and
  07/16/2015 Noel Johnson        0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 email draft to Carly at ACLF.
  07/17/2015 Kaylan Phillips     0:24       0.40        0.40 $     190.28   $      76.11   $         76.11 KLP- Emails re call today.
  07/17/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 KLP- Call with ACLJ re motion. Emails re same.
                                                                                                           KLP- C with opposing counsel re briefing schedule.
  07/17/2015 Kaylan Phillips     0:36       0.60        0.60   $   190.28   $     114.17   $        114.17 Emails re same.
                                                                                                           KLP- Rec. and review ACLJ's draft motion. Emails re
  07/17/2015 Kaylan Phillips     1:00       1.00        1.00   $   190.28   $     190.28   $        190.28 same. C with NHJ re same.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 140 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                    1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  07/17/2015 Noel Johnson        0:06       0.10        0.10   $   190.28   $      19.03   $         19.03 NHJ- C KLP re D motion for remand.
                                                                                                           NHJ- PC with opposing counsel re briefing schedule; c
  07/17/2015 Noel Johnson        0:18       0.30        0.30   $   190.28   $      57.08   $         57.08 KLP re same.
                                                                                                           NHJ- R ACLJ draft of motion for remand; email to team
  07/17/2015 Noel Johnson        0:18       0.30        0.30   $   190.28   $      57.08   $         57.08 and Carly Gammill re same.
                                                                                                           NHJ- PC with Carly Gammill re motions for remand;
  07/17/2015 Noel Johnson        0:24       0.40        0.40 $     190.28   $      76.11   $         76.11 discuss same with KLP.
  07/20/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- Emails re motion.
                                                                                                           KLP- C NHJ re motion. Proof and send changes as
  07/20/2015 Kaylan Phillips     0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 needed.
                                                                                                           KLP- Emails re proposed language. Calls with opposing
  07/20/2015 Kaylan Phillips     0:42       0.70        0.70   $   190.28   $     133.20   $        133.20 counsel re same.

                                                                                                           KLP- ECF notices re motion filed. Briefly review and
  07/20/2015 Kaylan Phillips     0:48       0.80        0.80 $     190.28   $     152.22   $        152.22 calendar responses. C NHJ re paper copies need
  07/20/2015 Noel Johnson        0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 NHJ- R Government motion re Z Street.
                                                                                                           NHJ- P court copy mailing for remand motion; drive to
  07/20/2015 Noel Johnson        0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 fedex drop box.
  07/20/2015 Noel Johnson        0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 NHJ- File motion for remand.
                                                                                                           NHJ- Incorporate additional CM edits; proofread and
  07/20/2015 Noel Johnson        0:36       0.60        0.60 $     190.28   $     114.17   $        114.17 make final edits.
  07/23/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- Send final motion to client.
  07/27/2015 Kaylan Phillips     0:18       0.30        0.00 $     190.28   $      57.08   $           -    KLP- Articles/video re case. (n/c)
                                                                                                           KLP- C NHJ re responses to opposing side's motion. R
  07/27/2015 Kaylan Phillips     0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 local rules for timeline and page limits.
  07/27/2015 Noel Johnson        0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 NHJ- R Ds motion re Z Street; C KLP re response.
  07/28/2015 Kaylan Phillips     0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 KLP- Email with ACLJ re motions. C NHJ re same.

  07/28/2015 Noel Johnson        0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 NHJ- Email to team re response to Z Street motions.

                                                                                                           KLP- C NHJ re response to motion. R D and add
  07/29/2015 Kaylan Phillips     0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 sentence re government's motion. R emails re same.
                                                                                                           NHJ- Incorporate KLP's edits to response; rv response
  07/29/2015 Noel Johnson        0:18       0.30        0.30   $   190.28   $      57.08   $         57.08 to Gov. Motion re Z Street.
  07/29/2015 Noel Johnson        0:48       0.80        0.80   $   190.28   $     152.22   $        152.22 NHJ- D response to Gov. motion re Z Street.
                                                                                                           KLP- ECF notice re Government's response to out
  07/30/2015 Kaylan Phillips     0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 motion. C with NHJ re same.

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Expenses adjusted for reimbursable and non-reimbursable.              Page 141 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           KLP- R response to Government's motion. Email with
  07/30/2015 Kaylan Phillips     0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 team re same.
  07/30/2015 Noel Johnson        0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 NHJ- R Gov. response to remand motion.
                                                                                                           NHJ- File response to remand motion; P and mail
  07/30/2015 Noel Johnson        0:18       0.30        0.30   $   190.28   $      57.08   $         57.08 bench copies.
                                                                                                            KLP- R Individual Defendants' response. C NHJ re
  07/31/2015 Kaylan Phillips     0:18       0.30        0.00   $   190.28   $      57.08   $           -    same. Calendar reply.

                                                                                                            KLP- R draft reply briefs. C NHJ re same. Send
  08/03/2015 Kaylan Phillips     2:06       2.10        0.00 $     190.28   $     399.59   $           -    changes. R Government and Individuals' motions. R ca
  08/03/2015 Noel Johnson        0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 NHJ- R GAO report on IRS selection criteria.
                                                                                                           NHJ- C KLP re reply briefs for motion for remand; d
  08/03/2015 Noel Johnson        0:42       0.70        0.00   $   190.28   $     133.20   $           -   reply to Individual Defendants.

  08/03/2015 Noel Johnson        1:54       1.90        1.90   $   190.28   $     361.53   $        361.53 NHJ- D Reply to Gov. opposition to Motion for Remand.
                                                                                                           KLP- C NHJ re argument for reply. R authorities. Emails
  08/04/2015 Kaylan Phillips     0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 re same.
                                                                                                           NHJ- Finish revisions to replies for motion for remand;
  08/04/2015 Noel Johnson        1:18       1.30        1.30   $   190.28   $     247.36   $        247.36 circualte for review.
                                                                                                           KLP- Finalize replies to motion. R. P to file and file.
  08/06/2015 Kaylan Phillips     1:06       1.10        1.10 $     190.28   $     209.31   $        209.31 Compile and mail service copies.
  08/13/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- ECF notices re withdrawing attorney.
                                                                                                           KLP- ECF notice re briefing schedule. Email with
  09/23/2015 Kaylan Phillips     0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 colleagues re same.
  09/24/2015 Kaylan Phillips     0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 KLP- C NHJ re briefing schedule and next steps.
  09/24/2015 Noel Johnson        0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 NHJ- C KLP re opening brief.
  09/28/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- ECF notice re joint appendix. C NHJ re same.
  10/01/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- Email with team re briefing needs.
  10/01/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- R email re appendix. C NHJ re next steps.
  10/02/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- Emails re call today.
  10/02/2015 Kaylan Phillips     0:24       0.40        0.40 $     190.28   $      76.11   $         76.11 KLP- C NHJ re arguments on appeal.
                                                                                                           KLP- PCs with legal team re TTV opening brief. C NHJ
  10/02/2015 Kaylan Phillips     0:48       0.80        0.80   $   190.28   $     152.22   $        152.22 re same.
  10/02/2015 Noel Johnson        0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 NHJ- D email to team re TTV brief outline.

  10/02/2015 Noel Johnson        0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 NHJ- C KLP re arguments on appeal/conference call.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 142 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           NHJ- R district court decision and appeal outline for
  10/02/2015 Noel Johnson        0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 conference call.
                                                                                                           NHJ- PCs with legal team re TTV opening brief; C KLP
  10/02/2015 Noel Johnson        0:48       0.80        0.80   $   190.28   $     152.22   $        152.22 re same.
                                                                                                           KLP- Emails re mediation potential. Email with team re
  10/07/2015 Kaylan Phillips     0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 same. Email with ACLJ re call next week.
  10/12/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- Email with Carly Gammil re call tomorrow.
  10/13/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- C NHJ re viewpoint discrimination claim.
  10/13/2015 Kaylan Phillips     0:24       0.40        0.40 $     190.28   $      76.11   $         76.11 KLP- C NHJ and Carly Gammil re appeal.
  10/13/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 KLP- C NHJ re appeal and FOIA. R email re same.
  10/13/2015 Noel Johnson        0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 NHJ- R FOIA requests of TTV.
  10/13/2015 Noel Johnson        0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 NHJ- R and cut opening brief for words.
  10/13/2015 Noel Johnson        0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 NHJ- C KLP re mootness arguments.
  10/13/2015 Noel Johnson        0:24       0.40        0.40 $     190.28   $      76.11   $         76.11 NHJ- C KLP re appellate brief/FOIA.

  10/13/2015 Noel Johnson        0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 NHJ- PC with Carly Gammill re appellate arguments.
  10/13/2015 Noel Johnson        0:42       0.70        0.70 $     190.28   $     133.20   $        133.20 NHJ- Work on opening appellate brief.
  10/13/2015 Noel Johnson        0:48       0.80        0.80 $     190.28   $     152.22   $        152.22 NHJ- R and cut opening brief for words.
  10/14/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- Email re call tomorrow.
                                                                                                           KLP- R mootness section draft. Send to NHJ with
  10/14/2015 Kaylan Phillips     0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 comments.
                                                                                                           NHJ- Review KLP’s edits to mootness section; email to
  10/14/2015 Noel Johnson        0:06       0.10        0.10   $   190.28   $      19.03   $         19.03 team re: phone conference

  10/14/2015 Noel Johnson        1:24       1.40        1.40   $   190.28   $     266.39   $        266.39 NHJ- Continue working on opening appellate brief.

  10/14/2015 Noel Johnson        2:36       2.60        2.60 $     190.28   $     494.73   $        494.73 NHJ- Continue working on opening appellate brief.
  10/15/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- C NHJ re mootness argument.
  10/15/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- Email with ACLJ re mediation.
  10/15/2015 Kaylan Phillips     0:24       0.40        0.40 $     190.28   $      76.11   $         76.11 KLP- Call with team re mootness argument.
  10/15/2015 Kaylan Phillips     3:00       3.00        3.00 $     190.28   $     570.84   $        570.84 KLP- R D of opening brief.
  10/15/2015 Noel Johnson        0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 NHJ- Continue work on appellate brief.

  10/15/2015 Noel Johnson        0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 NHJ- PC with legal team re opening appellate brief.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 143 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  10/16/2015 Kaylan Phillips     0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 KLP- C NHJ re opening brief. Send drafts.
                                                                                                           NHJ- R KLP's edits to appellate opening brief; discuss
  10/16/2015 Noel Johnson        0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 arguments for same.
  10/19/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- C NHJ re RS needed.
                                                                                                           KLP- LR re viewpoint discrimination. R NHJ's draft re
  10/19/2015 Kaylan Phillips     1:42       1.70        1.70   $   190.28   $     323.48   $        323.48 same.
                                                                                                           NHJ- Continue RS and working on opening appellate
  10/19/2015 Noel Johnson        4:36       4.60        4.60 $     190.28   $     875.29   $        875.29 brief.
  10/20/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- Emails re mediation.
  10/20/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 KLP- C NHJ re appeal outline and rs needed.

  10/20/2015 Kaylan Phillips     0:42       0.70        0.70 $     190.28   $     133.20   $        133.20 KLP- RS "chill" in the Supreme Court. C NHJ re same.
  10/20/2015 Noel Johnson        0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 NHJ- R D opening brief to cut words.
  10/20/2015 Noel Johnson        0:24       0.40        0.40 $     190.28   $      76.11   $         76.11 NHJ- C KLP re mootness arguments; rs needs.
                                                                                                           NHJ- Continue RS and working on opening appellate
  10/20/2015 Noel Johnson        0:48       0.80        0.80   $   190.28   $     152.22   $        152.22 brief.

  10/20/2015 Noel Johnson        0:54       0.90        0.90   $   190.28   $     171.25   $        171.25 NHJ- Continue working on opening appellate brief.

  10/20/2015 Noel Johnson        2:18       2.30        2.30 $     190.28   $     437.64   $        437.64 NHJ- Continue working on opening appellate brief.
  10/21/2015 Noel Johnson        1:00       1.00        1.00 $     190.28   $     190.28   $        190.28 NHJ- RV opening brief to comply with word limit.
                                                                                                           NHJ- Continue revising opening brief to comply with
  10/21/2015 Noel Johnson        2:12       2.20        2.20   $   190.28   $     418.62   $        418.62 word limit.
                                                                                                           KLP- Email from mediator-case not placed into
  10/22/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 mediation.
  10/22/2015 Kaylan Phillips     1:18       1.30        1.30 $     190.28   $     247.36   $        247.36 KLP- R draft opening brief.
                                                                                                           NHJ- Continue revising opening brief to comply with
  10/22/2015 Noel Johnson        1:24       1.40        1.40   $   190.28   $     266.39   $        266.39 word limit.
                                                                                                           NHJ- Continue revising opening brief to comply with
  10/22/2015 Noel Johnson        1:36       1.60        1.60   $   190.28   $     304.45   $        304.45 word limit.
                                                                                                           KLP- Continue working on review of opening brief.
  10/23/2015 Kaylan Phillips     1:00       1.00        1.00   $   190.28   $     190.28   $        190.28 Finalize review and send to NHJ.
                                                                                                           NHJ- Continue rs for opening appellate brief; discuss
  10/23/2015 Noel Johnson        0:54       0.90        0.90   $   190.28   $     171.25   $        171.25 draft with KLP.

  10/28/2015 Noel Johnson        0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 NHJ- R Senate Finance Committee report on targeting.
  11/16/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- Email re: timeline

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                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           KLP- C with NHJ re: briefing needs. Email to printer re:
  11/23/2015 Kaylan Phillips     0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 same.
  11/23/2015 Kaylan Phillips     0:30       0.50        0.50 $     190.28   $      95.14   $         95.14 KLP- Continue working on opening brief

  11/23/2015 Kaylan Phillips     1:06       1.10        1.10   $   190.28   $     209.31   $        209.31 KLP- Work on opening brief – editing to cut words
                                                                                                           NHJ- Proof and revise opening appellate brief to comply
  11/23/2015 Noel Johnson        2:30       2.50        2.50   $   190.28   $     475.70   $        475.70 with word limit; emails re: same
                                                                                                           KLP- C with NHJ re: brief. Send latest version. Review
  11/24/2015 Kaylan Phillips     0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 changes. Emails re: same.

                                                                                                           NHJ- Address remaining needs in opening appellate
  11/24/2015 Noel Johnson        0:18       0.30        0.30   $   190.28   $      57.08   $         57.08 brief; check status of related case (Freedom Path
                                                                                                           NHJ- Continue revising opening appellate brief;
  11/24/2015 Noel Johnson        0:42       0.70        0.70 $     190.28   $     133.20   $        133.20 incorporate KLP cuts to same
  11/24/2015 Noel Johnson        1:00       1.00        1.00 $     190.28   $     190.28   $        190.28 NHJ- Continue research re: first amend chill
  11/25/2015 Noel Johnson        0:24       0.40        0.40 $     190.28   $      76.11   $         76.11 NHJ- Review factual recitation for word cuts
  11/30/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- Emails re: opening brief
  11/30/2015 Kaylan Phillips     0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 KLP- C with NHJ re: joint appendix. Review files.
  11/30/2015 Kaylan Phillips     0:36       0.60        0.60 $     190.28   $     114.17   $        114.17 KLP- Review Circuit rules and handbook
                                                                                                           NHJ- Continue revising opening brief; create joint
  11/30/2015 Noel Johnson        4:06       4.10        4.10 $     190.28   $     780.15   $        780.15 appendix; begin inserting citations to same
  12/01/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- C with NHJ re: appendix and next steps
  12/01/2015 Noel Johnson        0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 NHJ- Create TOC and cover page for appendix

                                                                                                           NHJ- Continue adding Joint Appendix citations to
  12/01/2015 Noel Johnson        0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 opening brief; discuss needs for same with KLP; em
                                                                                                           NHJ- Continue adding Joint Appendix citations to
  12/01/2015 Noel Johnson        1:12       1.20        1.20   $   190.28   $     228.34   $        228.34 opening brief
                                                                                                           KLP- C with NHJ re: appendix. Review email to
  12/02/2015 Kaylan Phillips     0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 opposing counsel re: same.
                                                                                                           KLP- Email from CM re: edits to brief. C with NHJ re:
  12/02/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 same.
  12/02/2015 Kaylan Phillips     0:54       0.90        0.90 $     190.28   $     171.25   $        171.25 KLP- Continue reviewing opening brief.
                                                                                                           KLP- Review opening brief. Edit as needed. C with NHJ
  12/02/2015 Kaylan Phillips     1:30       1.50        1.50   $   190.28   $     285.42   $        285.42 re: same.
                                                                                                           NHJ- Continue revising and cutting words from opening
  12/02/2015 Noel Johnson        2:12       2.20        2.20   $   190.28   $     418.62   $        418.62 brief; discuss same with KLP

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 145 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
             Joseph
  12/03/2015 Vanderhulst         0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 JAV- Confs re new evidence question.
             Joseph
  12/03/2015 Vanderhulst         2:30       2.50        2.50 $     190.28   $     475.70   $        475.70 JAV- RS new evidence submission question.
  12/03/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- Email with printer re: appendix and filings
  12/03/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- Email and C with NHJ re: next steps for brief

                                                                                                           KLP- Email with CM re: TTV not listed on exempt
  12/03/2015 Kaylan Phillips     0:18       0.30        0.30   $   190.28   $      57.08   $         57.08 organization list. Review documents. C with NHJ re:
                                                                                                           KLP- Review appendix. Finalize and upload for printer.
  12/03/2015 Kaylan Phillips     0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 Emails re: changes needed.

                                                                                                           KLP- Research referencing information not before the
  12/03/2015 Kaylan Phillips     0:42       0.70        0.70   $   190.28   $     133.20   $        133.20 court below. Review cases. C with JAV re: help

                                                                                                           KLP- Review brief – work on fn re: IRS list of exempt
  12/03/2015 Kaylan Phillips     1:06       1.10        1.10   $   190.28   $     209.31   $        209.31 organizations. Review JAV’s research. C with

  12/03/2015 Kaylan Phillips     1:06       1.10        1.10 $     190.28   $     209.31   $        209.31 KLP- Review latest version of brief and edit as needed
  12/03/2015 Noel Johnson        1:00       1.00        1.00 $     190.28   $     190.28   $        190.28 NHJ- Continue cutting words from opening brief
  12/03/2015 Noel Johnson        2:18       2.30        2.30 $     190.28   $     437.64   $        437.64 NHJ- Continue cutting words from opening brief
                                                                                                           KLP- Check docket. Email WD and MG re: notice of
  12/04/2015 Kaylan Phillips     0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 appearance
                                                                                                           KLP- Emails from client and team re: additional facts
  12/04/2015 Kaylan Phillips     0:12       0.20        0.20   $   190.28   $      38.06   $         38.06 and arguments.

  12/04/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- Upload documents to website. Incorporate citation
  12/04/2015 Kaylan Phillips     0:18       0.30        0.30 $     190.28   $      57.08   $         57.08 KLP- Emails re: latest brief. C with NHJ re: same.
  12/04/2015 Kaylan Phillips     0:30       0.50        0.00 $     190.28   $      95.14   $           -    KLP- Work on Bivens section

  12/04/2015 Kaylan Phillips     0:30       0.50        0.50   $   190.28   $      95.14   $         95.14 KLP- Review standard of review. C with NHJ re: same.

                                                                                                           KLP- Edit joint appendix to add pages and move page
  12/04/2015 Kaylan Phillips     1:00       1.00        1.00   $   190.28   $     190.28   $        190.28 numbers. Finalize and review. Upload to printer
                                                                                                           KLP- Review and incorporate JCE’s changes to brief.
  12/04/2015 Kaylan Phillips     1:18       1.30        1.30   $   190.28   $     247.36   $        247.36 Email with JCE re: same.
                                                                                                           KLP- Research treatment of information not in the
  12/04/2015 Kaylan Phillips     1:36       1.60        1.60   $   190.28   $     304.45   $        304.45 record. C with NHJ re: same. Edit brief and adjus

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 146 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  12/04/2015 Noel Johnson        0:24       0.40        0.40   $   190.28   $      76.11   $         76.11 NHJ- Work on tables for opening brief

  12/04/2015 Noel Johnson        0:36       0.60        0.60 $     190.28   $     114.17   $        114.17 NHJ- C with KLP re: admitting reports/judicial notice
  12/04/2015 Noel Johnson        1:06       1.10        1.10 $     190.28   $     209.31   $        209.31 NHJ- Table of authorities for opening brief
  12/04/2015 Noel Johnson        1:48       1.80        1.80 $     190.28   $     342.50   $        342.50 NHJ- Continue working on opening appellate brief

                                                                                                           KLP- Work on brief, incorporate mat's changes. Check
  12/05/2015 Kaylan Phillips     2:30       2.50        2.50 $     190.28   $     475.70   $        475.70 cites. Finalize and send to JCE and MG for rev
  12/06/2015 Kaylan Phillips     1:00       1.00        1.00 $     190.28   $     190.28   $        190.28 KLP- Review brief, finalize. C with NHJ re: same.
  12/06/2015 Kaylan Phillips     1:18       1.30        1.30 $     190.28   $     247.36   $        247.36 KLP- Work on brief. Check appendix. Send to NHJ
             Joseph
  12/07/2015 Vanderhulst         3:00       3.00        3.00 $     190.28   $     570.84   $        570.84 JAV- Proof opening brief, cite checking.
  12/07/2015 Kaylan Phillips     0:12       0.20        0.20 $     190.28   $      38.06   $         38.06 KLP- Email with client re: latest brief
                                                                                                           KLP- Edit Opening Brief – implement NHJ’s changes.
  12/07/2015 Kaylan Phillips     0:42       0.70        0.70   $   190.28   $     133.20   $        133.20 Email with ML re: review.
                                                                                                           KLP- Finalize tables on brief. Prepare documents for
  12/07/2015 Kaylan Phillips     0:42       0.70        0.70   $   190.28   $     133.20   $        133.20 filing and assist with filing. Review filed do

                                                                                                           KLP- Work on certificate of service. Review service
  12/07/2015 Kaylan Phillips     1:30       1.50        1.50   $   190.28   $     285.42   $        285.42 rules. Update brief and appendix accordingly. S
                                                                                                           KLP- Edit Opening Brief – cite check. C with team re:
  12/07/2015 Kaylan Phillips     1:54       1.90        1.90   $   190.28   $     361.53   $        361.53 same.
                                                                                                           KLP- Work on brief. C with NHJ re: tasks needed. Email
  12/07/2015 Kaylan Phillips     2:18       2.30        2.30   $   190.28   $     437.64   $        437.64 with printer. Review appellate rules. Edit c
                                                                                                           NHJ- Review latest draft changes; research re: remand
  12/07/2015 Noel Johnson        1:24       1.40        1.40 $     190.28   $     266.39   $        266.39 for new evidence; emails re: same
  12/07/2015 Noel Johnson        5:06       5.10        5.10 $     190.28   $     970.43   $        970.43 NHJ- Continue work on opening brief; file same
  12/08/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- Email with ACLJ re: filing
  12/08/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- Email with printer re: paper copies
  12/08/2015 Kaylan Phillips     0:06       0.10        0.10 $     190.28   $      19.03   $         19.03 KLP- WD’s entry of appearance
                                                                                                           KLP- Call with opposing counsel re: briefing. Emails re:
  12/16/2015 Kaylan Phillips     0:18       0.30        0.30   $   190.28   $      57.08   $         57.08 same.
                                                                                                           NHJ- Email correspondence re: request for enlargement
  12/16/2015 Noel Johnson        0:06       0.10        0.10   $   190.28   $      19.03   $         19.03 of words
                                                                                                           NHJ- PC with opposing counsel re: request for more
  12/16/2015 Noel Johnson        0:18       0.30        0.30   $   190.28   $      57.08   $         57.08 words; C with KLP re: same


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 147 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                             Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  12/16/2015 Noel Johnson        0:42       0.70        0.70   $   190.28   $     133.20   $        133.20 NHJ- Review opening brief in Linchpins
                                                                                                           KLP- Email re: position on individual defendants’
  12/17/2015 Kaylan Phillips     0:06       0.10        0.00   $   190.28   $      19.03   $           -   request
                                                                                                           KLP- Message from ACLJ re: case updates. Call back
  12/18/2015 Kaylan Phillips     0:18       0.30        0.30   $   190.28   $      57.08   $         57.08 re: same. Emails re: same.
                                                                                                           KLP- Email with printer re: invoice. Send invoice to SLP
  01/08/2016 Kaylan Phillips     0:18       0.30        0.30   $   192.68   $      57.80   $         57.80 for processing
                                                                                                            KLP- Emails re: Individual Defendant’s request for one
  01/25/2016 Kaylan Phillips     0:30       0.50        0.00   $   192.68   $      96.34   $           -    brief. C with NHJ re: same.
                                                                                                           KLP- C with NHJ re: single brief request. Call with
  01/26/2016 Kaylan Phillips     0:18       0.30        0.30   $   192.68   $      57.80   $         57.80 Carly. Emails re: same.
                                                                                                           KLP- ECF notice re: oral argument scheduled. Emails
  01/28/2016 Kaylan Phillips     0:12       0.20        0.20   $   192.68   $      38.54   $         38.54 re: same.
                                                                                                           KLP- C with JCA re: upcoming case needs and next
  01/28/2016 Kaylan Phillips     0:18       0.30        0.30 $     192.68   $      57.80   $         57.80 steps
  02/05/2016 Kaylan Phillips     0:06       0.10        0.10 $     192.68   $      19.27   $         19.27 Notices of appearance
                                                                                                           Receive Individual Defendants? brief. Print. C with
  02/05/2016 Kaylan Phillips     0:12       0.20        0.00   $   192.68   $      38.54   $           -   colleagues re: same.
                                                                                                           Receive Government?s brief. Print and review. C with
  02/05/2016 Kaylan Phillips     2:18       2.30        2.30   $   192.68   $     443.16   $        443.16 colleagues re: same.
                                                                                                           Review IRS DC Circuit Answering Brief; discuss with
  02/05/2016 Noel Johnson        0:42       0.70        0.70 $     192.68   $     134.88   $        134.88 KLP
  02/09/2016 Kaylan Phillips     0:12       0.20        0.20 $     192.68   $      38.54   $         38.54 Call from JCE re: briefing. Email re: same.
  02/10/2016 Kaylan Phillips     0:06       0.10        0.10 $     192.68   $      19.27   $         19.27 C with NHJ re: reply

  02/10/2016 Noel Johnson        0:54       0.90        0.00 $     192.68   $     173.41   $           -    Review individual defendants appellate answer brief
  02/11/2016 Kaylan Phillips     0:24       0.40        0.40 $     192.68   $      77.07   $         77.07 Emails and discussions re: moot courts
                                                                                                           Discuss TTV argument with KLP; emails with CM re:
  02/11/2016 Noel Johnson        0:06       0.10        0.10 $     192.68   $      19.27   $         19.27 same
  02/12/2016 Kaylan Phillips     0:12       0.20        0.20 $     192.68   $      38.54   $         38.54 C with NHJ re: reply
                                                                                                           Emails re: ACLJ briefs and participation in oral
  02/12/2016 Kaylan Phillips     0:12       0.20        0.20   $   192.68   $      38.54   $         38.54 argument
  02/12/2016 Noel Johnson        0:06       0.10        0.10   $   192.68   $      19.27   $         19.27 Email to Logan re: case summary for newsletter
                                                                                                           Compare changes in briefs filed in TTV and ACLJ
  02/12/2016 Noel Johnson        0:42       0.70        0.70   $   192.68   $     134.88   $        134.88 cases

  02/12/2016 Noel Johnson        1:12       1.20        1.20   $   192.68   $     231.22   $        231.22 Review Appellees’ authority; discuss same with KLP


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 148 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                   1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross            EAJA                             Description
                                        Hours       Hours*     Statutory     Statutory          Statutory
                                                                 Rate         Amount            Adjusted
                                                                                                 Amount
                                                                                                            Continue reviewing appellate briefs and reviewing
  02/15/2016 Noel Johnson        2:12       2.20        2.20   $   192.68   $     423.90    $        423.90 appellees’ authorities
                                                                                                            Continue research re: appellees’ authority and legal
  02/16/2016 Noel Johnson        2:06       2.10        2.10   $   192.68   $     404.63    $        404.63 issues for reply brief
             Joseph
  02/17/2016 Vanderhulst         1:00       1.00        1.00 $     192.68   $     192.68    $        192.68 R briefs
  02/17/2016 Kaylan Phillips     0:24       0.40        0.00 $     192.68   $      77.07    $            -    Review Individual Defendants' brief
  02/17/2016 Noel Johnson        2:06       2.10        2.10 $     192.68   $     404.63    $        404.63 Continue research for reply brief
  02/18/2016 Kaylan Phillips     0:12       0.20        0.00 $     192.68   $      38.54    $            -    Continue reviewing individual defendants' brief

  02/18/2016 Kaylan Phillips     0:36       0.60        0.60 $     192.68   $     115.61    $        115.61 C with NHJ re: reply briefs. Emails with JCE re: same.
  02/18/2016 Noel Johnson        0:36       0.60        0.60 $     192.68   $     115.61    $        115.61 C with KLP re: arguments for reply brief
  02/18/2016 Noel Johnson        2:12       2.20        2.20 $     192.68   $     423.90    $        423.90 Continue R re: for reply brief
  02/19/2016 Kaylan Phillips     0:18       0.30        0.30 $     192.68   $      57.80    $          57.80 C with JCE re: reply brief
  02/22/2016 Noel Johnson        0:36       0.60        0.60 $     192.68   $     115.61    $        115.61 Continue research for reply brief
  02/23/2016 Noel Johnson        0:24       0.40        0.40 $     192.68   $      77.07    $          77.07 C with team re: TTV research needs
             Joseph
  02/24/2016 Vanderhulst         6:00       6.00        6.00 $     192.68   $    1,156.08   $       1,156.08 R briefs, cases, research and make notes for reply brief
  02/24/2016 Kaylan Phillips     0:42       0.70        0.70 $     192.68   $     134.88    $        134.88 Email with CM re: reply brief and moot courts
  02/24/2016 Noel Johnson        2:30       2.50        2.50 $     192.68   $     481.70    $        481.70 Continue research for reply brief
             Joseph
  02/25/2016 Vanderhulst         4:18       4.30        4.30   $   192.68   $     828.52    $        828.52 RS reply brief, draft sections
                                                                                                            Continue work on reply brief; discuss needs for same
  02/25/2016 Noel Johnson        4:12       4.20        4.20   $   192.68   $     809.26    $        809.26 with JAV
             Joseph
  02/26/2016 Vanderhulst         1:00       1.00        1.00   $   192.68   $     192.68    $        192.68 Research remanding/new facts section
             Joseph
  02/26/2016 Vanderhulst         3:00       3.00        3.00 $     192.68   $     578.04    $        578.04 RS rely brief, draft sections
  02/26/2016 Noel Johnson        2:48       2.80        2.80 $     192.68   $     539.50    $        539.50 Continue work on reply brief
             Joseph
  02/27/2016 Vanderhulst         2:00       2.00        2.00 $     192.68   $     385.36    $        385.36 Draft reply brief sections
  02/27/2016 Kaylan Phillips     0:18       0.30        0.30 $     192.68   $      57.80    $          57.80 Emails re: moot courts
  02/28/2016 Noel Johnson        3:12       3.20        3.20 $     192.68   $     616.58    $        616.58 Continue work on reply brief
             Joseph
  02/29/2016 Vanderhulst         1:30       1.50        1.50   $   192.68   $     289.02    $        289.02 RS brief incorporation reference


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 149 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                   1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                             Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
             Joseph
  02/29/2016 Vanderhulst         1:30       1.50        1.50   $   192.68   $     289.02   $        289.02 RS for reply brief re legislative history

  02/29/2016 Kaylan Phillips     0:12       0.20        0.20 $     192.68   $      38.54   $         38.54 Emails re: moot courts. C with colleagues re: same.
  02/29/2016 Noel Johnson        4:24       4.40        4.40 $     192.68   $     847.79   $        847.79 Continue work on reply brief
             Joseph
  03/01/2016 Vanderhulst         0:30       0.50        0.50 $     192.68   $      96.34   $         96.34 RS new cases
  03/01/2016 Kaylan Phillips     0:06       0.10        0.10 $     192.68   $      19.27   $         19.27 Emails re: briefs
             Joseph
  03/02/2016 Vanderhulst         2:30       2.50        2.50 $     192.68   $     481.70   $        481.70 Work on draft and research for reply
  03/02/2016 Kaylan Phillips     0:06       0.10        0.10 $     192.68   $      19.27   $         19.27 Email with printer re: reply
             Joseph
  03/03/2016 Vanderhulst         2:00       2.00        2.00   $   192.68   $     385.36   $        385.36 RS and help on reply brief
                                                                                                           C with colleagues re: reply brief (throughout day).
  03/03/2016 Kaylan Phillips     0:18       0.30        0.30   $   192.68   $      57.80   $         57.80 Emails re: same.
  03/03/2016 Noel Johnson        2:06       2.10        2.10   $   192.68   $     404.63   $        404.63 Continue revising and drafting reply brief
             Joseph
  03/04/2016 Vanderhulst         1:00       1.00        1.00   $   192.68   $     192.68   $        192.68 RS new cases, updates
                                                                                                           Review JCA comments; continue cutting words/work on
  03/05/2016 Noel Johnson        1:30       1.50        1.50   $   192.68   $     289.02   $        289.02 reply brief
             Joseph
  03/06/2016 Vanderhulst         3:00       3.00        3.00   $   192.68   $     578.04   $        578.04 Proof and edit reply final draft
                                                                                                           Continue work on reply brief. Emails re: same with
  03/06/2016 Noel Johnson        4:12       4.20        4.20   $   192.68   $     809.26   $        809.26 team; discuss same with JAV/KLP
             Joseph
  03/07/2016 Vanderhulst         3:00       3.00        3.00 $     192.68   $     578.04   $        578.04 Proof and edit reply brief
  03/07/2016 Kaylan Phillips     0:06       0.10        0.10 $     192.68   $      19.27   $         19.27 C with NHJ re: case needs

  03/07/2016 Kaylan Phillips     1:30       1.50        1.50 $     192.68   $     289.02   $        289.02 C with printer re: changes needed. Work on changes.
  03/07/2016 Kaylan Phillips     4:24       4.40        4.40 $     192.68   $     847.79   $        847.79 Edit brief
                                                                                                           Work on summary of argument; continue to cut words,
  03/07/2016 Noel Johnson        0:54       0.90        0.90   $   192.68   $     173.41   $        173.41 revise tables

  03/07/2016 Noel Johnson        4:12       4.20        4.20   $   192.68   $     809.26   $        809.26 Continue work on reply brief; finalize and file same
                                                                                                           Emails re: moot court sessions. C with colleagues re:
  03/10/2016 Kaylan Phillips     0:18       0.30        0.30 $     192.68   $      57.80   $         57.80 same.
  03/15/2016 Kaylan Phillips     0:42       0.70        0.70 $     192.68   $     134.88   $        134.88 Emails re: moot court. Make travel arrangements.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 150 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                             Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
                                                                                                           Draft summary of issues/arguments for moot court
  03/15/2016 Noel Johnson        0:30       0.50        0.50   $   192.68   $      96.34   $         96.34 participants
             Joseph
  03/18/2016 Vanderhulst         0:12       0.20        0.20 $     192.68   $      38.54   $         38.54 R ems re moot court
  03/18/2016 Kaylan Phillips     0:18       0.30        0.30 $     192.68   $      57.80   $         57.80 Emails re: moot courts
             Joseph
  03/21/2016 Vanderhulst         0:12       0.20        0.20 $     192.68   $      38.54   $         38.54 Conf re new panel, rs judges
  03/21/2016 Kaylan Phillips     0:06       0.10        0.10 $     192.68   $      19.27   $         19.27 Emails re: oral argument panel
                                                                                                           Email to potential oral argument participants re: March
  03/21/2016 Kaylan Phillips     0:12       0.20        0.20   $   192.68   $      38.54   $         38.54 31 session
                                                                                                           Prepare and email documents to moot court
  03/21/2016 Kaylan Phillips     0:36       0.60        0.60 $     192.68   $     115.61   $        115.61 participants. Emails re: participants,
  03/21/2016 Noel Johnson        0:30       0.50        0.50 $     192.68   $      96.34   $         96.34 Research re: panel judges
             Joseph
  03/22/2016 Vanderhulst         0:30       0.50        0.50 $     192.68   $      96.34   $         96.34 EMs re 6th Cir decision, r
  03/22/2016 Kaylan Phillips     0:18       0.30        0.30 $     192.68   $      57.80   $         57.80 Review order in Nor Cal
                                                                                                           Compress and send information to moot court
  03/22/2016 Kaylan Phillips     1:30       1.50        1.50   $   192.68   $     289.02   $        289.02 participants. Emails re: moot court needs.
             Joseph
  03/23/2016 Vanderhulst         0:18       0.30        0.30 $     192.68   $      57.80   $         57.80 EMs re 6th Cir decision
  03/23/2016 Kaylan Phillips     0:06       0.10        0.10 $     192.68   $      19.27   $         19.27 Email re: moot court
  03/23/2016 Kaylan Phillips     0:24       0.40        0.40 $     192.68   $      77.07   $         77.07 Emails and articles re: NorCal decision
                                                                                                           Review 28J and opinion re: NorCal; emails and
  03/23/2016 Noel Johnson        0:30       0.50        0.50 $     192.68   $      96.34   $         96.34 discussions re: same
  03/24/2016 Kaylan Phillips     0:42       0.70        0.70 $     192.68   $     134.88   $        134.88 Call with Eddie Greim
  03/24/2016 Noel Johnson        0:18       0.30        0.30 $     192.68   $      57.80   $         57.80 Continue research re: response to 28J letter
  03/24/2016 Noel Johnson        1:30       1.50        1.50 $     192.68   $     289.02   $        289.02 Continue research re: response to 28J letter
  03/25/2016 Kaylan Phillips     0:24       0.40        0.60 $     192.68   $      77.07   $        115.61 Email with JCE re: court filings (throughout day)
             Joseph
  03/28/2016 Vanderhulst         0:30       0.50        0.50   $   192.68   $      96.34   $         96.34 Dropbox set up and sharing settings for filings
             Joseph
  03/28/2016 Vanderhulst         1:00       1.00        1.00 $     192.68   $     192.68   $        192.68 R docket and materials for moot court
  03/28/2016 Kaylan Phillips     0:18       0.30        0.30 $     192.68   $      57.80   $         57.80 Review 28(j). Respond with comments.
                                                                                                           Email with JCE re: moot court prep. Review files.
  03/28/2016 Kaylan Phillips     0:36       0.60        0.60 $     192.68   $     115.61   $        115.61 Upload documents for his review
  03/28/2016 Kaylan Phillips     0:36       0.60        0.60 $     192.68   $     115.61   $        115.61 Emails re: moot court.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 151 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  03/28/2016 Noel Johnson        0:48       0.80        0.80   $   192.68   $     154.14   $        154.14 Continue work on 28J letter re: NorCal
             Joseph
  03/29/2016 Vanderhulst         0:42       0.70        0.70   $   192.68   $     134.88   $        134.88 RS corporate filings status
             Joseph
  03/29/2016 Vanderhulst         1:00       1.00        1.00   $   192.68   $     192.68   $        192.68 R materials for moot court, take notes

                                                                                                           C with NHJ re: moot court prep. Review documents and
  03/29/2016 Kaylan Phillips     2:24       2.40        2.40 $     192.68   $     462.43   $        462.43 filings. Book ticket for second moot.
  03/29/2016 Noel Johnson        0:06       0.10        0.10 $     192.68   $      19.27   $         19.27 Book travel for moot court
  03/29/2016 Noel Johnson        0:06       0.10        0.10 $     192.68   $      19.27   $         19.27 Research re: status of TTV
  03/29/2016 Noel Johnson        0:12       0.20        0.20 $     192.68   $      38.54   $         38.54 Prep for moot court
  03/29/2016 Noel Johnson        2:30       2.50        2.50 $     192.68   $     481.70   $        481.70 Prep for moot court
             Joseph                                                                                        Check in for flight to moot, check travel, confs re prep
  03/30/2016 Vanderhulst         1:00       1.00        0.50   $   192.68   $     192.68   $         96.34 for moot court
                                                                                                           C with NHJ re: moot court prep. Gather documents for
  03/30/2016 Kaylan Phillips     0:36       0.60        0.60 $     192.68   $     115.61   $        115.61 Cath Kidwell.
  03/30/2016 Kaylan Phillips     5:00       5.00        2.50 $     192.68   $     963.40   $        481.70 Travel to DC for moot court. Prep for moot court.
  03/30/2016 Noel Johnson        1:06       1.10        1.10 $     192.68   $     211.95   $        211.95 Research re: panel judges past decisisons
  03/30/2016 Noel Johnson        2:00       2.00        1.00 $     192.68   $     385.36   $        192.68 Attempted travel to DC for moot court
  03/30/2016 Noel Johnson        4:30       4.50        2.25 $     192.68   $     867.06   $        433.53 Travel to Baltimore to DC for moot court
             Joseph
  03/31/2016 Vanderhulst         3:00       3.00        3.00   $   192.68   $     578.04   $        578.04 Moot court
             Joseph
  03/31/2016 Vanderhulst         3:30       3.50        1.75   $   192.68   $     674.38   $        337.19 Travel too moot court
             Joseph
  03/31/2016 Vanderhulst         5:00       5.00        2.50 $     192.68   $     963.40   $        481.70 Travel home from moot court
  03/31/2016 Kaylan Phillips     3:48       3.80        0.00 $     192.68   $     732.18   $           -    Moot court. Research re: motion for stay
  03/31/2016 Kaylan Phillips     5:00       5.00        2.50 $     192.68   $     963.40   $        481.70 Travel home from moot court.
  03/31/2016 Noel Johnson        3:00       3.00        1.50 $     192.68   $     578.04   $        289.02 Travel back to IN
  03/31/2016 Noel Johnson        3:06       3.10        3.10 $     192.68   $     597.31   $        597.31 Conduct moot court for DC appellate argument
  04/02/2016 Kaylan Phillips     0:18       0.30        0.30 $     192.68   $      57.80   $         57.80 Emails re: moot court and research needed
  04/03/2016 Kaylan Phillips     0:12       0.20        0.20 $     192.68   $      38.54   $         38.54 Emails re: research needed
  04/04/2016 Kaylan Phillips     0:24       0.40        0.40 $     192.68   $      77.07   $         77.07 Emails re: oral argument. Order re: same.
                                                                                                           ECF notices re: oral argument form filed (throughout
  04/06/2016 Kaylan Phillips     0:18       0.30        0.30   $   192.68   $      57.80   $         57.80 day). Emails re: same.

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 152 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                   1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  04/06/2016 Kaylan Phillips     0:24       0.40        0.00   $   192.68   $      77.07   $           -    Find and book hotel for next week (n/c)
             Joseph
  04/07/2016 Vanderhulst         0:36       0.60        0.60 $     192.68   $     115.61   $        115.61 Confs/ems re work needed, status, r ems re coverage
  04/07/2016 Kaylan Phillips     0:12       0.20        0.00 $     192.68   $      38.54   $           -    Emails re: stay motion
  04/07/2016 Kaylan Phillips     0:48       0.80        0.80 $     192.68   $     154.14   $        154.14 Calls with MG re: arguments and moot court
             Joseph
  04/08/2016 Vanderhulst         0:18       0.30        0.30   $   192.68   $      57.80   $         57.80 Conf team re next steps before argument
             Joseph
  04/08/2016 Vanderhulst         0:18       0.30        0.30 $     192.68   $      57.80   $         57.80 R ems re argument prep and research needs
  04/08/2016 Kaylan Phillips     0:18       0.30        0.30 $     192.68   $      57.80   $         57.80 C with NHJ re: motion and next steps
                                                                                                           Work on stay motion, review application materials. C
  04/08/2016 Kaylan Phillips     1:24       1.40        0.00 $     192.68   $     269.75   $           -   with NHJ re: same.
  04/08/2016 Noel Johnson        0:12       0.20        0.00 $     192.68   $      38.54   $           -    C with KLP re: stay motion
                                                                                                            Begin reviewing information submissions by TTV for
  04/08/2016 Noel Johnson        0:18       0.30        0.00 $     192.68   $      57.80   $           -    stay motion/oral argument
  04/08/2016 Noel Johnson        0:24       0.40        0.00 $     192.68   $      77.07   $           -    C with KLP re: needs for stay motion
  04/08/2016 Noel Johnson        1:00       1.00        0.00 $     192.68   $     192.68   $           -    Continue research re: stay motion

  04/08/2016 Noel Johnson        1:00       1.00        0.00   $   192.68   $     192.68   $           -    Review stay motion briefing at DDC; research re: same
             Joseph
  04/11/2016 Vanderhulst         0:30       0.50        0.50 $     192.68   $      96.34   $         96.34 Ems re oral argument, confs re help
  04/11/2016 Kaylan Phillips     1:06       1.10        1.10 $     192.68   $     211.95   $        211.95 Emails re: moot court.
                                                                                                           Research IRM and IRS materials re: duties of
  04/11/2016 Noel Johnson        1:06       1.10        1.10   $   192.68   $     211.95   $        211.95 defendants/offices
                                                                                                           Emails re: IRS EO division. Prepare for moot. Call with
  04/12/2016 Kaylan Phillips     0:48       0.80        0.80 $     192.68   $     154.14   $        154.14 MG re: same. Emails re: same.
  04/12/2016 Noel Johnson        0:06       0.10        0.00 $     192.68   $      19.27   $           -    Research re: recent Bivens decisions
                                                                                                           Email to JCE re: requested research on EO
  04/12/2016 Noel Johnson        0:42       0.70        0.70   $   192.68   $     134.88   $        134.88 organization
             Joseph
  04/13/2016 Vanderhulst         0:42       0.70        0.70   $   192.68   $     134.88   $        134.88 RS TTV status, em team
                                                                                                           Email with JCE re: needs for oral argument. Research
  04/13/2016 Kaylan Phillips     0:42       0.70        0.70 $     192.68   $     134.88   $        134.88 same.
  04/13/2016 Kaylan Phillips     3:30       3.50        1.75 $     192.68   $     674.38   $        337.19 Travel to DC. Prepare for moot court.
  04/13/2016 Kaylan Phillips     4:06       4.10        4.10 $     192.68   $     789.99   $        789.99 Attend moot court
  04/13/2016 Noel Johnson        3:30       3.50        1.75 $     192.68   $     674.38   $        337.19 Travel to DC/Prep for moot

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 153 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  04/13/2016 Noel Johnson        4:06       4.10        4.10 $     192.68   $     789.99   $        789.99 Attend moot court for oral argument
  04/14/2016 Kaylan Phillips     3:30       3.50        1.75 $     192.68   $     674.38   $        337.19 Travel home from oral argument

  04/14/2016 Kaylan Phillips     4:00       4.00        4.00 $     192.68   $     770.72   $        770.72 Attend oral argument. Debrief after. Lunch with client.
  04/14/2016 Noel Johnson        3:30       3.50        1.75 $     192.68   $     674.38   $        337.19 Travel back to Indy from oral argument
  04/14/2016 Noel Johnson        4:00       4.00        4.00 $     192.68   $     770.72   $        770.72 DC Circuit oral argument; lunch with client after
  04/22/2016 Kaylan Phillips     0:06       0.10        0.10 $     192.68   $      19.27   $         19.27 Expense report from JCE. Forward
                                                                                                           28(j) letter from the gov't. Review case. Email with JT
  05/26/2016 Kaylan Phillips     0:42       0.70        0.70   $   192.68   $     134.88   $        134.88 re: same.
             Joseph
  08/05/2016 Vanderhulst         0:30       0.50        0.50   $   192.68   $      96.34   $         96.34 R decision, ems and confs re
                                                                                                           Decision from COA. Emails re: same. Save and briefly
  08/05/2016 Kaylan Phillips     0:42       0.70        0.70 $     192.68   $     134.88   $        134.88 review case documents.
  08/05/2016 Noel Johnson        0:30       0.50        0.50 $     192.68   $      96.34   $         96.34 Review appellate decision; emails re: same
  08/25/2016 Kaylan Phillips     0:24       0.40        0.40 $     192.68   $      77.07   $         77.07 Email re: next steps. Calendar deadlines
  09/13/2016 Kaylan Phillips     0:06       0.10        0.10 $     192.68   $      19.27   $         19.27 Call with MG re: case status
  09/15/2016 Kaylan Phillips     0:18       0.30        0.30 $     192.68   $      57.80   $         57.80 Emails re: next steps. Review rules
             Joseph
  09/27/2016 Vanderhulst         0:24       0.40        0.40 $     192.68   $      77.07   $         77.07 R ems re next steps in DC
  09/27/2016 Kaylan Phillips     0:18       0.30        0.30 $     192.68   $      57.80   $         57.80 Emails re: mandate and next steps.
             Joseph
  09/28/2016 Vanderhulst         0:24       0.40        0.40 $     192.68   $      77.07   $         77.07 R ems re next steps in district court, confs re
  09/28/2016 Kaylan Phillips     0:36       0.60        0.60 $     192.68   $     115.61   $        115.61 Emails re: status conference. Set up call.
  09/29/2016 Kaylan Phillips     0:42       0.70        0.70 $     192.68   $     134.88   $        134.88 Email and call with ACLJ re: next steps
                                                                                                           Firm call re: next steps. C with NHJ after. Emails re:
  09/29/2016 Kaylan Phillips     0:54       0.90        0.90 $     192.68   $     173.41   $        173.41 same.
  09/29/2016 Noel Johnson        0:54       0.90        0.90 $     192.68   $     173.41   $        173.41 PC re: TTV discovery; C with KLP re: same
  09/30/2016 Kaylan Phillips     0:12       0.20        0.20 $     192.68   $      38.54   $         38.54 Emails re: call on Monday
  10/01/2016 Kaylan Phillips     0:30       0.50        0.50 $     192.68   $      96.34   $         96.34 Review opinion for outline.
  10/03/2016 Kaylan Phillips     1:24       1.40        1.40 $     192.68   $     269.75   $        269.75 Call with team re: discovery plan

  10/03/2016 Kaylan Phillips     2:48       2.80        2.80 $     192.68   $     539.50   $        539.50 Work on outline of COA opinion. C with NHJ re: same.
  10/03/2016 Noel Johnson        0:30       0.50        0.50 $     192.68   $      96.34   $         96.34 Review and edit draft outline of issues on appeal
  10/03/2016 Noel Johnson        1:18       1.30        1.30 $     192.68   $     250.48   $        250.48 PC with ACLJ and Cinci


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.              Page 154 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                              Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
  10/10/2016 Kaylan Phillips     0:06       0.10        0.10 $    192.68   $      19.27   $         19.27 email re: conference this week
  10/11/2016 Kaylan Phillips     0:30       0.50        0.50 $    192.68   $      96.34   $         96.34 Emails re: status conference
  10/12/2016 Kaylan Phillips     0:30       0.50        0.25 $    192.68   $      96.34   $         48.17 Travel to Cleta's office for meeting
  10/12/2016 Kaylan Phillips     1:48       1.80        1.80 $    192.68   $     346.82   $        346.82 C with team re: status conference

  10/12/2016 Kaylan Phillips     3:36       3.60        1.80 $    192.68   $     693.65   $        346.82 travel to conference. attend hearing. Back to hotel
  10/13/2016 Kaylan Phillips     0:18       0.30        0.30 $    192.68   $      57.80   $         57.80 Emails re: research needed.
  10/14/2016 Kaylan Phillips     0:18       0.30        0.30 $    192.68   $      57.80   $         57.80 Emails re: cert petition research
  10/14/2016 Noel Johnson        1:06       1.10        0.00 $    192.68   $     211.95   $           -    Research re: cert petition upon final judgment
  10/17/2016 Kaylan Phillips     0:06       0.10        0.00 $    192.68   $      19.27   $           -    Email JCE re: Bivens
  10/18/2016 Kaylan Phillips     0:30       0.50        0.50 $    192.68   $      96.34   $         96.34 Emails re: cert petition and next step
  10/19/2016 Kaylan Phillips     0:18       0.30        0.30 $    192.68   $      57.80   $         57.80 C with NHJ re: call and next steps
  10/19/2016 Noel Johnson        0:36       0.60        0.00 $    192.68   $     115.61   $           -    PC with NorCal/ACLJ re: Bivens/injunctive relief
  10/20/2016 Kaylan Phillips     0:06       0.10        0.10 $    192.68   $      19.27   $         19.27 Email re: Biven
  10/20/2016 Noel Johnson        0:24       0.40        0.40 $    192.68   $      77.07   $         77.07 Review transcript of DC status hearing
  10/21/2016 Kaylan Phillips     1:48       1.80        1.80 $    192.68   $     346.82   $        346.82 Team call. C with SLP re: appendix
  10/24/2016 Kaylan Phillips     0:12       0.20        0.20 $    192.68   $      38.54   $         38.54 Call from JCE re: intern
  10/25/2016 Kaylan Phillips     0:06       0.10        0.10 $    192.68   $      19.27   $         19.27 Email re: answer extension
  10/25/2016 Kaylan Phillips     0:18       0.30        0.30 $    192.68   $      57.80   $         57.80 Emails re; printer. Call re: same.
  10/25/2016 Noel Johnson        0:06       0.10        0.00 $    192.68   $      19.27   $           -    Bivens cert petition
                                                                                                          Emails re: cert petition. C with NHJ re: same. Get
  10/26/2016 Kaylan Phillips     1:06       1.10        1.10 $    192.68   $     211.95   $        211.95 documents for appendix. C with
  10/26/2016 Noel Johnson        2:06       2.10        0.00 $    192.68   $     404.63   $           -    Bivens cert petition
  10/27/2016 Kaylan Phillips     2:18       2.30        2.30 $    192.68   $     443.16   $        443.16 Work on cert petition. C with NHJ re: same.
  10/27/2016 Noel Johnson        3:36       3.60        0.00 $    192.68   $     693.65   $           -    Bivens cert petition
                                                                                                          C with team re: cert petition appendix and needs
  10/28/2016 Kaylan Phillips     0:30       0.50        0.50 $    192.68   $      96.34   $         96.34 (throughout day)
  10/28/2016 Noel Johnson        2:48       2.80        0.00 $    192.68   $     539.50   $           -    Bivens cert petition
  10/31/2016 Kaylan Phillips     0:06       0.10        0.10 $    192.68   $      19.27   $         19.27 Emails re: cert petition. C with NHJ re: same.
  10/31/2016 Kaylan Phillips     2:06       2.10        2.10 $    192.68   $     404.63   $        404.63 Review appendix
  10/31/2016 Noel Johnson        2:42       2.70        0.00 $    192.68   $     520.24   $           -    Bivens cert petition
  11/01/2016 Kaylan Phillips     0:06       0.10        0.10 $    192.68   $      19.27   $         19.27 Call from printer

* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.             Page 155 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                    1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA      EAJA Gross           EAJA                               Description
                                        Hours       Hours*     Statutory    Statutory         Statutory
                                                                 Rate        Amount           Adjusted
                                                                                               Amount
  11/01/2016 Kaylan Phillips     1:24       1.40        1.40 $    192.68   $     269.75   $        269.75 Continue working on appendix
  11/01/2016 Kaylan Phillips     2:30       2.50        2.50 $    192.68   $     481.70   $        481.70 Work on appendix
  11/01/2016 Noel Johnson        0:30       0.50        0.00 $    192.68   $      96.34   $           -     Bivens cert petition
  11/02/2016 Kaylan Phillips     0:36       0.60        0.60 $    192.68   $     115.61   $        115.61 Review cert petition. Emails re: same.

  11/02/2016 Kaylan Phillips     1:36       1.60        1.60 $    192.68   $     308.29   $        308.29 Emails re: filing. Review rules. Finalize service list.
  11/02/2016 Kaylan Phillips     3:18       3.30        3.30 $    192.68   $     635.84   $        635.84 Work on appendix. Emails re: same.
  11/02/2016 Noel Johnson        2:00       2.00        0.00 $    192.68   $     385.36   $           -     Bivens cert petition
             Joseph
  11/03/2016 Vanderhulst         1:12       1.20        1.20 $    192.68   $     231.22   $        231.22 Help with certificate of compliance, ems re
  11/03/2016 Kaylan Phillips     0:12       0.20        0.20 $    192.68   $      38.54   $         38.54 Emails re: cert petition.
                                                                                                          Finalize cert petition. Fill in cites. Call from printer re:
  11/03/2016 Kaylan Phillips     4:30       4.50        4.50 $    192.68   $     867.06   $        867.06 same. Calls re: compliance
  11/03/2016 Noel Johnson        3:12       3.20        0.00 $    192.68   $     616.58   $           -     Bivens cert petition
  11/04/2016 Noel Johnson        0:54       0.90        0.90 $    192.68   $     173.41   $        173.41 Document review for hearing
  11/07/2016 Kaylan Phillips     0:18       0.30        0.30 $    192.68   $      57.80   $         57.80 C with NHJ re: case needs. Review docket.
                                                                                                          Receive and review hard copies of cert petition. Set out
  11/07/2016 Kaylan Phillips     0:18       0.30        0.30 $    192.68   $      57.80   $         57.80 mailings. Email to printer re: invoice
  11/07/2016 Kaylan Phillips     0:30       0.50        0.50 $    192.68   $      96.34   $         96.34 Team call re: next steps
  11/07/2016 Noel Johnson        0:36       0.60        0.60 $    192.68   $     115.61   $        115.61 PC with team re: injunction/discovery
                                                                                                          Document review for hearing/work on affidavit of
  11/07/2016 Noel Johnson        3:18       3.30        3.30 $    192.68   $     635.84   $        635.84 Engelbrecht
  11/08/2016 Kaylan Phillips     0:12       0.20        0.20 $    192.68   $      38.54   $         38.54 Emails re: NorCal order
  11/08/2016 Kaylan Phillips     0:30       0.50        0.50 $    192.68   $      96.34   $         96.34 Call with team re: next steps
                                                                                                          Call with team re: impact of NorCal decision. C with
  11/08/2016 Kaylan Phillips     1:00       1.00        1.00 $    192.68   $     192.68   $        192.68 NHJ re: same.
  11/08/2016 Kaylan Phillips     1:12       1.20        1.20 $    192.68   $     231.22   $        231.22 Review documents and work on injunction
  11/08/2016 Noel Johnson        0:48       0.80        0.80 $    192.68   $     154.14   $        154.14 PC with legal teams re: friday's filings
  11/08/2016 Noel Johnson        3:00       3.00        3.00 $    192.68   $     578.04   $        578.04 Work on injunction/affidavit
  11/09/2016 Kaylan Phillips     1:30       1.50        1.50 $    192.68   $     289.02   $        289.02 C with NHJ re: drafting. Review draft.
  11/09/2016 Noel Johnson        1:06       1.10        1.10 $    192.68   $     211.95   $        211.95 Work on injunction/affidavit
  11/10/2016 Kaylan Phillips     0:42       0.70        0.70 $    192.68   $     134.88   $        134.88 Emails re: filing tomorrow. C with NHJ
  11/10/2016 Kaylan Phillips     0:54       0.90        0.90 $    192.68   $     173.41   $        173.41 Call with WD re: filing. C with NHJ re: same.


* Hours adjusted for unsuccessful claims and travel time.
Expenses adjusted for reimbursable and non-reimbursable.             Page 156 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                   1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross            EAJA                             Description
                                        Hours       Hours*     Statutory     Statutory          Statutory
                                                                 Rate         Amount            Adjusted
                                                                                                 Amount
  11/10/2016 Kaylan Phillips     5:42       5.70        5.70 $     192.68   $    1,098.28   $       1,098.28 Work on filing
  11/10/2016 Noel Johnson        0:18       0.30        0.30 $     192.68   $      57.80    $         57.80 PC with WD re: friday's filing
  11/10/2016 Noel Johnson        3:30       3.50        3.50 $     192.68   $     674.38    $        674.38 Work on injunction/affidavit

  11/11/2016 Kaylan Phillips     0:24       0.40        0.40 $     192.68   $      77.07    $         77.07 Receive and review SJ motion. C with WD re: same.
  11/11/2016 Kaylan Phillips     0:30       0.50        0.50 $     192.68   $      96.34    $         96.34 Emails re: brief. C with NHJ re: same.
  11/11/2016 Kaylan Phillips     2:00       2.00        2.00 $     192.68   $     385.36    $        385.36 Edit memo
  11/11/2016 Kaylan Phillips     3:06       3.10        3.10 $     192.68   $     597.31    $        597.31 Edit memo in light of SJ motion. Emails re: same.
  11/11/2016 Noel Johnson        0:24       0.40        0.40 $     192.68   $      77.07    $         77.07 PC with client re: affidavit
  11/11/2016 Noel Johnson        4:18       4.30        4.30 $     192.68   $     828.52    $        828.52 Work on injunction/affidavit
             Joseph
  11/14/2016 Vanderhulst         0:30       0.50        0.50 $     192.68   $      96.34    $         96.34 EMs re TTV report
  11/14/2016 Kaylan Phillips     0:12       0.20        0.20 $     192.68   $      38.54    $         38.54 Email re: standard for 56(d) motion. Review.
                                                                                                            C with NHJ re: next steps. Email team re: same. Set up
  11/14/2016 Kaylan Phillips     1:06       1.10        1.10 $     192.68   $     211.95    $        211.95 conference call.
  11/14/2016 Noel Johnson        0:42       0.70        0.70 $     192.68   $     134.88    $        134.88 Review IRS SJM
  11/14/2016 Noel Johnson        3:36       3.60        3.60 $     192.68   $     693.65    $        693.65 Research re: 56(d) motion
  11/15/2016 Kaylan Phillips     0:18       0.30        0.30 $     192.68   $      57.80    $         57.80 C with NHJ re: 56(d) motion
                                                                                                            Call with team. C with Carly re: same. Email to team
  11/15/2016 Kaylan Phillips     0:54       0.90        0.90 $     192.68   $     173.41    $        173.41 outlining options.
  11/15/2016 Kaylan Phillips     1:24       1.40        0.00 $     192.68   $     269.75    $            -   Review Gov't MTD and supporting documents
  11/15/2016 Noel Johnson        0:30       0.50        0.50 $     192.68   $      96.34    $         96.34 56(d) motion
  11/15/2016 Noel Johnson        0:42       0.70        0.70 $     192.68   $     134.88    $        134.88 PC with ACLJ re: Friday's hearing
  11/15/2016 Noel Johnson        0:42       0.70        0.70 $     192.68   $     134.88    $        134.88 Research re: 56(d) motion
  11/16/2016 Kaylan Phillips     0:18       0.30        0.30 $     192.68   $      57.80    $         57.80 Call with Bill re: hearing Friday. Emails re: same.
  11/16/2016 Kaylan Phillips     0:24       0.40        0.40 $     192.68   $      77.07    $         77.07 Email and call with Carly re: hearing Friday
  11/16/2016 Kaylan Phillips     0:42       0.70        0.70 $     192.68   $     134.88    $        134.88 C with NHJ re: outline. Review outline
                                                                                                            Work on motion for extension for time to respond.
  11/16/2016 Kaylan Phillips     0:48       0.80        0.80   $   192.68   $     154.14    $        154.14 Emails re: same.
                                                                                                            Draft motion for order requiring answer. Emails re:
  11/16/2016 Kaylan Phillips     0:54       0.90        0.90   $   192.68   $     173.41    $        173.41 same.
                                                                                                            Email from JCE re: docketing statement. Prepare and
  11/16/2016 Kaylan Phillips     1:30       1.50        1.50 $     192.68   $     289.02    $        289.02 mail same.
  11/16/2016 Noel Johnson        0:12       0.20        0.20 $     192.68   $      38.54    $         38.54 PC with Carly Gammell re: Friday's hearing

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                                                   PILF EAJA Statutory Rates With Adjustments                                                 1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross           EAJA                           Description
                                        Hours       Hours*     Statutory     Statutory         Statutory
                                                                 Rate         Amount           Adjusted
                                                                                                Amount
  11/16/2016 Noel Johnson        0:18       0.30        0.30 $     192.68   $      57.80   $         57.80 PC with Bill Davis re: discovery motion
  11/16/2016 Noel Johnson        1:48       1.80        1.80 $     192.68   $     346.82   $        346.82 Outline for discovery requests for hearing

  11/17/2016 Kaylan Phillips     1:30       1.50        1.50 $     192.68   $     289.02   $        289.02 Emails re: hearing tomorrow and motions for extension
  11/17/2016 Kaylan Phillips     1:54       1.90        1.90 $     192.68   $     366.09   $        366.09 Finalize and file motions
  11/17/2016 Noel Johnson        0:24       0.40        0.40 $     192.68   $      77.07   $         77.07 Revise outline for discovery requests for hearing
  11/18/2016 Kaylan Phillips     0:12       0.20        0.20 $     192.68   $      38.54   $         38.54 ECF notices re: granting of motions
  11/18/2016 Kaylan Phillips     0:36       0.60        0.60 $     192.68   $     115.61   $        115.61 Call re: hearing
  11/18/2016 Noel Johnson        0:36       0.60        0.60 $     192.68   $     115.61   $        115.61 PC with team re: hearing
  12/06/2016 Noel Johnson        0:24       0.40        0.40 $     192.68   $      77.07   $         77.07 Review transcript of status conference
                                                                                                           Research re: recent bivens actions at SCOTUS; email
  12/09/2016 Noel Johnson        1:12       1.20        0.00   $   192.68   $     231.22   $           -   re: same
                                                                                                           Research and document review re: 56(d) motion/opp. to
  12/12/2016 Noel Johnson        2:54       2.90        2.90   $   192.68   $     558.77   $        558.77 MSJ
                                                                                                           Research and document review re: 56(d) motion/opp. to
  12/13/2016 Noel Johnson        2:06       2.10        2.10   $   192.68   $     404.63   $        404.63 MSJ
                                                                                                           Research and document review re: 56(d) motion/opp. to
  12/14/2016 Noel Johnson        2:06       2.10        2.10   $   192.68   $     404.63   $        404.63 MSJ
                                                                                                           Research and document review re: 56(d) motion/opp. to
  12/15/2016 Noel Johnson        2:12       2.20        2.20   $   192.68   $     423.90   $        423.90 MSJ

  12/16/2016 Noel Johnson        2:42       2.70        2.70   $   192.68   $     520.24   $        520.24 Research and drafting re: 56(d) motion/opp. to MSJ

  12/20/2016 Noel Johnson        0:42       0.70        0.70 $     192.68   $     134.88   $        134.88 Review Government's Answer; compare to Complaint
  12/20/2016 Noel Johnson        2:06       2.10        2.10 $     192.68   $     404.63   $        404.63 Continue work on 56(d) motion
  12/21/2016 Noel Johnson        0:06       0.10        0.10 $     192.68   $      19.27   $         19.27 Continue work on 56(d) motion
  01/04/2017 Kaylan Phillips     0:48       0.80        0.80 $     196.79   $     157.43   $        157.43 Call with CG and NHJ. C with NHJ re: same.

  01/04/2017 Noel Johnson        0:36       0.60        0.60 $     196.79   $     118.07   $        118.07 Continue work on 56(d) motion; PC with KLP re: same
  01/04/2017 Noel Johnson        0:42       0.70        0.70 $     196.79   $     137.75   $        137.75 PC with Carly Gammill re: 56(d) motion

  01/05/2017 Noel Johnson        2:24       2.40        2.40 $     196.79   $     472.30   $        472.30 Continue work on 56(d) motion; research for same
  01/06/2017 Kaylan Phillips     0:18       0.30        0.30 $     196.79   $      59.04   $         59.04 C with NHJ

  01/06/2017 Noel Johnson        1:00       1.00        1.00   $   196.79   $     196.79   $        196.79 Continue work on 56(d) motion; research for same


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Expenses adjusted for reimbursable and non-reimbursable.              Page 158 of 161
                                                   PILF EAJA Statutory Rates With Adjustments                                                  1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross            EAJA                            Description
                                        Hours       Hours*     Statutory     Statutory          Statutory
                                                                 Rate         Amount            Adjusted
                                                                                                 Amount
  01/09/2017 Kaylan Phillips     0:06       0.10        0.10   $   196.79   $      19.68    $         19.68 C with NHJ

  01/09/2017 Noel Johnson        0:18       0.30        0.00   $   196.79   $      59.04    $            -   Review recent SCOTUS decision on qualified immunity

  01/09/2017 Noel Johnson        2:48       2.80        2.80 $     196.79   $     551.01    $        551.01 Continue work on 56(d) motion; research for same
  01/10/2017 Kaylan Phillips     0:24       0.40        0.40 $     196.79   $      78.72    $         78.72 C with NHJ
  01/10/2017 Kaylan Phillips     1:06       1.10        1.10 $     196.79   $     216.47    $        216.47 Review ACLJ papers.

  01/10/2017 Noel Johnson        6:36       6.60        6.60   $   196.79   $    1,298.81   $       1,298.81 Continue work on 56(d) motion; research for same

  01/11/2017 Kaylan Phillips     0:30       0.50        0.50   $   196.79   $      98.40    $         98.40 Update address with court. Call and emails re: same.

  01/11/2017 Noel Johnson        2:30       2.50        2.50 $     196.79   $     491.98    $        491.98 Continue work on 56(d) motion; research for same
  01/12/2017 Kaylan Phillips     0:48       0.80        0.80 $     196.79   $     157.43    $        157.43 Call with team
                                                                                                            Work on opposition - standing. Review Z Street
  01/12/2017 Kaylan Phillips     2:00       2.00        2.00 $     196.79   $     393.58    $        393.58 documents. Emails re: same.
  01/12/2017 Kaylan Phillips     2:06       2.10        2.10 $     196.79   $     413.26    $        413.26 Review documents. Online research
  01/12/2017 Noel Johnson        0:36       0.60        0.60 $     196.79   $     118.07    $        118.07 PC with Bill and Cleta re: MSJ/56(d) filings

  01/12/2017 Noel Johnson        4:12       4.20        4.20 $     196.79   $     826.52    $        826.52 Continue work on 56(d) motion; research for same
  01/13/2017 Kaylan Phillips     0:06       0.10        0.10 $     196.79   $      19.68    $         19.68 Review rules re: extension
  01/13/2017 Kaylan Phillips     0:12       0.20        0.20 $     196.79   $      39.36    $         39.36 Email to ZStreet counsel
  01/13/2017 Kaylan Phillips     0:18       0.30        0.30 $     196.79   $      59.04    $         59.04 C with NHJ
  01/13/2017 Kaylan Phillips     0:30       0.50        0.50 $     196.79   $      98.40    $         98.40 Call with Carly re: briefing
  01/13/2017 Kaylan Phillips     3:30       3.50        3.50 $     196.79   $     688.77    $        688.77 Work on draft. Z Street section, general edits.

  01/13/2017 Noel Johnson        5:00       5.00        5.00   $   196.79   $     983.95    $        983.95 Continue work on 56(d) motion; research for same

  01/16/2017 Kaylan Phillips     0:24       0.40        0.40   $   196.79   $      78.72    $         78.72 Call with Z Street counsel. Email with team re: same.

  01/16/2017 Noel Johnson        0:42       0.70        0.70 $     196.79   $     137.75    $        137.75 Continue work on 56(d) motion; research for same
  01/17/2017 Kaylan Phillips     0:12       0.20        0.20 $     196.79   $      39.36    $         39.36 C with NHJ re: case needs.
  01/17/2017 Kaylan Phillips     1:12       1.20        1.20 $     196.79   $     236.15    $        236.15 Continue working on SJ opposition 12:52-
  01/17/2017 Kaylan Phillips     3:00       3.00        3.00 $     196.79   $     590.37    $        590.37 Review SJ documents. Work on responses.



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                                                   PILF EAJA Statutory Rates With Adjustments                                                      1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross            EAJA                             Description
                                        Hours       Hours*     Statutory     Statutory          Statutory
                                                                 Rate         Amount            Adjusted
                                                                                                 Amount
  01/17/2017 Noel Johnson        4:18       4.30        4.30 $     196.79   $     846.20    $        846.20 Continue work on 56(d) motion; research for same
  01/18/2017 Kaylan Phillips     0:12       0.20        0.20 $     196.79   $      39.36    $          39.36 C with NHJ
  01/18/2017 Kaylan Phillips     0:12       0.20        0.20 $     196.79   $      39.36    $          39.36 Email with printer. Calls re: same.
  01/18/2017 Kaylan Phillips     2:18       2.30        2.30 $     196.79   $     452.62    $        452.62 Work on statement of undisputed facts
  01/18/2017 Kaylan Phillips     3:30       3.50        3.50 $     196.79   $     688.77    $        688.77 Continue working on opposition to SJ

  01/18/2017 Noel Johnson        5:54       5.90        5.90 $     196.79   $    1,161.06   $       1,161.06 Continue work on 56(d) motion; research for same
  01/19/2017 Kaylan Phillips     0:36       0.60        0.60 $     196.79   $     118.07    $        118.07 C with NHJ re: needs
  01/19/2017 Kaylan Phillips     2:48       2.80        2.80 $     196.79   $     551.01    $        551.01 Continue working on statement of facts
  01/19/2017 Kaylan Phillips     5:30       5.50        5.50 $     196.79   $    1,082.35   $       1,082.35 Work on edits to documents. Finalize and proof.
                                                                                                             Continue work on opp. to MSJ, 56(d) motion, Facts, file
  01/19/2017 Noel Johnson        8:30       8.50        8.50   $   196.79   $    1,672.72   $       1,672.72 same
                                                                                                            Save filings from last night. Print for courtesy copies.
  01/20/2017 Kaylan Phillips     1:00       1.00        1.00 $     196.79   $     196.79    $        196.79 Email to team. Review press.
  01/22/2017 Noel Johnson        1:00       1.00        0.00 $     196.79   $     196.79    $            -    Proof SCOTUS Cert Reply

  01/23/2017 Kaylan Phillips     1:00       1.00        1.00   $   196.79   $     196.79    $        196.79 Email service of reply brief. Email with client re: same.
                                                                                                            Emails re: cert petition reply. Call from printer re: same.
  01/23/2017 Kaylan Phillips     3:06       3.10        3.10   $   196.79   $     610.05    $        610.05 Check docket and revise service list. W

  01/23/2017 Noel Johnson        1:30       1.50        0.00   $   196.79   $     295.19    $            -    Continue work/communicatio re: SCOTUS Cert Reply
                                                                                                             Receive paper copies of brief. Organize for sending to
  01/25/2017 Kaylan Phillips     0:18       0.30        0.30   $   196.79   $      59.04    $          59.04 team
                                                                                                             Emails re: individual defendants request to talk. Check
  01/27/2017 Kaylan Phillips     0:24       0.40        0.40 $     196.79   $      78.72    $          78.72 docket
  01/30/2017 Kaylan Phillips     0:12       0.20        0.20 $     196.79   $      39.36    $          39.36 Emails re: call tomorrow
  02/02/2017 Kaylan Phillips     0:12       0.20        0.20 $     196.79   $      39.36    $          39.36 C with NHJ re: JP withdrawal. Review rules.
  02/09/2017 Kaylan Phillips     0:24       0.40        0.40 $     196.79   $      78.72    $         78.72 Emails re: Z street and conference call
                                                                                                            Receive and briefly review Gov't response brief. C with
  02/09/2017 Kaylan Phillips     0:42       0.70        0.70 $     196.79   $     137.75    $        137.75 NHJ. Forward to team and client. 12:00-
  02/10/2017 Kaylan Phillips     0:18       0.30        0.30 $     196.79   $      59.04    $          59.04 Review response to motion for discovery.

  02/10/2017 Kaylan Phillips     0:24       0.40        0.40 $     196.79   $      78.72    $          78.72 Set up conference call for next week. Emails re: same.
  02/10/2017 Kaylan Phillips     1:48       1.80        1.80 $     196.79   $     354.22    $        354.22 Organize and send documents. Emails re: same.


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                                                   PILF EAJA Statutory Rates With Adjustments                                                   1:13-cv-000734-RBW

   Date           Name         Time     Gross      Adjusted      EAJA       EAJA Gross            EAJA                             Description
                                        Hours       Hours*     Statutory     Statutory          Statutory
                                                                 Rate         Amount            Adjusted
                                                                                                 Amount
  02/13/2017 Kaylan Phillips     0:18       0.30        0.30 $     196.79   $       59.04   $         59.04 C with NHJ re: reply. Review docs/articles
  02/13/2017 Kaylan Phillips     1:00       1.00        1.00 $     196.79   $      196.79   $        196.79 Review reply. Emails re: same.
  02/13/2017 Noel Johnson        3:00       3.00        3.00 $     196.79   $      590.37   $        590.37 56(d) Reply
  02/14/2017 Kaylan Phillips     0:06       0.10        0.10 $     196.79   $       19.68   $         19.68 Emails re: reply
  02/14/2017 Kaylan Phillips     0:30       0.50        0.50 $     196.79   $       98.40   $         98.40 Conference call with ZStreet
  02/14/2017 Noel Johnson        0:18       0.30        0.30 $     196.79   $       59.04   $         59.04 Review Governments SJ Reply brief
  02/14/2017 Noel Johnson        0:36       0.60        0.60 $     196.79   $      118.07   $        118.07 PC with Z Street counsel
  02/15/2017 Kaylan Phillips     0:24       0.40        0.40 $     196.79   $       78.72   $         78.72 Emails re: case. C with NHJ re: same.
  02/16/2017 Kaylan Phillips     1:00       1.00        1.00 $     196.79   $      196.79   $        196.79 C with team re: filing today. Find log-in
                                                                                                            Review reply and prepare for filing. Circulate final
  02/16/2017 Kaylan Phillips     1:24       1.40        1.40 $     196.79   $      275.51   $        275.51 version. C with NHJ re: same.
  02/21/2017 Kaylan Phillips     0:36       0.60        0.60 $     196.79   $      118.07   $        118.07 Check docket and cert orders. Emails re: same.
                                                                                                            Review and research re: letter to client. Emails re:
  02/21/2017 Kaylan Phillips     0:36       0.60        0.60   $   196.79   $      118.07   $        118.07 same.
                                                                                                            Emails re: hearing. C with colleagues. Discuss next
  02/21/2017 Kaylan Phillips     2:00       2.00        2.00 $     196.79   $      393.58   $        393.58 steps
  02/21/2017 Noel Johnson        0:12       0.20        0.20 $     196.79   $       39.36   $         39.36 Compile cases for Bill for argument.
  02/21/2017 Noel Johnson        0:48       0.80        0.80 $     196.79   $      157.43   $        157.43 Drafting; research; email re: withdrawal
  02/22/2017 Kaylan Phillips     0:24       0.40        0.40 $     196.79   $       78.72   $         78.72 Emails re: withdrawal

                                                                                                            C with colleagues re: Bopp appearance. Review
  02/22/2017 Kaylan Phillips     2:30       2.50        2.50 $     196.79   $      491.98   $        491.98 requirements for withdrawal. Email with new counsel r
  02/22/2017 Noel Johnson        0:12       0.20        0.20 $     196.79   $       39.36   $         39.36 Transition of attorneys matters
TOTALS                                  2525.50     1999.54                 $ 471,740.49 $ 373,462.68




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Expenses adjusted for reimbursable and non-reimbursable.              Page 161 of 161
